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          EXHIBIT A
REDACTED VERSION OF DOCUMENT
SOUGHT TO BE FILED UNDER SEAL
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 8                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                      SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
12

                                                 HON. VINCE CHHABRIA
13
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4— 17 TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15
                                                 AMENDED ORDER REGARDING
16
                                                 PRODUCTION OF NAMED PLAINTIFF
                                                 DATA
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           AMENDED ORDER REGARDING PRODUCTION OF NAMED PLAINTIFF DATA
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                                                  INTRODUCTION

 3            1.   Pending before the Special Master is Plaintiffs' Motion to Compel Production of Named
 4   Plaintiffs' Content and Information.

 5
                                                  BACKGROUND
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              2.   On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13, which seek
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     documents relating to the named Plaintiffs in this matter ("Named Plaintiffs"). See Exhibit A (RFPs 9-
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     13). In brief, Request No. 9seeks all documents relating to each of the Named Plaintiffs; Request No. 10
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10   seeks documents sufficient to show the categories of content and information Facebook collects, tracks,

11   and maintains about them; and Requests Nos. 11-13 seek documents identifying third parties that were

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     able to access information about the Named Plaintiffs. Id.

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              3.   In response to Requests for Production Nos. 9-13, Facebook produced more than one million
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     pages of individual user data it maintained relating to the Named Plaintiffs, most of which was obtained
15
     from the "Download Your Information" tool ("DYI Tool"). The data obtained from the DYI Tool is
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     mostly limited to information pertaining to users' on platform Facebook activity. See Exhibit B (DYI
17


18   Data).

19            4.   Statements by Facebook's counsel during an August 14, 2020, discovery hearing indicated

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     that Facebook maintained additional data related to the Named Plaintiffs that was not produced. See
21
     Exhibit C (8/14/2020 Discovery Hearing Transcript) at 8:10-13 ("There is other —there's Facebook-
22
     generated information, information generated by third parties, information received from third parties.
23

     We have not represented that that is comprehensively included in our production.").
24


25
              5.   Plaintiffs filed amotion in September 2020 to compel additional discovery related to

26   Requests for Production Nos. 9-13. See Exhibit D (Motion to Compel Additional Discovery Related to

27   RFPs 9-13). Plaintiffs asked the Court to compel production of sensitive information Facebook derives

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     and collects from business partners, app developers, apps, and other sources. This request included


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     "native, appended and behavioral data" and purportedly anonymized data that could be connected to the
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     Named Plaintiffs. Id. at 7-11.

 3           6.   On October 8, 2020, Facebook responded to Plaintiffs' motion to compel. See Exhibit E

 4   (Facebook's October 2020 Response). Facebook contended that all information related to the Named

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     Plaintiffs that they did not themselves share on Facebook was outside the scope of the case; that all
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     information not shared through one of the four theories of the case was not within the scope of the case;
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     that Plaintiffs were not entitled to all data collected from third parties about the Named Plaintiffs; that
 8

     the Stored Communications Act and Video Protection Privacy Act claims did not require the production
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10   of additional data Facebook had collected about the Named Plaintiffs; and that Facebook could not

11   reasonably collect any of the additional information Plaintiffs sought. Id. at 6-10.

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             7.   On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling "that discovery is

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     not as limited as Facebook contends" and "the discoverable user data at issue includes: [1] Data
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     collected from auser's on-platform activity; [2] Data obtained from third parties regarding auser's off-
15
     platform activities; and [3] Data inferred from auser's on or off-platform activity." See Exhibit F
16

     (Discovery Order No. 9) at 2.
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18           8.   Facebook did not produce additional documents in response to Requests for Production Nos.
19   9-13.

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             9.   On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on the issue
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     of whether Facebook should be compelled to produce additional documents related to the Named
22
     Plaintiffs pursuant to Discovery Order No. 9.
23

             10. On November 29, 2021, Special Master Garrie issued an Order Re: Plaintiffs' Motion to
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25
     Compel Production of Plaintiff Data which found that "Discovery Order No. 9does not limit the scope

26   of discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

27   Facebook contends, because Judge Corley's ruling contains no language indicating such alimitation."

28
     See Exhibit G (Order Re: Plaintiffs' Motion to Compel Production of Plaintiff Data) at 4. The November


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     29, 2021, order also required Facebook to provide alist of data sources that may contain Named
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     Plaintiff data, including descriptions of the data sources and the Named Plaintiff data they may contain.

 3           11. Facebook subsequently provided alist of data systems that may contain Named Plaintiff data

 4   without descriptions of the systems or data. See Exhibit H (Declaration of David Pope, Exhibit A).

 5
             12. On December 29, 2021, Special Master Garrie issued an Amended Order Re: Plaintiffs'
 6
     Motion to Compel Production of Plaintiff Data, which required Facebook to provide descriptions of the
 7
     purposes of each system and the business units that use each system. Special Master Garrie held a
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     hearing with David Pope to address these points. See Exhibit I(David Pope Hearing Transcript).
 9


10           13. Over the next three months, Special Master Garrie held aseries of hearings with various

11   Facebook engineers and requested documentation to develop an understanding of the systems identified

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     by David Pope. The submissions and findings in connection with these hearings are reflected in the

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     following documents: Exhibit J(Facebook's January 6, 2022 Letter); Exhibit K (Facebook's January 27,
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     2022 Letter); Exhibit L (February 17, 2022 Hearing Transcript); Exhibit M (Facebook's March 7, 2022
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     Letter); Exhibit N (March 9, 2022 Hearing Transcript).
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             14. On March 22, 2022, Special Master Garrie issued the Order Following March 9, 2022,
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18   Hearing Regarding Plaintiffs' Motion to Compel Production of Plaintiff Data, which required each party

19   to submit aproposed protocol for production of Named Plaintiff data. See Exhibit 0 (March 9, 2022,

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     Hearing Order).
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             15. The parties subsequently submitted their proposed protocols and on May 17, 2022, Special
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     Master Garrie held ahearing with the parties to identify and resolve areas of disagreement with respect
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     to proposed protocols. See Exhibit P (Facebook's Letter of April 18, 2022) and Exhibit Q (Plaintiffs'
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     Letter of April 29, 2022).

26           16. Following the May 17, 2022 hearing, the parties agreed on all aspects of the proposed

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     protocols except for the following three issues: selection of Hive tables for production; 1production of
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     data related to apps installed by friends of Named Plaintiffs; and whether Facebook should search cold

 3   storage for Named Plaintiff data in Hive. Special Master Garrie requested briefing on these three issues,

 4   an updated proposed protocol submission from Facebook reflecting the areas of agreement, and

 5
     additional information from Facebook regarding the Hive tables. See Exhibit R (May 17, 2022 Hearing
 6
     Order); Exhibit S(Facebook's May 30, 2022 Letter); Exhibit T (Facebook's June 2, 2022 Letter).
 7
              17. On June 7, 2022, the parties submitted their briefs on the three outstanding issues regarding
 8

     the Named Plaintiff data proposals.
 9


10            18. Facebook proposed searching for and producing Named Plaintiff data from asample of the

11            Hive tables identified in Exhibit B to Facebook's April 11, 2022 submission. 2 See Exhibit U

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     (Facebook's June 7, 2022 Letter). The sample would include 250 tables selected by Facebook and 250

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     tables selected by Plaintiffs. Id. To assist Plaintiffs in the table selection, Facebook agreed to provide
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     Plaintiffs with the schema (column names) for all                      Hive tables from which the sample would be
15
     selected. See Exhibit T (Facebook's June 2, 2022 Letter). Facebook agreed to "provide Plaintiffs data
16

     regarding interactions that friends of the named plaintiffs had with businesses/apps using Facebook
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18   Login, without identifying which friend interacted with each business/app." See Exhibit U (Facebook's

19   June 7, 2022 Letter). With respect to the cold storage issue Facebook stated that "Facebook is willing to

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     consider restoring data from cold storage, but identifying what, if any, data should be restored is
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     premature at this stage." Id. Facebook instead proposed the following: "Once the Hive tables have been
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     identified, Facebook will evaluate which tables, if any, include data in cold storage, and make aproposal
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     regarding what, if any, data it can reasonably restore, search, and produce." Id.
24


25

     1Facebook initially proposed searching asample of 200 Hive tables (100 selected by Plaintiffs and 100 selected by
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     Facebook) for Named Plaintiff data. See Exhibit P (Facebook's Letter of April 18, 2022). Plaintiffs initially proposed that
     Facebook produce the first five rows of all 11.051 Hive tables identified in Exhibit B to Facebook's April 11, 2022
27
     submission. See Exhibit Q (Plaintiffs' Letter of April 29, 2022).
     2 Facebook identified these          Hive tables as potentially containing Named Plaintiff data using adata classification tool
28   that can classify tables within Hive as containing                     (identification numbers for individual Facebook users).
     See Exhibit T (Facebook's June 2, 2022 Letter).


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            19. Plaintiffs' June 7, 2022 submission largely did not address the three issues on which Special
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     Master Garrie requested briefing in the May 17, 2022 Hearing Order. Instead, Plaintiffs argued "new

 3   evidence has come to light in two 30(b)(6) depositions related to those questions" showing that (1)

 4   Facebook selected       Hive tables and put them in "cold storage" precisely because they were relevant

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     to this litigation; (2) Facebook is capable of searching offline Hive tables using      and the           tool;
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     (3) the DYI file is not the most complete or usable compilation of user data; and (4) Facebook has
 7
     withheld from production at least 52 snapshots of Named Plaintiff data using anever-before revealed
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     tool more commonly used to collect user data called                  See Exhibit V (Plaintiffs' June 7,
 9


10   2022 Submission).

11          20. At Special Master Garrie's request, the parties submitted additional briefs on the issues

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     regarding the •   Hive tables Facebook preserved in cold storage and the                  snapshots. See

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     Exhibit W (Facebook's June 16, 2022 Letter); Exhibit X (Plaintiffs' June 20, 2022 Letter).
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            21. Facebook responded to Plaintiffs' claims regarding preservation of the Hive tables as
15
     follows:
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            Tables in Hive were preserved in connection with this litigation and related litigation for
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            anumber of reasons, many of which have nothing to do with Named Plaintiff data. Of the
18               tables identified, aminority contain user identifiers, and several of those tables were
            put on hold in connection with Facebook's April 18, 2022 proposal to produce categories
19          of data requested or referenced by Plaintiffs. See Exhibit W (Facebook's June 16, 2022
            Letter) at 3.
20

     Facebook further stated that it agreed to produce the schema (i.e. column names) for the preserved tables
21


22   containing user identifiers and will meet and confer with Plaintiffs regarding aproduction of Named

23   Plaintiff data from those tables. Id. at 3. Facebook also agreed to produce Named Plaintiff data from the

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                  system. Id. at 2. Facebook stated that Facebook had not previously identified or produced
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     data from               because the data in               is largely asubset of the data in the DYI files
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     already produced. Facebook stated that the
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                                                                                  (neither of which are relevant to these
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     Named Plaintiff data proceedings)." Id. at 1-2.

 3            22. Plaintiffs argue, among other things, that representations made by Facebook's counsel with

 4   respect to                  and the Hive tables is inconsistent with Facebook's sworn testimony. See Exhibit

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     X (Facebook's June 20, 2022 Letter) at 2. Plaintiffs request an order requiring aproduction date of
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     Friday, June 24, 2022 for the Hive schema, fields and documents sufficient to describe the contents of
 7
     the tables. Id. at 2. Plaintiffs further request an order to show cause why Facebook should not be ordered
 8

     to produce all Hive tables referencing user identifiers immediately. Id. at 2. Plaintiffs also argue that
 9


10   internal Facebook communications produced to date indicate that it is easier for Facebook to restore data

11   from cold storage than Facebook has represented, and Facebook should be ordered to restore data from

12   cold storage. Id. at 3.

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                                                             FINDINGS
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              23. Special Master Garrie finds that the parties agree with respect to the production of the
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     following buckets of data: (1) user objects and associations to those objects in the TAO system for each
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     Named Plaintiff; (2) Named Plaintiff data in the                           system; (3) specific types of data in Hive
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18   requested or referenced by Plaintiffs in challenging Facebook's production of Named Plaintiff data; 3 and

19   (4) data regarding interactions that friends of the Named Plaintiffs had with businesses/apps using

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     Facebook Login (without identifying which friend interacted with each business/app). See Exhibit S
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     (Facebook's May 30, 2022 Letter); Exhibit U (Facebook's June 7, 2022 Letter).
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              24. Special Master Garrie finds that the parties agree on the following additional items in
23
     connection with the production of Named Plaintiff data: (1) Facebook will produce the TAO schema for
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     the TAO data to be produced; (2) Facebook confirms it will produce the Hive data described in

26   paragraph 23 above regardless of whether it appears in the DYI files; (3) Facebook will provide the

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28   3This includes off-platform activity, ad interests, ad click data, ad impressions data, and custom audience data. $ee Exhibit S
     (Facebook's May 30, 2022 Letter) at 3.


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     names of the tables from which the Hive data described in paragraph 23 above will be produced, how
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 2
     Facebook identified the tables, and the schema for such data; (4) Facebook will provide the schema

 3   (column names) for all          Hive tables identified in Exhibit B to Facebook's April 11, 2022

 4   submission and the schema for all of the                              that contain user identifiers; (5)

 5
     Facebook will produce "set permissions" (audience controls on apost), including any audience controls
 6
     on individual pieces of content, from TAO; (6) Facebook will produce updated privacy settings for each
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     Named Plaintiff. See Exhibit S(Facebook's May 30, 2022 Letter).
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            25. The issues on which the parties do not appear to agree are the procedure for sampling Hive
 9


10   tables and searching cold storage for Hive tables.

11          26. With regards to Hive table sampling, Facebook's proposal to provide the schema for the

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            Hive tables, search asample 500 tables (250 selected by Facebook and 250 selected by

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     Plaintiffs) for Named Plaintiff data, and produce Named Plaintiff data identified is more appropriate
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     than Plaintiffs' initial proposal of requiring Facebook to produce the first five rows of all        Hive
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     tables because the Hive table schema Facebook agreed to provide would give Plaintiffs substantially the
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     same information sought by Plaintiffs' proposal without the additional burden of producing tens of
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18   thousands of rows of data that are unlikely to contain Named Plaintiff data. Plaintiffs also will be able to

19   use the Hive table schema to select tables they believe are most relevant.

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            27. With regards to searching cold storage for Hive tables, Facebook's proposal to first identify
21
     the Hive tables to be searched, then determine whether any tables contain data in cold storage, and, if so,
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     make proposals as to searching cold storage is appropriate, as we will be better positioned to develop a
23

     protocol for searching cold storage once we know the volume of cold storage data there will be for the
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25
     Hive tables selected (if any). Facebook's proposal also preserves both parties' rights to make arguments

26   regarding cold storage once the tables are identified.

27          28. Based on Special Master Garrie's interviews with Facebook engineers and the Facebook's

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     submissions regarding the other systems identified in the Exhibit H (aside from TAO, Hive,
 1


 2
                   ,Special Master Garrie finds that the burden of searching and producing from such

 3   systems outweighs any probative value the data may have. Issues regarding searching and producing

 4   from systems other than TAO, Hive, and                   have been resolved, and the parties have removed

 5
     all other systems from their proposals.
 6
                                                       ORDER
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             29. No later than July 13, 2022, Facebook is to produce user objects and associations to those
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     objects in the TAO system for each Named Plaintiff, along with the TAO schema for such data.
 9
     Facebook is also to produce Named Plaintiffs' "set permissions" (audience controls on apost),
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     including any audience controls on individual pieces of content, from TAO.
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             30. No later than August 1, 2022, Facebook is to produce Named Plaintiff data from the
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             31. No later than August 8, 2022, Facebook is to produce the following types of Named Plaintiff
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     data in Hive regardless of whether it appears in the DYI files: off-platform activity, ad interests, ad
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     click data, ad impressions data, and custom audience data. Facebook will also provide the names of the
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     tables from which the Hive data described above will be produced, how Facebook identified the tables,
17
     and the schema for such data
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             32. No later than July 25, 2022, Facebook is to produce the schema (column names) for all
19
             Hive tables identified in Exhibit B to Facebook's April 11, 2022 submission and the schema for
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     all of the                           that contain user identifiers.
21
             33. No later than July 18, 2022, Facebook is to produce updated privacy settings for each
22
     Named Plaintiff as set out in Facebook's May 30, 2022 Letter.
23
             34. No later than July 8, 2022, Facebook is to produce data regarding interactions that friends
24
     of the Named Plaintiffs had with businesses/apps using Facebook Login (without identifying which
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     friend interacted with each business/app).
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             35. No later than August 7, 2022, each party is to provide to each other and Special Master Garri
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     alist of 250 Hive tables to be searched for Named Plaintiff data. Three business days after the 500
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     tables have been identified, Facebook will submit astatement identifying which tables contain data in


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 1   cold storage and estimate the amount of data in cold storage for each table. Special Master Garrie will

 2   set abriefing schedule for proposals regarding searching cold storage at this time. In parallel with the

 3   cold storage analysis, Facebook is to search data in warm storage for the 500 Hive tables for data

 4   associated with the Named Plaintiffs and produce such data on arolling weekly basis. Once Named

 5   Plaintiff data has been produced from all 500 Hive tables, Facebook is to determine what percentage of

 6   this data has not been produced from other sources and to submit astatement to this effect. Once

 7   Facebook has provided the results of this analysis Special Master Garrie will determine the appropriate

 8   next steps concerning Hive data.

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13          IT IS SO ORDERED.
14
            Friday, July 1, 2022
15
                                                           Daniel Garrie
16                                                         Discovery Special Master

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            Exhibit A
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Plaintiffs' Co-Lead Counsel

Additional counsel listed on signature page



                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC



This document relates to:                      PLAINTIFFS' SECOND SET OF
                                               REQUESTS FOR PRODUCTION TO
ALL ACTIONS                                    DEFENDANT FACEBOOK, INC.

                                               Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor
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PROPOUNDING PARTY:              Plaintiffs

RESPONDING PARTY:               Facebook

SET NUMBER:                     Two (2)

       Plaintiffs hereby propound the following requests for production of documents to

Defendant Facebook, Inc. ("Facebook"), pursuant to Federal Rules of Civil Procedure 26 and 34,

and request that Facebook produce the documents and electronically-stored information set forth

herein within thirty (30) days of service of these requests, at Bleichmar Fonti & Auld LLP, 555

12th Street, Suite 1600, Oakland, CA 94607.

                                             INSTRUCTIONS

        1.       You shall respond to these requests for the production of documents in amanner

consistent with the Federal Rules of Civil Procedure and the following instructions:

       2.        In responding to each document request, furnish all responsive documents

available at the time of production, including documents in your possession, custody or control,

and in the possession, custody or control of your agents, employees, partners, representatives,

subsidiaries, affiliates, investigators, or by your attorneys or their agents, employees or

investigators.

        3.       If any otherwise responsive document was, but is no longer, in existence or in

your possession, custody or control, identify the type of information contained in the document,

its current or last known custodian, the location/address of such document, the identity of all

persons having knowledge or who had knowledge of the document and describe in full the

circumstances surrounding its disposition from your possession or control.

       4.        This is acontinuing request for the production of documents and requires

supplemental responses as provided for in the Federal Rules of Civil Procedure. If, after making

your initial production, you (or any other persons acting on your behalf) obtain or become aware

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of any further documents responsive to any document request, you are required to produce such

additional documents to plaintiffs. Each supplemental response shall be served on plaintiffs no

later than thirty days after the discovery of the further information.

       5.       You shall produce the original of each document described below or, if the

original is not in your custody, then acopy thereof, and in any event, all non-identical copies

which differ from the original or from the other copies produced for any reason, including,

without limitation, the making of notes thereon.

       6.       Documents shall be produced as kept in the regular course of business together

with the original folders, binders, boxes or other containers in which they were maintained.

       7.       All documents or things that respond in whole or in part to any portion of these

requests are to be produced in their entirety, including attachments and their enclosures.

        8.      Documents attached to each other should not be separated.

       9.       Documents not otherwise responsive to any particular document request shall be

produced if such documents mention, discuss, refer to, or explain the documents called for by

any document request, or if such documents are attached to documents called for by any

document request.

        10.     Documents shall be produced in such fashion as to identify the custodian of each

document.

        11.     Identify the source of each document produced, by identifying: (a) all of the

person(s) who possessed the document; (b) the positions or titles of any such individuals; and (c)

all of the divisions and departments where each document was located. If you are unable to

determine the individual(s) who possessed the document, identify the department and division

where the document was located when produced.




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        12.     If you claim any form of privilege, whether based on statute or otherwise, as a

ground for not producing any document, state the following:

                a.   The date of the document;

                b.   The name, the present or last known home and business address, the

                     telephone numbers, the title (or position), and the occupation of those

                     individuals who prepared, produced, reproduced or who were recipients of

                     said document;

                c.   A description of the document sufficient to identify it without revealing the

                     information for which the privilege is claimed;

                d.   The nature of the privilege asserted;

                e.   The factual basis upon which you claim any such privilege;

                f.   The location of the document; and

                g.   The custodian of the document.

        13.     To the extent you object to any document request, you must provide specific

responses as to what portion of the request you object to and state expressly why you will not

respond to such request in sufficient detail to permit the Court to determine the validity of the

objection. Responsive documents to which your objection does not apply should be produced.

        14.     If you claim that all or any part of any document request, the Definitions, or

Instructions is vague or ambiguous, please identify the specific language you consider vague or

ambiguous and state the interpretation of the language in question you used to frame your

response.

        15.     Each document requested herein is to be produced in its entirety and without

deletion or excision, regardless of whether you consider the entire document to be relevant or

responsive to any document request. If you have removed, excised or deleted any portion of a

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document, stamp the word "REDACTED" on each page of the document that you have redacted.

Redactions should be included on the privilege log described in Instruction No. 13, above.

        16.     One copy of each document should be produced. A document that varies in any

way from the original or from any other copy, including drafts or adocument with handwritten

notations or deletions constitutes aseparate document and must be produced, whether or not the

original is in your possession, custody or control. Color (i.e., not black and white) originals

should be produced in color. If any identical copy cannot be produced for any reason (e.g., faint

writing, erasures, etc.), produce the original.

        17.     Indicate the origin of each document and number each document with

consecutive Bates numbers.

                                           DEFINITIONS

        Unless otherwise stated, the terms set forth below are defined as follows and shall be

used in construing the meaning of these requests for the production of documents.

        1.      The use of the singular shall be deemed to include the plural, and the use of one

gender shall include all others, as appropriate, in the context.

        2.      The present tense of averb includes its past tense, and vice versa.

        3.      "And" and "or" are to be construed conjunctively and disjunctively, as necessary,

to bring within the scope of this request for production all responses that might otherwise be

construed to be outside its scope.

        4.      "Any" and "all" mean each and every.

        5.      "App" means an interactive software application developed to utilize the core

technologies of the Facebook social networking platform.

        6.      "App Developer Investigation" or "ADI" means (as described in paragraph seven

of the Chen Declaration) Facebook's investigation to determine "whether there has been misuse

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of data in violation of Facebook's policies and associated legal liabilities, in connection with the

first version of the [Facebook] Platform."

       7.       -Apps   Others Use" means the setting used to prevent the disclosure of personal

information to third party App Developers through Facebook's API, as described in paragraphs

366 to 368 of the FAC.

        8.      "App Settings" means settings that aUser can alter or accept to limit Third

Parties from accessing or obtaining Users' Content and Information, including Apps Others Use,

Granular Data Permissions, Platform Opt Out, and the like.

       9.       "Chen Declaration" means the Declaration of Stacy Chen in Support of

Respondent's Opposition to the Attorney General's Petition, Attorney General Mauro Healy v.

Facebook, Inc., No. 1984CV02597-BFS-1 (Mass. Super Ct., Suffolk Cty.).

        10.     "Communication" means the transmittal (in the form of facts, ideas, thoughts,

opinions, data, inquiries or otherwise) and includes, but is not limited to, correspondence,

memoranda, reports, presentations, face-to-face conversations, telephone conversations, text

messages, instant messages, messages sent on Facebook Messenger, voice messages,

negotiations, agreements, inquiries, understandings, meetings, letters, notes, telegrams, mail,

electronic mail or email, and postings of any type.

        11.     "Computer System" or "Computer Systems" include(s), but is not limited to, any

server (whether physical or virtual), desktop computer, tablet computer, point of sale system,

smart phone, cellular telephone, networking equipment, internet site, intranet site, and the

software programs, applications, scripts, operating systems, or databases used to control, access,

store, add, delete, or modify any information stored on any of the foregoing non-exclusive list.

        12.     "Content and Information" refers to the definition in footnote 2of the FAC,

referring to "content" and "information" as Facebook's Statements of Rights and

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Responsibilities have defined those terms. In brief, Facebook has generally used "information"

to mean facts and other information about Users, including the actions they take, and "content"

to mean anything Users post on Facebook that would not be included in the definition of

"information." Content and Information also includes both personally identifiable content and

information and anonymized content and information that is capable of being de-anonymized.

See FAC III 223-224. Content and Information includes data that identifies, relates to, describes,

is capable of being associated with, or could reasonably be linked, directly or indirectly, with a

particular User, including:

           a.   Identifiers such as areal name, alias, postal address, unique personal identifier,

                online identifier, Internet Protocol address, email address, account name, social

                security number, driver's license number, passport number, or other similar

                identifiers.

           b.   Characteristics of protected classifications under California or federal law.

           c.   Commercial information, including records of personal property, products or

                services purchased, obtained, or considered, or other purchasing or consuming

                histories or tendencies.

           d.   Biometric information.

           e.   Internet or other electronic network activity information, including, but not

                limited to, browsing history, search history, and information regarding a

                consumer's interaction with an Internet Web site, application, or advertisement.

           f.   Geolocation data.

           g.   Audio, electronic, visual, thermal, olfactory, or similar information.

           h.   Professional or employment-related information.




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              i.   Education information, defined as information that is not publicly available

                   personally identifiable information as defined in the Family Educational Rights

                   and Privacy Act (20 U.S.C. section 1232g, 34 C.F.R. Part 99).

              j.   Inferences drawn from any of the information identified in this paragraph to

                   create aprofile, dossier, or similar collection of information about aconsumer

                   reflecting the consumer's preferences, characteristics, psychological trends,

                   predispositions, behavior, attitudes, intelligence, abilities, and aptitudes.

        13.        "Document" or "Documents" is defined to include any Document, ESI, or

Electronic Media stored in any medium, and is synonymous in meaning and equal in scope to

the usage of this term in Federal Rule of Civil Procedure 34(a)(1)(A), including, but not limited

to, electronic or computerized data compilations, Communications, electronic chats, instant

messaging, documents created through Workplace by Facebook, encrypted or self-destructing

messages, messages sent via Facebook messenger, email Communications, other electronically

stored information from Personal computers, sound recordings, photographs, and hard copy

Documents maintained in your Personal files.

        14.        "Electronic Media" means any magnetic, optical, or other storage media device

used to record ESI including but not limited to computer memory, hard disks, floppy disks, flash

memory devices, CDs, DVDs, Blu-ray discs, cloud storage (e.g., DropBox, Box, OneDrive, or

SharePoint), tablet computers (e.g., iPad, Kindle, Nook, or Samsung Galaxy), cellular or smart

phones (e.g., BlackBerry, iPhone, or Samsung Galaxy), personal digital assistants, magnetic

tapes of all types, or any other means for digital storage and/or transmittal.

        15.        "Electronically Stored Information" or "ESI" means information that is stored in

Electronic Media, regardless of the media or whether it is in the original format in which it was

created, and that is retrievable in perceivable form and includes, but is not limited to, metadata,

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system data, deleted data, fragmented data, data pertaining to or maintained in Apps, database

contents, and computer code.

        16.     "FAC" refers to the First Amended Consolidated Complaint filed February 22,

2019, ECF No. 257.

        17.     "Facebook," "Defendant," "You," or "Your" shall mean Facebook, Inc. and any

of its executives, directors, officers, employees, partners, members, representatives, agents

(including attorneys, accountants, consultants, investment advisors or bankers), and any other

Person purporting to act on its behalf In the case of business entities, these defined terms

include parents, subsidiaries, affiliates, predecessor entities, successor entities, these defined

terms include parents, subsidiaries, affiliates, predecessor entities, successor entities, divisions,

departments, groups, acquired entities and/or related entities or any other entity acting or

purporting to act on its behalf

        18.     "FTC Consent Order" shall refer to the July 27, 2012 Federal Trade Commission

Consent Order in In the Matter cf Facebook, Inc., No. C-4365.

        19.     "Granular Data Permissions" means the setting through which the User accessing

an App may limit the categories of Content and Information an App Developer may collect.

        20.     "Identify," with respect to Documents, means to     give, to   the extent known, the

(a) type of Document; (b) general subject matter; (c) date of the Document; (d) author(s);

(e) addressee(s); and (f) recipient(s).

        21.     "Including" means "including but not limited to," or "including, without

limitation." Any examples which follow these phrases are set forth to clarify the request,

definition or instruction but not to limit the request.




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       22.      "Internal Policy" or "Internal Policies" mean any formal or informal policy,

procedure, rule, guideline, collaborative document, directive, instruction, or practice, whether

written or unwritten, that You expect Your employees to follow in performing their jobs.

       23.      "Misuse of Data," when used as acapitalized phrase, means the use by an App of

aUser's Content or Information that was broader or different than the use of that content or

information only in connection with the person that gave the permission to the App to access

such User's Content or Information.

       24.      "Named Plaintiffs" means Steven Akins, Jason Ariciu, Samuel Armstrong,

Anthony Bell, Bridgett Burk, Brendan Carr, John Doe, Terry Fischer, Shelly Forman, Paige

Grays, Mary Beth Grisi, Tabielle Holsinger, Taunna Lee Johnson, Olivia Johnston, Tyler King,

Ashley Kmieciak, William Lloyd, Gretchen Maxwell, Scott McDonnell, Ian Miller, Jordan

O'Hara, Bridget Peters, Kimberly Robertson, Scott Schinder, Cheryl Senko, Dustin Short, Tonya

Smith, Mitchell Staggs, Charnae Tutt, Barbara Vance-Guerbe, and Juliana Watson.

       25.      "Person" or "Persons" means any natural Person or any business, legal or

governmental entity or association.

       26.      "Platform" refers to the services, tools, and products provided by Facebook to

third parties to create their own applications and services that access data in Facebook.

       27.      "Platform Opt Out" means the setting aUser may access to choose that his or her

Content and information is not accessed or obtained by any Apps or websites on Facebook's

Platform.

       28.      "Privacy Controls" means the audience selectors that control what information in

aUser's profile can be viewed by other Users, and includes Profile Privacy Settings, Profile

Privacy Controls, Publisher Privacy Controls, and the like.




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       29.        "Relating to," "relate to," "referring to," "refer to," "reflecting," "reflect,"

"concerning," or "concern" means all Documents which comprise, explicitly or implicitly refer

to, were reviewed in conjunction with, or were created, generated or maintained as aresult of the

subject matter of the request, including, but not limited to, all Documents which reflect, record,

memorialize, embody, discuss, evaluate, consider, review or report on the subject matter of the

request.

       30.        -Third   Parties" include the following:

             a.   Apps, App Developers, Whitelisted Apps, and Business Partners, as those terms

                  are used in the FAC;

             b.   Any person that develops an application, software experience, game, or website

                  that accesses Content and Information from Facebook's API or other Facebook

                  software; and

             c.   Any person with which Facebook has or had an integration partnership.

       31.        "User(s)" means individuals who maintain aFacebook account and can generally

access the typical Facebook experience through website or mobile applications.

       32.        Capitalized terms and acronyms not specifically defined herein have the same

definition as in the FAC.

                                     RELEVANT TIME PERIOD

       The relevant time period for each Document Request is January 1, 2007 through the

present (the "Relevant Time Period"), unless otherwise specifically indicated. Each Document

Request shall be interpreted to include all documents and information that relate to the Relevant

Time Period or otherwise specified period, even if such documents or information were prepared

or published outside of the Relevant Time Period or otherwise specified period. If adocument

prepared before or after this period is necessary for acorrect or complete understanding of any

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document covered by arequest, you must produce the earlier or subsequent document as well. If

any document is undated and the date of its preparation cannot be determined, the document

shall be produced if otherwise responsive to the production request.

                                    DOCUMENT REQUESTS

REQUEST FOR PRODUCTION NO. 6

        All Documents provided to or received from any governmental entity or regulator in the

United States and United Kingdom in response to any formal or informal inquiry or

investigation relating to whether Users' Content and Information was accessed or obtained by

any Third Parties without proper consent or authorization, including but not limited to all

inquiries or investigations arising out of the Cambridge Analytica Scandal, the FTC Consent

Order, and any inquiry or investigation related to the settlement agreement with the FTC

announced on July 24, 2019.

REQUEST FOR PRODUCTION NO. 7

        All organizational charts, personnel directories, or other documents sufficient to show

Your organizational structure, including:

        (a)     the identity of subsidiaries, affiliates, and joint ventures, and your ownership

interest, control of, or participation in any subsidiary or affiliate or joint venture related to

agreements, engineering, access, use, transmission, receipt, collection or analysis of Facebook

Users' Content and Information by Third Parties;

        (b)     the organization of any division, department, unit or subdivision of your company

that has responsibilities relating to agreements, engineering, access, use, transmission, receipt,

collection or analysis of Users' Content and Information by Third Parties; and

        (c)     the names, titles, job descriptions, and employment periods for your present and

former employees who has or had responsibilities relating to agreements, engineering, access,

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use, transmission, receipt, collection or analysis of Users' Content and Information by Third

Parties; and

        (d)       the names, titles, job descriptions, and employment periods of Your present or

former directors, officers, or senior managers, as well as any secretaries or administrative

assistants assigned to these directors, officers, or senior managers.

REQUEST FOR PRODUCTION NO. 8

        All versions (including each updated or amended version thereof) of Facebook's

-Platform     Policies," which have been called the "Developer Principles and Policies, - the

"Platform Guidelines," or the "Developer Terms of Service" (collectively, the "Platform

Policies").

REQUEST FOR PRODUCTION NO. 9

       All Documents relating to each of the Named Plaintiffs, including but not limited to all

Content and Information collected about each of them or gained from business relationships or

any other source.

REQUEST FOR PRODUCTION NO. 10

        For each of the Named Plaintiffs, Documents sufficient to show the categories of Content

and Information Facebook collects, tracks, and maintains about them.

REQUEST FOR PRODUCTION NO. 11

        Documents sufficient to identify all Third Parties to which Facebook granted access to

Named Plaintiffs' Content and Information, what categories of Content and Information

Facebook granted access to, how Facebook allowed these Third Parties to access the Named

Plaintiffs' Content and Information, and the business purpose of all such access.




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REQUEST FOR PRODUCTION NO. 12

       Documents relating to any partnerships or agreements Facebook entered into with Third

Parties for access to Named Plaintiffs' Content and Information.

REQUEST FOR PRODUCTION NO. 13

       For all Third Parties to which Facebook granted access to Named Plaintiffs' Content and

Information, Documents sufficient to show any use by Third Parties of such Content and

Information not in connection with the User that granted the permission to the Third Party or

inconsistent with Facebook's agreement with that Third Party.

REQUEST FOR PRODUCTION NO. 14

       Documents sufficient to show the monetary or retail value of each named Plaintiff's

Content and Information to Facebook, updated to reflect whenever Facebook's terms of service

changed, including the calculation of revenue earned by Facebook for each Named Plaintiff

based upon bartering or selling access to such Named Plaintiff's Content and Information.

REQUEST FOR PRODUCTION NO. 15

       Documents sufficient to show the money or any other thing of value, including but not

limited to money or any other thing of value paid in exchange for targeted advertising, that

Facebook received in exchange for each Named Plaintiffs Content and Information, which

entities paid Facebook, and when such payments were made.

REQUEST FOR PRODUCTION NO. 16

       Documents sufficient to show the monetary or retail value of Users' Content and

Information to Facebook, including all monthly, quarterly, and annual financial reporting

relating to same, and including but not limited to the calculation of average revenue per user,

any changes to such monetary or retail value relating to changes to Facebook's terms of service,

and any financial reporting of Content and Information as an asset.

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REQUEST FOR PRODUCTION NO. 17

       All Documents relating to Facebook's assessment of the monetary or retail value of

Users' Content and Information to Users (as distinct from value to Facebook), including

analyses for providing compensation to Users for their Content and Information, including but

not limited to Users compensated in connection with the Onavo or Research app.

REQUEST FOR PRODUCTION NO. 18

       All Documents that have been transmitted to Users by Facebook relating to whether

Users' Content and Information was accessed or obtained by Third Parties.

REQUEST FOR PRODUCTION NO. 19

       All Documents supporting the escalation of those Apps escalated to Phase Two of ADI

for Enhanced Examination and/or Phase Three of ADI for Enforcement and designated as

follows in the Chen Declaration If 34:

        (d) each [A]pp to which arequest for information was sent; (e) each [A]pp for

       which an interview was sought with the developer; (f) each [A]pp for which a

       remote or onsite audit was requested to be conducted; (g) each [A]pp for which

        actual misuse was found and identification of that misuse; (h) each [A]pp that was

       banned for actual misuse; and (i) each [A]pp that was banned for failing to

       cooperate with Facebook's investigation.

       Facebook has described identification of these Apps as non-privileged and has

already produced it to the Massachusetts Attorney General's Office. See Chen

Declaration If 35.

REQUEST FOR PRODUCTION NO. 20

        The list of Apps that Facebook provided to the Massachusetts Attorney General's Office

and that the Chen Declaration If 35 describes as "the subject of external actions or

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communications with third parties, including the growing list of Apps Facebook has suspended

as part of the [ADI], whether because of policy violations or because of their refusal to cooperate

with Facebook's investigation."

REQUEST FOR PRODUCTION NO. 21

         Communications between Facebook and Third Parties relating to the ADI, including but

not limited to Communications that Facebook provided to the Massachusetts Attorney General's

Office. See Chen Declaration If 37.

REQUEST FOR PRODUCTION NO. 22

         All "Privacy Risk Assessment[s]," and notes or agenda relating to Facebook's "focused

subject-matter-specific meetings," "focused subject-matter-specific discussions," "weekly intra-

and inter-team meetings," and "Privacy Summit[s]," as detailed in "Facebook's Privacy Program

Overview" included in any PricewaterhouseCoopers LLP ("PwC") assessment report prepared

pursuant to the FTC Consent Order.

REQUEST FOR PRODUCTION NO. 23

         Unredacted versions and Documents in support of the assessment reports, including the

Initial Assessment Report and Biennial Reports, prepared by PwC pursuant to the FTC Consent

Order.

REQUEST FOR PRODUCTION NO. 24

         Documents sufficient to identify all Third Parties to which Facebook granted access to

Users' Content and Information not generally available through Platform pursuant to

partnerships or agreements between Facebook and those Third Parties.

REQUEST FOR PRODUCTION NO. 25

         All Documents relating to agreements or partnerships described in Request No. 24.




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REQUEST FOR PRODUCTION NO. 26

       For each of the Third Parties that Facebook entered into partnerships or agreements with

as described in Request No. 24, Documents sufficient to identify:

    • The fields, kinds, or categories of Content and Information that were accessed or

        obtained by such Third Parties;

    • How each such Third Party accessed or obtained the Content and Information of Users;


    • How each such Third Party used the Content and Information accessed or obtained;

    • Where the Content and Information obtained by such Third Parties currently resides and

        who has access to it.

REQUEST FOR PRODUCTION NO. 27

       Documents sufficient to show all forms and formats in which Facebook transmitted to

Third Parties information concerning Users' liking, viewing, retrieving, or otherwise requesting

or obtaining videos on, using, or by means of the Facebook Platform.

REQUEST FOR PRODUCTION NO. 28

       All Documents relating to Internal Policies by Facebook on the monitoring of Third

Parties' compliance with Facebook's Platform Policy, Data Policy, or SRR.

REQUEST FOR PRODUCTION NO. 29

       All Documents relating to Internal Policies by Facebook on the enforcement of

Facebook's Platform Policy, Data Policy, or SRR against Third Parties.

REQUEST FOR PRODUCTION NO. 30

       All Documents relating to measures and controls, including proposed measures and

controls, put in place by Facebook to prevent Third Parties from violating Facebook's Platform

Policy, Data Policy, or SRR.




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REQUEST FOR PRODUCTION NO. 31

       All Documents relating to Facebook's audits, inquiries, and investigations of Third

Parties investigating compliance with any provisions of Facebook's Platform Policy, Data

Policy, or SRR regarding the access, use, transmission, receipt, collection and analysis of Users'

Content and Information on and off the Platform.

REQUEST FOR PRODUCTION NO. 32

       All Documents Concerning Misuse of Data, including investigations, examinations,

inquiries, or audits—or Communications regarding such investigations, examinations, inquiries,

or audits—regarding Misuse of Data prior to the deprecation of Graph API v.1.0.

REQUEST FOR PRODUCTION NO. 33

       Documents sufficient to show the notice that Facebook provided to Users regarding

modifications to Facebook's SRR or Data Policy, and all Communications related thereto.

REQUEST FOR PRODUCTION NO. 34

       All Documents relating to the conditioning of Third Parties' access to Users' Content and

Information on the purchase of Mobile App Install Ads, payment of Content and Information in-

kind (referred internally as Reciprocity or Data Reciprocity), or other payment.

REQUEST FOR PRODUCTION NO. 35

       Documents relating to the manner in which aFacebook User could control how his or her

data was shared through their Privacy Controls and App Settings throughout the Relevant Time

Period, including but not limited to screenshots of the Facebook website and the Facebook

mobile application.




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REQUEST FOR PRODUCTION NO. 36

       All Documents concerning User testing, evaluation and analysis of Facebook's Privacy

Controls and App Settings during the Relevant Time Period, including but not limited to design

documents, correspondence, analyses, and reports.




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Dated: November 25, 2019                                 Respectfully submitted,



KELLER ROHRBACK L.L.P.                                   BLEICHMAR FONTI & AULD LLP

By:    /s/ Derek W. Loeser                               By:       /s/ Lesley E. Weaver
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                                         Exhibit A
 What info is                                                                          Where can I
                           What is it?
 available?                                                                            find it?

                          IInformation you added to the About section of your
                           timeline like relationships, work, education, where you

                          I
                                                                                       Downloaded
 About Me                  live and more. It includes any updates or changes you
                                                                                       Info
                           made in the past and what is currently in the About
                           section of your timeline.

                           The dates when your account was reactivated,                Downloaded
 Account Status History
                           deactivated, disabled or deleted.                           Info

                           All stored active sessions, including date, time,
                                                                                       Downloaded
 Active Sessions           device, IP address, machine cookie and browser
                                                                                       Info
                           information.

                           Your current address or any past addresses you had          Downloaded
 Address
                           on your account.                                            Info

                                                                                       Downloaded
 Ads                       Ads you've recently viewed.
                                                                                       Info

                           Dates, times and titles of ads clicked (limited retention   Downloaded
 Ads Clicked
                           period).                                                    Info

                           A list of topics that you may be targeted against based
                                                                                       Downloaded
 Ad Topics                 on your stated likes, interests and other data you put
                                                                                       Info
                           in your timeline.

                           The unique advertising identification numbers
                           provided by your mobile device. These numbers are           Downloaded
 Advertising ID
                           used to show you ads on the apps you use on your            Info
                           device.

                           Any alternate names you have on your account                Downloaded
 Alternate Name
                           (example: a maiden name or a nickname).                     Info

                                                                                       Downloaded
 Apps                      All of the apps you have added.
                                                                                       Info

                                                                                       Downloaded




r
1Articles                  Articles you've recently read.
                                                                                       Info

                           Information you've provided, such as your address,
                                                                                       Downloaded
 Autofill Information      that is used to pre-fill messages when you contact a
                                                                                       Info
                           business through Messenger.

                           A history of the conversations you've had on
                                                                                       Downloaded
 Chat                      Facebook Chat (a complete history is available
                                                                                       Info
                           directly from your messages inbox).



Source: What categories of my Facebook data are available to me?,
https://www.facebook.com/help/930396167085762, Table 2, Information you can download
using the Download Your Information tool (last visited Sept. 18, 2020).
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                                                                                    Downloaded
Chat Rules               Chat Rules you've accepted.
                                                                                    Info

                                                                                    Downloaded
I
Check-ins                The places you've checked into.
                                                                                    Info

                         Your preferred currency on Facebook. If you use
                                                                                    Downloaded
Currency                 Facebook Payments, this will be used to display
                                                                                    Info
                         prices and charge your credit cards.


Current City
                         The city you added to the About section of your
                         timeline.

                         The date you added to Birthday in the About section
                                                                                    r
                                                                                    Downloaded
                                                                                    Info

                                                                                    Downloaded
 Date of Birth
                         of your timeline.                                          Info

                         The number of times you've recently visited the Dating     Downloaded
 Dating
                         section of Facebook.                                       Info

                         The unique identification numbers provided by the          Downloaded
 Device ID
                         devices you use to log into Facebook.                      Info

                         The country and language from which you're
                                                                                    Downloaded
 Device Locale           accessing Facebook as determined by the devices
                                                                                    Info
                         you're using.


 Education
                         Any information you added to Education field in the
                         About section of your timeline.

                         Email addresses added to your account (even those
                                                                                    T
                                                                                    Downloaded
                                                                                    Info

                                                                                    Downloaded
 Emails
                         you may have removed).                                     Info

Email Address                                                                       Downloaded
                         A history of when you've verified your email address.
Verifications                                                                       Info

                                                                                    Downloaded
 Events                  Events you've joined or been invited to.
                                                                                    Info

 Event Contacts You've                                                              Downloaded
                         People you've blocked from inviting you to events.
 Blocked                                                                            Info


 Event Interactions
                         T
                         The number of times you've recently visited the
                         Events section of Facebook.
                                                                                    Downloaded
                                                                                    Info

                                                                                    Downloaded
 Events Visited          Event pages you've recently visited.
                                                                                    Info


TFacebook Live Videos    Live videos you've recently watched.
                                                                                    Downloaded
                                                                                    Info

Facebook Watch
                         A collection of topics that is used to show you relevant   Downloaded
Topics for
                         videos in the Facebook Watch tab. The topics are           Info
Recommendations




                                               2
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                        based on your previous interaction history with things
                        like links, videos, photos and Pages you've liked.

                        A unique number based on a comparison of the
 Facial Recognition                                                               Downloaded
                        photos you're tagged in. We use this data to help
 Data                                                                             Info
                        others tag you in photos.

                                                                                  Downloaded
 Family                 Friends you've indicated are family members.
                                                                                  Info

                        Information you've added to the Favorite Quotes           Downloaded
 Favorite Quotes
                        section of the About section of your timeline.            Info

                                                                                  Downloaded
 Followers              A list of people who follow you.
                                                                                  Info


 Friends                I
                        A list of your friends.
                                                                                  Downloaded
                                                                                  Info

                                                                                  Downloaded
 Friend Requests        Pending, sent and received friend requests.
                                                                                  Info

                        Friends whose activity you've chosen to see less of on    Downloaded
 Friends You See Less
                        Facebook.                                                 Info

                                                                                  Downloaded
 Fundraisers            Fundraisers you've recently viewed.
                                                                                  Info

                        The gender you added to the About section of your         Downloaded
Gender
                        timeline.                                                 Info

                                                                                  Downloaded
Groups                  A list of groups you belong to on Facebook.
                                                                                  Info



,
Group Interactions
                        The number of times you've interacted with Groups on      Downloaded



                        G
                        Facebook.                                                 Info


T
Groups Visited            roups you've recently visited.
                                                                                  Downloaded
                                                                                  Info
1
                        The place you added to hometown in the About              Downloaded
 Hometown
                        section of your timeline.                                 Info

                        A copy of the ID you submitted to confirm your identity
                                                                                  Personal Data
                        and to help improve our automated systems for
                                                                                  Request
                        detecting fake IDs and related abuse.


1
Instant Games
—                       Instant Games you've played.
                                                                                  Downloaded
                                                                                  Info

                                                                                  Downloaded
 IP Address Activity    Your recent activity from specific IP addresses.
                                                                                  Info




                                                  3
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IP Address Message        Your recent message activity from specific IP            Downloaded
Activity                  addresses.                                               Info

IP Address Payment        Your recent payment activity from specific IP            Downloaded
Activity                  addresses.                                               Info

                                                                                   Downloaded
Language Settings         Your preferred language settings.
                                                                                   Info

                                                                                   Downloaded
Last Location             Your most recent location determined by your device.
                                                                                   Info




                          S
                                                                                   Downloaded
Linked Accounts           Accounts you've linked to your Portal.
                                                                                   Info

Live Video                                                                         Downloaded
                           cheduled Live videos you've subscribed to.
Subscriptions                                                                      Info

                          IP address, date and time associated with logins to      Downloaded
Logins
                          your Facebook account.                                   Info


Fogouts
                          IP address, date and time associated with logouts
                          from your Facebook account.
                                                                                   Downloaded
                                                                                   Info

Marketplace                                                                        Downloaded
                          Categories you've recently viewed.
Categories                                                                         Info

Marketplace                                                                        Downloaded
                          Your recent interactions on Marketplace.
Interactions                                                                       Info

                                                                                   Downloaded
Marketplace Items         Items you've recently viewed.
                                                                                   Info

                                                                                   Downloaded
Marketplace Services      Services you've recently viewed.
                                                                                   Info

                          Contact information that may be associated with your     Personal Data
Matched Contacts
                          account.                                                 Request

                          Areas of Facebook you've recently accessed through       Downloaded
Menu Items
                          the main menu.                                           Info

                          Messages you've sent and received on Facebook.
                          Note, if you've deleted a message it won't be included   Downloaded
Messages
                          in your download as it has been deleted from your        Info
                          account.



r
Messenger Contacts
You've Blocked
                          Contacts you've blocked on Messenger.


                          Notifications about your activity milestones, such as
                                                                                   Downloaded
                                                                                   Info


                                                                                   Downloaded
Milestone Notifications   the number of reactions on a post, you've received
                                                                                   Info
                          and dismissed.




                                                4
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 Mobile Service
                           The service provider and country code associated           Downloaded
 Provider and Country
                           with your phone number.                                    Info
 Code
r
                                                                                      Downloaded
    Name                   The name on your Facebook account.
                                                                                      Info


1   Name Changes
                           Any changes you've made to the original name you
                           used when you signed up for Facebook.
                                                                                      Downloaded
                                                                                      Info
I
                           A collection of topics that is used to show you relevant
                           public posts in parts of your News Feed. The topics
    News Feed Topics for                                                              Downloaded
                           are based on your previous interaction history with
    Recommendations                                                                   Info
                           things like links, videos, photos and Pages you've
                           liked.

                           A collection of topics that is used to show you relevant
    News Topics for        articles in the News tab. The topics are based on your     Downloaded
    Recommendations        previous interaction history with things like posts,       Info
                           videos, photos and Pages you've liked.

                           The identification numbers that we use to send you         Downloaded
    Notification ID
                           Facebook notifications on your device.                     Info

                           Chat notifications you've dismissed from Pages you         Downloaded
    Page Notifications
                           visit.                                                     Info
                                                                                 -
                                                                                      Downloaded
    Page Visits            Pages you've recently visited.
                                                                                      Info

    Page Transparency
    Notices
                           r
                           A list of pages that you've received and dismissed
                           notices from.
                                                                                      Downloaded
                                                                                      Info

                                                                                      Downloaded
    Pages You Admin        A list of pages you admin.
                                                                                      Info



T   Pages You've
    Recommended

    Pending Friend
                           Pages you've recommended to others.
                                                                                      Downloaded
                                                                                      Info

                                                                                      Downloaded
                           Pending, sent and received friend requests.
    Requests                                                                          Info

                           People and friends you've interacted with recently,        Downloaded
    People
                           including comments and reactions.                          Info
I
—
                           People you've recently viewed when new friends were        Downloaded
 People Viewed




r
                           suggested to you.                                          Info
I
                           Mobile phone numbers you've added to your account,
                                                                                      Downloaded
    Phone Numbers          including verified mobile numbers you've added for
                                                                                      Info
                           security purposes.




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                                                                                     Downloaded
 Photos                    Photos you've uploaded to your account.
                                                                                     Info

                                                                                     Downloaded
[ Photo   Effects         [A list of the photo effects you've used.
                                                                                     Info


TPhotos Metadata
                           Any metadata that is transmitted with your uploaded
                           photos.
                                                                                     Downloaded
                                                                                     Info

                           Platforms you've used to log into Facebook, such as       Downloaded
 Platforms
                           the Facebook app or a browser.                            Info

                           A list of who's poked you and who you've poked. Poke
                           content from our mobile poke app is not included
                                                                                     Downloaded
 Pokes                     because it's only available for a brief period of time.
                                                                                     Info
                           After the recipient has viewed the content it's
                           permanently deleted from our systems.

                           Any information you added to Political Views in the       Downloaded
 Political Views
                           About section of timeline.                                Info

 Preferred Language for    The preferred language for videos as determined by        Downloaded
 Videos                    videos you've previously viewed.                          Info

 Previously Removed                                                                  Downloaded
                           Friends you've recently removed but added back.
 Contacts                                                                            Info

                           Your primary location is determined by information we
                           use to support Facebook Products, such as the             Downloaded
 Primary Location
                           current city you entered on your profile and your         Info
                           device connection information.

                                                                                     Downloaded
 Profile Visits            People whose profiles you've recently visited.
                                                                                     Info

                           Actions you've taken and interactions you've recently     Downloaded
 Recent Activities
                           had.                                                      Info

                                                                                     Downloaded
 Recently Visited          Videos and shows you've recently visited.
                                                                                     Info

                                                                                     Downloaded
 Record Details            Details included in some administrative records.
                                                                                     Info

                                                                                     Downloaded
 Registration Date         The date you joined Facebook.
                                                                                     Info


TReligious Views
                           The current information you added to Religious Views
                           in the About section of your timeline.
                                                                                     Downloaded
                                                                                     Info

                                                                                     Downloaded
 Removed Friends          IPeople you've removed as friends.
                                                                                     Info




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                                                                                 Downloaded
 Saved Post Reminders   Reminders you've received after you've saved a post.
                                                                                 Info

                        The screen names you've added to your account, and
                                                                                 Downloaded
 Screen Names           the service they're associated with. You can also see
                                                                                 Info
                        if they're hidden or visible on your account.

                        A list of the times you've used Secret Conversations     Downloaded
 Secret Conversations
                        in Messenger.                                            Info

Secret Conversations    A list of the secret conversations you've reported to    Downloaded
You've Reported         Facebook.                                                Info

                        Profiles and Pages you've recently chosen to see first   Downloaded
 See First
                        in your News Feed.                                       Info

                        Profiles and Pages you've recently chosen to see less    Downloaded
 See Less
                        of in your News Feed.                                    Info

                                                                                 Downloaded
 Selected Language      The language you've selected to use Facebook in.
                                                                                 Info

                                                                                 Downloaded
 Session Type           Your current active session types.
                                                                                 Info

                        A list of the Show Pages you've viewed and the           Downloaded
 Show Pages
                        videos you've watched from them.                         Info

                                                                                 Downloaded
TShows                  A list of the individual videos you've watched.
                                                                                 Info

                        The languages you added to Spoken Languages in           Downloaded
 Spoken Languages
                        the About section of your timeline.                      Info

                                                                                 Downloaded
 Status Updates         Any status updates you've posted.
                                                                                 Info


r
Time Spent

n
                        The amount of time you've spent watching videos
                        from a Show Page.
                                                                                 Downloaded
                                                                                 Info

                                                                                 Downloaded
 Time Viewed            The amount of an individual video you've watched.
                                                                                 Info


                        T
I
                                                                                 Downloaded
Timezone                Th etimezone you've selected.
                                                                                 Info

                        Any current information you've added to Work in the      Downloaded
Hork
                        About section of your timeline.                          Info


Videos                  Videos you've posted to your timeline.
                                                                                 r
                                                                                 Downloaded
                                                                                 Info




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                         -
                                                                            Downloaded
Video Creator Pages          Video creator Pages you've recently viewed.
                                                                            Info

Videos You've
Removed
                         r   Videos you've removed from your Watch list.
                                                                            Downloaded
                                                                            Info


Your Facebook Activity   T   A history of when you've accessed Facebook.
                                                                            Downloaded
                                                                           IInfo
r                        I"
                                                                            Downloaded

1
Your Pinned Posts        1Posts    you've pinned on your timeline.
                                                                            Info




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                     UNITED    STATES DISTRICT COURT


                    NORTHERN DISTRICT OF CALIFORNIA


Before The Honorable Jacqueline           Scott    Corley,       Magistrate       Judge



IN RE   FACEBOOK,   INC.    CONSUMER     )
PRIVACY USER PROFILE
LITIGATION.                              ) NO.    18-MD-02843 VC          (JSC)



                                    San Francisco,        California
                                    Friday,     August    14,    2020


         TRANSCRIPT OF REMOTE VIDEOCONFERENCE                   PROCEEDINGS


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 1   Friday    - August        14,    2020                                                      8:27    a.m.


 2                                     PROCEEDINGS


 3                                              ---o0o---


 4                  THE CLERK:        We're     a minute       early,    but    court       is now in


 5   session.        Let's     see.     Calling Civil Action             18-MD-2843,             In Re


 6   Facebook,       Inc.    Consumer Privacy User Profile Litigation.


 7           Counsel,       starting with plaintiff,              can you please                state


 8   your appearance.


 9                 MS.   WEAVER:        Sure.     This    is    Lesley Weaver of Blakemar


10   Fonti    & Auld.        With me     is Anne Davis          and Angelica Ornelas.


11           And    I see    that Matt Montgomery actually is                       not    --   he


12   should be with us.               So he    should probably be             elevated.           I


13   apologize.          I missed him before.             Don't       tell   him.


14                 MR.   LOESER:        Good morning.           You have Derek Loeser                   from


15   Keller Rohrback.


16                  THE COURT:         Good morning.


17                 MR.   KO:     Good morning,       Your Honor.             Nice     to    see you


18   again.        David Ko,     Keller Rohrback,          also on behalf of


19   plaintiffs.


20                  THE COURT:         Good morning.


21           And here       comes Mr.        Montgomery.        He's here.


22           All    right.      And for       Facebook?


23                 MR.   SNYDER:        Good morning,          Judge.        It's    Orin Snyder


24   from Gibson Dunn with my colleagues,                       Deb    Stein,       Martie Kutscher


25   Clark,    and Russ        Falconer.
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 1               THE COURT:        Good morning.

 2        Okay.        Thank you for your statement.

 3        Let's    see.     It    sounds   like there are not          too many things

 4   to discuss.        Let's    just   start.

 5        The search terms you're working on,               I will       just make this

 6   observation.        I do think it would be unreasonable to insist

 7   that all terms apply to all custodians.                That       just can't be

 8   right.     People have different positions.             So I give you that

 9   guidance in working on that.

10        Now,    with respect to the data about plaintiffs,                     let's go

11   through.     And why don't plaintiffs            tell us what       is the data

12   that you're missing that you think is relevant.                      So one thing

13   you've identified is          the data about what data about the

14   plaintiffs was       shared with advertisers.          Is    that correct?

15               MS.   WEAVER:      That   is correct    in general       terms,

16   Your Honor.        Basically,      what has been produced to us             is

17   user-facing data through an Access Your Account                     tool,    for the

18   most part.

19        Now,    I want you to know that we have reviewed all of the

20   plaintiffs'       data with more than one pass-through.                We've done

21   targeted searches.          We've had 18 people,       and more at times,

22   going through the documents.                So we're pretty familiar with

23   what's there.

24        There are two problems            that we have.        The    first    is that

25   Your Honor ordered us          last   --    two weeks ago to discuss
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 1   precisely what has been produced and precisely what                            is the data

 2   that   is being withheld.

 3          And we        --   in the course of our meet-and-confer sessions,

 4   Facebook did not            identify the examples         that    they put      in their

 5   statement.           We didn't discuss        those.     So once again,        we are

 6   getting information the               first   time    in the statement.

 7          And it would have been better if we had discussed it,

 8   because when we look at               those documents      --    we've looked at them

 9   before    --    they are not what we're seeking.                 And the reason that

10   they're not          --   and if you look,      there's an example of one of

11   them they gave us.             The content      is missing.        So there's an

12   event that       says one of         the users went      to a website,         but the

13   content of what they did on the site is                    stripped away.

14          And our experts          say,    you know,      what did you put         in your

15   shopping cart?            What did you access?           How long were you on it?

16          And that data is also married to GPS data                     --

17                  THE COURT:       Okay.     I have the statement            --

18                  MS.   WEAVER:     Yeah.

19                  THE COURT:       --    in front of me.

20                  MS.   WEAVER:     Yes.

21                  THE COURT:       Can you put me to the page and the Bates

22   number?

23                  MS.   WEAVER:     The Bates number of            the document      --   hang

24   on.

25                  THE COURT:       Well,    first,      the page of    the statement         so
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 1   I know where             to go.


 2                     MS.    WEAVER:     That       is    going to be harder                     for me.


 3   I think it's page             6.     The Bates          number         --    and I'm going to


 4   ask    --    Anne,       if you can help me,                it's      01037245.


 5                     THE COURT:        Don't       see    that.          It's    redacted


 6   information?


 7                     MS.    WEAVER:     Some of          the    information was                  redacted,


 8   yes.        But    this    information we             can discuss            in the hearing,                if


 9   that    is    --


10                     THE COURT:        No,    no.        I understand.                We    can       --   I'm not


11   worried       --


12                     MS.    WEAVER:     Yeah.


13                     THE COURT:        --    about       that.


14           I'm just          trying to       find it.           I don't         see    it.


15                     MS.    WEAVER:     Yeah.           Hang on just            a moment.


16                     THE COURT:        Maybe       the    sentence         at    the       first page of


17   the    --


18                     MS.    WEAVER:     Yeah,       I'm actually looking                        --    I


19   apologize.              I'm looking       for    the    actual         statement.                 I have    too


20   many things             open on my laptop.


21           But       for all    of    the documents             that      they've          identified,


22   Your Honor,             these are    PDFs       that    reflect         some       activity.


23                     THE COURT:        I just want             to   start with             --    I want       to


24   start with          --


25                     MS.    WEAVER:     Fine.           Okay.       So    if you go             to page       5 of
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 1   the statement and if we             look at,    for example,         where it    says

 2   "Ms.    Tutt reviewed content on Amtrak.com,"                   it doesn't      tell us

 3   what the content      is or it doesn't              tell us   --

 4               THE COURT:        Okay.     Or the       --

 5               MS.   WEAVER:      --    what   they did.

 6               THE COURT:        --    other one,       that Ms.      Tutt viewed content

 7   on a news    site and --

 8               MS.   WEAVER:      Right.       And it doesn't          --

 9               THE COURT:        --    tell you what         the content    is.

10               MS.   WEAVER:      --    tell us what         they do.

11               THE COURT:        Let me ask Facebook.

12           Do you have that content?

13               MR.   SNYDER:      Mr.    Falconer,       I think,     will address this.

14               MR.   FALCONER:         Good morning,         Your Honor.     Russ

15   Falconer for Facebook.

16           Our understanding is          there    is    some machine-readable data

17   in some cases that might reflect                the off-Facebook activity that

18   Ms.    Weaver is describing in a kind of raw,                   disaggregated way.

19   That    information is not associated with the plaintiff's account

20   in the way that the user-created,                   user-shared content and

21   information is associated with a user account.

22          And so I hear     --    I don't know --            confusion and frustration

23   from Ms.    Weaver that       they feel       like they don't understand what

24   we've produced.

25           The Court ordered us          to,   you know,       be as clear as we can
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 1   on named plaintiffs'             data,   what has been produced and what has

 2   been withheld.        And what we've tried to do is                say that we've

 3   produced all content             information that       the plaintiffs          share on

 4   Facebook and then some of                the other categories of information

 5   that we identified in our statement;                   so device    information,

 6   geolocation information,               certain other information that                 is

 7   associated with their account.                 And we have been       --    I think

 8   we've tried to be clear;               and if we   failed in this,         we

 9   apologize.

10           There is other       --    there's    Facebook-generated information,

11   information generated by third parties,                   information received

12   from third parties.              We have not represented that that                   is

13   comprehensively included in our production.

14           What we have produced are Facebook analytics,                      third-party

15   data,    off-Facebook activity,             anything like that       that       is

16   associated with a user's account.

17           And so that's       --    I think the point of departure between

18   the parties right now is maybe the                 level of generality with

19   which we have described what we have not produced.                          But

20   that's    --    we've tried to be as clear about             the,    sort of,             large

21   buckets that are not             included in the named plaintiff data we've

22   produced to date.

23                  THE COURT:        So,    for example,   when you say Ms.              Weaver

24   said,    as you said,       that       the plaintiff viewed content on

25   Amtrak.com,       are you saying you don't have any way of
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 1   identifying what that content                  is    that    she viewed at that

 2   particular time,       even though you were able to say she viewed

 3   that website at that         time?

 4               MR.    FALCONER:       I think for an individual plaintiff on

 5   an individual website,            if    it was       just    that question --      could we

 6   tell   for one of the named plaintiffs what                         specific content      she

 7   viewed on the Amtrak website?                  --    if   it was,     you know,   ten years

 8   ago or seven years ago,            probably not.              If    it was a year ago,

 9   maybe.   That data may or may not have been associated with --

10               THE COURT:       Well,       if    it was       this year    --

11               MR.    FALCONER:       Yeah.

12               THE COURT:       --    with that particular --

13               MR.    FALCONER:       Sure.

14               THE COURT:       --    data this year.

15               MR.    FALCONER:       The answer is             it's possible.       There may

16   be some website-specific data about                       that named plaintiff;        there

17   may not be.       There's    some       --

18               THE COURT:       Okay.           And so you haven't          searched for it,

19   or you're withholding it,               or    --    I guess,       why hasn't   it been

20   produced?

21               MR.    FALCONER:       So as we understood the Court's

22   mandate or,       sort of,   the Court's             --

23               THE COURT:       No,       no,    no.     I'm just asking.

24               MR.    FALCONER:       Oh.

25               THE COURT:       I'm just asking.
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 1                MR.     FALCONER:    Because the reason for that         is    that

 2   just to find it         for one named plaintiff would be           like a

 3   multiweek endeavor,         if not    longer.      And the reason for that         is

 4   that    --   let's take the Amtrak example.

 5           With this off-Facebook activity data,                the tables and the

 6   database where the data is           stored,      you know,    they've been

 7   explained to us         like each one of        them is a book.     And the book

 8   is organized by topic.            The topic      that    the book is organized by

 9   is the advertiser.          It's Amtrak;        it's not    the named plaintiff.

10           So for every Facebook advertiser there's a book.                    Right?

11   There's a table that has           some data for advertisement,            website

12   activity,      that kind of      thing.

13           So to gather the         information for one named plaintiff on

14   Amtrak,      that,   we could probably do.             To gather the data for one

15   named plaintiff on every advertiser on every off-Facebook

16   activity that has ever happened,                just    for one named plaintiff,

17   we have to go into each of           those books         individually and look

18   for that one named plaintiff,              and then we'd have to do it         for

19   each of the other 23         named plaintiffs.

20           So that's      the reason why we have not undergone that to

21   date.

22                 THE COURT:     I understand that.            So have you identified

23   every instance that you have that                the plaintiff viewed content

24   on some website,         whatever it      is?

25                MR.     FALCONER:    Every instance where Facebook has been
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 1   able to associate that off-Facebook activity with a named

 2   plaintiff's account.            Sometimes       they can't make the connection.

 3   But where it's connected,              we've    identified it.     That's   included

 4   in the production.

 5                 THE COURT:      I assume that        for this privacy case      --

 6   right?   --    some content        is obviously more private than other

 7   content and the plaintiffs may not necessarily need or want.

 8   They need exemplars.            Right?        And there    is a standing argument

 9   that you guys are maintaining that                 they have to defeat and

10   damages and all that.              There are particular instances.           Right?

11   So there may be particular instances where you then have to go

12   do that.

13          In other words,        if     it's    the data that was    shared,   which is

14   sort of at the heart of              the case,    you're probably going to have

15   to do some work on that.               Whether it's every instance,         probably

16   not;   but certainly certain instances.

17          Now,    plaintiffs,      it    sounds    like,   have a template of where

18   to start.       It may not be Amtrak,            but    it may be the next one

19   there.     Right?

20                 MR.   FALCONER:        Your Honor,       could I be heard on that?

21                 MS.   WEAVER:     Well,       may I --

22                 MR.   FALCONER:        Or,    go ahead.

23                 MS.   WEAVER:     I would like to respond.

24          So what we're talking about right now and what they've

25   produced is,        there's a tool          so users can download data.      And
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 1   even in what they're downloading,                       there       is content missing.

 2           But there's another whole bucket of data that they haven't

 3   identified to us that            is responsive,               and that's    the first    step.

 4   We need the identification of                    the    fields of       the data that they

 5   collect through their third-party relationships,                             whether it's

 6   apps or websites,         et cetera.             And it       is    this database that

 7   Facebook searches using algorithms                          to target    the users.

 8           What they've given us               is   sort of       the window dressing of

 9   the platform activity,               and I've      identified for you that

10   something is missing even from that.

11           But there is      --   and,        Your Honor,         we've talked to our

12   experts;      and maybe    it's better to have experts                     talk or put    in a

13   declaration because            I can tell you,               their position will be that

14   this    is,   quote/unquote,          not associated with the users but that

15   doesn't make sense.

16           There is an event            ID,    because the reason Facebook is

17   collecting it         in the    first place            is    to target people with the

18   data.     So there is a way to go back and find --                          and I agree

19   with Mr.      Falconer that          this data set will be               immense.     And that

20   is the scope of the case.                  And that's why we said only for the

21   24 because      --

22                 THE COURT:        I'm just going to                  --

23                 MS.    WEAVER:     Yeah.

24                 THE COURT:        --    tell you guys,               I think maybe you need

25   to think about a special master.
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 1           There's   just no    --

 2               MS.   WEAVER:     Yes.

 3               THE COURT:       I don't have the time or the patience or

 4   the expertise to wade through any of this,                  like the nuance that

 5   you're getting into.          So I don't know what          to do.

 6               MS.   STEIN:    Your Honor,      may I be heard for a moment?

 7           So I think the good news on,           sort of,    your reaction to

 8   this    is that this exercise was really about,               sort of,

 9   identifying categories            so that we could have a conversation

10   about what's required in this case,                because there is a whole

11   lot of    information being sought here that has absolutely

12   nothing to do with the            issues   that are being litigated in this

13   case.

14               THE COURT:      No.      I understand that argument.          I don't

15   even know how to figure out what              it   is   that we're even talking

16   about.

17               MS.   STEIN:    Right.

18               MS.   WEAVER:     So Facebook --

19               MS.   STEIN:     So,    Your Honor,     what's being     --

20               MS.   WEAVER:     Could I --

21               MS.   STEIN:     --    talked about right now is what's called

22   off-Facebook activity.             And that off-Facebook activity has no

23   relationship to the         issues    that   the dismissal order said are

24   viable right now and that are not              stayed.     The order of

25   dismissal    --
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 1                  THE COURT:      No.     I read that.          I read it.           I


 2   understand.


 3                 MS.    STEIN:    Okay.        Good.


 4                  THE COURT:      So    this    --


 5                 MS.    STEIN:    And so       the off-Facebook activity                  --


 6                  THE COURT:      --    this    has been previewed            --    just,      can   I


 7   finish?


 8                 MS.    STEIN:    I'm sorry,         Your Honor.


 9                  THE COURT:      Because       I'm really losing patience with


10   this    case.


11           This has been previewed for a while.                    So what          I was      hoping


12   to do    is you guys      could just         tee up what      that    data       is    so   I can


13   rule    if    it's   discoverable or not.


14           I don't      even know how to get            to   that point.


15                 MR.    SNYDER:    Your Honor,          I think there's            a very


16   easy    --


17                 MS.    WEAVER:    If    I could,       I was waiting.


18           Your Honor,      we would like            them to   identify what             they're


19   withholding.          That's   it.


20                  THE COURT:      But    that's      a chicken-and-egg problem.


21   That's       a chicken-and-egg problem.              And I'm not          sure          and see,


22   this    is    the problem I'm having.               You said you've now reviewed


23   it   all.     What    is missing?       You've       identified      --


24                 MS.    WEAVER:    So    I'll give you examples.                   There are no


25   examples       --
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 1                  THE COURT:          You did.


 2                  MS.   WEAVER:        Okay.


 3                  THE COURT:          No.     I'm going to          let Mr.          Snyder   talk.


 4                  MS.   WEAVER:        Fine.


 5                  MR.   SNYDER:        Your Honor,          I share your             frustration,         and


 6   I think this         is very easy.


 7           For example,          on advertisement,            we have gone,             I think as


 8   indicated in our statement,                     above    and beyond the             call   of    duty


 9   because we didn't             really want         to    just    say,    "We're not giving


10   you what       advertisements you reviewed or ads                        that you've            clicked


11   on,    even though       it's      outside       the    scope of       the    case."


12           This    case    --


13                  THE COURT:          No,    no.     That's       an argument.           Please,


14   let's    try not       to argue.


15                  MR.   SNYDER:        Right.


16                  THE COURT:          I'm going to decide             that       at    some point.


17                  MR.   SNYDER:        Okay.        So what       I would       --


18                  THE COURT:          Just    --


19                                 (Simultaneous            cross-talk.)


20                  THE COURT:          --    that.


21                  MR.   SNYDER:        What    I would respectfully suggest                        is,    we


22   can,    Your Honor,          tee   it up    for you       in a very simple way,


23   because Judge          Chhabria's         order    is very clear about what's                     in


24   and what's       out.        And then each side            can succinctly,


25   efficiently,         and clearly make             their arguments             about what         is    in
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 1   and what's      out.       And it's          not going to be difficult,


 2   Your Honor.          I think      it's pretty clear.


 3          I agree,       on this         call,       people using terminology                         --


 4   "on-platform,"         "off-platform"                  --    it    all       sounds       like


 5   gobbledegook.          I think there's                  a very clear,                   efficient,      and


 6   efficacious way for us                 to    tee       this       up    in a short          statement         to


 7   Your Honor;         and Your Honor can rule on                              it,    if    Your Honor wants


 8   more argument         on   it,    without us                having these dueling


 9   Zoom/Hollywood Squares,                    you know,          arguments             about what's          in and


10   what's   out    that's not going to really lead to any fair ruling.


11                THE COURT:           This       is what          I need to ask Ms.                  Weaver,       is:


12   Do you know what           it    is    that you want or                      that you believe exists


13   that you don't have?


14                MS.    WEAVER:           Yes.


15                THE COURT:           You do.              Okay.


16                MS.    WEAVER:           More or          less.           We don't          know what      form


17   they keep      it    in or how they keep                     it.        It    is    this    data    set   that


18   they mine,      yes.


19                THE COURT:           Okay.           So    is    there          any reason why,            then,


20   we   can't   adjudicate          that       dispute          as    discoverability?


21                MS.    WEAVER:           We    can    --


22                MR.     SNYDER:          I think we             can       --


23                MS.    WEAVER:           --    adjudicate             that,          Your Honor.


24                THE COURT:           We       can?        Okay.


25                MR.     SNYDER:          We    can and we             should.
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 1               THE COURT:        All    right.

 2               MR.    SNYDER:     And I think we can do it very simply

 3   without a lot of drama or complication.

 4               THE COURT:        So that's what        --

 5               MR.    FALCONER:        Your Honor     --

 6               THE COURT:        --    I want you to do,        then,      on this,

 7   I think.

 8        And,    I mean,    it doesn't have to be the joint                   letter brief,

 9   whatever.     I mean,       it's a big issue.            It kind of goes         to the

10   heart of the case.           So I want you to have the ability.                       You're

11   going to probably need your experts                 to some extent         --    at    least

12   plaintiffs    --    to be    involved with it.

13        And I probably want             four briefs.         Right?     Whoever goes

14   first,   second,     first,    second,      so that      there's   --   my guess        is

15   it's not till we get          to the second two briefs             that we'll really

16   be able to meet there.              That   just   seems    to be the process that

17   we need to do.

18        So you guys work it out,               how that's going to be presented.

19   I'm not giving you any limits at all.                     You only have the limit

20   of my time and attention span.                So just keep that           in mind.

21                                         (Laughter.)

22               MS.    WEAVER:     And how much time,           Your Honor,         would you

23   like between briefs and the hearing?                     What kind of timing            --

24               THE COURT:        We'll put a hearing.            I'll      figure it out.

25               MS.    WEAVER:     Okay.
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 1               THE COURT:       I mean,          to be honest,            I'm just   swamped at

 2   the moment.

 3               MS.    WEAVER:    I know.

 4               THE COURT:       So,    but you get            it    to us.     We'll get

 5   through it.        And we will      set       it    for hearing.          I think it's

 6   important to have an oral               --

 7               MR.    LOESER:    And,       Your Honor,            if    I could be heard for

 8   one quick minute on one            --

 9               THE COURT:       Yes.

10               MR.    LOESER:    This       is Derek Loeser.

11        --    just,    process point.

12        Where we stand right now,                     we generally think we know

13   what's missing,       and we can describe                 it    in our briefs.

14        Facebook obviously has                  specific knowledge about what's

15   missing.     And so because they haven't                       identified specifically

16   what they're withholding,               I really think it would be improper

17   for them to argue in their brief                     that we haven't been specific

18   enough with what we're seeking.                      If   that       is going to be their

19   argument    in their brief,         then they should comply with your last

20   order,    which was    to identify specifically what                       they're

21   withholding.

22        But that's the only --

23               THE COURT:       Yeah.           No,    I understood.          So that's why

24   I'm doing four briefs.

25        And in the meantime,               you should be talking and really
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 1   trying to narrow.                It    is    in both sides'          interest    to have      it


 2   teed up as       accurately as possible                     for me    to decide.        Otherwise,


 3   I'm going to make a wrong decision one way or                                 the other because


 4   I won't understand.


 5                  MR.    SNYDER:          And,       Your Honor,       it's    in everyone's


 6   interest       to have you not be                  frustrated with us,          which    I


 7   understand and             I think your            frustration       is well-placed,         one.


 8           Two,    we want         Your Honor          to continue       to preside over


 9   discovery;       and we would,               I think,       lose   a lot     if we had to      start


10   fresh with a special master.


11           And mindful of            that,       we're going to work to narrow the


12   issues.        Maybe we can even eliminate                     them.       And we have a lot


13   of   other work to do             in the meantime.                 So however    long


14   Your Honor needs,               we're going to obviously abide                   and respect


15   that,    and we're not going to,                     you know,       ask you to turn around


16   a ruling.


17           There's       a lot we have               to do on search terms          and privilege


18   logs    and ADI protocols.                   So    there's    a ton of work for us            to do


19   while Your Honor takes                  --    you know,       takes    the    time necessary to


20   adjudicate       this       issue,      which       is    ripe now.


21                  THE COURT:             Yeah.        Just    don't put       a hearing date.


22   I'll pick       it.        So that's         not    a problem.


23                  MR.    LOESER:          The only thing          I would add to that,


24   Your Honor,          is    that we would like you to be very frustrated


25   with Orin all             the   time,       but    not with us.
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 1                                               (Laughter.)

 2               THE COURT:              Well,    this week has not been             --    I've been

 3   frustrated a lot,             and I apologize          for that.

 4               MR.    SNYDER:           Don't apologize.

 5               MS.   WEAVER:            It's    tough times.

 6               THE COURT:              There's a lot.          There's     just a lot,

 7   scheduling.

 8               MR.    SNYDER:           Yes,   Your Honor.

 9               THE COURT:              Okay.     So,    which leads me to my next

10   point,    which is       the joint          statement      --   okay?   --   which is,        you

11   all are extremely talented,                   experienced lawyers.              If you can't

12   figure out a way,             a process       for this statement             to work    --    it's

13   really,    actually,          for you.       Right?        The statement is a great

14   way of assessing where we are,                      what our disputes are,

15   crystallizing it.              It's    for you more than me,             quite honestly.

16   And if you guys can't                figure out       together a way to do that,

17   then we've got to go back to zero and start over.                                I mean,       this

18   should be the easy part.

19        So I'm not going to tell you how to do that                               joint

20   statement.        The only thing I'm going to tell you is                            I want    it

21   however       what       is    --    just even one day,           I give you,        right,

22   before this?        I take          it upon myself;         I will make time to read

23   it the night before or early the morning before.                               That's my

24   only deadline.           You guys work it out.                  Whatever works best            for

25   you and gets       it.        But    the point       is,   it   should really try to
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 1   crystallize it.

 2           My own view is            and with other cases       --    is   that    --   at

 3   least with discovery disputes,            is    if you do time          for a reply as

 4   opposed to changing what you've already said,                     that tends to

 5   work better.       But    I'm not ruling at all.           I want you guys to

 6   come up with it.          It's,    frankly,    below my pay grade to have to

 7   tell you how to do it.

 8                                        (Laughter.)

 9               MR.   LOESER:     We hear that       loud and clear,         Your Honor,

10   and we will keep talking to Facebook about                  it.

11           We just think that         it would be really useful            for everyone

12   here,    including for you,         if people talk about          things that they

13   put   in their statements before          it's    submitted to the Court.

14   And so that's our mission in trying to come up with a better

15   way to do this.          That's what we're trying to accomplish.

16               THE COURT:       Maybe you could do a statement,                a draft,

17   and then you talk about what's            in the draft.           Right?       So then

18   you know what's       in there before you         --   I don't know,        but that

19   would --

20               MR.   LOESER:     Yeah.     We'll    figure    it out.

21               THE COURT:       Yes.     I know you guys can figure               it out

22   because you're all outstanding lawyers.                   That's why you're on

23   this case.

24           Okay.     So then we need to pick our next date.                   How about

25   we push it out three weeks,            to September 3rd?
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 1                MR.    LOESER:      I think that's            the    749th day of March;


 2   so,    sounds   great.


 3                                           (Laughter.)


 4                MS.    WEAVER:      That's       fine,      Your Honor.


 5                MR.    SNYDER:      And two months before               Election Day,


 6   assuming the post           offices     --


 7                MS.    WEAVER:      There       is   one.


 8                MR.    SNYDER:      --   assuming the post             offices   and the


 9   polling places         aren't    shut    down permanently.


10                THE COURT:         All    right.       Okay.


11                MR.    LOESER:      Don't       depress us,         Orin.


12                THE COURT:         I apologize         for having to        lecture a little


13   bit,   but   to be honest,        you guys         can do better.         I know you can.


14   I know you can.          I have       tremendous         respect    for all   of you.


15          Okay.       Great.     I look     forward to our next             conference.


16   It'll be     September 3rd at           8:30      a.m.


17                MR.    SNYDER:      Thank you,         Judge.


18                MS.    WEAVER:      Thank you,         Your Honor.


19                MR.    SNYDER:      Thank you         for everything you're doing.


20   Appreciate      it.


21                THE CLERK:         Court's       adjourned.


22                         (Proceedings      adjourned at         8:51    a.m.)


23                                            ---o0o---


24


25
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 1


 2                             CERTIFICATE OF REPORTER


 3              I certify that     the    foregoing       is     a correct   transcript


 4   from the   record of proceedings            in the   above-entitled matter.


 5


 6   DATE:   Saturday,    August   15,    2020


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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA



IN RE: FACEBOOK, INC. CONSUMER                    MDL No. 2843
PRIVACY USER PROFILE LITIGATION                   Case No. 18-md-02843-VC



This document relates to:                         PLAINTIFFS' OPPOSITION TO
                                                  DEFENDANT FACEBOOK, INC.'S
ALL ACTIONS                                       REQUEST TO ENFORCE THE PARTIAL
                                                  STAY OF DISCOVERY IN PRETRIAL
                                                  ORDER NO. 20 AND CROSS-MOTION
                                                  TO COMPEL DISCOVERY RELATED
                                                  TO REQUESTS FOR PRODUCTION
                                                  NOS. 9THROUGH 13

                                                  Judges: Hon. Vince Chhabria
                                                  Hon. Jacqueline S. Corley
                                                  Courtroom: 4, 17th Floor




PLS' OPP'N FB REQUEST ENFORCE                 1                                   MDL No. 2843
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       A.      The Order does not limit discovery to users' platform activity.                  2

       B.      The discovery requests at issue and Facebook's response                          6

       C.      Relevant sensitive information is not limited to platform activity, but also
               includes sensitive information Facebook derives and collects from business
               partners, app developers, apps, and other sources.                               7

               1.     User data includes, in Facebook's words, "native, appended and
                      behavioral data" that Facebook collects from business partners, apps
                      and other activity.                                                       8

               2.     Internal documents confirm that Facebook's description of data
                      "associated" with users is misleading                                    11

       D.      Facebook has not established that the burden of producing the data relating
               to ten Plaintiffs is disproportional to the needs of this case.                 12

III.   CONCLUSION                                                                              14




PLS' OPP'N REQUEST ENFORCE                       i                                    MDL No. 2843
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                                      I.     INTRODUCTION

          Facebook does not want Plaintiffs to obtain discovery showing the full breadth of its

wrongful disclosure of its users' sensitive information. Accordingly, Facebook seeks to limit

discovery in this case to asingle category of improperly shared information: users' activity on

the Facebook platform. The sensitive information that Facebook collects and shares with third

parties is much more extensive than this. It collects users' sensitive information from avariety of

sources—including from third parties—then pools the information with user-posted activity and

generates additional information from the full data set it accumulates. It then shares this

information about users and their friends with third parties. All of this information, including

who has access to it and how it is used, is relevant to Plaintiffs' claims.

          As aresult, there are at least three compelling reasons that Facebook's motion should be

denied and Plaintiffs' cross-motion to compel production of documents responsive to Requests

for Production ("RFPs") Nos. 9through 13 1 should be granted.

         First, contrary to Facebook's tortured reading of Pretrial Order No. 20 ("Order" or "PTO

20"), Dkt. No. 298, the Court did not limit discovery in this case only to information regarding

user activity on Facebook. While that information—and Facebook's subsequent disclosure of

it—is of course relevant, that is not the only type of sensitive information relevant to Plaintiffs'

claims or the four categories of wrongdoing recognized by the Order.

          Second, the universe of data Facebook collects and shares about users is also not limited

to user activity on Facebook, but instead consists of asea of information obtained from awide

variety of sources, including from business partners, app developers, apps, and other third

parties. Indeed, as Facebook's own documents show, it collects information about users far

beyond what Facebook has produced in this case. And discovery produced to date further

confirms that Facebook not only collects this information, but links it to users and shares it with

third parties—putting to rest Facebook's nonsensical suggestions that Plaintiffs have failed to

articulate what additional evidence exists or that Facebook cannot "associate" certain data with a


1   For details on these RFPs, see itfra §II.B.

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user.

          Third, there is no justification for Facebook's claims of undue burden. Such an argument

should be accorded minimal weight in acase of this size and complexity involving acompany

whose business model is premised upon the collection and production of electronic information

about billions of users. Facebook has come nowhere near meeting its burden of demonstrating

why data regarding solely Named Plaintiffs—relative to the hundreds of millions of potential

class members whose information is ultimately at issue in this case—is not proportional to the

needs of the case. In fact, pursuant to the Court's recent guidance regarding streamlining

Plaintiffs' discovery, Plaintiffs have reduced the number of individuals who will be class

representatives to ten, down from the twenty-three. Plaintiffs only seek the discovery at issue

here related to these ten Plaintiffs (for purposes of this motion, the "Named Plaintiffs.")

                                        II.    ARGUMENT

A.        The Order does not limit discovery to users' platform activity.

          PTO 20 does not directly address the question raised by Facebook in its motion—whether

this case is limited to user activity on the Facebook platform or includes all the sensitive

information about users that Facebook improperly shared with third parties. But the Order

nowhere expressly limits the case to user activity. (f. Mot. 2 at 1. Nor does it make sense to read

the Order that way. That sort of limitation would conflict not only with claims and theories that

the Order upheld, but also with the grounds on which they were allowed to proceed to discovery.

          Facebook, under the guise of enforcing adiscovery stay that was never issued in the first

place, spends many pages straining to read the Order to limit discovery to data relating only to

users' on-platform activity. This provides amisleading picture of what the Order says and

inaccurately ascribes to the Court aset of internally inconsistent views.

          1. The Order. The Order summarizes its understanding of Plaintiffs' claims in atwo-

sentence précis near the beginning: "Broadly speaking, this case is about whether Facebook




2   Def. Facebook, Inc,'s Opening Brief in Supp. of Its Req. to Enforce the Partial Stay of
    Discovery in Pretrial Order No. 20 ("Mot"), Dkt. No. 515.

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acted unlawfully in making user information widely available to third parties. It's also about

whether Facebook acted unlawfully in failing to do anything meaningful to prevent third parties

from misusing the information they obtained." Order at 3. This description focuses on

Facebook's unlawful disclosure of information about users and their friends to third parties—not

on whether that information was originally posted, shared, or generated by users on the Facebook

platform.

        The Order then discusses the four categories of Facebook's wrongdoing. These categories

are: (1) "[g]iving app developers access to sensitive user information"; (2) "[c]ontinued

disclosure to whitelisted apps"; (3) "[glaring sensitive user information with business partners";

and (4) "Wailure to restrict the use of sensitive information." Order at 6-9. These categories line

up neatly with the earlier description of the action as alleging that "Facebook acted unlawfully in

making user information widely available to third parties" (the first three categories) and that

Facebook "fail[ed] to do anything meaningful to prevent third parties from misusing the

information they obtained" (the fourth category). Id. at 3.

        Using these four categories of wrongdoing as aframework, the Order analyzed whether

Plaintiffs had standing to bring their claims and whether they stated valid claims. It ruled that

Plaintiffs had standing because they alleged that their "sensitive information was disseminated to

third parties in violation of their privacy." Id. at 14. It upheld nearly all of Plaintiffs' claims (e.g.,

three privacy-based tort claims under California law, aclaim under the Stored Communications

Act ("SCA"), aclaim for breach of contract, and aclaim for unjust enrichment) except to the

extent they were based on the first category of wrongdoing, the disclosure of user information to

app developers. Id. at 30-34, 38-41. It upheld in its entirety Plaintiffs' claim under the Video

Privacy Protection Act ("VPPA"). Id. at 34-35. And it upheld Plaintiffs' claim for negligence,

which was based on the fourth category of wrongdoing. Id at 35-36.

        2. The Order's rationale. Why did the Order conclude that Plaintiffs had standing and

had stated valid claims? On these points, the Order is clear. Plaintiffs had standing because "their

"sensitive information was disseminated to third parties in violation of their privacy." Id. at 14.


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This reasoning focuses not on where the user information was originally generated—whether on

the Facebook platform or off it—but on its nature ("sensitive") and on what Facebook did with it

("disseminated" it "to third parties").

        Similarly, when discussing the claims, the Order focused not on the original provenance

of the information about users, but on its nature and on what Facebook did with it. So, for

example, the Order ruled that:


           • Plaintiffs had stated valid privacy torts because Facebook had disseminated
             information that was "sensitive" and as to which Plaintiffs had areasonable
             expectation of privacy. Id. at 30-33.


           • Plaintiffs had stated aclaim under the Stored Communications Act because
             Facebook had disseminated the content of their electronic communications and
             had not gained their consent to do so. Id. at 33-34.


           • Plaintiffs had stated aclaim under the Video Privacy Protection Act because
             Facebook had disseminated "information which identifies aperson as having
             requested or obtained specific video materials or services," id. at 34 (citation
             omitted), and Facebook qualified as a"video tape services provider" under the
             statute, id. at 35.

       3. "Sensitive information" is not &fined by where Facebook collects that information.

       The Order repeatedly notes that Facebook shares "sensitive" user information without

consent. Facebook pins its argument to this one word, maintaining that the Order "defined"

sensitive user information to mean only information about what users post on Facebook, Mot. at

1, or users' platform activity, Mot. at 8. But the common-sense meaning of "sensitive

information" encompasses more than just what users did on the platform. Consider, for example,

aFacebook user's Amazon.com order for an over-the-counter contraceptive or another user's

entry of "alcoholic support group in Tower District, Fresno" into asearch engine. "Sensitive

information" also includes information that Facebook can lifer from on-platform information—a

category of information it has not produced. (Think of the inferences that Facebook can draw

from weekly photographs of auser taken at M.D. Anderson Cancer Center.) Facebook's

objection that such information is categorically not "sensitive" is false.

       It is true that when the Order gave examples of sensitive user information, the examples it


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used concerned information generated on the Facebook platform. E.g., Order at 1, 17. Nowhere,

however, did the Order thfine or limit sensitive information to users' platform activity only. And

the Order's reasoning certainly is not limited to such information. Rather, as noted above,

Plaintiffs' standing to bring their claims, and the validity of many of those claims, depends on

the nature rather than the provenance of the information, and on whether Facebook shared that

information with third parties. And, as Plaintiffs have learned through discovery, the sensitive

information about users that Facebook collects and shares with business partners and app

developers includes both information originally generated outside the Facebook platform and

information derived from on- and off-platform activity.

        It also is farfetched for Facebook to argue that the Order rules that all of Plaintiffs'

claims—including their federal statutory claims—rise or fall depending on whether the

information that Facebook shared is "sensitive" in the sense of being embarrassing or deeply

intimate. The validity of Plaintiffs' claim under the SCA, for example, does not turn on how

embarrassing or intimate the information is that Facebook shared, but on whether the shared

information includes the contents of an electronic communication. 18 U.S.C. §2702(a)(1).

Similarly, Plaintiffs VPPA claim turns on whether the information that Facebook shared includes

"information which identifies aperson as having requested or obtained specific video materials

or services from avideo tape service provider." Id. §2710(a)(3). If, for example, Facebook

collected and shared auser's video-watching queue from adifferent platform, that would

constitute aVPPA violation.

        In sum, while the Order does not explicitly address the issue posed by Facebook's

motion, it certainly does not limit discovery in this case to on-platform user activity and reading

it that way is inconsistent with the Court's reasoning. It is also inconsistent with statements by

the Court during the motion to dismiss hearing about the breadth of user data that is relevant to

Plaintiffs' claims:

        For example, if— I'm aFacebook user. And, you know, I'm trying to assess the
        likelihood that my sensitive information got into the hands of third parties and, if
        so, how many third parties and, if so, what kinds of third parties. If Ihave afull


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          understanding of the third parties that had access to the information, and afull
          understanding of what type of information they had access to, and afull
          understanding of who they were, and what they —and what restrictions were
          placed on them, we then have abetter understanding of what was likely to have
          happened to me.


Nov. 4, 2019 Tr. at 15:20-16:4. It is the "full understanding" referred to by the Court that

Plaintiffs seek, and that Facebook refuses to allow.

          Finally, this reading prevents Named Plaintiffs from discovering even the general policies

and practices of Facebook governing the sharing of their sensitive information, policies and

practices that are critical for this case. See Pretrial Order No. 30 at 2, Dkt. No. 347 ("[T]he best

way to assess the merits and to determine whether class certification is appropriate is almost

certainly to conduct discovery on Facebook's general practices."). Plaintiffs submit that

Facebook's exclusion of this information from discovery is not what the Order intended.

          4. The Order stayed claims, not discovety. Plaintiffs organized their claims into three

categories: prioritized claims, prioritized consumer protection act claims alleged in the

alternative, and non-prioritized claims. First Am. Consolidated Compl. ("FACC") at 317-411,

Dkt. No. 257. The Order made the simple observation that lain other prioritized claims not

addressed by this ruling will be stayed (effectively, relegated to non-prioritized status) and

adjudicated, if necessary, at alater state in the proceedings with the other non-prioritized

claims." Order at 6. Facebook's claim that this holding somehow imposed astay of discovety is

baffling. The Order does not, and does not purport to, stay discovery in any fashion. 3

B.        The discovery requests at issue and Facebook's response

          The present dispute arises from five discovery requests, each of which asks for data that

Facebook possesses about Named Plaintiffs, the third parties that Facebook disclosed this data

to, and the types of information that was disclosed to them. See Ex. A, Def. Facebook, Inc.'s

Resps. & Objs. to Pls.' Second Set of Reqs. for Produc. In particular, RFP No. 9requests lain



3   Even if it were, the Order observed that "[o]fcourse, dismissal of asubset of claims with
    prejudice does not preclude aplaintiff from seeking revival if discovery reveals afactual basis
    that justifies reconsideration[.]" Order at 37 n.21 (citations omitted).

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Documents relating to each of the Named Plaintiffs, including but not limited to all Content and

Information collected about each of them or gained from business relationships or any other

source."4 Id. RFP No. 10 asks Facebook to produce, "[f]or each of the Named Plaintiffs,

Documents sufficient to show the categories of Content and Information Facebook collects,

tracks, and maintains about them." Id. RFP Nos. 11-13 then request documents requesting

Facebook to identify the third parties that were able to access this information, including the

categories of data that were disclosed to them and how they accessed it. Id. Plaintiffs propounded

these requests nearly one year ago in November 2019.

         In response to these requests, Facebook produced information collected by the DYI

("Download Your Information") tool. This limited tool allows downloads of some, but not all,

information relating to users' activity on the platform. And Facebook freely acknowledges that

Plaintiffs can access this information themselves. Id. ("[A]ll Facebook users are free to download

their DYI file if they wish."). In addition to the DYI production, Facebook has produced an

undefined category of "additional information associated with [users'] accounts" for each

Plaintiff. Mot. at 6. But Facebook does not describe what the "additional information" is, likely

because it is extremely limited—it consists solely of information users can access through their

account in the form of their privacy settings and information reflecting user activity on

Facebook. Critically, the form of production also obscures whether some of the activity was

public or private. Thus, virtually all of Facebook's 850,000-page production relating to the

original Named Plaintiffs in this case was already accessible to Plaintiffs and tells only part of

the story.

C.       Relevant sensitive information is not limited to platform activity, but also includes
         sensitive information Facebook derives and collects from business partners, app
         developers, apps, and other sources.

         Facebook acknowledges that it collects and shares substantial amounts of additional

sensitive information about users beyond their platform activity. See, e.g., Aug. 14, 2020 Hr'g




4   The requests use the definition of "Content and Information" from Facebook's Statement of
    Rights of Responsibilities—a definition that is not limited to on-platform data.

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Tr. 8:10-13 ("[T]here's Facebook-generated information, information generated by third parties,

information received from third parties. We have not represented that that is comprehensively

included in our production."); see also Mot. at 10-15 (describing off-platform activity and

internal analytics it has not produced). However, Facebook contends that this other information

is not relevant to this case. This is false.

        1.      User data includes, in Facebook's words, "native, appended and behavioral
                data" that Facebook collects from business partners, apps and other activity.

        Facebook identifies three general categories of information it possesses about Facebook

users: Native Data, Appended Data, and Behavioral Data. See Ex. B, FB-CA-MDL-00213424-

439. Native Data includes public and private information Facebook collects from auser's

activity on Facebook such as auser's profile info, posts, likes, shares, and location and device

information. Id. Native Data also includes asmall subset of information it can infer from user

activity on and off Facebook, such as user interests and behaviors. Id. Appended and Behavioral

Data, on the other hand, consists of information inferred from user activity on and off Facebook.

Specifically, Appended Data is user information obtained from third parties, including

advertisers and data brokers, about auser's activities—e.g., auto registration, retail and credit

card purchase histories, as well as other "enhanced" customer databases. Id. Behavioral Data

consists of substantial information related to users including their activity within third-party

applications—e.g., website browsing behavior, app installations, and purchases they make off the

Facebook platform. Id. These three categories of information, and how Facebook obtains this

information, are illustrated as follows:




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                                          INFORMATION ABOUT USERS
                                            COLLECTED BY FACEBOOK




                                                      APPENDED DATA                 BEHAVIORAL DATA
             NATIVE DATA

                                              Data obtained from Advertisers    Data obtained from Apps,
  •   Explicitly collected from Users
                                              and Data Brokers used to target   Whitelisted Apps, and
 •    Implicitly collected from Users
                                              Users with advertisements         Business Partners
  •   Inferred from User engagement
                                              inferred from User engagement     Inferred from User engagement
      on IL off Facebook
                                              on & off Facebook                 on & off Facebook




          While Native Data—the only type of data Facebook has partially produced about users so

far—is important for this case, so too is Appended and Behavioral Data obtained from user

"engagement" on and off the platform. Moreover, Facebook connects and integrates Native,

Appended and Behavioral Data generated from on-platform activity with data obtained from

third parties. See Ex. B, FB-CA-MDL-00213424-439 (identifying Facebook's matching of data it

receives directly from users with Appended Data and Behavioral Data received from third parties

through"                                "); id. at FB-CA-MDL-002 13424 (describing Facebook's

                  process as instances where

                                                 ).

          Critically—and contrary to Facebook's suggestion that this data is irrelevant and

duplicative of information it has already produced (Mot. at 14)—discovery confirms that

Facebook shares this data with third parties. For example, a2012 internal email between senior

team members explains that "Facebook has information about users which can be helpful to

applications, and which we provide to applications when we deem apprapriatell" Ex. C, Email

from Sam Lessin to Douglas Purdy (Aug. 30, 2012), at 3(emphasis added), NBCNews (Nov. 6,

2019), https://dataviz.nbcnews.com/projects/20191104-facebook-leaked-

documents/assets/facebook-sealed-exhibits.pdf at 716. The email also identifies the kind of data


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that Facebook shares, including (1) laiggregate data about the tastes, properties, etc. of auser's

friends," (2) "[d]erived data about auser/facebook's data/opinion of auser (probably location,

account trust score, account age, etc.)," and (3) "[d]ata provided by third parties — information

which third parties have contributed to the graph on behalf of auser." Id..

       Another internal document,




                                                                                            These

documents make clear that Facebook collects sensitive user information in avariety of different

ways and discloses it to third parties.

        Facebook's insistence that it need only produce on-platform Native Data makes even less

sense when considering Plaintiffs' claims. Plaintiffs' statutory and common law claims are not

limited to information generated from users' activities on Facebook. For example, under the

VPPA, Plaintiffs must prove that Facebook disclosed "personally identifiable information

concerning any consumer" to "any person" absent written or informed consent. 18 U.S.C. §

2710(b)(2). Under the SCA, Plaintiffs must prove that Facebook "knowingly divulge[d] to any

person or entity the contents of any communication" users did not intend for Facebook to

divulge. 18 U.S.C. §2702(a). The source of the information—that is, whether it was the result of

on- or off- platform activity, gleaned directly from users' posts, or inferred from them—is

irrelevant. Disclosure of any of this information without consent is actionable.

        Similarly, Plaintiffs' Public Disclosure of Private Acts claim requires Plaintiffs to prove

that Facebook disclosed aprivate fact about the plaintiff that is objectionable and offensive to a

reasonable person. Doe v. Gangland Prods., Inc., 730 F.3d 946, 958 (9th Cir. 2013). Likewise,

Plaintiffs' Intrusion into Private Affairs claim requires Plaintiffs to prove an intrusion by

Facebook into aprivate matter that is highly offensive to areasonable person. Shulman v. Gip.

W. Prods., Inc., 18 Ca1.4th 200, 231 (1998). In order to prove these claims, Plaintiffs must


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ascertain the private facts about them that Facebook is collecting and disclosing, whether they

originate from platform activity or not.

       Across many claims, the Order sustained Plaintiffs' allegations about Facebook's

undisclosed data reciprocity programs with business partners. Plaintiffs are thus entitled to know

what sensitive user data, of any type or source, Facebook shared with its business partners.

Plaintiffs are further entitled to any data that Facebook received from its business partners in

return, since the value of that data constitutes the benefit Facebook received in the transaction, a

benefit that Plaintiffs are entitled to recover under, inter alia, the unjust enrichment claim that

the Court sustained. Order at 41; 5 see also Order at 8(noting the allegation that "Facebook and

its [business] partners agreed to exchange information about users' activities with each other").

       Facebook notes repeatedly that targeted advertising and psychographic marketing are not

part of this case. See, e.g., Mot. at 9. This argument misses the point. The question is not whether

Facebook should or should not have engaged in targeted advertising and psychographic

marketing. The question is whether, when doing so, Facebook shared sensitive user and friend

information without consent. Plaintiffs are entitled to obtain the discovery necessary to

substantiate the allegation that improper sharing has occurred in the context of these activities.

       2.      Internal documents confirm that Facebook's description of data "associated"
               with users is misleading.

       Facebook claims it has produced all data it possesses that is "associated" with Named

Plaintiffs. That is, while it generated and collected reams of data about Named Plaintiffs,

Facebook claims that most of that data, including Appended and Behavioral Data, is anonymized

and cannot be connected to Named Plaintiffs. This is false.

       Facebook explains that Appended and Behavioral Data cannot be associated with

Plaintiffs' Facebook accounts because such data is "disassociated from the user's ID within 90



 Facebook's position blocking discovery of what it possesses and shares is in tension with
 Facebook's own discovery requests to Named Plaintiffs. Facebook's Interrogatory No. 8asks
 Plaintiffs to "Identify all entities other than Cambridge Analytica that You believe have
 "misused sensitive information from Your Facebook Account." But Facebook itself will not
 identify with whom it shared that sensitive information, let alone what information it possesses.

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days" (Mot. at 15). But, as confirmed by internal documents, what actually happens is that

Facebook replaces the User ID, or "UID," with aRandom ID, or "Replacement ID" or "RID"—

and stores the connection between a UlD and an RID until users delete their accounts. 6 In other

words, Facebook replaces the User ID with another identifier, yet the data is still directly linked

to and associated with agiven user. Indeed, the very purpose of collecting all of this data in the

first place is to use it to target users and their friends. Facebook can readily connect any active

user with Appended Data and Behavioral Data containing that user's RID' and, thus, it can be

easily searched for, identified, and copied, without "multiple operations ...to try to determine

whether any data in the analysis originated from aNamed Plaintiff" (f. Mot. at 15.

       Similarly, Appended Data without aRID can be connected to active users through

"[Washed data matching." See Ex. B. "Hashed data matching" is the process of matching

different data sets through the hash values of unique identifiers. For instance, when an advertiser

uploads aspreadsheet of Custom Audience data including hashed email addresses, Facebook can

match this data to its users through the hashed email address field.

       Thus, it simply is untrue that it would be "nearly impossible" to produce the

"disassociated" data in this case for Named Plaintiffs. Mot. at 15. Facebook clearly has the

ability to connect Named Plaintiffs' user information through RIDs and hashed data matching,

and should be ordered to do so in response to RFP Nos. 9-13.

D.     Facebook has not established that the burden of producing the data relating to ten
       Plaintiffs is disproportional to the needs of this case.

       Facebook also suggests that "the burdens of locating the additional information Plaintiffs

seek would far exceed the needs of the case." Mot. at 12. But the burden associated with

producing the requested information is not undue; it is proportional to the needs of this complex



6Ex. E, PwC CPUP FB00030737-738.
'Id. at PwC CPUP FB00030738




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case. In assessing proportionality, Federal Rule of Civil Procedure 26 directs consideration of

"the importance of the issues at stake in the action, the amount in controversy, the parties'

relative access to relevant information, the parties' resources, the importance of the discovery in

resolving the issues, and whether the burden or expense of the proposed discovery outweighs its

likely benefit." Fed. R. Civ. P. 26(b)(1). Helpfully, Judge Chhabria provided further guidance at

the March 5, 2020 Case Management Conference, stating:

       Iam concerned that Facebook has, you know, often made statements reflecting an
       unduly narrow view of what should be turned over to the Plaintiffs. And, you
       know, this is abig case. Imean, there is often alot of talk about proportionality
       and whatnot. This is abig case. It is asignificant issue. You know, and there is --
       this is not the type of case where we are going to be saying: Well, that might end
       up -- that effort might end up uncovering some relevant information; but, you
       know, it is just too expensive or difficult, and so we are not going to make
       Facebook do it. This is really not one of those cases where that is very -- that type
       of argument is likely to carry the day. You know, and, as Ihave said anumber of
       times, you know, the best way to figure out what happened as it relates to the
       claims that are going forward now is to -- for Facebook to produce all
       information, all documents about the practices associated with giving third parties
       access to friends' information and friends' of friends information.


Tr. at 28:25-29:18. Judge Chhabria's observations regarding the size of this case remain on

point. The proposed class period extends from 2007 to the present, the potential class members

number in the hundreds of millions, and the third parties with whom Facebook shared user data

appear to number in the tens of thousands. In that context, Plaintiffs' request for the data

concerning ten individual users seems not only proportional to the needs of the case but modest.

       Furthermore, Facebook's claims of burden are unsupported. "[T]he party opposing

discovery has the burden of showing that discovery should not be allowed, and also has the

burden of clarifying, explaining and supporting its objections with competent evidence." Harris

v. Best Buy Stores, L.P., No. 3:15-cv-00657-HSG (KAW), 2016 WL 6024556, at *1 (N.D. Cal.

Oct. 14, 2016) (quoting La. Pac. Coq). v. Money Mkt. 1Institutional Inv. Dealer, 285 F.R.D.

481, 485 (N.D. Cal. 2012)). A party claiming undue burden or expense "ordinarily has far better

information—perhaps the only information—with respect to that part of the determination." Fed.

R. Civ. P. 26(b)(1) advisory committee's note (2015). Therefore, the "party claiming that

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discovery imposes an undue burden must 'allege specific facts which indicate the nature and

extent of the burden, usually by affidavit or other reliable evidence.' Sullivan v. Personalized

Media Commc'ns, LLC, No. 16-MC-80183-MEJ, 2016 WL 5109994, at *3 (N.D. Cal. Sept. 21,

2016) (quoting Nationstar Mortg., LLC v. Flamingo Trails No. 7Landscape Maint. Ass 'n, No.

2:15-cv-01268-RFB-NJK, 2016 WL 4071988, at *4 (D. Nev. July 28, 2016)). 8 Facebook has

furnished no evidentiary support for its objections of undue burden and its objections should be

overruled.

          Plaintiffs emphasize that they are seeking discovery about ten Named Plaint jfs—not

millions, not thousands, and not hundreds of users. Based on the information Plaintiffs obtain

about themselves, and about Facebook's general practices and procedures, they will seek to

prove their class claims. Facebook's contention that Plaintiffs are not even entitled to obtain in

discovery the evidence necessary to show what Facebook collects about them, and with whom it

shares the information is impossible to square with Facebook's basic discovery obligations under

the Federal Rules.

                                       III.    CONCLUSION

          For the reasons set forth above, Plaintiffs respectfully request that the Court deny

Facebook's motion to impose adiscovery stay and grant Plaintiffs' motion to compel discovery

responsive to Requests for Production Nos. 9through 13.




8   See also SPS Techs., LLC v. Briles Aerospace, Inc., No. CV 18-9536 MWF (ASx), 2020 WL
    4341717, at *2-3 (C.D. Cal. June 25, 2020) (overruling objection to requests for production of
    documents and noting that the party resisting discovery must describe "in specific detail, how
    each Request is overly broad and unduly burdensome by submitting affidavits or other
    evidence describing the nature of the burden"); Polaris Innovations Ltd. v. Kingston Tech. Co.,
    No. CV1600300CJCRAOX, 2017 WL 3275615, at *6 (C.D. Cal. Feb. 14, 2017) (court grants
    motion to compel production of documents by defendant Kingston in part because "Negarding
    its assertion that the requests are overly burdensome, Kingston has not submitted any
    evidentiary declaration to support this objection.").

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Dated: September 28, 2020                             Respectfully submitted,



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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)



       I, Derek W. Loeser, attest that concurrence in the filing of this document has been

obtained from the other signatory. Ideclare under penalty of perjury that the foregoing is true

and correct.

       Executed this 28th day of September, 2020, at Seattle, Washington.



                                             /s/ Derek W. Loeser
                                             Derek W. Loeser




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                                  CERTIFICATE OF SERVICE

          I, Sarah Skaggs, hereby certify that on September 28, 2020, Ielectronically filed the

foregoing with the Clerk of the United States District Court for the Northern District of

California using the CM/ECF system, which shall send electronic notification to all counsel of

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                                               UNITED STATES DISTRICT COURT
                                             NORTHERN DISTRICT OF CALIFORNIA
                                                  SAN FRANCISCO DIVISION




                 IN RE: FACEBOOK, INC. CONSUMER                 CASE NO. 3:18-MD-02843-VC
                 PRIVACY USER PROFILE LITIGATION,
                                                                DEFENDANT FACEBOOK, INC.'S
                                                                REPLY BRIEF IN SUPPORT OF ITS
                 This document relates to:                      REQUEST TO ENFORCE THE PARTIAL
                                                                STAY OF DISCOVERY IN PRETRIAL
                 ALL ACTIONS                                    ORDER NO. 20

                                                                Judge: Hons. Vince Chhabria and
                                                                Jacqueline Scott Corley
                                                                Courtroom 4, 17th Floor




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                                                           INTRODUCTION

                        The lawsuit Plaintiffs describe is not this case.     This case is about ihformation sharing.

                 Specifically, it concerns sensitive information that users shared with their Facebook friends and that

                 third parties allegedly accessed as a result of friend sharing, whitelisting, and integration partner

                 agreements. Pretrial Order 20 is clear on this point, and Plaintiffs do not identify asingle line in Judge

                 Chhabria's comprehensive order, much less in their own allegations, that supports their description of

                 the case that survived dismissal.

                        The Order explains on its first page: "This lawsuit ...is about Facebook's practice of sharinr

                 its users' personal information with third parties." Dkt. 298 ("Order") at 1(emphasis added). It then

                 says that each of the four live theories concerns "substantive and revealing content that users intended

                 only for alimited audience [i.e., their Facebook friends], such as their photographs, videos they made,

                 videos they watched, their religious and political views, their relationship information, and the actual

                 words contained in their messages." Id.; see also id. at 7, 13, 17.     The user data relevant to those

                 theories consists of   formation fusers] make available to their friends on IFacebooAl. Id. at 1.

                        Plaintiffs do not dispute that Facebook produced all of the information the Named Plaintiffs

                 ever shared on Facebook.     These productions consist of more than one million pares          fdata and

                 necessarily include any data Facebook shared under the live theories. But, Plaintiffs insist they are

                 entitled to any other data that has ever crossed Facebook's servers that relates in any way to any Named

                 Plaintiff and all derivative materials drawing on this data. Plaintiffs seek these materials even if the

                 underlying data is not associated with any user and even if they were never shared with any third party.

                 Plaintiffs do not even attempt to explain why they would need such data in a case concerning

                 information they shared on the Facebook plai form and that Facebook allegedly shared beyond the

                 audience Plaintiffs intended. Instead, Plaintiffs openly admit that they seek these extraneous materials

                 not to pursue live claims, but to resuscitate stayed and dismissed theories or to search for new ones.

                        Plaintiffs largely avoid the Court's instruction to brief "what the scope of discovery is based on

                 the claims in Judge Chhabria's ruling [Pretrial Order 20]."      9/4/2020 Hr'g Tr. at 5:8-10.    Instead,

                 Plaintiffs devote the majority of their brief to side issues and seek to compel Facebook to produce all

                 documents responsive to five RFPs that are not before the Court. The Court should disregard these

                 diversions, conform discovery to the four operative theories, and deny Plaintiffs' motion to compel.

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                                                              ARGUMENT
                 I.     The stay imposed by Pretrial Order 20 includes adiscovery stay.

                        Plaintiffs take the surprising position that Pretrial Order 20 sets virtually no bounds on the scope

                 of discovery in this case and allows them to explore theories Judge Chhabria stayed or dismissed.     1


                        Plaintiffs' position makes no sense. When astay is in place, it "include[s] astay of discovery."

                 Meyers v. Cty. cf Sacramento, 2020 WL 207213, at *1 (E.D. Cal. Jan. 14, 2020).            Judge Chhabria

                 stayed all but Plaintiffs' core theories because Plaintiffs filed a 1,440-paragraph pleading.       As he

                 explained, "it seems the plaintiffs sought to identify anything Facebook has ever been reported to have

                 done wrong ...[and] the presence of so many disparate and vague allegations ma[de] it nearly

                 impossible for Facebook to meaningfully respond to all of them, much less for the Court to effectively

                 address them." Order at 5-6. In order to avoid "bogging the case down at the pleading stage for years,"

                 id. at 6, Judge Chhabria therefore issued an opinion regarding Plaintiffs' core allegations, without

                 addressing most of their improperly pleaded theories, which he stayed, id. Judge Chhabria surely did

                 not intend to allow discovery on hundreds of "disparate and vague allegations" that did not satisfy

                 Rule 8. The very point of the stay was to focus this case—not to allow Plaintiffs to explore "anything

                 Facebook has ever been reported to have done wrong" without stating cognizable claims.

                        Plaintiffs even suggest Pretrial Order 20 allows discovery to "reviv[e]" claims dismissed with

                 prejudice.   Opp'n at 6 n.3.   To support this curious position, Plaintiffs cite a footnote in Judge

                 Chhabria's analysis of Plaintiffs' deceit by concealment claim. Id. (citing Order at 37 n.21). Judge

                 Chhabria held that Plaintiffs stated a plausible claim arising from Facebook's alleged practices

                 concerning whitelisting and integration partners.    But he held the claim did not satisfy Rule 9(b)'s

                 heightened pleading standard with respect to friend sharing and Facebook's enforcement measures. He

                 then said in afootnote that dismissal of asubset of the claim would not "preclude ...plaintiff[s] from

                 seeking revival if discovery reveals afactual basis that justified reconsideration." Order at 37 n.21.

                 Judge Chhabria cited TTPP Luxembourg Gamma Three Sari v. Spot Runner, Inc., 655 F.3d 1039, 1059

                 (9th Cir. 2011), which holds aplaintiff who fails to satisfy the PLRA's heightened pleading standard

                 may potentially seek revival if other case-related discovery later allows the plaintiff to satisfy the


                   1 In addition to the discovery Plaintiffs seek from Facebook, Plaintiffs have served overbroad sub-
                 poenas on 27 third parties. These parties also require clear guidance as to the scope of discovery.

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                 PLRA's heightened pleading standard. Judge Chhabria certainly did not intend this footnote to create

                 agaping hole allowing discovery on hundreds of allegations that did not survive dismissal. See Mkjica

                 v. AirScan Inc., 771 F.3d 580, 593 n.7 (9th Cir. 2014) ("To the extent [earlier cases] suggest[] that

                 courts retain discretion to permit discovery whenever a plaintiff has failed to satisfy Rule 8's

                 plausibility standard, it is simply incompatible with Iqbal and Twombly.").

                        Pretrial Order 20 plainly defines the scope of discovery in defining the scope of the case.

                        This case is about information users share with their friends on Facebook.

                        A plain reading of Pretrial Order 20 explains the scope of the case Judge Chhabria allowed to

                 move forward. 2 Plaintiffs say the Order describes this case as concerning any data Facebook receives

                 or infers about users and how that data may be used to target them. To support this position Plaintiffs

                 quote vague passages from the Order stating the case concerns "sensitive information." Plaintiffs then

                 say Judge Chhabria did not define "sensitive" and ask the Court to interpret the term to include any

                 data Plaintiffs believe to be personal—including information they provide to third parties, information

                 third parties collect through cookies, public records, and even inferences Facebook draws. Opp'n at 4.

                        Plaintiffs disregard what Pretrial Order 20 actually says. It describes "sensitive information"

                 to be "substantive and revealing content that users intended only for alimited audience," and clarifies

                 that this data is "information [users] make available to their friends on [Facebook] ." Order at 1.

                 To read the ruling otherwise would expand the case far beyond what Judge Chhabria considered and

                 would also raise ahost of thorny legal questions his Order does not address.

                        A.      The four live theories all concern data users shared with their Facebook friends.

                        As discussed, Pretrial Order 20 allows four theories of relief to move forward. Each theory

                 concerns information users shared with their Facebook friends.

                        Friend sharing. Friend sharing was acapability through which users could share with apps

                 information their friends posted and made available to their Facebook friends. Plaintiffs do not dispute


                   2  Plaintiffs disingenuously argue that Facebook takes an "unduly narrow" view of discovery, cit-
                 ing acomment Judge Chhabria made before discovery began advising Facebook to produce materials
                 regarding "friends' information and friends' of friends information." Opp'n at 13. Facebook has
                 now produced nearly 1.5 million pages of documents, before the parties have even reached asearch
                 term agreement, including all information the Named Plaintiffs shared with their friends and friends
                 of their friends. Those productions also include all of the Facebook documents produced to the FTC
                 in reslonse to its document requests in two related investigations. They also include documents pro-
                 ducec to ahost of other government actors in related actions responsive to Plaintiffs' RFPs. In addi-
                 tion to these materials, Facebook proposed search terms hitting on millions of additional documents.

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                 this. Friend sharing underlies the Cambridge Analytica events, it has been hotly litigated, and there is

                 no dispute as to what it is about. The Order explains: "[W]hen users accessed apps on the Facebook

                 Platform, the app developers were not merely able to obtain information about the users they were

                 interacting with; [but] were also able to obtain any information about the users' Facebook friends that

                 the users themselves had access to," "such as photographs, videos they watched, religious preferences,

                 posts, and even sometimes private one-on-one messages sent through Facebook." Id. at 6-7.

                         Whitelisting. Whitelisting is an extension of friend sharing and is about the same data. Id. at 8.

                        Integration Partner Agreements. Facebook allegedly "[s]har[ed] sensitive user information

                 with business partners," through alist of "integration partnerships," to integrate Facebook with devices,

                 websites, and social-media platforms.     Id. at 8-9.   As with the other theories, the "sensitive user

                 information" at issue is "substantive and revealing content that users intended only for a limited

                 audience [i.e. their Facebook friends]." Id. at 1. The purpose of these agreements was to allow users

                 to integrate their Facebook activities that they shared on Facebook with other platforms and sites.

                        Plaintiffs say the Order allows claims relating to integration partners to proceed as to some

                 broader set of "sensitive information" that they find personal in nature. Opp'n at 7. Plaintiffs provide

                 no support for this assertion; the Order describes this theory as involving the same "sensitive user data"

                 underlying the other theories of relief. And it must. As discussed below, the Order holds that Plaintiffs

                 demonstrated standing, areasonable expectation of privacy, and alack of consent only with respect to

                 Facebook's alleged practice of sharing information users shared with their Facebook friends.

                        Enforcement. This theory relates to how Facebook enforced its data-use policies with respect

                 to data third parties obtained through friend sharing, whitelisting, and integration partner agreements,

                 and it concerns the same data that users shared with their Facebook friends. Order at 9.

                        B.      The threshold "global issues" addressed in the Order show that the actionable
                                claims relate only to information users shared on Facebook.

                        Pretrial Order 20 addressed various "global issues" and holds Plaintiffs demonstrated a

                 reasonable expectation of privacy, standing, and lack of consent only with respect to Facebook's

                 alleged practice of sharing with third parties information users shared with their friends on Facebook.

                        Expectation cfprivacy. Pretrial Order 20 addresses Facebook's argument that Plaintiffs were

                 not injured, and therefore lack standing, because they did not have areasonable expectation of privacy

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                 over information they share with their Facebook friends. Id. at 1("Facebook argues that people have

                 no legitimate privacy interest in information they make available to their friends on social media.").

                 With respect to users' privacy expectations, Pretrial Order 20 holds: "the issue of whether users have

                 areasonable expectation of privacy in ihformation they share with their social media friends is best

                 understood as relating to the merits, not standing." id. at 10-11 n.2 (emphasis added). On the merits,

                 the Order holds that "[w]hen you share sensitive information with alimited audience ...you retain

                 privacy rights and can sue someone for violating them." id. at 2. It then analyzes whether users retain

                 areasonable expectation of privacy over information they share with their friends, see id. at 10-12,

                 and concludes: "social media users can have their privacy invaded if sensitive information meant only

                 for afew dozen friends is shared more widely," id. at 11.

                        Pretrial Order 20 is so clear that this case concerns information that users shared with their

                 Facebook friends that it goes out of its way to say sua .sponte: "It seems quite possible that auser

                 whose settings allow information to be shared not only with their friends, but friends of friends, loses

                 any expectation of privacy." id. at 11 n.3. Nowhere does Pretrial Order 20 consider whether users

                 maintain areasonable expectation of privacy over information beyond what users share on Facebook

                 (as Plaintiffs wrongly suggest) such as information users provide third parties, public records,

                 information third parties obtain through cookies, or information Facebook "infers" about users.

                        Standing. With respect to standing, Pretrial Order 20 holds: "The alleged injury is 'concrete'

                 largely for the reasons already discussed — if you use acompany's social media platform to share

                 sensitive ihformation with only your friends, then you suffer aconcrete injury when the company

                 disseminates that information widely." Id. at 17. The Order goes on to say that Plaintiffs' injuries are

                 sufficiently particularized with respect to which third parties allegedly received their data because,

                       as alleged in the complaint, Facebook made users' friends only' ihformation readily available

                 to such abroad swath of companies ...it is virtually inevitable that some of these companies obtained

                 information on the named plaintiffs." Id. at 18. The Order did not hold—or even consider—whether

                 Plaintiffs have standing to sue Facebook with respect to information users did not share on Facebook.

                        Consent.    On the issue of consent, the Court addressed whether Plaintiffs consented to the

                 conduct underlying their claims because they "agreed, when they signed up for their accounts, that


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                 Facebook could disseminate their 'friends only' information in the way it has done." Id. at 18. Pretrial

                 Order 20 holds that judicially noticeable materials demonstrate that a subset of users consented to

                 sharing their "friends only" information through friend sharing, but do not establish at the pleading

                 stage that all users consented to sharing friends-only information through friend sharing, whitelisting,

                 and integration agreements. Id. at 18-29. The Order did not consider whether Plaintiffs consented to

                 sharing information they did not share on Facebook.

                          The Order is clear that this case is about sensitive information users made available to their

                 friends on Facebook and third parties allegedly accessed. Discovery must conform to these theories.

                 III.     Facebook produced all data Plaintiffs shared on Facebook; no other user data is relevant.

                          Facebook produced more than one million pages 6f content and information related to the

                 Named Plaintiffs. 3 Those materials include evetything each Named Plaintiff ever shared on

                 Facebook (unless they deleted it).       This includes, but is not limited to, the "Download Your

                 Information" ("DYI") file that Facebook makes available to users, 4 plus additional information.

                          Plaintiffs do not dispute that the produced materials include any data users shared with their

                 Facebook friends (sensitive or otherwise). Yet, Plaintiffs demand that Facebook search millions of

                 disaggregated data sets for any data to have ever crossed Facebook's systems relating to aNamed

                 Plaintiff and any derivative materials drawing on that data—such as data sets tracking hours of peak

                 user activity to monitor strains on Facebook's system. They demand such materials without regard for

                 whether they were shared with any third party, much less under alive theory. To support this position,

                 Plaintiffs misinterpret a handful of Facebook documents, 5 but their argument boils down to the

                 following: Facebook has documents drawing on data relating to users; therefore, Facebook must search


                   3 Since filing its opening brief, Facebook produced approximately 250,000 additional pages of in-
                 formation related to Named Plaintiffs who were added to the case in August.
                   4 Plaintiffs assert that the DYI data is not useful because it does not display on an item-by-item
                 basis the audience that Plaintiffs set for each of their posts. Facebook agreed to investigate whether it
                 could produce this data for relevant posts—bearing in mind that the request involves granular data for
                 more than amillion pages of activity. Facebook also reminded Plaintiffs that their accounts display
                 this information. If Plaintiffs believe the audience set to aparticular post is critical evidence for their
                 case, they could screen-shot that information from their accounts and produce it. They could also
                 identify particular posts to Facebook so that Facebook can produce the relevant information.
                   5  Because the Court ordered the parties not to submit declarations or evidence, 9/4/2020 Hr'g Tr.
                 at 5:8-10, 18-22, Facebook does not here submit declarations or documents to dispute Plaintiffs'
                 characterization of the materials they cite. If the Court is inclined to issue aruling relying on the ex-
                 hibits Plaintiffs submitted, Facebook respectfully requests permission to do so.


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                 for and produce any materials drawing upon any data it has ever collected or created that relates in any

                 way to aNamed Plaintiff The Court should reject this position, which largely asks Facebook to search

                 for materials that are out of scope and consist largely of data already produced in other formats.

                         Data the Named Plaintiffs did not share on Facebook is out of scope, including public

                 records, data Plaintiffs shared with third parties, and information created by Facebook.          Facebook

                 produced all of the information the Named Plaintiffs shared on Facebook (sensitive or otherwise).

                 These productions necessarily include any information shared under the live theories. 6

                         Plaintiffs say the case is about data Facebook creates and that third parties share with Facebook

                 that is used to draw "inferences" about users. For instance, Plaintiffs may allow websites to collect

                 data about their shopping habits through cookies. Those sites then might share this data with other

                 parties (including Facebook) to better place the site's advertisements. As discussed above, nothing in

                 Pretrial Order 20 supports Plaintiffs' argument that this type of data is part of this lawsuit. This would

                 be avery different case if—as Plaintiffs say—it were about Facebook sharing information that third

                 parties passed on to Facebook. To establish this sort of "third party data" claim, Plaintiffs would have

                 had to allege (and prove) the nature of each of their relationships with the specific third parties at issue,

                 the circumstances under which those third parties obtained their data, whether each individual user

                 consented to that third party sharing data with Facebook, the circumstances under which the data was

                 provided to Facebook, and so on. None of that is at issue here and nothing in Pretrial Order 20 suggests

                 it is. Nor could Plaintiffs conceivably establish facts of this nature on aclass-wide basis.

                         Plaintiffs seem to concede they demand these materials because "the very purpose of collecting

                 all of this data ...is to use it to target users." Opp'n at 12. As Plaintiffs admit, Pretrial Order 20

                 dismisses their targeted advertising theory.' To the extent any advertisers received sensitive user data

                 through friend sharing, whitelisting, or integration agreements, that user data was already produced.

                   6   To describe the data Plaintiffs believe Facebook maintains, Plaintiffs cite their Exhibit B at page
                 9, which was prepared by an employee in 2014 and regards Facebook's ads platform. The document
                 does not reflect Facebook's standard terminology, nor does Facebook agree with Plaintiffs' character-
                 ization of the document. In any case, Facebook does not dispute that it receives data from third par-
                 ties in connection with its ads platform and maintains internal analyses which rely on user data.
                   7 Plaintiffs walk back their position that they need discovery to pursue their dismissed "targeted
                 advertising" and "psychovaphic marketing" theories. Opp'n at 11. But Plaintiffs have been arguing
                 for ayear that these theories justify their demands for every piece of information Facebook collects
                 and infers about users and took this position in the recent joint status updates that prompted this brief-
                 ing. See 8/13/2020 Status Update at 2-3, 9, Dkt. 495; 7/30/2020 Status Update at 3, Dkt. 484.

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                           In any case, as discussed in its opening brief and below, Facebook actually produced the

                 majority of data it receives from third parties in the off-Facebook Activity portion of the DYI materials.

                           Data not shared through one of the four theories is out of scope. Plaintiffs say they provide

                 evidence that Facebook shares data beyond what users share on Facebook. Opp'n at 9-10. Even if that

                 were true, it is not relevant to this lawsuit.      The live theories concern data users shared with their

                 Facebook friends that third parties accessed via friend sharing, whitelisting, or integration agreements.

                           In any case, the documents Plaintiffs cite describe Facebook's data sources; they say nothing

                 about whether or how Facebook shares information. Of note, Plaintiffs claim their Exhibit C "confirms

                 that Facebook shares [the data they seek] with third parties." Opp'n at 9. Exhibit C is an email outlining

                 hypothetical platform capabilities—it does not discuss what data Facebook actually shared.

                            The integration partner theory does not entitle Plaintiffs to all data from third parties.

                 Plaintiffs suggest Facebook must locate and produce all data points it has ever received from any third

                 party regarding aNamed Plaintiff because Facebook's integration partner agreements were built in part

                 on "data reciprocity."        Opp'n at 11.   This argument is ared herring and misrepresents what "data

                 reciprocity" means. Facebook did not, as Plaintiffs suggest, have agreements with integration partners

                 to trade user data. Data reciprocity arrangements allowed users to post their Facebook activities to

                 third-party platforms if the third-party platform also allowed its users to post their activities to

                 Facebook. Plaintiffs acknowledge this. See SACC 11657(g) ("Reciprocity' agreements ...requir[ed]

                 Apps that used data from Facebook to allow their users to share their data back to Facebook"); see also

                 id.   ill 239, 745.   Any user data relating to that type of sharing was produced. Again, Facebook produced

                 everything the Plaintiffs shared on Facebook. This includes any Facebook activities Plaintiffs elected

                 to share on other platforms and any off-Facebook activities Plaintiffs elected to share on Facebook. In

                 any event, even if some other data from integration partners existed, only data received from those

                 partners could even possibly be relevant—not data from thousands of other third parties. 8

                           Plaintiffs' SCA and VPPA claims do not require additional data. Plaintiffs contend this

                 case concerns data beyond what they shared on Facebook because Pretrial Order 20 did not dismiss


                   8  Plaintiffs concede they seek any such data to prove damages. If the Court is inclined to require
                 broad discovery to support damages, Facebook respectfully requests the opportunity to submit brief-
                 ing regarding why any such discovery should be bifurcated from liability-related discovery.

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                 their claims under the Stored Communications Act ("SCA") and Video Privacy Protection Act

                 ("VPPA").    Opp'n at 4-5.    Plaintiffs highlight that their SCA claim turns, in part, on "whether the

                 shared information includes the contents of an electronic communication." Id. at 5. But the sensitive

                 data at issue includes "private one-on-one messages" sent on Facebook. Order at 17; see id. at 1, 32.

                 Similarly, Plaintiffs' VPPA claim survived dismissal on the basis that Facebook shared "information

                 about the videos that users received in their private [Facebook] messages and about videos they

                 'liked." id. at 34. Plaintiffs' messages and any videos they shared or liked were produced.

                         The additional data Plaintiffs seek cannot even be reasonably collected. 9               Facebook

                 understands Plaintiffs seek two forms of data: (i) any additional data regarding users' off-Facebook

                 Activity provided by third parties, and (ii) any derivative materials that draw from user data. Again,

                 these materials are not relevant to any live theory. Facebook also cannot reasonably identify them.

                        With respect to off-Facebook Activity, as Facebook explained in its opening brief, the produced

                 DYI materials include the vast majority of data Facebook receives from third parties. It is not clear

                 what else Plaintiffs seek or how it could be relevant. Any off-Facebook Activity provided by third

                 parties that is not included in the DYI materials is data Facebook has not linked to aparticular user or

                 data that is so granular that it is preserved only temporarily. There is no centralized way to search for

                 either type of data. To the extent it exists, it is organized by the third parties who provided it. Facebook

                 would therefore need to review every data set it has received from thousands of third parties and then

                 attempt to link to the Named Plaintiffs data points it previously did not associate with any user. Such

                 an exercise is unlikely to be fruitful or at all useful, particularly on aclass-wide basis.

                        Facebook also explained that, within 90 days, any user data not included in the DYI materials

                 is disassociated from the user's ID, anonymized entirely, or deleted (depending on the nature of the

                 data and any business reasons for retaining it). Plaintiffs argue that Facebook should still be able to

                 find any derivative materials drawing from data relating to any Named Plaintiff because data

                 disassociated from a user's ID can sometimes be linked back to the user's account.               Plaintiffs'

                 explanation of this process is oversimplified, incorrect, and ignores that much of the data they demand


                   9  Plaintiffs say Facebook did not prove undue burden because it did not submit declarations or evi-
                 dence. The Court instructed the parties not to submit such materials. 9/4/2020 Tr. at 5:8-10, 18-22.


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                 is fully anonymized or not retained at al1.   1°   The argument also misses the point. There is no way for

                 Facebook to run acentralized search for auser's ID, random ID, or any "hashed data" identifiers across

                 millions of data sets, which are largely used for business analytics (like scoping infrastructure needs).

                 The only way to search these tables is to open all of them and search each to find any data relating to

                 aparticular user, whether by user ID or otherwise. The issue is opening and searching each table."

                          To be clear, Facebook is not—as Plaintiffs suggest—urging the Court to issue aruling regarding

                 the scope of discovery based on undue burden. Facebook is highlighting that this is not asituation in

                 which there are marginally relevant materials that are easy to sweep into an ongoing collection. The

                 user data Plaintiffs seek has nothing to do with the four operative theories, most of it was actually

                 produced, and any additional data would be virtually impossible to locate.         If Plaintiffs are able to

                 identify some specific type of data about user activity that is relevant to the case, Facebook will search

                 for that data. But Plaintiffs' position that Facebook must search the entire company for every document

                 including any data relating to aNamed Plaintiff is simply not reasonable.

                 IV.      The Court should deny Plaintiffs' "Cross-Motion to Compel."

                          Plaintiffs style their brief as a"cross-motion to compel" compliance with five RFPs and criticize

                 Facebook for not submitting declarations and evidence about these requests.             The Court should

                 disregard this diversion, which puts the cart before the horse. The Court directed the parties to submit

                 "no declarations," as this briefing is "just alegal question as to what the scope of discovery is based on

                 the claims in Judge Chhabria's ruling." 9/4/2020 Tr. at 5:8-10, 18-22. Facebook told Plaintiffs it will

                 produce materials responsive to the RFPs they identify that are in Facebook's possession and relate to

                 the operative theories. The Court must resolve this threshold legal issue before it can consider (on a

                 full evidentiary record) whether Facebook produced the relevant evidence responsive to specific RFPs.

                                                               CONCLUSION

                          The Court should enforce the stay Judge Chhabria imposed, allow discovery only on the four

                 operative theories of relief detailed in Pretrial Order 20, and deny Plaintiffs' cross-motion to compel.



                   1° Plaintiffs' Exhibit B, which they cite on page 12 of their brief, describes the ability to reidentify
                 data points that remain live on auser's Facebook page. This live data has already been produced.
                   11 Plaintiffs did not ease the burden of searching millions of data sets by identifying 10 Named
                 Plaintiffs they intend to identify as class representatives. In any case, the other 14 Named Plaintiffs
                 have not withdrawn their claims and have reserved their rights to proceed as class representatives.

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                 DATE: October 8, 2020              Respectfully submitted,

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                                   2                                  UNITED STATES DISTRICT COURT

                                   3                               NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     IN RE: FACEBOOK, INC. CONSUMER                      MDL No. 2843
                                         PRIVACY USER PROFILE LITIGATION                      Case No. 18-md-02843-VC (JSC)
                                   6

                                   7                                                         DISCOVERY ORDER NO. 9

                                   8                                                          (Dkt. Nos. 515, 526, 537, 548)

                                   9

                                  10

                                  11           This MDL matter has been assigned to the undersigned for management of discovery.

                                  12   Now pending before the Court are the Parties' briefs concerning the proper scope of discovery
Northern District of California
 United States District Court




                                  13   related to the data Facebook accumulates about the named Plaintiffs. (Dkt. Nos. 515, 526, 537,

                                  14   548.)   In brief, Facebook contends that the district court's order specifically defined the data at

                                  15   issue as "substantive and revealing content that users intended only for alimited audience." (Dkt.

                                  16   No. 298.) Based on this definition, Facebook argues that for any named Plaintiff data to be

                                  17   relevant and discoverable, it must meet two criteria. First, the discoverable data must have arisen

                                  18   from user activity occurring on the Facebook platform, such as Facebook posts and sent messages.

                                  19   Second, the named Plaintiff must have then overtly shared such data with alimited audience, such

                                  20   as their friends. Facebook submits that this is the only plausible reading of the district court's

                                  21   order limiting Plaintiffs to four actionable categories of potential liability. Plaintiffs respond that

                                  22   the universe of discoverable data Facebook collects for each user is much larger and necessarily

                                  23   includes: (1) user activity occurring off the Facebook platform; and (2) user data that can be

                                  24   inferred from user activity occurring on or off the Facebook platform. A second question

                                  25   presented by the briefs is whether discovery may proceed on the claims the district court stayed.

                                  26           After carefully considering the papers submitted by the Parties, and consulting with the

                                  27   district court, the Court rules that discovery is not as limited as Facebook contends. Plaintiffs

                                  28   correctly argue that Facebook's restrictive view of relevant discovery would exclude an enormous
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                                   1   amount of information that Facebook collects and shares with third parties about Facebook's

                                   2   users. The district court's order (Dkt. No. 298) did not limit Plaintiffs' claims to only challenging

                                   3   the sharing of data Facebook collects from auser's on-platform activity; the claims also challenge

                                   4   Facebook's sharing of user data and alleged failure to monitor how third parties used such shared

                                   5   information.

                                   6          Accordingly, the Court rules the discoverable user data at issue includes:

                                   7              • Data collected from auser's on-platform activity;

                                   8              • Data obtained from third parties regarding auser's off-platform activities; and

                                   9              • Data inferred from auser's on or off-platform activity.

                                  10          As for the stayed claims, and again after consulting with the district court, the Court rules

                                  11   that discovery is stayed as to the stayed claims. Of course, if aparticular discovery request is

                                  12   relevant to both astayed and non-stayed claim, then discovery is not stayed merely because the
Northern District of California
 United States District Court




                                  13   discovery request is also relevant to astayed claim.

                                  14          IT IS SO ORDERED.

                                  15   Dated: October 29, 2020

                                  16

                                  17
                                                                                                    JA JJELINE SCOTT CORL
                                  18                                                                United States Magistrate Judge

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                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



                                           MDL NO. 2843
IN RE: FACEBOOK, INC. CONSUMER
PRIVACY USER PROFILE LITIGATION,           CASE NO. 3:18-MD-02843-VC-JSC

                                           HON. VINCE CHHABRIA
This document relates to:                  COURTROOM 4— 17TH FLOOR
                                           SPECIAL MASTER, DANIEL GARRIE, ESQ.
ALL ACTIONS
                                           ORDER RE: PLAINTIFFS' MOTION TO
                                           COMPEL PRODUCTION OF PLAINTIFF
                                           DATA




      ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
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                                        INTRODUCTION

         1.     Pending before Special Master Garrie is Plaintiffs' Motion to Compel Production

of Named Plaintiffs' Content and Information.

                                         BACKGROUND

         2.     On November 25, 2019, Plaintiffs' served Requests for Production Nos. 9-13,

which seek documents relating to the named Plaintiffs in this matter ("Named Plaintiffs"). 1 See

Exhibit A. In brief, Request No. 9seeks all documents relating to each of the Named Plaintiffs;

Request No. 10 seeks documents sufficient to show the categories of content and information

Facebook collects, tracks, and maintains about them; and Requests Nos. 11-13 seek documents

identifying third parties that were able to access information about the Named Plaintiffs. Id.

         3.     In response to Requests for Production Nos. 9-13, Facebook produced more than

one million pages of individual user data it maintained relating to the Named Plaintiffs, most of

which was obtained from the "Download Your Information" tool ("DYI Tool"). 2 The data

obtained from the DYI Tool is mostly limited to information pertaining to users' on platform

Facebook activity. See Exhibit B (List of DYI Tool Data Fields).

         4.     Statements by Facebook's counsel during an August 14, 2020 discovery hearing

indicated that Facebook maintained additional data related to the Named Plaintiffs that was not

produced. See Exhibit C (8/14/2020 Discovery Hearing Transcript) at 8:10-13 ("There is other —

there's Facebook-generated information, information generated by third parties, information




1There   were originally 30 named Plaintiffs, but this has been reduced to nine named Plaintiffs.

2 The DYI Tool is atool by which Facebook users can download certain pieces of information
related to the user's Facebook activity and related data. A list of the types of information that can
be downloaded via the DYI Tool is provided in Exhibit B.


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received from third parties. We have not represented that that is comprehensively included in our

production.").

        5.       Plaintiffs filed amotion last September to compel additional discovery related to

Requests for Production Nos. 9-13. See Exhibit D (9/28/2020 Motion to Compel). Plaintiffs

asked the Court to compel production of sensitive information Facebook derives and collects

from business partners, app developers, apps, and other sources. This request included "native,

appended and behavioral data" and purportedly anonymized data that could be connected to the

Named Plaintiffs. Id. at 7-11.

        6.       On October 8, 2020, Facebook responded to Plaintiffs' motion to compel. See

Exhibit E (Facebook Opposition to Plaintiffs' 9/28/2020 Motion to Compel). Facebook

contended that all information related to the Named Plaintiffs that they did not themselves share

on Facebook was outside the scope of the case; that all information not shared through one of the

four theories of the case was not within the scope of the case; that Plaintiffs were not entitled to

all data collected from third parties about the Named Plaintiffs; that the Stored Communications

Act and Video Protection Privacy Act claims did not require the production of additional data

Facebook had collected about the Named Plaintiffs; and that Facebook could not reasonably

collect any of the additional information Plaintiffs sought. Id. at 6-10.

        7.       On October 29, 2020, Judge Corley issued Discovery Order No. 9, ruling "that

discovery is not as limited as Facebook contends" and "the discoverable user data at issue

includes: [1] Data collected from auser's on-platform activity; [2] Data obtained from third

parties regarding auser's off-platform activities; and [3] Data inferred from auser's on or off-

platform activity." See Exhibit F(Discovery Order No. 9) at 2.




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        8.     In Discovery Order No. 11, Judge Corley provided further clarification on the

discoverable user data intended to be included under Discovery Order No. 9:

       It also contended that Plaintiffs conceded that user data not shared with or
       accessible to third parties is not relevant, (Dkt.No. 548 at 10), and because
       Facebook does not share inferred user data, the inferred user data Facebook
       maintains is not relevant. Facebook both collects and uses data about its users as
       part of its business model, including data derived from third parties. How it
       specifically uses this data is an open question, but if the Court were to accept
       Facebook's arguments about the scope of production, it would eliminate Discovery
       Order No. 9's third category of discovery: data inferred from auser's on or off-
       platform activity. What is needed now is more detail about Facebook's collection
       and use of user data so future discovery requests can be tailored to Plaintiffs' better
       understanding of the internal operations of Facebook as well the terminology it uses
       for describing data that is potentially responsive to Plaintiffs' discovery requests.
       $ee Exhibit G (Discovery Order No. 11) at 1.

        9.     Following Judge Corley's orders, Facebook did not produce additional documents

in response to Requests for Production Nos. 9-13.

        10.    On October 6, 2021, Special Master Garrie and Judge Andler declared impasse on

the issue of whether Facebook should be compelled to produce additional documents related to

the Named Plaintiffs pursuant to Discovery Order No. 9.

        11.    On October 18, 2021, Plaintiffs submitted their opening brief to Special Master

Garrie on this issue. See Exhibit H. Plaintiffs argue that (a) the court has already determined the

information Plaintiffs seek is relevant—whether or not Facebook claims that it has been shared;

(b) whether the Named Plaintiffs' information was shared is a contested question on which

Plaintiffs are entitled to evidence; (c) Facebook has failed to substantiate adisproportionate burden

in identifying the data it possesses relating to nine people; and (d) Plaintiffs have made proposals

to reduce the burden of production on Facebook. Id.

        12.    On October 28, 2021, Facebook submitted its Opposition to Plaintiffs' Motion to

Compel Production of Named Plaintiffs' Content and Information. See Exhibit I. Facebook argues,




                                                 3
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among other things, that (a) the scope of discovery is limited to information Facebook shared with

third parties; (b) Plaintiffs are judicially estopped from seeking information that was not shared;

and (c) the information Plaintiffs now seek is nonresponsive and otherwise unavailable. Id.

          13.   On November 2, 2021, Plaintiffs submitted their Reply in which they argue, among

other things, (a) Judge Corley's orders entitle Plaintiffs to the discovery they seek; (b) Plaintiffs

are entitled to probe Facebook's assertion that it has already produced all the content and

information it has shared or made accessible to third parties; (c) Plaintiffs are entitled to answers

to Interrogatories 16 and 17; and (d) the relief Plaintiffs are requesting is intended to lighten

Facebook's burden. See Exhibit J.

          14.   Facebook subsequently objected to Plaintiffs reply claiming that Plaintiffs

introduced new arguments and evidence for the first time, in violation of the Discovery Protocol.

See Exhibit K (Facebook's Response to Plaintiffs' Objection Regarding Named Plaintiffs' Data

Briefing) ("Plaintiffs sought new relief and introduced twelve new documents that Plaintiffs

suddenly claim show gaps in Facebook's productions.").

                                            FINDINGS

          15.   Special Master Garrie finds that Discovery Order No. 9does not limit the scope of

discoverable data related to the Named Plaintiffs to data that was shared with third parties, as

Facebook contends, because Judge Corley's ruling contains no language indicating such a

limitation: "Accordingly, the court rules the discoverable user data at issue includes: [1] Data

collected from auser's on-platform activity; [2] Data obtained from third parties regarding auser's

off-platform activities; and [3] Data inferred from auser's on or off-platform activity." See Exhibit

Fat 2.




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         16.    Moreover, Judge Corley clarified that Facebook's interpretation of Discovery

Order No. 9is not what Judge Corley intended: "How [Facebook] specifically uses this data is an

open question, but if the Court were to accept Facebook's arguments about the scope of production,

it would eliminate Discovery Order No. 9's third category of discovery: data inferred from auser's

on or off-platform activity." See Exhibit G at 1.

         17.    Special Master Garrie finds that Facebook appears to maintain data related to the

Named Plaintiffs that was not produced in response Requests for Production Nos. 9-13. $ee

Exhibit C at 8:10-13 ("There is other — there's Facebook-generated information, information

generated by third parties, information received from third parties. We have not represented that

that is comprehensively included in our production."). For example, documents produced by

Facebook indicate that Facebook collects data referred to as "Appended Data," including public

records, auto registration data, retail purchases, and credit card purchases, all of which fall into the

second category of data from Discovery Order No. 9. $ee Exhibit L (FB-CA-MDL-00213424).

However, Facebook has not produced this data as it is not available via the DYI Tool. See Exhibit

B. 3

         18.    Special Master Garrie finds that Plaintiffs requested new relief (answers to

Interrogatories 16-17) and introduced new evidence (exhibits C, D, E, F, H, I, and Jto Plaintiffs'

Reply) in their Reply brief in violation of the Discovery Protocol. Accordingly, Special Master

Garrie did not consider this request for new relief or the new evidence items in reaching the

findings herein.

I/




3 Facebook also appears to maintain data relating to the Named Plaintiffs' on-platform activity

that has not been provided, such as inferred interest and behavior data. See Exhibit L.


                                                    5
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                                              ORDER

         19.   No later than December 3, 2021, Facebook is to provide alist of data sources that

may contain information related to the Named Plaintiffs pursuant to Discovery Order No. 9. The

list of data sources is to include: (1) the name of the database or data log; (2) adescription of the

data source's purpose and function; and (3) adescription of the types of Named Plaintiff data

contained in the data source.

        20.    No later than December 10, 2021, the parties are to meet and confer and each

submit to Special Master Garrie aproposed protocol for the production of Named Plaintiffs' data

from the data sources identified by Facebook.




IT IS SO ORDERED.




Monday, November 29, 2021                              D_JL
                                                       Daniel Garrie
                                                       Discovery Special Master




                                                  6
       ORDER RE: PLAINTIFFS' MOTION TO COMPEL PRODUCTION OF PLAINTIFF DATA
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            Exhibit H
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                           Exhibit A to Pope Declaration

Data Sys tems That May Store or Interact With User Data
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              Exhibit I
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 1                   UNITED       STATES       DISTRICT           COURT

 2                  NORTHERN        DISTRICT         OF     CALIFORNIA

 3

 4

 5   IN   RE:                                    MDL      No.     2843



 6   FACEBOOK,      INC.    CONSUMER             Case       No.    18-md-02843-

     PRIVACY     USER   PROFILE                                    VC- JSC

 7   LITIGATION



 8

 9

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11

                     SPECIAL        MASTER:          DANIEL        GARRIE

12

13                                  REMOTE       HEARING

14                       (Via     Zoom     Videoconference)

15                         Friday,       January          14,     2022

16

17

18   REPORTED     BY:      Michelle        Milan       Fulmer

                           CSR    No.    6942,       RPR,       CRR,     CRC

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 1                          UNITED    STATES       DISTRICT          COURT

 2                       NORTHERN     DISTRICT         OF     CALIFORNIA

 3

 4

 5   IN   RE:                                  ) MDL        No.     2843

                                               )

 6   FACEBOOK,            INC.   CONSUMER      ) Case         No.    18-md-02843-

     PRIVACY         USER    PROFILE           )                     VC-JSC

 7   LITIGATION                                )

                                               )

 8

 9

10           Remote         hearing     taken      before         Michelle       Milan

11   Fulmer,         a    Certified     Shorthand           Reporter       for    the

12   State      of       California,     commencing            at    12:08    p.m.,

13   Pacific         Standard      Time,     Friday,          January      14,    2022.

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 5

 6   ALSO    PRESENT:

 7             Michael        Mann

               (Via     Zoom    Videoconference)

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 2   WITNESS                                              EXAMINATION


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 5                       BY   MR.   GARRIE                       6


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 8                             EXHIBITS


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11   Exhibit    A        Spreadsheet                                  71


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 1                                Friday,           January        14,      2022

 2                                 12:08        p.m.       - 3:21        p.m.

 3                                                       ***


 4                 MR.       GARRIE:            We're          going     on    the       record      and

 5   we'll       get    started.

 6                 Court          reporter,              Ms.    Milan       Fulmer.

 7

 8                                              DAVID          POPE,

 9   called       as    a witness,              having          been     first         duly     sworn      by

10   the    Certified             Shorthand              Reporter,          was     examined         and

11   testified          as    follows:

12

13                                            EXAMINATION

14   BY    MR.    GARRIE:

15          Q          Okay.           Good     afternoon,             good       morning,

16   wherever          you    are       in     the       world,       Mr.     Pope.        Thank       you

17   for    taking          time       out    of     your       busy     day      to     answer      some

18   questions.

19                     I have          a declaration               that       was      submitted        in

20   this       case    regarding              --    I'm       sure    you're          aware    of     it,

21   but    just       to    make       sure.

22                     Did    you       submit           a declaration              on

23   December          10th       of    2021        in    connection           with       the

24   Facebook          --    In    Re:         Facebook          dispute?

25          A          Yes.



                                                                                                Page    6


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 1          Q             Okay.        And maybe         counsel         for    Facebook,          or    I

 2   can    share          my    screen,        but    do    you       have    that

 3   declaration                in    front     of    you?        If    not,    I can       share       it

 4   just       to    make       sure.

 5          A             Yeah.        I do     have     the      declaration          on    my

 6   computer.

 7          Q             Okay.        All     right.        Sounds       good.

 8                        If    you    can     just    look       at    the    declaration.

 9   Or    here,          I'll       share    my     screen       so    everybody       can       see

10   what       I'm       looking       at.

11                        So    if    you    see     here    the       declaration,          in    this

12   declaration                it    says     "My    team,"       in    Paragraph          3 right

13   here,       to       inventory          all     data    systems          within    Facebook

14   and    understand                which     of    them     retain         user    data    and

15   you    spent          a year       working.

16                        Do    you    see    where      I am?

17          A             Yes.        I see     that.

18          Q             Okay.        And     then    you     provided         a list

19   attached             as    Exhibit       A.

20          A             Uh-huh.

21          Q             Okay.        All    you     see    right       now    is    the    pdf;

22   right?

23          A             That's       correct.

24          Q             Okay.        So    I have      a high-level            question

25   before          we    --



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 1                  Over       the    course     of    the       year,    right,       you

 2   collect       --    what    exactly        --    because       I don't       want       to

 3   ask    you    for    things       that    you     don't       have    or    that    I

 4   don't      understand.

 5                  So    if    you    could     just       tell    me    sort    of    at    a

 6   high       level,    particularly,              you    said    working with             --

 7   like    what       did you       actually        collect       and    identify when

 8   you    got    these       data    systems?            So    that    way    I'm not

 9   asking       you    questions       for     things          that    you're,       like,

10    "I   didn't       do"?

11          A       Yeah.        Yeah.

12                  So,    well,       the    way     the       program operated was

13


.

.                                                      we       basically       asked,       you

16   know,       some    simple       questions        about


M

M

M
20                  And    then       from    that     point




                                                                                   Page       8

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 1                     So    let's          say


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1
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1
1
 9          Q          When       you       asked       --

10          A         And        --

11                     Yeah.           Go    ahead.

12          Q          1 guess when you asked them questions,                                         so

13   like       --   because           if    you       look    here,       right,        in

14   Exhibit         A,     and       we'll       go    through       it     in    a lot       more

15   detail,          there's          149    of       these    systems.

16                     So    you       would        email      somebody           and    they    would

17   send    you       --    did       you     --      what    kind     of    questions          did

18   you    ask       them?           Like    what       --    because        I don't          want    to

19   ask    you       to    do    work       you       haven't     done       or       for

20   information             you       don't        have.       I think           if    I understand

21   what    you       have,          it    may     streamline          the       questions

22   process          for    the       systems.

23          A          Yeah.           It    would       be    basically,              you    know,    a

24   simple          description             of     their      system.




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 1


I                                                     Things     of    this       nature.

 3                  You       know,       I don't        have    --    it's       been    some

 4   time       since    I've       directly          worked     with       that.        I

 5   started       the       program       and     the    team,       you    know,       took    it

 6   forward       and       I haven't          been     reviewing          the    current

 7


I                 but    they're          of    that     nature.        Fairly

 9   high-level          questions.

10          Q       So       then                                                                So,

11   you    know,       what       you          like     does    it    --    so    for    each       of

12   these       systems,          you          I'm    just     trying       to    understand,

13   like,

                             like,       what    in-     --    like,    for       example,       so

15   for    all    of    --    I'll       give    you     an    example.

16                  For       the       systems,       and     we'll    start       with     one

17   of    them    just       as    an    example,        right,       and    I'll       scroll

18   down    here       to          and    I received           a spreadsheet            with        a

19   letter       that       broke       down    what     they were.

20          A       Uh-huh.

21          Q       And       so    if    you    look     at            it    says               it

22   says       files    with       salted       and     hashed       Facebook       users'

23   PII    are    stored          in    this    data     store.        The       data    store

24   is    used    by    the




                                                                                     Page       10

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 1

 2                  My    first          basic       question,          you    may    not    know

 3   the    answer       to    this,          would       you    know    if    this    user       data

 4   is    already       contained             in    the       social    graph?

 5                  To    me    it       seems       like       it's    already       there.

 6   It's       redundant.

 7                  Is    that       --       would       you    know    the    answer       to

 8   that    question?

 9          A       No.        I wouldn't             know.

10          Q       Okay.           Would       you       be    able    to    tell    me    like

11   why    was    this       system          identified,          the               for    having

12   user    data?        Like,          is    it    --

13          A


.

.
16          Q       Well,       before          we    --

17          A       Yeah.           Go    ahead.

18          Q       No.        Go    ahead.           Sorry.

19          A       No.        I was          just    going       to    say,    you    know,       a

20




                                                                                       Page       11

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 1          Q       I mean,          did you           find    out    if    any    of    the   data

 2   in    these    systems,          the       user     data       you    identify       is

 3   actually       --    is    it    shared with              --    because,       I mean,

 4   for    some    of    these,          you     know,       is    the    data    being

 5   shared with          third parties                 or          and,    I mean,       whether

 6   it's       readable       or    not     readable,             I don't       care.

 7                  What       I want        to    know       is,    is    the    data    in   the

 8   system       shared with             third parties,              like

 9          A       Yeah.           I don't        know.

10          Q       For       all    of     them or          just    that    one?

11          A       So    for       some     I will          know because          I have      more

12   familiarity with                them.

13                  This       one    I'm not           familiar          with    directly;

14   but    some    that       I have        worked          with,    I would be          able

15   to    --    I have       a little          more     depth       of    knowledge       and      I

16   could.

17          Q       All       right.         And       then my       other       question      is,

18   is    the    data    --    and       these        are    the    two    real    questions.

19                  Is    the       data     that's          collected       and    the    user

20   data,       being    very       clear,        the       user    data    collected made

21   accessible          to    other parts              of    Facebook       that       then put

22   it    into    a product?

23                  And       I'm not        saying          for    a particular          --   I'm

24   just       going    to    give       you     an    illustrative             example,      and

25   I'm not       saying       this       actually           happened       for    the


                                                                                        Page   12

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 1   record.        It's          just    to    illustrate             an    idea;       okay?        I

 2   have    no    personal             knowledge.

 3          A       All       right.

 4          Q       But       this       data    falls             goes          into    your

 5   system,       then       it    outputs          to    another          system       at

 6   Facebook       that          then    uses       some    of    that          output       and

 7   provides       it       to    an    off-platform             ad    network          or

 8   something;          right?           Is    the       data    being          made    accessible

 9   to    another       platform          offering          or    solution             that

10   Facebook       shared          off,       you    know,       with       a third party,

11   whether       it's       an    ad    network,          whether          it's       with

12   whoever?           I mean,          maybe       ad    network          is    a very       touchy

13   subject.           Probably          shouldn't          use       that       one.

14                  But       the       idea    is    that       it's       shared       off

15   platform,          but       the    data    goes       into       the       system       and    then

16   that    data       is    processed          or       something's             done    with       it

17   and    then    shared          with       another       entity maybe                likely       on

18   this       list,    I would          assume,          that    then          outputs       it.

19          A


.

.

.

.
24          4       Okay.

25          A



                                                                                          Page       13

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 1

 2


I
I
 5          Q          Okay.           Fine.

 6                     So    I guess           for      the     systems          we    do    know,

 7   right,       so    we'll          go    through          the     list       fairly       quickly.

 8                     I mean,          for                     you    know,          the

 9   description             is    the       delivery           flow,       which       I have       no

10                     Do    you       have       any     idea      what     that       means?

11          A          This       is    used       in     the    delivery             flow    for

12   targeting,             ranking          features.

13          Q          Is    that       to     customers?              Is    that       an    internal

14   tool       that    you're          using        to    manage       in       the    ad    network?

15          A          Yeah.           I don't          know,       actually.               I'm    not

16   familiar          with       this       system        or    kind       of    like       the

17   relationship             that          they're        describing             between

18                 and       so    forth.            Yeah,       I haven't             worked       in

19   this   area        to    know          what     that       means       more       than       what's

20   written.

21          Q          Just       so    I understand,                 when       it    says       "the

22   social       system,"             is    that       the                 system?

23          A          I don't          know.           Yeah.         Sorry.

24          Q          Okay.           So    do    you     know who          --

25                     But    you       have



                                                                                              Page       14

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 1   these      systems         that    could        theoretically             --    if    I

 2   think      --   and    that's          a big       if,     in    caps    --    if    I think

 3   it's    necessary           or    appropriate              to    get    the    additional

 4   information           if    this       is    used     or    shared.

 5                   And    just       so    I'm     clear       here,       their       user   data

 6   would      go   into       this    system          that     --    and    I'm not       sure.

 7   Would      this   system          then       share       the     data    off    platform?

 8          A        I don't          know.

 9          Q        You    don't       know?

10          A        Yeah.        I'm not           sure      how     the    data    is

11   processed.

12                   Just,       again,          kind    of




21          Q        Very       good.

22          A

23          Q        Yeah.                                                    N
M

M

                                                                                         Page   15

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 1          A          Right.

 2          Q          _-

 3          A          Right.

 4          Q          In       this    list,          we'll       go    through          each       of

 5   them,       but       if    there       are       specific          ones       you       know    more

 6   about,          please       tell       me.        Because          I read          about

 7                     and       let's       be    clear.           All       I'm       interested            in

 8   is   really           if    the    data       is       shared       off       of    the    platform

 9   or   made        accessible             off       of    the    platform.                 And    when       I

10   read       the    description                of                          it    says       it's       a

11   real-time             service       that          performs          a join,          which       I

12   assume          you    mean       a database                join,    between             different

13   event       streams,             which       I interpret             to       be    I'm    not       sure

14   what,       and       features.              And       it    says    the       core       --    but      the

15   part    of       that       that's       kind          of    confusing,             it    says       core

16   of   the        training          data       preparation             flow,          which       to    me

17   says       is    this       an    internal             tool    that       you're          just       using

18   to   optimize              for    the    ad       network          that       you    then

19   aggregate             out?

20          A          Yeah.           You    know,          I can       --    I don't          want       to

21   speculate.                 I don't       actually             know       the       details.

22                     I think          there          are       some    hints          there       when

23   they       say    like       feature          and       so    forth,          but    I don't          want

24   to   infer        because          I --       I don't          actually             work       with

25   that       system          and    don't       have          knowledge          of    it.



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 1          Q          Okay.          I appreciate               it.

 2                     But      you,     again,          have     the    spreadsheet

 3   response          or    the      form     response           you    got       for       that

 4   because         --

 5          A          Right.          We    do     have     the       point       of    contact,             as

 6   you    mentioned,             for      that      system.

 7          Q          Yeah.          All     right.

 8                     Then      for                        database,             I think          this       is

 9   a MySQL         database,           it's       an     internal          system,         but        is

10   that       correct?           I mean,          what     is    it    doing          because          --

11          A          I mean,         again,        you     know,       unfortunately,                      I

12   guess,       my      knowledge           is    --

13          Q          No.       It's       okay.          I much       --    as    crazy          as    this

14   may    sound,          I much       appreciate              your    repeating             yourself

15   and    you      can     just      say,        "Same     answer          as    last       time,"          if

16   you    want       to    streamline             it     and    it    won't       offend          or

17   upset      me     at    all.

18          A          Yeah.

19          Q          All      I'm    trying         to    do    is    figure          out.        You

20   submitted            the    declaration.                So    I wanted             to    check

21   with    you.

22                     You      don't       have      any    further          information

23   available,             right,       that       you     could       reference             to    check

24   and    give       answers?

25          A          Yeah.          Not    at     hand.         Certainly,             you       know,



                                                                                              Page       17

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 1   this    knowledge             exists          within      the    company,          but    it's

 2   not    essentially,             you       know,        a part     of       the    work    that       I

 3   did    or       that    I have       access         to.

 4          Q          I got       it.

 5          A          Yeah.

 6          Q          Because       it       says     --    and     the    reason       why       I

 7   ask,       it    says    but    also          other     critical           consumers          of

 8   the

 9                     So,    again,          is    this     user     data       being       shared

10   or    aggregated          out       of    the     Facebook        platform          into

11   third parties             or    is       this     just       Facebook's           internal

12   systems          that    it's       using?

13          A          Yeah.

14          Q          Well,       maybe

15          A          I don't       --

16          Q          Well,       have       you     had    a chance           to    look    at    all

17   149    systems?

18          A          Yeah.        I mean,           I do     --    like,       if    you    want       me

19   to    call       out    a particular              one,            is       the    one    that

20   I probably             have    the       most     knowledge           of    and

21   understanding.

22          Q         And            is?

23          A          Yeah.        It's       the

24          Q          I'm just          trying        to    scroll        down.

25          A          I think       you       passed        it.      I think          I saw       it    go



                                                                                         Page       18

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    1   by.

    2          Q       Sorry.           I was       using       my   finger.        One   sec.

    3                  Where       would       it    be?

    4         A        It's    a little             bit    higher.

    5          Q

    6         A

    7          Q       There       it    is.

    8         A        There       it    is    above.

    9          Q       There       it    is.        Okay.

10            A        Kinda       on    the    fold       of    the    page.       Yeah.     It's

11      on    the    list,    yeah.

12             Q       So    the              says              is   a team within

13                    dedicated          to    the    performance             and   delivery       of

14      media       content    of       all    Facebook          products.

15                     How    does       user       data    play       into    that?

16            A        So    the    way       this              works    is




22             Q       Yeah.

23            A


M

25             Q       Yeah.        It



                                                                                       Page   19

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 1

 2          A          Yeah.        Exactly.

 3                     So,    you    know,


1

1

1

1

1

1
10          Q          Right.        And    then    --

11          A         And     so    when    --

12          Q          Go    ahead.        Keep    going.

13          A          So    then


.

.

M
17          Q         And     so    then




                                             My    question       is,   do   you   know

22   what   my        --    what's    it    called?         Download.        I forget

23   what       the    tool    is    called.

24          A          Download your             information.

25          Q          DYI.        Sorry.        Yeah.



                                                                               Page   20

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    1                     Is    all       of    the    information              in    a DYI    the    same

    2   information             that's          available           in    the           because

    3   those       are    my pictures                and     the    DYI,       as    I understand

    4   it,    has    those          photos?           Is     that       correct?

    5         A           I don't          know.         I don't          know.        I don't

    6   actually          know       how       DYI    operates           or   the     systems    that

    7   it    covers.

    8                     But       for    the                again,


I

M
11             Q          Yeah.           Yeah.

12            A           That       --

13             Q          It's       --

14            A           --    is       deleted.

15             Q


M                                                                                                It's

17      not    --

18            A           Yeah.

19             Q          --    user       data,       per     se,       that's       being    shared

20      off   platform              to    a third       party.            It's       being    made

21      accessible             to    my    friend        in    Tel       Aviv    so    that    they    can

22      access       the       picture.

23            A           Right.

24             Q          Does       any       other     third parties                have    access       to

25      the           data          or    is    it    just     end       users?



                                                                                              Page    21

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 1         A       Well    --

 2         Q       Like    does          Facebook        make                 data    --

 3         A       Yeah.        No.         It's       available             publicly.        So,

 4   you   know,    I guess          there's           not    a special          channel         that

 5   I'm   aware    of    that       would        be    for       that.        But    this    is

 6   really,    again,         kind       of     outside          of    my    area    of

 7   expertise.          The    knowledge              I have          of        is    the

 8   public-facing         --

 9         Q       Okay.

10         A       --    use    --

11         Q       But    it's       used        --

12         A       --    like       in    Tel     Aviv       as    you       described.

13         Q

.
                                     --
.
16         A       Uh-huh.

17         Q       --




           I
22         Q       All    right.            So    then       how       about

23   Nothing?       Same       as    before?

24         A       Yeah.        Same        as    before.

25         Q       When    they          said     user       data       comes    into      it,



                                                                                       Page      22

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 1   nobody          --    the       problem          is    is    the     plan    is    --

 2                        So    this    looks          like       a new       system.         Is    that

 3   an   accurate              --

 4          A             I don't       know          the    age     of    the    system.

 5          Q             Because       it       says


I

I

I
 9                        All    right.           And       then                        you    know,

10   again,          was       created       --       the    part       I'm     interested          in,    it

11   says       it    was       created          --    and       I guess        this    was    provided

12   to   you,        so       you're       sure.           But    it     says    it    was    created

13   in   order           to    migrate          from                             which       I'm

14   pretty          sure       I know what                they're        talking       about,       but

15   let's       just          assume       on    the       MySQL       with                   storage

16   platform             that       Facebook          uses.

17          A             Yeah.        I know          a little           bit    --

18          Q             That's       an    internal.

19          A             --    about       that       one.        Yeah.

20          Q             So    that's       an       internal          system;        right?

21          A             It                                                                 N
.

.

M
25          Q             So    if    it's       just       --



                                                                                              Page    23

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    1          A        That       application.

    2          Q        Yeah.        So    only     Facebook          internal             services

    3   have    access        to    the    application           layer          or    do

    4   third-party           applications              have    access          to    it    as    well?

    5          A        No.        That    one     is    actually          --

    6          Q        Which       one    is    right?

    7          A        So    only    internal           applications                and    products

    8   have    access        to    this     system.

    9          Q        All    right.

10             A        And    what       I just        want    to    be    clear          about

11      that.

12                      So


.

.
15             Q        Yeah.

16             A        That       does    not     --    that    has       access          to    this.

17      But    beyond        that,    you       know,


M

19             Q        Got    it.

20                      And    then       for                    what       user       data       is

21      going      in   through

22             A        Yeah.        I have        a little          bit    of       knowledge

23      there.

24                      So                   is,    you    know,       a scheduler.                    The

25      reason      that      it    has    been     identified             as    can       store       user



                                                                                            Page       24

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 1   data       is    that       you       could       schedule           a job       with   user     data

 2   in    the       description.

 3          Q             But    that's,          again,          for     operations          internal

 4   to    Facebook             --

 5          A             It's       completely             internal.

 6          Q             --    or    is    it    --

 7          A             No.        It's    completely              internal.

 8          Q             All    right.           So     then                     --

 9                        So    you're       talking           about       you    could       schedule

10   an    internal             job    for       whatever           on    a database          cleanup.

11   The                        will       run    on     the      database        and    then    it

12   will       report          --    you'll          schedule           a database          cleanup.

13   Whatever             the    activity             is,    that        runs    only    internal          to

14   Facebook;             right?

15          A             That's       correct.

16          Q             Yeah.

17          A             I do       have    knowledge              of                  to    that

18   degree.              That's       the       --    pretty much              the    depth    that       I

19   have.

20          Q             That's       all       I need        to    know,       honestly.           So

21   that's          perfect.

22

23          A             Yeah.        I'm not           aware       of    that.

24          Q             Again,       inventory             estimation.               I assume

25   that's          an    internal          tool,          but     I guess       you're       not    the



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    1   right       person       to    ask,     but     I didn't          --   because           it    says

    2   it's    mainly used             by     advertisers           trying       to    target

    3   their       ads    to    the    right        audience.            So   I didn't           get

    4   how    user       data    fed    into        that    and     if    it's      being

    5   made    access-          --

    6                     Is                 being      made       accessible          to    third

    7   parties,          the    data    in     there?         It's       user    data       really

    8   what       I'm    interested           in    being     made       accessible,             but       I

    9   guess       you    may    not    be     the     right      person        for    that          one.

10             A          Yeah.

11             Q          For                               I heard        a lot       about

12                              actually very             recently.            But

13                               does    that        have    user        data?

14             A          By    the    fact     that      it's      on    this    list,




16                        And    just    to     make      a qualification               there,

17      this       is    where


M

M

.
21             Q          That    would       have      been       a good      thing        to    put       in

22      your    declaration,


M

24                        So    you


M


                                                                                            Page       26

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 1          A


I
I
 4          Q          I got    it.           I get    the       policy       driving          piece

 5   of    it.

 6                     And    then       for           --       and    then       just    to       go

 7   back    up    really       quickly             just    to       run    through       the       As.

 8   I had       a couple       questions.

 9                     Again,                               it       says    it's    the

10   backbone          for    the    Core       Ads    system.

11                     That    is    not       exposed          to    third       parties          or

12   made    accessible             to    third parties                or    is    it?

13          A          I don't       know.           I don't          know much          about          the

14   ads    system.

15          Q          All    right.           And    then       so    I won't       ask

16   about       it.

17                     I assume          same       answer       for

18          A          Yeah.

19          Q          Okay.

20          A          No,    I don't          recall       anything          more       on    that.

21          Q          All    right.           For Akkio             locality.

22          A          I do    have       a little          bit       more    knowledge             of

23   that    one.

24          Q          What    can       you    tell       me    about       this    one?

25          A          So Akkio          is    --    the    purpose          of    this       is    to       --



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 1   if    you       have       data    that        really       only       you       are    accessing,

 2   right,          through          our    products,           this       --

 3          Q          When       you       say     "you,"       do       you    mean       a user       or

 4   do    you       mean       a Facebook           employee?

 5          A          A user.

 6          Q          I don't          want        to    --

 7          A          An       outside        --    yeah.           An    outside          non-Meta

 8   employee          who       is    using        our    product;             right?

 9                     So,       you    know,        my mother             using       the       Facebook

10   app,       there's          certain          information              or    certain          data

11   that    might          only       be    for,        like,       her    configuration

12   settings;             right?           It's     not       like       publicly          available.

13   She    is       the    only person              that       would       look       at    that       data.

14   And    so       what       would       happen        is    it    determines,

15   it    detects          where       in     the       world       she's       accessing

16   the    prod-          --    you    know,        the       product          is    accessing          the

17   data       from       and    it    will        relocate          that       data       to    a data

18   center          closer       to    her.         So    if    she's          on    the    East       Coast

19   and    moves          to    the    West        Coast,       after          some    time       it

20   figures          out,       oh,    we     should move                her    data.

21          Q          I got          it.

22                     And,       again,          it's     moving          her       data,       which    is

23   what       --

24                     When       you       say     "the       user's       data,"          that's       the

25   data    available                through        the       social       graph       or       the    data



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 1   is    broader         than       that?        Like       is    it    all    of    their      data?

 2          A


I

I

I
 6                    So    that's          about       --    that's       the    depth       that       I

 7   have    knowledge            of    is    what       it's       --    the    feature       is

 8   providing,            but    I don't          really          have    the    use    cases       or,

 9   you    know,      other          information.

10          Q         Did    they provide                                   when       they

11   submitted         it    to       you?        Did    they       give    you                          in

12   their      submission?

13          A         Yeah.           I'm    sure       it    was       discussed.           I don't

14   think      we    --    you       know,       this       is    --

                                                                                But    when    we

16   actually meet               to    understand             what       they're       doing,       most

17   likely,         they    would          have     described,            you    know,       a

18   scenario.

19          Q         You    have       some       description             of    what    --    for

20   each    of      these       systems,          just       so    I get       the    process,

21   you    guys     would        send


.

.                                 talk       to    whomever,             make    a decision

24   and    then      schedule          a follow-up                meeting,       if    deemed

25   appropriate,            to       understand             the                       for    the



                                                                                         Page       29

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 1   systems       and    that       your        team did          --    not    you,       per       se,

 2   but    when    I say       "you,"           I mean       the       royal    you       --       the

 3   team    that       you were          working           with would          go    and

 4   interview          and    get                           or    whatever          for    that

 5   particular          system       and        that's       how       that    was    handled.

 6   Is    that    accurate?

 7          A       So    it    would be              that    it's       possible          that


I               would     come       up     and       I think       in    this       particular

 9   case       I was    involved with                 it.        It's    been       some       time.

10   So    my memory          isn't       fresh        about       the    details.              But       I

11   can    imagine       that       we    did        just    talk       about

12                  It's       not    a part           of    the    process,          though.

13   It's    not    like       we    go    and        say    explicitly          as    part          of

14   the    engagement,             "Okay,          let's     discuss                                        It

15   would be       an    extension              of    discussing,             "Okay,


M

M                                                                                          And       that

18   could       lead    to,    but       is     not       required       to    lead       to       a

19   discussion          on

20          Q       Okay.           And     so      for                                         i



21   that's       only    available              or made          accessible          to    internal

22   Facebook       or    external             as     well?

23          A       I don't          know        on    that       one.

24          Q       You       don't       know        on    that    one.        Okay.

25                  Okay.


                                                                                           Page         30

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 1          A        I have          a little         knowledge          --

 2          Q

 3          A        --    on    this.

 4                   Yeah.           This     would       be     internal          only.

 5   It's       --

 6          Q        Got    it.        Okay.          Great.

 7          A              for       providing           storage.

 8          Q        That's          all     I need.           Internal           only.           We're

 9   good.

10          A        Okay.

11          Q                                                     so    it's       not       --    yeah.

12                                           is    that    how     I should             say       it?

13          A                               yeah.

14          Q        Is    that       a development               tool       or    --

15          A        It's       --    yeah.          I actually          don't          have       more

16   knowledge        than       what's           kinda    written           in    that

17   description.

18          Q        Okay.           But,     again,       is     it    only       available             to

19   Facebook        internally,              the     tool       set?

20          A        I don't          --

21          Q        Because          it     can    be    read maybe              as    a tool          set

22   available        to    app       developers           or     is    it    a tool          set       only

23   internal        to    Facebook?

24          A        I don't          know.         Actually,           I'm       not    sure.

25          Q        But    in       your     system       of     the    data          you



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 1   collected,            it    would          have       more     information         about          the

 2   system      at    some          level        than      these     three       lines      or    five

 3   lines      here?

 4          A         It    will          have       more    information,           but      again,

 5   oriented         around          the


I                                                                   when     initiated            by    a

 7   user,      not    necessarily                   how    the                                        or,

 8   you    know,      what          the       actual       data     is.

 9          Q         Right.

10          A         And       we    just        took      kind    of     like    that      binary

11   yes/no      user       data.              Not    anything        beyond       that.

12          Q         And                                                  , is    that      --    first

13   question,         is       that       available           or   accessible          to

14   external         parties,             third        parties,          that    data?

15          A         I don't             --     I don't       know       actually      on    this

16   one.

17          Q         All       right.            And      then,     I assume,                     is

18   like                        but       I didn't          want     to          can   you

19   confirm      that          or    no?

20          A         Yeah.           So       I do     have      a little        bit   more

21   knowledge         of

22                                   is    a system          that     runs


.
                                                                      --
M
25          Q         I get          it.



                                                                                          Page         32

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 1                     But    it's       not     available               to    anybody             off

 2   platform?

 3          A          Correct.           It's        just               yeah.           It's       just       a

 4   way          it    executes          code        that      is       running             on    our

 5   platform.

 6          Q          I got       it.

 7                     It's       got    user       data       that's          used          for    your

 8   web-based          applications                for    Meta          and you             use    it

 9   internally.              So    you     identified               it       as    a user          system

10   because       it       has    user    data          for    purposes                of    the    other

11   issue      you     were       addressing;             but       at       a functional

12   level,       that       data       stays       on    Facebook,                isn't          shared

13   with    anybody.              It's    used          internally                at    Facebook             for

14   those      jobs?

15          A          Yeah.        Just       to     clarify,            I think             what       you're

16   saying       is    correct,          but       just       to    clarify.

17                     It    is    like     --                                               , it    is       the

18   same    as    that.           It's     just         that       for       like,          let's       say,

19   you make          a request          external             to                  user       of    the

20   Facebook          product,          and     if      you    make          a selection                of

21   some    option          that       doesn't          have       to


.                                 and    the


.                                                                                             would be

24   able    to    take       that       and     then make               --    you       know,       kind          of

25


                                                                                                   Page       33

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 1                                 like    where        --

 2          Q          Right.

 3                     But    that's       used        by    Facebook,         that's          used       by

 4   you    guys       internally                                              ; right?

 5          A          Yeah.        Yeah.         Yeah.        But      I just       want       to

 6   make       sure    that's       not

 7          Q          We    can    go    on.

 8          A          Yeah.

 9          Q          But    it's       used     to                                      right?

10          A          Yeah.

11          Q          It's       used    for     --    it's    for

12                     Okay.        And     then,       again,                      I don't          mean

13   to    sound       ignorant.            I didn't         know       what    the                  app

14   even    was.

15          A          Yeah.        I --     so    I can't         --    I don't          know       the

16           app.

17                     But    what       I can     tell      you     from      this       is    that

18          is                                                     So    this       would       have

19   been    a

20   probably.              But    that's       where,       you     know,      a

                                                        , expand         the    acronym.

22          Q          Got    it.

23                     And                                                in    the       last

24   year,       two    years?

25          A          I don't       know       any     kind    of      the    --    so



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 1   basically          what       we       would      have       with       that    is   if     it    is   a

 2   viable       application,                 then       it     would       move    to   more

 3   formal       production.                 Like        it     would       actually become

 4   internally,             you       know,        outside           of    that    system       or

 5   the    --    it    would          move     out       of     the       new product

 6   experience             to    a more        formal           development          team       for

 7   long-term          development.

 8                     Does       that       make      sense?

 9          Q          Yeah.           Of    course.

10                     So    then

11                          are    those        internal              tools?        Because       when

12   I read       it,       it's       not     clear        to    me.        Is    that   made

13   accessible             to    third parties                  or    is    this    internal          tool

14   sets       that    then       you       use     to     aggregate             through      the

15   Facebook          platform?

16          A          I believe             this     was        an    acquisition          of    a

17   gaming       system          or    gaming

18          Q          Okay.

19          A          --    for       virtual,           virtual           reality.

20          Q          Oh,       okay.         So    you're           not    sure,    one      way     or

21   the    other,          if    that       made      --      the     data       there   is     made

22   accessible             off    Facebook's               platform?

23          A          Right.           I don't           know.

24          Q          Like       if    I have        my       high        score,    users       can    get

25   it    or    it's       made       available.



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 1          A         Okay.           What       I explained,             I mean,       that's       the

 2   depth      of    understanding                I have.

 3          Q         Okay.           So    then

 4          A         Those       are       internal.

 5          Q         That's          completely             internal?

 6          A         Yeah.

 7          Q        And     then

 8          A         It's       also       an    internal          tool.

 9          Q        And     the       results          of    that       tool,    it    says    "and

10   share      them       with       others."            That's         to    share    internal

11   to    Facebook,         right          --

12          A         To    other          --

13          Q         --    or    is       that    to     share         with    others?

14          A         To    other          employees          of    Facebook.           Basically

15   you    can      write       these       kind       of    data       processing       scripts

16   to    generate         reports          and     so      forth.

17          Q         Got    it.

18                   And                                It    says       "M    & A."     I'm

19   assuming         --

20          A         That's          an    indication             --

21          Q         Well       --

22          A         The    M & A tag             would       indicate          that    it    was

23   through         our    mergers          and     acquisitions.                So    this    was

24   an    acquired         company          that       we    then,       you    know,    do    the

25   same    process;            right?



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 1          Q       But       it's       not    part       --    it    is    part       of    the    VR

 2   AR    system       or    not       the    Facebook          web       platform?

 3          A       Yeah.              This    would       be    --    the       VR    indicates          to

 4   me    that    this       was       a part       of    the       virtual          reality

 5   services.

 6          Q       Yeah.              Right.

 7                  So       that       it's    not       the    Facebook             website       or

 8   social       experience             or    mobile          app    as    we    understand             it?

 9          A       Right.

10          Q       All       right.           We    covered                            and

11                      We    covered                 and                             I asked       you

12   about

13                                       It    says       powers       the

14   application.                 It    says                    is    a standalone             app       for

15   creating       music          video       content          collaboratively.                    The

16   data       stored       on    our    system          is    mostly user             data.

17                  Do       you       have    any    idea       if    that       user       data    is

18   accessible          to       third parties                off    platform?

19          A       I do          not    know.

20          Q                                        I don't          know       if    that's       a

21   play    on    words          or

22          A       It's          got    two    pronunciations,                   which       one

23   you've       got    correct.                                          and    the    other       is

24   called                                     It's       an    internal             configuration

25   for    applications                and    so    forth.           So    it's       internal.



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 1          Q             Got    it.

 2                        And    then

 3   that's          hardware.              So     I assume         that's        not    related      to

 4   the    social             piece,       but      is    that     correct,        that

 5   assumption?

 6          A             I don't          know.          Yeah.      Yeah.         I would      be

 7   speculating,                but       it    does      seem     a reasonable

 8   inference.

 9          Q             All    right.            And     then                                   , aka

10                   is    used       to    store         contributors.             I didn't         know

11   how you          define          what's         a contributor.

12          A             Yeah.

13          Q             Do    you    know,         by    chance?

14          A             I don't          know.

15          Q             And    then       my     question         is

16          A             And    just       for      --

17          Q             My    real       --

18          A             Yeah.        Sorry.             Go   ahead.

19          Q             No.     I was           just     going     to     ask,    does    this

20   data   go        off       the    system          anyways       or     is    this    all

21   internal?

22          A             Yeah.        I don't            know    that.

23                        Just    to       clarify         the    use      of    parens    here.          So

24   this       is    indicating                that




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 1


I
I
 4          Q       Okay.        So    didn't       know       that's       how    it's

 5   connected.           I was       wondering          because          that's       in    a

 6   couple       places,       which     makes      a lot          more    sense       then.

 7   It's       like,    Why    are    you    repeating             systems?           But       now   I

 8   get    it.

 9                  Okay.                          a digital          asset       management

10   tool    or    referred       to    as    DAM.

11                  Is    that    an     internal         tool       or    an    external

12   tool    here?        Like    can     a user         --    is    this       data,       is    it

13   accessible          off    Facebook's          platform          or    shared          off    the

14   platform?

15          A       Yeah.        I don't        know.

16                  MR.    GARRIE:           Did    we    lose       the    court

17   reporter?

18                  THE    COURT       REPORTER:              No.     I'm here.

19   BY    MR.    GARRIE:

20          Q       So    returning          back.

21                                    again,       I --

22          A       A digital          asset       management             system.

23          Q       Yeah.        Okay.        All    right.

24                                I assume          this       is    an    internal          tool

25   accessible          only    in    user     data,         but    it's       only    user



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 1   data       for    the    operations             of    Facebook.

 2                     Is    that    an     accurate            assumption?

 3          A          Yeah.        My    knowledge             of    the       system    is    that

 4   it   is     for    internal          reporting             and,       again,       it's    kinda

 5   like              in    a way       for    internal             tools.


I

I

I
 9          Q          That's       what       I thought.

10                     And                     is    the    same          sort    of    genre       or    is

11   it   different           in    that       it's       memory          in    real    time,       but

12   same       idea,       internal?

13          A          That's       --    to    the       best       of    my    knowledge,

14   that's       correct.

15          Q          This    is    a big          terabyte.              10-terabyte          tables

16   are,       like,       some    big    old       tables.

17                     That's       what       it   means;           right?        Up    to    10-plus

18   terabytes;             right?        That's          for    the       tables,       queries          on

19   those       tables;       right?

20          A          Yeah.

21                     MR.    GARRIE:           Oh,       and    this          transcript       needs

22   to   be    marked        confidential                for    the       court       reporter.

23                     THE    COURT       REPORTER:              Okay.

24                     MR.    GARRIE:          And        then       we'll       work    it    out

25   from       there       with    the    parties          afterwards             just       for



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 1   purposes    of    keeping           it      all    flowing.

 2          Q                                                                Again,      can

 3   you    confirm,       is    this       internal          data    or    is    this   made

 4   accessible       to    third parties?

 5          A    Yeah.           If    I remember             correctly,          this   is

 6   actually    a backing             component          of

 7          Q    All       right.

 8          A    So,       again,       kind       of    like       that    internal

 9   workflow management.

10          Q    Yeah.

11               The       reason       why       I'm    asking       is,    right,

12   because    it    says       it's       designed          to    let    people    and      I

13   just    didn't    know       if     those         people       were    the    third

14   parties    or    --

15          A    No.

16          Q    --    they're           Facebook         employees.

17          A    Those          would       be    Facebook          employees.

18          Q    And       then       the                           I'm not       sure   how       to

19   pronounce       that       one.

20          A    Yeah.

21          Q    So    I'm       not     even      going       to    try

22          A    Yeah.           That's          just    --    it's       a UI    tool   for

23   running    queries          on    back-end          databases          used

24   internally.

25          Q    Internally.



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 1                 All    right.         It's       actually much                more

 2   productive         than    I thought           it   was     going       to       be.     So

 3   we're      doing    well.

 4                                             it    says       it's    a back-end

 5   platform      to    build    audience           segments.

 6                 My    question        is,    is       that    accessible             to    third

 7   parties      or    when    you     say    "back-end,"             is    it       only    back

 8   end   to    Facebook?

 9         A       I'm not       familiar           with    that       system.

10         Q       And    we'll       just     say                 It       says




12                 I assume       that's        an       internal       tool,          but    can

13   you   confirm       that?

14         A       Yes.        That's




16         Q       And    so    Gluster        FS,       Dataswarm          is    built       on

17   Gluster      FS.

18         A       That's       correct.            It's,       yeah,       the       Dataswarm

19   instance      on    Gluster        FS.     Yeah.

20         Q       And    is    this     an    internal          tool       set       that's

21   used?       Because       I wasn't        --

22         A       That's       correct.

23         Q             exactly        sure    who       has    access          to    it.

24         A       Yeah.        This     is    an    internal-only                tool.

25   Yeah.



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 1          Q          And       then                                     I don't       know    to    --

 2          A                     is    how       they     refer          to    it.

 3          Q                          Thank       you.

 4                     Is         •     a --

 5          A          I do       have       some     --    yeah.              I can    tell    you    a

 6   little       bit       about       this       one.         I do       have       some    knowledge

 7   about       it.

 8                     It's       basically           the       deletion             technology       for

 9   WhatsApp.              So    when       the     user       deletes          data    on

10   WhatsApp,             this    is       the    system        that          then    deletes       that

11   from       the    underlying              storage.

12          Q          Yeah.           But     the    user       has       no    direct       access       to

13   this;       right?           It's       not     --

14          A          No.        No.        They     don't          have       direct       access    to

15   this.        The       access          would     be    through             --    it's    the    same

16   as   if     Facebook          --       you    know,        the       --    the    Facebook

17   product,          someone          deletes,           and       then       it    goes    through

18   deletion.

19          Q          All       right.

20          A          This       is    specific           to    WhatsApp.

21          Q          Yeah.           Okay.

22          A          And you          don't        have       --    you       don't    have       access

23   to   it.         It    runs       on    the     back       end.

24          Q          And       then

25          A          Yeah.           So    that's        our       --



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 1          Q       What's       this        www?

 2          A       So    that's          for


I                                                                          And    this    is    the

 4   central                                              that       may    have    been

 5   discussed       in    other          conversations               that       will    delete

 6   data    when    someone          requests            it    to    be    deleted       through

 7   our    application.

 8          Q       Got    it.

 9                  But,       again,        it's        only    available          --    this       is

10   data          the    data       in     the    platform

11          A       It's       only       internal.

12          Q       --    is    only        --

13          A       It's       only       internal.

14          Q       Got    it.

15                  And                                               I didn't          know    what

16   signals      meant.         So...

17          A       Yeah.        I'm not            --    I'm    not       familiar       with       how

18   this    data    is    used.

19          Q       Because          I wasn't            sure    if    that       means    that

20   they're       taking       --

21                  Do    you    know what               kind    of    user       data?        Is

22   that       individual       user        data        going       into    this       system       or

23   anonymized          user    data?            Did     they       tell    you    what       kind

24   of    user    data    they're           collecting              for    these       systems,

25   by    chance?



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 1          A       I don't            know.           No.      I didn't          work    with

 2

 3          Q       And      is     this       Facebook                                          ?

 4   Facebook,         not     the      virtual.               Not,       you    know,    virtual.

 5   It's       specific       to      --    do     you      have     any       idea?

 6          A       No.        I don't            have       any     idea.

 7          Q                                                                     I thought          it

 8   was    only    internal,               but     I just          want          it's    only

 9   internal       access.             The       data       never        goes    off    platform

10   here,      user     data?

11          A       Yeah.           I can't            really        answer       that.        I'd be

12   speculating          on      that       one.         I'm not          familiar       with       it.

13          Q                     is    --

14          A       Yeah.           I am       familiar             with           and    it    is

15   internal       only.

16          Q       And      the       data       in    there              okay.

17                  And      it     says




19                  Is    it      built        on              or    is    it    called

20                                                        in    this       case?

21          A       Yeah.           I think            this     is    just       its,    you    know,

22   acronym.

23          Q       Got      it.

24                  This       is      available             only     internally?              Because

25   what    does      SEV     stand          for?



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 1          A          Site       event       and      we       refer       --    we    internally

 2   call       this    SEV.          So    this       would          be    when,      you     know,

 3   something          breaks          in production.                      So    there's       a site

 4   event,       and       then      from       this       description                this    is    what

 5   the    DevOps          teams       use      to    investigate.

 6          Q          But       it's      only       available             and       accessible          to

 7   the    DevOps          team?

 8          A          Right.           I --      I don't             know       if    I see    there

 9   that       explicitly            stated.              So    I don't          --    I can't

10   confirm,          but       it   is    an    internal             tool.           Site    events

11   are    internal,             you      know.

12          Q          We    can      leave       it       there.

13          A          Yeah.

14          Q          What's         a

15          A          So    just       going         by    the       description,

16                                                          is    a compute             engine       for

17   large-scale             graph         analytics.

18                     Yeah.          You     know,         I'd       be    speculating             and

19   just       kind    of       inferring            from       what's          written       there.          I

20   don't       have       experience            or       knowledge             of    that    system.

21          Q          And,       more      importantly,                   is    it    available          or

22   is    it    open       to    third parties                  or    not?

23          A          Yeah.          I'm not          sure.

24          Q          And       then      Downpour             Interactive,             that's

25   through M & A?



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 1          A          Yeah.

 2          Q          Is    this    a game          on    Facebook's             platform          or    is

 3   it    separate          from    Facebook's             platform?

 4          A          I don't       know,          actually,          but    I imagine             it's

 5   actually          our    reality          lab.        That's          where    most       of

 6   these       M & As       are.        It's       for    games          that    are    acquired

 7   for    --

 8          Q          All    right.

 9          A          --    this.

10          Q          Okay.        Got     it.          That's       very    helpful.              I

11   kinda       Googled       it.        I just          couldn't          figure       out    if       it

12   was    integrated             into     the      larger       platform.

13                     Okay.        So    then                   --

14          A          Uh-huh.

15          Q          --    like    the       elephant.              Is    that    internal?

16          A          It's    internal             storage.           Like       a backup

17   system.

18          Q          And    no    third       parties          have       access       to    that

19   and    the      data     stays       there;          right?

20          A          That's       correct.

21          Q          Okay.        Then       we    have

22          A          Yeah.        Yeah.           So    I don't          have    knowledge             of

23   this,       but    I can       tell       --    like    I can          tell    you       what

24   Novi       is   referring           to.        That's       the       cryptocurrency

25   solution          we're       developing.              So    this       would       be    part       of



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 1   that       system.

 2          Q       Okay.        But        that's          done    in    the       crypto       space

 3   and    not    in    the    Facebook              platform          itself?

 4          A       That's       correct.

 5          Q       So    when       it     says       --    because          the    reason          I'm

 6   even          it    says    "risk           and    compliance             assessments."

 7                  That's       available              only       internal          to    Facebook.

 8   Is    that    an    accurate           assumption?

 9          A       I can't          confirm           that.

10          Q       I wasn't          exactly           sure       how    user       data       fit

11   into       that.     So    I was        hoping          you    could       clear       it       up.

12                  All    right.

13          A       Well,       just        to    offer.           You    know,          Novi    being

14   a cryptocurrency                wallet           service.           That       would       be

15   where       customers       or,       you        know,     external            people       using

16   the    Novi    cryptocurrency                    services          would       be    user       data.

17          Q       So    then       this        is    a system          that       sits    on       top

18   of    the    cryptocurrency                 wallet.           So    it's       used    for

19   compliance          and    risk       assessments              as    an    internal             tool

20   for    regulatory          reporting              maybe.           Okay.        But    it's

21   solely       related       to    the        crypto       platform?

22          A       That's       correct.               That's          the    --    the    Novi       is

23   the    indicator          for    that,           yeah.

24          Q       Okay.        And                            ?

25          A       Uh-huh.           This        is    an    internal          only.



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 1   Basically          it    operates          like     shared       --    on    a shared

 2   network       drive.

 3          Q       Okay.        And                                 ?

 4          A       Yeah.        So    I can't           really       speak       to    the       use

 5   of    that    and       accessibility.

 6          Q       Sorry.           I thought           I had       --    one    of   my     kid's

 7   teachers       might       have       had     Omicron.           So    I was       just

 8   getting       an    update.

 9                  All       right.                                 Oh,    sorry.

10                                               is    internal.            I had       a

11   question       about                                     and    I --

12   and    some    of       these    internal           tools,       they       get    data,

13   right,       and    they process              it.        The    output       from       that

14   tool    doesn't          ever    leave.           Is     it    output       to    a

15   different          Facebook       system?

16          A       I don't          know.

17          Q       You       don't    know.           Okay.

18                                          What's          DR     compliant.           Is    that

19   disaster       recovery          compliant?

20          A       That's       correct.              That's        correct.

                                       So       this     is      where     the    photos          and

22   videos       primarily          are    stored.

23          Q       And       that's       an    internal           tool.        So    that's

24   user    data,       Facebook.              This     is      where     Facebook

25   internally          stores       user       data?



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 1          A             Right.           That's        where          we    --       internal       and

 2   accessible                only    by       the     applications                   that    run    within

 3   Facebook             infrastructure.

 4          Q             F3.     Facebook              Feature          Framework.

 5          A             Yeah.        This        is    referring                to    machine

 6   learning             features.

 7                        Beyond       that,          I don't           have

 8          Q             How    does       user        data       relate          to    this?

 9          A             So    I --       the     machine          learning             will       operate

10   on,    you       know,       the       history           of    user          data.

11          Q             But    it's       only machine                 learning             internal.

12                        What    I'm basically                    saying          is    Facebook,          I'm

13   a user          of    Facebook.               I give          you       my    data       and    it's

14   only       --    does       the       F,     the    feature             framework,             involve

15   the    user          data    being          available              to    third parties                or

16   people          off       platform?

17          A             No.     That          would        not    be.           Yeah.

18                        This    case          I have        some       familiarity with                   and

19   it's       used       internally by                 the       machine             learning       systems

20   that       then       --    you       know,        an    example             of    machine

21   learning             would       be    making           recommendation                   on    what

22   groups          you       want    to       join     or    something                like       that    based

23   on    --

24          Q             So    then       the     output          --

25          A             --    your       behavior           on    the       system.              Yeah.



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 1          Q          Well,       where          is    it?        Does       that       output       then

 2   feed       into    another             system?

 3          A          It    would,          yes.        This          is    the    --    the    feature

 4   framework,             this       is    providing             a way       of    managing          the

 5   machine       learning             features.                 So    the    machine          learning

 6   system would             use       this.           Internal             only.

 7          Q          Internal             only.        Okay.              I think       I get       that.

 8                     All    right.

 9          A          This       one       actually          is       externally          accessible.

10   I do    have

11          Q          Okay.

12          A          It's       a message             for       when       you're       sending

13   messages          by messenger,                   and    so       it's    temporary.              You

14   know,       it's       a receiving                queue       that       then       would

15   interface          with       a back-end                system          like    the       ones    we    --

16                      what       have          you.

17          Q          So    my    question             is

18          A          This       --

19          Q          Go    ahead.              Keep    going.

20          A          I was       just          going       to    say       that    this       is    the

21   messaging          interface                exposed          to    the    outside.

22          Q          And    then          when       you    say       "exposed          to    the

23   outside,"          can       you       be    more       clear?

24                     So    if    I --          let's       say       I write       an    app       that

25   uses    messaging             functionality.                       Is    that       even



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 1   possible?           Is    that       where     --

 2          A       No.

 3          Q       Because          this       says     queue,       persistent             queue.

 4          A       Yeah.           Yeah.         I do    --    again,       I actually

 5   have    a little          bit    more        depth    of    knowledge             on    this

 6   one.       I did     some       work       with     this    as    a messenger             user,

 7   the    application,             the     messenger          application.

 8                  So    it's       directly           coupled       with       use    of

 9   Facebook       products,             messenger.




            I
15          A       What's          that?

16          Q       So    there's          no     data    --

17                  How       old    is     the    data    in    the       system?

18   24    hours?        Instantaneous?                  Like    how       old    would       user

19   data    actually be             in     the    system?

20          A       Yeah.           I don't        know,       but    it    would       --    you

21   know,      specifically,              but     it    would       be,    I think,          in

22   line    with    what       you're          describing.            Very       short       term.

23          Q       so it's          internal           tool    management,

24   basically.

25                  So    when       you     say    it's       exposed       to    the



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 1   outside,         just       so    I understand,                that       means       it's

 2   exposed      to       Facebook          messaging,             like       a consumer          using

 3   Facebook         messaging.                 I mean,       it's       not    exposed          to,

 4   like,      a third-party                 app      developer          that       builds

 5   something.             They       can't        --      a third-party             app

 6   developer         doesn't             have     the      ability       to    access          this

 7   information            or    does        it?

 8          A         For       the    --    what        I worked         on    with       this

 9   product      or,       you       know,       where       I was       involved          with    this

10   and    through         the       deletion           program       that      we're          mainly

11   discussing            now    where          the     inventory         came       from,       the

12   messenger         application,                 yeah,      is    the       one    running       on

13   your    phone         or    your       laptop          would    be    the       one    that

14   interfaces            with       this.         It's      not    like       a general          --

15          Q         Just       that?

16          A         --    queue          for    external          developers             to    access.

17   It's    only      for       that       messenger          application.

18          Q         Okay.           So    it's       an    internal          tool    Facebook

19   messaging         uses       to       facilitate          messaging             for    an

20   individual            user       using       some       data    structure             --

21          A         Yeah.

22          Q         --    to    manage          tools?

23          A         I think          that       that's       a fair          description.              I

24   just    want      to       make       sure     I'm not         misrepresenting                it    in

25   terms      of,    like,          the     internal         tool       part.



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 1          Q             I said          "tool."            When     I mean         internal          tool,

 2   I mean          internal             to    Facebook,           meaning          that       only

 3   Facebook             messaging             is     the       tool.        Only    Facebook

 4   messaging             application                 can       access       this    database,

 5

 6                        If    I build           a Daniel          Garrie          data    messaging

 7   tool,       I can't             access          this        database;          right?

 8          A             That's          correct.

 9          Q             Okay.           And     if    I build          an    app,       I can't

10   access          it    as    well.           Only        Facebook          messaging            can

11   access          this       dataset;             right?

12          A             That       is    --     to    the       best    of    my    knowledge,

13   that       is    correct.

14          Q             Okay.                             I assume,          is    just       a

                                               and     it    has    nothing          to    do   with

16   users.

17                        I didn't             get     how user          data,       again,         fits

18   into       this.

19          A             Yeah.           So    this        is    a case       where       it    is    not      --

20   you    know,




                                                                         --    what's       the       word?

25   I'm    losing             the    term.



                                                                                                    Page   54

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 1          4

 2          A          Yeah,       but       it's     actually          a different             term

 3   that       I was       looking          for.

 4                     But       basically,           you    know,


I

 6   as    you're       describing,                used     by    --    only       for    internal

 7   use.

 8          Q          So    I guess          my     question          is,    no    off-platform

 9   developers             have       access        to   this     repository?

10          A          Correct.              And     user    data       is    --    should       not       be

11   stored       there.

12          Q          Yeah.           The    bottom        line       is,    it's       only    for

13   you    guys?

14          A          Yeah.           That's        correct.

15          Q          Okay.           FBLearner.

16          A          Uh-huh.           I don't          have     a lot       of       knowledge,

17   other      than        to    say    that        this    is    a part          of    the    machine

18   learning          artificial              intelligence             systems.

19          Q          And       the    reason        I'm    even       asking,          it    says    all

20   Facebook          engineers.               Is    that       limited       just       to    that

21   subset       or    can       other        engineers          off    platform             gain

22   access       to    the      AI     platform?

23          A          I actually             don't       know     the       answer       to    that.

24          Q          All       right.         And,      again,

25          A          Yeah.



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 1          Q          This       isn't        available             to    a third          party       --

 2          A          That's       correct.

 3          Q          --    or    is    it?

 4          A          It's       not,       no.         This    is       --    it    is    not.        I do

 5   have       familiarity             with        this      system           as    well       a little

 6   bit.

 7                     So    this       is    users        sending             notifications                to

 8   devices.           So    it    provides              those       mappings             of    your

 9   account       to       device       IDs        and    like,          you       know,       being       able

10   to    get    to    your       phone          to     push    a notification                   to    your

11   phone.        So       it's    only used              internally                for    that

12   purpose       of       delivering              notifications                   generated          by    our

13   applications.

14          Q          Okay.        Got        it

15                     And    then

16          A          Yeah.        That's             just     --

17          Q          That's       just          binary?

18          A          Yeah.        Exactly.

19          Q          How    does       user          data           well,          I don't       need          to

20   know.

21                     The    point          is     that      this        is    only       on    platform.

22   Never       goes       anywhere.               Is    that       accurate?

23          A          That's       correct.

24          Q          And    it's       never           made    accessible                to    anybody,

25   but    Facebook          individuals?



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 1          A    That's          correct.

 2          Q    So    FOQS.

 3          A    Yeah.           This       is   another        part       of    the

 4   system.

 5          Q    My    only       question          is,     it's         only made

 6   accessible       --    so    it    has      user     data,          but    is    it    made

 7   accessible       to    third parties,                whether          shared          or    off

 8   platform?

 9          A    Yeah.           No.        This    is    internal.

10          Q    And       then                          that's          a new product;

11   right?

12          A    Yeah.           Yeah.

13          Q    And       I actually went                and       looked       at    that          and

14   I don't    fully       get    the       user    data       piece          there.

15          A    Yeah.           I don't.           I think          actually you

16   probably    have       more       knowledge          of    it       than    I do,          of

17   that   particular           one.

18          Q    All       right.           Now,                     or

19          A    Yeah.

20          Q    I didn't          understand             this       one.

21               My    first       question          is,       is    it    accessible                off

22   platform,     the      data       in    the    system          --

23          A    No.

24          Q    --    the       user       data    in    here?

25          A    No.        Not    --       but,    to    clarify,             I want       to       make



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 1   sure       I'm    not       misrepresenting                this.

 2                     Yeah.           There       is    no    external          access       to    that

 3   system.           So    it       would     only be         through          applications

 4   running          on    Facebook           infrastructure               that       could       access

 5   that    data.

 6          Q          Internal.              But       let's       say    a Facebook          mobile

 7   app,       that       has    access        to      this    data       infrastructure.

 8   But    Daniel's             Facebook          mobile       app,       would       I have

 9   access       to       that       infrastructure?

10          A          No.        No.        And     this      would       be    --    this    is

11   running          behind          the    WhatsApp          application.

12          Q          Oh,       okay.        Then       it    makes       a little       more

13   sense.

14                     All       right.         Again,         I didn't          understand          this

15           or                                 running         on              and    this    is

16   external          research             initiatives.

17          A          Yeah.           I don't          know.

18          Q          Is    the       user     data      made

19                     You       don't       know?

20          A          Yeah.           I'm not          familiar          with    that    system.

21          Q          And       do    you    know       what       Jupyter       --

22                     I don't          even       know       how    to    say    that.

23   Jupyter.

24          A          Jupyter.

25          Q          Jupyter,             with     a Y.       JupyterHub             deployment,



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 1   what       is    that?

 2          A             My    knowledge         of    Jupyter          is,    this    is       a

 3   public          --    like,       this     is     not       a Facebook          technology.

 4   It's       for       writing       code      in    Python,          I believe          is    the

 5   framework.

 6          Q             Yeah.

 7          A             Python       notebooks.

 8          Q             Okay.        Then                              is    that    internal            HR

 9   or    is    that          like    people        that        have    life    goals?

10                        It    says    for     teams        to       track    goals

11   information.                 I didn't           know        if    that    was    Facebook          app

12   has    goals          or    I didn't         know.

13                        Is    this    an     internal           tool?

14          A             I don't       know,        actually.            It    sounds       like       it,

15   but    I don't             know.

16          Q             Okay.        I'm going            to    agree       with    you    on      that

17   one.        Sounds          like    it.

18                        The    Hive.         I've     heard          lots    about    the       Hive,

19   but    maybe          you    can    explain            to    me    the    Hive    a little

20   from your             perspective.

21          A             Yeah.




23          Q             Who    has    access         to    the       Hive?

24          A             Internal       only.

25          Q             Do    third parties?



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 1          A          Yeah.           This          would       not    be       directly

 2   accessible             to    third parties.

 3          Q          Can       a third-party                   app    developer,             though,

 4   access       data       stored             in    the       Hive?

 5          A          Not       to    my       knowledge.

 6          Q          Because             it     says      an    engine          that       executes

 7   queries       written             in       FB-HiveQL             and    the       Hive    Query

 8   Language.              So    I didn't                know    who       was    actually          --

 9   because       it       looked          to       me    --    but    you're          not    sure       or

10   you're       sure?

11          A          These          --    I cannot             definitively                confirm,          but

12   my   knowledge              of    these,

                                                                        and       it    --    the    large

14   number       of    use       cases          are       related          to




16          Q          Okay.           And you             don't       know       with       any

17   specificity what                      user       data       sits       in    any    of    these

18   systems,          right,          just          like       you    stated

19          A          That's          right.

20          Q          --    at       the       beginning?

21          A          That's          correct.

22          Q                               , I assume,                is    a --       it's       only made

23   accessible             internally,                   the    user       data?

24          A          I can't             confirm          that.           I'm    not       familiar

25   with       that    system.



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 1          Q          All    right.                                                .     What's       it

 2   mean    when       there's          a slash?              Does       that       mean       anything?

 3          A          Nothing          in     terms      of    how we've                been      tracking

 4   it.     That       was       how    it     was     given        to    us.           So   it    must

 5   mean       something          within         a team.

 6          Q          Got    it.

 7                     Is    this,       you      know     --       is    any       of    the      data     in

 8   this       system       discoverable               off     Facebook's                platform          or

 9   available          or    accessible?

10          A          I do       not    know.

11          Q

12          A          I am       not    familiar          with          this.

13          Q          Didn't       think         you     were,          but    it       likely

14   wouldn't          be    accessible?                Facebook           doesn't            share       any

15   of    the    data       in    the                    or    make       it       accessible;

16   right?

17          A          I don't          know.         I actually               am    not      familiar

18   with       this    system.

19          Q          You    don't          know?

20          A          Yeah.

21          Q                      Is    that       the    chat          tool?

22          A          That's       correct.              It's       an    internal             instance

23   of    that.        So    it's       used       internal             only.

24          Q                           World AR.              Is    this       augmented

25   reality?           I just          wasn't        sure.



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 1         A     That       would       be    my understanding.                        I'm    not

 2   familiar    with       the       system,       though,          or    World AR

 3   directly.

 4         Q     All       right.        And       then     Laser.

 5         A     Uh-huh.              I don't       know     on      Laser        to    the

 6   questions       that    you've          been    asking.

 7         Q     Is    it    accessible             or    available             to     third

 8   parties    or    shared?

 9         A     I do       not       know.

10         Q     All       right.        •           I thought             it     was      internal

11   operations,       but       I wasn't          sure.        So     any      --

12         A     I don't          know.

13         Q     Oh,       okay.

14

15         A     Yeah.           I don't        know      how     to      pronounce           that

16   either.

17         Q     All       right.        Again,          I thought           it      was,     again,

18   an   internal     tool       since       it    says     "always            be     allocated

19   in   different        racks."

20               Is    that       a physical             rack,       like       server        rack?

21         A     Yeah.           That    would       be     my understanding

22         Q     Okay.           So    it's     likely       --      most       likely,        it's

23   an   internal     tool.

24                           and       particularly             the       part       I'm

25   interested       in    is    stores        action       metadata             on    actor



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 1   ID.

 2                     I didn't          understand             exactly          how       user       data

 3   is    used    here       or    if    it's       made       accessible             or       shared

 4   with       third       parties       with       this.

 5          A          I don't       know.           I'm       not    familiar             with       the

 6

 7          Q          Okay.                    seems          like    it's       an       internal

 8   tool    or    no?

 9          A          Yeah.        I don't          --    I don't          know       about

10   either,       other       than       what's          written          there.

11          Q          When    it    says       in-memory             cache       for       actions

12   and    objects,          though,          that       is    --    it    says       it       doesn't

13   actually          store       any physical                objects          such       as    photos

14   or    posts.

15                     So    I wasn't          sure       exactly          what       user       data       --

16   is    user    data       just       temporarily             stored          in    that          system?

17          A          Yeah.        I'm not          sure.

18          Q          Okay.

19          A          Yeah.        I'm not          sure.

20                     So    I have       familiarity with                      the    function             of

21   this       system       and,    you       know,       as    well       as    what's

22   described          there,       but       I don't          know       beyond          that.

23          Q          But    it's       not    likely;          right?           I assume             it

24   wouldn't          be    likely       that       Facebook          would          be    making          the

25   system       --    sharing          any    of    the       data       in    there          or   making



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 1   it    accessible             to    third       parties,       but       --

 2          A          I think          that's       a fair       --    you       know,          a fair

 3   assumption,             but       I don't       know.        I can't             confirm.

 4          Q          All    right.           Live       streaming          data          or,    sorry,

 5

 6          A          I'm not          familiar          with    that       system          either.

 7          Q          All    right.           Okay.                                                   , is

 8   that    accessible                to    third parties             or    shared          or       would

 9   you    know?

10          A          I don't          know     beyond         what's       written             in    that

11   description.

12          Q          Okay.           And                                                 , is       that

13   user    video?           Can       you    just       explain       to       me    how       user

14   data       fits    into       that       one    and                                               ?

15          A          Yeah.           So    live    video       would       be       our    --       kind

16   of    our    --    a product             feature       to    be    able          to    stream

17   videos       through          our       products.           And    as       described             here,

18   the                                              , I can't             --    you       know,

19   aside       from       what's          written       here,    I can't             confirm

20   whether       or       not    there's          any    external          third-party

21   access       to    this.

22          Q          Or    if    it's       shared       or    made       accessible.                 All

23   right.

24          A          I'm not          sure.

25          Q          What       about       for                                                ?     It



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 1   says       "internally            at     Facebook."             I assume           that       means

 2   it's    not       available            or    made       accessible           to    third

 3   parties,          but    can      you       confirm       that?

 4          A          I'm not         familiar           with      this     system.           So       I

 5   can't       confidently            confirm.

 6          Q          This      system                              how     is    user       data

 7   again       captured         in    here?

 8          A          So,    you      know,       by     that      description           of

 9   unstructured             logging            data     generated          by    all

10   applications             across          Facebook,            what     I understand

11   there       is    that      it    is    within          the    application's

12   determination               of    what       gets       logged,        which       could       be

13   user    data.

14          Q          When      you    say       "application,"              is       that

15   third-party             applications               or    Facebook        applications?

16          A          Let's      see       what     it      says    there.            Yeah.        I'm

17   not    --    I'm      not    familiar           enough         with     it    to

18   definitively             say.

19          Q         And     then      would        this      service        be       available             or

20   made    available            or    accessible             off     --    you       know,       or

21   made    discoverable               off       Facebook's          platform,           like

22   meaning          to   third       parties?

23          A          I would         find       that       highly       unlikely,           but       I

24   can't       definitively               say.

25          Q          Okay.                                 I interpret           that       to    be       an



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 1   internal-only             tool    for    managing          operations.                 Is    that

 2   accurate?

 3          A       That's       accurate.              I am    familiar             with

 4

 5          Q       And                                                                    , same?

 6   I wasn't       sure       how    user    data       got    involved             in    this.

 7   So    that's       why    I'm    asking.

 8          A       Yeah.        I don't          --    I don't          have    --       I don't

 9   have       familiarity          with    that.

10          Q       Okay.        All       right.        I don't          have       a clock.              I

11   don't      know     how    long       we've       been    going.           I apologize.

12          A       It's       1:26    West       Coast       time.

13          Q       We    could       finish       this       page,       and    if       you    want

14   to    take    a break       for       a few minutes             and    use       the

15   facilities,          the    parties          can    go    to    their       respective

16   rooms      when     we    finish       this,       and    I think          we'll

17   probably,          pending       no    surprises,          finish          in    hopefully

18   an    hour    or    less.

19                  Does       that    work,       Mr.    Pope?

20          A       That's       fine.

21          Q       If    you    have       time       today,       I'd    love       to    get       it

22   all    done    today,       if    possible.

23          A       Sure.        Yeah.        I'm happy             to    work       with       you    on

24   that.

25          Q       All       right.        And    then



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 1          A          So    this       is    not        --

 2                     Well,       maybe          if     you    can       ask    the       question

 3   again.

 4          Q          So                           the       reason       why       I'm    asking       is

 5   it    says    it's


I

I
 8          A          Yes.

 9          Q          It    is    analogous              to    Amazon          S3.

10          A          That's       correct.

11          Q          I didn't          understand,                 A,    how       user    data       was

12   stored       in    it;       and    if       it's        accessible             --    you   know,        if

13   you    know       if    Facebook             either        makes       it       accessible          or

14   shares       that       user       data        in    that       system.

15          A          Yeah.        You        can       --    you    can       think       of   this     the

16   same    as                                It      runs     on    top       of                       and

17              where        it    provides              additional,             like,       S3-type

18   features          to    the    data          stored        that       --


M

.
21          Q          Has                   --     I got       it.

22                     And    just       to       be     clear,                             is   --

23   Facebook          doesn't,          you        know,       share       or       make    the      data

24   in                       accessible                 to    third      parties           or   off

25   platform          or    does       it?



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 1          A          It    does          not.     It's       similar,          it's       the    same

 2   answer       there          as

 3          Q          Got       it.

 4                     And       then       Memcache.

 5          A          Yeah.           That       would       be    used       internal       only       to

 6   accelerate             performance             of    applications                and    products.

 7          Q          Facebook             applications,                not    third-party

 8   applications;                correct?

 9          A          That's          right.

10                     MR.       GARRIE:           Okay.           We'll       take    --    we'll       go

11   off    the    record.

12                     (Recess             taken.)

13                     (Off       the       record       at    1:29       p.m.        Back    on    the

14   record       at    1:46          p.m.)

15                     MR.       GARRIE:           Okay.

16          Q                                 managing             metadata       for       the    Data

17   Warehouse.

18                     Any       idea       here,    Mr.       Pope?

19          A          No.        I'm       not    familiar             with    that    system.

20          Q          Okay.           And

21          A                                yeah.        Yeah.           I'm    not    --    I just

22   know       that    this          is    basically          what's          written       there,

23   version       control             server.

24          Q          How       would       user     data         be    involved?           Just    to

25   understand             it    for       myself,       like,          any    idea    how       user



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 1   data       is    involved             in     that?

 2          A          Yeah.           That        would      be      the     --    this       is

 3   actually          comparable                 to    the                   one    we       covered

 4   earlier          as    being          a version          control          system.              So    it

 5   wouldn't          be       a common           case;      but       it's       possible          to,       you

 6   know,       submit          maybe          like      a test,        the       unit       test       that

 7   would       have       some       user        data.        That        would        be    the       case.

 8          Q          I get          it.

 9                     When          you    say        "submit,"         it    would          be    from

10   Facebook          developers,                 not     third-party              developers?

11          A          That's          right.

12          Q                                                  Any       ideas,          Mr.       Pope?

13          A          No.           I'm not           familiar         with       this       system

14   either.

15          Q          I'm       fairly           familiar         with       MySQL,          but    --

16          A          Uh-huh.

17          Q          --       is    it    accessible             to    third       parties?              I

18   mean,       it    can       be.

19          A          So       this       is     the     general        category             that

20   covers,          I believe,                multiple        instances            of       the

21   database          and       I'm       not     familiar           with     the       specifics.

22          Q          Got       it.

23                                                                             I just          assume

24   well,       any       --    is    this        internal           new     product?              Like       it

25   says       "small          entrepreneurial                 teams."             Is    that



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 1   Facebook          teams?

 2          A          Right.           Yeah.      This      is    the            referenced

 3   earlier.           This       is    kind    of    the     team-level          view    of

 4   that    where          they    have       some


I

 6          Q          But    it's       Facebook       internal           teams    that    are

 7   accessing          data,       not     third-party            developers        that       are

 8   building                                                        and    accessing       the

 9   data       there?

10          A          Yeah.        I don't        actually          know    that    level.           I

11   can't       really       confirm          that.

12          Q          Okay.        And Novi




14          A          Yeah.        Aside       from what's           written       there       is

15   what       I know.

16          Q          Okay.        So    we    don't       know     if    that    data    in

17   there       is    being       --    because       it    says     a queueing          system

18   storing          user    data.

19                     So    you    don't       know    if     Facebook       is    making

20   that    accessible             or    sharing       that       with     others       outside

21   of   Facebook?

22          A          That's       correct.           I don't        know    how    it's

23   used.

24                     MR.    GARRIE:           Okay.        So,     Facebook,       can    you

25   send       the    letter       to    the    court       reporter        so    she    has    it



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 1   to    enter      as    an    Exhibit          A to    the     proceeding,               just    the

 2   letter      with       the    exhibit          rather       than       the    entire

 3   declaration?

 4                    MS.    CLARK:           You're       just       saying       the

 5   Exhibit         A to    the       declaration,           or      are    you       asking       for

 6   the    separate         file       name       that    had     the      details          of    the

 7   system?

 8                    MR.    GARRIE:           The    spreadsheet.                 Ideally,          the

 9   spreadsheet            so    she    can       have    the     spellings            of    the

10   different            terms.        The    document          we're       looking          at

11   right      now.

12                    MS.    CLARK:           Okay.        Absolutely.

13                    MR.    GARRIE:           All    right.

14                    MS.    CLARK:           Is    her    email        address         in    the

15   chat?

16                    THE    COURT       REPORTER:            Yes.          And    also,

17   counsel         on    the    line,       if    you    can     go      ahead       and    put

18   your    email         addresses          in    the    chat       so    I can       follow       up

19   later      to    find       out    your       appearance           information.

20                    MS.    CLARK:           And    we're       sending          this       to    you

21   right      now.

22                    MR.    GARRIE:           So    we'll       go     back      on    the

23   record.

24          Q         The    Oculus                                                    , I assume

25   that's      the       Oculus       system       and    that's          not    the       Facebook



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 1   platform          or    are       they    combined?

 2          A          I don't          know       the    answer          to    that       in    terms       of

 3   the    last       part       of    being       combined.              But       this       is

 4   referring          to       Oculus,       the       reality          labs       product.

 5          Q          Okay.           And                    This    is       kind    of       a very

 6   generic       description,                storing          off-line             messages.

 7                     Is    that       for    users,          employees?              Who       can

 8   access       it?        Do    you       have       any    idea,       Mr.       Pope?

 9          A          No.        I'm not          familiar          with       that       system.

10          Q          Okay.                       Any    idea,       Mr.       Pope?

11          A          I'm       familiar          with       the    service,          but       I don't

12   actually          know       really more             than       what's          written          there.

13          Q          Is    the       service          available          to    third          parties?

14          A          I don't          know.

15          Q          And       the    reason          I ask,       it    says       it    provides

16   the    user       writing          the    data       with       the       flexibility             to

17   store       the    bytes          on    the    storage          systems          of    their

18   choice,       while          solving          the    reader's             "where       do       I get

19   that       data"       problem.

20          A          Uh-huh.

21          Q          So    I didn't          know       if    this       was       a service          you

22   were       making       available             to    third-party             app       developers

23   or    if    this       was    a service             that       was    only       available             and

24   accessible             --    to    where       the       user's       data       is    only

25   accessible             and    shared          for    Facebook,             if    that       makes



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 1   sense.

 2          A        Yeah.         No.        That    makes          sense.

 3                   Yeah.         Yeah.        I just          don't       have       enough

 4   knowledge         of    that       system       to    say.

 5          Q        Okay.                                 Any       idea    here?

 6          A        No.         I just       have    a very          --    really,       the

 7   level      of   knowledge           that's       written          there       is    the    limit

 8   of    what      I know       about       it.

 9          Q        And     the       way    I read       it    is    that       it's    only

10   data       storage      and       sync    services          to    support          Facebook's

11   products.

12                   My     question          is,    is    the       data    store       also

13   available         or    made       accessible          to       third       parties?        I

14   couldn't        tell        from    the    description.

15          A        Yeah.         Yeah.        I'm not          familiar          enough       with

16   it    to   know,       to   be     honest.

17          Q        And     the       reason       I ask       is    it    says       "messenger

18   contacts."             So    that       could    obviously             go    one    way    or

19   the    other.

20          A        Uh-huh.            Uh-huh.           Yeah.        I just          haven't

21   worked       with      it    to    know.

22          Q        That's        all       right.        "I    don't       know"       is

23   perfectly         acceptable.              I will          follow       up    with

24   Facebook,         as    appropriate.

25                                                    , which          sits       on



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 1   What's       Lift?

 2          A          Yeah.           I'm    trying       to       remember          if    I know

 3   anything          about       this       one.        Yeah.           I don't          recall.

 4   I --       I recognize             the       name,    but       this       was    --    it's       been

 5   some       time    since          I worked          with       it.        So    I don't       recall

 6   the    details          of    it

 7          Q          This       is    certainly          --

 8          A          --    nor       do    I remember.

 9          Q          But    this          does    have       user       data       that    is    in    --

10   the    user       data       relates          to,    is    it,       ad    impressions             and

11   clicks?

12          A          Yeah.

13          Q          Conversions?

14          A          I'm not          sure.         I think.             Again,          yeah,    I do

15   think       that       that's          a reasonable             interpretation,                but       I

16   can't       confirm.

17          Q          Got    it.

18                     But    it's          not    clear       if    it's       an    internal          tool

19   that       then    --    or       if    it's     available            to       advertisers          or

20   third-party             app       developers?

21          A          Right.           Right.

22          Q          So    you're          not    sure.

23                                           What's       historical                transaction

24   data?

25          A          So    I do       know       that    this       is       related       to    the



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 1   payment       system.              But    beyond         that    I don't       know,       you

 2   know,      more     than       what's          written         there.        But    I can

 3   share      that     the       context          would      be    related       to    the

 4   payment       system.

 5          Q       And       at    the       time     the     system was          being       used,

 6   was    the    data       in    it    --

 7                  I guess             you    may     not     know    the    answer,          but

 8   I'll    ask    it    anyways.

 9                  Was       the       transactional               data    available          or

10   made    accessible             to    third parties               or    app    developers

11   or    people       off    the       platform,            the    user    transactional

12   data?

13          A       Yeah.           I'm not           sure     on    that    one.        I don't

14   know.

15          Q       And       then                             That's       built       on    the

16   MySQL.        So    the       above       MySQL,         this    is    what    --       a system

17   that's       running          on    that.         Is     that    how    I should          read

18   that?

19          A       Yeah.           That's          actually         correct.

20          Q       Now,       do       you    know      if    this    is    made       accessible

21   or    shared,       the       data       in    this      system,       with    third

22   parties,       the       user       data?

23          A       Yeah.           I don't           know.

24          Q       Do    you       know       if     this     went    into       effect       after

25   2014?



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 1          A         I don't           know     that      one       either.

 2          4                               Is    that         how    I say       that?

 3          A                             yeah.

 4          4                               I don't            even    know what             a

 5                    user        is.     So     maybe         you    can       tell    me.           What's

 6   a                     user?

 7          A         The                        that      I think          they're          referring

 8   to    here    is      another        kind       of    version          control          system,

 9   and    I don't          --    but    I don't          know       beyond          that.

10          4         But     a                      user       is    not       a consumer             user.

11   It's    a Facebook             developer             or          the       point       is    that

12   the                      users       are     a subset            of    a Facebook

13   employee?

14          A         Right.            Right.         And      kind       of    as    stated

15   there,       you      know,                          users       throughout             the

16   company.           So    it's       supporting             those       internal

17   employees          is    my    best       understanding                of    it.

18          4         All     right.           And                              How    is    user       data

19   involved         in     the    cache        for      the    news       feed       data?

20          A         I have        --    I have          some       recollection                of

21   working       with       this       one,     but,         yeah,       aside       from       just,

22   you    know,       inferring           that       this      is    the       cache       for       news

23   feed,      news       feed     would        contain,            you    know,       user          data

24   posts      and     so    forth,       but       I don't          know       beyond          that.

25          4         But     is    it    temporary             cache       or    is    it       --



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 1          A         I don't          know.           Yeah.           That       would    be    my

 2   assumption,            but    I can't             say    definitively.

 3          Q         And       then                          looks          like       it's    an

 4   internal         tool       for    infrastructure                      support       team.        Is

 5   that    accurate?

 6          A         I'm not          familiar          with          this,       this    system.

 7          Q         Well,       "Why       did       Facebook             DAP    go   down     between

 8   today      and    seven       days       ago?"

 9          A         Yeah.

10          Q         Is    there       any       reason,          as       far    as   you     can

11   think      of,    that       a third          party          or    somebody          --

12                    Is    there       any       reason          Facebook          would make

13   this    accessible,               the    user       data          in    this       system

14   accessible            to    a third          party?

15          A         I don't          know       of    any,       but       I'm    not    really

16   qualified         to       confirm.

17          Q         But       when    it    says       "metric             movements,"             what's

18   that    mean?          Do    you    have          any    idea?

19          A         Yeah.        So    for       that       specific             example,          you

20   know,      why    did       DAP.        So    that       would          be    daily       active

21   people.          You       know,    we       moved       away          from using          the    term

22    "daily      active         users,"          for    whatever             reason.           So    why

23   did    the    Facebook            daily       active          people          go   down     between

24   today      and    seven       days       ago?           So    analyzing             the    usage

25   patterns         of    our    products             is    what          that's       referring



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 1   to.

 2          Q             Got    it.        So    all      right.

 3                        So    maybe       Facebook            would      make       it    available

 4   to          but       is    it    anonymized?                   Do   you    know       if    the

 5   data       --    is       this          when        we     have      user       data,       is    this

 6   de-anonymized                   user    data         or    is    this      anonymized             user

 7   data?           Just       generally              when people             say,    "We       have       user

 8   data,"          is    it    specific              individual          users,          like

 9   Joe    Smith?

10          A             Yes.        We    don't         actually         have       that,       yeah,

11   level       of.           Like    that       wasn't         a part         of    kind       of    when

12   we    asked          what       type    of        data     is    stored         there.           I think

13   you'll          have       a great          deal      of    variance            across       the       use

14   cases.

15                        So    given       an    application's                 purpose,          it    could

16   very    well          be    storing          anonymized              data,


M

M
19          Q             Well,

                                                                                             no?

21          A             Uh-huh.           Yes.         We     provided         examples             and

22   references                for    them       to     confirm.

23          Q             Can    you       provide         a copy         of


M

M                                                 '?



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 1                  Because          I'm    assuming             that       the    user       data

 2   isn't       anonymized          data.        This       is    actual          user       data    and

 3   not    anonymized          data       because          you    wouldn't             have    to

 4   delete       anonymized          data       from       a system,             no?

 5          A       Correct.           This       would          be,    you       know,       data    we

 6   collect       about       users       using       our       products          like       through,

 7   you    know,    them uploading                or       other       things          that    we

 8   understand          by    their       use    of    our       products.

 9          Q       Yeah.        Through          the       use    of       apps    or    whatever

10   it    is.     But    the    point       is    is       that       it's       user    data,

11   meaning       that       it's    identifiable                to    a user

12          A       Right.

13          Q       --    or    people       or    however             you

14          A       Yeah.

15          Q       1 just want             to    make       sure.           This       entire       --

16          A       Go    ahead.           Sorry.

17          Q       No.        No.     I just          wanted          to    make       sure

18   because      when        I say    "user       data,"          right,          I mean

19   identifiable             information          to       an    individual             or    a

20   person.

21          A       Uh-huh.

22          Q       So    I'm    assuming          for       all       of    these       systems,

23   they    have    identifiable                user,       meaning          identifiable                to

24   an    individual          like    person          in    the       system.

25          A       Our       definition          of    user       data       is    a little



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 1   more    broad,          I think,           in       that    it    might       --    you       know,

 2   it    may be       things          that        we    collect       by    the       use       of    our

 3   products          and    I can't           say       necessarily             if    it    meets

 4   your    --      that     more       specific              criteria       of       being

 5   identifiable             to    a specific                 person.

 6          Q          Well,       identifiable                 to    a Facebook             ID    or       you

 7   have    a universal                ID;     right?           Identifiable                at    some

 8   level      back     to    an       individual.

 9                     Well,

10   I'll    be      able     to    see        to    make       sure    we're          looking          at

11   apples       to    apples          because           it    could    be,       Counsel

12   Kutscher          Clark,       just        to       make    sure    that          this       is

13   actual       user       data       so    we're        not       wasting       everybody's

14   time    looking          at    it.

15                     MS.    CLARK:            So       I'm    not    sure       if    Mr.       Pope

16   understood          the       question,              but    this    is       what       I

17   understood          you       to    be     asking,          Mr.    Garrie.

18                     You're       trying           to    figure       out       if    all       of    the

19   data    in      these     sources              have       called    user          data       would          be

20   data    linkable          to       a specific              person       or    whether             it

21   might      also     be    data          that's        aggregated             with       data       about

22   other      people        or    data        that's          been    anonymized                so    it

23   can't      be     linked       back.            Is    that       what    you're          trying             to

24   get    at?

25                     MR.    GARRIE:               Yeah.        Because          when       you



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 1   submitted          the       declaration,                 right,       it    said       that       for

 2   user       data,       and    I just           --    I've       been       assuming          just

 3   I just          thought       I'd       dot     my    i's       and    cross       my       t's.

 4                     When       I say        "user       data,"          I'm    talking          about

 5   whether          there's          some     entity          that       has    a first          name

 6   and    last       name       or    a Facebook              account.           We'll          just

 7   leave       it    at    that.           Has     a Facebook             account          credential

 8   that       is    hopefully          a human           breathing             entity,          but

 9   whatever.

10                     The    bottom           line       is    is    that       when       you    say

11    "user      data,"       that       that        type       of    data,       in    some

12   fashion,          exists.           So,        for    example,             cache       or    news

13   feed       data    is    the       cache        for       a particular             user's          news

14   feed.           Now,    it    may       only be           available          internally,

15   never       shared       and       accessible.                  I just       want       to    make

16   sure,       because          if    it's        anonymized             or    genomized             or

17   tokenized          or    anything              like       that.

18                     So    maybe       when        you       send       the    survey,          if    you

19   could       just       send       the     --    to    counsel          the    survey          and

20   read       it    over,       but    it     would          be    very       informative             for

21   me    to    make       sure       we're        actually          looking          at    user       data.

22                     THE    WITNESS:               Yeah.           So    just    to       clarify          on

23   that       request.

24                     So    we    do    have        a standard             definition.                 The

25   actual          forms    that       were        sent       would       be



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 1                          So    how                         actually          did       this       versus,

 2   you    know,                             or    what       have       you       may    be

 3   different;             right?           So    there's          multiple.              It's       not

 4   like    a uniform             form,          you    know,       one       single       form       that

 5


I

 7                     I can,          you    know,       share          some       examples          of

 8   user    data          that    might          help.

 9                     One       is,    you       know,       data       provided          by    our

10   users,          like    user-generated                   content,          posts,          so    forth;

11   data    we       observe          about       a user,          such       as    location          data,

12   network          data;       the    data       we    infer          about       our    users',

13   like,       interests.              These          are    all       things       that       we    would

14   consider          user       data.

15   BY    MR.       GARRIE:

16          Q          But       that's       all       associated             with       the    user?

17          A          Right.

18          Q          So    that       can       infer       data       about       people

19   anonymi-          --    like       the       key part          of    it    is    that       it    goes

20   back       to    an    individual             user,       an    individual             discrete

21   entity?

22          A          Right.           Right.           So    where       I'm       kind       of

23   pausing          on    this       and     I'll      maybe       have       to    take       this

24   question          back       to    give       you    a more          vetted          answer;

25   right?



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 1          Q             Okay.

 2          A             Yeah.        Is    that          these       will       tie    to       something

 3   specific.              I'm not          sure          that       it    would       be

 4   specifically                a user          or    maybe          it's       tied    to       their

 5   photo.           But    I don't             want       --    yeah.           I don't          want       to

 6   speculate             here    kind          of    the       distinction             like       maybe

 7   what's          covered       when          I answer             this       question.              It

 8   might       be       a little          bit       more       broad          than    the       way    that

 9   you're          thinking          of    specifically.

10          Q             I mean,       that's             what's          occurring          to    me       as

11   we're       going       through,             that       may       be       how you       define          user

12   data.           So    let    me    think          about          it.

13                        We'll    revisit             it    at       the       end,    but       yeah.

14   Because          the    reason          why       I asked             is    where       it    says

15    "root      cause       analysis             for       metric          movement,"             that's

16   what       really       got       me    thinking             how       user       data,       is    that

17   individual             users,          you       know,       active          pool       and you          have

18   all    their          IDs    in    there?              I mean,             how you       identify

19   them       is    different,             right,          whether             you    use       a hash,          a

20   UID    or       a string          of    numbers,             letters,             gibberish.

21   Whatever,             however          it    is,       right,          the    key point             being

22   is    that       it's       a user;          right?              And       that's       why    --

23   that's          really why             I asked          the       follow-on             question,

24   but    we       can    revisit          it       at    the       end       because       we're

25   close,          and    the    finish             line       is    there.           So    we'll



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 1   revisit          it    in       a second.

 2          A          Yeah.              Yeah.        But       just       in       terms       of    what       we

 3   provide          to    you,          I'm not          sure       what       that       process          is    in

 4   terms       of    making             a request             and    going          through          whatever

 5   the    legal          channels          are.           So    I don't             want       to    misstep

 6   or    go    out       of    protocol.

 7          Q          No.           So    let    me       help       you       out.

 8                     Facebook             has       an    internal             process          working

 9   with       Ms.    Kutscher             Clark,          who       is    very          familiar,

10   fantastic             outside          counsel.              She       will          help    you       and

11   your       client.              I believe             you    actually                have    in-house

12   counsel          still          on.     There's             a lot          of    people.           But

13   Counsel          Chen       is       also    very          competent             counsel.              They

14   will       advise          you       exactly          on    the       process.

15                     You're             just    --       I'm    asking             you    questions.

16   If    you    don't          know       the       answer,          say       you       don't       know.

17   If    you    need          to    get    back          to    me    with          information,             say,

18    "I   want       to    confer          with       counsel,"                and       we'll       get    back

19   to    you    with          clarity          of    an       answer.              There's          nothing

20   wrong       with       that.

21          A          Yeah.              Sounds       good.

22          Q          The       reason          why       I'm    asking             is    I just       want       to

23   make       sure       we're          talking          apples          to    apples          for    the

24   follow-on.

25                                                                    sits       on       top    of



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 1   and    it's       designed            to    store       user       side    features.

 2                     Do    you      have       any    idea       if    that's

 3          A          No.

 4          Q          --    accessible            or       made    available?

 5          A          Yeah.          I'm not          --    I'm    not    familiar          enough

 6   with       that    system.

 7          Q          Because         an API          could       have    access       to    a

 8   storage          service         or    third-party             app    developer          or

 9   or    not.        So    okay.

10          A          Yeah.          I'm not          --

11          Q                                                            , green dot.              I

12   didn't       know what            that       meant.

13          A          Yeah.          I'm not          --    I'm    not    sure    what       is

14   meant       by    "green         dot"       either.           I think       it's    --

15          Q          Do    you      know what             a power       user    is?        Is    that

16   an    internal          user?

17          A          I don't         know.           I'm    not       sure    what    they mean

18   by    that.

19          Q                      I assume            this    is       only    available

20   internally             or   is    it       made    available          or    accessible            or

21   shared       with       third parties?

22          A          Yeah.          I'm not          --    I'm    not          I'm not          sure

23   on    that       one    either.

24          Q          Okay.          Do    you    know       why       they    capitalize

25   Stream       Processing?



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 1          A          I don't          know,          actually.              Yeah.        I'm    not

 2   sure.

 3          Q          Okay.           But       fully managed                general          purpose

 4   Stream          Processing,             I couldn't              figure         out    what    that

 5   meant.           For    me    to       figure          it    out    --

 6          A          So    --

 7          Q          I mean,          any       thoughts,             ideas?

 8          A          No.        I can't             --    yeah.        I'd       just    be

 9   speculating.                 I don't             have       contextual          knowledge          on

10   why    they phrase                it    that          way.

11          Q          Okay.           PYMK                                    What's          a leaf

12   machine?

13          A          Yeah.           I'm not             familiar          with    this

14   technology             either          or    the       leaf     machines.

15          Q          But    you       are       sure       that       it    has    user       data    in

16   it    somehow?

17          A          That       it    could          have       user       data.

18          Q          That       it    could          have       use    data?

19          A          Yeah.           So    that's,             again,       kind    of       going    back

20   to    where       you    pointed             out       something          that       should       have

21   been       in    that    declaration                   is    that       the    questions          asked

22   was,       is    it    possible             to    store,        you      know,       or    something

23   along       these       lines,          is       it    possible          that    an

24   application             of    products                using     your      data       system       could

25   store       user       data?



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 1          Q             Okay.        Fair       enough.

 2                                                 So    I get       what       this       is    doing.

 3                        My    question          is,    is       this    available             to    third

 4   parties          or       accessible          or    made       available?

 5          A             Yeah.        I'm not          sure       about       this    system.                 I

 6   don't       know          the    answer       to    your       question          for

 7

 8          Q             And,       again,       but    you       have    a point          of       contact

 9   in    your       effort          through          the    year       that    this       is       --    you

10   know,       or       even       before       we    even       get    to    that,       you       have

11   some       response             from    them       that       would       explain          at    some

12   level       more          detail       what                           is?

13          A             Yeah.        And       just    to       kinda    clarify          that          path

14   and    why       this,          you    know,       has       been    a pretty          cumbersome

15   effort          is    we    do    have       the    initial          point       of    contact

16   that       support          the       data    systems          themselves;             but       the

17   products             and    applications                and    infrastructure                   systems

18   that    use          those       data       systems,          each    one    of       them       have

19   their       knowledge             of    what       data.        You       know,       the       actual

20   point       of       contact          for                           might    not       know          what

21   data       is    actually             stored       there.           You    would       have          to

22   then    go       to       the    next       order       of    contacting          the

23   application                the    product's             using.

24          Q             Yeah.        But       they    would       be    able       to    provide             --

25   but    they          can    provide          a general          idea.        Your          point          of



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 1   contact       is      responsible             for       the       system          at    some          level,

 2   no?

 3          A         They're          responsible                for       the    storage

 4   capabilities            and       the       deletion             configuration.                       So

 5   they    would         have

 6          Q         Are    they          technical?

 7          A         What       do    you       mean       by    that?

 8          Q         Well,       you       say    they're             responsible                for       it.

 9   So    they    would         know what             data       is    being          written             to

10                           I mean,             I assume             you    had       to    ask       the

11   person       that      actually             runs       the       data    system             at    some

12   level.        Whether            or    not    they          know what's                put       in    there

13   is    different,            but       they    would          need       to    know          what       it

14   does    and      how    it       works,       no?           To    answer          your       question.

15          A         Yeah.           Yeah.        No.           I think          so.

16                    What       they will             know,          and    this       is       where,          you

17   know,      the     solution            of    how       they       do    this       will          vary

18   across       the      different             data       systems          based          on    the

19   technologies.

20                    So    I don't          know                                 or                                 to

21   be    able    to      say    how       they       do    it,       if    they       have          that

22   knowledge.             But       for    a data          system          that       provides

23   storage       services            like                       key value             store,             the

24   customer's            external,             but    the       actual          applications                   and

25   product       that      store          data       in                   will       be    an



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 1   admission             control          process          that    asks       is    it       user    data

 2   and    they'll             check       --    and    if    they     check         yes,       they

 3   have       to    select          the    configuration              options            to    delete

 4   the    data          according          to    our       policies.

 5                        That's       the       extent       that    they       know.           So    they

 6   should          be    able       to    --

 7          Q             Yeah.        But       there's       more     than         --    yeah.        But

 8   they'll          know       if    there's          user    data       in    there          and    what

 9   it    looks          like.        Whether          it's    accessible                or    not    is

10   downstream                from    that;       right?

11          A             My    --

12          Q             Yeah.        That's          downstream.

13                        First       I need       to    figure       out       if    the       user    data

14   is    stored          in    it    and       then    if    it's     available               only

15   to    --    the       first       step       in    the    analysis          is,       is    this

16   data,       the       user       data,       accessible          or    shared             with    third

17   parties          or       off    Facebook's             internal       platform             or    is    it

18   aggregated                and    shared       with       another       Facebook

19   application                that       then    is    shared       with       third          parties;

20   right?

21                        So,    but       the    first       step    is    just          figuring          out

22   like       --    like       the       call    logs,       if    I'm    building             a

23   third-party                app    and       I'm making          function             call    logs       --

24   I'm making                function          calls       and you're          restoring

25   because          the       aggregation             of    call    logs       is       ambiguous.



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 1   Like       is    it    aggregating              all      of    a particular                call       in   a

 2   particular             function          going          back    to       2007       or    is    it,    you

 3   know,       understanding                       and      then       --

 4                     But       the    first        simple         question             is,    does

 5   it   --     is    it       available          to    third       parties             or    accessible

 6   to   the        outside,          and     then      going       from       there?

 7          A          Right.           Okay.

 8          Q                                   When         you    say       "the       feed,"       is

 9   that       the    user          feed,     the      friend       feed?           What's          a feed?

10          A          What's          a feed?           All       the    stories             user    has

11   seen.

12                     So       it    seems     to      be    referring             to    stories

13   through          the       news    feed.

14          Q          And       do    you    know       if    this       is    --       is    this

15   available             to    third       parties          or    off-platform                or    shared

16   or   accessible?

17          A          I don't          know.           Yeah.        I'm       not       sure       about

18   that.

19          Q          Ready At             Dawn     I looked            up.        It's       a game

20   studio.

21          A          Uh-huh.

22          Q          What          user    data       is    this       --    is    this       Facebook?

23   I mean,          can       you    clarify when                you    say       a --

24          A          Yeah.           I do     have         some    familiarity with

25   Ready       at    Dawn.



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 1                    So     it    was    an    acquired          company,          a gaming

 2   studio       for      our     reality          labs    division,             and    this       would

 3   be    data    --      the     data       that    we    talked          about       there       was

 4   the    users       of    that       game.        Like       so    you    log       in    and,       you

 5   know,      you     have       some       kind    of    profile.

 6          Q         Do     they       log    in    via    Facebook          or    are       they

 7   logging       in      via     --    you    know,       how       are    they       when       we    say

 8   user?

 9          A         Yeah.         I don't          --    I don't          actually          know

10   that    detail.

11          Q         More        importantly,             is    that       data,       the    user

12   data,      available           to    any       third       parties?

13          A         Yeah.         And       I'm    not    --    I'm       not    familiar

14   enough       with       that       detail       of    the    game       and    that       system.

15   Yeah.

16          Q         It's        a video       game       that       --    it's    the       user

17   data    about         the    people        that       are    playing          the       game,

18   though?

19          A         Right.

20          Q

21          A         Yeah.         I just          know,       you    know,       kind       of

22   what's       written          there       is    my    knowledge          of    the       system.

23          Q         Would        it    be    likely       that       Facebook          would          give

24   third parties                access       to    their       payment          reconciliation

25   for    users?



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 1          A          Yeah.           That's       outside          of    my    kind       of

 2   experience             or    expertise          to    actually             have    an       opinion

 3   on    that.

 4          Q          But       when      you    emailed        it,       when    you       sent       them

 5   the


I

I
 8          A          Right.

 9          Q

10          A          I do       have       some    knowledge             of    this       system.

11   Yeah.        I do       have       some      knowledge           of    this.           So    this       is

12   more       like    internal             storage       for       other       systems.

13          Q          Yeah.           I assume        you're         not       going       to    let

14   Google       access

15          A          Right.

16          Q          --    this.

17          A          So    this       operates          at    a lower          level       in    the

18   tech       stack,       you       know,      providing           more       storage

19   capabilities,                like       physical          storage.

20          Q          Yeah.           All     right.          All    right.           So    then

21                               ?

22          A          Uh-huh.

23          Q          Who       are    UX     researchers?                Are    they       Facebook

24   researchers             or      are     they    third-party people?

25          A          Yeah.           I'm not       sure       who       those    people          are.



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 1          Q          And       they're             storing       user       data       in    the

 2   system?

 3          A          Yeah.           So       I do       have    some       experience             with

 4   just       the                                    in    terms       of    that.           This       would

 5   be   for     user       experience                research          where       they're          maybe

 6   doing       a case          --    or,       you       know,       came    in    and       --    you

 7   kinda       come       in    and       use       the    product          and    what          have    you.

 8   That    might          be    one       example          of    the     type      of       research

 9   that's       being          done.

10          Q         All        right.              But    is    it   being        done       by    and

11   made    available                to    third-party                developers             or    anybody

12   else?

13          A          That       I don't             know.

14          Q          Okay.                                 It    says       anyone.              Does    that

15   mean    anybody             can       access          this    service?

16          A          So    this          is     similar         to                                            It

17   is   a lower-level                    storage          interface.              So    it       would    be

18   used    by       other       systems.

19                     Example,                            uses                     underneath.                 So

20   it's    a lower             layer          in    the    stack.

21          Q         And        when       it       says    "anyone,"          who's          anyone?

22          A          Employees                of    Meta.

23          Q          Okay.

24          A          So    they          would       use       it.     And    just          to    kinda

25   clarify          that,       how       they       use       it,    these       are       libraries



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 1   that       they    would       actually          write       their     applications

 2   and    compile          this    code       to    store       the    data    onto     some,

 3   you    know,       storage          system.

 4          Q          So,    but    third       parties          wouldn't       have     access

 5   to    that?

 6          A          No.

 7          Q

 8          A          Yeah.        I mean,          the    familiarity          is   just

 9   what's       written       there          that       I have     with    it.

10          Q                            Any    --

11          A          I don't       have       any       additional        knowledge        or

12   experience.

13          Q

14          A          I do    have       experience           with                and    it's       an

15   internal          tool    for       doing       visual       data    analysis.          Yeah.

16          Q          When    you       say    --

17          A          Yeah.

18          Q          Internal          tool    being?           Sorry.        Could     you

19   repeat       that?

20          A          Yeah.        It    would       be    used     by Meta       employees.

21   It's    not       a production             service        or    tool        It's     for,

22   you    know,       analyzing.              They       call     it   kinda     deep     diving

23   on    data,       like    some       data       that    you     import      to   the

24   system       to,    you    know,          kinda       like     --   like    maybe      things

25   like    Excel       with       a bunch          of    extra     features;        right?



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 1   Like    you       put    in       a bunch          of    data       and you       can    like       cut

 2   and,    you       know,       kinda          do    different             joins    and    do

 3   different          manipulations                   to    understand          the       data       and

 4   do    analysis.

 5          Q          Yeah.           Excel       on    steroids.

 6                     All    right.                                          That     to    me    is

 7   pretty      obvious.

 8                     But    third          parties          don't       have    access,          I

 9   assume,       to       your       backups?

10          A          Right.           Yeah.           They       do    not.

11          Q

12          A          Yeah.           I'm not          familiar          with    that,       that

13   system.

14          Q          And                               if    I built          like    an    app,

15   would       I get       access          to    this?

16          A          I actually                don't       have       enough    familiarity                to

17   say    on    this       one.

18          Q          Okay.                       I assume             you   don't     provide

19   access       to    that       or       do    you?        It    says      within        the

20   company       and       with       external             vendors.

21          A          Yeah.           So    it    is    the       method       that's       used       for

22   exchanging             files       with       other       external          vendors          --

23          Q          With       --

24          A          --    of    the       --

25          Q          With       user       data?



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 1          A          There          could        be    user        data,       you       know,       they

 2   indicated          by       saying           this     on      the     form.           I don't          know

 3   the    nature          of    what          those      use       cases       are,       though,

 4   where       they       would          be    doing        that.

 5          Q          Got       it.

 6                     Is                  a service            or      something           they back             up

 7   or    --    well,       we       can       figure        it     out       later.

 8

 9          A          Yeah.           So       this     is     providing             kind       of    a test

10   MySQL       instance.

11          Q          It    says          it     captures           all       incoming          traffic

12   and    replays          it       on    another           test        in    real       time.

13                     Who       is    this        available              to    or    accessible             to;

14   right?        Because             this        is    user        --    if    I'm       assuming          it's

15   user       data,       how       is    user        data       --     is    this       user       incoming

16   traffic       of       how       they're           using        the       Facebook          platform?

17          A          I'm not             actually           sure.            Yeah.        No.        I don't

18   know.

19          Q          Okay.           I assume                                 is   not,        but       can

20   you    confirm          that          it's      not      accessible              to    third

21   parties?

22          A          Yeah.           My       experience              with                          is    that

23   it's       data    processing                 jobs       that        were       a message             DB.

24   So    this    is       part       of       a messaging               service          and    does       kind

25   of    batch       data       processing,                 which        would       be    an       internal



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 1   process.

 2          Q       All    right.            Novi,        that's       your    crypto;

 3   right?

 4          A       Correct.

 5          Q       Do    you       know     if     that's       accessible          to    third

 6   parties?

 7          A       I do       not    know.

 8          Q       Okay.                                                      I didn't          know

 9   what       candidate       generation               meant.

10          A       Yeah.           I'm not         --    I'm    not    familiar          with

11   that       system    or    to    be     able        to,    yeah,    really          clarify

12   that       term.

13          Q                        this      is    an    application          developer

14   review       tool.        Is    that      to    who?

15          A       Yeah.           I'm not         familiar       with       this       one

16   either.

17          Q       Okay.           All     right.         So    you're       not    familiar

18   if   Facebook        allows          other      third       parties       or    shares?          I

19   mean,       I would       assume        it     doesn't,       but    okay.

20          A       Yeah.           I'm not         sure.

21          Q       All    right.

22          A       Yeah.           I am     familiar           with                     I mean,

23   to   kind     of    the    extent         that       they're       a stream

24   processing          library.            So     it    would    be    used       by    internal

25   software       developers,              internal           being    Meta       employees,



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 1   to    create         the    stream processing                      jobs.

 2          Q         Got       it.

 3                                     I understood                that       to    be    an    internal

 4   Facebook         dev       tool       or    ops       tool,       but    can    you       confirm

 5   that?

 6          A         By    the       description                with                          , you

 7   know,       these      are       for       our    company          use    by    Meta

 8   employees            and    as    well       that       this       is    for    archival

 9   workloads,            such       as    backups          and       data    warehousing.

10                    I don't          have       direct          experience             with

11   but    I think         by    this          description             is    it's       an    internal

12   system.

13          Q        And        then       I would          --    yeah.        I would          agree.

14                                         I assume          is    similar,          but       again

15          A         Yeah.           I'm not          familiar          with       this       system          to

16   be    able      to    answer.

17          Q         What's          composability mean?

18          A         I'm not          sure.           I'm       not    familiar          with       that

19   term       in   this       context.

20          Q                          I've       worked          with,       but    do       you    give

21   third parties               access          to    your

22          A         I don't          know,          actually.              I'm    not       sure.

23          Q         But       user       data       is    moved       into                        and

24   then    you      run II          on    it?

25          A         There       can,          yeah.        So    there       can       be    user       data



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 1   in   performing           the

 2          Q          Yeah.        Okay.        Always          a selling                point.

 3          A          Yeah.

 4          Q                             Any    idea?

 5          A          No.     No.        I'm    not       sure.           I don't          know       on

 6   that       one.

 7          Q          Is    there    any       reason          you    would          think       that

 8   Facebook          would    make       this       accessible                to    a third

 9   party       or    the    user    data       stored          in    this          system       or

10   shared?

11          A          Yeah.        I think          I'm    just       actually             not

12   familiar          enough       with       its    use       to    be    qualified             to

13   really       --

14          Q          Because       it    says       --

15          A          I could       guess.

16          Q          And    the    reason          I ask       is    it       says       "now

17   deprecated                     created          as    part       of    an       effort."

18                     So    I took       deprecated             to    mean          no    longer       in

19   use,    but       maybe    I --       well,          fair       enough.

20

21          A          Yeah.        I'm    familiar             with       the       service,          but

22   can't       really       speak       to    its       use    cases          or...

23          Q          How?     What's          your       familiarity                with      the

24   service?

25          A          It's    a service             that       runs       on    top       of



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 1   and    basically             is    an       application           you    can    configure          to

 2   use    for      storing           counters.               Like    an    example       I think

 3   was    given         while        we    did       talk     with                would    be    the

 4   number       of      likes        that       a post        has    received.

 5          Q          All       right.           So     then    would       you    know    if

 6   third-party             developers                were     just    --

 7                     Do    you       know       if     Facebook       makes       this

 8   accessible             or    shares          it     off    Facebook's          platform,

 9   access       to      this     data?

10         A           Yeah.           I don't           know.        I don't       know    that

11   level      of     detail.

12          Q          All       right.           I assume           that's    the    same       for

13                                      That's           the    same    --

14         A           Yeah.

15          Q          --    or    is       it    different?

16         A           Yeah.           I don't           remember       the    distinction

17   between         these        two.           They're        related,       but    I don't

18   remember          how       they       differ.

19          Q          TAO?

20         A           Uh-huh.

21          Q          I get       what          it    is.

22                     My    question             is,     would       you    know    if    Facebook

23   makes      it     available             or       accessible        or    shares       this    data

24   in    this      --     the    user          data     in    TAO    with    any

25   off-Facebook                platform?



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 1          A          Yeah.        I don't          have,       like,         familiarity with

 2   that    and       how    that       all    ties          together         with       the    social

 3   graph      and     to    the    question             that       you're         asking.           So    I

 4   don't      know        how    that...

 5          Q                                             It    says       it's      an    internal

 6   tool,       so    I just       assume          it's       not    shared.

 7                     Is    that    an     accurate            assumption?

 8          A          Yeah.        I --       I --       again,          I'm not         --    you

 9   know,      this        isn't    my     area         of    work,       but      I think       from

10   the    description             --

11          Q         All     right.

12          A          --    that's       pretty          clear.           Yeah.

13          Q         All     right.                                       I get         what    it    is.

14                    Would you,           by       chance,          know      if    it's       shared

15   or    made       accessible          to    --

16          A         No.

17          Q          --    off    --

18          A          Yeah.        No.        I don't          know.

19          Q         And     then                   I assume             it's      not.

20          A          Yeah.        Yeah.           You're       right.             So    this    is

21   more       internally          used       to    understand               our          our

22   products          and    systems.

23          Q         And     same       with                             ?

24          A          So    --    right.           So    just       to    make      sure       we're       on

25   the    same,       yeah,       so    this       would       be       where      --



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 1                          is    our    container-based                  service.              So    this

 2   would       be    storage          tied      to    those          containers.              So    it's

 3   more    of       a lower-level               internal

 4          Q          Yeah.

 5          A          --    technology.                Yeah.

 6          Q          Yeah.           I would         be    surprised          if    you       made

 7   that    accessible.

 8                     And       same    with

 9          A          Yeah.           This     is     the       backing,       kind       of,       as    it

10   says,       backing          database           for     TAO,


M

M
13                     I don't          know.          Again,          kind    of    like       I don't

14   know       the    linking          in     terms        of    availability             to    the

15   social          graph,       but    that's         like       the    underlying,                you

16   know       --

17          Q          And       the    social         graph       --

18          A          --    storage.

19          Q          And       the    social         graph       data       sits    in    the       TAO;

20   right?

21          A          Right.           So     that's        like       kind    of    our       primary

22   cache       for       driving       our      applications                and    a large          part

23   of    that       is    where       the     social           graphing       is.

24                     But       again,       you      know,       I don't          have    like

25   the    --       that's       definitely            not       my    area    of    expertise



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 1   getting       to    how    those       all     tie    together.

 2          Q       Yeah.           And    so    where     it    says    "used       for

 3   testing,"          is    that    internal           testing       for

 4          A       That       is    actually my           understanding             of    it    and

 5   I did      have     some       work    with                             but    my memory

 6   is   a bit     dated       to    be    truly        definitive          on    that.

 7          Q       All       right.        Your        notes    would       reflect       it    at

 8   some       level?

 9          A       Yeah.

10          Q       And

11          A       Yeah.           I'm not        --    I'm    not    too    familiar          with

12

13          Q       All       right.        What        about

14          A       Yeah.           I'm not        familiar       with

15          Q       Can       you    explain        to    me,    what    is       human

16   readable?           I hear       the       term     a lot,       human       readable.

17   To   me    data     is    data       I can     read,       binary       or    hexadecimal

18   or   words.

19          A       Yeah.

20          Q       When       they       say    "human        readable,"          what    does

21   that      mean?

22          A       I think          that       that's     like       written       in    a

23   common       human       language,          you     know,    rather          than,    you

24   know,      kind     of    encoded,          you     know.

25          Q       But       someone       translates           the    coding       to



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 1   understand            it;       right?           I mean,        machine          readable

 2   means      a machine             can        translate          the    data,       right,          or    am

 3   I reading          that         wrong?

 4          A         I can't             --

 5          Q         It's       all       --     well,      human        readable          is       still

 6   data,      right,          and       machine        readable          is       still       data?

 7   There's       no      --    it's          still     data       we're       talking          about;

 8   right?        There's            no       distinction           there.

 9          A         Right.              So     I can't      really           speak       to    what

10   whoever       wrote         --       provided         this      description                is    trying

11   to    convey       with         the       human     readable          understanding

12   piece.

13                    But       to    your        point,      I think           more       relevant          is

14   that,      yeah,       for       our        exercise         that     we       went    through

15   and    for    the      data          we    gathered,           this       is    talking          about

16   data.        And,      you       know,          whether        it's,       you    know,          in

17   sentences          that         we    --

18   some    kind       of,      you       know,

                                                                                           isn't

20   really       relevant            to       the    work    that        we    did.        We're

21   just,      you     know

22          Q         Right.              That's       why    I was        asking.

23          A         --    gathering                data.        Yeah.

24          Q         This       is       the     only place          for       user       data       that

25   it    says    "human            readable."              So     I didn't          know       if    there



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 1   was    a distinction                there.

 2          A          Yeah.           I don't       think       any       meaningful

 3   distinction.                 At    least    not       in    the       context       of    the

 4   work       that    we    were       doing.           We    were       just       concerned          is

 5   there       data?        True/false.

 6          Q          Got    it.

 7                     And    then      you     wouldn't             --

 8                     Did    they       clarify          if    this       human       readable          of

 9   user       interests          to    improve          personalization                in    various

10   user-facing             products,          is    that       just          Facebook's

11   products          or    is    this       available          to       all    app    developers?

12          A          Yeah.           I don't       --    I don't             actually       know

13   about       at    that.

14          Q          Wouldn't          they    differentiate                   or    identify          if

15   it    was    non-Facebook                products          or    no?

16          A          Yeah.           I'd probably             be    speculating             to    say.

17          Q          The    people          that    wrote          it    and    said

18    "user-facing            products,"             they're          talking          about       the

19   products          that       --    I'm    just       trying          to    understand          when

20   they       say    "user-facing             products"             what       the    person,          the

21   context          they're          responding          from.

22          A          Yeah.

23          Q          You    sent       them    a

                                                                                        Is    that

25   Facebook          users       or   you're        just       not       sure?



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 1         A       I'm       just       not       sure          and    I didn't       --

 2         Q       Okay.

 3         A       I don't             think          --

 4         Q       I read          --

 5         A       So       yeah.

 6         Q       And       then       a tax          application?

 7         A       I'm not             familiar             with       this    product          or    this

 8   service      or    system.

 9         Q       It's       calculating                   taxes,          right,    for       your

10         A       Yeah.

11         Q       So                                       my       question       for    this       is    do

12   you   make                                   available             off    --    the    user       data

13   in                            available                to       third    --    off    Facebook,

14   you   know,       accessible                to    or       off    Facebook       platform?

15         A       So       yeah.           Well,          so                             is,    again,

16   a lower-level            storage             solution             that's       used    by

17   systems      on    top       of    it.           So    I can't          really       say,       you

18   know.     I don't            know       all       the       specific          cases    where

19                           is    being          used          as    the    underlying

20   storage.          It    would          be    through             --

21         Q       But       there's             no    way       --

22         A       Yeah.           It       would          be    through       a data       system

23   running      on    top       of

24         Q       That's          my point.

25                 There's             no    way       to       access                                     The



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 1   data       --    the    user          data        in                                still          requires

 2   some   database              app-          --     some       application             to       access       the

 3   user   data        that's             stored           there.

 4                     Is    that          not       an     accurate          assumption?

 5          A          Exactly.                 Yeah.            No.     That's          a very

 6   well-phrased                way       to    put        it.        Yeah.        That's          correct.

 7          Q          Makes          more        sense.           All       right.

 8                     WhatsApp

 9          A          Uh-huh.              Yeah.            This                   that       one       that    we

10   previously             talked          about           with       respect       to       WhatsApp

11   deletion,          the       way       that          deletions           happen          with

12   WhatsApp,          this          is    that          entire        framework             of    the

13   component          parts.              So                   would       fit    --

14          Q          Yeah.           But        --

15          A          --    into          this.

16          Q          But       that's          behind WhatsApp.                        So    a

17   third-party             app.           Facebook's                 not    making          that

18   accessible             to    anybody?

19          A          That's          correct.                  That's       correct.

20          Q          Okay.                                      It    says       it's       limited       to

21   different          groups             at     Facebook

22                     I just          want          to     make       sure    there's             no    other

23   groups          that    have          access           to    that.

24          A          Yeah.           I'm not              --    I don't          have       enough

25   knowledge          of       it    to       say.



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 1          Q          On    its    face,          at    least       it    seems       to    be.

 2          A          Yeah.

 3          Q          Okay.

 4          A          Uh-huh.

 5          Q          So    I get       what       it       is.

 6                     My    question          is,       does       Facebook          make       this

 7   it's,       again,       a very          broad          description.

 8                     Who    has    access             to    this    self-service

 9   relational             database?

10          A          Somewhat          to    the       previous          statement             and    the

11   way you       phrased          it,       this       is    applications                product

12   developed          with provision,                      a MySQL       database          through

13   this              service,          and       there       would       be    an    application

14   running       on       top    of,    you       know,          using    tables          that       are

15   in    an           instance.              How       that       application             manages

16   that       data    is    not    known          at       this    layer.

17          Q          So    my    question             is,    for    a user          --    so    the

18   user       data,       when    they       sent          this    back       to    you,       how    did

19   you    figure          out    what       was       running       on              to    actually

20   do    something          with       it?

21                     Because       I can't             imagine          you    query       the

22   entire                 platform          or    the                                platform          and

23   say    delete          this    one       user's          data    across          20,    you       know,

24   however       many       exobytes             or    whatever          you       have    of    data.

25          A          Yeah.        So    the       way       it    works       with               it's



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 1   self-service.                    So    if     I was         an     application               developer

 2   and    I wanted             to    store,           you      know,       using       relational

 3   database,             I would go              and       I'd      say    I want          to    set       up    a

 4   table       or    like,          you       know,        provision            some       tables          for

 5   me,    and       it    would be              through          that


I

 7   In which          case       then,          okay,


I                                                Like        how will            those       be    --    meet

 9   the    requirements                   of     the      user       data       deletion policy?

10          Q          Then my             question           is,       how many

11   applications                --

12                     So    but       how,        then,         would       they       delete          the

13   user       data       off              today?            You       can't.          It    would          have

14   to    be    by    application,                   no?

15          A          So    the       --       the           one       example         would be             where

16   the    application                only needs                that       data       for,       you    know,

17   a short          amount          of    time        or    some       determined               amount          of

18   time.        Let's          say       five       days.           And    so    they       can

19   configure             that.           Like               supports            a setting             that

20   says,       you       know,       delete           the      data       in    five       days       or

21   delete       these          rows       from        this       table         after       they're          five

22   days       old.

23                     I don't             know       if     that       kind      of    speaks          to    the

24   question you're                   asking,             but     that      would be,             you       know,

25   one    case       where          through           time       to    live      you       could       --


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 1          Q          And    you       would          assert       --

 2          A          --    delete.

 3          Q          Facebook             doesn't          share       access       to              to    an

 4   app    developer             or    anyone          else    that's          not    a Facebook

 5   employee?

 6          A          Yeah.           Yeah.           No.     And       the    way    you       phrased

 7   that    earlier          is       right.           You    would       have       to    have       some

 8   kind    of       intermediary               application              interface          to       that

 9   data.

10          Q          Right.

11                     And    does          Facebook          allow       third-party             app

12   developers             access          to   the            database,             data

13   warehouse?

14          A          No.

15          Q          Because                    is    a database,             no?

16          A          Yeah.           Basically you                can    --    you       know,       if

17   you    want       to    run       a MySQL          database,          it's       kind       of    a

18   service          that    provisions                those       databases          for       you       or

19   those       instances             of    a MySQL          database.

20          Q          All    right.

21          A          So    yeah.

22          Q          So                          It    says       "next       generation."

23   Does       that    mean       it       hasn't       been       deployed          or    --

24          A          It    is    a --          from my       experience             with

25   yeah,       it    was    in       early       phase       of    adoption,             which       would



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 1   have    been,       I guess,           a year        or    so    ago    and,       as

 2   I recall,        it      was,    you        know,        kind    of    the    --    an

 3   improved       version,          kind        of     in    the    space       of

 4   like    when     we      talked        about        those       libraries          where       you

 5   create     pipelines.

 6          Q       And

 7          A       Yeah.           I'm not         --    I'm    not       familiar          with

 8   this    other       than               is    for     --    I think       it       stands       for

 9   Wi-Fi,     but      I don't          --     I don't        actually          have       any more

10   knowledge        of      that    system.

11          Q       But       it's    not        a Facebook           --    it's       not    --    by

12   using      Facebook           web,    you      know,       social       network,          I'm

13   not    using     X,      the    Wi-Fi,         am    I?

14          A       Yeah.           Unfortunately,               I don't          know.

15          Q                      I get.

16          A       Yeah.

17          Q       And my          only       question         is,    is

18   accessible          or    available            or    shared       with       third

19   parties,       the       data    instances               from

20          A       I don't          actually            know    in    that       space.

21          Q       But       it    does       have      user    data,       right       --

22          A       It     does.          It     definitely           --

23          Q       --     when      it's        aggregated?

24          A       Yeah.

25          Q       And       that's       where         it    aggregates          inferences



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 1   and    everything,               I guess?

 2          A         So    yeah.                        is     one    of       those       that    we    had

 3   previously            called       in     our       efforts           general          purpose

 4   data.       So       where       it's     kind        of    like                  if    you    want       a

 5   relational            database,           go     to                   If    you    want       a key

 6   value      store,          you    go     to                 and       you    go    through          a

 7   form    and      it's       really        serving           very       many,       many

 8   applications.                Probably            thousands             of    different

 9   products         and       services           are     running          on    top       of

10   and    using         it.     Again,           it's       just     a very          easy       kind    of

11   self-serve            key value           store          technology.

12          Q         So    then       user        data       that's        stored          in

13   would      be    --    whether           it's       accessible              or    shared       with

14   third parties               would       be     defined           by    the       app    that's

15   sitting         on    top    of    it?

16          A         So    this       is    where         it    gets       outside          of    my

17   expertise            and    access        to     the       social          graph       and    because

18   this    would         be.        You    know,         some       portion          of    this       would

19   be.

20          Q         Well       --

21          A         Yeah.

22          Q         Yeah.           Some     of     it      would        power       the       social

23   graph.

24                    The       other       question            is,    is       there       other

25   things?          So    the       social        graph        provides             all    the    data



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 1   and    that's             the       DYI    tool.           If       I spin       up    another

 2   database             instance             on                   and    make       it    accessible

 3   to    --    this          doesn't          feed          into       the    social       graph,          but

 4   does       it    have          the    ability             to    make       it    accessible             to

 5   third parties                   or    share          the       data       that's       stored          in

 6   that       instance             of    the       --       you    know,       the       database          that

 7   you    build          that          doesn't          feed       the       social       graph,          but

 8   sits       outside             of    the       social          graph?

 9          A             Right.           No.           It    would       not       be.

10                        Like       maybe          restating,             I'll       state       it    like

11   what       I understand.

12                        If    you       set       up    an    instance,             you    get       a

13   provision             some          portion          of                     and       external,

14   outside          of       Meta's          infrastructure,                   would       not       be    able

15   to    access          the       system          to       use                directly.              There

16   would       have          to    be    an       internal             Meta    --       Meta    system

17   that       provides             an    interface                to    that       data    that       serves

18

19          Q             Yeah.           So    there          would       have       to    be    a Meta          API

20   that's          not       social          graph          that       would       give    direct

21   access          to    that                      dataset?

22          A             Right.           Right.

23          Q             Yeah.           Makes          sense.

24                        And       who    would          have       access          to    the   API?            Who

25   controls             the       APIs       that       grant          access       like       that?



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 1          A          I'm not         --     I don't         actually        know.

 2          Q          I assume         it's       one    of     those       code    repository

 3   data       information.                At    some    level,        there       has    to    be

 4   some       --    a security            has    to    track        the    API    access

 5   that's          granted.          Okay.

 6          A          Yeah.          I think        that's       a fair       assumption,

 7   but    I don't          know.

 8          Q          Well,      they       wouldn't          let     --    I mean,       I hope

 9   so.


10          A          Yeah.

11          Q                          and                     that's        internal

12   training          for      the    Instagram machine                    learning       or    is

13   that    available            to    third       parties?

14          A          I'm not         familiar          with     that       system       to    be

15   able       to    say.

16          Q          Okay.          I thought          it    was     alphabetical,             but    I

17   was    unduly         excited.

18                                                      This     is    Instagram.              Again,

19   is    this       --   do    you    know,        like,       how    this       system works

20   and    if       Facebook         makes       the    data     in    it    accessible?

21          A          No.       I'm not          familiar        with

22          Q          But      it's    just       Instagram           data;       right?

23          A          That      is    my    understanding              from       the

24   description.

25          Q          And      then



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 1          A          Embedding             indexing             system.           Yeah.        I

 2   don't       --    I don't          know       anything             about       this       system.

 3          Q

 4          A          That's          a mouthful,                but    --

 5          Q          I didn't          know       what          a privacy-wave                task    was

 6   and    what       a user          was.

 7          A          Yeah.           So,    yeah,          I can       clarify          those.

 8                     So    privacy-wave                is       a privacy-wave                task.

 9   Privacy-wave                is    a framework                program          that    essentially

10   federates          work          across       the       company.              So   this     is

11   where,       for       example,                     when       they       want       to    find    out,

12   you    know,       who       --    you       know,       if    they       want       to    reach      all

13   of    the    applications                and       products          teams         that     are

14   using,       they would             file       those          through          these       waves.

15   And    so    it's       like       kind       of    a central             tooling          that    you

16   can    get,       you       know,       thousands             of    tasks,         and     tasks      are

17   internal          ticketing             system,          you       can    get      thousands          of

18   these       tickets          centrally managed                      and       then    track       the

19   progress.              Because          it's       so    highly          distributed             across

20   the    company,             you    know,       you       have       hundreds          of    teams

21   potentially             and       thousands             of    employees            that     have      to

22   take       some    action.              So    that's          kind       of    privacy-wave.

23                     And       then    the       user       verification/mediation,

24   that    would          be    referring             to    the       task       owner.        So    a

25   Meta    employee.



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 1          Q       Okay.        Good.            That's          all    I need       to    know.

 2                  All       right.         Then          public       street-level

 3   imagery       and    map    data        platform.              I wasn't          sure       how

 4   user    data    is       involved           in    that       and    if    third       parties

 5   can    access       the    mapping           system.

 6          A       Yeah.        I'm not              --    I'm    not    familiar          with

 7   that       system    at    all.

 8          Q       All       right.         A few more.

 9          A       Homestretch.

10          Q

11          A       Yeah.

12          Q       I assume          that's           internal          customer          support?

13          A       So    that       is     internal             customer       support.

14   However,       I don't          know        if    they       have    any       kind    of

15   relationships             that       would provide,                 you    know,       external

16   access.

17          Q       That's       fine.

18                             what's        that          stand    for?

19          A       I think          it's        the

                          similar           to                                It's    just       a way

21   of    rolling       up    binaries.

22          Q       And       when    it     says          it's    owned       by

23   Core       Systems,       what's        Core          Systems?

24          A       That's       a division                 of    the    company       or

25   organization             within        the       company.



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 1                  MR.    GARRIE:               Okay.           All    right.           So       that       was

 2   all    of    them.        I will        review          the       transcript             rather

 3   than    making       you    stay        on       as    we    go    through          it       all.

 4                  I thought             about        it    for       a minute          and       what       I

 5   was    hoping,       Mr.    Pope,           if    you       could       go    to    a separate

 6   room    for    a minute          or     two       and       I can       just       speak       with

 7   counsel,       and    then       we'll           bring       you       right       back       in.        I

 8   just    think       that    may        --    if       that's       okay.           Obviously             if

 9   counsel       from    Facebook              wants       to    go       with    Mr.       Pope       or

10   stay,       feel    free.        But        I just          want       to    talk       to    the

11   lawyers       directly.

12                  You    did       excellent,              Mr.       Pope.        This          was

13   extremely          helpful       in     understanding                   and    I really             do

14   appreciate          you    taking           the       time.

15                  THE    WITNESS:               I'm glad             I was       able       to    help

16   you.

17                  MR.    GARRIE:               If    you       could       jump       into       that

18   other       room    before.            I just          want       to    talk       to    the

19   lawyers       about       potentially                 additional             questions             or

20   other       things;       but    rather           than       you       hearing          them,       I'd

21   rather       just    understand              what       may       be    sought.

22                  THE    WITNESS:               Okay.           I'm       leaving          now.

23   Thank       you.     I'll       be     in    the       other       room.

24                  MR.    GARRIE:               And,       Counsel          Chen,       or       anybody

25   from    Facebook,          feel        free       to    stay       or       join.



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 1                     So,       Counsel,             you    can     turn       your       video       back

 2   on.

 3                     So       thank          you.      Counsel          or    Martie,          thank

 4   you.        It    was       actually             extremely,             very     helpful          for

 5   me,    at    least,             to    get     my way         through          all     of    it.

 6                     I will             open     this      with       a lot        of    --    well,

 7   plaintiffs,                if    there        are      any    other        particular

 8   follow-up             questions              that      you    think        may       be

 9   appropriate,                I'm willing                to    hear       them.         I'm not,

10   per    se,       willing             to    ask    them,       but       I'm     certainly

11   willing          to    listen.

12                     MS.       WEAVER:              Right.         I mean,          we're          very

13   appreciative                of       Mr.     Pope's         time     and      understand           the

14   limits       of       his       knowledge.

15                     I think             in     terms      of    framing           for       us,

16   recognizing                that       not     all      data     is      actually

17   maintained,                but       there       are    some       records,           that       is,

18   there       were       facilities                that       collect        and made             data

19   available,             but       those        facilities             probably             are    not    on

20   the    data       source             list.

21                     And       so       we    think       the    kinds        of    questions             are,

22   you    know,          do    these          sources          have     either          information,

23   what    is       it,       is    the       information             in     those       sources          used

24   in    any products                   that     have      been       made       available           to

25   third parties?



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 1                     So    some       of     these       questions             about    is       this

 2   data       available.              Like       we     know,       for    example,          that

 3


I

I
 6                     So    the       simple        question          of    is    there       data

 7   sitting          here    in       this     source          and    does       this    source

 8   make       it    available          will        miss       some    obvious

 9   opportunities                to    learn        about       what       is    made    available.

10                     MR.    GARRIE:              For     Mr.    Pope?

11                     MS.    WEAVER:              Yeah.         We    don't       know what

12   Mr.    Pope       --

13                     MR.    GARRIE:              Well,        Mr.    Pope       stated       up       front

14   that       he's    not       the    person           with    the       answer       to    that

15   question;          right?

16                     He    said       that       he     asked       the    simple       binary

17   question,          true       or    false.           And     data,          user    data       in

18   this       system,       like II           or      some     of    these

                                                   , I'm        assuming          of    data       and

20   they       have    applications                 that,       like       you    said,       you       can

21

                            , but,       as     he      repeatedly           stated,          he

23   doesn't          have    that       knowledge.               So    it       wouldn't          be

24   appropriate             to    ask       him     if    it    is    appropriate             or       not

25   or    so    on    and    so       forth.



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 1                  I understand             your          point       and    we       can       talk

 2   about    that       in    a minute,          but       I do       want       to    let

 3   Mr.    Pope    go    before       we    go       down       into       that       part       of    the

 4   conversation             since    I did          have       a chance          to       read       the

 5   court's       transcript          on    this.

 6                  So,       counsel       for       Facebook,             are    there          any

 7   questions       you'd       like       to    ask       Mr.       Pope    as       a follow-up

 8   that    I may       have    forgot          to    ask?           I can't          imagine

 9   there    is,    but       maybe.

10                  MS.       CLARK:        No.        I don't          think          there       are

11   any    other    questions           that         need       to    be    asked.

12                  I will       just       state          for    the       record          that       we

13   request       the    transcript             as    marked          highly

14   confidential,             attorneys'             eyes       only,       because             there

15   was    a lot    of       very    confidential                information.

16                  MR.       GARRIE:        Yeah.           So       noted.           And       I'll

17   leave    that       for    the    court          to    work       out    if       the       parties

18   want    to    challenge          any    designations                   and    so       on    and       so

19   forth.

20                  MS.       WEAVER:        We       understand             that       and       we

21   appreciate          what    has    been          shared          today,       and       we'll

22   honor    the    designation.

23                  MR.       GARRIE:        Okay.           So       I found          it    extremely

24   helpful.

25                  But       first,    why       don't          we    let    Mr.       Pope       go,



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 1   and    then    we    can       resume          the    second          part    of       the

 2   conversation.              Since          I have          everybody          here,       maybe       I

 3   can    streamline          some       of       that       as    well    now       that       I've

 4   read    the    court's          transcript.

 5                  So    can       we    bring          Mr.    Pope       back    in?        Maybe

 6   counsel       wants       to    go     and      tell       him    I'm going             to    bring

 7   him    back    in.        I'm       sure       he    loves       lawyers.              I just

 8   don't    know       how much           exposure            he    has    to    counsel.

 9                  MS.       CLARK:           I'll       go    in.

10                  MS.       WEAVER:           I'm       not       sure    anyone          does,

11   but...

12                  MR.       GARRIE:           Mr.       Pope,       I wanted          to    thank

13   you    and    let    you       go    enjoy your                Friday    and       your       long

14   weekend,       and       thank       you       very much.

15                  I may       follow          up       with       some    additional

16   questions          for    particular                systems




18   I,    frankly,       have       to     read         the    transcript             to    process

19   everything          because          we    did       cover       a lot       of    data.           But

20   I do    really       appreciate                and    am grateful             for       you

21   making       the    time,       and       it    was       extremely          informative

22   and    helpful.

23                  So    have       a good          rest       of    your    weekend             and

24   enjoy.

25                  THE       WITNESS:              All    right.           Well,       thank       you.



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 1   Thank    you.        It    was       my pleasure,             and      you're           welcome.

 2   Have    a great       weekend.

 3                  MR.    GARRIE:              You,       too.

 4                  THE    WITNESS:              Okay.

 5                  MR.    GARRIE:              Thank       you.

 6                  Okay.           So    I read       the       judge's          transcript                and

 7   I did    read       the    orders.            I got         lucky       that       my    other

 8   hearing       this    morning          ended          two    and       a half       hours

 9   early.        I'm    not       nearly       as    lucky       now.

10                  The    question             I have       after          reading          it    and,

11   Counsel       Weaver,          to    your    point,          so    let       me    reiterate.

12   The    whole    purpose             here    is    to    determine             a very          narrow

13   issue,       right,       of    determining             the       nine       --    and       I'll

14   read    what    she       said;       right?           Page       29    of    the

15   transcript          says,       "Facebook's             portion          is       the    only

16   named plaintiffs.                    We're       only       talking          about       the

17   named    nine       now,       nine    named plaintiffs,                      which          is

18   fair.        That    the       only    data       that       is    discoverable                   is

19   that    which       Facebook          intends          is    shared          or    made

20   accessible;          and       if    Facebook          says       it   was        not    shared

21   or    made    accessible,             that       is    the    end       of    the       matter."

22                  MS.    WEAVER:              But    her       order       says       this;

23   right?        "Apart       from       the     court         not    having          limited

24   discovery       of    each          named    plaintiff's                data       to    only

25   data    Facebook          concedes          it    shared          with       third parties ,



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 1   the    court          finds          that     such       a limitation             is    not

 2   appropriate.                    As    the     court        previously         noted,          how

 3   Facebook          uses          the    data        it    collects          about       its    users

 4   is    an    open       question.                The      first     step      in    answering

 5   that       question             is    to     identify        the      data    it       collects

 6   about       its       users          and     specifically what                it       has

 7   collected             about          the    named        plaintiffs."

 8                     So       asking          Facebook         --

 9                     MR.       GARRIE:             I was       just      about       to    read    that

10   part       as    well,          but    thank         you    for    reading         it    into       the

11   record.

12                     MS.       WEAVER:             Good.

13                     MR.       GARRIE:             So      looking       at    her    order       and

14   the    additional                clarity           she     did    provide,         from       the

15   systems          we    just          heard      about,       I think         I --       I'm    going

16   to    read       the       transcript              --    maybe     15,     maybe        10,    maybe

17   less.           I think          of    them        all,     there's        probably           three

18   or    four       where          that       conversation,            you      know,       Facebook

19   may    need       to       go    back       and      give    further         clarification

20   or    answers.              I could           be     wrong.        I have         to    actually

21   read       it.        We    did       cover        149     systems.          So    I'm going          to

22   reserve          rights.

23                     But       I do       think         that    understanding

24   particularly                the       ones      around       --    well,      the       ones    he

25   couldn't          answer,             like      around       the      ad    networks,          around



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 1   the    very       large          data       warehouses          where       he    was       --    and

 2   the    concern             --    and    this       is    all    hypothetical.                    I'll

 3   just       be    very       clear       here.

 4                     It       sounds       like       Facebook          has    the    ability             to

 5   answer          the    questions.                 I want       to    do    this    in       an

 6   iterative,             reasonable             fashion where                it's    focused but

 7   reasonable,                and    resolves             how    the    judge       framed          the

 8   issue.

 9                     So       the    first       step,          from where          I'm    sitting,

10   is    to    go    from          149    to    a whole          lot    less;       and    then       from

11   the    whole          lot       less,       get    further          clarification                from

12   Facebook          about          what       those       systems       actually          do

13   because          it    sounds          like       to    me    some    of    these       systems

14   are    massive             data       warehouses             that    have    lots       of

15   databases             or    tables,          of    which       there       are

16   applications,                   that    basically             they build          an

17   application                and    then       they       access       the    table,          right,

18   and    they provision                   that       access.

19                     The       question          is,       to    get    access       to    that,

20   right,          Facebook          probably,             the    security          team,       has

21   some       way    of       tracking          who's       coming       inbound          to

22   Facebook          to       get    data       queries          for    those       particular

23   systems          that       have       user       data.        At    least       that's          what

24   I'm    thinking.                 I could          be    completely wrong                here,          but

25   I'm    trying          to       come    up    with       a simple          way    that       --


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 1   because          Facebook             already          has       to    secure          and       track       and

 2   monitor          to    make       sure          there's          not       unauthorized                access

 3   to    user       data.           So    there          has    to       be    some       sort       of    form

 4   or    function             of    logging             the    record          keeping          that's

 5   kept       somewhere             about          what       data       is    going          inbound       or

 6   outbound,             but       only       for       the    narrow          subset          of    systems

 7   as    the    judge          has       narrowed             and    clarified.

 8                     MS.       CLARK:              Mr.    Garrie,             you    know,          we    want

 9   to    do    everything                we     can      to    help       you       with       all       this

10   list,       obviously;                and       if    there       are       specific             sources

11   that       you    have          questions             about,          we    will       do    our       best

12   to    get    back          to    you       on    those       questions                as    quickly          as

13   we    can.

14                     What          I understand Mr.                      Pope       to    be    saying          is,

15   you    know,          how       quickly          a question                could       be    answered

16   would       depend          on    the       question             itself.              Some       are    a bit

17   more       complicated.                    Some       are    easier.              Some       of       them

18   his    point          of    contact             might       be    able       to       answer.           Some

19   of    them his             client          contact          might          need       to    go    to

20   various          other          people          to    answer.

21                     So       I think          we'll          just       need       to    understand

22   what       the    information                   is    you're          looking          for       and    for

23   which       source,             and    from          there       we    can       gauge       what       work

24   would       go    into          answering             the    questions.

25                     MR.       GARRIE:              Yeah.           And       what       I'm    trying          to



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 1   do    is    limit          the       work.

 2                        So    the       way    I envision            this         is    I'll       identify

 3   a subset             of    systems


I                                                                                    .     According             to

 5   him,       he'd       be    able       to    tell      me    what         data       could       be    --

 6


I                                                                                         , you       know,

 8   needs       to       be                                                         that       he    said

 9   was

10                                                                                                   So    my

11   goal       is    to       narrow       it    to     a subset           of      the    149,       get       the

12                                                                   after          counsel's

13   reviewed             them       to    make       sure,      then       use      that       to    better

14   understand                what       we're       talking        about.              Like    the

15   systems          he       had    no    idea       about,        hopefully             the

16                                                            sufficient                 amount       of

17   detail.

18                        And    then       from       there,        if     necessary,               I'll

19   follow up             with       additional            questions               again       using       the

20   way    the       judge          has    defined         what       is      in    scope       and       what

21   is    out       of    scope.

22                        MS.    CLARK:           I just         want       to      --

23                        MS.    MUMM:           Can     I clarify?

24                        Yeah.           Certainly we            will         follow       up       with

25   whatever             questions             you    have      and      do     our      best       to



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 1   answer     them,     but    it      is    not       our   understanding                    that

 2

 3   It's   just    a yes-or-no               question          as    to    whether             it    may

 4

 5   of   the   definition          of    user       data.

 6


I
I                                   And       then       the    next       level          is    --

 9                 MR.    GARRIE:             Well,       I think          he    said          that

10   they   also    identified.                I thought             that       was       the

11


N
13                 That's       why      I want          to    see    the

14   I couldn't      --       I wasn't         exactly          sure.           I'm       trying       to

15   make   this    as    seamless            as    possible         based           on    what

16   you've     already       done       because          it    sounds          like       to    me II




21                 MS.    MUMM:          Our       understanding                is    that       the

22   information         he   has     does         not    relate       to       what

23   in   the   sense     that      you       and    I would          talk       about          it,

24   but,   rather,       how    that


N                                                                                    ; right?



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 1   The    focus          is    very much             on     accomplishing                  that       end,

 2   but    then          --    but    again,          you       know,       I think          to    the

 3   extent          you       want    to    narrow           the      data,       we    can       work       with

 4   Mr.    Pope          and    identify             what       he    has.        We    just       don't

 5   want       --    we       don't       want       to,     you      know,       set       expectations

 6   that       are       not    in    line       with        what      we    understand                the

 7

 8                        MS.    CLARK:           My understanding                      of    the

 9                        MR.    GARRIE:              Yeah.

10                        MS.    CLARK:           --    process.

11                        MR.    GARRIE:

                                                                               All       I'm       trying          to

13   do    is    avoid          having       to       talk       to    a hundred             --    like,

14   I'm    already             convinced             I don't          have    to       talk       to    more

15   than       like       15    or    18    people,             but    what       I'd       like       to    do

16   is    talk       to       two    or    three        or      follow       up    with          just       a

17   handful          of       people       rather          than       have    an       extensive

18   back-and-forth                   attempt          at     spreadsheets               again.

19                        I'd    rather          just       see       what's       been       done

20   because          what       I'm       not    trying          to    do    is    make          Facebook

21   go    and       do    a bunch more                work       to    just       answer          my

22   question             about       what       --    to     answer         the    judge's

23   question,             frankly,          which          is    pretty       salient,             which          is

24   what       --    and       I just       need        to      think       about       --       I got       to

25   review          the       transcript,             see       again       what       the       judge



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 1   ordered,          and    then       ultimately                narrow       it    down       to       a

 2   subset       of    systems          for       them       either       to    request

 3   Facebook          to    provide          that       information             about          it

 4   because       the       judge       is    pretty          --    the    order          is    now much

 5   clearer       from what             it    was;        right?          There's          no       --

 6   she's    removed             a lot       of    the       ambiguity          there,          and       then

 7   get    that       information,                and     that's         how    I think             I'd

 8   like    to    proceed.

 9                     If    I can       get       a rough          of    the    transcript.                    I

10   don't    need          a final       rush.            A rough         is    more       than

11   enough       just       to    look       at    it,       to    go    through          it.        And

12   then    I will          likely       issue          --    we    have       a status

13   hearing.           So    maybe       I'll        do      it    there       or    I'll       issue          a

14   supplemental             order.           Hopefully we                can       just       do    it      at

15   the    status          hearing       accordingly                to    move       it    forward

16   to    just    get       that    done          based       on    the    judge's

17   direction.

18                     I do       like    the       idea       of    a status          hearing.                 I

19   do    like    that.

20                     MS.    CLARK:           Thank          you.        And    we    appreciate

21   your    scheduling             that.

22                     MR.    GARRIE:              Counsel          Weaver?

23                     MS.    WEAVER:              Thank       you.        I apologize.

24                     We,    plaintiffs,                would       like       the    opportunity

25   to    review       the       transcript             ourselves          and       have       our



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 1   experts          review          it    before       you       issue       a final       ruling;

 2   and    if    you       could          build    in       a procedure             for    that,       we'd

 3   be    grateful.

 4                     We    haven't          had       an    opportunity             to    weigh       in

 5   yet    on    any       of    the       declarations                that    have       been

 6   submitted          or       any       assertions             that    are       being    made       by

 7   Mr.    Pope       or    there          are    other          folks       who    put    in

 8   declarations                as    well.

 9                     So    we       would       request          an    opportunity             to,    at

10   least,       weigh          in    on    these       data       sources          and    what       we

11   think       they       reveal          before       you       issue       a final       ruling.

12                     MR.       GARRIE:           Okay.           So    noted       for    the

13   record.

14                     MS.       MUMM:        And       just       to    clarify,          I don't

15   have    the       protective             order          in    front       of    me,    but    I

16   think       that       there's          some       limitation             on    the    ability          of

17   experts          who    are       being       disclosed             at    this    time,       but       I

18   don't       have       it    in       front    of       me.

19                     MR.       GARRIE:           Wait.           Wait.        Time-out.

20   Time-out.

21                     I don't             want    --    I assume             everybody's

22   experts          are    following             all       the    rules       that       the    parties

23   have    set       forth          and    required             and    defined       as;       and    if

24   there       is    any       indication             that       hasn't       been       the    case,

25   feel    free       to       raise       the    issue          separately.



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 1                  I will          take       your     issue,         Counsel          Weaver,

 2   under       advisement          and       think       about       it.        I just          want       to

 3   read    the    rough       transcript,                read    her       order       again,

 4   read    the    transcript              again,         and    then       come       up    with          a

 5   game    plan       and    roadmap          that's       actually             feasible

 6   because       she       issued       three       or    four       --    four       orders.

 7   So    I'm    trying       to    do     all    of      that    and       move       it    all

 8   along.

 9                  So       that's       kind     of      where       my    headspace             is.

10   I'm    not    opposed          to    hearing          from your             experts          or

11   having       them weigh             in.      I just         want       to    make       it    in       a

12   methodical          way    so       you    don't       have       to    do    it    more          than

13   once    and    Facebook             doesn't        have      to    respond more                   than

14   once.        I'd    rather          get    forward          until       that       point.

15                  And       then       rather       than       issuing          a formal

16   order,       can    you    ask       Mr.     Pope      for

                                                                                 that    he       sent

18   out    and    just       circulate           it?

19                  MS.       CLARK:           My understanding,                   and       Ms.       Mumm

20   can    chime       in    a little          more       here,       is    that       there          is

21




23                  MS.       MUMM:        Right.           That's          what    he       said

24   during       his    questioning              and      that    was       our

25   understanding.



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 1                  So    if       you    can     specify            the       systems          you're

 2   interested          in,


I

 4                  MR.       GARRIE:           Okay.           And       what       about       just

 5   what    user    --       I mean,        he      had       to    use       the    same

 6   definition          of    user       data.

 7                  MS.       MUMM:        We     can       follow         up    with          that.        I

 8   think    that       that       might       be     --

 9                  MS.       WEAVER:           One       --

10                  MR.       GARRIE:           Because             if    it    turns          out    --

11                  MS.       WEAVER:           Go     ahead.

12                  MR.       GARRIE:           Go     ahead,            Counsel          Weaver.

13                  MS.       WEAVER:           One       question             that       we    on    the

14   plaintiffs'          side       had     is      the       timing          for    these          data

15   sources.        It       sounded        as      though          the       testimony             that

16   came    in    today,          that     this       list         was    prepared             maybe       a

17   year    ago    and       we    don't       know        its      scope.           Certainly

18   our    class    period          began        in      2007.           I don't          know       if

19   this    is    what       was    prepared             and       if    it    was       a year       ago,

20   whenever       it    was,       but     it      is     a question               to    be

21   answered.

22                  Are       there       other        data         sources          that       are    not

23   active       that    might          contain          older          data    for       some       of    the

24   plaintiffs?              I just       don't          know because                this       was       not

25   collected       for       this       case.           It    was       collected             for



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 1   another       purpose.

 2                     MR.    GARRIE:            No.       I agree.           It's       noted             for

 3   the    record.

 4                     Counsel          Mumm,     did      you       want    to    respond?

 5                     MS.    MUMM:        Yeah.           I'll       just    note       for          the

 6   record       that       our    ESI    protocol             indicates          that       we're

 7   not    required          to    collect          or    produce          some       off-line

 8   statements          questions.

 9                     MR.    GARRIE:            Noted         for    the    record          and       not

10   lost    on    the       special       master.

11                     The    other       question             I had    is    I got          your

12   post,    Counsel             Kutscher        Clark,         and    I just          want          to

13   make    sure.           The                                                                  i



14   you're       going       to    start        producing            the    report;          right?

15   I just       --    your       counsel,          Alex.           I forget          his    last

16   name.        Counsel          Alex     is    in      the    process          of    reviewing                a

17   report       for    privilege,              but      there       will    be       a rolling

18   production          starting          when        exactly?             I didn't          see          a

19   date.

20                     MS.    CLARK:           I'm     sorry.          I misunderstood.

21   You    were       referring          to     Alex      Cadwell.

22                     We're       working        on      it    currently          and       we       expect

23   we    will    start          the    production             next    week.           We're          in

24   the    process          to    get    them       collected          and       into       the

25   database,          but       that    is     all      underway          and    the       wheels



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 1   are    in       motion    and       they       should     start         going        out    the

 2   door       next       week.

 3                     MR.    GARRIE:           Okay.        And       I have        no    problem

 4   with       the    reconsideration.                 That's          fine.         I will

 5   respond          to    plaintiffs'             request       to    be     heard       on    their

 6   motion          for    reconsideration.

 7                     Any    other       issues       plaintiffs              or    Facebook

 8   want       to    raise?        And    I declare           an      impasse.            Well,

 9   spoke       to    Judge       Andler       and    we    moved        that       along       as

10   well.           I posted       that,       I believe,             yesterday           or    this

11   morning          or    I emailed          at    some    point        the       impasse          on

12   those       two       issues.

13                     So,    I guess,          Plaintiffs,             anything           you'd

14   like       to    cover    since       I have       everybody              here?

15                     MS.    WEAVER:           I think        that's          it.        Just       to    be

16   clear,          it's    not    so    much       responding           to    the       motion          for

17   reconsideration                as    to    have    an     opportunity                to    weigh

18   in    on    the       collection          of    data    sources           and    in       light       of

19   Judge       Corley's          order       what's       within        the       scope       of

20   discovery.

21                     MR.    GARRIE:           Yeah.        I fully           --    yeah.           I

22   understand.

23                     MS.    WEAVER:           All    right.

24                     MR.    GARRIE:           Counsel        for      Facebook?

25                     MS.    CLARK:           I think       we     are      all     set.        Thank



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 1   you.

 2                MR.   GARRIE:       All    right.         We'll      go   off    the

 3   record.

 4                                          * * *




 5        (Whereupon,     the    hearing       ended       at   3:21    p.m.      PST)

 6

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 1                         CERTIFICATION                OF    COURT     REPORTER

 2                                              FEDERAL       JURAT

 3

 4                     I,       the    undersigned,              a Certified          Shorthand

 5   Reporter         of    the       State       of    California        do    hereby

 6   certify:

 7                     That          the    foregoing          proceedings        were       taken

 8   before      me    at       the    time       and    place     herein       set    forth;

 9   that    any      witnesses             in    the    foregoing        proceedings,

10   prior      to    testifying,                were    placed        under    oath;    that       a

11   verbatim         record          of    the    proceedings           was    made    by   me

12   using      machine          shorthand             which     was    thereafter

13   transcribed            under          my    direction;        further,       that       the

14   foregoing         is       an    accurate          transcription           thereof.           I

15   further         certify          that       I am    neither        financially

16   interested            in    the       action       nor    a relative        or    employee

17   of   any    attorney             of    any    of    the     parties.

18                     IN       WITNESS          WHEREOF,        I have    this       date

19   subscribed            my    name:           Date:        January     25,    2022.

20

21

22

23

24                     Michelle             Milan       Fulmer

25                     CSR       6942,          RPR,    CRR,     CRC



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              Exhibit J
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GIBSON DUNN
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   January 6, 2022                                                                                                     Fax: +1 212.817.9504
                                                                                                                       LMumm@gibsondunn.com



   VIA JAMS ACCESS




   Re:    In re Facebook, Inc. Consumer Privacy User Prcfile Litigation, 3:18-md-02843

   Dear Special Master Garrie:

   Pursuant to the Special Master's Amended Order re: Plaintiffs' Motion to Compel Production of
   Plaintiff Data, Facebook has enclosed adocument containing descriptions of the 149 data
   systems identified in the Declaration of David Pope as storing or interacting with user data.
   Consistent with the Special Master's Orders and statements on the record, the descriptions
   Facebook is providing consist of existing materials prepared by Mr. Pope's team in the course of
   its work, which was unrelated to this or any litigation.

   Facebook has not identified additional existing, readily accessible materials identifying (1) "a
   description of the types of Named Plaintiff data contained" in each data system; or (2) the "most
   common functions and purpose" of each data system or "the business units, divisions, or groups"
   that use the systems. Where Facebook has not been able to provide additional data, Facebook
   has provided an explanation as to "why this information is not readily accessible," as required by
   the Order.

   Facebook is providing this information pursuant and sutject to the terms of the Protective Order
   that was negotiated by the parties and entered by the Court in this action and has marked this
   submission Highly Confidential —Attorneys' Eyes Only. These confidential materials are being
   submitted pursuant to the Special Master's Order for use only in connection with the parties'
   dispute as to the production of data relating to the Named Plaintiffs, and without prejudice to
   Facebook's rights and privileges.

   The Special Master has also ordered Facebook to make Mr. Pope available ex parte on or before
   January 14, 2022. Mr. Pope is available from noon PT to 1pm PT on January 14, 2022.

          Respectfully submitted,

          /s/ Laura C. Mumm

          Laura C. Mumm




           Beijing •Brussels •Century City •Dallas •Denver •Dubai •Frankfurt •Hong Kong •Houston •London •Los Angeles •Munich
                    New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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GIBSON DUNN

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  cc:   Lesley E. Weaver

         Derek W. Loeser



  Enclosure
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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                               Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data S stem Name                                              Hi h-Level Descri .tion of Data S stem                                                     Ex .lanation for WI,   Additional Information Is Not Readi      Available                                                       the S stem



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                              contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                              information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                     As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations—
                                                                                                                                                     responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                     purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                     use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                         (the DYI tool
                                                                                                                                                                                                                                                            retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       Files with salted and hashed Facebook users' Pll are stored in this data store. The data store is used by would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                                                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                              contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                              information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                     As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                     responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                     purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                     use the data system"—in the course of its prior efforts to inventory its data systems. Facebook =                                                                                            (the DYI tool
                                                                                                                                                                                                                                                                retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                                types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                                and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       This is used in the delivery flow for targeting, ranking features, and as information for front-end to        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       display. The social system is not, however, ageneral purpose system Hke                — tis only for ads.    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Thus, all objects returned are being actively targeted by an ad.                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                              contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                              information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                     As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                     responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                     purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                     use the data system"—in the course of its prior efforts to inventory its data systems. Facebook =                                                                                             the DYI tool
                                       -           is areal-time service that performs ajoin between different event streams and features.                                                                                                                      retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                       -           is the core                                                                                                                                                                                                  types of user data are contained within each data system and whether an individual user's data could
                                       of the training data preparation flow. It is arealdme joiner of ads events to prepare training data for ads              and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       ranking                                                                                                       would be disproportionate to the needs of this case, as Plaintiffs' request to identity "all" user data is
                                       models. The ads events include features, impressions, clicks, conversions, and (mainly) negative-             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       feedback events,                                                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                            Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                     Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                           The Special Masters Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       It is the backbone for the Core Ads system not only just Ads buying but also other                         would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       critical consumers of the                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
             (MySQL)                               etc.                                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook =                                                                                            (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                         is aset of components that together form the plafform storage layer in                                                                                                                              types of user data are contained within each data system and whether an individual user's data could
                                       system to provide                                                                                                     and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       distributed file system storage. As acommon platform layer, this is used by multiple teams across Ads      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       org for various                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       business applications for data storage needs,                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                       Akl<io Locality is used to improve latencies and reduce replicas for usecases across different datastores,                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                       We do this by                                                                                                        ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       tracking which regions each ushard is being accessed from and limit the replicas for each ushard to        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       three (or some                                                                                             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Akkio                                  configurable) number of regions.                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                             and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Serves ad-side and user-side features for AdFinder, AdPublisher, Prospector, FBShops                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                            Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                    Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                           The Special Masters Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       The internal metadata is in MySql and follows general MySql backup flow,                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook =                                                                                            (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                is Facebook's end-to-end distributed tracing system that provides observability into the                                                                                                                     types of user data are contained within each data system and whether an individual user's data could
                                       execution of requests.                                                                                                and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       We support traces across systems (web, mobile, and services) and provide ageneral purpose platform         would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       for near-real time                                                                                         not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       analysis,                                                                                                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                           (the DYI tool
                                                                                                                                                                                                                                                           retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                   provides a                                                                                                                                                                                              types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                           and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       These can be facts implicitly learned from other places in Facebook -user profile, Messenger chats, etc, would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       or explicitly                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       provided by the user to the           as part of adialog.                                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       M      is not really adata store per se, it is aplatform that allows users to schedule jobs, mostly from   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       code, to be                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       executed outside of the path of arequest, thus asynchronously.                                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                           Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                                High-Level Description of Data System                                                 Explanation for Why Additional Information Is Not Readily Available                                                            the System



                                                                                                                                                                                                                                                          The Special Masters Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                          information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                 As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                 responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                 purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                 use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                            retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Storing application data for the       app (which is azero to one= app that provides asocial rapping      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       experience)                                                                                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                          information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                 As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                 responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                 purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                 use the data system"—in the course of its prior efforts to inventory its data systems. Facebook =                                                                                              he DYI tool
                                                                                                                                                                                                                                                            retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       To identify the user, provide scores/leaderboard, connect players to other players, and provide analytics not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       data,                                                                                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                               is asnapshot and shadow testing framework used for functional, correctness and performance        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       testing of Spark, Hive and Presto,                                                                        identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       It is used to query and analyze internal data, produce visuals of analyses and share them with others,    identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                          Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                   Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                         The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
BigBox VR (NSA)                        A system that provides game player and play data support,                                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                                                                                                                        types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                        and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                               is the service which manages the persistent storage of messages for Facebook Messenger. It is would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       the successor of              and was created in order to migrate from            reliance on HBase not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       as the backing store to MySQL with the           storage engine,                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                          ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                               is the project to use the Presto engine as the backend for Atlas Reporting.                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                            is ateam withinMiedicated to the performance and delivery of media content of all                   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Facebook products such as Facebook, Instagram, WhatsApp, Oculus and more,                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                                  Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                              High-Level Description of Data System                                                         Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                                 The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                is adistributed scheduler for cron-Ike jobs (aka bash commands)                                         identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                                 The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                                 contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                        As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                                                   and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                               is an inventory estimation used to estimate the number of users that can be reached given one            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       or more targeting criteria. It is mainly used by advertisers trying to target their ads to the right audience,   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                                 The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                  ,and collechng and vetting further detail about each system would require asimilar effort that be identified within that data
                                                                                                                                                        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Serves Facebook use cases for user       entity features and scores                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                                 The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                                 contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                                   and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Powers the          application,        sastandalone app for creating music video content                        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       collaboratively. The data stored in our system is mostly user data (e.g. posts, comments, etc).                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                        Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Provide tools and storage to author , test and distribute configuration data                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                               contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                 and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Provide automated testing of FB developed hardware                                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                               contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                 is used to store contributors and contains data keyed off of the     not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                              )that allows for real-time attribution,                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                               contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                 and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       M      is adigital asset management (DAM) tool, sometimes just referred to as aDAM. Properly   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       speaking aDAM is adigital tool for asset management                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                          Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                  Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                                                                                                                                           types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                           and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                              provides efficient disk-based sort-merge for warehouse queries at FB scale.                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                           and collecting and vetting further detail about each system would require asimilar effort that be identified within that data
                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                              is an in-memory reattime analytics database that enables users to execute sub-second              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       moderately complex SQL queries on tables up to                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                         information are not meaningfully different than identifying any specific data relating to aNamed
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                                                                                                                                                responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                           retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                           types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                           and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                        is afault tolerant scalable workflow solution, designed to let people   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       specify aseries of steps to be followed and then ensuring the steps lead to an expected conclusion,      identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                 is an interactive tool for querying multiple data sources at Facebook                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                          Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                           High-Level Description of Data System                                                    Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                      Ms the backend platform that Ads Products use to build "Audience Segments".                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       ter 0backups needed to recover critical infra & network                                                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Dataswarm is adata pipeline platform. A data pipeline is aset of data processing operations, where the   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Dataswarm (Gluster FS)                 output of one operation is the input of the next one,                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                         contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                           and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       WhatsApp's Deletion Service                                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                             Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                      Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                           The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                               retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                               types of user data are contained within each data system and whether an individual user's data could
                                       The                      is an abstraction in our www codebase for reliably deleting data graphs from                   and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       online data stores and being able to recover efficiently from errant deletions if they're discovered quickly would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       enough. It's our main system used to satisfy our User Data Deletion Policy for data stores which support not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       point deletes.                                                                                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Generate signals tram ad delivery that can be used to provide advertiser guidance                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       It is aCore Systems infra service which allows other infra/product teams build dependencies between        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       FOQS queue items,                                                                                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                               is amySQL database that runs on adevelopers devserver,                                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                            Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                     Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                          The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       The DevOps Investigations team tackles various data-abuse related escalations and instances, ranging      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       from                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                                                         from the FB platform                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                                                                                                                            types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                                            is acompute engine for large-scale graph analytics,                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Downpour Interactive (MBA)             User accounts game player data for Onward from Downpour                                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                is asimple, reliable, low dependency object storage system, with only four high-level operations: not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       put, get, delete, and list                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                           Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                     Explanation for Why Additional Information Is Not Readily Available                                                            the System



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                                                                                                                                                        and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                             (Novi) is afast scalable eventually consistent pointpending
                                                                                                             -in-time structured storage for not relevant to any          claims or defenses and the vast majority of such data could not readily be
                        (Novi)         Novi /F2 risk and compliance assessments                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                           ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       The                                   Team is focused on delivering scalable storage solutions to support not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       the applications and virtualization environment that run the internal business at Facebook,               identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                          The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                          contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Index database focused on low latency search. Primarily an open source project being supported at         not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Facebook,                                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                 As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                                 responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                 purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that This is one of the various databases that powers the Social Graph. Facebook produced each
                                                                                                                                                 use the data system"—in the course of its prior efforts to inventory its data systems. Facebook= Named Plaintiff's DYI file, which for each individual user represents the most complete and best
                                                                                                                                                                                                                                                            compilation of data Facebook maintains associated with that user, and the best available compilation
                                                                                                                                                                                                                                                            of the data about that user in the Social Graph, in ahuman readable form,
                                                                                                                                                            and collecting and vetting further detail about each system would require asimilar effort that
                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                  provides durable, DR compliant, and highly available online storage. Vie aim to provide        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       solutions to some of the hardest distributed storage problems in the industry at scale,                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                              Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                      Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                             The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                    As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                                    would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
F3                                     The Facebook Feature Framework (F3) is Facebook's next generation feature engineering platform.              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                       Its (aka Generic Iris) is apersistent queue service that guarantees in-order delivery to either devices or   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
            MySQL)                     bookend services,                                                                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                               is atop-level directory of the               uhere our backend services code lives. It is a          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       federation of projects, written in anumber of languages.                                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                       Enables all Facebook engineers to build Al applications and perform Al researches by providing                         ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       scalable, reliable, efficient, easy4o-use and compliant Al services that power all parts of Al workflow,     would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       from feature engineering, to training, to inferencing, during both experimentation and model                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
FBLearneri Al Infra                    productionization.                                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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                                       M     is asystem built to                                            over MQTT as transport.                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                                                                                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



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                                                                                                                                                    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       M     is Facebook's scalable binary distribution system,                                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                       FOOS powers the             Tier for job processing. It provides anumber of features important to that use   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       case including prioritization of items, alease expiry for items in the queue, and explicit timing for when   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
FOOS                                   an item in the queue is ready for processing.                                                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                                                                                                                                    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Keeping the= app                 running (https://apps.apple.com/us/app/id1509378877)                        identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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                                                                                                                                                           ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                  is an eventually consistent key-value data store fully implemented in Erlang and designed to   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       run within WA infrastructure. It can run embedded within the bookend itself or as aremote tier managed    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       by             team.                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                 would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       M     provides tooling to support external research initiatives.  tooling primarily consists of a         not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       customized JupyterHub deployment that provides restricted access toM datasets,                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       For teams to track goals information (objectives outcomes metrics for how to measure success)             identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                 As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                                 responsive to the Special Master's Order—including descriptions of the "most common functions and
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                                                                                                                                                 use the data system"—in the course of its prior efforts to inventory its data systems. Facebook
                                                                                                                                                                                                                                                            As Facebook has disclosed previously, Hive stores millions of data sets that it uses for internal
                                                                                                                                                                                                                                                            analytics, product development, and other business functions. As discussed in detail in the
                                       "Hive" refers to several separate systems at Facebook:                                                               and collecting and vetting further detail about each system would require asimilar effort that Declaration of Mengge Ji
                                       Hive Tables: Also called Data Warehouse, Hive Query Engine (also called Corona): An engine that           would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       executes queries written in FB-HiveQL, and Hive Query Language (HiveQL): A query language data            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Hive                                   analysis.                                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                 is adata store used to store offline data for analysis                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                       Storing user data to deliver alive streaming O&A type of expenence for astand alone product,               identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                       A general purpose key-value storage solution that can handle high write traffic and store huge data in a   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       highly efficient way,                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       M   is aresilient plain-teat chat protocol widely used by our engineering teams,                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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                                             is an end-to-end solution for location-anchored content discovery for World AR. At the core is Geo not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Indexing acomponent for retrieving content based on lat/long positions and 2D polygons.                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



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                                                                                                                                                  responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=
                                                                                                                                                                                                                                                                                                                                              determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Laser is aservice that indexes data in Hive and         to provide high throughput, low latency lookup.    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Laser                                  Use this for indexing warehouse data,                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                  purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
                                                                                                                                                  use the data system"—in the course of its prior efforts to inventory its data systems. Facebook=                                                                                             (the DYI tool
                                                                                                                                                                                                                                                             retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       =    is ahostname-scheme that exists to run Logtailer Servers.Mre designed to be spread thinly             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       across racks to allow that Logtailers can always be allocated in the different racks as the MySQL          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
.   (MySQL)                            instances they are tailing from,                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       =    is ahostname-scheme that exists to run Logtailer Seivers             is asystem within this           would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       framework, =        are designed to be spread thinly across racks to allow that Logtailers can always be   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
=       (MySQL)                        allocated in the different racks as the MySQL instances they are tailing from,                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                         Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                  Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                        The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                        information are not meaningfully different than identifying any specific data relating to aNamed
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                                                                                                                                                                                                                                                          types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                         ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       M   is afast in-memory storage of all our action/object ranking data.      stores action metadata,      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       keyed on actor ID.                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                          types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                          and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       =     is an in-memory cache for actions and objects. More accurately, it is ameta-data cache since it   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       doesn't actually store any physical objects such as photos or posts,                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Reviewing Content that Governments think should get taken down form FB or IC                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                        contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Live streaming Infra,                                                                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                            Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                    Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                           The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be                                                                                                     an
                                       Deliver ice video to viewers                                                                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook,            ongoing moving target. given that the data in many of these data systems is not static.



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                           information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                  As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Transcode live video with high quality efficiently, reliably and low latency,                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                                  not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Provide acache for resources available internally at facebook                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                           The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                           contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                                                                                                                             types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                            ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                  would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                is anew experience to enable reliable realtime storage and efficient search and   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       retrieval for unstructured logging data generated by all applications across Facebook,                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                               Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                      Explanation for Why Additional Information Is Not Readily Available                                                              the System



                                                                                                                                                                                                                                                             The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                   As discussed in the Declaration of David Pope, Facebook has not previously compiled information           Plaintiff within each system, because—as discussed in the Ji and Pope
                                                                                                                                                   responsive to the Spode! Master's Order—including descriptions of the "most common functions and
                                                                                                                                                   purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
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                                                                                                                                                                                                                                                                 types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                                ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                   is adistributed data store for sequential data. It offers high durability and availability under a not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       variety of workloads and failure scenarios,                                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                             contains data related to aspecific Named Plaintiff. The burdens associated with providing that
                                                                                                                                                                                                                                                             information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                   As discussed in the Declaration of David Pope, Facebook has not previously compiled information           Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                                                                                                                                              retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                              types of user data are contained within each data system and whether an individual user's data could
                                                                 abstracts away the complexities of using dictionary-based compression. It does               and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       all the required state management internally (sampling, training, benchmarking, distributing, versioning,   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       garbage collecting, etc.), exposing the same, simple, stateless interface you expect to see from a          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       compression algorithm.                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                   As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                                   responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                                   purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that This is one of the various databases that powers the Social Graph. Facebook produced each
                                                                                                                                                   use the data system"—in the course of its prior efforts to inventory its data systems. Facebook= Named Plaintiff's DYI file, which for each individual user represents the most complete and best
                                                                                                                                                                                                                                                              compilation of data Facebook maintains associated with that user, and the best available compilation
                                                                                                                                                                                                                                                              of the data about that user in the Social Graph, in ahuman readable form.
                                                                                                                                                             ,and collecting and vetting further detail about each system would require asimilar effort that
                                                                                                                                                   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                               is amanaged horizontally scalable BLOB storage service accessible via Thrift and HTTP. It is        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       analogous to Amazon 53.                                                                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                              types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                              and collecting and vetting further detail about each system would require asimilar effort that be identified within that data.
                                       Memcache refers to our implementation of memcached, along with its associated client libraries and          would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       APIs. Memcache was initially deployed as adistributed in-memory caching layer between the web tier          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Memcache                               and MySOL                                                                                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                        Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                 Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                                        ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Managing metadata for Data Warehouse                                                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                       The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                         and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                  is the next-generation mercurial-compatible version control server (to scale our monorepo   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       setup)                                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                       The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                         types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                        ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       A thrift service that composites audio and video streams and connects RTC infra with Live Infra,       identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                              As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                              responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                              purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that This is one of the various databases that powers the Social Graph. Facebook produced each
                                                                                                                                              use the data system"—in the course of its prior efforts to inventory its data systems. Facebook= Named Plaintiff's DYI file, which for each individual user represents the most complete and best
                                                                                                                                                                                                                                                         compilation of data Facebook maintains associated with that user, and the best available compilation
                                                                                                                                                                                                                                                         of the data about that user in the Social Graph, in ahuman readable form,
                                                                                                                                                         and collecting and vetting further detail about each system would require asimilar effort that
                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       The MySQL team works to keep all MySQL databases up and running 2407, We also handle the               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
MySCIL                                 lifecycle of database assets, and various services to support MySQL at scale,                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook.




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
              Data System Name                                       High-Level Description of Data System                                          Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                                                                                                                                 retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
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                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Small entrepreneurial teams building standalone app experiments,                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Novi                                   Novi                              is aqueueing system storing user data,                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
0   .ff Iff                            Logging for understanding user interactions on Explore Store and other Oculus surfaces         identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Storing offline messages                                                                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                               Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                              High-Level Description of Data System                                                      Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                              The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                                types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                                and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       M allows you to focus on the problem of "storing/reading afew bytes" at abasic level. It provides the         would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       user writing the data with the flexibility to store the bytes on the storage systems of their choice, while   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       solving the reader's "where do Iget that data" problem.                                                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                                              information are not meaningfully different than identifying any specific data relating to aNamed
                                                                                                                                                     As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                                     responsive to the Special Master's Order—including descriptions of the "most common functions and
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                                                                                                                                                                                                                                                                types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                                and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                  is adata storage and sync service, which supports periodic polling as well as real time            would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       updates to the Facebook family of apps. Today, it powers various product features such as Messenger           not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Contacts, Messenger Stories, Mobile Corrfig etc.                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                                     would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Used for Lift and allows for areal-time join between                                                          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       opportunities (as well as some impression and click data) to conversions,                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                              The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                              contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                     would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                contains historical transaction data, primarily from the time frame of 2009-2014, that is            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
         (MySQL)                       generally unused,                                                                                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                       Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                           High-Level Description of Data System                                                  Explanation for Why Additional Information Is Not Readily Available                                                            the System



                                                                                                                                                                                                                                                      The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                        and collecting and vetting further detail about each system would require asimilar effort that be identified within that data, -
                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                 teams are part of the Facebook Financial (F2) Org and power all           across all        not relevant to any pending claims or defenses and the vast majority of such data could not readily be
           MySQL)                      products and family of apps,                                                                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                      The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       supporting         users throughout the company,                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                      The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                      contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
         (Views   te)                  Cache for the newsfeed data                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                      The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Root cause analysis for metric movements (ex: Why did Facebook DAP go down between today and 7 not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       days ago?)                                                                                     identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                        Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                 is astorage service ontop o1            designed to store user side features,        identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                               contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Power user presence (green dot) for Facebook, Instagram and Messenger users,                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                               contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                              is aafully managed general purpose Stream Processing as aservice solution (i.e.         not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       real-time data-processing).                                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       It is used to load realtime data into our leaf machines                                        identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                      Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
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                                                                                                                                            would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Aggregation of call logs of different types by client session (i.e. one call connection) and call,   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                     The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                     contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Stores user interaction with the feed(i.e. all the stories user has seen)                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                     The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Ready at Dawn (M&A)                    Ready at Dawn is avideo game studio acquired by Facebook.                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                     The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                  is adata pipeline used for payment reconciliation                                         identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                         Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                   Explanation for Why Additional Information Is Not Readily Available                                                            the System



                                                                                                                                                                                                                                                        The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                       provides network attached data volumes to compute nodes, allowing services to scale not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       compute and storage needs independently.                                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       To store long-term research artifacts submitted by UX Researchers for easy discovery,                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                        contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                 is apersistent key-value store library which can be used by anyone to store data on disk,     identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                    is aresearch /experimentation to do self-supervised teaming on copy of production data     identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                             Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                     Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                            The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                             ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                       M      is adistributed, buffered, named pipe that serves as the entry point to most of the data ingestion   would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       pipelines at                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Facebook,                                                                                                   identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                            The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       The         Ul is atool for interactively querying and visuafizing data without writing SQL,                identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                            The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Blob Storage System ton storing backups of other systems in secure environment                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                            The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                            contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                                   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       asystem to allow agents (humans and hots) to chat with customers                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                         Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                           High-Level Description of Data System                                                   Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                        The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Performance and Efficiency regression NB testing plartform.                                             identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                        contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                          would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       SFTP is aservice provided by the EPI team that allows Facebook to exchange data within the company not relevant to any pending claims or defenses and the vast majority of such data could not readily be
SFTP                                   and also with external vendors,                                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                 is aservice that captures all incoming traffic on aMySQL instance and replays it on another   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       test MySQL instance in real time.                                                                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Run batch data processing jobs over msgdb                                                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                     Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                              Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                           not relevant to any pending claims or defenses and the vast majority of such data could not readily be
        (Novi)                         We store user's balance and transactions for the Novi wallet,                                       identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                    The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                    contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                           not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       candidate generation for recommendation ranking system                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                    The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                    contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                           As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
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                                                                                                                                           purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
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                                                                                                                                                                                                                                                      retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
                                                                                                                                                                                                                                                      types of user data are contained within each data system and whether an individual user's data could
                                                                                                                                                      and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                           would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                              is an application developer review tool meant to investigate cases where app dens could be   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       misusing user data,                                                                                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                    The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                           not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       M     is ageneral purpose Stream Processing library (i.e. real-time data-processing).               identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                          Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                    Explanation for Why Additional Information Is Not Readily Available                                                            the System



                                                                                                                                                                                                                                                         The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Openstack= is an object storage service being provided by th INteam. Currently it is                     not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       aimed to be alow cost solution for archival worldoads such as backups and data warehousing,              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                 is adistributed transactional storage system designed to give full composability across data   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       structures, transactions, and storage encoding,                                                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Tableau Server                         Tableau is abusiness intelligence tool used to create charts graphs and other visualizations,            identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                         The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                          and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                    is aspecial variant of now deprecated M    created as part of an effort to would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       consolidate the non-replicated FQDB offering to core-data. SRS has two independent instances for feed not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       tracking data and featuredb storage,                                                                    identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                         Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                  Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                                         ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data
                                       =    can be seen as real-time counter service. It keeps statistics about streams of events, such        would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       as counts, unique counts, quantiles (percentiles), mean, and top elements, and it allows dynamic time   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       window queries in real-time,                                                                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                      is areal-time counter service for high volumes of data,                                  identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                               As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                               responsive to the Special Master's Order—including descriptions of the "most common functions and
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                                                                                                                                               use the data system"—in the course of its prior efforts to inventory its data systems. Facebook= Named Plaintiff's DYI file, which for each individual user represents the most complete and best
                                                                                                                                                                                                                                                          compilation of data Facebook maintains associated with that user, and the best available compilation
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                                                                                                                                                          and collecting and vetting further detail about each system would require asimilar effort that
                                                                                                                                               would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       TAO is ahigh-performance service for storing, caching, and querying the graph of FBObjects and          not relevant to any pending claims or defenses and the vast majority of such data could not readily be
TAO                                    associations,                                                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                        The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                               not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Internal tool maintained by Global security to protect Facebook, executives and assets,                 identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                       Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                           High-Level Description of Data System                                                 Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                    is abackend system that persists all actions by users and pages and indexes them         not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       chronologically.                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                      The Special Master's Amended Order asks Facebook to determine whether each data system
                                                                                                                                                                                                                                                      contains data related to aspecific Named Plaintiff. The burdens associated with providing that
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                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                           is aplatform that leverages distributed tracing      to collect   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       service performance metrics and dependency context on aper-request basis across FB infrastructure.    identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                      The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                         samanaged deployment system for internal backend services,                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                             As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                             responsive to the Special Master's Order—including descriptions of the "most common functions and
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                                                                                                                                             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       =    is abacking database for TAO for user data,                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook.




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                              Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                             High-Level Description of Data System                                                      Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                                                                                                                                    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
           (MySQL)                                 is agrouping of dbtypes that are used for testing.                                               identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                    not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                             is alow-latency, high-availability, key-value storage system for user data,                            identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                    would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       Provide human readable understanding of user interests that are used to improve personalization in           not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       various user facing products.                                                                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                             The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                    would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                         is atax application used for tax calculation for all FB products (Digital, Ads, Services   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       and Hardware) globally.                                                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                       Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
          Data System Name                                            High-Level Description of Data System                                                Explanation for Why Additional Information Is Not Readily Available                                                             the System



                                                                                                                                                                                                                                                      The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                             As discussed in the Declaration of David Pope, Facebook has not previously compiled information          Plaintiff within each system, because—as discussed in the Ji and Pope Declarations
                                                                                                                                             responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                             purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that
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                                                                                                                                                                                                                                                        retrieves data from anumber of data systems, but not all). As aresult, in order to determine what
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                                                                                                                                                       ,and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                    is ahighly-distributed, highly scalable storage solution bait to replace the large use   not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       cases of HDFS within Facebook,                                                                        identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



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                                                                                                                                             would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       WhatsApp Messenger is afreeware, cross-platform and end-to-end encrypted instant messaging            not relevant to any pending claims or defenses and the vast majority of such data could not readily be
WhatsApp                               application for smartphones,                                                                          identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



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                                                 is apublish-subscribe platform. It allows different groups at Facebook to (re-)use awell    would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                       designed architecture to receive an ordered and reliable stream of data changes, such as=             not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                       changes.                                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



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                                       =    is Facebook's self-service relational database allocation system.                                identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
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                                                                                                                                                                                                                                               The Special Masters Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                is Facebook's neat generation streaming processing service,                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                                aplatform which offers wifi as aproduct,                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                      As discussed in the Declaration of David Pope, Facebook has not previously compiled information
                                                                                                                                      responsive to the Special Master's Order—including descriptions of the "most common functions and
                                                                                                                                      purposes of the data system" and acomprehensive list of "the business units, divisions, or groups that This is one of the various databases that powers the Social Graph. Facebook produced each
                                                                                                                                      use the data system"—in the course of its prior efforts to inventory its data systems. Facebook= Named Plaintiff's DYI file, which for each individual user represents the most complete and best
                                                                                                                                                                                                                                                 compilation of data Facebook maintains associated with that user, and the best available compilation
                                                                                                                                                                                                                                                 of the data about that user in the Social Graph, in ahuman readable form.
                                                                                                                                                ,and collecting and vetting further detail about each system would require asimilar effort that
                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                               is areliable, consistent, highly available, scalable key-value storage service,        identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
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                                       Generating training data for instagram ML systems                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                        Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
            Data System Name                                           High-Level Description of Data System                                                Explanation for Why Additional Information Is Not Readily Available                                                             the System



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                                       Record and serve ID user engagement history.                                                           identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                                       The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Embedding indexing system                                                                              identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                       The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Detect if any feature contains Ull and file the privacy-wave tasks for user verification/remedia ion   identified by user and/or produced in aformat that would be unintelligible outside of Facebook



                                                                                                                                                                                                                                                       The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                              would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                              not relevant to any pending claims or defenses and the vast majority of such data could not readily be
Mapillary                              Public street-level imagery and map data platform                                                      identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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Defendant Facebook, Inc.'s Submission in Compliance with the Special Master's Amended Order re Plaintiffs' Motion to Compel Production of Plaintiff Data




                                                                                                                                                                                                                                                Explanation for Why Facebook Cannot Determine if the Named Plaintiffs' Data is Stored in
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                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                       Process WhatsApp user support requests                                                         identified by user and/or produced in aformat that would be unintelligible outside of Facebook.



                                                                                                                                                                                                                                               The Special Master's Amended Order asks Facebook to determine whether each data system
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                                                                                                                                                                                                                                               information are not meaningfully different than identifying any specific data relating to aNamed
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                                                                                                                                                 and collecting and vetting further detail about each system would require asimilar effort that be identified within that data,
                                                                                                                                      would be disproportionate to the needs of this case, as Plaintiffs' request to identify "all" user data is
                                                                                                                                      not relevant to any pending claims or defenses and the vast majority of such data could not readily be
                                            is aCode Management system owned by Core Systems,                                         identified by user and/or produced in aformat that would be unintelligible outside of Facebook




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             Exhibit K
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                                                                                                                       Los Angeles, CA 90071-3197
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                                                                                                                       www.gibsondunn.com


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                                                                                                                       Direct: +1 213.229.7164
   January 27, 2022                                                                                                    Fax: +1 213.229.6164
                                                                                                                       DStein©gibsondunn.com



   VIA JAMS ACCESS
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   Re:    In re Facebook, Inc. Consumer Privacy User Prcfile Litigation, 3:18-md-02843

   Dear Special Master Garrie:

          Iwrite in response to your January 18, 2022 Supplemental Order Re: Facebook's
   Production of Plaintiff Data, in which you ordered Facebook to provide a"date certain" by
   which it could: (1) identify "[w]hich systems identified by Mr. Pope ...contain discoverable
   data related" to the eight remaining Named Plaintiffs, Jason Ariciu, Bridgett Burk, Cheryl Senko,
   Jordan O'Hara, Samuel Armstrong, Steven Akins, Terry Fischer, and Tyler King, and (2) for
   those systems, "either produce th[aq ... data from the system or articulate, with sufficient detail,
   the reason for it should not have to produce the Named Plaintiffs data from that system," and
   your supplemental January 25, 2022 Order.

          Below we:

     i.   Outline steps Facebook has taken to date to fulfill its discovery obligations with respect
          to data relating to Jason Ariciu, Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel
          Armstrong, Steven Akins, Terry Fischer, and Tyler King;

          Address the Special Master's request that Facebook identify which data systems contain
          discoverable data relating to Jason Ariciu, Bridgett Burk, Cheryl Senko, Jordan O'Hara,
          Samuel Armstrong, Steven Akins, Terry Fischer, and Tyler King and provide anarrowed
          list of the sources that are potentially-relevant to the Special Master's inquiry; and,

          Describes Facebook's proposed next steps.

           We respectfully remind the Special Master that discovery must be both relevant and
   proportional, considering, among other factors, "the importance of the discovery in resolving the
   issues, and whether the burden or expense of the proposed discovery outweighs its likely
   benefit." Fed. R. Civ. P. 26(b)(1). Courts have long recognized that the vast expansion of
   electronically stored information in the digital age has magnified the risk of discovery abuse:
   "Nile information explosion of recent decades has greatly increased both the potential cost of
   wide-ranging discovery and the potential for discovery to be used as an instrument for delay or
   oppression." Fed. R. Civ. P. 26(b) advisory committee's note to 1993 amendment. Rule 26 was
   amended in 2015 to emphasize and mandate proportionality in discovery. "No longer is it good
   enough to hope that the information sought might lead to the discovery of admissible evidence. .




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                    New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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   ..Instead, aparty seeking discovery of relevant, non-privileged information must show, before
  anything else, that the discovery sought is proportional to the needs of the case." Gilead Scis.,
  Inc. v. Merck & Co, /nc., 2016 WL 146574, at *1 (N.D. Cal. Jan. 13, 2016).

           As we discuss more below, the burdens associated with producing additional data relating
  to Jason Ariciu, Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel Armstrong, Steven Akins,
  Terry Fischer, and Tyler King are not limited to extracting data and processing it for production.
  The mere process of investigating and searching numerous data systems (and multiple use cases
  within each of them) that are designed to provide aproduct to end-users
                             —is itself extremely time consuming and burdensome. These burdens
  are tar out of proportion to the needs of the case. This is particularly true given the volume of
  user data Facebook has produced to date and that conducting ascorched-earth search for
  duplicative data, or additional raw data that Facebook has confirmed is stored in asource not
  accessible to third parties, will not help Plaintiffs confirm what data was shared with third
  parties, which we understand to be the rationale for this exercise.

           A.     Facebook's Efforts to Date.

          1.      Facebook has complied with its discovery obligations to produce relevant user
  data related to the Named Plaintiffs and subsequent requests for information about the systems in
  which such data may be stored.

           2.     Facebook has produced nearly one million pages of data relating to current and
  former Named Plaintiffs in this action, including the individual user data relating to Jason Ariciu,
  Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel Armstrong, Steven Akins, Terry Fischer,
  and Tyler King that is relevant to their non-stayed claims and does not present an undue burden
  on Facebook to search for, identify, collect, and produce. Facebook has provided the Special
  Master examples of the data it has produced for current and former Named Plaintiffs, which in
  some cases has exceeded 200,000 pages of data for asingle Named Plaintiff Facebook has also
  produced more than 80 GB of raw data memorializing Facebook's transfer of data to third
  parties.

          3.       Facebook has developed asignificant record demonstrating that the user data
  relevant to this case has been produced and that searching for additional user data relating to
  Jason Ariciu, Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel Armstrong, Steven Akins,
  Terry Fischer, and Tyler King from its data systems would be unduly burdensome and
  disproportionate to the needs to this case. Specifically, Facebook has:

      a.   Provided sworn testimony that Facebook makes user data available to third parties
           through application programming interfaces ("APIs") (Anand Decl. If 4);
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     b.    Provided sworn testimony that APIs available to third parties "pull data exclusively from
           the Social Graph" (Anand Decl. 114);

      c.   Identified the primary databases that support the Social Graph (see Ji Decl. 115);

     d.    Provided sworn testimony that the DYI file "represents the most complete and best
           compilation of data Facebook maintains associated with [a] .. .user," including—but not
           limited to—data from the Social Graph (Mitchel Decl. 115);

     e.    Provided sworn testimony identifying the burdens of collecting user data beyond that
           reflected in the DYI file (see Ji Decl. 1111 10-31);

     f.    Provided sworn testimon    that                           other than the DYI tool



                     (Pope Decl. 1110);


     g.    Identified the relevant APIs through which third parties could access the categories of
           user data Plaintiffs have requested, identified the type of user data each API could be
           called for, and provided lists of the third parties that had access to them (see 4th Rog
           Responses);

     h.    Provided sworn testimony that identifying additional data points about each of the 149
           data systems disclosed to the Special Master, including the "types of user data" within
           each one, would likely take l                          (Pope Decl. 119); and

           Provided awitness for over three hours of testimony to provide further information about
           the 149 data systems disclosed, which included testimony that even asingle one of those
           data systems could have numerous use cases—and each may need to be investigated
           individually to answer the Special Master's questions fully.

          4.      Plaintiffs have not made any showing that any of the above representations are
  incorrect or incomplete. While Plaintiffs have argued that they are "entitled to discovery to test
  Facebook's assertions about what it made accessible to or shared with third parties" (Pls.' Reply
  ISO MTC Named Plaintiff Data at 3), they have received that, in the form of millions of pages of
  documents, sworn testimony, the opportunity to take dozens of depositions, and 80 GB of data
  regarding Facebook's transfer of data to third parties.

           5.     Duplicative data, or additional raw data that Facebook has confirmed is stored in a
  source not accessible to third parties, will not help Plaintiffs confirm what data was shared with
  third parties.
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         6.      At the Special Master's request, Facebook has gone to great lengths to provide
  additional information about its data systems—which are some of the most technically advanced
  and complex systems in the world—through various submissions, declarations, and testimony.
  Also at the Special Master's request, Facebook provided information about 149 different data
  systems (regardless of their relevance); it also provided awitness who appeared at athree-hour
  hearing with the Special Master to assist with the Special Master's assessment of each of those
  data systems to the best of his ability.

          7.      Even with the benefit of all of this additional information, which goes far beyond
  the scope of proportional discovery to which they are entitled, Plaintiffs have not identified any
  specific information that is missing from Facebook's productions or made any showing that
  Facebook's representations demonstrating why its productions are complete are incorrect.

         B.      The Special Master's Request that Face book Identify Which Specific Data
                 Systems Contain Discoverable Data Relating to the Eight Remaining Named
                 Plaintiffs.

          8.      The Special Master asked Facebook to identify "[w]hich systems identified by
  Mr. Pope .. .contain discoverable data related" to the eight remaining Named Plaintiffs, Jason
  Ariciu, Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel Armstrong, Steven Akins, Terry
  Fischer, and Tyler King.

         9.      As Facebook described in detail in the Pose declaration, Facebook

                                                                                                  As
  an initial matter, individual data systems may have multiple different use cases, all of which may
  store and use data differently and need to be investigated separately. 1/14/22 Hr'g Tr. at 87:13-
  23, 112:2-11. For each individual use case within each system, Facebook would need to assess
  whether the use case involves storage of individually-identifiable user data, determine whether
  the data sets used can be readily searched by user, and (if so) conduct asearch of those data sets
  to determine whether data related to individual users exists in each system; assess the nature of
  the data and whether it is relevant and not duplicative of materials already produced; and
  determine whether that data can be extracted in aproducible form. As the December 10 Ji
  Declaration made clear, this assessment and search could take                    for asingle data
  system. As Mr. Pope testified during the January 14 hearing, his team did not investigate what
  (if any) categories of user data are contained within each of the 149 systems he disclosed—or
  even whether each data system actually contains user data. 1/14/22 Hr'g Tr. at 8:12-9:8, 127:6-8
  ("So the questionnaire will determine whether it may store user data, but not whether it does and
  what type it is."). As relevant here, Mr. Pope's team investigated only whether each system was
  technically capable of housing user data writ large and identified 149 such systems. Id.

         10.     Facebook has continued to investigate the 149 data systems identified in the Pope
  declaration and discussed at the January 14 hearing in order to narrow that list to systems that
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  could potentially be relevant to the Special Master's inquiry. Below, Facebook provides a
  narrowed (but still over-inclusive) list of 55 systems. This list excludes certain types of systems
  that Facebook understands are not relevant to the Special Master's inquiry. Specifically, the list
  excludes:
              • internal test systems,

               • systems Facebook's teams have declared not to store user data (even though as a
                 technical matter, they are capable of storing such data),

               • systems that do not serve the Facebook product and serve only other Meta
                 products (such as WhatsApp),

               • systems that do not store unique data, for example serving only as pipelines to
                 transfer data from one system to another (such systems are designed only to move
                 data and data cannot be read from them), and

               • other systems from which Graph API cannot call data directly.

         11.      The remaining systems are as follows:
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         12.        Even within this narrowed list of 55 systems, certain systems may not
                                               For exam le as stem could store instances of




         13.      Data housed in Facebook's systems can typically be
              through acomplex series of connections within the Social Graph, which is powered
  by software code drawing on several different data systems and assets. In essence, the Social
  Graph brings together data from various systems and databases in awa that allows data to be
  connected so Facebook's roduct can o erate. Accordin
                                                                              stem is connected
  into the Social Graph, and



          14.     The following subset of systems are connected to the Social Graph and therefore
  the data within them typically can be associated to




  1Facebook   notes thatthe DYI files contain IP addresses associated with the users' log-ins.
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            C.     Further Response to the Special Master's Inquiries.

          15.    The Special Master asked for adate certain by which Facebook would identify the
  specific systems that contain data relating to Jason Ariciu, Bridgett Burk, Cheryl Senko, Jordan
  O'Hara, Samuel Armstrong, Steven Akins, Terry Fischer, and Tyler King and by which it would
  either produce the relevant data from those systems or explain why it should not have to do so.

          16.   As Facebook has explained numerous times, Facebook cannot determine with
  certainty if                                                          —leaving aside
  whether such data could ossibl be relevant here and has not alread been roduced

                                         Facebook's systems are engineered to provide its website
                               roduction in liti ation of all data associated with as ecific user.




          17.     Facebook has now narrowed the 149 systems it disclosed originally to 12 systems
  that could be potentially relevant to the Special Master's inquiry, so that it is able to provide the
  Special Master more concrete information about each.

           18.    Facebook suggests that it work with the Special Master to identify three systems
  from the list of 12 above, and within 14 days, Facebook will provide adetailed analysis with
  evidentiary support regarding the steps that would be necessary for those particular systems to
  identify whether they house data Facebook has not already produced relating to Jason Ariciu,
  Bridgett Burk, Cheryl Senko, Jordan O'Hara, Samuel Armstrong, Steven Akins, Terry Fischer,
  and Tyler King, and whether it is possible to extract that data in aproducible format. Facebook
  expects that even this narrowed exercise would be an extremely burdensome and
  disproportionate effort.

            As always, we are ready and available to discuss this issue further with the Special
  Master.

            Respectfully submitted,



            (bAn,(4,                  rA.0

  cc:       Lesley E. Weaver

            Derek W. Loeser
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             Exhibit L
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 1                                                 JAMS

 2                                             ---o0o---

 3      IN    RE:    FACEBOOK    INC.,                     )

        CONSUMER       PRIVACY    USER                     )

 4      PROFILE       LITIGATION                           )

                                                           )

 5

 6

 7

 8

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10

11                                          HELD    VIA      ZOOM

12                      REPORTER'S        TRANSCRIPT           OF    PROCEEDINGS:

13                              JAMS    Special       Master         Hearing

14                              Thursday,        February           17,   2022

15

16

17

18

19

20

21

22      REPORTED       BY:

23      Katy    E.    Schmidt

24      RPR,    RMR,    CRR,    CSR    13096

25      Job    No.:    5096673


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                                                                              Page 2


 1                                               JAMS

 2                                            ---o0o---

 3      IN   RE:    FACEBOOK     INC.,                  )

        CONSUMER      PRIVACY    USER                   )

 4      PROFILE      LITIGATION                         )

                                                        )

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23                       JAMS   Special     Master      Hearing        on   Thursday,

24      February      17,   2022,    at   1:07     p.m.,       virtually      before

25      Kathryn     E.    Schmidt,    RPR,     RMR,     CRR,     CSR    13096.


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 1      APPEARANCES:
 2
        For   The   Plaintiffs:
 3
                                       (Appeared          via    Zoom)
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23
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 1                                    LOS ANGELES,                CALIFORNIA

 2                                  THURSDAY,             FEBRUARY          17,    2022

 3                                                    ---o0o---

 4                       SPECIAL MASTER GARRIE:                             All    right.             All    right.

 5      So we'll        go    on    the    record.

 6                       Okay.        This       is       Special Master Garrie.                            We have

 7      a hearing        today       to    discuss          named plaintiff's                     data.

 8                       I asked Facebook                   to provide             a series            of

 9      witnesses        to    get    further             clarification as                  the       objective

10      of   today      is    to    determine which                repositories                  are

11      appropriate           from    the       initial       149       repositories                  that were

12      identified by Facebook as                          potentially having Facebook

13      data,     that was          subsequently narrowed down                              to    55

14      potential        systems          as    potentially having                     --    may       --    I

15      underline,           may have user data                   in    it.

16                       The       goal    of    today       is    to       determine what                  --    for

17      me   to   get    technical             information             to    figure         out what             is

18      reasonable           for Facebook             to    look       for    the named plaintiff

19      data.

20                       For purposes                of    convenience             today,         named

21      plaintiff data and user data are                                one       in   the       same.

22      They're not           --    and it's          not aggregated.                   It       is    user

23      specific        data.        It    is    not anonymized data.                            It    is    not

24      de-anonymized data.                     It    is    their data.                It    is       user data.

25                       Okay?


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 1                        So with       that sort of definition,               I will use

 2      them interchangeably,                  user data and named plaintiffs,

 3      but to me         they're users.

 4                        The goal       of    today is         to determine what is

 5      reasonable         and what          -- where      --   what systems have what

 6      data   that relates             to    the named plaintiffs pursuant               to

 7      the Court's            definition.

 8                        With    that in mind,            I wanted to      read out for

 9      really      the    Facebook engineers               that are here.        I'm glad

10      you guys      are here,         because       I feel        like   I can finally

11      just get      -- we       can make        -- we     can make progress.

12                        I just want to read the definition that the

13      judge has         defined as what is               discoverable user data

14      issue.

15                        Okay?

16                        Because       it's    not   --    it's     a defined definition

17      and I think it's worth reading for everybody.

18                        So    the    first is       "Data collected from a user's

19      on-platform activity."

20                        Okay?

21                        So    it's    "Data collected from a user's

22      on-platform activity."                    That's No.         1.

23                        No.    2,    "Data obtained from third parties

24      regarding a user's               off-platform activities."

25                        Now,    there's       no definition as           to what


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 1      off-platform activities          are or anything of               the like.

 2                     So with    that in mind,       we    then have No.             3,

 3      "Data inferred from a user's             on-or-off platform

 4      activity."

 5                     So if it's    obtained from third parties.

 6                    And then group No.         3 is      "Data inferred,"                which

 7      again is not defined -- but             "inferred from a user's

 8      on-or-off platform activities."

 9                     I take all platform activity to be activity

10      that is not being done within the                  je ne    sais       quoi of

11      Facebook,     whether it's      --    I don't      --    there's       lots    of

12      assets,      so off your platform.

13                    Okay?

14                    With that in mind,         that's         the general       set of

15      definitions.

16                    Okay.      So with that in mind,             I have a set of

17      questions,      and I assume     I can start with Mr.                  Zarashaw.

18                     There are    two important things you have                      to

19      remember,      and I know both of you have been                   --   had the

20      privilege of meeting the lawyers here                     from both sides.

21                     The attorney-client privilege is                   the only

22      thing that really counts             today;   right?        If    there's

23      something that you talked about with your lawyers,                                 say

24      I --    your lawyers      can object,     saying it's            --    or you can

25      say    "I   discussed this with my lawyers,"               whatever.               I


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 1      think for Facebook it will be Counsel Falconer making

 2      or note       --    assisting you as necessary,                      and it will be

 3      well,    plaintiffs won't object to attorney-client

 4      privilege,          so       --

 5                         But the goal            today isn't to learn anything

 6      about    --      anything but systems                  and data.

 7                         Okay?

 8                         I'm not              I mean,       I appreciate         the underlying

 9      case and the             zealous        advocacy,      but the       truth is what I'm

10      here    to do       today is           to learn and determine about your

11      systems.           Like because you've disclosed there are 55 of

12      them that may have plaintiff data,                            and I think that may

13      be a little excessive                    to require Facebook               to look

14      through all             55    systems      for user data,          given these

15      definitions.

16                         So    then with that in mind,                   I'm going to kick

17      it off      --

18                         Or are         there any questions              from Facebook?

19                         MR.       FALCONER:        One or maybe          two.

20                         Is    it okay with the Special Master if Mr.                        Elia

21      and Mr.       Zarashaw            --   there is       a list of questions            that we

22      answered on February                    9th that we       -- public        information

23      filed into          the case.

24                         Is    it acceptable           to    the Special Master if the

25      witnesses want to refer back to                          those written answers


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 1      during      the hearing       today?

 2                      SPECIAL MASTER GARRIE:                         Yeah.

 3                      MR.   FALCONER:         Okay.

 4                      SPECIAL MASTER GARRIE:                         Of    course.

 5                      MR.   FALCONER:         And --

 6                      SPECIAL MASTER GARRIE:                         Go    ahead.

 7                      MR.   FALCONER:         And then               just    for    the

 8      Special Master's            benefit,       if    this          is    helpful,

 9      Mr.   Zarashaw is          here    specifically with expertise                            on    if

10      there was       a API      misused topic             that       the    Special Master

11      indicated he was            interested in.                 And that's          --       that's

12      Mr.   Zarashaw's        kind of      area       of    knowledge             and expertise.

13                      The   other       topics    that          the       Special Master had

14      indicated interest            in,    Mr.    Elia          is    the person most

15      knowledgeable         on    those    topics,          if       that helps          --    just    if

16      that helps with kind of organization and flow.

17                      SPECIAL MASTER GARRIE:                         It certainly does.

18      I'm just working on my mute                     and un-mute             skills.           It

19      certainly does.

20                      Yeah.      And if either              one       of    the    technical

21      witnesses       don't      feel   comfortable              answering a question,

22      I get    that    there      are millions             of    lines       of    source       code.

23      I get    there    are      thousands       of engineers.                    I fully

24      understand that being asked a question on                                    the    spot may

25      not result in         an exact answer.


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 1                        The    idea       is    just       to move      it   forward so       that    I

 2      can at      least put             together          tangible understanding of what

 3      is    appropriate            and not appropriate                  or   reasonable       and not

 4      reasonable         in    the       context of          the named plaintiff data.

 5                        So    --    okay.           So API,    so    I guess      Mr.   --    oh,

 6      sorry.

 7                        Did plaintiffs                have    any questions?

 8                        MS.    WEAVER:              No.     Not at      this   time.     Thank

 9      you.

10                        SPECIAL MASTER GARRIE:                       Okay.      So,

11      Mr.    Zarashaw,         I have          some       questions      about APIs.

12                        Before we            get     into    that,      I guess    my   first

13      question      is       what       types       of API's    interaction           took place,

14      specifically applications                           interacting with user data

15      versus      the bulk API               integrations           with partners;           right?

16      Because      there's          different ways             and there's         these bulk

17      APIs    and then         the      other way.

18                        What       types       of    sort of API         interactions         sort of

19      played out,            or possible?

20                        MR.    EUGENE          ZARASHAW:        So      I'm not    familiar with

21      a distinction between                     individual versus bulk API.

22      However,      there          is   a distinction between                  server    to    server

23      API    calls made by a third-party app                             from their      secured

24      servers      to    our       servers          versus    calls made by an app              in

25      the mobile         device         or     in    the web browser           controlled by          a


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 1      user    to    our       servers          on behalf of an app.

 2                         Is    that       the    distinction?

 3                         SPECIAL MASTER GARRIE:                       Yeah.        So    that       --

 4      yeah.        So    then       that's       how     they're      organized?

 5                         So    --   because         there's been a lot                  of    terms

 6      batted around about                      the bulk API          integration             from

 7      partners,          and I didn't              fully understand what                     that meant.

 8      So   I'm glad that                 I'm not       fully    --

 9                        MR.        EUGENE       ZARASHAW:        If    I may add to                that,

10      the APIs          are not          quite     organized that way.                   There's

11      overlap       in APIs          that       can be       called only         from a mobile

12      client,       slash,          specified only             server      to    server or both,

13      depending          --    and       the    distinction          tends      to be        in    the

14      access       token used to                access       the API    rather          than API

15      itself.

16                         SPECIAL MASTER GARRIE:                       Okay.        Got       it.

17                        MR.        EUGENE       ZARASHAW:        Would an example help?

18                         SPECIAL MASTER GARRIE:                       Yeah.

19                        MR.        EUGENE       ZARASHAW:        So,    for example,                any

20      time    a user          is    running        the    Facebook app or               a third-party

21      app on a mobile                device,        the      access    token on          that mobile

22      device       inside          the    app only        should have           access        to    data

23      accessible          to       the user normally,                intersected with                the

24      data    that       that app          should have          access       to.

25                         So    a subset of             the    two.


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 1                    That     --    which means       if there's     any data not

 2      accessible      to   the user that owns            that access       token,    then

 3      that access      token cannot retrieve               that data.

 4                     So as    an example,         if you and I are not friends

 5      on Facebook and have            --    I cannot see your data on

 6      Facebook,     my access        token cannot be used to              fetch data

 7      about you.

 8                    By comparison,            there's    the concept of an

 9      application access            token where in a server-to-server

10      call,    if you and I have both installed the application

11      and given the application permission to look at our

12      data,    that application access               token can be used to           fetch

13      data about both of us            on behalf of just the application.

14                     SPECIAL MASTER GARRIE:                So    then what if   --    is

15      that true      for mobile as well            then?

16                    MR.    EUGENE     ZARASHAW:         On mobile we only use

17      the   first type of access              tokens,    user access       tokens,

18      because it would be unsecure                 to allow the       server side

19      access      token out of the control of the app developer's

20      servers.

21                     SPECIAL MASTER GARRIE:                Okay.     So   then does

22      Facebook's APIs,            based on social graph and allow third

23      parties      to access       information on the user's              friends

24      through that same            system -- well,         that is my first

25      question,     and then using the             system you just described.


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 1                         MR.       EUGENE    ZARASHAW:              So using       the      system I

 2      just described,                there would be             two ways          to   access

 3      information about                a user's          friends.              If we're      talking

 4      about       the mobile          scenario          --

 5                         SPECIAL MASTER GARRIE:                          Yeah,    mobile.

 6                         MR.       EUGENE    ZARASHAW:              In    the mobile         --    then    in

 7      the mobile          scenario,          the    access          token      could be used to

 8      call    an API          to    get a user's             friends       who,    after      the

 9      platform 2.0             changes,       only       return          the    friends      who have

10      also    installed the             app and granted the                      app permissions.

11                         SPECIAL MASTER GARRIE:                          Yeah.

12                         MR.       EUGENE    ZARASHAW:              So    it would return a

13      sub    --    the    intersection of                the    friends          the   apps       has

14      access       to,    and the       friends          that       the user has            access       to.

15                         SPECIAL MASTER GARRIE:                          And then      in

16      Version       1.0?

17                         MR.       EUGENE    ZARASHAW:              It would have            returned

18      all    of a user's             friends       if    that       friend had granted

19      friend permissions.

20                         SPECIAL MASTER GARRIE:                          And that was         in    the

21      interrogatory's                full    response          so    that makes          sense.

22                         So    then    --    so    then       the    Facebook's API               is based

23      on    the    social          graph,    so    then       the    answer       is   yes.        Okay.

24                         So    then          because         one     of    the    things            so

25      there's       another been a lot of                      talk of          social      graph;


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 1      right?      And social graph is                   a --    I'll      just leave it

 2      there.      And it allows                third parties basically to

 3      continue access              --

 4                       Does       the    --    does    Facebook's APIs based on the

 5      social graph really allow third parties                               then to continue

 6      accessing friends                 of friends        of friends,        like    sort of a

 7      Russian nesting doll,                    for lack of a better            term?

 8                       MR.    EUGENE          ZARASHAW:        They did not unless            the

 9      app had access              to    those     specific      friends.

10                       So    there's          always    the intersection of what

11      should the app be able                     to   see and what should the user

12      be able     to    see?           The app could only see information

13      about people who had installed the app,                               or in 1.0,       only

14      information about people who are                          friends with someone

15      who installed the app when acting on behalf of the

16      person that installed the app.

17                       So you could not just                   --    you could not find

18      data about unrelated people                       to whom the app should not

19      have access           to.

20                       SPECIAL MASTER GARRIE:                       Okay.   All     right.

21      That makes        sense.

22                       So    then one of the              things      I want   to

23      understand,           because       there's       all    this      talk of all    these

24      different systems,                but one        thing I'm trying to

25      understand is           could then a third-party application


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 1      present a user with a user                        interface          that mimics       a

 2      Facebook      log-in page             and collect             their    credentials,            and

 3      then   log into          the    Facebook application on                      its   own?

 4                        So    I can walk you             through what          I'm talking

 5      about,      but    I think you get                the    gist of       it.     I mean...

 6                        MR.    EUGENE       ZARASHAW:           I think       it might help

 7      walking      through,          actually,          if you don't mind.

 8                        SPECIAL MASTER GARRIE:                       Yeah.

 9                        So    a third-party application,                      an    app developer

10      builds      something,          and presents             a user with          a user

11      interface         that mimmicks             Facebook's          log-in page.

12                        Okay?

13                        So    they build an app.                    They    think    they're

14      logging in.             They    collect        the      credentials.

15                        Okay?

16                        So    the    app    collects          the    credentials.

17                        Then    the    app       logs    into       the    Facebook

18      application on            its    own.

19                        Is    that    --    is    that possible?

20                        MR.    EUGENE       ZARASHAW:           So    it was       technically

21      possible.          It was       something          that we          only allowed to

22      specific      apps       under a contract.                    It was    called the

23      log-in permission.

24                        SPECIAL MASTER GARRIE:                       That's    it.

25                        MR.    EUGENE       ZARASHAW:           And it would have               --    the


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 1      app would have          to be permitted to               exchange          a user name

 2      and password for            a Facebook access                to   open     to       log in

 3      this    way.

 4                      And only apps            who         that had their                 log-in

 5      permission were            able    to    do    it.

 6                      This    was   used in          cases    where usually due                   to

 7      device       constraints,         it was       impossible          to    launch a full

 8      web browser and log into                  Facebook,          such as       an embedded

 9      device.

10                      SPECIAL MASTER GARRIE:                   Or a Nokia             flip phone

11      or    something?

12                      MR.    EUGENE      ZARASHAW:           (Nodding.)

13                      SPECIAL MASTER GARRIE:                   So       then    --    you    said

14      there was       an agreement.             And then       they       could log in,                but

15      they would have            a different          level    of access             --    the    app

16      would have          a different         level    of access because                   they

17      would be       --   have    the user's          credentials             they're       logging

18      in,    not    the    other way;         right?

19                      MR.    EUGENE      ZARASHAW:           Yes.

20                      SPECIAL MASTER GARRIE:                   Okay.           And then          today

21      you've       sort of    stopped that,            though.          As     I understand,

22      it has       evolved,      your user          interface,          to prevent          --    to

23      limit    that ability         today.

24                      MR.    EUGENE      ZARASHAW:           May    I ask       Steven       to

25      answer       this    question,      just because             I'm a bit out of date


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 1      on   the    current      state?

 2                     SPECIAL MASTER GARRIE:                     Steven,          hello       again.

 3      I hope you had a good evening at                         least.

 4                     MR.      STEVEN ELIA:             Yeah.

 5                     I'm not         sure whether          there's         currently any of

 6      those      types   of    special          log-in whitelists               that    remain.

 7                     SPECIAL MASTER GARRIE:                     But       there would be                a

 8      contract or agreement or                     something        there;       right?

 9                     MR.      STEVEN ELIA:             That's       right.

10                     SPECIAL MASTER GARRIE:                     Okay.           That's       fine.

11                     Then      --

12                     MS.      WEAVER:           Special Master Garrie                  --    I

13      apologize.         But    I think          it would be helpful                  for us       to

14      know    time   frame,         and I think you're               going       there,          and I

15      didn't know when              to    ask.

16                     But when did the                system operate              that       they       just

17      described?         And maybe you're               about       to    get    there       and I

18      apologize.

19                     SPECIAL MASTER GARRIE:                     I was       literally             --

20                     MS.      WEAVER:           I've been getting               texts       so    I

21      apologize.         Okay.

22                     SPECIAL MASTER GARRIE:                     Here's          what    I'll       do.

23                     Plaintiffs            could write         down all          of    their

24      questions.         When       I finish a section,                  plaintiffs          can ask

25      their questions           in       case    I forget anything,               but       I'm


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 1      really       --    this       is   more   for me        than anybody             else.

 2                         So my question            is    with       regards       to    the    timeline

 3      for    this             what       I just described;               right?        Right?

 4                         So    at    some point         I know       --   well,        if you don't

 5      have    it,       it's       completely acceptable;                  right?

 6                         Do you          know when      this       feature    set       --    what       I

 7      just described was                   restricted or            removed from the

 8      Facebook world,                I guess?        Platform?             Sorry.

 9                         MR.       EUGENE    ZARASHAW:             I do not.

10                         SPECIAL MASTER GARRIE:                      Steven?

11                         MR.       STEVEN ELIA:          I believe          there were             still

12      uses    of    it    in       2018.     Since      then,       I'm not       sure.

13                         SPECIAL MASTER GARRIE:                      Okay.        That's       fine.

14      Better       --    "I    don't know"         is    completely an             acceptable

15      answer and it's                something we            can    follow up          on.

16                         My next question               is    then:        Based on          the

17      scenario          I just       described,         can a third party                log       the

18      user    into       GAE?

19                         MR.       EUGENE    ZARASHAW:             I'm sorry.           But what         is

20      a GAE?

21                         SPECIAL MASTER GARRIE:                      Sorry.        It's       the    graph

22      application             --    you guys     have        all    --    sorry.        It's       the

23      graphical          --

24                         MR.       STEVEN ELIA:          Graph API          Explorer?

25                         SPECIAL MASTER GARRIE:                      Yeah.        Thank you.             The


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 1      Graph API         Explorer.           I wrote    all      these        down.           I'm just

 2      trying      to    keep    track.        There's      a lot of APIs                 you guys

 3      have.       The    Graph API          Explorer.

 4                        Could a third party              log the user                  into       the

 5      Graph API         Explorer?           Because     that's         --    in    the       scenario

 6      I just described?

 7                        MR.    EUGENE       ZARASHAW:         Yes.          With       a user name

 8      and password and using Graph API                          Explorer,              they       could.

 9                        SPECIAL MASTER GARRIE:                   Yeah.            They       --

10                        MR.    EUGENE       ZARASHAW:         But      their       access          would

11      still be         limited to       only     things       the user would have

12      access      to.

13                        SPECIAL MASTER GARRIE:                   Right.

14                        But    that's       different according                   --    at    least my

15      reading of your API               and the       libraries,             whatever,             that's

16      still    a different            level permission              than         the    third-party

17      app developer would be                  naturally granted.

18                        MR.    EUGENE       ZARASHAW:         It grants            access          to    a

19      number      of    things    that would normally require                            app       review

20      and it would violate                  our policies          if    they were             to    do

21      this,    by      the way.

22                        SPECIAL MASTER GARRIE:                  No,         no    --

23                        MR.    EUGENE       ZARASHAW:         It no way bypasses                        the

24      controls         on what data          should a user be                able       to    see.

25                        So    there    --    there's     no     app     ID under which you


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 1      would be able         to get more information with                     the access

 2      token than the user would normally have by                             just using

 3      the Facebook site,            which if you had the users use                        their

 4      password,      you could also           just go     to       the Facebook site

 5      without the API            at all and get the            same data.

 6                     SPECIAL MASTER GARRIE:                   Right.

 7                     But    --    exactly.       But if you're a third-party

 8      app developer,         you'd have          to go   through the                and I get

 9      it violates your policies.                   I'm not saying anything of

10      the   sort.

11                     But this       is way to get a --               that would allow

12      an app developer            to circumvent the need to get the whole

13      app   --    I mean,    I've heard a lot of testimony about your

14      app developer policy            --    that whole         --    I get it is my          --

15      it allows      them to circumvent it.

16                     But I just       --    so    then   --    so    then    I guess

17      from my perspective,            did Face-               so    then          okay.

18      All   right.

19                     So    then the next question I have                     --    sorry.

20      I'm just moving things               around because            I thought there

21      would be more witnesses,                so let me        just...

22                     API...

23                     I have more API             questions but let me                     I have

24      a couple questions            about data collection.

25                     So are you the right person for                        third-party


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 1      integration APIs,               Mr.    Zarashaw?

 2                    MR.     EUGENE          ZARASHAW:        I think      I would have            a

 3      subset of      information.

 4                     SPECIAL MASTER GARRIE:                    Okay.          Then      I'll    just

 5      continue      down    the path           that    I have.         I'll    just      --

 6                     Let me       rethink          this   whole plaintiff question

 7      strategy.

 8                     I think plaintiffs,                  if you have          specific

 9      questions,      I will          hear     them and then determine whether

10      the witness         needs       to    answer     them.

11                     So    do    you have          any questions         at    this      point?

12                    MS.     WEAVER:            Just more       specificity as             to when

13      in   2018.

14                     SPECIAL MASTER GARRIE:                    Oh,      that was         simple.

15      He   did his best          to    give his       answer and we            can      follow up.

16      So   I'm not going          to       ask.

17                    All     right.           All    right.     So      then    activity on

18      data   collection,          that       is    something      just    for Facebook            to

19      understand that            I do       think     that   should      --    clarity         should

20      be provided as            to when        that access        --   well,       it doesn't

21      really      relate    --    well,        I've   gotta     think about             it.     Let

22      me   just keep going here.

23                    Activity and data                  collection.            So   --    I

24      believe,      and I just want                to verify,       Facebook         collects

25      user activity,            like page views,             clicks,      ad impressions,


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 1      et   cetera;     right?

 2                      Is    that    right,       Mr.    Zarashaw?

 3                      MR.    EUGENE       ZARASHAW:           We    collect          data of user

 4      interaction with             our    site    and app.

 5                      SPECIAL MASTER GARRIE:                       And do you          collect

 6      data    like page views?

 7                      MR.    EUGENE       ZARASHAW:           Yes.

 8                      SPECIAL MASTER GARRIE:                       Mouse       clicks?

 9                      MR.    EUGENE       ZARASHAW:           Yes.        Depending on

10      which    --   what     the    clicks       are    on.

11                      SPECIAL MASTER GARRIE:                       Yeah.        So    if    I click a

12      like,    do you       capture       that?

13                      MR.    EUGENE       ZARASHAW:           Exactly.           If you       click a

14      link,    yes.        If you    click       somewhere          randomly on             the page,

15      I don't believe we             capture       it.

16                      SPECIAL MASTER GARRIE:                       So    then    I want       to    ask

17      about mobile but             I feel     like      that's          a whole       different

18      animal      and I don't know if              I want          to    get    to    it now or

19      wait.

20                      But do       you    collect data             for mobile,             like    --

21      you know,       there's       all    this    data       that mobile             devices

22      have,    like your Bluetooth                signal,          your wifi         network.           I

23      mean,    theoretically,             when    they    log in,          as    a developer,             I

24      recognize       that    information          is    accessible.

25                      Does    Facebook        collect         that       information,             like,


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 1      you know,         nearby wifi           access       points        --    about          the user;

 2      right?       --    GPS    location,        whatever          they       connect with;

 3      right?        I mean,       do you guys              collect       that       from the mobile

 4      side    of    the house per user?

 5                        MR.    EUGENE        ZARASHAW:            I don't know what we

 6      collect on          the mobile          side.

 7                         SPECIAL MASTER GARRIE:                        Okay.        So    like     time

 8      zone,      language,        cookie        data.

 9                        MR.    EUGENE        ZARASHAW:            I apologize.                 I've not

10      spent      time     on    the mobile          side     of    the house             so    I don't

11      know what we             collect       there.

12                         SPECIAL MASTER GARRIE:                        All    right.          Well,

13      let's      talk about        on    the nonmobile                 side    of    the house.

14                        What about           like     cookie       data,       like,          that are

15      stored on          the    computer        that       isn't yours,             like       cookie     IDs

16      and settings?

17                        MR.    EUGENE        ZARASHAW:            We    only get          cookies        for

18      our own domain             sent    to us        as   part of           the HTTP          requests.

19      So we      are not able           to    collect        cookies          outside         of   the

20      Facebook domain             or other domains.

21                         SPECIAL MASTER GARRIE:                        Yeah.        Like      Facebook

22      domains,          like    Instagram        --    like,       it's       everything.

23                        When you        say Facebook domain,                    you're          referring

24      to   the     Facebook universe;                 right?

25                        MR.    EUGENE        ZARASHAW:            I can       confidently           say we


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 1      do not      collect data            from other domains              that we       don't

 2      have    control         over.       I do not know what exactly we                       do

 3      collect      from the          domains      we   do have      control          over.

 4                        SPECIAL MASTER GARRIE:                 Okay.           And then       like

 5      obviously         --    so    then one       thing    that    I would want             to    know

 6      from Facebook            is    if you      collect mobile phone numbers,

 7      IP addresses,            connection          speed,   and other           things       tied       to

 8      the mobile,            accessing Facebook             through       the mobile          side

 9      by user;         right?       Not anonymized.            Not anything else.

10      For    the user;         right?

11                       And if        --   Mr.    Zarashaw     --    or    just Eugene             and

12      Steven      --    Steven,       did you by        chance      know       the    answer       to

13      my question?

14                       MR.     STEVEN ELIA:            I don't know            specific

15      instances.             I know at       certain points            we've     had offerings

16      in our app         to,       for example,        import your         contacts          on your

17      phone    to be         able    to   find friends        that you're not yet

18      connected to            on    Facebook.

19                        SPECIAL MASTER GARRIE:                 From the mobile

20      device;      right?           So when you        connect      the mobile

21      connectivity,            is    that associated with                the    user,    and

22      you're      obviously          granting permission               for other        things?

23                       MR.     STEVEN ELIA:            I don't know a ton about

24      specifically about how                    that works.         I haven't worked on

25      the mobile         side.        But    I imagine       that would read from


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 1      your,   for example,       phone book on your phone.

 2                    MR.     FALCONER:        Mr.   Garrie,      if it's helpful,

 3      we've got some documents               that address        this       question that

 4      we could submit for the Special Master,                         too,    if that

 5      would be helpful.

 6                     SPECIAL MASTER GARRIE:              Oh,     yeah.        That's

 7      fine.       I don't need it       --    if you have        the data to answer

 8      the question,         you can submit it.           It's     fine.           I just       --

 9      there were      so many documents            and so much data that                  --    I

10      mean,   I did read your interrogatories                    1,    2,    3,    4 --    I

11      mean,   there were a lot of them,                and a lot of data,                 so    I

12      may have missed it.            So if you could flag it,                     that would

13      be helpful      for me.

14                     So   then with that in mind,               right,       where is          the

15      user data that's         collected stored?              The user activity

16      data that we        just talked --           forget mobile.            Just focus

17      on what we know.          Where is       this user activity collected

18      stored?

19                    MR.     EUGENE   ZARASHAW:         It's     in a very wide

20      variety of systems.            I think the most helpful way to

21      partition it might be           to look at data that will at some

22      point in the        future expect it to be read again versus

23      data that is being written and likely will not be read

24      any time      soon.

25                     So   I believe we've referred to it as                        the


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 1      social graph for            the entire             set of data we          store   that

 2      might also be used by the product again.

 3                     And then there are additional                           types    of offline

 4      storage where we do                  things,       like logging for every kind

 5      of reason,      performance,                monitoring,          stability,      just

 6      backup,      and so on.              And a lot of that may end up in

 7      other systems         that can then be read from production.

 8                     SPECIAL MASTER GARRIE:                       So    --

 9                     MR.    EUGENE          ZARASHAW:          It could be read by the

10      product.

11                     SPECIAL MASTER GARRIE:                       Read by       the product.

12                     So    this       is    the question;          right?        There are

13      these 55      systems       that have been identified.                         We can go

14      through each one            to       figure       this   out or           and they've

15      identified a subset of 12.                         I get that's        a social graph.

16      Okay.       Great.     We can then say that we're down now to

17      43   systems.

18                     Okay?

19                     There's          still       43    systems    that may have

20      plaintiff data when the user activity is                                stored;    right?

21      Where is      a user       --    I mean,          it would be good to have with

22      some particularity where                     the actual user data that is

23      collected by Facebook                  --    all of it;          right?

24                     Because          there's          a lot of data you collect when

25      someone logs         in.        They don't          --   the computer gives you;


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 1      right?      They don't have an idea what their                   IP address

 2      is.     They have no      idea what version of their browser

 3      they're using.          They have no idea what version of their

 4      operating system they're using.

 5                      But I assume you,         like every other web-based

 6      application or platform,              check these          things,    you know,

 7      part for security,          part for functionality,              part for the

 8      user experience;         right?

 9                      Someone has      a Mac    that's      four years       old and

10      you try to       show them some        things      on the web,        it will

11      break the computer,            and other     --

12                      You know,      so you check these            things    and you

13      store    this    and associate it with the user.

14                      So what I'm interested in is what data you                       --

15      but I get you don't keep all of that.

16                      Okay?

17                      But let's be clear there's user data,                    like

18      page use.

19                      Okay?

20                      Let's   focus    on page use.

21                      Where does      the data for page use go?                Like

22      'cause      I assume you track how long they look at it,                        they

23      scroll,      the whole nine yards.

24                      MR.   EUGENE    ZARASHAW:         The last I touched this

25      in around 2015 or 2016,             the primary repository for              --


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 1      provide       once      and don't        read until         in bulk       or during

 2      analysis          data would have been               in Hive.           And there's

 3      quite possibly other                  specific       systems       it ended up            in   for

 4      data analysis            and    so    on.

 5                        But Hive was           the   general       repository            for

 6      analytics          data when         there was       no need for          the product            to

 7      ever    read it again.

 8                         SPECIAL MASTER GARRIE:                   Got    it.

 9                        And then       I'm looking          for    this       letter      to

10      show    --    I'll      share my       screen     in a second to              go    through

11      the    50    --   because       --    but here's       the problem:                Of    the   43

12      remaining          systems,      only one       of    them is       Hive.

13                        MR.   EUGENE        ZARASHAW:        I commiserate with

14      the    --

15                         SPECIAL MASTER GARRIE:                   There       are   42    other

16      systems       that      I'm    trying       to understand may possibly have

17      user data.

18                        MR.   EUGENE        ZARASHAW:        I commiserate with                  the

19      problem because               looking at       the    list,       I don't       recognize           a

20      number of          those      names    either.

21                         SPECIAL MASTER GARRIE:                   Well,       good.       I was

22      worried because               I was    like    searching          the    data      to make

23      that's       already been provided to                  see    if    it    existed.

24                         So   then    --

25                        MR.   EUGENE        ZARASHAW:        I think          the   clearest


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 1      distinction,            if we're    looking          for    --   understanding what

 2      data    then      left Facebook again                is

 3                        SPECIAL MASTER GARRIE:                   We'll     get       to    that.        I

 4      have    a whole         other    set of questions                of what       left,      came

 5      back,    received,         and all     of      that.        I have       a whole          set of

 6      questions         about    that.

 7                        So    then where     does      impressions             go?        Like how

 8      many    times      I reload or        load a page?                Like,    you know,

 9      you put      --    I'm sure you        track         it    for ads but also                just

10      impressions;            right?     Page     impressions            or ad       --    ad

11      impressions            and page    impressions             are    different;          right?

12      They're      different units,             so    to    speak?

13                        MR.    EUGENE    ZARASHAW:              So you've worked on

14      systems      --    you've worked on             similar          systems before where

15      there    are      task    specific     storage            systems.

16                        SPECIAL MASTER GARRIE:                    Yeah.

17                        MR.    EUGENE    ZARASHAW:


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24                        SPECIAL MASTER GARRIE:                    So    then    if a user

25      clicks      on an ad,       right,     and they engage with an actual


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 1      ad unit,     you capture       that and that ends up in the DIY

 2      (sic).

 3                    Like what I'm trying to understand is users

 4      and ad --     like page impressions           or whatever,      people are

 5      getting paid somehow.

 6                    So like how does         the user relationship to,

 7      just as     an example,       the ad --    they view a page and they

 8      see an ad.      How does       that data get stored and captured

 9      and associated with the user so you don't                    show the       same

10      user the     same ad 20 million times?

11                   MR.     EUGENE    ZARASHAW:      I'm not sure      that we

12      don't show the        same user the       same ad more       than once.

13                    I'm not sure exactly how we                store it    --    or I

14      should say I'm not sure of all of the ways we                       store it.

15                    But,    for example,      in case of an ad being shown

16      to a person,


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24                   And I am not a deep expert so                 I'm probably

25      missing other systems           that it also could get written to.


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 1                   SPECIAL MASTER GARRIE:                What I'm trying to

 2      figure out is       there's       two   systems,      1 and 2;     right?

 3                           And I'm trying to           figure out if you have

 4      user data relationship stored for the ad unit about what

 5      the user saw or is          it duplicative?             That's    the   first

 6      question.        And then    --    for systems        1 and 2.

 7                   And then my next very obvious                  question,       is   it

 8      duplicative of what you already put in elsewhere?

 9                   Because one of the            things       that nobody has          told

10      me yet is what is       duplicative of the DIY file versus

11      what is unique       that's not in the DIY file                  that you can

12      get from the       systems?

13                   So what I'm trying to            figure out is,            you know,

14      if data is       collected about user activity and it's                     stored

15      elsewhere besides       the Hive,        where     --    and those

16      12    systems,    where else is         the data stored?           Like

17      servers,    like,    I store       stuff on planet earth.               I mean,

18      it's big.

19                   Is    there any more            like,       do you have any

20      idea where       that information is         actually stored today or

21      was    stored?     Because    these are huge            systems;    right?

22                              is    like      they paid billions          of dollars

23      for it.     It is    a huge       system in itself;         right?        I mean,

24      there has    to be    some rhythm to where you're                  storing this

25      information.


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 1                      MR.      EUGENE           ZARASHAW:            Not all       of    these      systems

 2      are    that huge.

 3                      So       I think part of                 the    rhythm would be               that

 4      some    of    the    systems          are     designed to work with much

 5      narrower       sets       of    information,              such as          not having user

 6      cardinality data                sizes.            And instead,             for    example,        II

                     being       the    database where we                    store       ads    rather     than
I

 8      user data,          at    least as           of    --    last       time    I touched this

 9      back    in    2015,       2016,       it would not be                 able       to handle        the

10      load of       storing user                specific        data.        It's       too    small.

11      But    there    are       other       larger        systems          that    can handle user

12      scale    data       such       as    Hive.

13                      SPECIAL MASTER GARRIE:                              Yeah.

14                      As       I understand it,                 right,       DIY has          ad

15      impressions,             and    that means              every ad impression                  is

16      associated somehow                   to    the user,           so    that means          it doesn't

17      exist    just       in Hive.

18                      MR.      EUGENE           ZARASHAW:            I'm not       sure how we

19      produce       the DIY          file       and whether           that pulls             from Hive

20      or not.

21                      SPECIAL MASTER GARRIE:                              Okay.        Based on what

22      I've heard from Facebook                          repeatedly          --    but    fair,      good

23      question,       one       to    follow up on,              and I will             --

24                      Steven,             would you know by                 chance       if    the DIY

25      file pulls          from       --


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 1                         MR.    STEVEN ELIA:               I don't know             that either.

 2                         SPECIAL MASTER GARRIE:                        Okay.        Any next

 3      question       is before we             go    down any other              --    does       Facebook

 4      have    any    legacy       systems          that     contain plaintiffs                   --    that

 5      contain user data                today?         And I'll          give you an example.

 6                         I used       to work       in banking              for very       large

 7      banks,       like       in building          their     technical          systems.              There

 8      were    literally          times      where my         clients          would keep          systems

 9      alive until             the users       would just die because nobody knew

10      how    the    systems       actually worked.                     So       which       is    cheaper

11      than    trying          to move       these very wealthy                 individuals             off

12      these    systems          from a bank           they acquired so                they       just

13      kept    them around.              They       called them legacy                 systems         where

14      people       could access             the    data but not write                 new data          to

15      it.

16                         So    like    does       Facebook        --    but    I'm being

17      specific,          just broader.              Does     Facebook have             any       legacy

18      systems       that       contain user data                 in    it    today?

19                         Steven       or Eugene,           can you answer?

20                         MR.   EUGENE        ZARASHAW:            I think       it might help                to

21      have    a clear definition of                       legacy,       Mr.    Garrie,       if       that's

22      possible.           I don't       think        --    I don't know of any                   systems

23      that would match                the    example you              gave.

24                         SPECIAL MASTER GARRIE:                        Oh,    you    don't do

25      banking       so    I assume you have                 --   but        I mean    --


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 1                      MR.    EUGENE    ZARASHAW:        But     the    small    number of

 2      users    read only,       don't write        to    system,       and still being

 3      left up      in production,          I'm not      familiar with a system

 4      quite    like    that.

 5                      SPECIAL MASTER GARRIE:               Just products             that

 6      sucked and you killed them;                 right?        I mean,       there's       a

 7      lot of      reasons    why    things may be         legacy;       right?        Like

 8      I mean,      I think back        to,   you know,         there had been          lots

 9      of   things,     you know       --

10                      MR.    EUGENE    ZARASHAW:         I think any point             in

11      time    there    are    infrastructure          systems     we're       actively

12      trying      to migrate       off of.

13                      SPECIAL MASTER GARRIE:               Yeah.

14                      MR.    EUGENE    ZARASHAW:        But     that would be          in

15      that    list.     It's    usually about           the process          and they're

16      still    used to       serve production           traffic until          they    shut

17      down.

18                      SPECIAL MASTER GARRIE:               Oh.        Can you    identify

19      from that       list which one          those     systems       are?     Because

20      that would be very helpful.

21                      MR.    EUGENE    ZARASHAW:         I'm a bit       out of date            on

22      what's      currently being deprecated in                   infrastructure

23      versus      what's     new and shiny.

24                      SPECIAL MASTER GARRIE:               Because,          like,    I mean

25      I appreciate          that you use       elastic     search but          it's    --


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 1      that's       a very          --    people       specialize             their entire             lives

 2      just       in elastic             search       so    it's    worth noting.

 3                         So    then       it would be useful                   to    know if Facebook

 4      has    any    legacy          systems          that have user data                   in       them that

 5      are    accessible             through          the DIY       file.

 6                         MR.       EUGENE       ZARASHAW:              I do not know                the    answer

 7      to    that offhand.

 8                         SPECIAL MASTER GARRIE:                          Okay.           And what          I'm

 9      thinking about                is    remember Google                Plus?           I mean,          I do;

10      right?        That was             a horrible             like    --    well,       it's       all       --

11      Google       Plus       was       a system Google made                   trying          to    do    social

12      media       that    failed epically.

13                         And I'm willing                   to    reckon       that Google             Plus          --

14      Google       still       has       all    of    the       Google       Plus    data,          possibly.

15      Maybe not.              But       that's       an example          of what          I mean by a

16      legacy       system;          right?

17                         So    Google          doesn't          run Google          Plus       today.           But

18      I would       --    hypothetically                   they may          still       have       all    of

19      that data.              So    that's       what          I'm referring             to.        Because

20      there's been             lots       of machinations                over       the    years          of

21      different attempts                   so...

22                         MR.       FALCONER:              If    that's       not    --    if    that's          not

23      something          that Mr.          Zarashaw or Mr.                   Elia    can answer

24      confidently,             that might be                   one where       it makes             sense       for

25      us    to   go back and make                    sure we've          got       the    right answer.


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 1                         SPECIAL MASTER GARRIE:                       That's     fine.           I just

 2      want    to make          sure we       cover        that.       That's     fine.

 3                         Mr.    Elia,       you're not           in a position          to       answer

 4      this    or are you?

 5                         MR.    STEVEN ELIA:               I'm not aware             of others

 6      either.

 7                         I will       add that as           a general matter of policy,

 8      we    don't    retain data beyond the                       lifetime       in which          it's,

 9      you know,          necessary and used.

10                         So    in    these    kind of           scenarios       where       there's          a

11      product       that got          shut down and there's                    no way       for a user

12      to    access       it anymore,          the     expected behavior                is    that       is

13      not data we're                going    to    keep around.

14                         SPECIAL MASTER GARRIE:                       Yeah.      But would you

15      migrate       --    is    the    data migrated to                 other    systems          then?

16                         MR.    STEVEN ELIA:               If    that product was,               maybe,

17      morphed into             another one           that would continue being

18      accessible,             that's       possible.            But    if    it was    a product

19      that users          would have no way of getting back                             to,       I

20      wouldn't expect                that data        to be       kept       in any other          form.

21                         SPECIAL MASTER GARRIE:                       All     right.        So    then

22      I'd like       to       know    if    there     are       any of       those    legacy

23      systems,       just       to    confirm,        and if          there    are,    are       they

24      identified in             the    list?         If    they're not          identified in

25      the    list,       do    they have user data?                     If    they    do have user


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 1      data,    it would be helpful                to explain what            they do,

 2      rather than having to hold a whole nother hearing and

 3      back and forth,          if possible.

 4                      So    then    I assume Facebook has               a set of tools

 5      internal    for customer sort and other things                           to   track

 6      user data.

 7                      Are    those       tools    identified in this            list?

 8                      MR.   EUGENE        ZARASHAW:       I don't know that we

 9      have    tools    to per       se    track user data.

10                      SPECIAL MASTER GARRIE:                 You don't,         like,      have

11      a customer support group that like gets                           access      to    --

12      like    take down my page,               this   isn't fair,           they get a

13      different view than                --   of the user data than what the

14      user sees?

15                      MR.   EUGENE        ZARASHAW:       We do have operations

16      teams    that manage          specific queues          of work         that are      task

17      specific and they do get to                     see data about          the user that

18      is   relevant to        the    specific query they're working.

19                      So,    for example,          if there is         --    the example

20      you gave of a page being taken down,                           then    the person

21      working the appeal would have information about the

22      page,    some information about the user,                        the    reason for

23      the original decision that caused the page                              to be      taken

24      down and so on.

25                      But it's not really for tracking other data


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 1      about      the user.           It would be       the minimum data needed to

 2      make    a decision on,            in    this    case,          whether          to    grant       the

 3      appeal.

 4                     SPECIAL MASTER GARRIE:                          All       right.        Makes

 5      sense.

 6                     Are       there    other    sort of             systems          like       that?

 7                     MR.       EUGENE    ZARASHAW:              There          are    a number of

 8      integrity      systems          that are       similar          to       this    where people

 9      losing access            to    their accounts,             us       taking down             content

10      for a variety of violations                     of policy,                appeals          for most

11      of   the    take-down processes,                similar             systems          for    the

12      developer platform,               and so       on.

13                     SPECIAL MASTER GARRIE:                          And when you're

14      looking at         the user data,          where          is    that user data                coming

15      from?

16                     MR.       EUGENE    ZARASHAW:              Generally             from TAO.

17                     SPECIAL MASTER GARRIE:                          Oh,       from TAO.           Okay.

18      So we'll      talk about TAO             in a few minutes.

19                     But where          else    does       it    come          from besides             --

20      because      TAO    is    an    interface;       right?              So,       I mean,       it's       a

21      capability         --    there's       a lot    --    you guys             have your own

22      have vocabulary here but we'll                        call          it an       interface

23      capability,         whatever you want                to    call          it.

24                     Besides         TAO,    where     else          is    it getting             from?

25                     MR.       EUGENE    ZARASHAW:              TAO       is    a primary          storage


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 1      system.      The majority of day-to-day use                             data on Facebook

 2      lives    in TAO as           its    only   storage.

 3                    TAO       is    underneath         --   TAO    is    in    itself a pretty

 4      complex     storage          application written on                 top       of    thousands

 5      of multiple        databases but            --

 6                    SPECIAL MASTER GARRIE:                        --    mySQL       implement,

 7      right?      You    just       abstracted it out.

 8                    MR.       EUGENE       ZARASHAW:         Exactly.           It's       a grab

 9      database     at    the       top of MySQL.

10                    SPECIAL MASTER GARRIE:                        Okay.        Now we       can    --

11      technical     terms          are better       for me        than nontechnical.

12                    So       okay.

13                    MR.       EUGENE       ZARASHAW:        With        replication and all

14      that built        --    handled properly across                    data       centers       so

15      multiple     things.

16                    SPECIAL MASTER GARRIE:                        Okay.        So    TAO    is

17      backed by MySQL.               So    that's      where      all    the    user data          is

18      stored.

19                    MR.       EUGENE       ZARASHAW:         I may be          out of date.

20      I think we may have migrated the backing                                 store       for TAO

21      to   a different database.                  I'm out of date               on       this    one.

22                    Maybe          something      faster       than MySQL.

23                    But,       yes,       most user data,              including data about

24      a page,     why we       took down         the page,         the user who             is

25      had been on        the page,          the primary           storage       for       that would


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 1      be    TAO.

 2                         SPECIAL MASTER GARRIE:                       Okay.        So    then does

 3      Facebook          store       data about users             that       is    not directly

 4      associated with                the user or          --    I don't know.

 5                         What do          you guys       call    it?        What's       the    key       for

 6      a user?           You    called it a token.

 7                         Is    that       --    are users       --    so    there's          a lot of

 8      terms       that have been used so                    can we         agree    on one?

 9      Facebook          ID?     Token?           Whatever?           The    key?

10                         MR.    EUGENE          ZARASHAW:        The primary key would be

11      a user       ID.

12                         SPECIAL MASTER GARRIE:                       Okay.        So    then my

13      question          is    does    Facebook          store    data about users                   not

14      directly associated with a Facebook                                  ID but       is    capable

15      of being associated with                         that user?

16                         MR.    EUGENE          ZARASHAW:        I --       probably,          in    that

17      you    --    we    store       data       that    is based on          IP addresses,                and

18      with    sufficient work,                   you    could be       --    you    could make             a

19      probable          guess between a timestamp and an                            IP address,

20      what user was             using          that    IP address,          not    --    not with

21      certainty but with probability.

22                         SPECIAL MASTER GARRIE:                       Yeah.        I mean,          the

23      only    thing certain                is    I hold this         pen and        I drop          it,   you

24      know it hits             the    ground;          right?

25                         So    --    so    then       I guess    address,          e-mail,          phone


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 1      number.     Okay.     That makes         sense.

 2                    So   then what is         the process       that enables      data

 3      that is not stored in a manner directly                     --   so what

 4      systems     -- what's   the process           or systems where       --    that

 5      enable data that's not stored in a manner directly

 6      associated with the Facebook ID                 to be associated with

 7      it?

 8                    Is   that like what you're using --                 sorry.

 9                   MR.    EUGENE    ZARASHAW:         I don't know of any

10      single process because it               --   there's     a multitude of

11      systems     that store data in different ways,                   some of which

12      don't store it keyed off a user ID,                    in which case       --   if

13      a system is not designed to pull data by user ID,                          it

14      would take a significant amount of work to potentially

15      modify the     system to be able             to look it up by user ID.

16                   The analogy          --   oh,   sorry.

17                    SPECIAL MASTER GARRIE:              No.      Go ahead.

18                   MR.    EUGENE    ZARASHAW:         The analogy I would use

19      is    suppose you have an archive of newspapers                    that are

20      indexed by the language of the newspaper and the date of

21      that edition,       and you want to           find out whether my name

22      was mentioned in it.

23                    It would require going through the entirety of

24      the archive quite manually or writing new software                          to go

25      through the archive          to    find mentions         of my name because


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 1      during      the     original       design,      it was       designed to        only    look

 2      things      up by date           and language.

 3                        So we have        a number of          systems       like    that where

 4      it was      just not designed from day one                       to    serve    queries

 5      of   that     type.

 6                        SPECIAL MASTER GARRIE:                  So    then    --    sorry.     I'm

 7      just    thinking about             it all.       Sorry.         I'm listening.

 8                        So     --    but you have      a --     using your analogy,

 9      you have       a list of delivered papers                      with addresses;

10      right?

11                        MR.     EUGENE    ZARASHAW:          Often not        even

12      addresses.             Often     something much more             rudimentary       like

13      some    other       identifier       --

14                        SPECIAL MASTER GARRIE:                  You    could delivery          the

15      paper    if    it      rained that day.

16                        But     the point       is   you have        a list    of delivered

17      papers      with       some     identifier,      the     address       or whatever,

18      and then you             connect    the paper       to    a       you    can    connect

19      that paper          to    a user.

20                        MR.     EUGENE    ZARASHAW:          Sometimes.            Sometimes    we

21      don't even maintain                the    identifiers.           A lot of       it ends

22      up being anonymized intentionally or unintentionally

23      because       only       the    necessary data         is maintained.

24                        So,     for example,         you might        store performance

25      data about a system with no useful                           identifiers        at all.


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 1      Just how did the                system perform during each                         request with

 2      no    IP address          and no user data,               which would make                    it

 3      nearly       impossible          to    tie    it back.

 4                        SPECIAL MASTER GARRIE:                        Okay.        So    then       if we

 5      look at       the    systems,          these       43    other    systems,             so    if

 6      you    select       --    you    select       --    you    remove          the    12,       do you

 7      have    any      idea of what of              those       43 would be             --    right?           I

 8      mean,       they all       have       data.        The    question          is    what       --    how

 9      is    that data being,                you know,          used    --    or    connected to                --

10      using your newspaper example,                            how do we          know which ones

11      of    those      systems        actually       can or use             to    take       the    list of

12      delivered papers                with addresses             and connect             the papers

13      to    a user,       as    an    example?

14                       MR.      EUGENE       ZARASHAW:           It would take                a very

15      significant number of engineers                            a fair bit             of    time       to

16      even answer          that       question,          unfortunately.                 I do not know

17      offhand.

18                        SPECIAL MASTER GARRIE:                        But    then       the       engineers

19      for each of          those       systems,          I mean,       at    some       level       someone

20      has    to   know     --    I mean,        let me be more               tangible.

21                        If we        look at a system like                               --       I mean,          I

22      don't know what                         is.        It's    literally             System No.             6,

23                  --

24                       MR.      EUGENE       ZARASHAW:           I don't either.

25                        SPECIAL MASTER GARRIE:                        Okay.        Steven,          do you


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 1      know what                     is?

 2                       MR.     STEVEN ELIA:                  I don't,          and I don't even

 3      recognize         the majority of                 the    list.

 4                        SPECIAL MASTER GARRIE:                           Yeah.

 5                       Oh.      What about              --    oh,                        is    a MySQL

 6      database.

 7                        Is    there       a user data           in                       --    I assume,

 8      taking our newspaper address                            example,          and                           is

 9      No.    38   in    the    list       --    well,        I'm saying list.                      There's         a

10      letter provided by Facebook                            called Facebook                  Supplemental

11      Submission.             I could share              it.        I mean,         it    --       but

12      there's       this      list of          systems        identified.

13                       Would you know if                                       is   one       of    those

14      systems       we're      talking about?

15                        Is    there       any way        if you          look at         this,       you and

16      Steven      --    I can       share my           screen       --    say which ones                  would

17      possibly be            able    to    do       that newspaper example?

18                       MR.     STEVEN ELIA:                  I think       it would be

19      difficult         to    say which ones might be,                          given         that Eugene

20      and I don't            recognize many of                 these.

21                        The                         example     I believe was                  one       of    the

22      12    later      identified,             so    that may not be                the best example

23      to    ask us      on.

24                        SPECIAL MASTER GARRIE:                           Oh,    yeah.          Sorry.              I

25      tried to highlight                  them all.


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 1                        What about                                         ?     It's    No.    48.

 2                        MR.   EUGENE     ZARASHAW:        I have not heard of                  this

 3      one.

 4                        MR.    STEVEN ELIA:           Same.

 5                        SPECIAL MASTER GARRIE:                 How about

 6                              ; is    that one?        I mean,      that...           What's

 7

 8                        Is    that    one you    can    connect back?

 9                        MR.   EUGENE     ZARASHAW:        I don't know of               that one

10      either.        I mean,         I can volunteer an example,                     if you'd

11      like,    that might be            a good one,       which      is    --

12                        SPECIAL MASTER GARRIE:                 Yeah.

13                        MR.   EUGENE     ZARASHAW:        --

14                        SPECIAL MASTER GARRIE:                                   Okay.

15      Didn't      think                    All    right.        Good.

16                        MR.   EUGENE     ZARASHAW:        So                    is    a search

17      back end for            searching.        And it's       a duplication of data

18      stored in other            systems.        So    it enables         the    --    using

19                   to    index another          system allows          you      to    create    a

20      search application               for another       system      --    for       specific

21      types    of queries            for another       system.       So    it's       generally

22      pointed at         things       inside    TAO,    because      TAO     itself does

23      not    serve      any kind of       searches.

24                        So    there    could possibly          --   depending on what

25      kind of      search       indexes     somebody at one point                    created,    it


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 1      is    possible          for    there       to be user data                 inside

 2      but    it would be             duplicated in               the      other      systems       that

 3                    is    fronting.

 4                         SPECIAL MASTER GARRIE:                           Because         it's    sitting

 5      over.

 6                         So    then    if       they       --   so   then       if you      infer data

 7      about    the users             and it          could be        connected            to people       --

 8      all    right.           That makes             sense.

 9                         So    then what             I'm trying           to    figure      out   is    one

10      of    these    systems          --    so       then you have              --   because       then,       as

11      I understand it,                right          --    I guess maybe             the better way

12      to    look at       it    is    what       systems         store         the   information used

13      to    create       each Facebook                ID?

14                         Can we       do    it       that way?

15                         Like       a user profile?

16                         MR.    EUGENE          ZARASHAW:            What do you mean               create?

17                         SPECIAL MASTER GARRIE:                           Well,      when you       create

18      a new user,             right,       it    stores         data?

19                         MR.    EUGENE          ZARASHAW:

20                         SPECIAL MASTER GARRIE:                           Where      is    that    --   on

21

22                         Because       --       so    then      --   so    then what         systems

23      store    the       data necessary                   from that        list      to    compile      a

24      single user's             profile          or profile            once      it's      created?

25                         MR.    EUGENE          ZARASHAW:            By    compile,         do you mean


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 1      for DIY or             for a certain         type   --

 2                         SPECIAL MASTER GARRIE:                     Not DIY.           I'm talking

 3      for Facebook.                 Because     remember       the       definition          the

 4      Court       --    so,    yes,    I wish      that was         that       simple.

 5                         The    Court    said data        collected from a user's

 6      on-platform activity,                   data obtained from third parties

 7      regarding a user's                off-platform activities,                       and data

 8      inferred from a user's                    on-or-off platform activity.                             So

 9      it's much broader                than what        sits    in       the DIY       file.

10                         MR.    EUGENE       ZARASHAW:         I don't have                a good

11      answer       to    that one       as    to which of           these       systems may have

12      some    of       it.

13                         The hard part of              that question             is    also       knowing

14      which parts             are    just duplicates           of    something else.

15                         SPECIAL MASTER GARRIE:                     So    if    I could get             the

16      first question answered,                     then   I want          the    second part

17      answered.

18                         But    it's    very     challenging             --    who    at    --    if    it's

19      not you or             Steven    that     can answer          this,       who    at Facebook

20      can    --    'cause       it's    pretty        simple;       right?           I mean,       this

21      question          is    simple but        the    answer       is    deceptively

22      complicated.              And I'm just           trying       to understand at                   the

23      most basic             level    from this        list what we're                looking at.

24                         MR.    EUGENE       ZARASHAW:         I don't believe                   there's

25      a single person                that exists        who    could answer                that


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 1      question.           It would take               a significant         team effort           to

 2      even be      able       to    answer        that question.

 3                        SPECIAL MASTER GARRIE:                    Okay.          There's      a

 4      Facebook       ID      and there's             an ad impression mapping;                  right?

 5      'Cause we         know       that because          it's    in    the DIY      file;       right?

 6                        It's       either       in                or

                                                                        right?
I

 8                        MR.    EUGENE          ZARASHAW:        (Nodding.)

 9                        SPECIAL MASTER GARRIE:                    Where      is    it    stored        --

10      who    knows      where       these       things     are being        stored?

11                        MR.    EUGENE          ZARASHAW:        Whoever      is    responsible

12      in    the   ads     team      for    logging impressions               would be         the

13      most    likely person               to    know everywhere            it would be

14      logged.

15                        SPECIAL MASTER GARRIE:                    And that would be

16      associated with               a user?

17                        MR.    EUGENE          ZARASHAW:        And which parts            of     the

18      logging are user               associated versus                which parts        of     the

19      logging are            only    associated with             the      ad in    advertiser

20      but not      the user.

21                        SPECIAL MASTER GARRIE:                    Yeah.

22                        So    --

23                        MR.    EUGENE          ZARASHAW:        And the      challenge          is     for

24      each product,            it would be             a different         set    of people          that

25      would know how               that    specific product area                  does   logging


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 1      and data       retention.

 2                         SPECIAL MASTER GARRIE:                          Because          I see       these

 3      systems       that have             ad in       it but nobody             seems       to be          able

 4      to    tell me       if       it's    user data          in    the       ad system.

 5                         And I know             that you          can    infer and make

 6      relationships                about    the user ad data                   that's       --       because

 7      you have       it       in your DIY             file,       but    there's          obviously more

 8      data    that gets             attached to          the user's             activity             to    the

 9      ad unit       that's          sitting        somewhere            in    these       systems.              And

10      I'd really          like       to not make             Facebook go             and figure             it

11      out    for every             single       system.           But    the    Court       says

12      on-platform or off-platform activity,                                     so    associated with

13      a user.

14                         So    --    but    I hear you.

15                         All       right.        Steven,          do you have             any    idea?

16                         MR.       STEVEN ELIA:              As    I said before,                I also

17      don't even          recognize             some    of    these.           I would also                agree

18      there's       not a single                individual who would recognize                                  all

19      of    these    or be          familiar enough with all                         of    these.

20                         SPECIAL MASTER GARRIE:                          But    there       are       --    there

21      would be       a group          of    individuals             that       could access                --

22      someone       at    some       level       --    because          the    ad unit          is    a great

23      example;       right?

24                         Facebook          ID    to    ad impression maps;                      right?

25      It's    either          in    the Hive          and extracted in a periodic


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 1      fashion and stored elsewhere because                  that's how it ends

 2      up in the DIY file.

 3                   Whatever system it's          extracting it from would

 4      theoretically have a richer dataset about                  the ad user

 5      engagement,     or maybe not,         but someone needs         to clarify

 6      of your list of systems yes             or no.

 7                   MR.    STEVEN ELIA:        What I would say is            each of

 8      these 55     systems will have a team of engineers who are

 9      responsible and knowledgeable about it,                  but even then,

10      those individuals may not know all of the ways                        in which

11      that system is used by other teams.

12                    SPECIAL MASTER GARRIE:             I get that.

13                    But I'm looking at it from the              --    yes.     I

14      agree.      But I'm looking at it in the narrow definition

15      of how the Court has       defined user data as            to what needs

16      to be pulled for       these users.

17                   And the Court has made a very explicit

18      determination,       Judge Corley and Judge Chhabria

19      affirmed --     I don't know who did.             But Judge Corley

20      clearly said these       three    things;      right?

21                   And so    there has       to be   some way    to    --    like   I

22      have no problem with an          --    like if it's      too hard or too

23      complicated,       you could articulate          them.    But what it

24      can't be is     it requires      a group of engineers            to    tell me

25      whether or not the ad unit and the ad impression mapping


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 1      part of it,           you know,       because it's         going take a long

 2      time and cost a lot of money.                       Like    I appreciate all

 3      that but there needs                 to be    tangible pieces            of it.

 4                        But if you don't know the answer,                       that's       a

 5      legal argument which has no business here.                                This    is    just

 6      more       just I want     to get as many technical                     questions

 7      cleared up.            And I can bring my legal questions up with

 8      the parties           downstream and not waste your                     time.

 9                       MR.    FALCONER:          I think what          --    sorry.     I don't

10      mean to cut you off.

11                        But for Mr.         Garrie,     I don't think Mr.              Zarashaw

12      or Mr.       Elia works      a lot with the ads                 -- business       in the

13      ads platform.

14                        So maybe      --    could we      take    that one back,             too,

15      of    --    to   find someone who works              in this          area a little

16      bit more         frequently and directly and see if that might

17      be one where we           could get back to you with a better

18      answer from someone who is more                      familiar with this                in

19      their day-to-day work?

20                        SPECIAL MASTER GARRIE:                Because all         I'm trying

21      to do is         go   through this         list and figure out what

22      systems have user data and how they                         --    and how --

23      like       -- because     I'm pretty certain that Facebook                        --

24      the    --    Facebook     ID,    just based on my understanding of

25      the DIY file,           is pulling data from different systems.


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 1      And those       systems may have additional data about the

 2      user sitting in them.                   They may or may not be

 3      accessible,          or may be duplicative or may not be,                    but

 4      there has       to be         some way of figuring out the

 5      information;            right?

 6                      Because         IP addresses may sit in             this

 7      database      --     or ad impressions             --    I don't know about ad

 8      impressions              but my likes            sit in this     database,    and

 9      the DIY file may               --   the application may pull           from that.

10      But the database may have other information about my                                --

11      the user.

12                      And the Court,             just with this        definition,

13      intentional or otherwise,                   is   on platform activity,         I

14      mean,    it's      --    I clicked a like;              right?   I mean,   it is     --

15      as   an example.              But we'll keep going.

16                      So      then does       Facebook include information in a

17      user profile            that is not posted by the user to Facebook?

18                      MR.     EUGENE       ZARASHAW:          What definition should

19      we use      for the user profile in this                    case?

20                      SPECIAL MASTER GARRIE:                   Well,   I could tell you

21      how the Court            --   well,     interesting you ask because you

22      have patents            that define how you create user profiles

23      that I've actually read.

24                      But we won't get into                   the patent piece of it

25      and just      --


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 1                    How would you define a user profile?

 2      A Facebook ID;        right?        That's    a human        --    how about this,

 3      a breathing human entity interacting with your system?

 4                   MR.     EUGENE      ZARASHAW:        But what I mean is what

 5      else makes up a user profile?

 6                   We don't generally              -- when we look at user

 7      profile internally,           that term generally means                      a user,

 8      but it's not necessarily a collection of data.                                  So    I'm

 9      not sure how to answer that question.

10                    SPECIAL MASTER GARRIE:                So      the user is          a --       I

11      mean,   the user,      I guess you want to call                    it an object.

12      I mean,     calling it      --    I mean,     the user is              --   you have a

13      whole   social graph schema.               Like,    I mean,            you clearly

14      there's     a user    --   I'm not as        familiar as you're                 --   as

15      you guys     are of your system,             but we'll        call          the user an

16      object that interacts with a whole litany of services

17      and systems.

18                    Some data,         right,    like    some is

19      system-collected data,              like   the mobile activity,                  where

20      they were when they logged in,                  their OS,          whatever,         or

21      the computer or whatever.

22                    But what you          --   I guess    the best way to                  think

23      about it is       if you say Facebook include                     --    and its user

24      profile     that is    not posted by the user to Facebook so

25      the user     --   I guess     the Facebook profile page,                       if you


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 1      want    to    --    we    can be       --    maybe       that helps                --    let's      say

 2      Facebook profile page.                       Let's       start with                that.

 3                         MR.    EUGENE       ZARASHAW:              So    is       the    question            then

 4      is   anything rendered on                    the    Facebook profile page                           for       a

 5      user    that was          not put       there by          the user?

 6                         If    so,    yes,    in     that      --

 7                         SPECIAL MASTER GARRIE:                          Yes.

 8                         MR.    EUGENE       ZARASHAW:              --    there would also be

 9      activity of other users                      that       involve          this       user's

10      activity.

11                         So    as    an example,          if user A tags                      user B in a

12      photo,       that photo may appear on user B's                                     page,      even

13      though user B did not post                         it.

14                         SPECIAL MASTER GARRIE:                          So    then how is               --    so

15      is   there        a list       of what       information                that       is    and how it's

16      obtained?

17                         MR.    EUGENE       ZARASHAW:              The       challenge with

18      answering          that question             is    the    data          is   not        --   you    can't

19      always       go    from a user          to    all       data       referencing a user.

20                         SPECIAL MASTER GARRIE:                          No.       We     talked about

21      that.        I get       that.

22                         Let's       just    say Facebook profile page                              is    how

23      we'll    start with.

24                         So    does    Facebook          include          information               in

25      Facebook profile page                   that       is    not posted by                   the user         in


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 1      Facebook?           The       answer       is    yes.

 2                      And then my question                         is,    do you have                a list       of

 3      what    information                that    is?

 4                      MR.       EUGENE          ZARASHAW:           I do not have                a complete

 5      list,    but    some          of    that would be             in III          and       some    of    that

 6      would be       in                            for      the    case       of    the user profile.

 7                      And then             I don't          recall which             system we use

 8      these    days       to    store          the photos,          but       if    the photo          --    if    a

 9      user was       tagged in a photo,                      the photo             itself would be

10      stored in yet             some       other database.                    And then          the

11      identifier          for       the photo          stored in          that database would

12      be   stored with              the post          inside                                   most    likely.

13                      And speaking of                    the      earlier          challenge,          you    --

14      I don't believe                you would be              able      to    go    from the photo

15      to   the user.            Only       the     other direction                  --    or    from the

16      photo    to    the post,            but only           in    the    reverse             direction.

17                      SPECIAL MASTER GARRIE:                             Okay.           That makes

18      sense.

19                      So       then       --

20                      MR.       FALCONER:              Mr.     Garrie,         I don't know if

21      you're      about        to    change        topics.          We've been                going    --

22                      SPECIAL MASTER GARRIE:                             I am.

23                      MR.       FALCONER:              --    a bit more             than an hour.

24      Would it be          okay          if we     took      --

25                      SPECIAL MASTER GARRIE:                             Yeah.           We    can    take    a


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 1      break.          Sorry.        I get      --

 2                        MR.       FALCONER:          --    so Mr.          Elia and Mr.            Zarashaw

 3      can   stretch          their      legs,       get    some water,               and use       the

 4      bathroom.

 5                        SPECIAL MASTER GARRIE:                            Yeah.       I apologize.

 6      Certainly.             So    literally         it's       a perfect breaking point.

 7      We're      --    yeah.       We    can    take       a five-minute break.

 8                        Plaintiffs,            if you want                to   --    if you have          any

 9      questions         that you want               to    ask,       I'm happy            to hear    them

10      when we         come back         from our          five-minute break.                      We'll    go

11      off   --    wait,       before we         go       off    the       record.          Sorry.        We'll

12      go         I'm sorry.

13                        So    the plaintiffs,                  organize your               questions

14      during      the    five-minute break.                         We'll      go    off    the    record

15      for   five minutes             and we'll            resume          --   we're       actually

16      right at         the breaking point                  so       that's       perfect.

17                        And then         if Facebook                --    I'm sorry.          If    counsel

18      for Facebook has               any    follow-up questions                       that    they       think

19      should be         asked,       please         feel       free       to   ask    --    you know,

20      spend your         five minutes               thinking of any of                     those

21      questions         as    well.        And we'll            resume         in    five minutes.

22                        Okay?

23                        So now we're            going          to    go    off      the    record.

24                                  (Break    taken         in proceedings.)

25                        SPECIAL MASTER GARRIE:                            So plaintiffs,            are


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 1      there any questions          that you want to ask me               that you

 2      think I should ask or follow up based on what we've

 3      discussed so       far?

 4                   MS.   WEAVER:      Yes.      I think there's              one general

 5      framing question and then there's                a follow-up with some

 6      specific questions         about identifiers.

 7                   The    first general       framing is         trying to       find

 8      the internal word or jargon that Facebook uses                           for what

 9      externally people         refer to as        a profile.          And to

10      distinguish that          from the profile       that is         on,    you know,

11      a person's    Facebook page,         which is        to   say:

12                   When Facebook is          seeking to provide

13      personalized ads          to Facebook's       actual      customers by

14      drawing off datasets          about,    say,    one of our named

15      plaintiffs,     they aren't going to            the download your

16      information tool.          They are drawing from some different

17      kinds   of datasets        that is   contained within Facebook that

18      is much larger in scope           than just what somebody posted.

19                    It includes      that inferred data from on and off

20      the web that's       in one of the        three categories you named.

21                   And so       the question is       --    that's      the    framing.

22      The   specific question is:            Are    there identifiers            or

23      cookies,    like    the data cookie or a pixel,                  that can be

24      used to     trace data connected to            the named plaintiffs               in

25      realtime     today that we could use as               an exemplar?


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 1                         For example,             if we had today               the    named

 2      plaintiff go             on,    we    looked at         the       data    flow and said

 3      there's       a Facebook data                cookie      that       is    associated with

 4      them,       could we       go    in    realtime         today and use                an

 5      identifier          like       that    to pull         information             that       is

 6      inferred?           Like       the    --   whatever verticals                   or    segments

 7      these named plaintiffs                     are    in.

 8                        Not     the    generic         ones    that are             available          on    the

 9      outward-facing Facebook profile,                              but       the    internal          ones

10      that Facebook uses                   to personalize               targeted ads.

11                         SPECIAL MASTER GARRIE:                         That was       a topic          of my

12      next    section,          but we       can kick         it    off.

13                         Could you          reask      the    question,             though       --

14                         Go    ahead,       Counsel      Falconer.              Did you have                any

15      question?

16                        MR.     FALCONER:           Well,      just       --    I'm not          sure       if

17      Mr.    Elia       is back yet.

18                         SPECIAL MASTER GARRIE:                         Oh,    he's    not.           I'm

19      not    --

20                         So,    Carlos,          could you         find Mr.          Elia,       or

21      Steven       --    or Mr.       Elia and move him back?

22                        MR.     FALCONER:           I also         --

23                         JAMS    CONCIERGE          CARLOS         ESPINOZA:           I think he

24      might have          left       the    session.          I don't          see    him listed

25      anywhere.


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 1                        SPECIAL MASTER GARRIE:                            That       could be          a result

 2      of me,      to be honest.

 3                       MR.     FALCONER:              I also         am not on video                   for

 4      everyone         so    I need      --    I apologize.                    I need       to    log out

 5      and log back            in because            I can't          see       anybody's          video.        So

 6      if    that's      all    right,         I'll       do    that as          quick       as    I can.

 7                        SPECIAL MASTER GARRIE:                            Okay.

 8                       MR.     SANDEEP         SOLANKI:              I can       try       to ping Steven

 9      just on our            internal         chat.           So    I assume          that's       okay with

10      everybody,            just    to   see where he                is.

11                        SPECIAL MASTER GARRIE:                            Yes.        We    can go       off

12      the    record.

13                       MS.    WEAVER:              Special Master Garrie,                         we    know

14      that    there's         a replacement               ID.        You know,             is    that an

15      identifier            that    can be used to                  track people?                 Is    it    the

16      data    cookie?          I don't         really know.                    Are    there       cookie

17      values      we    could create               right now          that are             connected to             a

18      Facebook user            ID    to use         as    an exemplar?

19                        SPECIAL MASTER GARRIE:                            So    I got       the    question

20      gist.

21                        So    it    is   the next             section          that    I sort of have

22      to    cover with         them.          So    I will          get    to your          question as

23      it    comes      up    in a timely manner as                        we    go    into       this    next

24      sort of       section.

25                        But    I have         similar          --    so    --    questions             there,


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 2                      Why don't we             give    them a minute          to...

 3                      MR.    SANDEEP       SOLANKI:           Oh,    he   said the     Zoom

 4      disconnected,          gives       him an error          to    log back    into    it.

 5                                   (Pause       in proceedings.)

 6                      SPECIAL MASTER GARRIE:                    We    can go back on          the

 7      record.

 8                      And I can ask Mr.                Zarashaw my          first question

 9      in    this    area and when          --     I'm assuming if his            answer       is

10      very    succinct,      we'll        go back off          the    record.        If not,       we

11      will    continue       forward.           And hopefully Mr.            Elia will be

12      back.

13                      With    that       in mind,       going back on          the    record,       I

14      have    a general       question,          which    is    sort of how does

15      Facebook       refer    to    the    set of data          it has      about users

16      inclusive       of embedded and inferred data associated with

17      a particular          individual?

18                      MR.    EUGENE       ZARASHAW:           The    only    term I could

19      think of       is   user     data.

20                      Just    to    add to        that,   we    don't generally          talk

21      about    it    in   terms     of    --    in    those    terms      of user and all

22      the    data associated with                 them.       Most of our

23      conversations          are    in    the    other direction of a product

24      and the       things    related to making                the product       --    specific

25      product work.


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 1                         SPECIAL MASTER GARRIE:                        As    engineers,          when you

 2      build something,                  how do you          refer      to    it?

 3                        MR.     EUGENE         ZARASHAW:          Honestly,          data.

 4                         SPECIAL MASTER GARRIE:                        Yeah.        But    I'm a

 5      unique piece            of data.              You    call me      a user       object.

 6                        How do          you    --    there has         to be       some mechanism

 7      for when you're                developing            things      to    refer    to       the   data

 8      about a user.

 9                        MR.     EUGENE         ZARASHAW:          So we       generally          refer      to

10      them as       users       or      as    people,       and a user         ID    is    the primary

11      identifier          for a user.

12                         I think         the    challenge         is    in    the    direction of

13      the    connections             between         the    data.       A lot of          --    in my

14      experience          outside            of Facebook,         a lot of          the    time      it

15      things       would start with a user and fan out                                from the

16      user.        So you       could start with a user                       --    a simple

17      product and find all                     the    data about            them.

18                        Because we have                   centralized infrastructure                       for

19      certain       things,          and then many products                    and    surfaces

20      built       that both          share      some       of   the    same    infrastructure,

21      it    tends       to be      the       other direction around where you have

22      additional          data       in various            systems      that       reference         a

23      user,       but    it's      --    unless       you know what you're                     looking

24      for    --

25                        As    an     example,         it's much easier               if you have            a


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 1      post    to    go    find the user               that made        the post       than       if you

 2      have    a user          to    find all        of   the posts          they made.

 3                         SPECIAL MASTER GARRIE:                    Like       a phone number             or

 4      something key                to    the user?

 5                         MR.       EUGENE       ZARASHAW:        The    key    is    the user         ID.

 6      It's    a 64-bit             integer       that    is   the unique           identifier         for

 7      the user          that       is   used for most           systems       inside       Facebook

 8      that are not anonymized.

 9                         SPECIAL MASTER GARRIE:                    That's more             than all

10      the people          in       the world so          I'm pretty          sure    you don't          run

11      out of numbers.

12                         MR.       EUGENE       ZARASHAW:        Funny       topic,       we   actually

13      are.

14                         SPECIAL MASTER GARRIE:                    Really?

15                         MR.       EUGENE       ZARASHAW:       Because we           share       that

16      64-bit       ID    space with other objects                      as   well,     due       to   some

17      poor    infrastructure                choices       a long       time    ago.

18                         So we're          running out of          64-bit numbers.

19                         SPECIAL MASTER GARRIE:                    Got       it.

20                         So    then       the    64-bit numbers,            every user           that

21      trace    through             --    okay.

22                         MR.       EUGENE       ZARASHAW:       But     there       are    systems

23      that don't          care          about    the user       in question,          so       the user

24      ID   can get dropped often as                       the    data       traverses          through

25      systems.


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 1                      SPECIAL MASTER GARRIE:                         Okay.

 2                     MR.     EUGENE       ZARASHAW:             Basically          the    general

 3      privacy       take    on    this    is    if we      don't need to                log PII,       we

 4      don't.

 5                      SPECIAL MASTER GARRIE:                         No.     I get       that.

 6                      But how       then       --    there has         to be       some mechanism

 7      that    I could use          to    search       these      different          systems       to    --

 8      because       I'm at a --          like,       the   Court's         definition,           right,

 9      unfortunately          says       "Data       collected from a user's

10      on-platform activity,"                   right,      which       could       --    and the

11      second is       "Data       obtained from third parties                           regarding a

12      user's       off-platform activities,"                     which we're             about    to

13      get    to,    and third is          "Data       inferred from a user's

14      on-or-off platform activities."

15                      So    the    issue       then becomes            all    of    these

16      systems,       there has          to be       some   --        a mechanism that will

17      allow me       to    trace    the    data       that      is    associated with             that

18      64    bit key.

19                     MR.     EUGENE       ZARASHAW:             I think       that's       the

20      challenge we're             facing right now is                  that    is       not a use

21      most of       these    systems       exist because               the    generalized

22      systems      weren't        sufficient usually                  for performance

23      reasons.

24                      So    the    reason you're             seeing 55         systems       on    that

25      list    is because we             started out with               two    or    three,       and


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 1      for various         reasons,      as we built certain products,               the

 2      performance or cost characteristics                     of the generalized

 3      systems      just didn't work for those use cases.

 4                    And so we ended up adding specific                     systems       to

 5      serve      just one use case.

 6                     One example,         would be       storage of large blobs

 7      of data,      i.e.,    photos      or videos,       is highly      specialized

 8      and only does         one    thing.      It does     it far better than our

 9      other methods         of    storage but it only does              that one

10      thing.

11                     The use case you're mentioning of I would like

12      to look up all of a thing about a user from the                         system

13      just was not in            this   original      specification,       and it

14      would have      to be built.

15                     So    I actually think the photo              system is       a

16      great example because it would be a rather nontrivial

17      effort if you went into               that system and tried to           find

18      old photos      for a user.

19                     You would have           to go     to a completely different

20      system,      find how the photos            are    tracked about a user,

21      get the entire list of photo identifiers,                         then go back

22      to   the    system and look up each photo.

23                     Just because we never originally built the

24      capability to go and find all photos by a user key.                                In

25      fact,      I'm not certain a user key exists                 in    that system


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 1      at all.

 2                      I think most of               the    challenges            we're    going         to

 3      see    is because         of    these highly          specialized            systems        where

 4      it was      a implementation                cost and operational                  cost

 5      decision      to    only build for             the    specific use               case    they

 6      are    good at and nothing else.

 7                      SPECIAL MASTER GARRIE:                      Then,      Steven,          I'm

 8      going    to   ask you          the    same    question.

 9                      MR.    STEVEN ELIA:             Sorry.        I had         technical

10      issues.       Could you          repeat       the    --

11                      SPECIAL MASTER GARRIE:                      I'll      reask       the

12      question.          Yes,    of    course.

13                      So how does            Facebook       refer      to    the       set of data

14      it has      about users,             inclusive       of embedded and inferred

15      data associated with                  the    individual       user?          Like       a

16      Facebook profile;               right?        I mean,       how does         Facebook

17      refer    to   it?

18                      MR.    STEVEN ELIA:             I would refer               to    a profile,

19      a profile       data      in a few ways myself,                  and that's             probably

20      in a much more narrow                  fashion       than    I think         the    Court had

21      defined here.

22                      Often when            I'm thinking about a profile,                           I

23      think of      the     data directly on               that user object               in TAO

24      and other data            like       their    content       that      is    associated

25      with    that,      usually       in    that    same       system.


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 1                         SPECIAL MASTER GARRIE:                  Then what about                 the

 2      inferred data                that you get associated with                    that user           ID?

 3                         MR.       STEVEN ELIA:         Do you have        an      example you

 4      have       in mind of          inferred data?

 5                         SPECIAL MASTER GARRIE:                  I mean,        you       collect

 6      on    --    there's          a litany of data;          gender,      age.           I mean,          we

 7      can    --    I can give             a very        I guess maybe           the newspaper

 8      example,          you know,          where we have       a list of           the     delivered

 9      papers       with addresses,              and I can      connect        that paper              to

10      that user.              And    then    from there,       I could        --     you know,             or

11      ad impressions;                right?        You know...

12                         We    could use        the newspaper.            Maybe         that's        a

13      good place          to       start.

14                         MR.       STEVEN ELIA:         As   Eugene was         saying,          I

15      think       --    I only       caught part of his            answer       there before                I

16      reconnected             --   when we      don't    store     the user          ID with          some

17      of    this       data,       it's    generally very difficult                  to    look       that

18      up by user or associate with                       the user because                 that    is

19      not    indexed in             that    fashion.

20                         And so when          I,    again,    think of        this        kind of

21      user data,          I would think of,              well,     what    is      the     data

22      that's       primarily          indexed by        that user       ID?

23                         SPECIAL MASTER GARRIE:                  You have          55     systems.

24                         MR.       STEVEN ELIA:         Many of which           I wouldn't

25      expect       to    contain user           IDs   at all     or even        if      they did,


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 1      certainly not be                indexed by             that.

 2                         SPECIAL MASTER GARRIE:                       Well    --    go       ahead.

 3                         MR.    STEVEN ELIA:                 Yeah.        And so    connecting any

 4      data    in    there back             to    a particular user would be

 5      difficult or             impossible             in most       cases,    if    that's       not how

 6      it's    stored.

 7                         SPECIAL MASTER GARRIE:                       But a system that

 8      takes    a user          ID,    right,          and then       returns       data       that

 9      matches       to    the user             somehow is based on                characteristics.

10                         MR.    STEVEN ELIA:                 A system that          takes       in a

11      user    ID    and indexes                the    data    that way,       those          systems    do

12      exist,       but most          of    the       ones    in    that    list of       55,    I don't

13      believe       operate          in    that kind of             fashion.

14                         SPECIAL MASTER GARRIE:                       Can you       identify which

15      ones    you know of             on       that    list       that operate          in    that

16      fashion?

17                         MR.    STEVEN ELIA:                 The primary          system that

18      operates       that way             is             and that's         the    system       --    the

19      only one       I can       think of             that    I've personally used that

20      operates       in    that       fashion.

21                         MR.    EUGENE          ZARASHAW:          The     other    one       I can

22      think of would be

23                         SPECIAL MASTER GARRIE:                       MySQL doesn't work

24      with    the user          ID    key?

25                         MR.    EUGENE          ZARASHAW:          Depends        how    the    keys    are


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 1      set up.     III       is    a layer on          top of       it   that     does    its    own

 2      keys.

 3                      SPECIAL MASTER GARRIE:                       That's'       a question       I

 4      had.

 5                      Why    is    MySQL       in    there?

 6                      MR.    EUGENE       ZARASHAW:           We    still       have    some MySQL

 7      servers     that are         not back          in             They are       just used

 8      directly.           They are    also          generally not used to use                   store

 9      user    scale       data.

10                      SPECIAL MASTER GARRIE:                       Does                   use    a --

11      like    some    of    these    I would think have                   some    user    ID,    like

12                     or                   or

13                      MR.    EUGENE       ZARASHAW:           There       are    some

14      databases,          Clusters    --       such as                          that are

15      clusters       of MySQL       that are not based in

16                      I think one          thing          that may help,          given you

17      worked in banking             tech,       is


.

.
20                      SPECIAL MASTER GARRIE:                       I lost       connectivity

21      here.

22                      How is       that possible?

23                      Is    this    the    internet?           Oh,      you gotta be

24      kidding me.

25                      Can you hear me,                Kathryn?


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 1                       THE   COURT REPORTER:             I can hear you,                yes.

 2                       SPECIAL MASTER GARRIE:                  Okay.           It    skipped out.

 3                       Can you     send me        the   link       for    the       realtime

 4      transcript        so   I can    read it as         well?

 5                       THE   COURT REPORTER:             Sure.           Can    I have your

 6      e-mail?

 7                       SPECIAL MASTER GARRIE:                  Yeah.           D --    I'll put

 8      it   in   chat    for you.

 9                       So what     are    those      clusters,           not    the III       ones,

10      I guess     then?

11                       MR.   EUGENE      ZARASHAW:        Ill       --    in    some    cases

12      because

                                                           So    I think you dropped

14      out during        --   uh-oh.

15                       You dropped out during                 the    last       answer.        But    I

16      mentioned                       for example,            as    per your banking

17      days,     you had      --   you had databases                that had transaction

18      support.

19


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22                       SPECIAL MASTER GARRIE:                  I mean,          I guess

23      plaintiff's        question        --    so you're       saying          there's    no

24      unifying user          ID   or key       that goes       across          all    these

25      systems?


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 1                         MR.    EUGENE       ZARASHAW:              Across       all    of    them,       no.

 2                         The most          common way          to    represent          a user       is    a

 3      user    ID.        However,          the user          ID may not be             associated

 4      with a lot of             the    data       stored in many             IT    systems.

 5                         SPECIAL MASTER GARRIE:                          Okay.     All       right.

 6      We'll    return          to    this    once       I've processed it a little

 7      further.

 8                         Off platform             --    so my next question                   is:        Does

 9      Facebook       --    and I don't know if                      this    is    for Mr.       Elia or

10      you Mr.       Zarashaw          --    but does          Facebook       receive          data about

11      user's      off-platform activity?

12                         MR.    EUGENE       ZARASHAW:              We    receive       some    data

13      that    I know of due                to us       having       the    like button,             and the

14      Facebook       Javascript             SDK.        So    some       data does       come       in

15      about    the       source       of where          this    was       loaded up or          somebody

16      liking a page             off of Facebook and so                      on.

17                         SPECIAL MASTER GARRIE:                          I took a look at                the

18      SDK.     It's       a little broader                   than    that    for your          inbound.

19                         Do you have          a list of data you do                      receive

20      about users          and       then    --    so    I can be          specific.           User

21      tracking cookies?

22                         MR.    EUGENE       ZARASHAW:              I do not know             the

23      details       of    the       ad side       of    the    SDK.        The    last       time    I

24      interacted with                the    SDK would have been about                         2013,

25      maybe    2014.


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 1                     SPECIAL MASTER GARRIE:                Got      it.

 2                    What about you,            Steven?        I can       list    them off

 3      if you guys      --    if   either one         of you know          the    answers.

 4                    User     tracking cookies?

 5                    Mr.     Elia?

 6                    MR.     STEVEN ELIA:          I don't know.             I'm not

 7      familiar with         the   use    of   cookies.        No.

 8                     SPECIAL MASTER GARRIE:                All      right.       What about

 9      Facebook pixel?

10                    MR.     STEVEN ELIA:          I believe         that's       for ads

11      purposes,     which     I haven't worked on either.

12                     SPECIAL MASTER GARRIE:                Mr.      Zarashaw?

13                    MR.     EUGENE      ZARASHAW:       Same       issue.        I'm very

14      loosely      familiar with         the pixel      and not       the       SDK details.

15                     SPECIAL MASTER GARRIE:                Is      it possible         that

16      the   Facebook pixel,          plus     the user     ID would give us              a

17      decent      idea of what       systems      have what user            ID    --   data?

18      Sorry.

19                    MR.     EUGENE      ZARASHAW:       I mean,       it    still

20      wouldn't help us            retrieve     the    data or       find it       in   the

21      systems.


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I

 3                      SPECIAL MASTER GARRIE:                    Do you guys         have     a

 4      data diagram to            explain     the    flows?

 5                      MR.    EUGENE    ZARASHAW:           I don't know of one.                    I

 6      think    this    would be       a data       that would need             to    create       or

 7      find data diagrams            for every        flow       type    or    every product

 8      type because          --

 9                      SPECIAL MASTER GARRIE:                    I don't mean every

10      flow    type    so    let me be       specific.

11                      I would just          --   what about           just basic       one?

12      Like where       I'm struggling,             right,       is    there's       a ton of

13      systems       and I need to understand if                      they are          if    it    is

14      too    complicated or as          intertwined or as                cumbersome          as    it

15      sounds,       there has      to be     some    data diagrams             that will

16      explain or articulate how                  this     user data          flows.

17                      I mean,     because,         like    --    because       you have

18      DS    share    and    --   I mean,     you know,          I could give you an

19      example,       like what websites             a user visits?              Like    is    that

20      tracked?

21                      MR.    EUGENE    ZARASHAW:           I don't know offhand.

22      I know      that underlying data would arrive                          at Facebook

23      servers       just because       of    the browser always                sending       the

24      HTTP    refer header any          time.

25                      But    I don't know if we             actually          report    it


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 1      anymore.

 2                      I'm not       sure      if    the HP       refer header at             this

 3      point    is    kept or      dropped.

 4                      SPECIAL MASTER GARRIE:                     Mr.     Elia,    do you know?

 5                     MR.     STEVEN ELIA:             I also       don't know.           I did

 6      briefly work on            the    social plug-ins,               things     like       the

 7      like button          that you      --

 8                      SPECIAL MASTER GARRIE:                      That's       literally my

 9      next question.

10                     MR.     STEVEN ELIA:             But during my             time working

11      on    that,    which was         2018    and 2019,          I don't       recall       ever

12      seeing      that data       get processed and used                   --

13                      SPECIAL MASTER GARRIE:                      So my    --

14                     MR.     STEVEN ELIA:             --    or    stored.

15                      SPECIAL MASTER GARRIE:                      So here's my          --    does

16      Facebook       receive      data about user off-platform activity

17      via    share    or    their      like plug-in?

18                     MR.     STEVEN ELIA:            As    Eugene        said,    it's

19      certainly       received.          It's       sent    just as       an    ordinary part

20      of browser behavior.                 But whether            that    results       in any

21      sort of       logging or writing               to    any data       source,       I'm not

22      aware    of any,       just      from seeing          that plug-in.

23                      SPECIAL MASTER GARRIE:                     Do you have           a data       --

24      there has       to be      some          or    takes       custody of,          may be       a

25      better way       is   we    use    the word take             custody       of    the    data.


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 1                    Does    Facebook          take       custody of          the    data when          it

 2      comes    inbound?

 3                    MR.    EUGENE       ZARASHAW:              I don't       really know what

 4      that    term means.

 5                     SPECIAL MASTER GARRIE:                      So    I --    maybe    try       it

 6      differently.

 7                     Is   there    a data diagram that would explain                               to

 8      me how Facebook handles                 share       and like plug-in activity?

 9                     So   I'm on another website.                       I click       something

10      or a like      or a share.

11                    Does    Facebook          take       custody or          receive    or

12      whatever      that data,         how    --    like       a data diagram

13      explaining how        the user of             that data          flows       and through

14      what    systems?

15                    MR.    EUGENE       ZARASHAW:              I don't know of one.

16                    Russ,       do you happen             to    know    --    is    there    one we

17      already produced           for    this       or one       that exists?

18                    MR.    FALCONER:            I'm also not aware                  of one       off

19      the    top of my head.           And I don't want                 to    speak off          the

20      cuff about      that,     but     that's       something we             can    check.        But

21      nothing comes        to mind right now.

22                     SPECIAL MASTER GARRIE:                     Yeah.         I mean,       so    I

23      get    the   save part,     but        I know       the    C part       is    definitely

24      inbound data off           the header;             right?        So you       saw it.

25                     So   the    question          is:     Is    that associated with


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 1      the user?         And then       --    maybe     that's         the    ad.      I don't    --

 2      I'm just       trying     to    figure     out      --    'cause you're           getting

 3      that data,        right,       from a user's             off-platform activity.

 4      It's    coming inbound.               You're     capturing it.

 5                     What about         --    I guess          about what via partner,

 6      the API?       So    I'm a partner.              I make         Facebook an API           and

 7      share    the   data back         inbound about users.

 8                     MR.    EUGENE      ZARASHAW:              So we    do have        an API    for

 9      uploading graph activities                    via    the       SDK.

10                     SPECIAL MASTER GARRIE:                      But what          about via

11      partner making?            So    a partner          like       an Amazon or

12      somebody,      or a Netflix makes                an API         available        to you?

13                     MR.    EUGENE      ZARASHAW:              The    only API        like   that

14      I know of as         --   that    I'm recalling is                the push

15      notification API,              the Android and iOS push

16      notifications.

17                     SPECIAL MASTER GARRIE:                      What about you,

18      Mr.    Elia?

19                     MR.    STEVEN ELIA:             There       is    a similar kind of

20      push    functionality,           for    instance,          in a platform product

21      we have     called WebHooks.               The      contents          of   those push

22      updates     are     defined by Facebook.                   The    developer would

23      configure both,           which       types    of events          they want        to be

24      notified about,           and a URL on           their         server      to   receive

25      those.


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 1                     SPECIAL MASTER GARRIE:                         So    then       the WebHooks

 2      is   like    a published subscribed standard;                              right?

 3                     So my question               is    --    I guess          the way       I think

 4      about   it    is    does    Facebook          receive         data about users'

 5      off-platform activity via a partner making an API

 6      available      to       Facebook?

 7                     So       I'm Amazon.           I make      an API          available          that

 8      Facebook      could call          attached to            the user because                   there's

 9      a whole      lot of       conversation about                  reciprocity.

10                     MR.      EUGENE        ZARASHAW:          I don't know of any                   such

11      API.

12                     MR.       STEVEN ELIA:             Same.        I'm not          aware       of any.

13                     SPECIAL MASTER GARRIE:                         So    then what about

14      partners bulk uploading data                       to   Facebook?               Not use       --

15      I'm not      saying user          specific.             I'm just          saying partners

16      of bulk uploading               the    data      into   Facebook?               Batch       jobs.

17                     MR.      EUGENE        ZARASHAW:          So    the       only       thing    that

18      would remotely be               like     that     is    some       of    the work on          the

19      ad side,     but        I'm not       familiar with            the       details.

20                     SPECIAL MASTER GARRIE:                         Okay.        So       then all       the

21      off-platform activity goes                       to pixel          share       or    like

22      basically,         it    sounds       like.

23                     Is       there    any other way            that          it's    tracked,       the

24      off-platform activity?

25                     MR.      EUGENE        ZARASHAW:          It's       possible          for a


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 1      an off       --   a third party             to upload a custom audience                      of

 2      identifiers            for    their own ad targeting,                   using our API             or

 3      our website upload functionality                              to upload a list of

 4      either anonymized or non-anonymized identifiers                                       to us,

 5      and then use             that      list    to    target       their ads      without

 6      knowing anything about                     the    content of          that    list.

 7                        SPECIAL MASTER GARRIE:                      And you're hashing

 8      them like         --     so   do    they know who you're                serving ads          to?

 9                        MR.     EUGENE      ZARASHAW:           There       are multiple ways

10      to    --    there      are multiple             types    of   identifiers        that       can

11      be used.          And I'm quite             out of date          in    this.     I was

12      never particularly deep.                         But we had functionality                   to

13      upload user            IDs,     and at one point we had functionality

14      to    target by e-mail               addresses.

15                        I'm not          sure what other             form    --    types    of

16      targeting         there were where                a partner would             just upload

17      the    set or       --    there was         also       functionality          for hash       sets

18      where we wouldn't even know                        the    e-mail       addresses       that

19      they're       targeting directly,                  unless       they were       also

20      interfaced with users,                     and then       they    could       just use

21      that       custom audience            to    run    their      campaign        against.

22                        SPECIAL MASTER GARRIE:                       I know a couple             other

23      companies         do     that.

24                        What about you,                Mr.    Elia?

25                        MR.     STEVEN ELIA:             I'm not aware             of any others.


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 1                   SPECIAL MASTER GARRIE:                How hard would it be

 2      for Facebook to      take    the UID and the pixel             ad user or

 3      unit and associate      --    and figure out what             systems       they

 4      actually have of      the remaining systems              or remaining

 5      43   systems?

 6                   MR.   EUGENE    ZARASHAW:          It would take multiple

 7      teams    on the ad side      to    track down exactly          the    -- where

 8      the data flows.       I would be          surprised if there's             even a

 9      single person that can answer that narrow question

10      conclusively.

11                   I think part of the challenge we're running

12      into is we      tend to build pieces           of infrastructure            that

13      are generic and to      -- whenever possible.                 And then just

14      leave    them running for anybody at the company to use.

15                   And sometimes piece of infrastructure end up

16      using other pieces      of infrastructure as underlying

17      storage and ends      up being as          a layer on it.        But they're

18      not necessarily built with a clear set of only use

19      cases.

20                   So it's very difficult to let's                  say start with

21      a system and find out all of the users                   of   that system.

22                   On the other         --    it's   somewhat simpler to           start

23      with specific use cases you have and find all                        the

24      engineers    involved in implementing that use case,                       and

25      from that find out all            the    systems      that might end up


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 1      being used tracing               through when you use                a system to

 2      understand what other               systems          that    system in         turn uses.

 3                     SPECIAL MASTER GARRIE:                       I read your patents

 4      and there's         definitely          inferences          about users,          like

 5      their personality            traits.

 6                    Where        does    that     information go               then?

 7                    MR.        EUGENE    ZARASHAW:           For    that one we would

 8      need someone         from    the    ads     team,      probably          from the      ads

 9      targeting      team.

10                     SPECIAL MASTER GARRIE:                       Because,       I mean,

11      there's     patents        to predict all             sorts    of    things       about

12      people      that    I assume       are    implemented somehow.

13                     So    if you're          able    to    infer    someone's          rate    of

14      being married or not,               which       is    in one    of your patents,

15      or anything         --    you know,        something of         the       like,    that

16      data    is being inferred because                     I can't       imagine users

17      telling you         "I    think we're          going    to    get divorced."

18                     So    there has          to be    somewhere          --    at   some    level

19      that data has            to be    aggregated out and inferred from the

20      user activity,            and then       stored somewhere.

21                    MR.        EUGENE    ZARASHAW:           I just don't know

22      offhand where we            stored with          --    it would take             tracking

23      down multiple people               in    the    ads    team to       find out all            of

24      the    systems      that might          store    this.

25                     SPECIAL MASTER GARRIE:                       I'm in       the unfortunate


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 1      situation where           the    Court has made                it very       clear       that

 2      the    information        relating          to    a user       --   when we        say user

 3      name,    plaintiffs        is    --    needs       to be       determined.

 4                     So    then how does               Facebook acquire                data about

 5      user activity off-platform from third parties                                      like

 6      Netflix or Amazon           or others?

 7                    MR.     EUGENE      ZARASHAW:              That's       getting beyond my

 8      depth,      if we    do   it all.

 9                     SPECIAL MASTER GARRIE:                         Mr.   Elia?

10                    MR.     STEVEN ELIA:                To    the    degree       those    other

11      services      use    things      like       Facebook          log-in,      we would

12      certainly know when a user has                          done    so,    logged in with

13      their Facebook account,                    that    is.

14                    When a developer                   like Netflix,             for    instance,

15      uses    the user access           token,          they get as          a result of          that

16      log in      to make API         requests.              That    is   also     something we

17      would know about           --

18                     But    I'm not aware               of other          instances       outside

19      of ordinary use           of our APIs by                those parties             that might

20      be what you have           in mind.

21                     SPECIAL MASTER GARRIE:                         Let's    talk about          just

22      the APIs;      right?

23                    API.        So we       --    yesterday          --    the    data    --    let's

24      start with APIs.

25                     I'm Netflix.                There's       an API       that's made


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 1      available.          I mean,       is       that a --         we'll    get       into       the

 2      private API         conversation.                But how is          that mapped to                the

 3      user?       You    said the       token?          Is    that what you                said?

 4                        MR.    STEVEN ELIA:             An access          token          is   used to

 5      authenticate API            requests.

 6                        Towards    the beginning of our                     session             today,

 7      Eugene      talked about          two       different kinds               of    tokens.           One

 8      used on       things      like mobile            devices       and web browsers                   that

 9      is    specific      to    the user,          and another            type       of    token       for

10      server-to-server API                  requests.

11                        And so    the       --    result of         the user          going       through

12      that    log-in      flow    --

13                        THE    COURT REPORTER:                Sorry.        I'm not             sure    if    I

14      missed something.                The       Zoom froze.             So what          I heard at

15      the    end was      "And    so    the       result of         the user          going       through

16      that    log-in      flow."

17                        MR.    STEVEN ELIA:             The    developer             gets       a user

18      token as      a result of going                  through       that       log-in          flow.

19                        SPECIAL MASTER GARRIE:                      Is    that user             token    the

20      same    thing as         a user       ID?

21                        MR.    STEVEN ELIA:             It's       not    the    same          thing.

22      But a user access            token          is   a secure          encryption of

23      primarily         the user       ID    and the         app    ID.     So       that when          that

24      token    is   provided with an API                     request,       Facebook's APIs

25      can understand which user and which app                                   is   making        this


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 1      request.

 2                         SPECIAL MASTER GARRIE:                             So    then how does                --

 3      so    then    --

 4                         MR.    EUGENE          ZARASHAW:              It's       a bearer          token       that

 5      covers both authentication and authorization,                                                 and then

 6      access       control          is    handled on             the    app       server based on                   the

 7      author's       --       based on          the     ID      that has been verified

 8      inside       the    token.           So    the       --    sorry.

 9                         SPECIAL MASTER GARRIE:                             No.     Go       ahead.

10                         MR.    EUGENE          ZARASHAW:              So    the    access          control          is

11      based on       the pair of user                      ID    and app          ID.        The    access

12      token    --    the bearer of                   the     access         token       is    authorized to

13      act on behalf of                   the payer of             the       intersection of user

14      and app.           So    the       lesser of           the privileges                  of    the    two.

15                         SPECIAL MASTER GARRIE:                             So    then       could we use

16      the   access        token with             the user          ID       to    find all          the    data

17      for    third-party             apps       at    least       that were             accessing data

18      across       the    face       of    these        systems?

19                         MR.    EUGENE          ZARASHAW:              You       could use          it    to

20      query APIs          for access             to    data       that a third-party app

21      would have          about          that user           if you knew which exact data

22      you were       to       query       for.

23                         So    as    an example,                a complete          synthetic

24      example,       let's          assume       an app had access                      to    a photo.              A

25      user posted a photo                   and an app user payer had access                                        to


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 1      the photo,         you would need to                know what photo                 to pull      up

 2      or how      to navigate            through     the       Graph API        to    find the

 3      list of photos               and then     find the photo you're                      looking

 4      for.

 5                        SPECIAL MASTER GARRIE:                      So   then     let's      return

 6      to   a specific          example       for me.           Let's     talk     about Netflix

 7      or Amazon.             You    can pick either one.

 8                        What data does             Facebook get about a user's

 9      Netflix      --    Amazon       activity,       and where            does      that data end

10      up being      stored?

11                        MR.    EUGENE       ZARASHAW:           I'm not        confident on

12      this   one because             I have not worked with Amazon,                         but my

13      understanding is              we     get absolutely nothing about Amazon.

14                        SPECIAL MASTER GARRIE:                      What about Netflix?

15                        MR.    EUGENE       ZARASHAW:           We would get data                 if

16      they were         to use       the    Javascript          SDK about when              the

17      Javascript         SDK was         loaded.      It       is   served over            the main

18      difference         from Facebook dot                com,      if   I remember

19      correctly         --

20                        Steven,       correct me          if    I'm wrong.

21                              so we might not get all                    the    cookies.

22                        I don't know if             they use         the    social plug-ins,

23      such as     like        and    share.        And we would have                 to    check what

24      they actually            send us       via    the    Graph API.

25                        SPECIAL MASTER GARRIE:                      Okay.       So    then,


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 1      Steven,     anything        --   Mr.     Elia,    anything you would like                            to

 2      add to      that?

 3                    MR.     STEVEN ELIA:             No.         My understanding is                      the

 4      same.

 5                     SPECIAL MASTER GARRIE:                       So    then where             does

 6      that data get         stored?          I mean,        there has             to be       --    I

 7      remember      the    SDK.        I just don't know on                   the back end

 8      where    it goes.

 9                    MR.     EUGENE       ZARASHAW:




11                     SPECIAL MASTER GARRIE:                       The       SDK has

12      function      --    yeah.        Keep going.           I'm sorry,             Mr.       Zarashaw.

13                    MR.     EUGENE       ZARASHAW:           Logging about                   the    raw

14      HTTP    request by      default ends             up    in Hive.

15                     If API       calls      are made,           it would depend which

16      API    is being called and where                  the       data would get                   stored

17      so...

18                     SPECIAL MASTER GARRIE:                       Do we have             a data

19      diagram for         that?        Like you develop                --    someone must have

20      a diagram that         says       this    is   where        this       data       is    stored.

21                    MR.     EUGENE       ZARASHAW:           We have          a somewhat

22      strange     engineering culture                compared to most where we

23      don't generate         a lot of artifacts                   during          the    engineering

24      process.       Effectively          the    code       is    its       own    design

25      document often.


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 1                         SPECIAL MASTER GARRIE:                         So you have             to    look    at

 2      the    code       to   figure       out    --    I mean,          so    --

 3                        MR.     EUGENE      ZARASHAW:              For what             it's    worth,

 4      this    is    terrifying            to me when             I first          joined as          well.

 5                         SPECIAL MASTER GARRIE:                         You understand,

 6      though,       like      --    so you're          telling me             to       figure    this       out,

 7      I have       to    look at      the Netflix                code    to       see    how    they're

 8      calling it,            and then       talk       to    each engineer                in    resource

 9      to    figure       out where         it's       actually          storing          that data          that

10      you're       getting?          There's          no    diagram?

11                         Because you wrote                  an    SDK    so       there has          to be

12      someone       that knows            what's       supposed to                go where       at a

13      minimum?

14                        MR.     EUGENE      ZARASHAW:              I don't             think you'd have

15      to    talk    to Netflix.             It would be more                      --    someone would

16      need to       analyze what            is    Netflix actually uploading                            to

17      us,    which would be               likely       somewhere             in

18                         Then      someone       on    the       team that handles                   that

19      specific API,             because many               teams    at       the       company expose

20      different APIs.                The API          stack       itself          is    another piece

21      of    infrastructure            that multiple                teams          contribute          to.

22                         So we would need to                     step on,          find out what

23      Net    --    API's      Netflix       is    calling          that might             result       in

24      data being exempt.

25                         Step      2 --


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 1                        SPECIAL MASTER GARRIE:                          So we have          at    least      a

 2      high    level       understanding of                   that and the            time period of

 3      that.

 4                        So where        does       it go?

 5                        MR.    EUGENE        ZARASHAW:             So    Step    2 would need to

 6      find the       engineering             teams       responsible            for    the       specific

 7      APIs    and ask          them    to    track down where                  are    all    of    the

 8      places      the     data ends          up?

 9                        And it would depend on exactly what                                  is being

10      up   loaded and what              the API          is    for,      whether       it ends         up    --

11      like    if you're          looking at             --    we   can    certainly give you a

12      probabilistic            answer.            But    to    get a certain answer would

13      take    some      digging.

14                        SPECIAL MASTER GARRIE:                          All    right.        But      --

15      okay.       Probabilistic.

16                        What about you,                 Mr.    Elia?          I mean,       you have

17      engineers         on your        team and I get               the       fact    that you         set

18      them loose          on    the world.              But    like      there's       an    SDK      for an

19      API.     So    there's          APIs.        They have            SDK.     There's          a

20      Javascript          SDK.        I program it.                It    comes       through       to your

21      system.        Someone          somewhere must know where                        that data            is

22      going    to    --    it goes          to

23                        Then you        --       what happens            there?        It gets

24      extracted out of                                  and stored into               other       systems

25      or how does          this       work?


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 1                   MR.   STEVEN ELIA:        So    to use     that example,      that

 2      SDK could call any number of APIs,                  and our code base is

 3      open where any engineer in the company would have                        the

 4      ability to modify        that SDK,     build a new API             for it to

 5      call.

 6                   And so as Eugene was            saying,     I think that

 7      would require identifying all               the APIs,     someone like

 8      Netflix was     calling,    finding the        teams     that are

 9      responsible     for those APIs.

10                   And last I checked last year there were

11      thousands     of APIs    and over 500        teams     that had built

12      these.

13                   And so     the individuals        from the       teams

14      responsible     for    those APIs would then be              the ones most

15      knowledgeable about        --

16                    SPECIAL MASTER GARRIE:               I get it.

17                    But we    could seduce        statistically

18      significantly sample and come up with a relatively

19      probabilistic model        that would answer probably for

20      95 percent of the data that flows                  through    the company.

21      I mean,     you're not talking that           --    I mean,       we don't need

22      to look at a thousand.           I could look at 20               of them and

23      aggregate     that through to all of them with a 95 percent

24      confidence level        at some level.

25                    But what I don't understand is                 --    so basically


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 1      you don't make          it    --    to    engineer up          front      is    required       to

 2      make    data    flow diagrams             or data diagrams             or anything

 3      about what data          is    going where?

 4                      MR.   EUGENE        ZARASHAW:           That    is   the       exception       of

 5      the    rule.

 6                      SPECIAL MASTER GARRIE:                    True,      Mr.       Elia?

 7                      MR.   STEVEN ELIA:               Yes.     That's       correct.

 8                      SPECIAL MASTER GARRIE:                    So we have            43    systems

 9      where       engineers    of a --

10                      MR.   EUGENE        ZARASHAW:           For what       it's      worth,       in

11      the    design of a lot of                these    systems,       there         are    diagrams

12      and design artifacts                for how       the underlying piece                  of

13      infrastructure          is    designed.

14                      However,       it    is    rare     for   there      to    exist

15      artifacts       and diagrams             on how     those      systems         are    then

16      used and what data actually                      flows    through         them.        They're

17      generally agnostic             to    the     data.

18                      MR.   STEVEN ELIA:               I would add onto               that    that,

19      yes,    often    these       systems may be built with                     a particular

20      use    case    in mind.        If other          teams    find that            they have

21      their own use         case     that would benefit                from using            that

22      system,       they're    typically           free    to make use           of    it.

23                      And so       even    the     teams      who maintain and are

24      responsible       for    these       systems may not be                aware         of all

25      of    the    specific    use       cases     that are        leveraging.


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 1                      SPECIAL MASTER GARRIE:                         Well,        with    that       in

 2      mind,    then       the DIY       file       is    certainly          incomplete.

 3      Because nobody actually knows                           what     the users          are

 4      actually doing.

 5                      I mean       --    I mean,          that would be             the    logical

 6      conclusion.

 7                      All    right.           Let me          ask    the next       question          then.

 8      Sorry    for    thinking out                loud there.

 9                      So    then    is       there       aggregated and inferred data

10      that    is   extracted from the Hive                          relevant       to    the users,

11      being    the named plaintiffs                      here,       on other named             --    you

12      know,    that's my          first question,                   and then       I have       a

13      follow-up question                to    that.

14                      MR.    EUGENE          ZARASHAW:              What do you mean by

15      relevant       in    this    case?

16                      SPECIAL MASTER GARRIE:                          I mean anything.                    They

17      have brown          cows,    red cows,             green       cows,    purple       cows.           I

18      mean,    anything.           Like your Hive                   literally       stores

19      everything people             do       in    the    entire whole wide                existence.

20                      So    I have no             idea what          some    --   based on what

21      you    told me,       some    Facebook engineer                   can write          a query

22      and be,      like,     do    these people have brown                         cows    and

23      associated with             their user             ID because          it's       related to

24      the    cow liking button.

25                      I mean,       is       there       --    so,    I mean,       any    --    is


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 1      there      any aggregated or              inferred data            that's       extracted

 2      from the Hive          relevant          to    a user?

 3                      MR.    EUGENE       ZARASHAW:              I don't know.             Hive    is

 4      another       similar       system where             it's    relatively         free    form,

 5      how it       can be used.

 6                      So    it's       back    to    the    starting with            the    final

 7      artifact and trying                to    trace       out how      the    artifact was

 8      created is much easier                   than       starting with         the    original

 9      data and trying             to    trace       all    the    artifacts      that may have

10      been       created from it.

11                      SPECIAL MASTER GARRIE:                       So you      can't

12      aggregate       --    but    can a developer aggregate                     and extract

13      data out of          the    Hive    that       is    aggregated or         inferred?

14                      MR.    EUGENE       ZARASHAW:              They   can write          queries

15      to    --   assuming        they pass          the privacy         checks,       which does

16      require       getting       certain       levels          of permission and have                  a

17      good reason          to be       doing it,          they    can   create       data based

18      on other data          in Hive          during       the    data and      so    on and

19      intermediate          tables.

20                      But    there's          no way       to    find out,      for example,

21      what are       all    of    the    intermediate             tables      a user appears

22      in.

23                      MR.    FALCONER:              Could I ask         --    I'm sorry.           I

24      just want       to make          sure    I'm following.

25                      When you          say a developer,


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 1      Special Master Garrie,                do you mean        like    an   internal

 2      Facebook developer or               like    a

 3                     SPECIAL MASTER GARRIE:                 Yeah.       Only a Facebook

 4      engineer.       I understand only Facebook engineers                             have

 5      direct access         to    the Hive.

 6                     Is   that not        true?

 7                    MR.     FALCONER:          Right.      Okay.

 8                    MR.     EUGENE       ZARASHAW:       That's       correct.

 9                     SPECIAL MASTER GARRIE:                 Okay.

10                     So   I've     sat    through a lot of depos               so      I just

11      assume      certain    things,       but    fair point.

12                     So   let me     give you a more practical                    example.

13                     Can an      engineer extract           linguistic         data      from

14      the Hive      that has       communications between different

15      users,      retrieve       those    data    from the user profile;                 right?

16      So   --   because     the messaging is            part of       the   DIY     file.

17                     So   I extract         linguistic      data      from the DIY

18      file,     I then    retrieve        characteristics           from     the user's

19      profile      themselves;       right?        So we have         linguistic         and

20      the user profile,            and I'm extracting data                  from both of

21      them.

22                    And then        I determine,         based on       the user's

23      linguistic patterns            and their profile              data,     I then      store

24      certain personality or                characteristics           traits      of    it;

25      right?


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 1                      I know you guys              filed for patents                  on    this.

 2                      My question          is   where      does         that data go?

 3      Because      then you        store     the    content         for    the       user based

 4      on   those    characteristics              that you derive,                at    least

 5      according       to    the patents.

 6                      MR.    EUGENE       ZARASHAW:           Since we're             on    the

 7      record,      I don't believe              that     case      is    possible because             to

 8      my   recollection,




                        SPECIAL MASTER GARRIE:                       Yeah.        Sorry.        I

        forgot.      You're      right.

12                      But you       can    look     --    so you         look    at    the message

13      and the      other           so you       look at       the message             and the user

14      profile,                               Sorry.        So      remove       it    from

15                      You    look at       them outside             of

16                      MR.    EUGENE       ZARASHAW:           So    it would depend where

17      that    team wanted          to   store      it.     There         are multiple pieces

18      of   infrastructure           they     could use.             They    could also build

19      custom infrastructure                if    they wanted to             store          something

20      like    that.

21                      It would entirely depend on                         the    specific         team

22      in question,          what    they     chose       to use.

23                      SPECIAL MASTER GARRIE:                       So how       I do       find out

24      which    systems       actually have             this     user data            that    can be

25      inferred?


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 1                        MR.    EUGENE          ZARASHAW:       I don't know.

 2                        SPECIAL MASTER GARRIE:                     Seems        very          socialized.

 3                        MR.    EUGENE          ZARASHAW:       It's       a rather difficult

 4      conundrum.

 5                        SPECIAL MASTER GARRIE:                     I mean,           I appreciate

 6      the    equality of access                  here.      It's     just       --       it    seems

 7      very    --   I'm trying             to    figure     out a way           that's more

 8      efficient and effective                      to meet what           the       Court has

 9      ordered for         the       43    other      systems.        But       it    doesn't          sound

10      like         let's       keep going.

11                        So what other databases                    housed           --    do you

12      have         is    there       any       list anywhere         the       databases             that

13      housed inferred or aggregated data?                                 Is    there          --    of    the

14      systems      we have,          can you         tell me which ones                   are       likely

15      to house      it?

16                        MR.    EUGENE          ZARASHAW:       I don't know.                               is

17      the    only one         is   my go-to          guess.      Probabilistically.

18                        SPECIAL MASTER GARRIE:                     And                   is    one    of    the

19      42    that   remain.

20                        Like,      Mr.     Elia,      do you have          any       guesses?

21                        MR.    STEVEN ELIA:              I don't have               an    indication

22      about    some      of    the       others.        I probably used half a dozen

23      of    these myself.

24                        SPECIAL MASTER GARRIE:                     Which ones                 do you use?

25      Let's    focus      on       those.


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 1                        MR.    STEVEN ELIA:               I'll     go    through       this    list.

 2                                          , Memcache,            TAO,   Ill     and

 3      MySQL,      although          I mostly         think of       that       in    terms    of III

 4      and

 5                        And those          are     the    ones     that    I have personal

 6      familiarity with.

 7                        SPECIAL MASTER GARRIE:                      Then       could TAO       store

 8      that    information?

 9                        MR.    STEVEN ELIA:               Could you        repeat       --

10                        SPECIAL MASTER GARRIE:                      The    inferences?

11                        MR.    STEVEN ELIA:               Could you        repeat       the    full

12      context of your               question?

13                        SPECIAL MASTER GARRIE:                      Yeah.

14                        So    I look at           the    chat message           --    so you       look

15      at my    chat messages               with a friend,               and then you          look at

16      my profiles            and you decide              that     I am    --    you make       some

17      inferences         about my personality                     traits       or

18      characteristics               or    --    and then         store    that       in a database.

19                        MR.    STEVEN ELIA:               TAO might be              an odd choice

20      to use      for    that.           What you        could do        if you were          to    store

21      information            like    that       in TAO      is    create       a new kind of

22      object with            fields       for     these     different          forms    of

23      inferences         you wanted to               keep    track of and associate

24      that object,            for    instance,           with     the user          those    are

25      inferences         about.


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 1                         SPECIAL MASTER GARRIE:                      But       it    sounds          like

 2      MySQL    could be             just as          well   a database          if       they wanted,

 3      they    could do          it    in?

 4                         MR.    STEVEN ELIA:                It    could.        That,          as    Eugene

 5      also mentioned,                is    typically not used for user data,

 6      just because             it wouldn't              support     it at       that          scale.

 7                         SPECIAL MASTER GARRIE:                      Okay.           So       that    --    I

 8      would assume                                   would not be         one       of    those?

 9                         MR.    STEVEN ELIA:                                   is    used to          store

10      things      like     the photo             or video binary               files.           It's more

11      of   like     a blob kind of                   storage.

12                         I also,          like Eugene,            don't know             if    it even has

13      user    IDs.        So    given          something like            an    identifier of a

14      photo    that's          in                       , I don't know if you                       could

15      even    find the user who uploaded that photo.

16                         SPECIAL MASTER GARRIE:                      But       it    is       linked

17      somehow       to    the user             ID,    otherwise you            just have             a bunch

18      of photos          sitting          --

19                         MR.    STEVEN ELIA:


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24                         SPECIAL MASTER GARRIE:                      So       then       TAO    is    sort of

25      like    the    database             on    top of      the    database,             so    to    speak.


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 1                        I have pictures               --

 2                       MR.     EUGENE          ZARASHAW:          It's    often used that

 3      way.

 4                        SPECIAL MASTER GARRIE:                      So    then you       look at

 5      TAO.

 6                       And then           if you      --    then what about             --

 7      what's      --    you mentioned Mem?

 8                       MR.     STEVEN ELIA:                Memcache,       which    is       a caching

 9      layer,      so    during a request                there might be            some

10      information            that's       repeatedly accessed.

11                        SPECIAL MASTER GARRIE:                      That's       the ADD

12      experience.             I got       it.

13                        User       satisfaction,            eminent       --   or most        --   user

14      experience.

15                       MR.     STEVEN ELIA:                As    a --    let me    give       a

16      concrete         example.

17                        So    something like your own name might appear

18      multiple         times       in    the    course      of    loading a particular

19      Facebook page            like your profile.                   Rather       than query TAO

20      in   some underlying database                        every    time       that's    needed to

21      render,      that would be                expensive.          It's       cheaper       to use   a

22      caching layer            like Memcache.

23                        SPECIAL MASTER GARRIE:                      Yeah.        That's      why    they

24      have   ram       --    yeah.        Same     idea,        just a software          extracted

25      ram.     I get         it.        It's    for   that user experience.                    People


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 1      aren't patient.                I get       it.     And it's         expensive.          And

 2      your data       centers         and all          that.

 3                      Then you            said            and what was           the    other one

 4      you mentioned?

 5                     MR.       STEVEN ELIA:

 6                      SPECIAL MASTER GARRIE:

 7                     Would they be used to                     store       that?

 8                     MR.       STEVEN ELIA:             Ill    and              to    the    degree

 9      there's       differences between                  them,    I'm not        familiar with

10      them.       I would use             those    almost      synonymously.                These    are

11      often direct MySQL                  instances.

12                     My own          familiarity and use                  of   them has been

13      with    the    capability            system that         I described yesterday                  in

14      my   testimony          for whitelisting apps                  for a certain kind of

15      functionality.

16                      SPECIAL MASTER GARRIE:                      Yeah.         I thought

17      that's      where       all    that    sort of data            rests      or existed;

18      right?

19                     MR.       STEVEN ELIA:              There's       an III        instance       that

20      stores      that    information.                 But any    team might have              their

21      own III       instance         for data          specific      to    their product or

22      system.

23                      SPECIAL MASTER GARRIE:                      There's        no way       to

24      query    the    system         to    find out       if   there's         user data

25      inferences         in    it,                                it      sounds      like?


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 1                        MR.    EUGENE       ZARASHAW:            Not    that    I know of.

 2                        MR.    STEVEN ELIA:            Yeah.           I don't    think at a

 3      technical         level       it would even be possible                    to    query

 4      across      all                        instances.

 5                        SPECIAL MASTER GARRIE:                     You have       to write             a

 6      script and then               type    it out and dump              it,    and then query

 7      that      script.        And    then go back and look at                    that dataset.

 8                        MR.    EUGENE       ZARASHAW:            It's    often more painful

 9      than a script because you're                      often dealing with hundreds

10      of   thousands          of    instances.         So    even one          failure          can

11      cause      issues.

12                        It    takes    some nontrivial                 engineer       to work

13      through      reliably,          even    touch every              single    database

14      shard.

15                        SPECIAL MASTER GARRIE:                     Yeah.        I mean,          again,

16      we   could sample             it and skip every and just                    do       a sample.

17                        Is    whitelist,       you mean           in and out          --    an allow

18      list;      right?        That's      what you         --    when you       say       --    the

19      whitelist         is    a capability        --    yesterday          there was             a lot

20      of   --    in your prior             testimony,        there was          discussion

21      about      capabilities          and whitelists              and that       tool          set.

22                        That's       where    that     set       is;    right?        In an

23      instance      in       that    database?

24                        MR.    STEVEN ELIA:            The       list of       capabilities

25      that have been granted to                   a particular application and


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 1      the history of                that       is    in an                  as    well       as    --       as    of

 2      last year,          I believe,                that    information                is    also

 3      duplicated in

 4                         SPECIAL MASTER GARRIE:                             Looks       like       TAO data             is

 5      pretty       --    it's       fairly          --   what     systems          in here             on    this

 6      list of       55    --    or    I'll          call    it    43    --       are    TAOs       an

 7      overlayer          for most user data?                          Do you have             any       idea?

 8                         MR.    STEVEN ELIA:                 I don't know which of                               these

 9      systems       TAO would duplicate                      info       of.

10


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14                         SPECIAL MASTER GARRIE:                             A primary             --    okay.

15                         So what other data                      --    is    it possible                then       to

16      tell me what other data,                           other        than anonymized data,                            is

17      in    the   database           or    in       these    systems             here?

18                         If    I were          to    say    I don't          care       about anonymized

19      data,       I just want             to    know about non-anonymized data                                     in

20      the    systems,          is    there          any way       to    figure          out?

21                         MR.    EUGENE          ZARASHAW:              I don't know of one.

22      We're back          to    square          one      on having           to    figure          out what             is

23      actually          stored in each database                         and often             task          the

24      engineering             team    that owns             that       specific             data what             it

25      actually          is.


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 1                      SPECIAL MASTER GARRIE:                       Okay.

 2                      MR.    EUGENE          ZARASHAW:           For what       it's       worth,

 3      there    are    some    systems             we   could rule        out as       definitely

 4      being duplicate             or    transient data             that    is    --    like,       for

 5      example,       Memcache          is    a good example             of only       storing

 6      things      that are,        okay,          oozing in       short order because

 7      it's    just    caching data.

 8                      Or                     is    another one where             it's       just an

 9      indexing       system where             the primary data must                   live

10      somewhere       else.

11                      Laser       is    another         system where by              definition,

12      any data       it    serves       is    just      fronting an existing Hive

13      table.

14                      So    there       are       certain       systems    that       --    it's    very

15      difficult       to    find out what has                   user data but          it might be

16      possibly       to    rule    out       some      systems     as    having data always

17      derived from some                other       system.

18                      SPECIAL MASTER GARRIE:                       Yeah.        That's       what    it

19      sound    --    it    sounds       like       some    of    these    --    or    they have

20      data    that's       contained in another                   system;       right?

21                      So    TAO    --

22                      MR.    EUGENE          ZARASHAW:           There's       a lot of

23      duplication because                   the use       cases    for    the    different

24      systems       vary more          often by         the     read rather          than write

25      case,    since       that    tends          to be    the higher volume.


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 1                      So    there    are   often     systems       that    exist    simply

 2      because       the    system they       cover       can't handle       the    read

 3      volumes.

 4                      SPECIAL MASTER GARRIE:                 Do    either one       of you

 5      have   any     idea what III          is?

 6                     MR.     EUGENE    ZARASHAW:          No.

 7                     MR.     STEVEN ELIA:           I don't.

 8                      SPECIAL MASTER GARRIE:                 It would be          good to

 9      know what       the    acronyms       stand for at a minimum for                   the

10      systems.

11                      Some    I know,       like    --   what about

12                     MR.     EUGENE    ZARASHAW:          Unfortunately not.

13                     MR.     STEVEN ELIA:           I'm not       familiar with          it.

14                      SPECIAL MASTER GARRIE:                 What's                       ?

15                     MR.     EUGENE    ZARASHAW:          Don't know.

16                     MR.     STEVEN ELIA:           I also      don't know what           it

17      is.     I don't know with             confidence what                     stands    for,

18      but    that may bel111111111111 which                  is    a common way we

19      would abbreviate             a system named that.

20                      SPECIAL MASTER GARRIE:                 I think we're          at

21      another breaking point.                    If you want,       we    can    take    a

22      break,      and then     I have       --    yes.     I do have more

23      questions.           And we'll       take    a five-minute break and then

24      I'll    let    --    well,    if Facebook has          any questions,             and

25      then plaintiffs          have    any questions,             we'll    ask    them right


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 1      after       the   five-minute break.

 2                        Hopefully       --    oh,   Mr.     Espinoza          is    here          so    I

 3      won't drop anyone               this    time.       And I apologize,                   Mr.        Elia.

 4      That    is    likely me.

 5                        So we will       take       a five-minute break.                          We'll       go

 6      off    the    record and then we'll                  resume.

 7                        We'll    go    off    the    record.

 8                               (Break    taken       in proceedings.)

 9                        SPECIAL MASTER GARRIE:                    All    right          to    resume

10      for    the    Facebook      side?

11                        MS.    WEAVER:       We     do have       some    questions,                   if

12      we're       allowed.

13                        JAMS    CONCIERGE         CARLOS     ESPINOZA:              Mr.       Falconer,

14      just    trying logging off and logging back                              in again.                    I'll

15      see    if    that does      the    trick       to    reset your mic.

16                        SPECIAL MASTER GARRIE:                    I think he's                --       we're

17      still       off   the    record so...

18                                  (Pause       in proceedings.)

19                        SPECIAL MASTER GARRIE:                    In    the    interest of

20      keeping everything on                  track,       we're    going move                this       right

21      along here.             We're    good to       go back on          the       record?

22                        THE    COURT REPORTER:              Ready.

23                        SPECIAL MASTER GARRIE:                    All    right.              So

24      plaintiffs,         what    questions         would you           like       to    ask?

25                        MS.    WEAVER:        I think we          still       are       interested


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 1      in    learning what            the    replacement          ID    is,    its    relationship

 2      to    the   Facebook       ID.        And if Facebook             is    going    to    satisfy

 3      an    individual         user's       data deletion             request,       how does       it

 4      accomplish      that?          And does            it   trace    the    data    through

 5      some    form of      IDs       or a script or a query?

 6                     SPECIAL MASTER GARRIE:                       That's my GDPR line                   of

 7      questioning         I have.           So    the     replacement         ID,    I'm willing

 8      to    entertain.

 9                     Is    there       --    does        Facebook use         something called

10      a replacement            ID?

11                     MR.       EUGENE       ZARASHAW:           I don't know what             that

12      is.

13                     Steven?

14                     MR.       STEVEN ELIA:               I've heard of         an RID,       but       I

15      don't know if            that's       the     same      thing.

16                     SPECIAL MASTER GARRIE:                       That answers          that.           It

17      would be      good if          Facebook        could check         --    well,    actually

18      before      that happens,             plaintiffs,          can you       clarify where

19      did you      learn about a replacement                      ID?

20                     MS.       WEAVER:           It's been       referenced in          some       of

21      the    documents         produced.

22                     I can       actually           --    if Chris      Springer wants             to

23      identify      it,    I don't know if he                   knows    or not.

24                     But we          also    know        that   there    are    other

25      alternative         --    and I guess              we   think    the    replacement          ID


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 1      is   the RID.         So       if you can explain             the    context of what

 2      the RID       is?

 3                      We're          just trying to        trace      the    identifiers

 4      that can be used to                identify content that can be                      linked

 5      under       the definition of personal                  information           in    the

 6      State    of California             that can be         reasonably associated

 7      with    these named plaintiffs.

 8                      What are          the   identifiers           that we use          to do

 9      that?

10                      MR.       DEREK LOESER:          To provide           slightly more

11      context,       there       are documents produced that describe                            the

12      deletion process               of de-anonymizing data,                 and that's

13      related to          the    same query.

14                      SPECIAL MASTER GARRIE:                       I have a full          line    of

15      questioning around the GDPR,                     but    --     or CCPA.

16                      I guess we          can ask      those questions              first and

17      then we'll progress                forward.

18                      For GDPR,          or   the European           Innovation          Statute

19      or   the California Consumer                  Privacy Act,            they have very

20      stringent requirements                  around users'           right    to    request

21      information about                them to be deleted.

22                      How does          Facebook actually define a user and

23      delete       the data?

24                      Before you answer,               what        I'm specifically

25      interested in             is   do you have diagrams                 or any


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 1      documentation          that's          set out how          that works         and

 2      operates?

 3                      MR.    EUGENE          ZARASHAW:           I would have            to    defer          to

 4      the    deletion and privacy                   team on       this       one.    It       is

 5      definitely not my             area of expertise.

 6                      MR.    FALCONER:              Yeah.        That    --    I would suggest

 7      here    that    this    is    a pretty             special       team in      --    at       the

 8      company      that works           on    this       and is       knowledgeable            about

 9      this.       And obviously we're more                       than happy         to    answer

10      these    questions,          but       I want       to    get    the    right people               to

11      give you       the best answers.

12                      SPECIAL MASTER GARRIE:                          That's    fine.

13                      MR.    FALCONER:              And so       if we       could do         that,       I

14      think    that might be more                   fruitful.

15                      SPECIAL MASTER GARRIE:                          Not a problem.

16                      I want       to    talk       to    the    engineering resources

17      that worked with Mr.                   Pope    on    that effort.             I believe he

18      was    a technical       project manager                   in    that effort.                And so

19      it would be       good       to    just       --    the    engineering resources

20      for how      they did it because                    they    surveyed all            of       these

21      people      to make     this       list.

22                      So we'll          table       that       for a follow on,               maybe.

23                      Okay.        RID,       can you          clarify what's            the RID          and

24      the    chance    that    is,       indeed,          the    replacement         ID?

25                      MR.    STEVEN ELIA:                 You're       directing         that       to me?


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    1                       SPECIAL MASTER GARRIE:                      Yeah,    Mr.    Elia.

    2                       No    lawyer       is my question directed at at all.

    3                       MR.    STEVEN ELIA:             So    I'll    give you my         limited

    4      understanding of              it.     I think         this    would also be          a topic

    5      that    could be useful              to    discuss      with an engineering                  team

    6      responsible           for   it.

    7                       But    I've      seen RIDs       described as             a way   to

    8      anonymize        data.

    9                       A common         scenario would be             to


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23                          SPECIAL MASTER GARRIE:                      That's    an    interesting

24         way    to   --   does       that work across            all    of    the    system      --

25         what    systems        is    that RID       operationally applied to?


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 1                   MR.     STEVEN ELIA:           I'm not       sure which         systems

 2      outside     of III might          store    data off of an RID.

 3                    SPECIAL MASTER GARRIE:                 All      right.        So next

 4      sort of bucket of           things     we're      going      to    talk about       is

 5      third-party        integration APIs.

 6                    I know Facebook             required      --    at    least

 7      documentation        I've    reviewed,        allows      third-party

 8      applications        to   access     private APIs          that are not

 9      publicly available.

10                    Is    that your understanding as                     well,    I guess,

11      Steven or Eugene?

12                   MR.     STEVEN ELIA:           That's      right.

13                   MR.     EUGENE       ZARASHAW:        Yes.

14                    SPECIAL MASTER GARRIE:                 So now         I want    to    ask

15      very   specific      technical        questions because                 I've been

16      curious     about    this.

17                   What do        the    following permissions                 provide:

18      Friends     and anyone?

19                   MR.     STEVEN ELIA:           The    friends         --

20                    SPECIAL MASTER GARRIE:                 Friends            underscore       of

21      underscore     anyone.

22                   MR.     STEVEN ELIA:           Yes.     Friends            of anyone    is       a

23      capability     that      allows      an application who would have                       it

24      to view     friendships       without       the users         in question

25      needing     to have      installed or         logged into           that


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 1      application.

 2                        Ordinarily          the public behavior of                this       is    that

 3      for a friendship               to be visible,         both users         need to have

 4      logged into            that    app and both need to have                 authorized

 5      access      to    their       friends     list.

 6                       And so        this    capability allows              doing    that even

 7      if,    say,      one    of    those users       had not       logged into          that

 8      application.

 9                        SPECIAL MASTER GARRIE:                 Okay.        And then what

10      about    the XMPP underscore                 log-in underscore              grant?

11                       MR.     STEVEN ELIA:           I'm not       familiar with             that

12      one   off     the      top    of my head.

13                       MR.     EUGENE       ZARASHAW:       I am.

14                        X --       the XMPP protocol          is   an old chat

15      protocol.           And Facebook used to              operate         a set of         chat

16      servers       that      I believe        could integrate with XMPP                     client

17      a very      long       time    ago.

18                        So    this    permission has          to   do with        the    ability

19      to    log into         the    chat    servers back when            it was      chat,

20      before      it was       even    called Messenger,               from what         I

21      remember.

22                        I do not know if anybody                   still    has     this.

23                        SPECIAL MASTER GARRIE:                 What about           --   but why

24      would you use            it?     What would you use              it    for?

25                       MR.     EUGENE       ZARASHAW:       I'm now getting a little


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 1      hazy on my memory,                but    if    I recall,       it's    to make    sure

 2      only    certain          clients    could log into             the    chat   servers,

 3      the    Facebook          chat    servers.

 4                         SPECIAL MASTER GARRIE:                 Okay.        What about

 5      TLS without dialogue?

 6                         MR.    EUGENE    ZARASHAW:          Oh,     yes.     I do   remember

 7      that one.

 8                         And,       Steven,    correct me       if    I'm wrong on       this

 9      one.

10                         I believe       this       was   for apps       which build their

11      own grant permissions                   dialogue UI,         usually     embedded apps

12      where       they    could not display a web browser with our UI

13      on    them.        So    instead we would have               a contract where           they

14      would specify exactly how                      they were       going    render    the UI

15      with all       the       disclaimers          we needed.

16                         And in       exchange,       we would let          them grant app

17      permissions             after    log-in without displaying our

18      dialogue.

19                         SPECIAL MASTER GARRIE:                 So    there's      no user

20      consent obtained                from the       Facebook      side.      It was    relying

21      on    the   app provider?

22                         MR.    EUGENE    ZARASHAW:          Exactly.

23                         And the       type    of    consent,      the     exact pixels       for

24      the    consent,          would be       spelled out       in    the    contract.        So

25      that all       of       the    consent would be         in     the    third-party


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 1      controlled UI,         but     they would be             contractually obligated

 2      to    still    show everything we needed them to                        show.

 3                      SPECIAL MASTER GARRIE:                    I saw     that on all

 4      your    --    a lot of       the    telco mobile...

 5                      MR.    EUGENE       ZARASHAW:           Exactly.

 6                      SPECIAL MASTER GARRIE:                    Because      it    comes

 7      pre-installed I guess.

 8                      So    then    standard friends              info,     friends      of

 9      anyone,       I didn't       get how       that was       different.

10                      MR.    STEVEN ELIA:              If    I recall     correctly        --

11      it's been a few years                   since    I've    looked at      these

12      friends-related capabilities                      --    it's   very    similar       to

13      the    friends       of anyone use          case.

14                      One    of    them,       I'm not       sure which,      is    restricted

15      to    the    type    of access          tokens    and requests         made    from a

16      developer's          servers       as   opposed to        things      like    the mobile

17      device       or web browser.

18                      SPECIAL MASTER GARRIE:                    So   then    --    and then

19      what about FQL          friend request permission with auto

20      accept       link?

21                      MR.    STEVEN ELIA:              Could you      repeat       the name?

22                      SPECIAL MASTER GARRIE:                    Yeah.       FQL underscore

23      friend underscore             request underscore permission

24      underscore with underscore                      auto    accept underscore            link.

25                      MR.    STEVEN ELIA:              I believe      this    was    a


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 1      capability which                allowed the       app    to    see     the    friend

 2      requests          a user has          received and information about                       those

 3      friend requests,                like who       it's    from,     as   well     as    a link

 4      which    they       could render          to    the user,        and if       the user

 5      clicks       that    link,       it would accept          that        friend request.

 6                         SPECIAL MASTER GARRIE:                 Okay.         I get       it.

 7                         So what       about nearby underscore                 users?

 8                        MR.     STEVEN ELIA:           I don't       recall        off    the    top

 9      of my head what                that    capability did.

10                        MR.    EUGENE        ZARASHAW:        I don't know           this       one

11      either.

12                         SPECIAL MASTER GARRIE:                 What about Titan

13      underscore API?

14                        MR.     STEVEN ELIA:           That was        a capability             that

15      was    generally used to                gain access       to messaging-related

16      APIs.        So    an API       that would allow          sending a message                 or

17      reading messages                that a user had received,                    for example.

18                         SPECIAL MASTER GARRIE:                 Now,        these APIs          could

19      write    to which database                --   which of        those     systems          we've

20      been    --    those       55    systems?

21                        MR.     STEVEN ELIA:           The most        common       that    they

22      would write          to would be                                  Not being          familiar

23      with most of             these    55,    I can't       say which others.                  But at

24      a technical          level,       any of       these    that have        the       ability       to

25      be written          to    from production             traffic     are    technically


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 1      possible.

 2                      SPECIAL MASTER GARRIE:                         So   then       if we       call

 3      these    --    let's       say       if we    called TOS without dialogue

 4      capability,          what       --    that would write              to    TAO?        Like how

 5      does    this    capability             --    like what         I'm trying            to

 6      understand is             capabilities              --   who   defines         where       the

 7      data writes          to    on    a capability?

 8                     MR.        STEVEN ELIA:              A capability           is    used to

 9      gate    a section of             code.         It    could be       an entire API.                    It

10      could be       a particular             field on an API.                  It    could be          a

11      particular          function          called by an API.

12                     And so           the    capability          itself doesn't directly

13      result      in any kind of data                     to be written,             but determines

14      whether a given piece                   of    code       should execute based on

15      whether       the    app making             the     request has          that    capability.

16                      SPECIAL MASTER GARRIE:                         So   then where             does       the

17      data    for    the    TOS       get written?

18                     MR.        EUGENE       ZARASHAW:           There     are       two    sets       of

19      data with       that       specific          capability.            One    is    the       --

20

21                      SPECIAL MASTER GARRIE:                         Right.

22                     MR.        EUGENE       ZARASHAW:           And the        fact       that

23      Facebook has          granted this                specific      application               ID,    this

24      capability,          which would be                 something on          the    contracts,

25      review process             and so       on,       and that would likely                    live       in


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 1

 2                     Steven,       correct me           if    I'm wrong      --

 3                     MR.    STEVEN ELIA:               That's     right.        That's        right.

 4                     MR.    EUGENE       ZARASHAW:            And might      also be


I

 6                     Then    the    other        thing would be where                  does    the

 7      data get written            that    is     the    result of       that      --    of an

 8      API    call being used where                the behavior of            the API          call

 9      is    different because            of a capability?

10                     So    for    that    specific           capability      --

11                     And,    again,       Steven,           correct me     if     I'm wrong.

12                     --    the    relevant API              call would be         the    grant

13      permissions         dialogue       or    the     --    or auth dot        log in where

14      when    the user      logs    into       the     app,    because     the     capability

15      is    present,      some    additional           side    effects     could happen.

16      And those      side    effects,          because        it's   about      the

17      relationship between               the user and the             app,      would likely

18      be

19                     SPECIAL MASTER GARRIE:                     Okay.      So basically

20      these    are   all    the    capabilities              that are needed for

21      building apps         to    do what you guys              do   today?

22                     MR.    EUGENE       ZARASHAW:            Most of    the      capabilities

23      around,     yes,     building a --             allowing a third party                   to

24      build all      or part of a replacement Facebook                            client

25      themselves.


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 1                     SPECIAL MASTER GARRIE:                   Does    Facebook have          a

 2      record of all         the private APIs?

 3                     MR.    EUGENE    ZARASHAW:          Go    ahead,       Steven.

 4                     MR.    STEVEN ELIA:          There's          a record of APIs

 5      which are      in    their entirety gated by a capability,

 6      rendering it a private API.

 7                     To    the   degree    an API      is     publicly       available but

 8      might have      slightly different behavior                     for    an app with          a

 9      particular      capability,         that would be harder                to produce.

10      And I can't         think of an explicit              record of        that.

11                     SPECIAL MASTER GARRIE:                   Is    the    capability what

12      makes    the API      itself private         then?

13                     MR.    STEVEN ELIA:          If   the API        is    entirely gated

14      behind that         capability,      yes,    the      capability        is   what

15      makes    it a private API.

16                     SPECIAL MASTER GARRIE:                   So    it essentially          can

17      only get      the    capability via         contract basically,                it

18      sounds      like,    or    in an agreement or            something?

19                     MR.    STEVEN ELIA:          These       days    we    have   a whole

20      review process.             I talked about         this       in yesterday's

21      testimony      called Partner Grant Review                     for    granting

22      capability      steps.

23                     SPECIAL MASTER GARRIE:                   But    2014,    pre-2014?

24                     MR.    STEVEN ELIA:          Pre-2014,          I'm less      familiar

25      with.       That would generally have been managed by                           the


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 1      partnership's         organization.

 2                     SPECIAL MASTER GARRIE:                      But       there was          no

 3      capability API            private wall          guard,         as    you're    talking

 4      about?

 5                    MR.     STEVEN ELIA:              There were            capabilities

 6      pre-2014.          There was       not a tool          that made            it easy          to

 7      view current         capability grants               or    the       capabilities             a

 8      particular app has before                   2014.

 9                     SPECIAL MASTER GARRIE:                      So       then what about

10      figuring out         --    is    there    any documentation                  for    --       or

11      some    documentation,            or any       --   let's       say any

12      documentation         for what user data                  the private APIs                   could

13      access?       I mean,       any.        That's      caps,       "ANY".

14                    MR.     STEVEN ELIA:              This      is    an    instance where                a

15      phrase Eugene used before                   I think        is       relevant.           We would

16      often    think of         the    code    itself as         the       documentation.

17                     So    for    a given private API,                     it would be very

18      explicit what         fields       could be         returned or             requested as

19      part of      that API,          and that would be               in    the    code       for       that

20      API.

21                     SPECIAL MASTER GARRIE:                      The       comment       in    the

22      code    at   the    top    of    the    code    file      list?

23                    MR.     STEVEN ELIA:              It's      not       in a comment,             but

24      the    structure      of    an API's        code has           a very       explicit

25      delineation of            the    fields     that     can make up             a response             to


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 1      that API.

 2                         MR.    EUGENE    ZARASHAW:          It went       so    far as             we

 3      were    able       to    automatically generate               documentation by

 4      using    some       descriptors          in   the    code.

 5                         SPECIAL MASTER GARRIE:                   Because       if    it would             --

 6      so   then you           could automatically generate                  that

 7      information             for   the private APIs          if    they all          follow             the

 8      same    --    if    the program          --

 9                         MR.    EUGENE    ZARASHAW:          If    it becomes             --    well,

10      that would cover               the APIs.        It wouldn't          cover          the       exact

11      behaviors          of what happens            when    they are       called,             and the

12      differences             in behavior       if a certain            capability             is

13      present.

14                         SPECIAL MASTER GARRIE:                   Yeah.     But you would

15      know if       it opens        an   SQL    connection         to    a database             and

16      writes       to    the    database       at   some    level.

17                         At    some point you have            to    open or          stream a

18      connection          to write       information or            receive       information;

19      right?

20                         MR.    EUGENE    ZARASHAW:          Right.

21                         It would just be            a rather difficult                   task       to

22      automatically             find out what exactly a deep                     code          stack

23      does.

24                         SPECIAL MASTER GARRIE:                   That    I get.

25                         But    the way    the APIs         are written,             it    sounds


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 1      like    that you         could function,                at    least       identify       the       data

 2      elements.

 3                       MR.     EUGENE          ZARASHAW:           It's    clear which ones

 4      are    reads      and which ones                   are writes.

 5                        SPECIAL MASTER GARRIE:                       Yeah.

 6                       And do           they    --       and it defines          what    those          data

 7      elements         are    in    the    code          somehow?

 8                       MR.     EUGENE          ZARASHAW:           It defines          what    is       the

 9      write    somebody            is    trying          to make.     As       an example          --

10      let's    use      an example,             the       stream publishing API.

11                        It defines             as    the write       that a post may have                      a

12      body,    a link,         a photo,             and so    on.     And that's             the    end of

13      the    definition.

14                       What happens                 to    that data once          it passes             into

15      the API      code       depends          on exactly how             that    specific API                is

16      implemented,            and       therefore where             it's       stored.

17                        So,    for example,                if you're uploading a photo,

18      it may      --    the photo may go                   into


.

.
21                        It    is    not    clear          from the API          description or

22      implementation up                  front where          that      storage        actually          is.

23      You have         to    dig    through many             layers       of    code    to

24      understand which                  storage          a specific write would end up

25      in.


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 1                    SPECIAL MASTER GARRIE:                 So basically            there's

 2      no   documentation?

 3                    MR.   EUGENE        ZARASHAW:        There's         documentation       on

 4      the APIs but not what              they actually do underneath.

 5                    There's       documentation also               of what    is    the

 6      product     implication of           the API.       So    there's

 7      documentation        that    if    I call     an API      to post      to    feed,    a

 8      story will     appear       in    the news       feed of      the person who

 9      owned the     access       token     containing what was              posted.

10                    But    there's       not documentation on               exactly how

11      that   is   implemented underneath.

12                    SPECIAL MASTER GARRIE:                 So      then    I guess my

13      next question        is:     Does     the DIY      tool      include    all    the

14      data available        that's       accessed via          the private APIs?

15                    I assume no.            Definitely not.

16                    But anyways,           that's my question.

17                    MR.   EUGENE        ZARASHAW:        I would defer            to Russ    on

18      what exactly does           include,       since    I don't know much about

19      the DIY     tool.

20                    MR.    FALCONER:           Yeah.     And let us         get back with

21      a definitive        answer on        that.

22                    But our understanding,                which      I think we've

23      submitted before,           is    that    the DYI    has      --    whatever data

24      might be     called up       through       calling any API            end point

25      would be     included,       you know,        in   the most         comprehensive,


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 1      most human          readable          form in         the DYI.

 2                         That's       my    recollection.                   But,    again,    let us

 3      get you a formal                confirmation on                  that.

 4                         SPECIAL MASTER GARRIE:                         Yeah.        But    I'm talking

 5      about       --   let's be        clear.          I'm talking about                   the private

 6      APIs    where Netflix or                   somebody else               is    using a private

 7      API    to    generate          data,       I would assume,                  since    there's       no

 8      documentation,             that       the DIY         file       --    they wouldn't even

 9      know possibly             to    include         it    in       the DYI       file.

10                         Is    that    right,        Mr.        Zarashaw?

11                         MR.    EUGENE          ZARASHAW:             I don't know          that    that's

12      a reasonable             assumption           just because              there's       very    little

13      documentation anywhere,                       and yet we have                 a DYI    file    that

14      contains         quite     a lot.

15                         SPECIAL MASTER GARRIE:                         Yeah.        It's    a mystery

16      to me       as   to how        the DYI        file        is   actually built and then

17      where       does    all    the       --    because         all    of    the    inference       data

18      that you         can derive           about a user's behavior                        isn't    stored

19      in    the DYI       file.        It's        stored and distributed in other

20      datasets because                you don't            --    Facebook doesn't provide

21      inferences          that       it derives            about user behavior                in    the

22      DIY    file.

23                         MR.    EUGENE          ZARASHAW:            To my knowledge,              the

24      reason       it works          is many,        many years              of an    effort.        It

25      was    not a simple project.


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 1                     SPECIAL MASTER GARRIE:                Well,        that's my

 2      question      --

 3                    MR.       FALCONER:     And,    again,        we're happy to

 4      verify this         formally.       But there are           --    our

 5      understanding is             there are derived inferences                 of a

 6      DYI   file pretty voluminously.

 7                     SPECIAL MASTER GARRIE:                That would be good

 8      I mean,     yeah,       so   that would be good to understand.

 9                    And then which ones             aren't.            Because it

10      doesn't sound like             there's    documentation anywhere.

11                     So what I'm trying to             figure out is            since we

12      don't know what actually could be written                           to any of the

13      systems      relating to        the user data,          how do we know that

14      the data and the user DIY file is possibly even close                                to

15      complete if there's no recorded documentation?

16                     But we'll        talk about that offline.                  I don't

17      want to waste           the engineer's       time.

18                     But that's        just my question;               right?    I mean,

19      because      the Court is very clear about it being,                       you

20      know,    data collected from the user's                     on-platform

21      activity,      data obtained from a third party regarding a

22      user's      off-platform activities,             and data inferred from

23      the user's         on-and-off platform activity.

24                    And it's        clearly stated that you collect in

25      your terms         --   at least in your interrogatories,                   that you


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 1      collect the Bluetooth,                the wifi      signal,       and all       that

 2      through the mobile and associate it with the user.                                     But

 3      that doesn't         --    as    far as     I can tell,         my review of the

 4      DIY file didn't actually have                     that information,             just as

 5      an example.          Or,    you know,       any of the other data in

 6      there.

 7                    But you can           -- because what I'm trying to

 8      understand is         there are        40    --   or 55    total       systems,      but

 9      we can't seem to            figure out what's             actually stored from

10      a user data perspective in the                     systems because             the

11      developer could store whatever they                        --    data wherever

12      they wanted as            they saw fit.

13                    MR.     EUGENE       ZARASHAW:       Mr.     Garrie,       the    solution

14      to    this   is unfortunately exactly the work                         that was       done

15      to create      the DYI          file itself.

16                    And the           thing I struggle with here is                   in order

17      to    find gaps      in what may not be in DYI                   file,    you would

18      by definition need to do even more work than was                                 done       to

19      generate      the DYI       files     in the      first place.

20                    And if it helps,              we can find out approximately

21      the    size of the         team and the number of months                   it took

22      that team to do            the work to        sift through the            systems       and

23      generate DYI         file as       a scoping exercise             for what it

24      would take      to    find even more,             if there's more          to    find.

25                     SPECIAL MASTER GARRIE:                 Well,       it    sounds       like


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    1      TAO   is    a good place                to    start.              It    sounds       like       to me    TAO

    2      and maybe,            like,       one    or       two    other          systems       are       a good

    3      place      to    rest your          laurels             to    go       from,    based on my

    4      review of            the patents             and the          conversations                so    far.

    5                           But    I guess my next question                            is    are user

    6      message         threads       --    they are             --       are    the user message

    7      threads         in    the DIY       tool          accessed via             the       social       graph?

    8                           MR.   EUGENE        ZARASHAW:                 If    the    social          graph

    9      contains         the backing             store          for       the messages             product,

10         which      is    one point          called Titan,                      and I don't          recall what

11         the    system is            called,          then yes.

12                              SPECIAL MASTER GARRIE:                             And then       let's be

13         clear.          Like,       I mean,          to    deal with             the EU,       there has          to

14         be    some process            about          the    data and the                deletion of data

15         and user data at                  some       level       to be          compliant with GDPR,

16         whether         it's       inferential             data or not             inferential             data.

17         So we'll         follow up with Russ                         on    that    separately.

18                              So    then    --

19                              MR.   EUGENE        ZARASHAW:


.

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.         M
23                              SPECIAL MASTER GARRIE:                             Yeah.        All    right.

24         That's      one way          to    do    it.

25                              MR.   EUGENE        ZARASHAW:                 It's by       far       the    easier


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 1      way    to    do    it.     There's       a very       similar problem of do you

 2      sift    through a massive box                   --

 3                         SPECIAL MASTER GARRIE:                       I get       it.        You got    the

 4      point across.              I get      it.      I get       it.

 5                         I'm telling you now,                   as    long as          the    database

 6      stays       and isn't          stolen.        But yeah.

 7                         So    then    do private APIs                provide          data other

 8      than    the       data    in    the   social        graph?

 9                        MR.    EUGENE       ZARASHAW:            Not       to my       knowledge,       in

10      large part because                the    --   most of           the    other       systems

11      could not handle                the   load.

12                         SPECIAL MASTER GARRIE:                       Steven       --    or Mr.    Elia?

13                        MR.     STEVEN ELIA:              No.        I think almost by

14      definition user                data   that     is    part of          the    Graph API,

15      including any private API,                      is    to be part of                the    social

16      graph.

17                         SPECIAL MASTER GARRIE:                      All     of    them or       just

18      some    of    them?

19                        MR.     STEVEN ELIA:              Some       of    the    --    any API,

20      including          the private API,             that would,                for    example,

21      return user data,                I would classify                   that as       part of    the

22      social       graph.

23                         SPECIAL MASTER GARRIE:                      What about              inferred

24      user data?              So not user         input data but user-inferred

25      data.        So    I'm drawing a distinction;                         right?


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 1                        There's       user data you         input and          then       there's

 2      user data you               infer.     Two   different          things.

 3                       MR.        STEVEN ELIA:        Sure.

 4                        I'm not       aware     of Graph APIs           that      return

 5      inferred data.

 6                        SPECIAL MASTER GARRIE:                   So where         does     all    that

 7      go?

 8                       MR.        STEVEN ELIA:        Other      than       the very

 9      high-level            understanding of          things      like      our ads

10      targeting         system leveraging             that kind of data,                  I'm not

11      sure what uses               inferred data        like     that.

12                        SPECIAL MASTER GARRIE:                  Because        that would be

13      on-platform activity data about a user's behavior                                         that

14      is being inferred and stored and captured by Facebook.

15                       MR.        STEVEN ELIA:        Besides         use   cases        like    our

16      own ads         targeting,       I'm not aware            any of       that    includes

17      anything         that would share            that with a third-party

18      developer.

19                        SPECIAL MASTER GARRIE:                  Well,       not     --    it's    not

20      a third-party developer.                     It's    if    it    --   it's     if    it's

21      on    --   so    --    so    that would make         --    the    Court defines             it

22      as    data      collected from a user's               on-platform activity,

23      not data         shared with a third party.                      It's    --    let's be

24      clear.

25                        The       delimiter     isn't whether           it's      shared.         The


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 1      delimiter       is    data      collected from a user's                    on-platform

 2      activity.

 3                      MR.    STEVEN ELIA:              I apologize.              I was

 4      mentioning          that because          of    the    connection          to private

 5      APIs,       which    I'm considering             to be       --

 6                      SPECIAL MASTER GARRIE:                    Yeah.

 7                      MR.    STEVEN ELIA:              --    APIs       called by      third

 8      parties.

 9                      SPECIAL MASTER GARRIE:                    Yeah.           Fair enough.

10                      But    I just want             to make       the    distinction here;

11      right?        This    is    where       it becomes more             challenging,

12      right,      because        it's    data collected from a user's

13      on-platform activity                so you have          on-platform messages

14      and you have          on-platform user profile                      and you draw

15      inferences          about       that user's behavior and                   store   that    in

16      the    database.           We're    not    sure which database                  systems.

17      Maybe                                      , like       a handful          of   systems

18      for    --    that's    group       1.

19                      And then you have                data obtained             from third

20      parties       regarding a user's                off-platform activities.

21                      That       is   your APIs;        right?           That    is   your data

22      dumps       and your private APIs.                    It doesn't          sound like you

23      do    data dumps but APIs               at a minimum.

24                      And then          three    is    data    inferred          from a user's

25      on-or-off platform activity.                          Again,       not defining what


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 1      inferred is,       but it says,       you know,       on-or-off platform

 2      activity.

 3                    So if you get data returned from Netflix and

 4      you make     --   you make inferences based on their movie

 5      watching habit and their chat messages                     and you write

 6      that out to a third party             --    one of your internal

 7      database     systems.     So    the API      covers       really the   second

 8      bucket,     not buckets       1 or 3 that the Court's             defined.

 9                    But we'll keep going.

10                   All     right.     Partner integration.              And then

11      we'll   take a break,         and then I think Counsel Falconer

12      will be closer to        the    finish line.

13                    So partner integration,             what access       does

14      'cause you define in the             --    in multiple different

15      places,     you define    strategic partners,               such as Amazon,

16      Etsy,   Netflix,      et cetera.

17                   What data did they get for that relevant time

18      period?

19                   MR.     STEVEN ELIA:          Each of those would be its

20      own unique case and depends                on what is       the   specific user

21      experience        they were building.          And the agreements,           the

22      contracts we had with them would outline what kind of

23      data would be made available as part of that and what

24      they would be allowed to do with                 that.

25                    I'm not that familiar with all of those


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 1      specific      agreements.

 2                        SPECIAL MASTER GARRIE:                     What's       a strategic

 3      primary you are               familiar with?            We    can work backwards

 4      from that.

 5                        MR.    STEVEN ELIA:            Bing is       an example             of one

 6      which    I've      implemented some              of    the APIs       they would use.

 7      Bing    the    search engine.

 8                        SPECIAL MASTER GARRIE:                     Yeah.        So    that's    good

 9      because       that's      something        I know       something about.

10                        All    right.       So Bing and Facebook.                      You    can

11      search      friends       of    friends     on Bing;          right?

12                        How did that work?

13                        MR.    STEVEN ELIA:            I'm not aware             of    the    ability

14      to   search       that on Bing.

15                        What    I am aware        of    is    an API       we    had for       them

16      that    shared public            content on Facebook.                     So    this    were

17      things      like post photos,             videos        that had public privacy,

18      anyone      on Facebook          could see        it,    and those             kind of posts

19      could show up            if    they were      relevant         to your          search

20      query,      for    instance.

21                        SPECIAL MASTER GARRIE:                     And did Facebook get

22      any data back            from Bing?

23                        MR.    STEVEN ELIA:            I'm only aware                of a unit

24      directional API               here   of Facebook pushing data                     to Bing.

25                        SPECIAL MASTER GARRIE:                     Are   there        any


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 1      bidirectional partner APIs?

 2                    MR.        STEVEN ELIA:            I can't       think     of any off             the

 3      top of my head.

 4                     SPECIAL MASTER GARRIE:                     Where would one                 look

 5      to    find that out?             The     engineer,       not     --    not    just       --

 6                    MR.        STEVEN ELIA:            Sure.

 7                     So    a rather          laborious        exercise        I could carry

 8      out as      an engineer,          for     instance,       would be           to    start with

 9      a list of all            the    capabilities,           including ones              that have

10      ever existed.

11                     For each one,              look    to    see whether           it gated an

12      API.     It would be much more                   difficult        to    see       did it

13      modify behavior            of an otherwise public API?

14                    And in           some    cases     I might have           to    go    through

15      the    entirety of         the    code history           for     that API          or    frankly

16      other    files      in    the    repository        that may have              referenced

17      that    capability         to    see what        that    did.

18                     I don't          think even        in    that     case    that       that

19      would yield any            insight        into    an API       the partner provided

20      that Facebook would have                     called.

21                     SPECIAL MASTER GARRIE:                     What about              looking at

22      the    firewall      logs       for    the    inbound data?

23                    MR.        STEVEN ELIA:            I'm not       familiar with              that

24      part of our         infrastructure             and what's         possible          there.

25                    MR.        EUGENE       ZARASHAW:         The    one     challenge          I


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 1      recall      from looking at             the   inbound logs            is    that we       did

 2      not    store post-request bodies,                    and most write APIs                  were

 3      post requests.

 4                      SPECIAL MASTER GARRIE:                       That is       very    true.

 5                      Okay.        Did --       and it     sounds      like       --    and I did

 6      look    that    the A --          private     --   well,       the    strategic

 7      partners       had varying network                 access,      additional

 8      computing and storage.

 9                      Is    that    accurate?

10                     MR.     STEVEN ELIA:




12                      SPECIAL MASTER GARRIE:                   Yeah.         That's       it.

13                     MR.     STEVEN ELIA:


.
.
.
17                      SPECIAL MASTER GARRIE:                   Did Facebook              allow

18      data connections between                   the     Facebook and            its    strategic

19      partners?

20                     MR.    EUGENE        ZARASHAW:         What do you mean by

21      data connections             in    this    case?

22                      SPECIAL MASTER GARRIE:                   Did they           allow

23      partners       to    connect       to   Facebook's       data        stores?

24                     MR.    EUGENE        ZARASHAW:         No.      All     access       was

25      through     the API.


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 1                     SPECIAL MASTER GARRIE:                  So    scheduled API

 2      calls?

 3                    MR.     EUGENE    ZARASHAW:            Would WebHooks         count?

 4                     SPECIAL MASTER GARRIE:                  Yeah,    I guess.

 5                    What about FTP,            SFTP       servers?

 6                    MR.     EUGENE    ZARASHAW:            Not    to my    knowledge.

 7      That's      terrifying.

 8                    MR.     STEVEN ELIA:            I'm also not aware            of any

 9      instances      like    that.

10                     SPECIAL MASTER GARRIE:                  Is    there    a difference

11      between      custom APIs       and private APIs?

12                    MR.     STEVEN ELIA:            I wouldn't use          the phrase

13      "custom API"        myself.      That doesn't mean anything                   to me.

14      Maybe    given a specific          context          sentence    it was      used in,

15      I'd be better able         to    answer        that.

16                     SPECIAL MASTER GARRIE:                  That didn't mean

17      anything      to me    either    so     --    I see    it a lot,       so   I was

18      just wondering if Facebook                   created a term called

19      "custom APIs."

20                     So   I assume     then        there    are   query-able Hive use

21      cases    for data      that exists           now.

22                     Is   that a --      is    that accurate?

23                    MR.     EUGENE    ZARASHAW:            Do you mean       for API

24      usage    data?

25                     SPECIAL MASTER GARRIE:                  Or    for debugging.


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 1                       MR.        EUGENE    ZARASHAW:          There's     a fair bit of

 2      data      in

                       and    so    on.
I

 4                           SPECIAL MASTER GARRIE:                 Right.

 5                           So    there    are    other    tools      for querying.

 6                           Is    there    a query-able Hive use             cases      today       for

 7      user data?

 8                       MR.        EUGENE    ZARASHAW:          I'm not     sure what you

 9      mean by use               cases.

10                           There       are Hive       tables   that    can be     queried

11      using our            standard query UI.              And if you know what               table

12      to   look       in and it has             the    right   fields,     you    can query

13      for user data.

14                           SPECIAL MASTER GARRIE:                 Is   there     a list of         --

15      or   --

16                           So    the    answer    is   yes,    you have     the use      --

17      there      are use          cases    for where you're            querying high data

18      tables?

19                       MR.        EUGENE    ZARASHAW:          Yes.

20                           SPECIAL MASTER GARRIE:                 Could you       --   how    --

21                           Sorry.        I'm just       thinking.

22                           So    then where was          data acquired by a partner

23      retrieved from?

24                       MR.        EUGENE    ZARASHAW:          It would depend on             the

25      API but most APIs                  are backed by


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 1                        SPECIAL MASTER GARRIE:                  What about you,

 2      Mr.    Elia,      do you      agree?

 3                        MR.    STEVEN ELIA:          I agree with             that       statement.

 4                        MR.    EUGENE    ZARASHAW:         There        are       some    system

 5      specific APIs            that    for a given        set     --    or    certain          --    some

 6      specific APIs            for product would           --    may be backed by a

 7      different back end.

 8                        So    as   an example,       messaging has                its    own

 9      separate back end,               and any of       those      Titan APIs             you

10      mentioned earlier would be partly backed by




12                        Another example would be                  reading          the news          feed

13      for a user,            reading    the    stories     they have posted


.

.
16                        SPECIAL MASTER GARRIE:                  Where        is    the message

17      back end?

18                        MR.    EUGENE    ZARASHAW:         I don't           recall       the new

19      name    of    it,      but   I remember      it being        --    looking up             some

20      of    the    55   systems,       the message back end was                     on    that

21      list.

22                        SPECIAL MASTER GARRIE:                  Okay.         It would be

23      good to       identify which one             that    is.

24                        And then       the user data and the message back

25      end I assume            stores    way more      data      than what           sits       in    the


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 1      DIY    file.

 2                     MR.        EUGENE          ZARASHAW:       I'm not          sure what's           in

 3      the DIY     file,         so    --

 4                      SPECIAL MASTER GARRIE:                         DIY,       do    it yourself.

 5      Sorry.

 6                     MR.        EUGENE          ZARASHAW:       No,       no.        I meant     I'm not

 7      sure what's          in    that       file.        I'm not      sure what            it actually

 8      contains       versus          what's        in   the back      end.

 9                      SPECIAL MASTER GARRIE:                         All    right.

10                     MR.        EUGENE          ZARASHAW:       To    answer your earlier

11      question,       the name             of    the    current messenger back hand is

12                          So    it    is    No.     4 on    that     55    item list.

13                      SPECIAL MASTER GARRIE:                         Okay.           DYI   files.

14                      So       then    can a system exist                  that       queries     the

15      Hive    for data          to    create        inferences        and store            it

16      elsewhere?

17                     MR.        EUGENE          ZARASHAW:       Yes.

18                      SPECIAL MASTER GARRIE:                         Do you know what

19      systems     that         those       inferences        are being written up                   to?

20                     MR.        EUGENE          ZARASHAW:       I don't know a system

21      like    that    could exist.                  I don't know if              it    does.      But       if

22      one were       to    exist,          I would likely ask               the       ad targeting

23      team if     they have            something like              that.

24                      SPECIAL MASTER GARRIE:                         Okay.           You   said end

25      targeting       team.


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 1                       MR.   EUGENE         ZARASHAW:        Ads    targeting.            Yes.


 2                        SPECIAL MASTER GARRIE:                 Okay.       Did you         say


 3      "ends"      or    "end"?

 4                       MR.   FALCONER:             Ads,    a-d-s.


 5                       MR.   EUGENE         ZARASHAW:        Ads.


 6                       MR.   STEVEN ELIA:             Advertisements.


 7                        SPECIAL MASTER GARRIE:                 Oh,     advertising


 8      targeting         team.     Got       it.     Ads.     That makes        more       sense.


 9                        Sorry.        Go   ahead.

10                       MR.   EUGENE         ZARASHAW:


.

.
13                        SPECIAL MASTER GARRIE:                 But you         could look         for

14      code    that      talks    to    the

15                       MR.   EUGENE         ZARASHAW:




17                        SPECIAL MASTER GARRIE:                 Yeah.       But your


18      production         code being          the    consumer       face   --   you use       --

19      you    say production,               that's    the    consumer      facing.          That's


20      not your         research,       your development,              or your

21      engineering.


22                       MR.   EUGENE         ZARASHAW:        Generally         for   any    kind


23      of    randomized access,               for    example,       if we want        to    serve


24      ads,    the      data would have             to be pulled out            of Hive      into


25      another       system for         immediate          data access.         Hive has          very


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 1      high    latency.

 2                        SPECIAL MASTER GARRIE:                     Oh.

 3                        MR.    EUGENE       ZARASHAW:         In    the minutes.

 4                        So    one    example       system on        that    list       is No.      9,

 5      Laser,      which does          not    store    any data of           its    own but it

 6      is   a cache       in    front of       other     systems          that are       slow and

 7      can't handle            the    load,    such as        can be      TAO,     can be Hive,

 8      and so      on,    to    accelerate          them.      So    it's    an    in-memory

 9      cache    in   front of          a slower       system.

10                        SPECIAL MASTER GARRIE:                     That would be very

11      helpful,      I guess,          Counsel       Falconer,        if you       can    identify

12      those    systems         that are       caching        systems versus             systems

13      that actually have beyond                     just user experience.

14                        MR.    FALCONER:           Mm-hm.       Yeah.      Understood.              We

15      can do      that.

16                        SPECIAL MASTER GARRIE:                     Okay.     So    then did

17      integration            involve    Facebook        --    so    then    is    there      any

18      centralized area where                  --    you would receive              data      from a

19      partner.          We've       established there's              no way       to

20      determine         --    for a particular user;                 right?        I log in

21      with whatever            information,          you would get           that data back

22      from a partner.

23                        Do you know where             that data would be                 stored?

24                        I'll    give you an example.

25                        I go    to Netflix,          I use my Facebook                 ID.    You


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 1      get back a set of movies                  I like.           I don't believe            the

 2      set of movies            I like    that Netflix             shares       with Facebook

 3      sits    in my DIY         file    about me.

 4                        MR.   EUGENE     ZARASHAW:           So    the    one way       I could

 5      think      that working is             there's    an API          for posting         that    a

 6      user has      watched       something.           It's       the    graph    --    it's      the

 7      graph actions API.

 8                        So    at one point       I believe Netflix may have

 9      been using it.             I don't       recall       for    sure.        Steven might

10      know.       But    --

11                        A site    --    if    some    site    out       there provided

12      videos      that people          could watch and that                site       integrated

13      with a Facebook API               and made post             requests       to    this API

14      every      time    a user who had tossed the                      app,    watched a

15      movie,      we would likely             store    that       information          in   two

16      places      in duplicate:


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22                        SPECIAL MASTER GARRIE:                    I got    it.

23                        No    reflection on          this    hearing.

24                        Mr.   Elia,     is    there    anything you'd like                  to    add

25      to   the    examples?


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 1                        MR.     STEVEN ELIA:             Nope.

 2                         SPECIAL MASTER GARRIE:                         And then       --    so    then    do

 3      we    --    is    there      any way       to    figure          out    from    this    list of

 4      systems          which ones         stored data             that was       accessed and/or

 5      received by partners,                  especially                in    cases    where       access

 6      was    not       through      the    Graph API?              So

 7                        MR.     EUGENE      ZARASHAW:              I don't know of any ways

 8      for partners            to    get data outside                   of    the API.

 9                         SPECIAL MASTER GARRIE:                         The    Graph API          or any

10      API?

11                        MR.     EUGENE      ZARASHAW:              I don't       --    I think       it's

12      all    Graph API          now.

13                         Steven,       correct me            if    I'm wrong.

14                        We used to have               a rest API              that we       folded into

15      it but       it was       still      the    same       exact API          with    slightly

16      different parameters.

17                        MR.     STEVEN ELIA:             There may be                a small       set of

18      APIs       that aren't based on                  the    Graph API          even       today,       but

19      those would be well                  understood             --    identified.           We would

20      have       a list of         those.

21                         It's      plausible          that    there          could exist

22      something not on               that    list.

23                         But as      a general matter of policy,                            again,

24      there's          a whole      review process                to    go    through whenever

25      you're building               this    kind of API                that would result             in


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 1      such an API       winding up           in    this    list.

 2                      SPECIAL MASTER GARRIE:                     And pre-2014,            that

 3      didn't exist?

 4                      MR.    STEVEN ELIA:            This    type       of    review process

 5      I mention was          even    later        that was       started in          2018,      2019,

 6      something like          that.

 7                      SPECIAL MASTER GARRIE:                     All    right.          And the

 8      Graph API       that's       now consolidated was                 not    consolidated

 9      to    a single API       pre-20-        --   what     --

10                      When did the           graph API become                the   omnibus API

11      for    the partner       access        and receive?

12                      MR.    EUGENE       ZARASHAW:         Go    ahead,       Steven.

13                      MR.    STEVEN ELIA:            For    the    general populous

14      '15/2016 was          when we       removed access           to    some      of    those

15      other APIs,       like       FQL.     But     there,       I believe,          were

16      capabilities          allowing access           to    those       for    a few more

17      years.

18                      MR.    EUGENE       ZARASHAW:         To    add to       that,      the

19      previous    set of APIs             also     known as       the    rest APIs            still

20      followed the          same    semantics        of needing an             app      ID,

21      needing permissions,                needing access           tokens.

22                      It was       just different           semantics          and how         to

23      call    them.

24                      MR.    STEVEN ELIA:            I would also             add to      that

25      that    I'm not aware          of any data,           and I'm highly               confident


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 1      that    the    only data available                    through          that       legacy       rest

 2      API    FQL was       also       available        over       the    Graph API.                 Those

 3      would be       like       duplicate APIs.

 4                         SPECIAL MASTER GARRIE:                        Who    is    the       engineer

 5      that built          the DYI          tool?

 6                         MR.    EUGENE       ZARASHAW:            I would have                to    defer       to

 7      Russ    on    this       one.        It would be         an entire            team.

 8                         SPECIAL MASTER GARRIE:                        Okay.        But on every

 9      team there's             an engineer or            two      engineers             that build             --

10      that do       --    that    are       the pillars           of    the    team.

11                         MR.    FALCONER:            I --    go     ahead.          Sorry.

12                         MR.    EUGENE       ZARASHAW:            I was       going          to    say,    it's

13      a more       than    two-pillar engineer undertaking.

14                         MR.    FALCONER:           Yes.       And that            --    I don't          --    we

15      don't have names                or    statistics,           you know,             at our

16      fingertips          on    that.        We would be happy                 to       get       them.

17                         But we       have    --    my understanding                    is    the    same       as

18      Mr.    Zarashaw's          about       the     scope     of      the project and how

19      many people were                involved.

20                         SPECIAL MASTER GARRIE:                        Yes.        So    30       engineers

21      to    one pillar?           So       a 60    engineer         team?

22                         MR.    EUGENE       ZARASHAW:            I would be             impressed if

23      a 60    engineer          team could have              completed DYI                   tool    in

24      six months.

25                         SPECIAL MASTER GARRIE:                        Not    six months.


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 1      Figure      18 months.            But yeah.          And then          they    iterated on

 2      it   for    several      years.

 3                       But anyways         --   so    specialized consumer

 4      experiences,           are   they different            --    they're          defined

 5      differently.           Are    they     the     same,    though,          specialized

 6      consumer experiences?

 7                       MR.    EUGENE      ZARASHAW:          I'm not          sure what          that

 8      means.

 9                       SPECIAL MASTER GARRIE:                     So    as    I understood it,

10      specialized consumer experiences,                           according          to    the

11      Interrogatory           4,   page    374:

12                       "Facebook developed private APIs                             to

13             enable      select partners              to    offer       custom

14             seamless         experiences          for users            seeking      to

15            more       closely      integrate         their Facebook

16             experiences           with other         things       they'd like

17             to    do,   such      as    listening         to music,

18             watching movies,              or pursuing and sharing

19             interests         and hobbies.            These       custom

20             experiences           are built by            companies          such as

21                                                                   II




22                       MR.    EUGENE      ZARASHAW:          So    it     sounds         like    that

23      refers      to   the whole         set of private APIs                 where we           allowed

24      third parties           to   do    customized integration                     into    some

25      aspects      of how      their experience worked with ours.


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 1                      As    an example,           I recall we        did special

 2      integration          for                  that you mentioned where when

 3      you were       sharing                                   with    someone,       you

 4      could also       send them a message                on Facebook         about    it,

 5      where    for almost          anyone       else,    there was      no    ability       to

 6      send a message via an API but we                        enabled it via          contract

 7      for    this    specific       use    case.

 8                      SPECIAL MASTER GARRIE:                   And theoretically             that

 9      would be       related       to                 today?

10                      MR.    EUGENE       ZARASHAW:        Yes.

11                      SPECIAL MASTER GARRIE:                   So    it's    either    in    the

12      contract or          the    code.        All   right.

13                      All    right.        So     then   I had some         I guess    DYI

14      questions but we'll                ask    those    later.

15                      Measurement          Partners,       that's      another    term

16      that's been defined as                   having different access,               and

17      it's    --    where    is    it?    --    do you know what

18      Measurement          Partners       are?

19                      MR.    EUGENE       ZARASHAW:        I loosely         know what       they

20      are but       this    is    not my area of expertise.

21                      SPECIAL MASTER GARRIE:                   Mr.    Elia?

22                      MR.    STEVEN ELIA:             Similar.        I wouldn't have

23      worked on any of             their APIs.

24                      SPECIAL MASTER GARRIE:                   They had       their own          set

25      of APIs;       right?


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 1                       MR.     EUGENE       ZARASHAW:            I don't know.

 2                        SPECIAL MASTER GARRIE:                     Mr.    Elia?

 3                       MR.     STEVEN ELIA:              I don't     specifically know.

 4      If   that was       represented as               an example         of       those

 5      customized integrations,                      then    I would imagine                that

 6      would be         true,    yes.

 7                        SPECIAL MASTER GARRIE:                     Do you know who was                   on

 8      the Measurement            Partner engineering                 team,          or who       to    talk

 9      to   or    --

10                       MR.     STEVEN ELIA:              I don't know.

11                       MR.     EUGENE       ZARASHAW:            We would have             to    follow

12      up   to    find who's       actually on              the    team.

13                        SPECIAL MASTER GARRIE:                     And the          reason       I ask

14      is because         there's       a specific           distinction             and I'm trying

15      to   trace       this back       to    these       systems     that exist because

16      it   says       in your    exhibit          --   you know,         in your

17      interrogatory or            --    anyways,           the point          is    that    there's

18      references         to    individually            identifiable user               content

19      that Facebook provides                   to      the Measurement              Partners

20      that's      stored.

21                       And what's           not     clear    to me       is    if    that       same

22      information exists               in    the DYI        file,    and if          it doesn't

23      exist      in    the DYI    file,       where        does    it exist?           Because you

24      make      it a point       to    state        that you have             this    data and

25      you're providing            it.


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 1                   And if it comes        --    and my point is        --    and this

 2      is worth noting,       Counsel,     for Facebook generally,                 if

 3      it's    duplicative,    that's    great.      But someone has           to       say

 4      it is    duplicative because nobody is               saying it's

 5      duplicative.

 6                   MR.    FALCONER:     Yeah.     And,      again,    this    is

 7      starting to veer more into           the guts        of the ads business,

 8      the advertising business.            And so    I think if this              is    a

 9      subject matter that the          special master wants            to ask more

10      questions    on,    I think it would be better served

11      getting -- putting you in touch with different people

12      who were more       familiar with that part of the business.

13                   SPECIAL MASTER GARRIE:            I'm not interested in

14      the ad part of it.        I'm interested in the              fact that           --

15      and I can point you to what triggered it.                      It's    an

16      exhibit now exhibit in the depo as                  128.    It's page        495,

17      and 128,    page 374.     And there's very explicit references

18      to user,    like individual       identifiable         -- which we've

19      decided is not a term --          individually identifiable user

20      content that Facebook provides              to Measurement Partners.

21                   What isn't stated is where it's                 stored,        what

22      is   collected,     and if it's     duplicative of the DYI              files.

23                   And that's    the     same    for the     --   these SCEs           or

24      these    specialized consumer experiences.                  And it's not

25      clear to me    --    and it's    going to be important to


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 1      understand what user data is                       collected in         --   for these

 2      experiences        that you've identified --                     Facebook has

 3      identified,        is       it duplicative or is              it in other one of

 4      these    systems?            Because       there's no identification about

 5      where    this     data exists but it's                clearly data that is

 6      created or collected from the user's                            on-platform

 7      activity.

 8                       MR.    FALCONER:           Sure.     Yeah.       Understood on all

 9      that.

10                       And,       again    --    yeah.     So let us         find the right

11      person      --   I understand what you're interested in,                             and

12      let us      find the         right person who can talk with you about

13      that.

14                       SPECIAL MASTER GARRIE:                  Then for user mobile

15      device data,           it    sounds       like we'll need a different set

16      of engineers           to provide          that,    unless      it's    completely

17      duplicative of what's                 in the DYI        file.

18                       But,       again,    that's not established,                 and I

19      can't figure out              from the        systems you're identifying

20      what is      or is not within the DYI                   file,     specifically

21      around the mobile user data.                        Because      they go      to

22      Facebook's mobile app using Facebook engagement.

23                       So,    again       -- but I think it sounds                 like,

24      Mr.   Zarashaw and Mr.               Elia,     you're not in a position to

25      answer the questions                 about the mobile data?


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 1                      MR.    EUGENE         ZARASHAW:         I'm not.

 2                      MR.    STEVEN ELIA:                 Are you    referring          to    data,

 3      for example,          collected from our mobile                      apps?

 4                      SPECIAL MASTER GARRIE:                       Yeah.        That    is    part      of

 5      the user.

 6                      MR.    STEVEN ELIA:                 That's    also    again       something

 7      I'm not       familiar with.                I wouldn't believe              that,       though,

 8      to be    stored any             differently          from data       collected

 9      generally       from the web or elsewhere.                          I wouldn't          think

10      there's       a separate,            for example,           data    store       of only

11      mobile      data,     for       instance.

12                      SPECIAL MASTER GARRIE:                       Yeah.        But    there's

13      different mobile                --   there's        different data          that       can be

14      collected off mobile                  devices,        and if       it's    part of          the

15      social      graph and available,                    about    the user       activity.

16                      MR.    EUGENE         ZARASHAW:         I think       the       challenge

17      I'm having is          I don't actually know what's                         in    the DYI

18      file    and I don't             know what mobile             data    is    collected.             So

19      it's    difficult          to    do more       than guess          on what       is    stored

20      for which.

21                      SPECIAL MASTER GARRIE:                       Yeah.        I mean,       I could

22      tell    you    in    the    terms      of     services       that were provided by

23      Facebook,       it    indicates          that       the Bluetooth          ID,    the

24      network       ID,    a bunch of          ID    is    collected.

25                      So,    I mean,         again,        Exhibit       128,    page       487    kind


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 1      of delineates             a bunch of       that,       just       to point Facebook

 2      sort of       in    the    direction of what             I'm asking about or why

 3      I'm asking about             it.

 4                         Because    I did look at             the       files       and I did not

 5      see    these       data elements          in    there,       so    I don't know if

 6      it's    possible          they didn't access             it       through       their mobile

 7      devices       or mobile       --    or maybe          they    --       you    know,      but     this

 8      may end up being             is    I'm just       curious          to understand that

 9      piece    of    it.

10                         And then       the    last    set of questions,                  we     can

11      either power             through    them or we          can       take       a break.

12                         What would Mr.          Elia or Mr.             Zarashaw prefer?

13                         MR.    EUGENE    ZARASHAW:           I would love                a break.

14                         MR.    STEVEN ELIA:           Same.

15                         SPECIAL MASTER GARRIE:                    All       right.        That

16      sounds      good.         I mean,       the DYI       file,       as    far    as    I could

17      tell,    has       device    ID,    mobile       servers          provider,          and

18      country       code.        But not       the    other elements                that are

19      identified.

20                         So we will       take       a --    you guys          want       to   take     a

21      five-minute break?

22                         Is    that a yes,       Mr.    Elia.

23                         MR.    STEVEN ELIA:           Yes.

24                         SPECIAL MASTER GARRIE:                    We'll       take       a

25      five-minute break.                 I'm supposed to put everybody                            in    the


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 1      breakout          room so       that's      probably          --   we'll       go    off    the

 2      record.

 3                                (Break       taken      in proceedings.)

 4                         SPECIAL MASTER GARRIE:                     All       right.        We're

 5      going       to    go back       on   the    record.

 6                         I'll    take,       like we have,               if   there       are

 7      questions          for plaintiffs,             and then            I will      jump       into

 8      the    --

 9                         Back on       the    record?

10                         Plaintiffs,          are    there      any questions               you would

11      like       to    ask?

12                         MS.    WEAVER:          Yes.

13                         Can you query            the Hive with               the    Facebook user

14      ID    or    some    other       identifier,         and have            they    done       that    for

15      the named plaintiffs,                   given      the    latency            issue    that

16      Mr.    Zarashaw mentioned?

17                         SPECIAL MASTER GARRIE:                      I mean,         the    engineers

18      don't       really answer            the    second part of               the    question,          but

19      the    first part of             the    question         is    can      --    can you query

20      the Hive          for user data?              I think         the user         that we

21      already          said is    yes.

22                         Is    that    correct,         Mr.    Zarashaw?

23                         MR.    EUGENE       ZARASHAW:


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10                        SPECIAL MASTER GARRIE:                    It would be possible,

11      though,      to    identify          the    largest      tables       within          the Hive

12      and how      those          data   schemas       were;    right?           The    top      10

13      tables      or whatever            it may be.

14                        MR.       EUGENE    ZARASHAW:          Yes.

15                        MS.       WEAVER:        May   I ask a follow-up?

16                        SPECIAL MASTER GARRIE:                    You may         ask a question

17      and then      I will          --

18                        MS.       WEAVER:        Fine.

19                        Is    there      a schema or        fields         for Hive         or

20      descriptors            so    that we       can   identify       the    top       10   or     some

21      way   to    identify what we                could query using user                     ID?

22                        SPECIAL MASTER GARRIE:                    I will         reask       the

23      question.

24                        If we       could identify          the      top    10    tables,          can

25      you extract            the    fields       for   those    top    10    tables


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 1      because      --    whatever      --    X number of         tables.       That's

 2      possible;         right?

 3                        MR.   EUGENE    ZARASHAW:         It     is   possible.          But    the

 4      only exception           is    going    to be    that      some   of    those      fields

 5      may    themselves be           complex     things     such as      JSON encoded

 6      objects,      and the         names may not make            sense.

 7                        SPECIAL MASTER GARRIE:                 Yeah.

 8                        I think      that got at your question;                 right?

 9                        MS.   WEAVER:        Yes.     Thank you.

10                        MR.   EUGENE    ZARASHAW:         But given             yes,     but we

11      could find what            are   the    largest     tables by          size   and get

12      their    schemas.

13                        SPECIAL MASTER GARRIE:                 Okay.     Any other

14      questions         from plaintiffs?

15                        MS.   WEAVER:        So many,     but we'll          hold for now.

16                        SPECIAL MASTER GARRIE:                 Okay.     Well,      just       so

17      you're            everybody      is    aware,    I see      the    finish     line may

18      be    20 minutes        away,    so you best brainstorm away.

19                        My next questions           are   really        focused around

20      the   Graph API.

21                        Mr.   Zarashaw,       Mr.   Elia,      are you       guys   --    either

22      of you      familiar with         the    Graph API         Explorer application?

23                        MR.   STEVEN ELIA:          I am.

24                        MR.   EUGENE    ZARASHAW:         I am.

25                        SPECIAL MASTER GARRIE:                 Okay.     How many


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 1      versions         of Graph API          have been       created during             the

 2      relevant         time period,          to your knowledge?

 3                        MR.       STEVEN ELIA:        I don't know off                the    top of

 4      my head,         but we       typically have          three    or    four different

 5      versions         in any       calendar year,          and we    started versioning

 6      in,    again,         roughly    2015    or    so.

 7                        SPECIAL MASTER GARRIE:                 And before             2015?

 8                        MR.       STEVEN ELIA:        Before      then,        there weren't

 9      versions         to    the    degree we       introduced changes                that were

10      not backwards               compatible     to APIs.       We had different

11      mechanisms            for doing    so.

12                        SPECIAL MASTER GARRIE:                 Okay.           Has   GAE     --    I'll

13      call       it GAE      --    ever accessed data          from sources             other

14      than       the   social       graph?

15                        MR.       STEVEN ELIA:        The    Graph API          Explorer          is

16      only able         to    access    graph APIs,          and so       --

17                        SPECIAL MASTER GARRIE:                 Since       its       inception or

18      as    of    2015?

19                        MR.       STEVEN ELIA:        Since    inception.

20                        SPECIAL MASTER GARRIE:                 But    I said the             social

21      graph.

22                        MR.       STEVEN ELIA:        Could you       repeat          the    full

23      question?

24                        SPECIAL MASTER GARRIE:                 So has          GAE   ever

25      accessed data               from sources      other     than    the       social       graph?


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 1                         MR.    STEVEN ELIA:              So    the    Graph API       can    call

 2      any arbitrary Graph API.                          There    are       Graph APIs       that are

 3      unrelated to             the    social          graph.

 4                         SPECIAL MASTER GARRIE:                       So what user data

 5      sources       --    so    then what are             those?

 6                         MR.    STEVEN ELIA:              Commonly          this    would be APIs

 7      that have nothing                to    do with users.                 There    are APIs,       for

 8      example,       for managing business                      assets       like    ads    or pages.

 9                         SPECIAL MASTER GARRIE:                       Specific       to users,       so

10      the    GAE    just       calls       Graph APIs,          and then by          definition,

11      it    talks    to       just    a social          graph as       it    relates       to user

12      data or user             inferred data?

13                         MR.    STEVEN ELIA:              Graph APIs,          as    they    relate

14      to user data deal with                      just    the    social       graph,       I would

15      say.     I think          that was         what you were              asking.

16                         SPECIAL MASTER GARRIE:                       That    is    correct.

17                         So    is    the    answer yes?

18                         MR.    STEVEN ELIA:              I would answer yes.

19                         SPECIAL MASTER GARRIE:                       So    then what user data

20      sources       did each version of                   the    Graph API          have    access

21      to?

22                         MR.    STEVEN ELIA:              Sure.        By version.

23                         And I think we're back at earlier questioning

24      and difficulties               when        it    comes    to    identifying          things

25      like which of             these       55    systems might have                user data.


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 1                        SPECIAL MASTER GARRIE:                 Mr.      Zarashaw,        do you

 2      agree?

 3                        MR.   EUGENE        ZARASHAW:        Yes.       They're        going    to

 4      be   --    there's,       again,       the probabilistic              answer,      which       is

 5                                                                           But   then    there's

 6      going      to be       in each       case APIs       that have        dedicated

 7      systems.          And depending on             the    time we        added the

 8      specific API            or with which version,                 the    other      systems

 9      might have         changed.

10                        So,    again,       things    like     the     storage      of new

11      seat posts,            such    as                      would be        in III

                         back    end,       messages    would be         in messaging

13      back end.          Photos          themselves     have    the     dedicated

14      back end,         while       the meta data about              the photo might be

15      in   the                      back end.

16                        SPECIAL MASTER GARRIE:                 My question             is:     Is

17      that data         --    and    I guess     we need to          get    --   I think       the

18      DYI,      your engineer or engineering                    --     engineers        will

19      answer      is    that duplicative             or not of what's             in    the DYI

20      file?

21                        MR.   EUGENE        ZARASHAW:        Exactly.

22                        SPECIAL MASTER GARRIE:                 Does        Facebook      store

23      data about users               it's    not directly associated with                      the

24      Facebook         ID but       is    capable    of being associated with a

25      specific user?


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 1                        I think       the       answer     to    that we've         established

 2      is   yes.

 3                        MR.   EUGENE           ZARASHAW:         Yes.

 4                        SPECIAL MASTER GARRIE:                        Am I right,         the       answer

 5      is   "yes"?

 6                        MR.   EUGENE           ZARASHAW:         The    answer      is    yes,       the

 7      IP address         associated data.

 8                        SPECIAL MASTER GARRIE:                        IP,   OS,   Windows

 9      update,      time       and length of             chats,        length of video,

10      whatever.          There's          lots     of metadata about              data.

11                        Are    there       different processes                 for different

12      data?

13                        MR.   EUGENE           ZARASHAW:         What do you mean by

14      processes         in    this    case?

15                        SPECIAL MASTER GARRIE:                        I guess     what        I'm

16      thinking here            is    for data         that you         infer      from a user

17      profile      and a user's                action,     are    there processes               that       --

18      like how      that data             is    written out?

19                        MR.   EUGENE           ZARASHAW:         I would not            call    it

20      processes.             It would just depend on                    the    implementation

21      of   the    specific          use    case,      where      the    specific use            case

22      might      leverage       different pieces                 of    infrastructure               and

23      different         systems       and flow in different ways,                         depending

24      on how      the    engineers             implementing decided                to    do    it.

25                        SPECIAL MASTER GARRIE:                        There's     no


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 1      documentation here.

 2                      MR.    EUGENE       ZARASHAW:           There might be           some

 3      documentation          for       specific use       cases       as    they were built.

 4      And generally          that documentation                falls       out   of date

 5      rapidly versus             the    actual       evolving      systems.

 6                      SPECIAL MASTER GARRIE:                    Is    there      a database      or

 7      a central       --    or a set of          central       databases          for use

 8      cases?

 9                      MR.    EUGENE       ZARASHAW:           I don't know of one.

10                      Steven?

11                      MR.    STEVEN ELIA:              Same.       I'm not       aware    of any.

12                      SPECIAL MASTER GARRIE:                    That's       a question

13      worth       following up on.

14                      So    then when          I look at       this    list,

15      Mr.    Zarashaw,       of    55    systems,       are    there       any   of   these

16      55    systems    you       can    shed light on          that we haven't

17      discussed?

18                      MR.    EUGENE       ZARASHAW:           I'm pulling up           the    list

19      right now.

20                      SPECIAL MASTER GARRIE:                    I can       start at      the

21      top.

22

23                      MR.    EUGENE       ZARASHAW:           Last    time       I looked at

24      it,    it    stores    data       that    is    advertiser based rather                 than

25      user based.           So    data about


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 1


 2                     SPECIAL MASTER GARRIE:                   I did too,            which    is


 3      why maybe      --    how   could it      --    well,     yes.       All       right.

 4                    No.     2,                            .    Again      --


 5                    MR.     EUGENE    ZARASHAW:           I don't      know what            that


 6      one   is.


 7                     SPECIAL MASTER GARRIE:                   And Mr.       Elia,         I assume


 8      you don't      know as       well?


 9                    MR.     STEVEN ELIA:            That's     right.          I don't       know.

10                     SPECIAL MASTER GARRIE:


11                    MR.     EUGENE    ZARASHAW:           Don't     know.

12                    MR.     STEVEN ELIA:            Me neither.


13                     SPECIAL MASTER GARRIE:                                    --    is

14                    and               different?

15                    MR.     EUGENE    ZARASHAW:           I believe         so.       One    of


16      these   is    the messaging back end.                   I don't       know what            the

17      other   one    is.


18                     SPECIAL MASTER GARRIE:                   Got   it.

19                    And,     Mr.    Elia,    would you by           chance          know    the


20      difference between                            and

21                    MR.     STEVEN ELIA:            I don't.


22                     SPECIAL MASTER GARRIE:                   Okay.


23                    MR.     EUGENE    ZARASHAW:                        is      the messaging


24      back end.       I don't       know what                       is.


25                     SPECIAL MASTER GARRIE:                   And   they would have                --


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 1      the messaging back end would have                   its     own,    like    --       just

 2      so    I understand,


I

 4                    MR.    EUGENE    ZARASHAW:       I don't know              that    it

 5      even does.          It might be    a completely            separate       storage

 6      system or      it might be      an abstraction             layer    on    top of

 7      another      storage    system.       We would need to             dig in       to

 8      understand how it's built.

 9                     SPECIAL MASTER GARRIE:

10                    MR.    EUGENE    ZARASHAW:       I don't know.

11                     SPECIAL MASTER GARRIE:               Not at Disneyland.

12                    MR.     STEVEN ELIA:       I'm not       familiar with             it

13      either.

14                     SPECIAL MASTER GARRIE:               And if     counsel          for

15      Facebook,      if anybody      from Facebook has             knowledge          of what

16      any of      these    systems   are,    feel   free     to    raise your hand

17      and Zoom,      and I will      gladly welcome          any    insight.

18

19                    MR.    EUGENE    ZARASHAW:       It     is    a text       search

20      service,     but     I don't know what        it's     actually used for,

21      given we      also have                  which      can also        do    this.

22                    MR.     STEVEN ELIA:       And I'm not          familiar with

23      it.

24                     SPECIAL MASTER GARRIE:

25                    MR.    EUGENE    ZARASHAW:       It's        a blob    store       for


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 1      storing images          and videos       and other       large blobs.

 2                      SPECIAL MASTER GARRIE:                 You have      several

 3      patents       using    that as    well    actually       for    that      storage.

 4                      Laser?

 5                     MR.     EUGENE    ZARASHAW:        It    is    caching layer         in

 6      front of       slower    forms    of    storage.

 7                      SPECIAL MASTER GARRIE:                 And

 8                     MR.     EUGENE    ZARASHAW:       Don't know.

 9                      Steven?

10                     MR.     STEVEN ELIA:        Me neither.

11                      SPECIAL MASTER GARRIE:                 Manifold or Manifold?

12                     MR.     EUGENE    ZARASHAW:       Manifold is           another blob

13      storage       service.     I don't       remember       if    it's   --    came

14      before      or after

15                      SPECIAL MASTER GARRIE:                 Do we    know what's

16      stored in       that one?

17                     MR.     EUGENE    ZARASHAW:        If    I remember         correctly,

18      photos      and videos.         I actually don't             recall which one            is

19      being    transitioned to which.

20                      SPECIAL MASTER GARRIE:                 Again,    knowing which

21      ones    transition       and which ones          don't will be helpful.

22      Which ones       --

23                     MR.     EUGENE    ZARASHAW:        It might also            just be       a

24      slightly different blob                storage    case       and both of      them

25      are    long    term,    going    to be    there.


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 1                        I don't          recall     the    distinction but both do

 2      store blobs.             It's       akin     to Amazon         S3.

 3                        SPECIAL MASTER GARRIE:                     Okay.       All    right.

 4      Memcache,         we    know,       we    discussed.

 5                                   we    don't know.

 6

 7                        MR.    EUGENE          ZARASHAW:        No.

 8                        SPECIAL MASTER GARRIE:                     Mr.     Steven?

 9                        MR.    STEVEN ELIA:               I'm not      familiar,          no.

10                        SPECIAL MASTER GARRIE:

11                        MR.    EUGENE          ZARASHAW:        No.

12                        MR.    STEVEN ELIA:               Me   neither.

13                        SPECIAL MASTER GARRIE:                                        ?

14                        MR.    EUGENE          ZARASHAW:        Nope.

15                        MR.    STEVEN ELIA:               Me   neither.

16                        SPECIAL MASTER GARRIE:

17                        MR.    EUGENE          ZARASHAW:        No.

18                        MR.    STEVEN ELIA:               Me   neither.

19                        SPECIAL MASTER GARRIE:                                  Server?

20                        MR.    EUGENE          ZARASHAW:        I know what          it    is    but

21      not what we            use    it    for.

22                        SPECIAL MASTER GARRIE:                       I mean,    it's       a data

23      analytics         tool       at    its    core.

24                        MR.    EUGENE          ZARASHAW:        Exactly.        I've       seen us

25      use   it    for    things          like


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 1


I

 3                    SPECIAL MASTER GARRIE:                   Yeah.        I'm not    exactly


 4      sure where        user    data    fits    in    there,      but...


 5


 6                   MR.     EUGENE       ZARASHAW:          It's    a counter       service


 7      used by     the    integrity       teams       to   count how many          times


 8      various     things       have happened.


 9                    SPECIAL MASTER GARRIE:                   Does    it    record API

10      requests?

11                   MR.     EUGENE       ZARASHAW:          It might be used to

                                    , but      it wouldn't be          in a particularly


13      identifiable way.

14                    SPECIAL MASTER GARRIE:                   TAO we       know.


15                                       we    know.


16

17                   MR.     EUGENE       ZARASHAW:         Don't     know.


18                   MR.     STEVEN ELIA:              I'm not aware.

19                    SPECIAL MASTER GARRIE:                   Okay.     •
20                   MR.     EUGENE       ZARASHAW:




22                    SPECIAL MASTER GARRIE:                   So    that would know if

23      we   had user data         in    there.


24                   MR.     EUGENE       ZARASHAW:          I don't    recall       the    exact


25      interplay between                                                       and which


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 1      part    is    where.


I

 3                         SPECIAL MASTER GARRIE:                        Before we         get    to   the

 4      remainder of             this   list,          this     is    just    for Facebook.

 5                         For    the   other          systems        that you          removed into

 6      these       five buckets            of    internal           test    systems,       systems

 7      Facebook       teams,         systems          that do not           serve,       systems      that

 8      do not       store,       and other            systems,          I need you        to put of

 9      the    --    from the         149    systems          which you           cut    it down,      which

10      ones    fall       into which bucket;                   right?

11                         So    this   one       falls       in     this bucket,          this    one    is

12      in    this bucket,            just       so    I have        an understanding of how

13      it was       organized.

14                         MR.    FALCONER:             Yeah.         Absolutely.           Yeah.

15                         So,    I mean         --    yeah.         We're more          than happy       to

16      do    that.

17                         And then,         you know,             the   questions         on    these

18      sources,       you know,            we had brought Mr.                    Elia    and

19      Mr.    Zarashaw          --   those       are     the      folks     we    identified as

20      most knowledgeable                  and kind of most                 likely       to be    able      to

21      answer       the    Special Master's                  questions           today based on

22      what was       in       the   orders.

23                         SPECIAL MASTER GARRIE:                         I get     it.

24                         MR.    FALCONER:             Anything on           these       sources,       you

25      know,       we veered into               a little DYI            and advertising and


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 1      privacy,      anything on          that,       we're happy              to    identify       the

 2      right people,            get    them in     front of you                so    you    can ask

 3      the   questions          you have.        Anything like                 that you need,

 4      we're more         than happy       to    do     it.

 5                        SPECIAL MASTER GARRIE:                     Yeah.           I get    it.     I

 6      think    it was         productive.         We    only have             another

 7      25    systems      to    quickly    run     through.

 8

 9                        MR.    EUGENE    ZARASHAW:            No.

10                        MR.    STEVEN ELIA:            I'm not          familiar.

11                        SPECIAL MASTER GARRIE:

12                        MR.    EUGENE    ZARASHAW:            It's       an of               backup

13      system or partly               offline backup           system.

14                        SPECIAL MASTER GARRIE:                     All       right.        Well,    it

15      will be very helpful               for me        from the          Facebook          lawyers,

16      remove      all    the backup       systems,           all       the    offline memory

17      caching,      caching          systems     from this             list,       because    I think

18      it will      get    substantially           smaller.

19                        MR.    FALCONER:        Right.

20                        SPECIAL MASTER GARRIE:                     M         we    talked about.

21                        ZippyDB or       --    how do you              say    that?        Akkio

22      or Akkio?

23                        MR.    EUGENE    ZARASHAW:            I don't know what Akkio

24      is.

25                        MR.    STEVEN ELIA:            I have          a high-level


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 1      understanding of          ZippyDB,      although          it's       not    something

 2      I've used.         I think     it has     data    for         some    ephemeral       use

 3      cases,      things    like    notifications,             for example.

 4                       SPECIAL MASTER GARRIE:              Like notifications                   to

 5      users,      like hurricane        is   coming?

 6                      MR.   STEVEN ELIA:          I'm not           sure what kind of

 7      notifications.

 8                       SPECIAL MASTER GARRIE:              But           it's    outside

 9      messaging.         It's   push notifications                  to    the user,      not

10      messaging notifications?

11                      MR.   STEVEN ELIA:         Again,         I'm not          sure which

12      specific        kinds.

13                       SPECIAL MASTER GARRIE:              Okay.

14                                                       ?       Is    that not a caching

15      tool?

16                      MR.   EUGENE    ZARASHAW:         I don't know what                  that

17      is.     I'm learning a lot about our                     systems          from this

18      experience.

19                       SPECIAL MASTER GARRIE:              As        am I.

20                      Mr.   Elia?

21                      MR.   STEVEN ELIA:          I'm not           familiar with          it

22      either.

23                       SPECIAL MASTER GARRIE:              All           right.

                    ?

25                      MR.   EUGENE    ZARASHAW:         I don't know.


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 1                      MR.    STEVEN ELIA:           Me neither.

 2                      SPECIAL MASTER GARRIE:                      But    they're MySQL

 3

 4                      Does    counsel       know any          idea why      they're

 5      identified as MySQL?                 Are    they       systems      within MySQL?            Or

 6      are    they MySQL       systems?

 7                      Because                                                            .   And

 8      like    is                            the    same      or are       they unique?

 9                      MR.    EUGENE    ZARASHAW:             My best guess             would be

10      that                                                                      It's    a pretty

11      involved layer          in addition          to    it.       And I don't          think    it

12      uses MySQL anymore underneath.

13                      On    the    other hand,          we   do    run    some    other MySQL

14      clusters       for different purposes,                   and while         the    software

15      may be       about    the    same,    the purposes            are    different.           It's

16      machines      with different data on                    them.

17                      SPECIAL MASTER GARRIE:                      Okay.

18                      MR.    FALCONER:           That's      a far better answer                than

19      you would have          gotten       from counsel,            I just want          to note

20      for    the    record.

21                      SPECIAL MASTER GARRIE:                      Yeah.     Noted.

22

23                      MR.    EUGENE    ZARASHAW:              I don't know.

24                      MR.    STEVEN ELIA:           That may be            --    I don't know

25      if            which     is    a system renamed itself,                     in which       case


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 1      you also might be better                 able    to    speak       to    that    than me,


 2      Eugene.


 3                     MR.    EUGENE       ZARASHAW:          I honestly          don't


 4      remember what                 is    anymore.


 5                     MR.    STEVEN ELIA:            It's     very       similar       to    TAO but


 6      I think had fewer            reliability        guarantees              perhaps.


 7                     MR.    EUGENE       ZARASHAW:          Oh,    is    that    --    oh,    I do


 8      recall what              is    now.       That was          the Memcache base                TAO


 9      without      the MySQL part.             So   data went           in and it might

10      just    disappear at         any    time.       It was       meant       for more

11      convenient      caching       than Memcache            directly.

12                     SPECIAL MASTER GARRIE:                   All       right.        So we       can

13      junk    that   one.

14                     All    right.


15                     MR.    EUGENE       ZARASHAW:          Don't       know.


16                     MR.    STEVEN ELIA:            Me neither.


17                     SPECIAL MASTER GARRIE:                   I don't          even know how


18      to    say   the next    one.

19                     MR.    EUGENE       ZARASHAW:          It's    okay.        It's       a no


20      for    the next      three    as    well.

21                     MR.    STEVEN ELIA:            Same.


22                     SPECIAL MASTER GARRIE:                   Yeah.           I don't       even

23      know.


24


25                     MR.    EUGENE       ZARASHAW:          Don't       know what          that    one


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 1      is.

 2                       The next one         I know anything about             is

 3

 4                       MR.    STEVEN ELIA:          Yeah.      I don't      know    the    ones

 5      before

 6                       SPECIAL MASTER GARRIE:

 7                       MR.    EUGENE    ZARASHAW:       Any      time we bill        a user

 8      for    something,        whether we bill         them for ads,          for

 9      example     --      the most     common      cases,   we     charge    them for

10      running ads.            But also bill         them for       sending money          to

11      their    friend.

12                       SPECIAL MASTER GARRIE:               And then you also have

13      like        they       can buy photos         or whatever else          services.

14                       Is    that all      run    through

15                       MR.    EUGENE    ZARASHAW:       I don't know if you                can

16      buy photos          anymore.      But,      for example,       there's

17      remittances,           which you      can    send money       to   a friend and

18      that    runs     through

19                       SPECIAL MASTER GARRIE:               All     right.     Anything

20      you want       to     add   there,    Steven?

21                       MR.    STEVEN ELIA:         Nope.

22                       SPECIAL MASTER GARRIE:               Okay.

23

24                       MR.    EUGENE    ZARASHAW:       I don't know anything up

25      until    44.


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 1                     SPECIAL MASTER GARRIE:                       Okay.        I'll    take    that.

 2                     How about you,             Steven?

 3                    MR.     STEVEN ELIA:              Same.

 4                     SPECIAL MASTER GARRIE:                       MySQL.

 5                    MR.     EUGENE       ZARASHAW:              Likely on       there because

 6      we probably have            a set of MySQL machines                      somewhere       that

 7      are not      covered by          the    other MySQL          clusters          listed.

 8                     SPECIAL MASTER GARRIE:                       That's       what    I'm a

 9      little      confused about.              There       are    a bunch       of MySQL

10      clusters      here    that       seem    --    so    one    of    the    things    --    these

11      are    systems      that plaintiffs             identified as             storing user

12      data.       But wouldn't MySQL be                   the    like    --    MySQL    is

13      it's    a database;         right?         It's     not     a --

14                    MR.     EUGENE       ZARASHAW:              Right.        And it's       hard to

15      tell which         instance       of    that database             this    is    and what

16      would be      in    it.

17                    MR.     STEVEN ELIA:              I would add that as                Eugene

18      has    previously         said,    these       storage       systems       are    often

19      implemented and organized here by use                              case.        And so

20      those    other MySQL         instances          listed here have                their own

21      very    specific use         cases.

22                     SPECIAL MASTER GARRIE:                       Where would we             find

23      these use      cases       for    these       systems?

24                    MR.     EUGENE       ZARASHAW:              I recommend going             the

25      other way and looking at what                        systems       are    actually big


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 1      enough      to    serve    a couple           of    --    two billion people.

 2      Because      if you're         looking           for user        scale      systems      that

 3      are    storing         that much data and having                      that much         load,       a

 4      cluster of         50 machines           is      just not going             to   do    it.

 5                        So    getting       some       idea of       the number of machines

 6      involved might help you                     sift        through      these

 7                        SPECIAL MASTER GARRIE:                       Okay.       That       could be

 8      very helpful.             That    is     actually an excellent                    idea.

 9                        We'll    give       that       some more          thought.

10                        Anything       to    46,       either one          of you?

11                        MR.    EUGENE       ZARASHAW:            No.       I'm lost until               50.

12                        MR.    STEVEN ELIA:               Same.

13                        SPECIAL MASTER GARRIE:                       We    discussed

14                                                  is     something of            interest      to me.

15                        What    is

16                        MR.    EUGENE       ZARASHAW:            I don't know.

17                        MR.    STEVEN ELIA:               I don't either.

18                        SPECIAL MASTER GARRIE:                       Does    counsel         for

19      Facebook have            any   idea why                                    would be          on

20      this    list?

21                        MR.    FALCONER:            I don't want            to    speak off         the

22      cuff on      that,       no.     I mean,           we    can   find out.          We're happy

23      to    find out as         well,       but     I don't want            --   you know,

24      if were      to    say anything inaccurate.

25                        SPECIAL MASTER GARRIE:                       No.     I got      it.


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 1                    The     reason      I ask    is because         there's been

 2      testimony     from     --    that    there     is    no    central       --    or

 3      testimony and statements                 from Facebook         that       there's          no

 4      central     research        repository.

 5                    When     I read the words                                       , it

 6      strikes me      as    that may be         a central         research          repository.

 7      I could be wrong.

 8                    MR.     EUGENE      ZARASHAW:         My guess        on    that one          --

 9      and,   again,    this       would only be           a guess    --    is       this    is    a

10      database backing            the   research dot Facebook                  dot    com site

11      containing      the papers          that we publish.

12                    SPECIAL MASTER GARRIE:                      That's    what       I thought

13      likely as     well.

14                    MS.     RING:       Just    to be      clear,    we    don't know.

15      I mean,     you asked,        Special Master,              counsel.           There       are

16      crazy names      for    things       that make no           sense    and end up

17      having no     relationship           to what's           actually    in a data

18      source.      I've     seen    that    for over a decade.                  So we will

19      find out.       But    it would not be              out of    the    ordinary             for

20      it   to have nothing at all               to   do with       research.

21                    SPECIAL MASTER GARRIE:                      I mean                --    don't

22      have   to   do with

23                    MS.     RING:       Exactly.          Or               I mean          --

24                    SPECIAL MASTER GARRIE:                                          My daughter

25      that was     very excited when             I told her         I was       going       to


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 1      talk about                            today.

 2                         So    that    --

 3                         MR.    EUGENE       ZARASHAW:           Of all    the       things       I know

 4      on    that    list.

 5                         SPECIAL MASTER GARRIE:                    Anything?

 6                         MR.    STEVEN ELIA:              I don't       specifically know

 7      52    PYMK                              But    PYMK does          stand for          "people

 8      you may know."                It's     the part of          the product             that

 9      suggest       friends         to you.         And so while          I don't know what

10      data    is    in    there,       I would guess             that    it's    in       service      of

11      that.

12                         SPECIAL MASTER GARRIE:                    Any others?

13                         MR.    STEVEN ELIA:              That's    the    last       I recognize

14      anything about.

15                         SPECIAL MASTER GARRIE:                    Got    it.

16                         And then below,             there's       a drawing and it was

17      stated that             the   social      graph      connects       to    12    specific

18      systems.

19                         One    thing       I did see       that was       removed from                the

20      list,    just       for notification,                was    Hive.

21                         But one       thing       I had a question             about       is    do

22      you          for    these       four    --    for    those    12    systems,          right,

23                               --   which     I'm not quite             sure    I understand

24                                             Laser,       Manifold,       I think we             can

25      probably get             rid of Memcache,             MySQL,       again       --


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 1                         MR.       EUGENE       ZARASHAW:          Apologies.           I need to

 2      update       the    record.

 3                         It    is                                          , that       is    the

 4      messaging          store.

 5                         SPECIAL MASTER GARRIE:                         Yeah.

 6                                         TAO.

 7                         So    --    all    right.          I think       this    was    helpful.

 8      I think we'll                have    to    add one      --    I'll    get       a more

 9      specific       set of          requests         for    further       clarification,             as

10      well    as    the       other       things      that    I mentioned.              I'll    try    to

11      get an order out,                   sort of      clarifying          that.

12                         And I may          tier      the    approach.

13                         Does       plaintiffs         have       any    further       questions

14      they'd like             to    ask?

15                         MS.       WEAVER:         I think we're           okay       right now.

16                         Thank you.

17                         SPECIAL MASTER GARRIE:                         Facebook,       any

18      questions          you would like               to    ask?

19                         MR.       FALCONER:         Not     right now.           No.        Thank you

20      for    the    opportunity.

21                         But       I think what we'll               do    is,    you know,          once

22      we    get    the    transcript,             we'll      go    through       it    and if we

23      have    any    clarification                 that we        think    it would be helpful

24      to provide          to       the    Special Master,               we'll    do    that.

25      Probably       just with a letter                     through       the    JAMS portal,          you


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 1      know,       so everybody gets             a copy.      But     I don't    think

 2      anything for            this   afternoon.

 3                        SPECIAL MASTER GARRIE:                All     right.        We    can go

 4      off   the     record for one            second.

 5                                     (Pause     in proceedings.)

 6                        SPECIAL MASTER GARRIE:                All     right.        We'll      go

 7      back on       the   record.

 8                        All    right.      So    rather    than      issuing a formal

 9      order       for   the    additional        requested information,                  I'm

10      going to post via JAMS                  access my request for additional

11      information,            and likely to request the                scheduling of an

12      additional hearing.                All hearing will be                labeled as

13      confidential            or actually highly confidential.

14                        Any party       that does want to attend this

15      hearing has         to    sign    the protective             order and receive            --

16      and notified accordingly.

17                        In addition,          I'm requesting that             the

18      plaintiffs,         if    they come up with additional                   systems         or

19      any particular            systems       they    think would be          of value,         to

20      not let the         five days        that stand after            the    issuance of

21      my order,         identify       them as       early as possible would be

22      much appreciated.

23                        And otherwise           I believe         that is    all.        And I

24      thank       the parties        for making Mr.          Zarashaw and Mr.              Elia

25      available         for    today's     hearing,       and it was         extremely


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 1      helpful and informative.                   I feel    like we were able           to

 2      cut down the           systems,    at least from the list of 55

 3      fairly substantially and develop clear parameters                            and

 4      focus.      So    I do appreciate it.

 5                       And I'm going to move as                  fast as possible       to

 6      get to      the bottom --         to resolve        this     issue.

 7                       MS.   RING:      Special Master Garrie,               if I can

 8      raise one more           thing,    and I don't know if we can resolve

 9      it today but at least raise it and then think about how

10      to resolve it.

11                       I think given the nature of the                  things    that

12      are being discussed,              we would like            the hearings    to be

13      sealed.      Not just to people who are here                     to    sign the

14      protective order,           but to        seal.     I mean,     this    is very

15      detailed information about all of the companies'

16      internal      systems,      so    --

17                       SPECIAL MASTER GARRIE:               I'm fully with you.

18      So on the record,           I'm fully in support of               that,    but that

19      is   a motion Facebook has                to bring to        the Court for the

20      Court to issue a ruling.

21                       MS.   RING:      Okay.

22                       SPECIAL MASTER GARRIE:               Accordingly,        I do

23      agree with you that we are covering the inner workings

24      of Facebook systems              and databases        and technology and

25      systems.


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 1                     But,    again,       that's    a relief you would --                a

 2      motion you would have               to bring part before             the    judge       or

 3      the Court,      and according          to    the    local      rules,    follow the

 4      respective procedures               that underline             that and the Court

 5      will    rule   accordingly.

 6                     MS.    RING:     Understood.              I just wanted to          --    I

 7      didn't want to         leave    the hearing without having

 8      addressed that.

 9                     SPECIAL MASTER GARRIE:                    No.     And that is why

10      today's hearing,         there was          such    --    there was      a lot of

11      interest and request to attend.

12                     And I would also request the plaintiffs                           to

13      make    sure   and inform your          --    and inform your            fellow

14      plaintiffs'      lawyers       to    channel       everything       through you

15      pursuant to      the existing order.

16                     MS.    WEAVER:        That has       just been done.

17                     SPECIAL MASTER GARRIE:                    Well,    just to

18      communicate      it accordingly,             because now that            judge     --

19                     Well,    we'll       go off    the    record now.           We're

20      done.

21              (Whereupon,      proceedings          adjourned at          5:28 p.m.)

22                                            ---o0o ---

23

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 1      STATE OF CALIFORNIA




 2      COUNTY OF YOLO

 3                                              ---o0o---

 4                     I,   Katy E.       Schmidt,       a Certified Shorthand

 5      Reporter,      do hereby         certify:

 6                     That    said proceedings            were      taken before me    at

 7      the    time   and place       therein      set    forth and were      taken down

 8      by me    in   shorthand and thereafter                  transcribed into

 9      typewriting under my direction and supervision;

10                     I further         certify    that       I am neither   counsel

11      for,    nor   related      to,    any party       to    said proceedings,      and

12      am not      in any way      interested in          the    outcome   thereof.

13                     In witness         whereof,       I have hereunto      subscribed

14      my name.

15      Dated:      February    18,      2022

16

17

18

19

20

21

22                          Katy E.       Schmidt

                            RPR,    RMR,    CRR,    CSR 13096

23

24

25


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           Exhibit M
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   March 7, 2022


  VIA JAMS ACCESS

   Special Master Daniel B. Garrie
   DGarrie@jamsadr.com

   Re:     In re Facebook Consumer Privacy User Prcfile Litigation, JAMS Ref No.
           1200058674

   Dear Special Master Garrie,

          Pursuant to the Hearing Order Regarding Plaintiffs' Motion To Compel Production of
  Plaintiff Data dated February 21, 2022, we submit this response on behalf of Facebook. We
  also thank the Special Master for granting an extension of our time to respond to allow us to
  provide responses that we believe would assist the Special Master in expediting resolution of
  the issue set forth by Judge Corley in her January 12, 2022 order: "[W]hat, if any, data from
  [systems other than DYI] should be produced consistent with Federal Rule of Civil
  Procedure 26(b)."

   I.      USER DATA IN DYI

           The Special Master's first two questions seek information about what user data is
   included in DYI. We welcome the opportunity to address that issue to correct and clarify
   statements made throughout these proceedings which seem to have created the impression
   that the DYI system is limited to the first category of "discoverable user data" identified by
   Judge Corley in Discovery Order No. 9. As explained below, the DYI system includes all
   three categories of data: (1) data collected from auser's on-platform activity, (2) data
   obtained from third parties regarding auser's off-platform activities, and (3) data inferred
   from auser's on or off-platform activity. So the issue is whether Facebook should produce
   more data in categories (1), (2), and (3) from systems other than DYI, which we understand
   is the focus of the Special Master's remaining questions.




          Beijing •Brussels •Century City •Dallas •Denver •Dubai •Frankfurt •Hong Kong •Houston •London •Los Angeles •Munich
                   New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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  Question #1. Engineer documentation for the process of generating the DYI file for a
  Facebook user, including data flow diagrams that explain how the data is retrieved, data
  schemas, and the individual fields for each data type in the schema.


         The following DYI engineer documentation is attached as Exhibit A.

          •      Your Information Schema (DYI). This schema describes each of the
  categories and types of data included in DYI.

          •       Eng Guide: Adding to DYI Wiki. This document provides step-by-step
  instructions for engineers from product teams to add data to DYI, including instructions
  regarding where data should live in the DYI taxonomy and DYI schema fields.


  Question #2. A statement clarifying whether information available via the DYI tool
  "includes user data provided by third parties to Facebook, e.g., data relating to users' off
  platform activity."


          Yes, DYI includes user data provided by third parties to Facebook, which is the
  second category of "discoverable user data" identified by Judge Corley in Discovery Order
  No. 9. Since this data is stored as raw logs of event data in Facebook's data warehouse,
  Facebook had to build data pipelines from the data warehouse to production to (a) aggregate
  and group this event level data on aper user basis sorted in chronological order and (b)
  transform raw logs of event data in the data warehouse into ahuman readable information.
  This effort required complex and time-extensive engineering efforts.

           This question from the Special Master highlights abroader factual issue, which we
  believe should be clarified to assist the Special Master in resolving the issue before him. In
  Discovery Order No. 9, Judge Corley identified the following categories of "discoverable
  user data": (1) data collected from auser's on-platform activity, (2) data obtained from third
  parties regarding auser's off-platform activities, and (3) data inferred from auser's on or off-
  platform activity. Plaintiffs repeatedly have asserted that DYI contains only data in category
  (1), citing astatement by Facebook's counsel during astatus conference before Judge
  Corley. 1 In fact, the full exchange with Judge Corley makes clear that Facebook's counsel
  was explaining that the DYI tool does not contain all data in categories (1), (2) and (3),
  which is further demonstrated by the answer to this question confirming that DYI includes

  1Pls' Sept. 28, 2020 Mot. Compel at 7, Dkt. 526; Pls' Oct. 18, 2021 Mot. Compel

  Production of Named Pls' Content And Information at 3.
                                                                         (Cont'd on next page)
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  data in category (2). Plaintiffs also have cited documents produced by Facebook that they
  claim prove Facebook's production is limited to only data in category (1), most notably, a
  document referring to "Native Data," "Appended Data," and "Behavioral Data." 2 Again, this
  is incorrect. Exhibit B attaches the primary document Plaintiffs cite for this assertion and a
  table that describes how the Native, Appended, and Behavioral Data described in that
  document is either included in DYI or relates to features that were deprecated before this
  case was filed.

         For completeness, we explain below the data in categories (1), (2), and (3) that are
  included in DYI, and attach as Exhibit C summaries of the data that has been produced for
  each of the named plaintiffs.

  Category (1): Data collected from on-platform activity. DYI includes data provided by
  users and data observed by Facebook on the platform.

          User-provided data includes profile data, user-generated content (e.g., posts, videos,
  photos, comments, stories), message content, friends, location check-ins, linked accounts in
  the Facebook family of products, and language choices.

          Observed data includes clicks, profiles, Pages, Groups, and Events auser has visited,
  usage data, device data, networks and connections, data about user's activity level,
  advertisers with which the user has interacted, pages (user pages, pages auser liked or
  recommended, pages auser follows, pages auser has unfollowed), IP address when sending
  amessage, users that auser has chosen to "see less" or "see first" in News Feed, time spent
  watching from apage, people whose profile auser has visited, last location, last active time,
  whether auser viewed someone's birthday story, people auser blocked on Messenger, page
  notifications, pages auser recommended, time zone, email address verification, Marketplace
  notifications, and interactions.

  Category (2): Data collected from off-platform activity. DYI includes information
  provided to Facebook by third-party advertisers, app developers, and publishers about user
  interactions.

         User interactions are things like opening athird-party developer app that integrates
  Facebook business tools, and visiting websites that integrate the Facebook business tools
  providing information about the user viewing content, searching for items, adding an item to
  ashopping cart, or making apurchase. Third parties share this off-platform activity with
  Facebook using "business tools," which are technologies designed to help website owners


  2   Pls' Sept. 28, 2020 Mot. Compel at 8, Dkt. 526.
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  and publishers, app developers, advertisers, and others, integrate with Facebook, understand
  and measure their products and services, and better reach and serve people who use or might
  be interested in their products and services. Business tools include Facebook Pixel,
  Facebook SDK, Conversions API, Offline Conversions, and the App Events API. Facebook
  also receives impression data through Facebook Social Plugins (e.g., Like and Share buttons)
  and Facebook Login.

           Facebook also receives contact lists with user information uploaded by advertisers for
  the purpose of serving ads to those users through what are referred to as custom audiences.
  These lists include hashed information about users (e.g., email addresses, phone numbers)
  that is used to try to match people on the list with Facebook user accounts; matched users are
  placed in the custom audience. This hashed information is discarded after the matching
  process.

  Category (3): Data inferred from auser's on or off-platform activity. DYI includes data
  that is derived from auser's on or off-platform activity.

           DYI includes information regarding ads interests; music recommendations based on
  genres of music auser has interacted with on Facebook; "your topics," which is acollection
  of topics determined by auser's activity on Facebook that is used to create recommendations
  for users in different areas of Facebook such as News Feed, News, and Watch; primary
  location; primary public location; friend peer group; creator badges (including labels like
  "visual storyteller" or "conversation starter" based on activity in Groups); time zone;
  language preferences (including preferred language for videos, languages you may know,
  preferred language); and mobile service provider and country code.

  Plaintiffs' DYI Data. Summaries of the DYI files for each named plaintiff showing that
  they include all three categories of "discoverable user data" identified in Discovery Order
  No. 9are attached as Exhibit C.

  II.     OTHER USER DATA AND SYSTEMS

          The Special Master's remaining questions focus on understanding what other systems
  contain user data and, as Judge Corley stated the issue, "what, if any, additional data should
  be produced consistent with Federal Rule of Civil Procedure 26(b)." To be sure, the DYI file
  does not include all data related to users, but that does not mean that production of that data
  is consistent with Rule 26. For example, as explained above, DYI includes data received
  from third parties regarding auser's off-platform activity on apps and websites, such as
  viewing content and adding an item to ashopping cart, but does not include data identifying
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  the specific content that was viewed or the item that was added to acart for reasons that
  engineers will be prepared to explain at the hearing.


  Question #3: A statement identifying systems that coordinate and schedule jobs that run
  against the Hive (a process that accesses table data in the Hive and aggregates user data to
  produce ameaningful data set). For each job that may involve user data, Facebook is to
  describe the data extracted in the job and where the job saves the data.


          The majority of batch data processing of Hive data at Meta is handled by asystem
  called Dataswarm, which is described below. The remaining minority of batch data
  processing is coordinated by FBLearner, which is asimilar system derived from Dataswarm.

          Dataswarm works by having employees (1) define atoms of computation called tasks
  and then having employees (2) explicitly state the dependency relationships between these
  tasks so that the system can initiate atask's computations after the preceding tasks have
  completed their execution. These tasks are treated as black boxes: the system knows
  nothing about what the task does beyond the rough type of computation performed. For any
  given task, Dataswarm does not know what data is used as inputs to the computations it
  orchestrates or what data is produced as outputs by these computations.

          Facebook's current approach for identifying what data is consumed as inputs by ajob
  and is generated as outputs by that job is atime-consuming manual process. Because
  Dataswarm performs millions of tasks each day, it is not possible to complete this manual
  process for all Dataswarm tasks. To respond to the Special Master's request, Facebook
  completed this manual process for asample of 10 tasks run in Dataswarm on February 15,
  2022. This sample is attached Exhibit D. Approximately five million Dataswarm tasks
  were run on February 15.


  Question #4: A statement identifying the internal identifiers Facebook uses to track users
  across the Facebook platform, including adescription of which Facebook systems use each
  identifier, how each system uses each identifier, and how Facebook maps identifiers to users.


          Facebook primarily uses four types of internal identifiers for user data: (1) auser
  identifier (UserID), (2) Replacement ID, (3) Separable ID, and (4) App Scoped Identifiers.
  Each is described in more detail below.

         UserID. Facebook uses an industry-wide technique called pseudonymization to
  represent users on the Facebook platform. In essence Facebook creates acanonical unique
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  identifier that encapsulates information about the user (such as First Name, Last Name,
  email, phone numbers, etc). The encapsulation can be accessed by an identifier called auser
  identifier (or UserID); this is similar to arow being stored in adatabase table with the
  primary key being the userid and information of the user being values in the other columns.
  UserIDs are unique in Facebook's systems, such that two users cannot have the same
  UserID, and they are not recycled, meaning even after auser deletes their account, no other
  user can have the same UserID. The User ID is the canonical identifier to represent a
  Facebook user and is used in nearly all Facebook systems.

          Replacement ID (RID). The RID is an identifier that supports Facebook's deletion
  practices by irreversibly disassociating data from auser. Every user is assigned an RID for
  the lifetime of their account. In data systems that do not support deletion (e.g. Hive), any
  user data retained for more than 90 days can only be retained with an RID. When auser
  deletes her account, Facebook deletes the record connecting the UserID to the RID so that
  data stored with that RID can no longer be connected to that user. Like the UserID, the RID
  represents asingle user. Two users cannot have the same RID, and RIDs are not recycled.



          Separable ID (SID). The SID is similar to the RID, but allows Facebook to
  permanently disassociate Off Facebook Activity data from auser. Data Facebook receives
  from third parties about auser is associated with an SID (rather than UserID), and Facebook
  maintains aseparate mapping between SIDs and UserIDs that can be accessed when data is
  processed. Through Facebook's Off Facebook Activity tool, users are able to clear their Off
  Facebook Activity. When auser does this, Facebook removes the mapping between the
  users' SID and UserID, which irreversibly dissociates the data stored with an SID from the
  user. Facebook then generates anew SID to be associated with the user's account moving
  forward.                          More information about SID's is available at this link:
  https://engineering.fb.com/2019/08/20/data-infrastructure/off-facebook-activity/

          App-Scoped ID (ASID). The ASID is an identifier that is sent to the third-party
  developer when aFacebook user has chosen to use the Facebook Login product to login to
  the services of the third-party developer. The App-Scoped ID also serves as aprivacy
  protective identifier that Facebook created with the purpose of preventing different third-
  party apps from sharing data or amassing profiles of users across apps. This is why the App
  Scoped ID is created on aper-user per-app basis, such that different third-party developers
  do not receive the same identifier for the same Facebook user.
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  Question #5: A statement identifying the sources from which Graph API pulls user data,
  including ahigh-level description of each source and the engineers that own each source.


          TAO. The Facebook production infrastructure is centralized around adistributed
  data store for the social graph, called TAO (The Associations and Objects), which is the
  primary source from which Graph API pulls data (including user data). TAO is ahigh-
  performance service for storing, caching, and querying the graph for nodes and associations,
  by providing aclean interface for internal and external developers to integrate into the social
  graph, abstracting away many of the complexities of developing and maintaining adata
  storage at scale.

         • For more information about TAO: https://engineering.fb.com/2013/06/25/core-
           data/tao-the-power-of-the-graph/

         • Technical Point of Contact:

  TAO provides alayer of abstraction to describe objects and relations through EntSchema and
  Node. The underlying technology that is used to store these data models is acollection of
  technologies such as MySQL, Manifold, ZippyDB/Akkio, Memcache, and Laser. In limited
  cases, and for specific purposes, other systems may access these systems directly.

           MySQL: MySQL is TAO's backbone. It provides transactional and availability
  properties to columnar data. For example, auser's comment can be stored in aMySQL
  database as arow in atable, where the comment id is the primary key and the comment is a
  text field. As another example, the fact that someone liked acomment can be represented by
  an association with the type like from the comment id and the user id, this could be
  represented as 3columns in the table, with comment id, user id, and type of reaction.

         • Technical Point of Contact:




         • Technical Points of Contact:
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          ZippyDB/Akkio: ZippyDB is apersistent key-value storage service that provides
  reliable, scalable, geo-replicated storage for high throughput applications. ZippyDB
  provides very efficient key value lookups, faster than MySQL but are not transactional in
  nature. Akkio operates on top of storage services like Zippy. Akkio splits the data sets into
  units with strong locality, which can then be geographically placed close to where they are
  most likely to be accessed.

         • For more information about ZippyDB/Akkio:
           https://engineering.fb.com/2021/08/06/core-data/zippydb/ (ZippyDB);
           https://engineering.fb.com/2018/10/08/core-data/akkio/ (Akkio).

         • Technical Points of Contact:             (ZippyDB),
                          Akkio)

          Memcache: Memcache provides acache to the TAO service, the cache ensures that
  queries that have recently run are available quickly through the cache, as the response time of
  acache are orders of magnitude quicker than alookup in aMySQL database.

         • Technical Point of Contact:

          Laser: Laser is an indexing service that provides low-latency (typically afew
  milliseconds) read access to specific sets of Data Warehouse data. Data in the Data
  Warehouse is not indexed on aper user basis, but some Facebook products need to surface
  the calculations that the product performs to the production systems so aGraphAPI can
  request the data. Laser is only used to support first-party (i.e. Meta) products.

         • Technical Point of Contact:

         There are other technologies that keep TAO operational that ensure the service is
  performing at ahigh-performance.




          Facebook will submit via email to the Special Master and Plaintiffs contracts relating
  to user data with       ,Microsoft, and            that have been produced in this case.
  Facebook will separately submit to the Special Master contracts with these entities that have
  not been produced to date in camera, to provide Facebook an opportunity to fully analyze
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  and comply with any notice provisions in these agreements. Once Facebook has completed
  this analysis and complied with any notice provisions, Facebook will produce the contracts to
  Plaintiffs, consistent with Facebook's agreement to search for additional contracts Plaintiffs
  recently requested.

          Facebook notes that Meta Platforms, Inc.,            Microsoft, and           are some
  of the largest technology companies in the world. These entities are parties to avery large
  number of agreements, the vast majority of which are confidential business agreements and
  outside the scope of this litigation. Should Facebook identify additional agreements with
  these entities that are responsive to the Special Master's request, Facebook will provide
  them.


  Question #7: Update list of 149 systems identified in the Declaration of David Pope.


          In discussing the topics and questions to be addressed during the hearing on
  Wednesday, March 9, 2002, the engineers who will be attending the hearing have explained
  to counsel that the list of 149 systems and categorization discussed during the hearing with
  David Pope on January 14, 2002, are not an effective way of assisting the Special Master in
  understanding the user data that exists in Facebook systems. Instead, they approach this
  question from the perspective of aFacebook engineer building product experiences or
  conducting data analysis who think of user data in terms of production systems and the data
  warehouse. As these engineers will explain at the hearin,




  Sincerely,




  Rosemarie T. Ring
Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 552 of 833




            Exhibit N
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 1                      UNITED      STATES       DISTRICT          COURT

 2                  NORTHERN        DISTRICT         OF     CALIFORNIA

 3

 4

 5   IN   RE:                                    MDL      No.     2843



 6   FACEBOOK,      INC.    CONSUMER             Case       No.    18-md-02843-

     PRIVACY     USER    PROFILE                                   VC- JSC

 7   LITIGATION



 8

 9

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10

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11

                     SPECIAL        MASTER:          DANIEL        GARRIE

12

13                                  REMOTE       HEARING

14                       (Via     Zoom     Videoconference)

15                         Wednesday,          March        9,    2022

16

17

18   REPORTED     BY:      Michelle        Milan       Fulmer

                           CSR    No.    6942,       RPR,        CRR,    CRC

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 1                          UNITED    STATES       DISTRICT          COURT

 2                       NORTHERN     DISTRICT         OF     CALIFORNIA

 3

 4

 5   IN   RE:                                  ) MDL        No.     2843

                                               )

 6   FACEBOOK,            INC.   CONSUMER      ) Case         No.    18-md-02843-

     PRIVACY         USER    PROFILE           )                     VC-JSC

 7   LITIGATION                                )

                                               )

 8

 9

10           Remote         hearing     taken      before         Michelle        Milan

11   Fulmer,         a    Certified     Shorthand           Reporter        for    the

12   State      of       California,     commencing            at    10:20    a.m.,

13   Pacific         Standard      Time,     Wednesday,             March    9,    2022.

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 2
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25



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 2             FACEBOOK        LEGAL

               BY:      Ian    Chen,      Esq.

 3                      Sandeep       Solanki,             Esq.

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 4             Menlo,     California            94025

               EMAIL:         ianchen0@fb.com

 5             (Via     Zoom    Videoconference)

 6

     ALSO    PRESENT:

 7

               Michael        Mann

 8             David     Ko

               (Via     Zoom    Videoconference)

 9

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 1                             Wednesday,              March         9,    2022

 2                                 10:20       a.m.     - 2:28            p.m.

 3                                                   ***


 4                 MR.    GARRIE:              We    will       go    on    the       record.

 5   We    will    take       breaks        for      the    court          reporter's          sake

 6   every    45    minutes          to     an      hour    basis.           I lose       track       of

 7   time,    Michelle.              So    you       need       to    tell       me    because    I

 8   get    engrossed          in    something             and       time    becomes

 9   irrelevant.              So    if    you       would       just       kindly       remind    me.

10   It's    not    that       I don't           want      to    give       anybody       a break.

11   It's    just       that       I get       --    I lose          track       of    time.     So       I

12   apologize.

13                 So    on    the       record,        let's         just       test

14   everybody's          audio          for     the    record.

15                 Mr.    Patel,          just       say    a couple             words.

16                 MR.    PATEL:           Hello,          everybody.

17                  MR.       GARRIE:            Court      Reporter,             we're    good?

18                  THE       COURT       REPORTER:              Yes.

19                  MR.       GARRIE:            Okay.          Mr.       Zarashaw.

20                  MR.       ZARASHAW:              Good       morning.

21                  MR.       GARRIE:            We're      good.

22                  Mr.       Mitchell.

23                  MR.       MITCHELL:              Good       morning.

24                  MR.       GARRIE:            Mr.    Clark.

25                  MR.       CLARK:           Good     morning.



                                                                                           Page       5


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 1                     MR.    GARRIE:           All     right.           This    is

 2   Special       Master          Daniel       Garrie.

 3                     The    purpose        of    today's          hearing          is    to

 4   discuss,          and    only    today,           hopefully no             further

 5   hearings          are    necessary,           regarding             named plaintiff

 6   data       that    was    the    order        that       was    issued          and

 7   attempting          to    identify           and    figure          out    what       are       the

 8   appropriate             scope    of     data       within       the       discoverable

 9   data       pursuant       to    the     court's          order       relating             to    the

10   named plaintiff                data     that       is    to    be    produced             in    this

11   litigation.

12                     Today's       format        is    I will          largely be             asking

13   questions          of    the    engineers.               I have          invited          counsel

14   for    Facebook          to    object        if    I go       into       anything          of    a

15   privileged          nature       as     well       as    instructed             the

16   witnesses          to    ask    if     they have          any       questions,             to    ask

17   any    clarifying             questions;           if    they       think       something

18   they're       saying may be                privileged,              to    ask    to       speak       to

19   counsel.           We    have    breakout           rooms.           We'll       go

20   accordingly             and    have     those       conversations.

21                     With    all    of     that       said,       I first          want       to    just

22   officially          on    the    record           recognize          and    thank

23   Facebook          for    accommodating              an    accelerated                timeline

24   for    a very       complex          set     of    problems.              I don't          want

25   to    --    I realize          litigation           has       been       going       on    for


                                                                                               Page    6

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 1   some    time.           I realize          there's          a lot          of    history          here,

 2   but    I also       recognize             that       two    weeks          isn't       a lot       of

 3   time    to    answer          all    of    the       questions,             or    even       a month

 4   to    answer       in    detail          the    technical             questions             that

 5   I've    asked.

 6                  So       the    answers          and       data    that          has    been

 7   provided       is       very    helpful.              I want          to    thank       Facebook

 8   for making          that       effort,          making          the    engineering

 9   resources          available.              It's       certainly helping

10   expedite       things          and move          things          along          and    I wanted

11   to    officially             recognize          that       on    the       record.

12                  With          that    said,       counsel          will          not    be    asking

13   questions.              If    there       is    a burning             desire          for    counsel

14   to    ask    a question,             you       can    raise       your          hand    and       I

15   will,       when    I'm done             with my          questions,             invite

16   questions          accordingly             and,       if    I think             they're

17   appropriate,             then       we    will       ask    them.           Nobody will               ask

18   the    engineers             questions,          but       me.

19                  I did          invite       counsel          for       plaintiffs             to

20   provide       questions             and material                and    I reviewed             them.

21   Some    of    them       I think          are    relevant.                 Some       I do    not.

22   I will       use    them       accordingly.                 I do       want       to    thank

23   plaintiffs          as       well    for       going       out    of       their       way    to

24   help    identify             appropriate             questions             as    it    relates          to

25   this    issue       we       have    before          us    now.


                                                                                                 Page      7

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 1                     With       all       of    that       said,       I'm       going          to    jump

 2   right       in    to    lay       out       the    format          of    how       I'm       --

 3                     MS.       WEAVER:           I apologize                for       interrupting,

 4   but    do    you       want       to    swear       in       the    witnesses?

 5                     MR.       GARRIE:           I will.              Thank       you       for

 6   reminding          me.           I often          forget.           There's             usually          a

 7   court       reporter             and    I'm       not    the       one       usually          doing          it.

 8   So    there's          usually

 9                     Would          the    court       reporter             swear          in?        I guess

10   I don't          know       if    we    can       group       swear          in,    but       whatever

11   is    comfortable,                however          the       court       reporter             thinks

12   best,       swear       in       the    witnesses.

13                     THE       COURT       REPORTER:              Okay.           And,

14   Mr.    Garrie,          are       you       going       to    be    asking          questions

15   of    Mr.    Patel,          and       then       the    next       time       Mr.       Clark,

16   et    cetera?

17                     MR.       GARRIE:           Oh,       no.

18                     THE       COURT       REPORTER:              Oh,       okay.

19                     MR.       GARRIE:           It's       going          to    be    a

20   free-for-all.                    I'm    not       sure       who    knows          what.           So    I

21   don't       want       to    --    they       know       way       more       about          Facebook

22   and    the       engineering                systems          than       I ever          will.           So    I

23   don't       know       which       one       of    the       four       will       be    best

24   situated.              So    I'll       direct          the    question             to       who    I

25   believe          and    they       can       go    around          and       say,       "I    have



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 1   something       to    add."

 2                  THE    COURT    REPORTER:            So,    Mr.    Zarashaw,       will

 3   you   raise     your    right       hand    to    be    sworn?

 4

 5                                 EUGENE       ZARASHAW,

 6   called    as    a witness,          having       been     first    duly    sworn       by

 7   the   Certified        Shorthand          Reporter,        was    examined       and

 8   testified       as    follows:

 9

10              THE       COURT    REPORTER:           Mr.     Patel,    will    you

11   raise    your    right       hand    to    be    sworn?

12

13                                   MAYUR       PATEL,

14   called    as    a witness,          having       been     first    duly    sworn       by

15   the   Certified        Shorthand          Reporter,        was    examined       and

16   testified       as    follows:

17

18              THE       COURT    REPORTER:           Mr.     Mitchell,       will    you

19   raise    your    right       hand    to    be    sworn?

20

21                                   BEN       MITCHELL,

22   called    as    a witness,          having       been     first    duly    sworn       by

23   the   Certified        Shorthand          Reporter,        was    examined       and

24   testified       as    follows:

25



                                                                                Page    9


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 1                 THE       COURT       REPORTER:                 Mr.       Clark,       will       you

 2   raise       your       right       hand       to    be       sworn?

 3                 I think          he    froze.

 4                     MR.    GARRIE:              When       Mr.       Mitchell          rejoins,             the

 5   JAMS    --    Mr.       Mitchell          is       here.

 6                     When       Mr.    Clark          rejoins          --       thank    you,

 7   Mr.    Mitchell          --    the       JAMS       moderator                hopefully          is

 8   still       here       and    will       --    here          he    is.        I'm    admitting

 9   him    now.

10                     MS.    RING:           May       I say,          Special          Master

11   Garrie,       I just          want       to    be       clear,          I guess,          in

12   response          to    the    free-for-all                   comment.

13                     These       witnesses             have          been       prepared          to

14   address       specific             topics.              So    I just          want    everyone                to

15   be    aware       of    that       and    I want             to    give       them    comfort

16   that    they're          not       going       to       be    expected          to    guess          to

17   things       that       they       don't       know.              Right.

18                     MR.    GARRIE:              Well,          I was       going       to             to

19   your    point,          Counsel          Ring,          what       I was       going       to       say       is

20   if    any    of    the       engineers             --    it's       completely             okay          not

21   to    know    something.                 You       guys       have       millions          of       lines

22   of    software          code       and    areas          of       specialty          and       teams

23   you    lead       and    it's       completely                acceptable             to    say,          "I

24   don't       know."           I don't          expect          you       to    know    everybody.

25                     I just       don't          know       if       you    worked       on       in    the



                                                                                                Page          10

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 1   past    in    certain          areas       or    something                else.        But       please

 2   say    --    if    you    don't       know       something                and    it's

 3   completely             unacceptable             to    answer,             just       say,       "I

 4   don't       know."        I don't          expect          you       to    know       the       answers

 5   to    everything          and       we'll       go    through             it    like       that.

 6   Just    if    you       have    anything             to    add       to    a particular

 7   question,          then,       you    know,          you'll          add;       and    if       not,

 8   you    won't.

 9                     Is    that    all       right       with       you,          Counsel          Ring?

10                     MS.    RING:        Yes.           Thank       you,          Special          Master

11   Garrie.           I just       wanted       to       be    --    you       know,       I want

12   them    to    feel       comfortable             and       they've             been    --       we've

13   been    talking          to    them       for    a long          time          and    they're

14   prepared          to    answer       your       questions.                 I just          wanted         to

15   be    clear       about       what    we've          prepared             them       for    and

16   discussed          with       them.

17                     MR.    GARRIE:           Oh,       100       percent.              Yeah.

18   That's       my    expectation.                 I just          --    they're          the

19   engineers          and    I'm not.              So    that's          why       I just          sort

20   of    give    them.           And    project          mana-                at    some       point

21   we're       engineers,          maybe       more          or    less       than.           I don't

22   know.

23                     But    the    point       is,       Mr.       Clark,          if    we    can      just

24   quickly       swear       you       in,    and       then       we    can       kick       it    all

25   off.



                                                                                                Page      11

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 1                     MR.    CLARK:              We   had       a power       outage.              So    I'm

 2   on my phone.

 3                     THE    COURT          REPORTER:             Okay.           Can       you    raise

 4   your    right       hand       to       be    sworn,         Mr.       Clark?

 5

 6                                                MIKE      CLARK,

 7   called       as    a witness,                having         been       first       duly       sworn       by

 8   the    Certified             Shorthand            Reporter,             was    examined             and

 9   testified          as    follows:

10

11                 MR.       GARRIE:              Okay.          We've       gone       through          all

12   the    formalities.

13                 With       that       said,         before          we    jump       into

14   everything,             the    way        I'm     going       to       approach          today       is

15   I've    presented             a series            of    questions.                 I'm    going       to

16   go    through       the       questions             and      I've       read       the    responses

17   and    I have       additional                clarifying               information             I'm

18   looking       for       regarding             the      responses          to       your

19   questions.              So    if    you       have      anything          else          you    --

20                 So    what       I'm going               to    do    is    I want          to    ask

21   my,    at    least,          one    question,               and    then       if    you       guys

22   want    to    add       any    further            clarifications                   or    any    other

23   statements          or       other        things,           I'm going          to       welcome

24   them.        I do       want       to    appreciate               --    thank       you       for

25   categorizing             them.



                                                                                               Page       12

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 1                   And    for       the    record,          Counsel       Ring,       I also

 2   agree       and       recognize             that    a different             way    of

 3   approaching                the    data       than       looking       at    all    149       systems

 4   is    definitely             the       way    to    go,      but    I wanted           to    finish

 5   off    the       initial          task       so    we    have      a complete           record

 6   for    that,          but    I do       fully       agree       with you          and       that's

 7   what       I'm hoping             we    can       start      and    finish        today.

 8                    With       that       said,       I'm going          to    read       out    just

 9   so    we    have       a clear          record          of   what     I'm    talking          about

10   so    there's          no    ambiguity.

11                    It    says,       "Accordingly,                the    court       rules,"

12   this       is    Judge       Corley,          "rules         the    discoverable              user

13   data       at    issue       includes             (1)    data      collected           from    a

14   user's          on-platform             activity,            (2)    data     obtained          from

15   third parties                regarding             a user's         off-platform

16   activities,                and    (3)       data    inferred          from a user's             on

17   or    off-platform                activity."

18                    So    I just          --    so    when      I say     in    the       letters

19   and    the       back       and    forth,          there's         one,     two,       and    three

20   constantly going                   back       and       forth,      that's        when we       say

21   one,       two,       or    three       what       we're       referring          to    so

22   there's          no    ambiguity here.

23                    With       that       said,       I think         we'll     kick       off    with

24   the    first          question          and       the    first      question           really was

25   talking          about       the       DYI    file       and    how    it's       generated


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 1   and    the       information,             you    know,          and       the    answers,             but

 2   what       I saw       --    sorry.        I'm       just       looking          at       my

 3   outline.              Actually       I did       quite          a bit       of       homework

 4   myself.              What    I saw       and    in my          review       of       it    --    and       I

 5   had    a chance             to    read    it.        I luckily             don't          need       a lot

 6   of    sleep.           But       I had    a chance             to    read       it    and,       from

 7   what       I could          tell,    it    describes                how    data       is       tagged

 8   and    to       be    included       in    the       DYI       export,          but       not    how

 9   data       is    extracted          by    the    DYI       file       generation

10   process.

11                    So,       you    know,    what       I'm       trying          to    understand

12   is    where          the    data    comes       from       and       how    it's          filtered

13   to    only       include          tagged       fields          and    what       other          fields

14   it    is    to       exclude.

15                    So    in    Exhibit       A,    the       access,          in       the

16   engineering                guide    I think          it's       Page       29.        Let       me    make

17   sure       we're       talking       apples          to    apples.              Page       29.

18   So    on    Page       29    in    there,       the       engineering                guide,

19   there's          this       thing    called Access                   your       Information

20   and    can       someone          explain       --    okay,          I think          I know

21   who    to       ask,       but    I'll    keep       it    broad          for    now       --

22   you    know,          explain       how Access             your       Information                is

23   different             from DYI?

24                    Mr.       Clark,    we'll       start          with       you.

25                        MR.    CLARK:        Yeah.           Of    the       transparency



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 1   products          that       we    have,        a DYI          is      allowing              you    to

 2   download          your       file.           AYI     is      meant        to       be    an

 3   interactive             version           that       is      live        on    the       site       and       not

 4   downloading             every       single           bit       of      information                 that's

 5   included          in    the       DYI     file.           And       so    its       function             is

 6   slightly          different             in     that       it      is     set       and       populated

 7   with       a similar,             but    not       as     a complete                cut       of    data.

 8                     MR.    GARRIE:               DYI      --     does       AYI       data--

 9                     I guess          a way        of      thinking              about          it,    is    AYI

10   small       and    then       DYI       contains             all       the     AYI       data?

11                     MR.    CLARK:              Plus       more.

12                     MR.    GARRIE:               Well,         yeah.            So    AYI       and    then,

13   bigger,          all    of    DYI       has     AYI       plus         whatever              else.

14                     MR.    CLARK:              That       is     correct.

15                     MR.    GARRIE:               Okay.           So      then        the       AYI    is

16   just             how    is    that        --    is      that        working             to    do    what?

17   You    said       it    was       real-time             data        that       they're             looking

18   at    or    --

19                     MR.    CLARK:              Well,        DYI       is    somewhat                real

20   time,       but    it    takes          time       to     cue       up.        I've          got    a long

21   Facebook          usage       history,             and       so     mine       takes          the    better

22   part       of    a couple          days        and      is     many       gigs          in    size       even

23   with       low-resolution                photos.

24                     AYI    allows          me     to      click          through           that

25   information             live       on     the      site        and       be    able          to    look       at



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 1   that       content       on    the       Facebook       site.

 2                     MR.    GARRIE:           It's    basically          re-skimming                  the

 3   data       effectively.

 4                     MR.    CLARK:           Correct.           And    not    putting            it     in

 5   a downloadable                format.

 6                     MR.    GARRIE:           Yeah.        Okay.

 7                     So    then       the    reference          is


I

 9                     I think,          what    is    the     Activity         Log?           I

10   didn't       see       the    definition          of    what       an Activity             Log       is

11   and    I was          hoping       you    could    clarify          what       is    the

12   Activity          Log.

13                     MR.    CLARK:           Sure.        There's       a very          --    in

14   fact,       they're          very    similar       and       some    of    the       things

15   that       you    click       on    in AYI       actually

                                                               Activity         Log       is    meant

17   to    be    much       more    like       the    Facebook          site    itself          as

18   opposed          to    sitting       outside       of     the      site.

19                     When       you    interact       with       the    content          in

20   Activity          Log,       you    can    in    some     cases      delete          it    or

21   archive          it    right       from    the    Activity          Log.        It    is      a

22                                                                 , but       it    is    meant          to

23   be    the    logging          of    your    interactions             and       the    content

24   that       you've       uploaded          and    those       specific          things

25   inside       of       Activity       Log    that       you    can    interact             with



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 1   more    so    than       you       can    in AYI.           AYI       is   meant        to    read

 2   only.        Activity          Log       I can       actually          interact             with    the

 3   content.

 4                  MR.       GARRIE:              Okay.        I'm    just       writing          it

 5   down.

 6                  So       then       where       is    the    Activity             Log    data

 7   itself       stored?

 8                  MR.       CLARK:           In

 9                  MR.       GARRIE:              So    I think       you       gave       me    every

10   single       system you             have.

11                  When          you    say                                                you're

12   referring          to    a particular                one?        I know          it's

13   aggregated,             backed       up,       and       distributed.

14                  So       when       you    say                                                can    we

15   define       what       is    a                     --    you    have       --

                   becomes          this       very       large       list       of    things       which

17   I don't       really          need       to    touch       on    as    long       as    it's       the

18   same    and    there's             nothing          new    in    the

                   if    that       makes          sense.

20                  MR.       CLARK:           Yeah.           I have       a response             up    on

21   my   screen;        but       since       I can't          see    it,       I'm    going       to

22   defer    to    Mayur          to    help       answer       and       clarify,          Mr.    Patel

23   to   help     answer          and    clarify your                question          on,       like,

24   where    some       of       that    content             may be.

25                  MR.       PATEL:           All       right.        So       just    to       answer



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 1   the    question,          to    understand             the       question,          you're

 2   asking       where       does       Activity          Log    data       reside,       in      which

 3   specific       data       store?

 4                  MR.       GARRIE:           Yeah.           Like    where       is    it

 5   actually       stored?

 6                  MR.       PATEL:           Yeah.        So    it's       stored       in           if

 7   you    have    the       149,       it's    stored          in                             In

 8   order    to    make       it    effective             to    produce       the       results          in

 9   real    time,       we    need       to

                                and       so    we    have       a specialized             store

11   called

12                  MR.       GARRIE:           Okay.           And    so    that's       a

13   dedicated       system,             I assume,          just

14                  MR.       PATEL:           Correct.           Just       for    this

15   purpose.

16                  MR.       GARRIE:           Do    you       guys    differentiate

17   between       those?           I notice          in    the       answer       there's         a

18   distinction          between          a couple             milliseconds,             a

19   millisecond          and       other       things,          and    that       makes       a

20   little       more    sense.

21                  Okay.           So    then       how    is    the       Activity       Log       data

22   used    by          is   Activity           Log       data       used    by

                         beyond          the    AYI,       DYI    piece?

24                  MR.       PATEL:

25                  MR.       GARRIE:           Oh,    this       is    an    important



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 1   preface       to    tee       it    off.

 2                     Generally             speaking,           I'm      not     looking          for

 3   absolute.           95       percent           is    sufficient.              Just       tell       me

 4   it's    not       absolute,             but     more       likely       than       not.        Right?

 5   I realize          that       there's           a very          loose       definition             of

 6   the    control          of    some        --    that       underlie          some       of    the

 7   systems       and       who       can     access       and       what       gets    put       in

 8   them.

 9                     MS.    RING:            Special          Master       Garrie,          if    I may

10   on    that    topic.

11                     I appreciate                 you    saying         that     and       just,

12   again,       for    the       comfort           of    the       people       who    are       here

13   testifying          today          and     so       that    they       can    be    as       helpful

14   to    you    as    possible,             Mr.        Patel       isn't       responsible             for

15   generating          the       Activity              Log.        So   when     he    says,          you

16   know,       he's                                                                              , I

17   just    want       him       to    feel        comfortable             to    make       the    point

18   I think       you're          trying           to    make,       which       is    he    doesn't

19   know,       but    he's       trying           to    tell       you,    you       know,       his

20   understanding.

21                     MR.    GARRIE:               Which       is    a lot       better          than

22   mine.

23                     MS.    RING:           What?

24                     MR.    GARRIE:               Which       is    a lot       better          than

25   mine.



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 1                     MS.       RING:        Oh,       your       understanding?

 2                     MR.       GARRIE:           Yeah.

 3                     MS.       RING:        Yeah.           I know       the       feeling.

 4   Okay.        Thank          you.

 5                     MR.       GARRIE:           I mean,          he    knew       it's       in

 6                               So    he's       ahead       of    me.

 7                     All       right.           So    then       I read       the       engineering

 8   process       for       adding          data       to    the    DYI,       AYI,       and

 9   Activity          Log.           I notice          that       there's       a very

10   prescriptive                process,          which       there's          quite          a bit       of

11   thought.

12                     But       how    do     engineers            determine             if    they       need

13   to    add    to    DYI,          AYI,    and Activity                Log;       right?           How

14   does    an    engineer             actually             say,    "Stick          it    here,       not

15   here.        Put       it    there"?

16                     MR.       CLARK:           I'll       start.        If    anybody             has

17   more    to    add,          they    can.

18                     That's,          first          of    all,    part       of    having          our

19   broad privacy program                         that       we    have.        Every          employee

20   and    every       engineer             is    trained          in    privacy          and       have       to

21   recertify          on       a regular             basis.        Every product                   they

22   build must             go    through          a privacy             review       or       a review

23   for    a variety             of    things.

24                     As    part       of    both          that    privacy program                   and

25   the    privacy          review process                   is    checks       and       evaluations



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 1   on   data    that's          being       added       and where            and    how       it

 2   should      be    mapped.           And    what      we     provided            to    you       is    as

 3   products         are    built       or    as    products            are    being

 4   developed,         the       technical          process         for       an    engineer             to

 5   actually         add    it    to    those       product         surfaces             or    to

 6   those    product         areas,          AYI,    Activity            Log,       and       DYI.

 7                    MR.    GARRIE:           So    then      is    it    the       engineer             who

 8   makes    the      determinations                of   what       goes       in    there?

 9                    MR.    CLARK:




15                    MR.    GARRIE:           That's       why      I was          wondering.

16   Right.

17                    How    does       an    engineer         know       if    it's       a

18   duplicative            cookie       or    not    a duplicative                  cookie

19   unless      they       are    intimately             familiar         with       the       entire

20   data    structure            of    DYI,    AYI?        So      I thought             there       may

21   be   a process          for       the    engineer         to    determine             or    make

22   that    determination.

23                    MR.    CLARK:           And


M

M                                                                   in    the       pages       that



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 1   you    have       for       the    types       of    --

 2                     MR.       GARRIE:           Yeah.        Yeah.

 3                     So    that       gives       them       the    framework.             I'm    just

 4   wondering          --       they       don't       know    the    file;       right?          So    at

 5   some    point          the    engineering                team    or    the    DYI      group       has

 6   got    to    be    consulted,                I assume,          because       you      don't

 7   want    to       load       the    file       with       duplicative          data.

 8                     MR.       CLARK:           Correct.

 9                     MR.       GARRIE:           Are    there       any    other       reasons

10   why    an    engineer             wouldn't          include       data       in   the    DYI

11   file    then       or       the    Activity          Log?

12                     MR.       CLARK:           You    know,       there       are   a couple          of

13   examples.

14                     I think          one       example       might       be    that      the    data,

15   for    instance,             being       used may          not    be    --    may      not

16   actually          include          the       user    or    like       actually         know    that

17   it    belongs          to    the       user.        I think       those       are      two

18   different          areas.              The    data       may    not    be    associated

19   with    that       user.           Like,       for       instance,          somebody         takes

20   a picture          of       you    and       I and you          upload       it   and    never

21   tag    me.        There's          a photo          of    me,    but    I don't         know

22   that    that       photo          of    me    ever       exists       and    so   no    one    does

23   since       it    was       never       tagged.           And,    therefore,            that

24   wouldn't          be.

25                     The       data       may    not    be    human       readable.             There



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 1   might       not    actually be                   something          to    show.

 2                     MR.    GARRIE:                 When    you       say    human       readable,

 3   all    words       are       readable             to    me.        So    I always          find

 4   human       readable          to       be    this       ephemeral          concept.

 5                     So    for       an    engineer,             human       readable          is

 6   something          lawyers             will       never       be    able       to    read.        Like

 7   you    give       a lawyer             a for          loop,     a while         loop,       a

 8   do-while,          variables,                class       files,          whatever,

 9   that's       --    I've       had       multiple          lawyers          tell       me    that    is

10   unreadable.

11                     So    how       do    you       define        human?          When       you're

12   saying       human       readable,                what    are       we    saying,          like?

13                     MR.    CLARK:              Maybe       a good          concrete          example

14   might       be    like       as    things             travel       between          multiple

15   models       or    multiple             classifiers,                the    model          itself    may

16   attach       a short-term                   or    a transient             --    a transient

17   tag    from       an    associative                   perspective          that,          you    know,

18   is    still       tied,       but       ultimately              isn't      even       meaningful

19   to    the    engineer             that       built       the       model.

20                     MR.    GARRIE:                 Is    that     the      same       for    all    data,

21   mobile,          everything,                you       know,     TVs?       I mean,          you    guys

22   have    all       sorts       of       hardware;          right?           You       have       picture

23   frames       and       TVs    and       all       of    this.

24                     MR.    CLARK:              I don't          think       TVs,       for    the

25   record.



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 1                        MR.    GARRIE:                 Well,       it's       accessible          on       a TV,

 2   I believe.

 3                        MR.    CLARK:              Sure.

 4                        MR.    GARRIE:                 I guess        you      might       treat       that

 5   just       as    a normal             screen             with    a web          API.     I don't

 6   know       how you          treat          it.           But    like       you    have       the

 7   frames,          right,          or       you       have       a mobile          device.           Right.

 8   So    there          are    513       different                versions          of    Android          that

 9   are    currently                supported                just    in North America.                       So,

10   I mean,          everybody may                      have       a different             flavor.

11                        So    how       are       we    defining           machine         readable,

12   like?           So    are       we    saying,             like,       is    a hash       value

13   non-mach-             --    is       that       hash       value,          as    an    example,          like

14   you    hash          something,                is    that       non-readable?

15                        MR.    PATEL:              It       depends        what      you're       hashing.

16   Sorry.

17                        MR.    CLARK:              No.        Please,          Mr.       Patel.

18                        MR.    GARRIE:                 So    I'm    just       trying       to    figure

19   it    out       because          is       it    more       the     way      the       data    is    used

20   or    is    it       because          a hash             value     is      machine       readable             or

21   does       it    include             --    or       hashes       --     hashes         would       be

22   non-DYI          or       DYI    or       how       does       that     work?

23                        MR.    PATEL:              So       a hash       of    a picture,             for

24   example,             photo       DNA       or       something           like      that,       we

25   provide          the       original             content          that       you       uploaded          to



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 1   Facebook.             And    so,       therefore,            any       hash       is       a

 2   derivative            of    it    in     that       sense.

 3                    MR.       GARRIE:            But    there's           metadata             embedded

 4   in    the   photo.           Like       photos        have        --      you     know,          can

 5   have    GPS.          They       can    have              depending              on    how       fancy

 6   your    camera         is,       it    can     have       all     sorts          of    things            in

 7   it.     But      do    you       include           that    then        in    the       DYI       file?

 8                    MR.       PATEL:           I do     not     believe             --

 9                    MR.       GARRIE:            The    hash       of     a photo.

10                    MR.       PATEL:           The     hash     of      the     photo          we      do     not

11   include       in      DYI.        The       original         photo          we    do.          The

12   original         photo       also        could       be    resized.               Like         if     you

13   upload      a 16       meg       photo,        you    know,          we     may       not      retain

14   the    16   meg       photo.           We     may    retain          a smaller              version

15   of    it.

16                    MR.       GARRIE:            I assume          you'd        resize            it     and

17   put    it   in     your      blob       and        drop    it     into       your          photo

18   system      and       archive          it.

19                    MR.       PATEL:           Correct.

20                    MR.       GARRIE:            Yeah.        So     that's          what         I'm

21   trying      to     figure         out       from     the     engineering                   side       of

22   the    house       what      --

23                    I guess          what        I'm    really          trying           to    figure

24   out    is   how       things          get     in    the    DYI       and     not       in      the       DYI,

25   but    I think         so    then        --



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 1                    MR.      CLARK:        There          are    a few more             things

 2   that      don't      go    in    DYI.        I think          there's          --    there's

 3   some      classifications               both       from       like


I

 5                    For      instance,          if    we       believe       you're


I

I                                                                 might       be    one       example

 8   of   that.

 9                    MR.      PATEL:        And       just       going       back       to    the

10   hashing        question.

11                    The      photo    that       you       upload,          when       we    provide

12   that      back    to      you,    the    hash          of    it,    and       especially

13   photo      DNA,      should produce                the       same    hash          value.        So

14   it   is    effectively            --    like,          you    can    generate             your       own

15   photo      DNA    hash      from       it.

16                    MR.      GARRIE:        As       long       as    you    don't          use          as

17   long      as   you     embed      data.           It    just       depends.              Yes.        I

18   agree.          I do      forensics          work       on    photos.

19                    MR.      PATEL:        Oh,       okay.

20                    MR.      GARRIE:        Perfect.

21                    MR.      PATEL:        Yeah.           I believe             we    strip       the

22   excess         information         if    we       do    hash.

23                    MR.      GARRIE:        So,       yes.           I believe          you       are

24   correct        having       done       forensics             on    Facebook          photos

25   myself.



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 1                  Okay.           So    then      I guess         my    question             is,    so

 2   when    I read       over       the      document,           is     there       an

 3   independent          from       the      engineer         review          of    whether          the

 4   data    point       is    or    is      not    added      to      the     DYI,       AYI    or

 5   Activity       Log?

 6                  MR.       CLARK:


I

 8                  MR.       GARRIE:           And    that's          independent              of    the

 9   engineer?

10                  MR.       CLARK:

11                  MR.       GARRIE:           All    right.            That       makes       sense.

12   All    right.

13                  And       then       a                                                      , I

14   notice       that's       the       instrument          that's           needed       to    add

15   data    to    the    DYI;       right?           So    how     does       the

                          work       itself?           Because           that       wasn't       in

17   there.

18                  MR.       CLARK:          For     the    sake        of    clarity,          that

19   is    the    same    team       as      the                                      The

20   stands       for                                       and     that       is    the       prior

21   name    of    the

22                  MR.       GARRIE:                                                     is    the

23   same    as    the    one       in    the      document?

24                  MR.       CLARK:          Correct.

25                  MR.       GARRIE:                                     But       how    does       the



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 1   process       then       --

 2                     So    when       a


I

 4   How    does       the                              do      that     work?        Because

 5   that       wasn't       in    there.

 6                     MR.    CLARK:           Sure.         The    initial       product          team

 7   building          the    product,           part      of     what    they're       trained

 8   on    on    a regular          and       consistent           basis    and       certify       to,

 9   they       create       a path         within




18                     MR.    GARRIE:            So   as     an    engineer,          does    anyone

19   actually make                a --      sorry.

20


.

.                I'm    not       saying       engineers           aren't       the    most

23   amazing       people          in    the     world.           I'm    just    saying       is

24   there       any    checks          and    balances           behind    the       process?

25                     MR.    CLARK:           There       are     checks       and    balances



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 1   behind      the     process,            which       is    part       of    why


I
I                                                                       It's    part       of    why    the

 4                                exists.           It's       part       of    why       like

 5   everybody         is    trained          on    it    and       agree       to    those

 6   obligations            to    even       become       an       employee          at    Facebook

 7   or   continue          to    be    an    employee             of    Facebook.

 8                  And      so    we    take       that       program          serious.           So

 9   there    is    follow-up            and       there       are       checks       and       balances

10   built    into       that.

11                  THE      COURT       REPORTER:                 Mr.    Garrie,          I couldn't

12   hear    you.

13                  MR.      GARRIE:           That's          kind       of    funny.           I was

14   going    to    strike         my    comment          anyway.

15                  Off      the       record       and       we'll       go    back       on.

16                  (Discussion               held       off       the    record.)

17                  MR.      GARRIE:           We'll          go    back       on    the    record.

18                  So      then       one    other       thing          I didn't          understand

19   is   what     are      the    possible          decisions?                 Because          I tried

20   to   figure       out       what    are       the    possible             decisions          that

21   come    out    of      the                                ; like          approved,

22   denied,       incorrect.                I was       trying          to    figure       that

23   out.

24                  MR.      CLARK:           So    approved             or    denied       or    an

25   incorrect.



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 1


1
1
1
1
1
1
 8                     MR.    GARRIE:           Okay.        What        about       schema    and

 9   location          or    stuff       like       that?      I saw          that    referenced

10   as   well.

11                     MR.    CLARK:           As    part    of     --    and    I think

12   having       worked       on    systems          for    way     too       long,    when    I

13   think    of       schema       in    traditional             systems        terms,       it's

14   here's       the       exact    pointer          to    where        it's    sitting       on

15   blocks       on    disks.

16                     Where    schema          is    referred           to    here,    rather,

17   what    it's       pointing          to    is    what     --    we       have   a process

18   we   call

             --    sorry       --

                                          And        when    we     talk       about




25                     MR.    GARRIE:



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 1                                                                          ; right?

 2                  MR.    CLARK:         That       is    correct.

 3                  MR.    GARRIE:            Okay.        Thank     you.

 4                  MR.    CLARK:         I made          the     technical

 5   assumption.

 6                  MR.    GARRIE:            No.     No.         I agree.        I just

 7   want    everybody.

 8                  So


I                        Okay.     We're         good.

10                  So    then

11   right?

12                  MR.    CLARK:         That       is    my     understanding,          yes.

13                  MR.    GARRIE:            All    right.         And    then    there's

14                                                                 Okay.     That       makes

15   sense    to    me.     All    right.

16                  I welcome          any     other       --

17                  MR.    CLARK:         I don't          know     that    that    last

18   statement       is    accurate.

19                  MR.    PATEL:         I don't          think     the    last

20   statement       is    correct.

21                  MR.    CLARK:         I wanted           to    correct       that.

22                  There    aren't           things       that     live    in    DYI    that

23   aren't    in    DYI.        DYI     is    the    more        complete       set.

24                  MR.    MITCHELL:

25                  MR.    GARRIE:            Perfect.            I get    that.        That



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 1   answered       that    question.

 2                  So    then       there          was    a lot       of    discussion            about

 3   DYI.     So    I read       in       your       information             schema.          It

 4   looks    like       there       was       a lot       of    resources          devoted         to

 5   that.

 6                  I guess          my    question             to    you    gets    more      to       --

 7                  So    question             two    is    about       what    is    in      the

 8   DYI.

 9                  Is    there       anything             else       that    anyone       else

10   wants    to    add    to    what          we    discussed          so    far    about

11   question       one?

12                  I got       all       my     questions            answered.

13   Plaintiffs,          now    is       the       time    to       raise    your    hand         if

14   you    have    a question.

15                  Going       to    the        next      question.           All    right.

16   The    second       question.               I read         the    answer       and    I have

17   follow-on       questions              to      that.

18                  As    I understand                from       the    answer,       the      data

19   is    stored    as    raw,       logged          with       event       data    in

20   Facebook's          data    warehouse.                 Facebook          then    builds

21   data    pipelines          from        the      data       warehouse       to

22   production.

23                  If    I understood                that       right,       what    is      the

24   data    warehouse          called?              I mean,          you    have    dozens         of

25   data    warehouses          and,          I assume,             that's    only       a



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 1   fraction.

 2                     So    in    the       response        it    says    data       warehouse,

 3   but    we    don't          say    which        one.

 4                     MR.       ZARASHAW:            It    is    synonymous          with

 5                     MR.       GARRIE:          And      then    when    you       say    data

 6   pipelines,             is    that       like     a data       pipe-       --    like    how       are

 7   you    defining             a data       pipeline?

 8                     MR.       CLARK:         Let's       have    Mayur,          Mr.    Patel,

 9   answer       that.

10                     MR.       PATEL:         Yeah.        So    a data       pipeline          is

11   effectively             processing                    a processing             unit    on    top

12   of    the    storage          system.

13                     So    in    our       case




15   We    also    use       other       ones        like    Spark       and    Presto       at       the

16   company.

17                     MR.       GARRIE:          How      are    data    pipelines

18   themselves             built?

19                     MR.       PATEL:         Data       pipelines       are       built       by

20   development.

21                     MR.       GARRIE:          And      particularly             for    the    data

22   warehouse          and       particularly              for    the    raw       logs    and

23   event       data       in    Facebook's                        The    data       in    the

24               you    build          data     pipelines.           How       are    those       data

25   pipelines          built          for     the



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 1                     MR.       PATEL:         Yeah.           So    the    most       common       one,

 2   and    I'm    just          speaking           for    the       generalized             version       of

 3   it,    are    built          by    data        engineers          or    software

 4   engineers          on       top    of                using       these       three

 5   processing             pipelines           that       I talked          about:

 6   Presto       or    Spark.

 7                     The       language           used       for    them    is    mostly          SQL.

 8   So    it's    really          easy        to    understand.              I'm       sorry.        It's

 9   not    standard             SQL.        It's        not   ANSI     SQL.

10                     MR.       GARRIE:            SQL.        I can't       remember.              I've

11   seen    it.

12                     But       basically           the       Facebook       SQL       query

13   language          is    used       to    build        these       pipelines?              Is    that

14   what    we're          --

15                     MR.       PATEL:         Yeah.           Correct.           It    potentially

16   is    Presto       SQL.           It's     not       Facebook          SQL,    but       it's    not

17   ANSI    SQL.           It's       not     the       standard       SQL       that       you    know.

18                     MR.       ZARASHAW:               Let   me     make    a correction.

19                     It    is    not       Facebook           SQL.        There       is    an    SQL

20   which    was       --       that    was        a query          used    --    format          used

21   for    the    older          versions           of    the       developer          platform          and

22   this    is    not       it.

23                     MR.       GARRIE:            So    you're       using       Presto?           You

24   said    Presto          SQL?

25                     MR.       PATEL:         Yeah.           Primarily          it's       Presto



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 1   SQL.     I believe                     is    fully       deprecated             and       Spark

 2   is    a future       version       of       what    we    may    use.

 3                 MR.     GARRIE:           How    are       the    data       pipelines

 4   executed?

 5                 MR.     PATEL:           They're          executed          by    a scheduler

 6   called    Dataswarm.              So    people          write    Python             scripts

 7   that    describe       effectively what                   a unit          of    task          is

 8   and    what    the    interdependencies                   are.        So       an

 9   interdependency,             for       example,          wait    on       table          X to

10   get    data   before        you     can      process          this    meaningful

11   task    because       if    you    don't       have       data       in    table          X,       you

12   can't    really       go    and    query       table          X in    your          current

13   task.

14                 MR.     GARRIE:           Are    they       sequential?                    Because

15   I looked       at    the    ones       of    the    list       you    gave          me    and

16   some    are    repeated;          right?           So    we'll       talk       about          the

17   exhibit       itself.

18                 But,     I mean,          the    bottom          line       is    they're             run

19   by    Dataswarm       effectively.                 It's       a scheduler?

20                 MR.     PATEL:           Correct.

21                 MR.     GARRIE:           Okay.           And    then       where          is    the

22   data    pipeline       --    I might          regret.           Well,          I don't             know

23   how    else    to    ask    this.

24                  So    where    is       the    data       pipeline's             output

25   stored?



                                                                                          Page          35

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    1                     MR.    PATEL:           The     developers           can    choose          where

    2   to    store       it.        You    know,        most    likely,        they're          storing

    3   it    in    another          dataset        to    then     be      consumed        by    other

    4   data       pipelines          or    then     to    be    moved        over    somewhere

    5   else.        But    it's       not    uncommon           for       emailing        stuff       or,

    6   you    know,       like       if    you     just       want     to    email       the    output

    7   of    a result          or    something           like     that.

    8                     MR.    GARRIE:


I

M
11                        Are


M                                                                               or    something

13      like       that?

14                        MR.    PATEL:




16                        MR.    GARRIE:            And    then       so     where    is    --    can

17      they       store    it       anywhere?            Do    they       store     it    in    the

18             ?     Is    it    stored        in    a subset           of    systems?           Is

19      it    --

20                        MR.    PATEL:           Primarily           I would        say most          of

21      it    goes    back       into

22                        MR.    GARRIE:            And    then       other     parts       of    it,       I

23      assume,       go    to       TAO,    to     other?

24                        MR.    PATEL:


M


                                                                                            Page       36

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 1                MR.   GARRIE:        Got       it.

 2                MR.   PATEL:       So     we    --

 3                MR.   GARRIE:        Go    ahead.

 4                MR.   PATEL:       Go     ahead.

 5                MR.   GARRIE:        No.        Go    ahead.

 6                MR.   PATEL:


I

 8                MR.   ZARASHAW:           Pardon       me    for    jumping         in.     I

 9   do   have   to   clarify.

10




15                For   example,       for       computing       --   we    do    a very

16




21                There     are   certain         cases       where    --   cases

22




24                MR.   GARRIE:        So    then       basically       a dataset's

25   a table     in   the              For       lack    of    a better,         is    that



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 1   the    equivalent          of       what       we're       --     and      then     it's

 2   cheaper       to    do    it    there          than    to       do    it     elsewhere,             I

 3   guess,       from    a computation                   perspective.

 4                  MR.       ZARASHAW:                 Exactly.           So     once    in

 5   per    day    or    per    week,          and       then     redo       it    as    many       times

 6   as    needed.

 7                  MR.       GARRIE:              So    then     returning             back.

 8                  When       you       said       the    dataset,             Mr.     Patel,

 9   that's       a table.           Is       that       what     we're         talking        about?

10                  MR.       PATEL:           Yeah.        That's           a table.           That's

11   effectively          another                        table.

12                  MR.       GARRIE:              I technically                get     it.

13                  MS.       RING:           Special       Master           Garrie,          I'm

14   sorry.        I'd    like       to       clarify       something.

15                  Mr.       Patel       has       worked        on      these       pipelines,              I

16   mean,    for       OFA,    so       in    response           to      actually

17   Question       Number          2.        So    I feel        like       we're       kind       of

18   talking       in    very       general             terms     here,         but     this    is       just

19   for    OFA    and    the       pipeline             that     was      created        from

20   into    DYI    for       OFA.        I just          want       to   be      clear       about

21   that    and    that       they're             talking        about,          you    know,

22   internal       Facebook             engineer          developers              and    not

23   third-party          developers.                    So...

24                  MR.       GARRIE:              Are    third-party              developers

25   allowed       to    access          the



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 1                  MS.       RING:           What?

 2                  MR.       GARRIE:              I didn't        think          any    third-party

 3   developers          are       allowed          to    touch       the

 4                  MS.       RING:           They       are    not.         That's       the    point

 5   I'm    trying       to       clarify.

 6                  MR.       GARRIE:              Yeah.        I'm     assuming          that

 7   anybody       that's          touching             these     dataset          tables       or    data

 8   in    the               is    an    authorized             Facebook           engineer          doing

 9   some    product-based                   specific          activity           for    on-platform

10   work    or    some       analysis             or    something.               Nothing       to    do

11   with    third       parties             at    all.        However,           they're       not

12   allowed       to    touch          it.        They may        have       a contract             and

13   ask    an    engineer          to       do    something          and     they       may    run

14   something,          but       the       Facebook          engineer           is    running

15   that.        But    I'm       just        trying      to     understand             big    picture

16   for    the    languages             we       saw.

17                  So       then       is     there      a list        of    the       existing

18   data    pipelines?                 I mean,          I got     the       five       million,       but

19   is    there    an       actual          list?

20                  MR.       PATEL:              Sorry.        A list        for       all    the

21   pipelines          at    Facebook             or    the    OFA pipeline?

22                  MR.       GARRIE:              The    OFA pipeline                 would    be    a

23   good    place       to       start.

24                  MR.       PATEL:              Yeah.        Yeah.         We    could

25   potentially produce                       that.



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 1                  MS.    RING:       I'm     sorry.           I have          to    clarify

 2   that.

 3                  Do    you   mean     the    name       of    the       pipeline?                I

 4   just    want    to    be   clear.

 5                  MR.    GARRIE:        No.        I'll       get    to       the    points            I

 6   want.

 7                  MS.    RING:       Okay.

 8                  MR.    GARRIE:        I haven't             decided          what       I want

 9   yet    or    what    I don't      want.         I just          want       to    know       what

10   is    possible.

11                  MS.    RING:       Got     it.

12                  MR.    GARRIE:        Don't       take       any       question             here

13   as    a determination          or    direction             of    what       I'm       doing.

14   I'm    just    learning       here.

15                  MS.    RING:       Yes.

16                  MR.    GARRIE:        So    then       what       about          can    you

17   provide       what    data    they      can     soon       produce          then       for      the

18   data    pipelines?

19                  MR.    PATEL:        Oh,    we    could                yeah.           We    could

20   produce       the    SQL   code.

21                  MS.    RING:       Again,        Mr.    Patel          is    speaking

22   only    to    the    OFA platform.              Okay?

23                  MR.    GARRIE:        Yeah.        I got          it    loud       and

24   clear.

25                  MS.    RING:       I just        want       to    be    clear.              I



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 1   mean,       they're          sworn.        We    need          to    be    clear          about       what

 2   they    are       actually          here    to       talk       about.

 3                     So    got    it.      I will            shut       up    now.           Thank       you.

 4                     MR.    GARRIE:           I am       assuming             that       we    are

 5   speaking          in    very    specific             terms,          but    I assume

 6   someone       else,          since     there         is    an       engineer          that       did

 7   build       the    data       pipeline,          for       whatever             it    is,       can

 8   produce,          that       somewhere          someone             has    the       ability,          it

 9   sounds       like.           There's       tables,             good       news,       and       there's

10   SQL,    well,          Presto       SQL,    and you             have       input          and    you

11   have    output          and    there's          an    engineering                resource             that

12   did    create          that    whatever          --       whatever          they're             running

13   in    sequence          that    run     are      managed             by    the       Dataswarm.

14   Someone       had       to    schedule          it,       approve          it,       and put          it

15   in    and    I get       that.

16                     MR.    CLARK:         And      there's             such       a long          list

17   because       you       can    create       a pipeline                for       temporary

18   data    access.              It's    not    generating                new       data.           It's

19   only    using          existing       data.           So       you    can       do    that       for,

20   as    you    mentioned          earlier,             research,             trying          to    help

21   diagnose          something          that       may       be    going       on       or    like       the

22   example       that       Mr.    Patel       is       referring             to    with       OFA       is    a

23   great       example          operationally                to    look       at.

24                     MR.    GARRIE:           They       can       literally             do    it    for

25   whatever.



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 1                  MR.    CLARK:            Correct.

 2                  MR.    GARRIE:              It's       like       basically          a data

 3   junkyard.

 4                  MR.    CLARK:            Yes,      it       is,    but    it's       also       very

 5   governed       under       the       privacy program                   where       the

 6   biggest       part    of       the     training            is    what    access          to

 7   data    you    have       as    an     employee            and    how    you       are

 8   supposed       to    treat       and       handle          that       access       to    data       as

 9   well.     So    --

10                  MR.    GARRIE:              I agree.              There's       a privacy

11   construct.           Like       you     said,         all       the    engineers          get

12   trained       and    when       they       come       on    they       sign    these

13   compliance,          they       got     to      recertify.              They       got    lots          of

14   paperwork       regarding              the      process          on    data    privacy

15   management.           I'm       just       trying          to    understand.              So

16   there's       not          I'm       not     assuming            anything          bad.        I'm

17   just    trying       to    understand             where          it    all    sits       and       how

18   complicated          these       tasks          are.

19                  So    then       jumping          in.        Category          1,

20   on-platform.              So    this       is    user-provided                data.           Is    all

21   user-provided             data       included          in       the    DYI    tool?           I

22   mean,    user       provided.              So    I'll       be    very       clear.

23                  MR.    CLARK:            To      the    best       of    my    knowledge,

24   yes,    the    user-provided                 data      is.

25                  MR.    GARRIE:              Okay.           Are    there       individual



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 1   fields    from       schemas          that       are       not    included             in    the      DYI

 2   file?

 3                  MR.       CLARK:           Would       you       repeat       that       question?

 4                  MR.       GARRIE:           Are       there       individual             fields

 5   from    schemas          that    are       not       included          in    the       DYI       file?

 6                  MR.       CLARK:           I do       not    know.

 7                  MR.       MITCHELL:              I'm    just       clarifying.

 8                  Are       you    asking          if    we    have       a table          that       has

 9   a series       of    columns          about          a particular                user       or    are

10   we    excluding          a particular                column?           Is    that       what

11   you're    trying          to    get       at?

12                  MR.       GARRIE:           A column.              A value.              I mean,

13   you    guys    call       them       --    yeah.           In    essence,          like,          I

14   don't    know       how    --    yeah,          a schema.              Like       a schema            can

15   have    columns,          rows,       depending             on    how you          define          the

16   object;       right?           I mean,          it's       all    relative             to    the

17   design    of    the       object          and    how       you    put       the    tables          and

18   link    the    tables          and    everything                else.

19                  But       the    question             is,    they're          fields          that

20   don't    make       it    in.        I mean,          so    here's          my    --    my

21   well,    let's       actually             differentiate                because          my       next

22   question       is    about       cold       tables.

23                  I'm       talking          about       schemas.              So    field          values

24   versus    tables;          right?

25                  So    because          are       there       --    so    like       a schema             --



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 1   a field       in    a schema             is    like     a --       I don't          know    how

 2   you    guys    refer          to    tables        and    datas          and    rows       and

 3   values.        But       an    individual             entry,        okay,          from    that,

 4   are    those       things          not    included           in    the       DYI    file?

 5                  MR.       CLARK:           I believe           if    we       look    at    the

 6   process       for    an       engineer           to   add     --

 7                  I apologize.                    I can't        just       scroll       through

 8   it.

 9                  MR.       GARRIE:              I know.

10                  MR.       CLARK:           So    part     of       the




15                  I think             what       you're     asking,             and    this    is       why

16   I'm    asking       from       a clarity perspective,                          is

17                  MR.       GARRIE:              It's    okay.

18                  MR.       CLARK:                  if   there's           something          that's

19   stored       raw    in    that       row,        that    there's             some    other       set

20   of    data    that       may       not    go    with     that.

21                  MR.       GARRIE:              Yeah.      At       a field          level    and

22   then    at    a table          level.

23                  MR.       CLARK:           I'm not        aware          of    any,    but       my

24   better       answer       would          be    I don't        know.

25                  MR.       GARRIE:              Okay.      We'll          stick       with    I



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 1   don't       know       and       we       can     double-check                   because          that

 2   will       be    --    because             there's           an    engineering                   review

 3   process          and       I assume             that     --       well,          I don't          know      --

 4   to    Ben's          point,          to    Mr.     Mitchell's                point,          I don't

 5   know       how you          refer          to     it,    but       I'm       talking             about      a

 6   schema          being       a user's              an    object.              My    eye       color's

 7   hazel,          my    height,             all     of    those          things,          right,

 8   however          you       put,       like,        the       eye       color       or       the

 9   circumference                   of    my     eye       would       be       a field          value       and

10   then       maybe       the       whole          table        describing                my    eye,       just

11   as    an    example;             right?            So    --

12                        MR.    MITCHELL:                  Yes.        So       as    I called          out       in

13   my    declaration,                   like       there        are       certain          types       of

14   things          that       we    don't          include           deliberately.                    So    it      is

15   possible             that       there        is    a column             that       contains             a

16   trade       secret          and       that        column          --    and       so    we       would      not

17   include          that       in       DYI.         Right.

18                        MR.    GARRIE:               Right.

19                        MR.    MITCHELL:                  And    we're          not       going       to

20   discuss          on    this          call       what     those          trade          secrets          might

21   be    obviously,                but       like     I think             --    so    it       is    certainly

22   possible             that       there       are        things          that       are       excluded          at

23   the    field-by-field                      level.

24                        MR.    GARRIE:               All    right.              And       so    that's         not

25   user       provided.



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 1                  MR.       MITCHELL:                 Fair       enough.

 2                  MR.       GARRIE:              Users       aren't          providing          trade

 3   secrets.           I'm    only       talking             about       user       provided.

 4                  MR.       PATEL:           Yeah.           We       provide       all    user

 5   provided.           If    you       wrote          in    --    yeah.        If    you       --    if       we

 6   had    an    option       for       eye       color,          we    would       provide          that

 7   in    DYI    and    the    user          chose          that.

 8                  MR.       GARRIE:              Yeah.           We'll       get    to    the       other

 9   ones    in    a second.

10                  MR.       MITCHELL:                 Okay.           Yeah.

11                  MR.       GARRIE:              Because          you       guys

12   differentiated             it       in    your          answers,          user    provided,

13   non-user       provided.                 So    I'm       just       going       through          it

14   that    way    rather          than       --       yeah.

15                  MR.       MITCHELL:                 Okay.

16                  MR.       GARRIE:              And       everything          I give          comes

17   in.     Okay.

18                  Counsel          Weaver,             what       question          do    you       have?

19                  MS.       WEAVER:              I would          be    interested             in    the

20   definition          of    user       provided             and       this    is    the       reason.

21                  For       example,             if    I went          on    a website          and       off

22   platform,          but    on    my       Facebook             log    in    and    put

23   something          in    a shopping                cart,       but       then    never

24   purchased          it,    that       is       information                that    we    do    not       see

25   in    the    Download          It    Yourself             tool       that       our    experts



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 1   have      said    is       certainly          some     information               that

 2   Facebook         collects,            but     maybe       that's          not    determined

 3   to   be    user       provided.

 4                    MR.       GARRIE:           You    don't        have      to    answer       the

 5   questions         directly.

 6                    How       are    you    --     I thought            you    provided          the

 7   definition            of    user-provided              data,         but    how       are    you

 8   defining         user-provided                data?         Is      it    any    different

 9   than      what    was       provided?

10                    MR.       CLARK:        I'm going             to    refer       to    the

11   definition            that       we    included        where         it    was       directly

12   user      provided          from       the    first-party platform                         itself,

13   from      Facebook.

14                    MR.       GARRIE:           That's       what       I understood             it

15   as   well.        I was          using       the    definition             that       you

16   provided.

17                    So    that       would       not    be     defined,

18   Counsel      Weaver,             as   user-provided                 data.

19                    MS.       WEAVER:           Right.         I mean,         and       let    me    be

20   clear.

21                    With       first-party             and     third-party               cookies,

22   arguably         Facebook             could     have      said       if    they       use    a

23   Facebook         login,          that's       a first-party                data       point,       but

24   I hear      their          definition           here      is     saying         it    is    not.

25   Is   that    correct?



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 1                     MR.       GARRIE:           Well,     you       can    read       --    I mean,

 2   if    you    read       their       answer,          they       have     the    written

 3   definition             in    the    engineering.

 4                     MS.       WEAVER:           Okay.

 5                     MR.       GARRIE:           And    I don't        know       what       page

 6   it's    on,       but       I'm    certain          I've     read       it.

 7                     MS.       WEAVER:           I've    read        it.     It's       just

 8   unclear       to       me,    but    I understand                 the    position             they're

 9   taking.           Okay.

10                     MS.       RING:        I'm     sorry       to    interject,             but       the

11   question          that       Counsel          Weaver       asked,        I mean,          what

12   you    just       described          there          and,     you    know,       Mr.       Patel

13   is    here.        He       worked       on    the    OFA.         It's       just       --    it's

14   not    in    the       first       category,          but       it's     in    the       off

15   Facebook.

16                     MR.       GARRIE:           I know.           We're     going          to    get       to

17   it.     That's          why       I'm not       worried           about       it.

18                     MS.       RING:        Okay.        I just        didn't          want       to

19   leave       the    impression             it's       not     in    the    DYI       file.           It's

20   just    not       called          user    provided.

21                     MR.       GARRIE:           Yeah.        I get        it.     I'm       fully          on

22   board.        You       guys       worked        hard      at     this.        I'm       just

23   going       through          methodically             the       different           pieces.

24   But    her    question             was    specifically              about       how       user

25   provided          is    defined          and    we're        only       talking          about



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 1   on-platform;             right?         So    we're          still       in    Category             1,

 2   on-platform.              We    haven't           even       departed.

 3                  So    observed           data.           Okay.        So       that's       the

 4   next    bucket       here.           How     is    observed          data          collected

 5   from    the    on-platform              activity?

 6                  MR.       CLARK:         Yeah.           I think          we    tried       to

 7   outline       that       like       exactly with              concrete             examples          and

 8   exactly       for    what       it     is.

 9                  It    includes           interactions                like       clicks,          what

10   profile,       pages,          groups,        and       events       the       users       have

11   visited,       the       usage       data,        the    device          data,       for

12   instance,       data       about        the       user's       activity             level,

13   advertisers          with       which        the    users       interacted,                IP

14   addresses,          IP    address,           where       they       have       users       that          a

15   user    has    chosen          to    see     less       or    see    first          in    news

16   feed,    time       spent       watching           from       a page          of    the    watched

17   product,       people          whose       profile           a user       has       visited,

18   last    location,          last       active        time.

19                  I could          keep       going        through          lists,          but    we

20   tried    to    provide          like       a good        set    of       examples          of       what

21   are    observed.

22                  MR.       GARRIE:           All     right.           So    I'll       get       to

23   Counsel       Weaver's          question           in    a few minutes.

24                  But       what       I don't        understand             is       how    are       you

25   collecting          it?        Are    you     using          like    API?           Like       I



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 1   guess       what          I'm       trying       to    understand           is,    there's       a

 2   lot    of       data       you       can    observe.            Right.        There       has    to

 3   be    --    is       there          a table       schema?            I mean,       is    there

 4   some       --    I mean,             are    you       collecting        it    into       tables?

 5   I'm    just          trying          to    understand           how    is    it    actually          --

 6                        I appreciate                the    examples.            They       were

 7   helpful.

 8                        What       I'm       trying       to   understand            is,    how    is    it

 9   actually being                      collected          from     an    on-platform

10   activity?                 Is    it    being       stored        to,    like,       the    --    like,

11   how    is       it    actually working?

12                        MR.       CLARK:         Through         the     series       of    examples,

13   they're          all       not       stored       in    one     place.        Like,       they       are

14   part       of    the       product.

15                        So


M

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18                        Examples             like


M

.

.
22                        MR.       GARRIE:           But    there's        no    unified

23   perspective                of       where     all      of   the      user    observed          data?

24   Like,       there's             no    observed          data      table      set    or    object

25   or    schema          or       --    because          I guess        by product,



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 1   different       data       is    --    by     different          use    of       the

 2   product,      different           data        is    observed.           But       a user,

 3   based    on   the     products             they     use,       there's             is    it    in

 4   a schema?

 5                 I mean,           how    is     the       observed       data       being

 6   collected?           Is    it    going        into       a schema,          in    a table,

 7   and    then   associated              or    on     the    platform          or    is    it    by

 8   product?        Is    that       how       that's        working?

 9                 MR.     CLARK:

10                 MR.     PATEL:           Yeah.            I was    just       going       to    --

11                 MR.     CLARK:           Mr.       Patel.

12                 MR.     PATEL:           Yeah.            Like,




17                 And     what       we    do     is    the    ones       that       are    --    like

18   the    ones   that        we    have       access        to,    like    that's          the

19   whole                           question           that    you       had,    we're       able

20   to    produce      those        in Activity              Log.        While       we're       also

21   producing       those          in Activity              Log,    we    can    produce

22   those    in   DYI.

23                 So     some       examples           of    it,    you    know,


M

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 1                          for    eventually           to    be       downloaded          in    DYI.

 2                     MR.    GARRIE:           Okay.         So       then    is    the      observed

 3   data    generated             from     the      warehouse           via       data

 4   pipelines?              Is    that    how       that's        working          on    a

 5   product-by-product                   basis       or

 6                     MR.    PATEL:           I don't        know       the       intrinsic,

 7   like,    pipeline             of    the    pages        you       may use.           I don't

 8   know    if    Eugene          knows       it.      But       I would          suspect       that

 9


M

M

M
13                     MR.    ZARASHAW:              I could           try    to    help      you     out

14                     There       are    a number           of    different

15   infrastructure               pieces        that       can     be    used       for    this

16   purpose.           Each product              team       decides          at    the    time

17   they're       implementing                the    product           what       outcome

18   they're       trying          to    achieve        and,       therefore,             which

19   pieces       of    the       infrastructure              can       best       match      the

20   outcome.

21                     So    if    I could        use      a couple           examples.              One

22   would    be,       let's       say,       you    like        a page       on    Facebook.

23   That    specific             example       happens           to    immediately             go

24   into               but       the    fact     that       you       liked       the    page       is

25   recorded          in



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 1   because          in    order       for       this    to    work,          you       need    to    also

 2   be    able       to    see    that       you     liked         that       page       next    time

 3   you    reload          that       page,       which       means       there          has    to    be

 4   immediate             real-time          access       to       the    fact          that    you

 5   liked       it    available             through       the       web       content.

 6                     There       are       other       cases       where          we    might       have

 7   observed          data       like,       let's       say,       the       IP    address          a

 8   person       is       visiting          from.        We    might          not       even    use      it

 9   and    it    ends       up    in               as    a log          and    that       might       be

10   the    end       of    it.        It    just     sits      in

11                     So    it    really          depends          on    somebody          coming          up

12   with    the       scenario             for    how    the       data       is    to    be    used

13   before       anything             is    done    with       it.

14                     MR.       GARRIE:           Based       on    the       product          usage

15   effectively,                and    then       from    that          you    can       find    the

16   observed          data       by    the       product       that's          used       by    the

17   user.

18                     MR.       ZARASHAW:            Exactly.             And       how    that

19   product          team       chose       to    implement             that       specific

20   observed          data.

21                     MR.       GARRIE:           And    then       observed             data    sounds

22   like    can       come       from pretty much                   anywhere.              I couldn't

23   tell    from          the    examples.

24                     From what             I could       tell,          I'm       just    trying          to

25   list    out       where       observed           data      is       collected          from       about



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 1   a user,       and       it    looks          like       it    comes          from    lit-       --

 2   like,       based       on my       examples,                you    cover          pretty much

 3   everything.

 4                  MR.       CLARK:              Yes.           That    goes       back       to    like

 5   that's       why    we       walk       through             those       in

 6   And    even    just          looking          through my                own,       like,       I have       a

 7   very,       very    consistent                observation.                    Like,       that       is

 8   the    intention             of    the       observed          data.

 9                  MR.       GARRIE:              But       observed             data    can       be

10   stored       based       on       how     the      product          is       built       and

11   architected.                 It    may be          stored          in    the                    It    may

12   be    stored       in                   It    may be          stored          in

13   Like,       I don't          think        it's         directly          to                          but

14   somewhere          it    ends       up       in                         somehow          that       goes

15   to    the    social          graph       or       MySQL       or    whatever             the

16   engineer       and       the       privacy             team    thinks          is    the

17   appropriate             resource             and       it    controls          for       that

18   observed       data          to    treat          it    accordingly                and    store       it

19   accordingly.

20                  So       then       how much             --    so    then       the       other       thing

21   I'm    trying       to       figure          out       is    how much          observed             data

22   is    stored?           For       example,             like    how       many page             visited

23   are    stored,          how many             group          visits       are       stored,          how

24   many    devices          is       the    data          stored       about?           You       know,

25   sort    of,    is       there       any       limit?



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 1                     MR.       CLARK:            Could you              clarify          what    you       mean

 2   by    that       question?

 3                     MR.       GARRIE:             So    observed             data,       you    can

 4   observe          all    sorts          of     things;           right?           The    question

 5   is,    how much             observed            data       is    actually             stored       about

 6   a user          and    how many pages                  --       do    you       know    how many

 7   pages       are       stored?              Like,      is    that          stored       for    how

 8   like       --    like,       is       there       anybody            that       would       know    or       is

 9   it    on    a per-product                   basis?

10                     MR.       CLARK:            It's     --       because          of    our    scale,

11   that's          going       to    be


M

.

.
15                     And       are       you     looking           for       the    quantity          of

16   like       how many          clicks           were     tracked             or    are    you    looking

17   for    the       number          of    places?

18                     MR.       GARRIE:             What       I'm       looking          for    is,    so

19   let's       say       you    deprecate               how many             clicks       are    tracked.

20   Right.           How many             --     like    how        many       --    I guess       how

21   much       do   you     store,             like      for    a user          is    actually

22   stored,          but    it       sounds         like       that's          determined          by       the

23   product          and    then          the     product           defines          the    amount          of

24   observed          data       and       the      timeline             it    will       store    and

25   capture          it    for.           Is     that     it?



                                                                                                  Page       55

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 1                  MR.      CLARK:


I
I
 4                  MR.      GARRIE:           So    then my          next    question             is,

 5   I'm    reading         over    the     DYI      and AYI.           So    then       --    well,

 6   I'll    give      you    a practical             example.

 7                  For      a while        I was      pretty          good       at    losing

 8   phones,      like       masterful          actually.              So,    I mean,

 9   believe      it    or    not,       I don't       know       if    I'm       on my       20th,

10   but    let's      just    pretend          I am.           I'm    on    my    20th       phone

11   and    do   you    have       all    of    them       or    just       the    last       or    is

12   that    product         specific?

13                  MR.      CLARK:         I can      share,          based       on   my     own

14   AYI    file,      I observed           multiple            devices       that       I've

15   switched       over      time.

16                  MR.      GARRIE:           But    I guess          it    depends          on    the

17   product;       right?          The     mobile


M
M
M                , then       says       this       belongs       in    the       DYI    file.           So

21   it's    sort      of    driven        that      way    rather          than


M
M
M                                                    I mean,          people       have       Palm

25   devices      still,       so...



                                                                                         Page       56

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    1                  MR.    CLARK:        There    are


I                                                                                         and

    3   part    of    that    as    well.

    4                  MR.    GARRIE:        So    there       are


I                                                    as     well?

    6                  MR.    CLARK:        I cannot        specifically            say    for

    7   observed       data    versus       other    kinds          of   data.      I


I

    9                  MR.    GARRIE:


M
M
12                     MR.    CLARK:        I could       not       speak    directly       to

13      that,    but    --

14                     MR.    GARRIE:        That's       okay.

15                     MR.    CLARK:        --


M

17                     MR.    GARRIE:        I understand.

18                     And    so    then    I guess       my     other      question       I

19      was    trying    to    figure       out,    is    all       observed       data

20      included       about       a user    included          in    the    DYI    file,    the

21      DYI    tool?     Sorry.        You    called        it      a tool.        The    DYI

22      tool.

23                     MS.    RING:        I think       Mike       is   locked     up.

24                     MR.    GARRIE:        My    kids     do      that    when    we're       in

25      school       sometimes.        When       they're        having      remote



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 1   school,       they pretend              to    freeze       like       this.

 2                  MR.       CLARK:         I didn't          know    if    that       was    you

 3   freezing       or    me    freezing.

 4                  MR.       GARRIE:           That's        fine.        Okay.

 5                  So    the       question           I asked       is,    is   all     observed

 6   data    included          in    the     DYI       tool?     I couldn't             tell.

 7                  MR.       CLARK:         There       are          you    know,       I can

 8   talk    to    some       principles           on    why we       would      not     include

 9   something.           And       I think        an    example       of    something          that

10   might    be    observed might                 be    some    behavior          that,       you

11   know,


M

.

.
15                  There       is    some        observation          that,       you    know,

16   you


M

M
19                  MR.       GARRIE:           There's        data    in    the    observed

20   data    bucket       that's          not     in    the    DYI    file.        It    will

21   vary    based       on    product          basically        is    what      you're

22   saying.

23                  MR.       CLARK:         Based       on    product       and    based       on,

24   like,    the    set       of    --    you     know,       it's    we    can    associate

25   directly       to    you       or,    you     know,       it's    something          for



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 1

 2                  MR.       GARRIE:           So       is    there          any way       to    know

 3   what    is    excluded?

 4                  MR.       CLARK:           The       items          that    meet       those

 5   criteria,       but       I don't          have          an    answer       beyond          that.

 6                  MR.       GARRIE:           And       then          because       I'm    just

 7   wondering       like       if       there       are       individual             fields          that

 8   are    excluded          from       the    schemas             or    there       are    entire

 9   tables       that    are       not     included               for    observed          data.           Not

10   trade    secrets.              Observed             user       data.

11                  MR.       PATEL:           We've          included          the    most

12   meaningful          ones       that       we    believe             that    users       want.

13   Like,    there's          obviously product                         experiences             that

14   we've    kind       of    excluded             out.

15                  For       example,          if       you       --    we    have    a product

16   like    Marketplace.                 If    you       open          Marketplace          for       the

17   first    time,       we    may       show you             an       introduction             to

18   Marketplace          and,       like,          what       all       the    --    this       is

19   hypothetical.              So       like       an    intro          screen       to    like       what

20   all    the    buttons          on    Marketplace                   are    I believe          we

21   provide       when       you    open       Marketplace,                   but    we    wouldn't

22   provide       you    with       the       information                that       you    went

23   through;       the       tour,       for       example.              That       seems       to    be

24   meaningless.              It's       also       duplicative                in    that       sense.

25   But    that    is    for       the    product             experience



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 1   specifically.

 2                     MR.       GARRIE:        So    then       there's       no       delineated

 3   way    to    determine             what    individual             fields       in       tables

 4   from    the       observed          data       per    product          have    been

 5   excluded          from       the    DYI    file       as    we    sit    here       today

 6   unless       you       go    to    each    product          and    figure          it    out;

 7   right?

 8                     MR.       PATEL:        Yeah.           Correct.

 9                     MR.       GARRIE:        Again,          no    decisions          are       being

10   made    here          just    to    head       off    any       questions.              I'm    just

11   asking       questions.

12                     MS.       RING:        Special          Master       Garrie,          I was

13   going       to    suggest          maybe       a break,          but    I was       also

14   wanting          to    maybe       let    you    get       through.           I know          you're

15   going       category          by    category.              So    I don't       want       to

16   interrupt             that    flow.

17                     MR.       GARRIE:        Counsel          Weaver,       you       have       a

18   question.

19                     We    are       going    to    take       a break.           Well,          first

20   we're       going       to    take       Counsel          Weaver's       question.

21                     MS.       RING:        Oh,    okay.

22                     MR.       GARRIE:        Then       we're       going       to    take       a

23   break.

24                     Just       so    we're       all    clear,       the    next          category

25   is    off-platform,                Category          2.     So    we    want       to    keep      our



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 1   questions          limited          to    Category          1,    on-platform.

 2   That's       what       we're       talking          about.

 3                     Counsel          Weaver.

 4                     MS.    WEAVER:           Understood.

 5                     For    on-platform             activity          just

 6   descriptively,                would       drafts       of    posts       or    drafts    of

 7   messages          be    included?

 8                     MR.    CLARK:           I would          not    know.

 9                     MR.    GARRIE:           Wait.           I was    --    I was       going    to

10   say    I          no.        It's    all       right,       Mr.    Clark.        I get

11   engineers          want       to    answer       questions.              I'm    the    same

12   way.        When       my wife       asks       me    questions,          I just

13   automatically                answer       them.        Well,       for    many

14   additional             reasons,          which       I just       answer.        I guess

15   it's    the       fastest          way    to    avoid pain.

16                     But    the       point       being       is,    I was       interested       in

17   that    question             as    well.        So    if    you    wouldn't       mind

18   answering,             Mr.    Clark,       the       question       or    anybody       else.

19                     MR.    CLARK:           With       that    specificity,             I would

20   not    know without                needing       to    do    further          research.

21                     MR.    GARRIE:           I mean,          it's    a

22   product-by-product                   basis;          right?        And    there's       a ton

23   of    deprecated             products          and    I assume,          based    on    the

24   size    of    the       datas       that       we're       looking       at,    there's       a

25   lot    of    it    and       it's    compressed             and    everything          else.



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 1                  So    they       would       need       to    go    back    and       look    on    a

 2   product-by-product                   basis.

 3                  MS.       WEAVER:           I would          just       state

 4   Facebook       Messenger             is    Facebook's             own    product       and    I

 5   think       that    would       be    helpful.

 6                  MR.       GARRIE:           We're       only       talking       about

 7   Facebook,          though.

 8                  MS.       WEAVER:           Okay.        Fine.

 9                  And       then    the       second       question          is    the    time

10   period       overall,       Special             Master       Garrie.           It    would

11   be    --    I don't       know       if    we're       talking          present       when

12   you're       receiving          your       answers.              Maybe    you       are,    maybe

13   the    witnesses          aren't,          but    it    does       seem    like       there's

14   some       ambiguity.

15                  MR.       GARRIE:           I'm    assuming             we're    only

16   talking       as    of    today,          not    anything          deprecated          in    the

17   past.

18                  Is    that       an     inaccurate            assumption,             Mr.    Clark

19   or    Mr.    Mitchell       or       Mr.    Patel       or       Mr.    Zarashaw?           We're

20   talking       about       the    way       it    exists          today,    not       the    way

21   it    existed       in    the    past;          right?

22                  MR.       CLARK:           That    is    accurate          and       correct.

23                  MR.       ZARASHAW:              Correct.

24                  MR.       PATEL:           Correct.

25                  MR.       GARRIE:           You    got       to    say    yes,



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 1   Mr.    Mitchell,          because          they       won't       transcribe             it

 2   otherwise.

 3                  MR.       MITCHELL:              Yes.

 4                  MR.       GARRIE:           I give       thumbs          up,       too,       and

 5   then    people          get    confused          when       they       read       the

 6   transcript.

 7                  All       right.        So       we're       going       to    take       a

 8   five-minute             break,    if       that's       okay       with       everybody,

 9   and    then    we'll          adjourn.           I appreciate                it.

10                  Is       that    all    right?           Do    you       guys       need       more

11   than    five       minutes?           Do    you       want    ten       minutes?

12                  MS.       RING:        Maybe       ten       just       because          by    the

13   time    we    get,       whatever,          and       people       can       go    get       a drink

14   or    whatever.

15                  MR.       GARRIE:           Yeah.        Hopefully             the       JAMS

16   moderator          is    here    and       everybody          can       go    to    their          own

17   rooms.        If    not,       that    means          I got       to    assign

18   everybody.              I'll    just       open       all    rooms,          then       I'll

19   close    them       all.

20                  THE       COURT    REPORTER:                 Are    we    off       the       record?

21                  MR.       GARRIE:           Go    off    the       record          and    strike

22   the    last    three          sentences.

23                  MS.       RING:        I'm       not    sure       you    can       do    that,

24   Mr.    Garrie.

25                  (Recess          taken.)



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 1                     (Off       the       record       at    11:36       a.m.           Back    on       the

 2   record       at    11:54          a.m.)

 3                     MR.       GARRIE:           We'll       go    back       on       the    record

 4   and    get    started.                 Back    on       the    record.

 5                     We    finished             Category          1,    on-platform

 6   observed          data,          and    we're       now       going       to    Category          2,

 7   off-platform.

 8                     So    my       question          here,       and    I did          my best          to

 9   try    to    understand                the    information             that          was    provided

10   in    the    prior          information             and       all    of    that       so    I keep

11   it    efficient,             what       type       of    third       parties          provide

12   off-platform                activities?                 Like,       I couldn't             figure

13   out    based       on       my    look       through          the    DYI       file.

14                     So    I want          to    know       what       type       of    third

15   parties       provide             off-platform                activities?

16                     MR.       CLARK:           Third-party             developers.                 So

17   that    could          be    third-party                developers             using       the    SDK.

18   It    could       be    third-party                developers             integrating             with

19   the    ads    API.

20                     MR.       PATEL:           Mr.    Garrie,          it's       specifically

21   developers             that       have       integrated             our    business          tools.

22   So    it's    not       any       app.        It    is    basically             developers

23   have    chosen          to       integrate          the       business          tools.           Like

24   app    SDK,       Pixel          is    another          example,          Facebook          social

25   plug-ins,          CAPI          is    another          one,    conversion API                   --



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 1   apologies          for    that      acronym          --    and    the       ads    API.

 2                  MR.       GARRIE:          Is    there          a list       of    all    of

 3   the    --    you    gave      me    a list          of    products,          but    what       I

 4   couldn't       figure         out     is,      so    it's       integrating             the

 5   integrates          to    Facebook's            app       business          tool    API.

 6   Does    that       include         deprecated?

 7                  MR.       PATEL:          What       do    you    mean       by    deprecated?

 8                  MR.       GARRIE:          I can          walk    you    through          the

 9   license       --

10                  MR.       PATEL:          What       do    --

11                  MR.       GARRIE:          --    (inaudible)             community.

12                  MR.       PATEL:          Sorry?

13                  MR.       GARRIE:          Ones       that       you    no    longer       want

14   to    offer    to    the      development                community,          but    people

15   have    built       against         and     have         invested       substantial

16   resources          and    time      to    integrate             into,       but    you    don't

17   want    to    make       it   available             to    other       new people,             but

18   you    keep    it    around         for     deprecated.                Like       Windows       95

19   still       works.        It's      completely             unsupported             and

20   there's       no    patching          for      it,       but    you    can       still    turn

21   on    a Windows          95   computer          and       still       use    Windows.

22                  MR.       PATEL:          Maybe       I'll       walk    you       through       how

23   a developer          integrates             the      Facebook          business          tool

24   because       I don't         understand             the       analogy       with

25   Windows       95.



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 1                  MR.    GARRIE:              All    right.              So    basically          I'll

 2   give    you    a specific              example         based          on    what    I read

 3   from what       you       guys       gave       me.

 4                  Say    I was                           five       years       ago    and       I

 5   integrate       into       a now          no    longer       available             Facebook

 6   business       tool.        Five          years       ago    there          were    business

 7   tools    available          that          are    no    longer          available          today,

 8   but    I've    had    substantial                resources             to    integrate

 9   that.     You've          turned          off    --    you       no    longer       offer

10   that    service       to    the       marketplace,                but       you    have       an

11   agreement       with                           that    says       we're          going    to

12   provide       this    SDK       to     integrate.                You       agree    to    do

13   this,    we    agree       to    do       that    and       we    will       continue          to

14   support       it,    but    you       no       longer       offer          that    as    a

15   developer       SDK       for    any       net    new people                or    companies.

16                  I mean,          I can          cite    interrogatories.                       You

17   have    literally          lots       of       them.

18                  MR.    PATEL:              In    your    question,                would    that

19   database       be    in    OFA?

20                  MR.    GARRIE:              Well,       my    question             is,    do    you

21   still    --    do    they       --    when       you    said          business          tools,

22   my    question       was    is       it    deprecated             business?              Is    it

23   just    business          tools        today      or    is       it    business          tools

24   since    2007?

25                  MR.    PATEL:              It    would       be    --



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 1                     MR.    ZARASHAW:              There       are       a number             of    --

 2                     Go    ahead,       Mayur.

 3                     MR.    PATEL:           No.        Go    ahead,       Eugene.

 4                     MR.    ZARASHAW:              There       are       a number             of

 5   platform APIs                we    have    fully          deprecated             over       the

 6   years       where       we    --    one    of    the       changes          in    platform

 7   1.0    to       2.0    was    the    introduction                of    a deprecation

 8   process          where,       for    a lot       of       the    APIs,       they          truly

 9   stopped          working          after    a certain             number          of    days       after

10   being       deprecated             and,    yes,       it    meant       that          all       persons

11   have       to    update       their       software          to    deal       properly             with

12   it,    but       we    don't       leave    every          single       integration                   in

13   API    running          in    perpetuity.

14                     MR.    GARRIE:           My    question             is,    when          you    say

15   Facebook          business          apps    that          they    integrate                to    the

16   SDK,       do    you    have       a list       of    which       apps?           Like,

17   because          those       were    available             in    the    marketplace,                   but

18   there       are       ones    that    are       no    longer          available             that,          I

19   assume,          you    still       have    agreements                with       developer

20   third parties                where    you       have       to    continue             to    support

21   it    at    some       level.

22                     MR.    ZARASHAW:


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M

M

                                                                                                Page       67

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 1


I
I                                                          for       certain             features          of

 4   the    developer             platform           there          is    just       a very          simple

 5   sign-up       process          that          does     not       require             review unless

 6   they    want       access          to     the      features           that          do    require

 7   review.

 8                     So    an    example           would          be    if    a website             wanted

 9   to    put    a light          button          there,           anyone          is    free       to

10   register          an    app    ID       on    Facebook              and    put       a light

11   button       on    their       website             and     that       would          be    an

12   integration             or    an    app.

13                     MR.    GARRIE:              That's           how    I understood                   it    as

14   well.

15                     So    my    question             then        becomes,             at    a practical

16   level,       third-party                --    and     I guess             we'll          get    to    this.

17                     You    know,          one     of    the       business             tools       listed

18   is    off-line          conversions.                  So       that's          what       I have          a

19   particular             question          about        because             I didn't

20   understand             what    that          tool     actually             does.

21                     But    before          we     get       to    that,          I guess          there's

22   no    easy    way       --    well,          you     at    least          have       --

23                     So    anybody           that       integrates                with       Facebook

24   APIs    or    SDKs       as    a third             party may              be    providing

25   off-platform             activity             back        in    some       level?



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 1                  MR.    ZARASHAW:              Yes.

 2                  MR.    GARRIE:           Just       at    a high       level,       where       is

 3   data    collected          via    the    business             tool    stored?

 4                  MR.    ZARASHAW:              So    that       goes    back    to    the

 5   pattern       from    earlier,          which       is    the       business       tools

 6   are    an    external       facing       set       of    interfaces,          i.e.,       the

 7   Graph API       and    some       other       tools,          that    front    a number

 8   of    products.

 9                  So    depending          on    the       product       represented,

10   the    storage       could       be    different.              It's    however       that

11   product       chose    to    store       the       data       that's    relevant.

12                  MR.    GARRIE:           The       data    that's       collected          via

13   business       tools,       is    it    extracted             and    processed       all       on

14   the    data    pipeline          from    the       warehouse?           Is    that    how

15   that    works?

16                  MR.    ZARASHAW:              Not    necessarily.              Again,       it

17   would       depend    on    the       product.           So    some    specific

18   products       may    use                                              for    the    right

19   immediately.           Some       products          may       use

20   Some    products       may       have




22                  MR.    GARRIE:           And       these       products       will    define

23   how    the    data    is    extracted             and    processed       and       where       it

24   gets    stored?

25                  MR.    ZARASHAW:              Yes.



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 1                        MR.    GARRIE:              Okay.           And       then       so    I

 2   understand                the    off-line             conversion,                what       is    that,

 3   business             tool?

 4                        MR.    PATEL:              The    off-line             conversion

 5   business             tool       --    and       I'm not          an    admin          engineer,          but

 6   I will          give       you       a high-level                summary          of       what    it

 7   is    --    is       when       an    advertiser             advertises                on    our

 8   platform             and    wants          to    understand                store       sales,       so    not

 9   specifically                website             sales       that       they may             have,       they

10   can    upload             information                about       purchases             that       happened

11   in    their          store       with          specific          PII       and    we       would

12   attribute             it    back          to    users       that       may       have       seen    their

13   ad    in    order          to    provide             them    with          a return          on    ad

14   spend.

15                        MR.    GARRIE:              Yeah.           So    you're          basically

16   giving          them       the       Holy       Grail       of    walk       in       the    store,       see

17   a digital             ad,       can       I connect          it       to    a sale.

18                        Okay.           And       then    is    there          documents                   I'm

19   trying          to    think          of    a better

20                        Each       business             Facebook          business             tool,       does

21   it    have       its       own       documentation                about          --    about       what

22   data       is    collected?                    And    not    just          today,          but    for

23   whatever             is    --    not       only what             you       offer       today,       but

24   what       has       been       offered;             what    is       still       available,             not

25   necessarily                offered.



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 1                     So    I'm       distinguishing               between          offered          and

 2   available.              Offered means               we       promote          this    in    the

 3   marketplace.                 Available            means       you       know    it    exists,          we

 4   got    permission             to    use      it,    it's       available             to    you.        So

 5   I'm    distinguishing                   between         the    two.

 6                     So    my    question            is,    for       any business

 7   product,          is    there       documentation                  --    for    each       business

 8   product       that       is       available,            is    there       documentation

 9   about       where       the       data     is     collected             and    stored?

10                     MR.    CLARK:            So     tying       to    that       question,          for

11   each    of    the       business           products           --    and       I hope       this    is

12   answering          your       question,            Special          Master          Garrie.

13                     For    each       of     the     business             product

14   integrations,                we    do    have      very       extensive

15   documentation                for    those         business          products          that

16   instruct          the    engineer            or    developer             or    third party             on

17   how    to    integrate             in    detail         on    the       data    that       is    part

18   of    that    integration                and      how    to    use       that       and    all    of

19   that    is    public          documentation.

20                     MR.    GARRIE:             Yeah.           I looked          at    the

21   engineering             website.

22                     So    is    that        for     anything          that's          available          or

23   only    what       is    offered?

24                     MR.    CLARK:            So     we're       talking          specifically

25   about       the    business             products         integrations                here.        We



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 1   have    our    third-party                developer          platform,           which       you

 2   probably       saw       that       documentation             as     well.

 3                  MR.       GARRIE:           They're          different,           though.

 4   They're       completely             different.

 5                  MR.       CLARK:           They       are    completely           different.

 6   That    is    correct.

 7                  MR.       GARRIE:           Yeah.           I mean,     called

 8   Search       and    State.           They're          different        objectives

 9   and,    I mean,          both       code.        We    can    both     agree          they're

10   software       code,          so    --    and APIs,          but     they're

11   different.              Right.

12                  So       the    business          products          that     are

13   available,          is    that       true       for    all    of     them      that     are

14   available          or    only       --

15                  MR.       CLARK:           So    for    all    of     those       programs,

16   that    documentation                is    available.              That     is    not     to

17   say    that    there          are    not       additional          APIs     that      are

18   developed          as    part       of    this,       but    those     --      like,      for

19   instance,          I think          a good       example        of    this       might       be

20   the    measurements                API,    which       is    available           to   a

21   limited       number          of    folks       to    help    with     ad      measurement ,

22   for    instance.              But    those,          any APIs        that      are

23   developed,          I'm going             to   broken        record       it     a little

24   bit,    like       are    part       of    bott.

                                                                                      that     goes



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 1   through       and       reviews          any    additions           or    changes         how

 2   people       integrate             any    data,        read    or      write,          that    is

 3   shared       to    make       sure       that     we    have    proper            consent       and

 4   everything             else       in   addition         to

 5   which    would          make       sure     that       that    data       would         end    up    in

 6   DYI.

 7                     MR.       GARRIE:         I'm      just     thinking            about       the

 8   answer.

 9                     MR.       CLARK:        Oh,     yeah.

10                     MR.       GARRIE:         Are      there     private            APIs    for

11   business?

12                     MR.       CLARK:        I am       aware     of      the     business

13   products          API       platform,          but     I --    I personally               don't

14   know    of    any.           That      doesn't         mean    that       they         don't

15   exist.

16                     MR.       GARRIE:         They       would    have         to    be

17   documented             at    some      point.

18                     MR.       CLARK:        Correct.

19                     MR.       GARRIE:         There       would       be    some         process.

20                     Who       has    the    --    so     then    who       has      the    master

21   list,    so       to    speak?           Who    runs     the    API,




23                     MR.       CLARK:        The                     is     run      by    our

24   developer          platform            team     and     they      do     the      reviews       of

25   those.



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 1                     MR.       GARRIE:           They    would        have       a list,          I

 2   assume,          of    the    work       they       do;    right?

 3                     MR.       CLARK:


I

I

I
 7                     MR.       GARRIE:           I'm    not     saying       I want          any

 8   list,       just       to    repeat       myself          again.         I'm       just       trying

 9   to    figure          it    out.

10                     And       then    for       the    off-line           conversion             tools,

11   I guess          there's       a specific             person        at    Facebook             for

12   each    of       these       tools       that       would     tell       me    where          --

13   what's       collected,             where          it's    stored,        where          it's

14   extracted,             and    where       it's       processed.               Is    that       an

15   accurate          assumption             or    can    somebody           here       answer          the

16   question?

17                     MR.       CLARK:        For       that     full       life       cycle,          that

18   would       be    product          by product.               I believe             for    some       of

19   the    OFA       components,             which       is    the     acronym we             use       for

20   off-line          activity,          that          Mayur     can    speak          to    elements

21   of    the    life          cycle    of    that       data     and       how    we       present

22   that    back.

23                     MR.       GARRIE:           So    then     for    off-line             --    for

24   off-line          conversion             tools,       where        is    that       data

25   stored?



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    1                     MR.    PATEL:         Yeah.         The       data       that's          pulled

    2   or    basically          effectively            brought             into       the    OFA

    3   transfer,          which       then     would        be    brought             into       DYI,    is

    4   stored       in                 We     store     it       on    a


I                                                                                                   We    then

    6                                                                             as    well       as

    7                     and    then


I                                       and

    9   and    that's          what    we    effectively upload                        into       OFA    and

10      then    eventually             to    DYI.

11                        I don't       know      if    that       answers             your       question

12      or    what    you're          looking        for.

13                        MR.    GARRIE:          So    you       store       it       in    the

14      and    then       you    use    Dataswarm            to    schedule             and       that

15      runs    the       processes          that      then       pipes       the       data       out

16      into    --

17                        MR.    PATEL:         It     has    to       be    --    it       has    to    be

18                                                                           Because          you       could

19      think    of       it    the    data     is     stored          at    that       level.


.

.

.
23                        MR.    GARRIE:                                                                 N
M

25                        And    that's       done      in                  and    then       piped       out



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    1   to    --    where          is    that       piped    to?

    2                     MR.       PATEL:           That's     then


I
I
I                                                    That    is,     since    all    the    data       is

    6   now    on    a


I

    8                     MR.       GARRIE:           And    the     data    is    stored       in

    9    (inaudible).

10                        THE       COURT       REPORTER:            We    can't    hear    you.

11                        MR.       PATEL:           Sorry,     Special       Master       Garrie,

12      we    lost       you.

13                        MR.       GARRIE:           Sorry.         I was    just       thinking.

14                        So       then


M
M                                                     I guess?

17                        MR.       PATEL:           Yeah.      Correct.           Like,    you      can

18      think       of    the       data,       when      you   store       the    data    in

19      you're       storing             it    on    commodity        kind    of    hardware,          so

20      like       think       of       hard    disks;       and     then    when    you're

21      storing          it    in                    you're     storing       it    --    and    I'm

22      going       to    speculate             here.        I don't        know    the    exact

23      internals             of                    but   I assume        you're     storing         it

24


M                                                                                                I'm



                                                                                           Page      76


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 1   not    exactly          sure,       but        it's       not       a hard       drive.

 2                     MR.    GARRIE:               So    then          --    so    then    is    there

 3   then    documentation                   about        how       Facebook          processes             the

 4   data    they       get    from          business              tools       or    is    it    by

 5   product?

 6                     MR.    PATEL:            It       is    by       product.

 7                     MR.    GARRIE:               There          is    documentation                for    the

 8   conver-       --       off-line           conversion                business          tool       that

 9   explains          what    you       just        said          effectively?

10                     MR.    PATEL:            What          I explained             is    how       we    take

11   and    summarize          the       data        in       a manner             that    can    be

12   produced          back    through              DYI       and       the    OFA    tool.           There's

13   a lengthy          process          that        goes          into       matching          users.

14   That's       not       part    of,        like,          my    expertise             there.

15                     MR.    GARRIE:               Okay.

16                     MR.    PATEL:            You       are       effectively             taking          the

17   output       of    what       the       team        is    --       the    product          team       has

18   done    and       producing             a summary              of       it.

19                     MS.    RING:            If    I may,             Special       Master          Garrie,

20   just    again          going       to    kind        of       what       Mr.    Patel       focuses

21   on    and    I don't          know        if    this          is    clear,       the

22   distinction             between.

23                     Do    you    know        what          the       OFA    tool       is?     I don't

24   know    if    that's          ever       been        discussed                with    you.        That's

25   what    Mr.       Patel       is    referring                 to.        It's    another



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 1   transparency       tool    that       contains          a subset          of    OFA

 2   information.        So    everything             is    --    you    know,       the       OFA

 3   information       that    goes       into     DYI,      the       OFA    tool       has

 4   like    a subset    of    that       data,       but    I just          want    it       to    be

 5   clear.

 6               MR.    GARRIE:           Yeah.        It's       an    off-line          --       I

 7   mean,    I thought       that    was       the    acronym          for    the

 8   off-line    activity.

 9               MS.    RING:        It    is.        It    is.

10               MR.    GARRIE:           It's     different            than       the

11   off-line    conversion          tool       we're       talking          about.

12               MS.    RING:        Well,       the       off-line          tool.

13   Off-line    conversions          are       one    thing,          then    there's

14   off-line    tool.

15               MR.    GARRIE:           I know.           That's       what       I was

16   talking    about.        Yeah.        I get       it.

17               MS.    RING:        Okay.

18               MR.    GARRIE:           But    I'm       talking       about       off-line

19   tool.     I'm    talking    specifically                about       the       business

20   tool,    off-line    tool       that       was    identified             in    the

21   answer.

22               MR.    PATEL:        Sorry.           Maybe       I'm not          getting

23   this    straight.

24               Like,    the    off-line             conversions             tool       is    just

25   an API    that    advertisers           can      call       into.



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 1                  MR.       GARRIE:              Okay.

 2                  MR.       CLARK:           Let's        step       back          for    one    second

 3   and    we'll    walk          through          this.            That       way    we'll       make

 4   sure    we're       all       on    the       same     page.

 5                  So    one       of    the       business           products             that

 6   somebody       can       integrate             with        is    actually             called

 7   off-line       conversions.                    Off-line           conversions                means       I

 8   either       have    an       event       or     a store          and       I provide          sets

 9   or    details       or    create          a custom              audience          from       that

10   off-line       event          to    drive        that.           We    have       documentation

11   on    that    process          and       how     to    do       that       on    the       business

12   tools       page.

13                  In    the       same       way,        we    have       on-line

14   conversions          that          can    be    measured              or    that       can    be

15   implemented          via       SDK,       whether           --    I mean,             there's

16   different       types          of    calls        and       things          associated             with

17   both    visiting          that       advertiser                 and    certain             kinds    of

18   events.

19                  From       a transparency                    perspective                and    going

20   to    the    other       side       for       what     we       provide          to    the

21   consumer,       we       have       a product              called          OFA.

22                  MR.       GARRIE:              That     part       I get.

23                  MR.       CLARK:           Okay.            And    subsets             of       and

24   sorry.

25                  All       of    OFA       is    included           in       DYI.        Some    of    OFA



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 1   is    included       in AYI.           I just          wanted          to    make       sure       we

 2   were    all    talking          about

 3                  MR.    GARRIE:           No.           No.        That       was       the

 4   documentation.              That       was       the    documentation                   you       gave

 5   me.     Yeah.

 6                  I was       specifically                interested                in    the

 7   off-line       conversion             tool       because          you       referenced             it

 8   and    I was    just       wondering,             but       it's       an    API

 9   basically.

10                  What       I wanted          to    know       isn't          about       the       OFA

11   tool.     My    question,             sorry,          I should          have          been    clear,

12   off-line       conversion             business          tool       is       --    what       I was

13   trying    to    figure          out    is    how       does             it       collects

14   data,    right,       from       off-platform?

15                  MR.    PATEL:           Yeah.           Just       one       clarification.

16                  Like,       Facebook          receives             the       data       from       the

17   advertiser.           Right.           Like,          there       needs          to    be    an

18   action    of    a coral          command          run       or    an    upload          of    an

19   Excel    sheet.           Like    that's                that's          a distinction.

20                  MR.    GARRIE:           That's          what       I thought.

21                  So    if   you     have       to       upload       it,       do       you    know

22   where    --    where       is    it    stored?              Like,       that's          what       I'm

23   wondering       is    where       is    that          information                stored?           Is

24   it    stored    in    the       Hive    or       is    it    stored          somewhere

25   else?



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 1                     MR.    PATEL:


I                                                                                               which          is

 3   a source          for    the       OFA     tool        is    what       I explained.

 4                     MR.    GARRIE:               I get        it.        I get       it.     Yeah.

 5   So    I get       that       part.

 6                     I'm    interested               in    the       off-line          conversion

 7   tool    itself,          not       the     OFA part,              because          the    off-line

 8   conversion             tool    is       collecting               data.        Basically             I

 9   understand             you    collect           data.            I upload.           I run          a

10   business.              I upload           --    put     all       these       widgets          to

11   whoever.           I upload             a spreadsheet.                      You    map    it    to

12   whatever          digital          ad    units,         whatever.                 That    then       gets

13   displayed          back       to    me     as     the       business          owner,       so       to

14   speak,       to    have       my    strategic               ad    spend.

15                     I'm not          sure        exactly           how    it    works,       but       some

16   ROI    that       makes       you       want      to    buy more             ads    effectively

17   in    some    way       or    add       some      ROI       to    the       process       of    the

18   money    I'm       spending             and     I'm     just          wondering          where       does

19   that    data       actually             get     stored           that       they're       uploading

20   for    that       tool?

21                     MR.    PATEL:            Yeah.            So    it    would       be    a variety

22   of    systems.           Like,          our     return           on    ad    spend,       for

23   example,          is    probably           stored           in    some       of    our


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 1                     MR.       GARRIE:           No.        I get       it.

 2                     So    the       off-line          conversion             tool,    when       they

 3   upload       their          data       into    the       system,       what       I'm    trying

 4   to    understand             is    what       data       is    being          so    that's

 5   data    being          collected            via     a business             tool,    right,          as

 6   well    as    the       ad.

 7                     MR.       PATEL:          Uh-huh.

 8                     MR.       GARRIE:           But       that    data       being    collected

 9   is    data    that          the    user's          uploading.

10                     So    my       question          is,    is    the    data       collected          --

11   is    that    --       that       particular             off-line          conversion          tool,

12   is    that    data          being       collected             and    processed,          like

13   extracted          and       processed             on    all    of    the    data       pipelines

14   via    the                  is    my    question?

15                     I was          just       trying       to    figure       out    how       that

16   tool    ran.           If    you       don't       know,       it's    completely

17   acceptable.

18                     MR.       PATEL:          No.         I wouldn't          know    the

19   internal          workings             of    it.

20                     MR.       GARRIE:           That's          fine.        You're       talking

21   about       OFA    and       off-line          conversion.

22                     All       right.          Next.         So    then       broadly       speaking

23   in    the    answers,             I'm moving             forward,          how many

24   advertisers             provide             content       lists       for    generating

25   custom       audiences?                 Like,       do    you       track    that       or    how



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 1   that    comes          through?              I couldn't                figure       that       out.

 2                     MR.       CLARK:           Let       me       see    if    I can       clarify

 3   this    because             I think          --       and       I'll    go       back    to    that

 4   lens    of       like       as    a consumer                when       I download             DYI,    I

 5   can    see       every       custom          audience             that       my    information

 6   was    attached             to    or    who       were          the    advertisers             that

 7   did    that.           We    don't          actually             see    your       information.

 8   We    match       your       information                   because          we    receive       it

 9   hashed.

10                     MR.       GARRIE:              So    then       is    there       documentation

11   on    how    Facebook             processes                the    data       they       get    from       the

12   advertiser?

13                     MR.       CLARK:           There          is    --    so       I'll    answer       this

14   in    two    ways.

15                     There          is    clear          documentation                on    the

16   business          tools          page       on    how       to    upload          and    build       your

17   custom       audience             and       how       to    work       with       that    part       of

18   the    process.              And       so    that          --    that       documentation             does

19   exist,       how       to    set       all       that       up    and       what    fields       are

20   accepted.

21                     I believe             the       other          part       that    you're       asking

22   for    is,       is    there          a document                that    explains          how    that

23   works       internally                and    where          it's       stored.           This    is

24   going       to    be       another          --    like,          it's       product       by

25   product.              So    we'd       need       to       get    a specific             engineer          in



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 1   that    space       to      talk       about       that.

 2                  MR.       GARRIE:             I got          it.

 3                  So      my     question            --    so       to    give       you    an

 4   example.          I'm       a user.           I get          uploaded.                 That    gets

 5   distributed            to     Facebook.                So    it       sounds       like       that

 6   product      specifically                   has    made          --    is    input       into       a set

 7   of    schemas       that         is    product          specific             that       then

 8   aggregates          itself            out    basically.

 9                  MR.       CLARK:             Correct.              Especially             since          it's

10   not    access       --      we    don't       --       you       know,       my    email

11   mike@mike.com               is    not       going       to       be    what       Facebook

12   receives.

13                  We      will       receive          a hash.              And       so    that

14   matching,         like,          occurs.           So       that       one    especially                is

15   processed         in     its      own       unique          way       and    we'd       want       to

16   talk    to   the       product          engineer             from       that       space.

17                  MR.       GARRIE:             And       do    we       know    where          the

18   storage      location             for       custom          audiences             is?        That       was

19   the    other      thing          I couldn't             --       I know       it       ends    up       in

20   the    DYI   file        at      some       point,          but       where       is    it    actually

21   stored?

22                  MR.       CLARK:             I don't          have       that       answer          off

23   the    top   of     my      head.           I would          need       to    clarify          --       I

24   would    want       to      clarify          that,          unless          you    do,       Mayur.

25                  MR.       PATEL:             Yeah.           So    custom          audiences             are



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 1   stored       in                    It's       just     a different                type       of

 2

 3                     MR.       GARRIE:           And     are    the       custom          audiences

 4   then    stored          per       advertiser           or    how       are       they       stored?

 5                     MR.       PATEL:         That       I wouldn't             know.           Like,          I

 6   wouldn't          know       the    schemas           of    how       these       audiences

 7   are.     I just             have    a general              idea       of,    like,          that

 8   system       stores          them.

 9                     MR.       GARRIE:           But     are    all       the       --    and       the

10   reason       why       I'm       asking,        what       I'm    trying          to    figure

11   out,    and       maybe          I should        have       asked          this       first,       are

12   all    custom          audiences           included          in       the    DYI       tool       in

13   total,       all       of    them?

14                     MR.       CLARK:         That       you    are       a part          of    or

15   associated             with.        I think           specifically                in    the       tool

16   it's    advertisers                using        your       activity          or       information

17   and,    to    the       best       of    my     knowledge,             that       is    the

18   complete          set       of    custom        audiences             that       you    are

19   matched       to.

20                     MR.       GARRIE:           I just        want       to    make       sure       I

21   understood             it.

22                     If    I'm       a user        and    I end          up    in    20    different

23   custom user             --       custom       audiences,              every       single          one       of

24   them    is    included             in     the    DYI       file?

25                     MR.       CLARK:         Correct.              To    the       best       of    my



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 1   knowledge,          yes.     And     we    classify          it    as    a list

 2   uploaded       or    used    by     the    advertiser             in    the    DYI    file.

 3                  MR.    PATEL:         Yeah.           There's       a second

 4   category,       too.        Website        or    a custom          --    website       or

 5   app    event    activity.

 6                  MR.    CLARK:         That       is    correct.           Interactions

 7   you    may    have    had    with      the      advertiser's             website,          app

 8   or    store,    which       would      include         your       off-line

 9   information          that    you're        referring          to.

10                  MR.    GARRIE:          Yeah.          Exactly.

11                  So    then    you     get     off-line         information             from       a

12   third-party          integrated           product          about       whatever.

13   That's       stored    by    product         somewhere            in    the

                                                And       then    from       there,       whether

15   it's    from    a third party              or    on    platform,          I get       --    if

16   I get       tagged    in    a custom         audience,            all    of    that's       in

17   the    DYI    file.

18                  MR.    CLARK:         Correct.

19                  MR.    GARRIE:          All      right.        That       was

20   Category       2,    off-platform.

21                  Do    plaintiffs           have       any    questions          they    wish

22   or    further       clarifications              they       think       would    be?        I

23   see    no    hands,    so    I assume           no.

24                  Okay.        So    then     could you          write       a query,          out

25   of    curiosity?           Well,     I guess          --



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 1                  So    then          inferred          data,          how       is    inferred          data

 2   actually       computed?                 Because          I could             not       figure       that

 3   out    from    the       answer.

 4                  MR.       CLARK:           So    it's          derived          and       it's

 5   derived       depending             on    the       type       of    things.              I think

 6   like    there's          --    I'll       use       a couple             concrete             examples

 7   because       I think          it    will       make          it    easier          to

 8   understand.

 9                  I think             one    is    your          primary          location.              We

10   don't    ask       you    your       primary             location,             but       based       on

11   your    location,             we    can    derive             that       that       is    your

12   default       or    primary          location.

13                  Your       time       zone,          we    don't          ever       ask       you

14   specifically             for       your    time          zone,       but       we're          able    to

15   derive       that    based          on    your       primary             location             and    based

16   on    other    sets       of       information.

17                  And       interests             is    one       that's          in       the    list       as

18   well    that       based       on    --    based          on       information,                we're

19   able    to    derive          a set       that       matches             to    that.           Even

20   language,          like       watching          --       or    being          able       to    derive

21   what    your       preferred             language             is    or    language             you    may

22   know    based       on    responding                in    comments             using          other

23   languages,          able       to    derive          a set          of    information                like

24   that.

25                  MR.       GARRIE:           Is       there          a list          of    the    data



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 1   sources       used    that    identify             the    derived         datasets?

 2   Because       derived       data    varies          by    definition,           but    it's

 3   another       data;    right?        So       is    there      --

 4                  MR.    PATEL:        Is    there          a particular           type    of

 5   data    that    you're       interested             in?

 6                  MR.    GARRIE:        Well,          for    all      of    us,   the    judge

 7   said    all    data    on    derived.              It    wasn't      limited.

 8   Derived       data    was    very    broadly             defined.          So   I would

 9   welcome       any    insights,       whether             narrow      or    broad.       The

10   judge    did    not    delineate          derived          data      from geo

11   location       or    from phone          or    from       third party.            It

12   wasn't    delineated.

13                  MR.    PATEL:




                          I'm not       the    expert          in   that.



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 1


I                                                                                  and       we    want       to

 3   make       sure       that,    you       know,        we    produce           the       right

 4   communication                mechanism back                 to     the    user          there       as

 5   well,       the       right    language.

 6                     So    these       are        just    broad        set       of    examples.

 7                     MR.    GARRIE:               So    I guess        what       I'm       trying          to

 8   figure       out       is,    what        is    the    source        of       the       data       that

 9   is    derived          data?        It's        all    --     like,       is       it    --    I mean,

10   I get       it's       computed          based        on    some     algorithmic

11   analysis          that       you    perform.

12                     MR.    CLARK:            It       connects        back       to       one.        Like,

13   my    on-platform             activity,              that     is    the       mix       of

14   that's       both       --    from       a category perspective,                              that's

15   both       the    user-provided                 data,       the     things          like

16   preferred             location,           like       the    first        place          is    what       do

17   you    put       as    where       you     live       right        now,       but       also

18   observed          data       and    that        observed           data       is    IP       address,

19   it    is    everything             else        that    I interact              with.

20                     So    I believe              --    I believe           mine       currently

21   says       that       I live       in           my    location           as    it       says       in    my

22   DYI    is    Denver,          which        is       accurate,        but       I believe                my

23   profile          says    I live           in    Oakland.            So    it's          based       on

24   this       combination             of     first-party              activity             as    we

25   outlined          in    one    for        this       derived        data.



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 1                     MR.       GARRIE:        What       about       off-platform

 2   activity          as    well?        Does       the    off-platform               activity

 3   factor       into       derived          data    analysis?

 4                     MR.       CLARK:        Not    --

 5                     MR.       GARRIE:        Because          you       put    examples            in

 6   there       about       like       music    or       recommendations.

 7                     MR.       CLARK:        A couple          of    things         that       we

 8   refer       to    as    --    and    this       is    where,          like,      defining             on

 9   or    off    platform,             things       that       aren't       Facebook,            like

10   the    portal,          the    frames       that       we    talked          about,         my

11   voice       interactions             are    derived          data       that      I have

12   access       to.        It's       a product          that       we    make,      but       it's

13   not    on    the       Facebook          platform.

14                     MR.       GARRIE:        So    I think          I know         where       this

15   goes.        I think          I've       finally       figured          out      what       Mayur

16   was    telling          me    before.

17                     But       once    a data       point       about          me   is    derived,

18   where       does       it    usually       end       up?     I assume            it's       either

19   the    TAO       or    Hive,       but    I don't          know       that.

20                     MR.       ZARASHAW:           So


.

.                                                                          Usually         the

23   decision          is    based       on


M

M

                                                                                            Page       90

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 1                                                    So,    for     example,                            If

 2   it's    something             that    will       only     be    used       for


I                                                                                          such          as

 4

 5                     MR.    GARRIE:           I mean,        would       it    be       a fair          --

 6   is    there       a list       of    all    --    is    there     a list             of    all       the

 7   derived       data       points       being       calculated           for       a user?

 8                     MR.    ZARASHAW:              It,    once     again,          ends       up

 9   being    something             very product             specific.               I'll       build

10   on    Mike's       earlier          new    user       experience           example.

11                     You    can    imagine          that     you    can       do    a big

12   pop-up       experience             the    first       time     a user          visits

13   Marketplace             to    walk     them      through        every       aspect             of

14   how Marketplace                works       and    it's       going     to       be    an

15   intrusive          experience             because       you     are    keeping             the

16   user    from using             the    product          until     they       go       through

17   the    tour       and    it    would       be    rather        annoying          for       a

18   person       if    that       popped       up    every       single        time       they went

19   to    Marketplace             after       the    first.

20                     So    one    piece       of    derived        data       would          be    has

21   the    person          gone    through          that    tool     before.              Whoever

22   is    implementing             it    on    the    Marketplace              team would

23   decide       how       should       they    store       that     so    that          every

24   single       time       the    person       comes       to     Marketplace                we    check

25   it;    and    if       the    person       has    already        gone       through             the



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 1   tour,    we    don't       pop    it    every       single          time.

 2                  MR.       GARRIE:        That       would       be    stored         in

 3   right?

 4                  MR.       ZARASHAW:           Exactly.              So,    most      likely,

 5          because       we    would       not    be    able       to


I

 7                  MR.       GARRIE:        Yeah.        So       to    repeat         my    earlier

 8   statement,          I'm    not    looking          for    100       percent         accuracy

 9   here.        I'm    just    looking          for    the       systems         that,          most

10   likely,       have          like,       it    sounds          like       every      piece          of

11   data    you    have       would    --    is    a draconian                process            for

12   an    individual          person,       but    it    sounds          like      it       either

13   ends    up    in           or    some    subset          of    tables         in

14   the    (inaudible).

15                  THE       COURT    REPORTER:              I'm       sorry.

16   Mr.    Garrie,       we    can't       hear    you.

17                  MR.       GARRIE:        Okay.        Yes.

18                  So    depending          on

                        it,    more    or    less,       will       sit       in             or

20

21                  MR.       ZARASHAW:           I wouldn't             say


.

.                   •         Yes,    most    of    the       time       it    will      end       up    in

24

25                  MR.       GARRIE:        And    you       would       need      it



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 1   sometimes


I                                 and     you     would          need       that       data      and

 3   you    wouldn't       want    to


I

 5                  MR.    ZARASHAW:             Precisely.

 6                  MR.    GARRIE:          Does       Plaintiff                have      any

 7   further       questions       about         Category             3,    inferred            data?

 8                  MS.    WEAVER:          I think          that          we    do,      but    I

 9   think    we    need    to    caucus         and       we'll       circle          back.         But

10   you    should       move    on,     Special           Master          Garrie.

11                  MR.    GARRIE:          I'm       going       to       keep      going.          When

12   we    take    our    next    break,         that       will       be       an   opportunity

13   to    caucus    and    I'll       consider            the    questions               at    that

14   point.

15                  MS.    WEAVER:          Thank          you.

16                  MR.    GARRIE:          Can       we    keep       going?             Is    that

17   okay    for    everybody?            It's        good       for       me.       Is    it    good

18   for    everyone       else?         Say     if    it's       not,          then      we'll      go

19   from    there.

20                  MS.    RING:        Yes.

21                  MR.    GARRIE:          Perfect.

22                  Now    we're       getting         to,       so    there's            this

23   paragraph       and    I don't         know,          it's       a question               I had,

24   which    is    what    are    the      reasons          for       not       including

25   content       specific       data      in    the       DYI       tool?



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 1                     MR.       MITCHELL:                 Could          you    clarify what             you

 2   mean       by    content          specific                data?

 3                     MR.       GARRIE:              I could             read    you    as    it    was

 4   described          to       me    in       the       answer          and    then    I will.

 5                     It    says          --     I just         want       to    be    --    I want          to

 6   be    --

 7                     Like       what          item       I added          to    the    cart.

 8   Remember          that       earlier             example             about    I'm       shopping          and

 9   I add       that       to    the       cart.              That       doesn't       end    up    in       the

10   DYI    file,       but       it's          shared          back       to    you    guys.

11                     MR.       CLARK:              So    perhaps          the    place       to    start

12   is    looking          at    what          is    in       the    DYI       file.

13                     MR.       GARRIE:              I did          that       actually.           So    I got

14   that       down.

15                     MR.       CLARK:              Okay.           So    when    you       look,       and

16   I'm    just       going          to    look          at    my    own       personal       one,

17   the    --       I'll    go       to    Luluemon             and       I will       see    that       I

18   have       page    click.              I will             also       see    that    I have,          well,

19   page       view,       initiate              checkout,               and    purchase       as       event

20   names,          I have       the       date          and    time       that       those    were

21   received          on,       and       then       I have          an    identifier.

22                     And       going          back       to    the       documentation             on       the

23   business          tools          that       we       have,       there       are    primary

24   things          that    we       map       that       are       translatable             that       we    can

25   interpret          based          on       how       the    information             is    given          to



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 1   us    and    that       information                are    the    fields.              We    know

 2   that    this       --    like,          one,       it's    tied       to       myself       as    a

 3   user.        There       is       an    IP    to    this       event.           That       event

 4   included       the       initiate             checkout          and       received          on.

 5                  We       do    have        custom         fields,          but    we    don't       have

 6   control       over       what          the    person       puts       in       those       custom

 7   fields       nor    are       they        translatable               to    us.        If    you've

 8   gone    and    looked             at    examples          yourself,             they       don't       map

 9   to    specific          schema.

10                  MR.       GARRIE:              Yeah.        But       it    does       not    include

11   data    identifying                the       specific          content          that       was

12   viewed       for    the       item        that      was    added          to    a cart.

13                  So       my    question             is,    what       are       the    reasons          for

14   not    including             --

15                  You       asked          me    specific          content.              So    I'm

16   giving       you    examples.

17                  So       what       are       reasons       for       not       including

18   content       specific             data       in    the    DYI       tool?

19                  MR.       PATEL:              It's    not       interpretable                by    us.

20   It    could    be       any       random       string          that       the    advertisers

21   could       send.        Also,          the    events          that       are    in    place,

22   like    the    view          content,          the       add    to    cart       is    something

23   that    the    developer                builds.           Right.           Like,       not       all

24   developers          have          the     same      competency             as    Luluemon.

25   There       could       be    developers             that       accidentally                just



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 1   say    you    purchased                everything              instead          of    viewing

 2   content.           We       can't       verify          all     the       inputs       there,          and

 3   so    it's    really,             like,        unintelligible                   to    us    to

 4   explain       that          to    users.

 5                     MR.       GARRIE:            Okay.           So    that       I understand.

 6                     MR.       PATEL:           Okay.

 7                     MR.       GARRIE:            But      you     do    --       but    the    company

 8   provides          you       that       data       and     I get       that,          the    integrity

 9   of    the    data,          the    quality           of    the       developer,             and       the

10   other       factors          you've          explained.               My       question          is    more

11   different.

12                     So    that       data        is    stored          somewhere;             right?

13   And    so    what's          the       decision           --    how       is    the    decision

14   made    about          the       content          specific           data       provided          by

15   like    Luluemon             is    a great           example          that       there       was       a

16   decision          made       that,       okay,          this        could       go    in    the       DYI

17   file,       but    the       other       person,           who       knows,          whatever,

18   didn't       make       it       in?      So      like     content             specific.

19                     MR.       CLARK:           We     don't       filter          out    by    --       like,

20   Costco       and       United          and     Luluemon             are    all       there       and

21   we're       not    filtering             out        anybody          that       sent       events       if

22   that's       --    I want          to    make        sure,          Special          Master

23   Garrie.

24                     MR.       GARRIE:            No.        I'm       saying       content

25   specific.              So    I'm not           saying          you're          filtering          out



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 1   by vendor.

 2                     Is    there          any       content          specific             things       that

 3   aren't       included             in    the       DYI       tool       that       you    get       that

 4   isn't    included?

 5                     MR.    PATEL:              Yeah.           So    there          would       be    the

 6   event    names          if    you       have        custom         event          names       are       the

 7   content.           We    have          standard             names       like       view       content,

 8   purchase,          add       to    cart,          leave,          and    there's             a few

 9   others.           I can't          name          them       all    off       the       top    of    my

10   head.

11                     MR.    GARRIE:                 But    they're          documented.

12                     MR.    PATEL:              They're          documented                in    the

13   public       API,       the       public          documentation.                       But    an

14   advertiser,             if    you       think          of    it,       a Pixel          Fire       or    an

15   app    event       is    just          a coral          call.           Like,          it's    just       an

16   HTTP    request          that          goes       over       and       can    be       modified          to

17   anybody       as       well.           Right.           Like,          you    can       add    a

18   custom             like,          is    this        a JSON         log       or    maybe       it's       in

19   the    query       params,             but       you    can       add    any       kind       of    event

20   name    that       you       want.           It's       not       --    if    you       choose,          you

21   want    to    call       it       add       to    cart       without          the       underscores,

22   that's       up    to    you.           But       we    provide          a standard                set    of

23   features.              And    if       we    get       something             that's          not    in    the

24   standard          for    the       event          name,       we       call       it    custom

25   events       because          we       just       don't       know       what's          in    there.



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 1                     And       similar          for    content       we    provide.           Yes,

 2   you    come       and       say    what       the       value    is,    what       the

 3   currency          is    as    well       as    what       --    what    content          you    may

 4   have       added       as    well       as    the       name,    but    we    can't       verify

 5   that       at   that        point.

 6                     MR.       GARRIE:           That       doesn't       end    up    in    the       DYI

 7   file.

 8                     MR.       PATEL:           Correct.

 9                     MR.       GARRIE:           So    I'm    just       thinking       about          it.

10   It's       just    a lot          of    information             and    I just       want       to

11   make       sure    I understood.

12                     So    then       are       there       any    reasons       besides          it

13   not    being       intelligible,                   or    it's    not    it's       not

14   intelligible,                they       didn't          tell    you,    not    including

15   content         specific           data       in    the    DYI    tool?

16                     MR.       PATEL:           No.        Besides       that,    no.

17                     MS.       RING:        Special          Master       Garrie,       I just

18   want       to   clarify.

19                     When       you       said    not       intelligible,             they    tell

20   you,       what    they're             saying       is    what    they       tell    us    is       not

21   intelligible.                 So       I just       wanted       --    I want       to    clarify

22   if    you're       thinking             these       are    two    different          things

23   or    --


24                     MR.       GARRIE:           They       didn't       tell    --

25                     MS.       RING:        --    let       them    explain       something.



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 1                     MR.       GARRIE:           What       happened                is    they       didn't

 2   bother       to       tell       Facebook          what       they're             doing,          and    so

 3   Facebook          doesn't             know    how       to    interpret                the    custom

 4   values       and,          therefore,             it    doesn't             stick       them       in    the

 5   DYI    file.           So       it's       unintelligible                   to    Facebook

 6   because          nobody's             told    Facebook             what          the    data       is    that

 7   they're          getting             from    the       third       party          because          they

 8   have    no       way       to    verify       because             they       have       a standard

 9   set    of    APIs          that       are    public          that       say       this       is    how    it

10   works,       but       they          have    custom          events          or       JSON.        I don't

11   think       it's       JSON,          but    they       have       custom             events       that

12   could       be    called             and    that       information,                   they    don't

13   know    what          it    is,       isn't       included             in    the       DYI    file,       but

14   Facebook          gets          the    data.

15                     MS.       RING:           But    the       data       is       gibberish

16   sometimes.                 I just          want    to    make          sure       that

17   distinction                is    not       lost.

18                     MR.       GARRIE:           Gibberish means                         that    it's       not

19   intell-          --    to       the    person          that's          providing             it,    it

20   makes       sense.              To    Facebook,          it       doesn't             make    sense

21   because          nobody          told       Facebook          what          it    is.

22                     MS.       RING:           I defer          to    the       engineers             on

23   that,       but       I think          what       we    saw       is    gibberish.                 So    I

24   don't       know.           How       would       you    guys          explain          it?        Sorry.

25                     MR.       CLARK:           I would          assume             it    has    meaning



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 1   to    the       person          that    wrote          that       integration.

 2                        MR.       GARRIE:        Yeah.           I mean,          I would             assume

 3   that's          why       they    wrote       it.

 4                        I mean,          the    real       question,             I guess          --       I

 5   mean,       maybe          there       are    developers                that       just

 6   write       gar-          --    yeah,       it's       probably          true       there          are

 7   developers                that    just       write       garbage          for       writing             code,

 8   but    assuming                there    are       developers             that       --

 9                        I mean,          the    real       question          is,       you       store         all

10   custom          event          data    that       is    --    I mean,          or    do       you

11   discard          it       is    the    question,             I guess,          for       the       user?

12                        MR.       CLARK:        I would          want       to    --    unless             Mayur

13   has    a specific                answer,          I would          actually          want          to    talk

14   to    --    I'd       want       to    --    like       from       this       --    this       is       the

15   extent          of    my       understanding             on       that    process             and

16   product          and       how    it    worked          on    it.        I'd       want       to    talk

17   to    that       product          team       specifically.

18                        MR.       GARRIE:        Unless          we    can       get    a quick

19   answer.              No.        I'm    kidding.              No    pressure.

20                        So    we'll       talk       to    the       product          team       and       we'll

21   go    from       there.           All       right.           That       makes       sense          to    me.

22                        All       right.        So    then       question             number          three,

23   I promise             not       all    of    them will             --    they       will       speed

24   up.        But       at    the    beginning             and       hopefully          we       don't

25   have       to    do       it    again.        So       better       now       than       do    it



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 1   twice.

 2                     What    are    some       examples          of       the    Dataswarm

 3   tasks?        I saw       about       10    of    them.           If    you       want,       we    can

 4   go    through.           Just    at    a high          level,          what       are    some

 5   examples,          and    then    we       can    look       at    --

 6                     MS.    RING:        Special          Master          Garrie,          none       of

 7   these    engineers             here    are       specialists             or,       you       know,

 8   deal    with       the    Dataswarm.              We    were       just       answering

 9   this    question,          and    so       we    put    together             --    we    were

10   trying       to    answer       the    questions.                 We    put       together

11   we    first       tried    to    identify             what    the       system was,                and

12   then    we    gave       you    the    samples          just       so    we       can    show you

13   what's       there,       but    none       of    the       engineers             that       are

14   here    today,          since    that       wasn't          one    of    the       categories

15   for    engineers,          focuses          on    Dataswarm.

16                     MR.    GARRIE:           Okay.        I'll       just       tee       up    the

17   questions          I do    have       so    you       can

18                     MS.    RING:        Okay.

19                     MR.    GARRIE:           --    at    least       figure          out.

20                     MS.    RING:        Okay.

21                     MR.    GARRIE:           So,    you       know,       does       a task

22   operate       on       a single       data       point       or    on    multiple             rows?

23   That's       one       question       I'm       interested             in.

24                     Is    there    documentation                on       task       dependency

25   chains       that       were    created          for    specific             purposes?



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 1   Based       on    what       I've       heard,          I'm pretty        certain       there

 2   are    because          it       sounds       sequential           at    least    for    some

 3   of    it,    but       I could          be    wrong.

 4                     And       then       under       that    is     how    does    Facebook

 5   keep       track       of    what       each       task    is     used    for?        Because

 6   it    is          you       know,       and       are   tasks      ever    modified?

 7                     And       then       are    dependency           --    this    is

 8   something             that       --    are    dependency           chains       ever

 9   removed          to    reduce          the    amount       of     computing       that       is

10   done?

11                     And       then       how    does      Facebook         keep    track       of

12   what       all    the       Dataswarm             tasks    accomplish?

13                     And       then       is    there      a task            and    I don't

14   well,       I'll       ask       the    question.

15                     Is    there          a task       for    each     Hive       table    that

16   serves       as       a start          task,       in   quotes,         like    a start

17   task?




19                     And       then       do    Dataswarm          tasks     write       data    to

20   other       systems          or       only    back       into     the    Hive?        I think      I

21   know       the    answer          based       on    what     we've       talked       about,

22   but    it    would          be    good       if    there     was    someone       that

23   could.

24                     And       then       is    the    data     in    the    Hive    used       by

25   production             systems?              I think       --     yeah.



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 1                    And    then       how       do    production             systems       query

 2   data      in    the    Hive?        I think             it's                     Maybe       not.

 3   I don't         know.        And    if       so,    you       know,       I have       a couple

 4   questions         about                      because          this    all       writes

 5   directly         to    the          eventually                this    is    all       user    data

 6   that's         being    operated             on    in    the    Hive.

 7                    And    then       how       is    data       from    the       Hive

 8   transferred            to    other       storage             that    can    be    queried?              I

 9   think      I got       some    of       the       ways.        Sounds       like       they       can

10   do   it    any    way       they want,             but       maybe    I'm wrong.

11                    So    those       are       sort       of    the    questions          I had

12   about      the    Hive       and                   if    my    assumption's             right.

13                    Well,       that       was       fast.        Let's       go    to    question

14   four.

15                    So    I guess,          broadly             speaking,          before       we    go

16   to   question          four,       does       Facebook          retain          user    activity

17   that      doesn't       end    up       in    the       DYI    file?

18                    MR.    CLARK:           As       I walked          you    before,       like

19   there      are    specific          cases          of    data       where       like    that

20   association            isn't       --    like       we       can't    fully       determine

21   or   guarantee          that       it's       that       user       and    wouldn't          want

22   to   give       them    somebody             else's          data.

23                    MR.    GARRIE:              So    like       a constant          event

24   basically.

25                    MR.    CLARK:           I don't             know    that.        That       may



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 1   not    be    the    example,          but       if    that       helps       a mental          model

 2   to    think      about       it.

 3                    MR.     GARRIE:           Okay.           So    there's       basically

 4   the    same      answers        you       told       me    in    the    beginning.              I

 5   get    it.

 6                    MR.     CLARK:           Yes.

 7                    MR.     GARRIE:           Question             four,    the    user          ID.     I

 8   guess,       does      the     information                --    I don't       know             I

 9   don't       know    if    this       is    the       right       person,       but       is    the

10   information            about       the     user,          first       name,    last       name,

11   email,       phone       number,          stored          in    one    specific

12   location?

13                    MR.     PATEL:           Only       one       specific       location          or

14   do    you    mean      a specific           location             that    you    can       go    look

15   up?

16                    MR.     GARRIE:           One       or    the    other.

17                    MS.     RING:        Wait.           I'm       sorry.

18                    Just     so    it's       clear,          question          four    is       about

19   identifiers.              So    like       identifiers.                 Not    information

20   about       --

21                    MR.     GARRIE:           But       a user       ID    --    but    a user          ID

22   is    information            about        the    user,          such    as    first       name,

23   last    name,       email,         phone        number          that    would       be

24   associated          with       the    user       ID,       but    it    could match

25   their       user    table.



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 1                  MS.       RING:        I just          want          to    clarify          that,       you

 2   know,    this       is    not       what       the    question                was    about,       but    I

 3   think    they       were       asked       to    answer             internal          identifiers

 4   that    Facebook          was       using,       just          to    be       clear.

 5                  So    you're          asking          if    Facebook             uses       name    or

 6   phone    number          as    an    internal             identifier?

 7                  MR.       GARRIE:           No.        Maybe          I shouldn't               have

 8   said    name.

 9                  My    question             is,    is       the       information             about

10   the    user    ID    stored          in    one       specific             location?

11                  MS.       RING:        Okay.           So       it's       about

12   identifiers.

13                  Do    you       guys       know?

14                  MR.       ZARASHAW:              So    user          IDs       are    64-bit

15   integers       where          a set       of    databases                that       are   back     in

16          are    used       to    generate          the       user          IDs    and       they    are

17   used    as    a foreign             key    everywhere                else       to    refer       to

18   that    user.

19                  There          is    a primary place                      where       that      user     ID

20   and    some    information                about       a user             is    stored,         which

21   is             However,             the    information                   may    also      be     stored

22   in

23                  MR.       GARRIE:           That       makes          sense.

24                  So    my       question          is,       is    there          a master          user

25   ID    table,    I guess?              It       sounds          like       there       is.



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 1   There's       64-bit          characters            and       you're       running          out   of

 2   them.        So    you       must       have     been       there.

 3                     MR.       ZARASHAW:


I

I

I
 7                     MR.       GARRIE:          I forgot          you're          so    big.     Yes.

 8   I know       there's          a given           size.         Yes.        Just       like

 9   the    extraction             layer        in    itself.

10                     So    then       do    any     other        systems          store    this

11   information             or    do    they        only     store       user       ID?

12                     MR.       PATEL:         And     when       you    mean       information,

13   do    you    mean       the    first         name,       last       name?

14                     MR.       GARRIE:          It's      whatever           you're       putting

15   in    the    user       ID.

16                     MR.       PATEL:         Yeah.         The       data    could       be

17                                                       , for          example,          when    we're

18   doing       analysis.

19                     MR.       GARRIE:          And    what       other       systems          can

20   access?           Do    you    know        a way       of     figuring          out    what

21   other       systems          can    access         the      user     ID    information?

22                     MR.       ZARASHAW:            Special           Master       Garrie,       what

23   do    you    mean       by    access         the    user       ID    in    this       case?

24                     MR.       GARRIE:          Well,       if    you       use    it    and

25   extract       it       to               right,                is    --    I guess       from



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 1   what    I understand                is    --     if    there's       a master          user

 2   table    and       then       that's          extracted        to    like       a user       ID

 3   table,       is    it    protected             information;           right?           Is    the

 4   user    ID    information                limited        access,       I guess?

 5                     MR.    CLARK:           So     across       all    of    our       systems

 6                     MS.    RING:           Sorry.         I just       want       to    clarify.

 7                     I didn't          hear       anyone        say    a master          user

 8   table.        I just          want       to    be     really       clear    what       we're

 9   talking       about.

10                     MR.    GARRIE:              User     ID.

11                     MS.    RING:           There's        a table       that       has    user

12   IDs,    but       no    one    --    I mean,           I just       want    to       make    sure

13   we're    being          clear.

14                     MR.    GARRIE:              Well,     it's       a 64-bit

15

16                     MS.    RING:           That's        for    the    user       ID,    but    --

17                     MR.    GARRIE:              Correct.

18                     MS.    RING:           Okay.

19                     MR.    GARRIE:              But     the    user    ID    is    associated

20   with    user       information.                 No?

21                     MS.    RING:           I don't        --    I think       what       we

22   heard,       there's          no    one       here     that    knows       exactly

23   whether       that's          the    case.

24                     I think          Eugene       was     just       saying       that    the

25   user    ID    is       stored       as    a 64-bit.            I can't          even    repeat



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 1   it,    Eugene.           I'm    sorry.            But    I just        want       to    make

 2   sure    that       we're       not,     you       know,       misunderstanding                    here

 3   what    actually          is    being        talked        about,       especially when

 4   we're       talking       about        then       what     privacy          safeguards             are

 5   applied       to    it.

 6                  MR.       CLARK:         I have          a caveat        because,             you

 7   know,       part    of    --    part        of    having               as    that

 8   extraction          layer       is     to    manage        access       like       for       any

 9   kind    of    data       access,        you       know,       that     goes       back       to    as

10   engineers          design       systems,           like       they     are    trained             in

11   specific       things          that     they       are     supposed          to    build,

12   and    before       we    can    access           certain        kinds       of    data       or

13   have    any    kinds       of    things,           those        things       have       to    be

14   defined       and    mapped.            And       so    that     --    that       mapping          is

15   to    the    structure,          but        not    necessarily              the    data       in

16   it,    and    that       data    is     accessed           as    needed       for       the

17   functionality             of    the     product.

18                  MR.       GARRIE:            So    then     who    owns       the       user       ID?

19                  MR.       CLARK:         It's       no    one     and    everyone.

20                  MR.       GARRIE:            Well,       who     gets    fired          if    you

21   lose    the    table?

22                  MR.       CLARK:         Well,          that's     part       of    being          able

23   to    operate       at    this       scale,

                                     -

25                  MR.       GARRIE:            It's                                  Right.



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 1   Sorry.       No.        No.        Sorry.       I keep          forgetting          it's

 2                       to    like       where      --

 3                 So    the       user    ID     that     you       guys    offer       as       a

 4   definition         is    Facebook          uses      an    industrywide

 5   technique         called       pseudonymization                  to    represent             users

 6   on    the   Facebook          platform.            You     create       a 64-bit

 7   string.

 8                 Who       owns       that    process?             So    there       should         be

 9   a single      source          of    truth     for     mapping          the    UID       to

10   no?     Isn't      there       a single         source?

11                 MR.       ZARASHAW:




16                 MR.       GARRIE:           Yeah.       What       I'm    asking          is

17   what's      the    single          source     of     truth       for    mapping?

18                 MR.       ZARASHAW:

19                 MR.       GARRIE:                      But       that's       for   every          --

20   that's      your                                                                             but

21   that's      it?

22                 MR.       ZARASHAW:            Yes.

23                 MR.       GARRIE:           That's      your       single       source          of

24   truth?

25                 MR.       ZARASHAW:                         So    if    you    go    to



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 1   Facebook          and    to    sign     in       and       we    go       to   validate        your

 2   password          and    so    on,     that       will          go    from

 3                     MR.    CLARK:         If       you're          an       engineer       building

 4   your       primary       storage        interface                as       we    talked       about

 5   like       looking       at    the     95    percent             case,          that

 6   interaction             is    going     to       be    through

 7                     MR.    GARRIE:            So    moving             to    the    replacement

 8   ID    or    the    RID.        It's     very          interesting.

 9                     So    as    long     as    the       RID       to       user    ID    mapping          is

10   not    deleted,          can    the     data          in    the                  be    mapped       to    a

11   specific          user?

12                     MR.    PATEL:         Yes.           If       the       account       is    not

13   deleted.

14                     MS.    RING:        Okay.            Sorry.              Are    you    saying

15   all    data,       Mayur,       all     data          in              ?        Let's    just    be

16   really       precise          especially              on    this          topic       because

17   we've       spent       so    much     time       on       it    previously.

18                     MR.    PATEL:         Yeah.              Any       data       associated          to    a

19   non-deleted             user    if     it's       stored             within       RID    can    be

20   associated             back.

21                     MS.    RING:        Right.               If    it's          associated.

22   Again,       let's       just    be     clear          about          what       we're       talking

23   about.

24                     MR.    GARRIE:            That's          what          I said.        No,

25   Counsel       Ring.



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 1                  MS.       RING:        Okay.           I didn't          hear       that.        I

 2   don't    think       it    was    phrased             exactly          that       way.     So    I

 3   just    wanted       to    --

 4                  MR.       GARRIE:           It    was.

 5                  MS.       RING:        If    that's             what    you    meant       and    now

 6   we're    on    the       same    page,          great.

 7                  MR.       GARRIE:           So    let       me    repeat       my    question

 8   so    there's       no    confusion.

 9                  So    as    long       as    the       RID       to    user    ID    mapping          is

10   not    deleted,          can    the    data          in    the               be    mapped       to    a

11   specific       user?           I assume          the       answer       is    yes,       which       is

12   why you       built       it    that       way.

13                  MR.       ZARASHAW:              So    it's       complicated             because

14   it    depends       for    a specific                           table       what    is    its

15   schema.




20                  MR.       GARRIE:           I get          that.

21                  I'm       asking       if    RID       to       user    ID    is    not

22   deleted.

23                  What       I'm    saying          is       if    that    mapping          still

24   exists    --    I'm       not    talking             about       all    the       scenarios

25   you're    talking          about.           I'm       talking          about       RID    to    user



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 1   ID    mapping          is    not    deleted,             meaning          that          it    exists,

 2   can    the    data          in    the               be    mapped          back          to    a

 3   specific          user?

 4                     MR.       ZARASHAW:            I'd      like       to       get       a little

 5   more    precise             about       which       data       in    the                     because

 6   even    if    you

 7                     MR.       GARRIE:           Say    the                  is       --

 8                     My    question           is,      tables          in    RID       columns.              Not

 9   all    tables.

10                     MR.       ZARASHAW:            Okay.          That          makes          sense.

11                     As    long       as     the    mapping            still          exists,          the

12   user    still          exists,          and     a table         contains                an    RID

13   column,       yes,          it    can    be     mapped.

14                     MR.       GARRIE:           Yeah.        Okay.              So    all       right.

15                     MR.       CLARK:         And      the    90       days       is       the

16   commitment             for       that    deletion.              That          can       happen

17   sooner.

18                     MR.       GARRIE:           But    there's             no    way       to    verify

19   across       --    do       you    have       processes             that       run       across       the

20           to    validate,             verify          deletion             is    happening?

21                     MR.       CLARK:

22                     MR.       GARRIE:           Across       the       entire

23                     MR.       CLARK:         Well,         no.


M

M

                                                                                                  Page    112


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 1


I
I
I
 5                     MR.    GARRIE:           Yeah,       which       you    know       about.

 6   Yeah.        You       have    to    know       about       it.

 7                     MR.    CLARK:           Correct.

 8                     MR.    GARRIE:           Okay.        So       then moving             on    to

 9   the    SID,       the    separateable                which,       by    the    way,       who

10   thought       of       that,       a separateable                ID?     That       was

11   that    was       --    I've       seen    a lot       of    people       try       to    --    I

12   don't    think          lawyers          appreciate          how       that's       a very

13   nice    --    that's          an    interesting             approach.

14                     So    is    the    SID       tasked       in    by    the    off-platform

15   system       or    is    it    mapped          before       writing       data       to       the

16                I couldn't             tell.

17                     MR.    PATEL:           We    do    not    receive          SIDs       from

18   third parties.                 So    it    would       be    the       latter.

19                     MR.    GARRIE:           Is    then       the    UID    passed          in    as

20   well?

21                     MR.    PATEL:           Passed       in    where?           Sorry.

22                     MR.    GARRIE:           So    is    UID       passed       in    then       and

23   then    you       store       it    as    the    SID?        Is    that       how    that

24   works    out?

25                     MR.    PATEL:           Yeah.        We    match       to    the       UID.        So



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 1   this    is    on    Facebook.

 2                  MR.       GARRIE:            Yeah,         on    Facebook.

 3                  MR.       PATEL:           We    do    not       get    UIDs          from       third

 4   parties.           We    match       to     a UID         and       convert          it    to       an

 5   SID.        Yeah.        The    difference                is    it's       similar             to    an

 6   RID.        Where       the    RID     is      the    lifetime             of    the       account,

 7   the    SID    is    basically             --    is    recycled             when       the       control

 8   is    executed.

 9                  MR.       GARRIE:            What      do       you    receive             then       from

10   the    third       parties?

11                  MR.       PATEL:           What       we    receive          from          the       third

12   parties       depends          on    the       business             tool.        It       ranges

13   from    cookies          to    device          identifiers             and,          in    your

14   off-line       conversions                case,       PII.           Hashed          PII       just       to

15   be    clear    on       that.

16                  MR.       GARRIE:            Then      is       it    possible             to

17   determine          the    list       of               tables          that       contain             UID,

18   RID    or    SID    as    a column             value?

19                  MR.       PATEL:           It    is    possible.

20                  And       your       question          is       for    off-Facebook

21   activity       specifically?

22                  MR.       GARRIE:            Just      generally.

23                  MR.       PATEL:           Yeah.           So    we    do    have          schemas

24   and    developers             are    annotating                columns          ill=                for

25   whether       or    not       there       is    a UID          present          or    an       RID



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 1   present.

 2                    MR.       CLARK:         Individually                per       table       across

 3   many,      many millions                of     tables.           And       so    could       we    look

 4   in   the     phone         book    and        find       Mike    Clark?           Yes.        Could

 5   we   look       in    a warehouse              of?        And    so    there       becomes             a

 6   technical            feasibility              because        not      all       that    storage

 7   that    sits         in            is     online.            And      so    that       would       --

 8   it   becomes          a technical              feasibility             challenge             to    do

 9   that    full         discovery           across          everything.

10                    MR.       GARRIE:            I didn't          say    what       anybody was

11   going      to    do       yet,    but     I get          there       are    millions          of

12   tables.

13                    MR.       CLARK:         No.        I was       just       clarifying             that

14   last    bit.

15                    MR.       GARRIE:            No.        I understand.                 I just

16   want    to      know       if    it's            like      is    it    possible             and

17   whether         or    not       it's     economical             or    reasonable             or    any

18   of   that.           I understand              that       there       are       millions          of

19   tables       and      et    cetera.

20                    Counsel          Weaver,           do    you    have       a question?

21                    MS.       WEAVER:            Yes.        And maybe             this    is

22   further         in    the       outline.

23                    But       with    regard           to    hashed       PII       and

24   conversion            and       cookies        received          from       third       parties,

25   it   might       be       helpful        to    know       what       cookies,          if    they



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 1   are    Facebook       cookies        and      if    the     cookies       contain

 2   identifiers          that    Facebook          can     decode       and    any

 3   identifiers          or    cookies       that       are     used    for    mapping          or

 4   matching       purposes.

 5                  MS.    RING:         Sorry.          Counsel        Weaver,       I didn't

 6   hear    the    first       part.

 7                  Cache       did    you    say?

 8                  MS.    WEAVER:           He    said     hashed       PII.

 9                  MS.    RING:        Hashed.           Thank        you.     Okay.

10                  MS.    WEAVER:           Like       corned        beef.

11                  MS.    RING:        Got       it.     Okay.         Got    It.

12                  I don't       know       if    any           you    know,       the    people

13   that    we    have    here       today       focus     on    those       things.        I

14   don't    think       so.     So...

15                  MR.    PATEL:         Yeah.          I'm not        a measurement

16   tabs    engineer.

17                  MR.    CLARK:         I wouldn't             be    able    to    speak       to

18   that    either.

19                  MR.    ZARASHAW:              I wouldn't           either.

20                  MR.    GARRIE:           You've       got     to    --    you've       got    to

21   weigh    in    here,       Ben.      You      got    to     turn    mute       off.

22                  MR.    MITCHELL:              Sorry.

23                  I can't       speak       to    that       either.         I didn't

24   realize       that    was    actually          an    explicit           question.

25   Sorry.        No.



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 1                     MR.       GARRIE:        Your       counsel          is    making          a

 2   point.        So       I just       wanted       everybody             to    answer.

 3   Okay.

 4                     THE       COURT    REPORTER:              Mr.       Garrie,          whenever

 5   it's    convenient,                can    we    take       a break?

 6                     MS.       WEAVER:        Of    course.              We'll       take       a

 7   10-minute          break.           We'll       go    off    the       record.

 8                     (Recess          taken.)

 9                     (Off       the    record       at    1:09       p.m.        Back          on    the

10   record       at    1:31       p.m.)

11                     MR.       GARRIE:        Back       on    the       record.

12                     So    question          five.        Starting             with       TAO,       my

13   first    question             is,    is    there       documentation                   of    TAO

14   objects       and       associations             and       their       schemas?

15                     MR.       ZARASHAW:           In    this       case,       TAO       is

16   self-documenting                   like    a lot       of    the       code       in    that       we

17   look    at    the       definitions             of    the    TAO       schemas          inside

18   TAO    itself          as    the    documentation.                    The    challenge             is,

19   otherwise,             documentation             tends       to       drift       and       not    get

20   updated       in       time.        So    the    systems          get       updated,

21   schemas       and       TAO    will       get    updated;             but    if    we       have

22   separate          documentation,                it    would       never       be       up    to

23   date.

24                     MR.       GARRIE:        But       there       is    documentation                   of

25   the    objects          and    associations                and    their       schemas.



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 1   They're    not    embedded     there.

 2               MR.    ZARASHAW:


I
I
 5               MR.    GARRIE:

 6               MR.    ZARASHAW:


I
I
I
10               MR.    GARRIE:       Is    there     a key?

11               MR.    ZARASHAW:




17               MR.    GARRIE:       How    many     tables        are    there    in

18   TAO?

19               MR.    ZARASHAW:          I do    not    know      the    answer.

20   Anybody    else?

21               MR.    PATEL:      I do     not     know        offhand.

22               MR.    CLARK:      I do     not.

23               MR.    GARRIE:       So    then     --

24               MR.    ZARASHAW:          It's    one      of    those    things

25   where   every     product     team     --    very      similar       to   Hive,



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 1   any    product       team    can     just         go    and       create       one.

 2                  MR.    GARRIE:           So    then       how       many       systems

 3   well,    this       comes    to    my    next          question,             which    is      how

 4   many    systems       --    how    many       systems             write       data    to

 5   individual          objects       and/or          associations?                    Like    how

 6   many    systems       create       posts          or    so    on    and       so    forth?

 7                  MR.    ZARASHAW:              I would          --    this       would       be    a

 8   complete       guess,       but     I would            guess


I

M

M
12                  MR.    GARRIE:           So    is       there       a comprehensive

13   list    of    the    systems        that      write          to    TAO?

14                  MR.    ZARASHAW:

15                  MR.    GARRIE:


M

M                                                                                                    I

18   mean,    we    can    start       broadly          or    we       can    get       specifics.

19                  MR.    ZARASHAW:


.

.                                to    download             all    your       information.

22                  MR.    GARRIE:           But,       I guess,             do    the    systems

23   have    their       own    storage       as       well       in    using       TAO,       I

24   guess?

25                  MR.    ZARASHAW:              To    my    knowledge,



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    1


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1
1
1
1
    8                     Effectively,            it's    a way          of    giving       you

    9   distributed             database         like    storage,             graph       database

10      like    storage          that      automatically             scales          to    a very

11      high    level       without         the    product          engineers             having    to

12      think    about          the    scaling         challenges             at    all.

13                        MR.    GARRIE:          Is    the    data       in       the    DYI    file    a

14      subset       of    data       in   TAO?

15                        MR.    ZARASHAW:             Mike?        Mayur?

16                        MR.    CLARK:          I'm    trying       to       get    that.

17


M                                                                    for       --    as    you    deem

19      more    to    the       example      of    this       is    where


M
M
22                        MR.    ZARASHAW:             Blob    storage;             right?

23                        MR.    CLARK:          That    is    correct.

24                        MR.    GARRIE:          Okay.        sc
25                        And    then      did    you    want       to    add       something,



                                                                                           Page    120


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 1   Mayur?

 2                  MR.    PATEL:           Oh,    all    right.              So    I guess       for

 3                   it's       just     a storage            system          that    lives

 4   under                Right.         It's      really       --       you       know,    the    IDs

 5   that    you    have       for    that    photo       are       accessed          through

 6          and    eventually          pulled       from

 7                  MR.    GARRIE:           And    is    TAO       cued       to    UID?

 8                  MR.    ZARASHAW:


I

.

.
12                  MR.    GARRIE:           So    then       can    you       describe

13   Ent    schema       and    Node?        I didn't          quite          understand          how

14   that's       operating.

15                  MR.    PATEL:           You're       on    mute,          I think.

16                  MR.    CLARK:           That    will       definitely             not    get

17   reported       if    I talk       on    mute.

18                  Ent    and       Node    are    software             frameworks          and

19   they're       software          frameworks          that       are       specifically

20   built    to    help       identify       what       kind       of    data       can    be

21   accessed.           Ent    and    Node       depend       on    schematization                of

22   a data       system       in    order    to    know       how       to    operate       and

23   interact       with       it.     The    instruction                per       table    --

24                  MR.    GARRIE:           How    do    you       --

25                  MR.    CLARK:           Sorry.



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 1                     MR.       GARRIE:           Maybe          a different             way       then.

 2                     How       does       someone          use       Ent    schema          if    I'm       an

 3   engineer,             concrete          example,             or    Node?

 4                     MR.       CLARK:           So    I'll       finish          explaining                what

 5   they    are       because          that       will          help    you       explain          how       an

 6   engineer          might          use    them.

 7                     So,       for    instance,                details       about          what       can       be

 8   accessed          are       included          in       that       schema       and       Ent       and

 9   Node    as       software          frameworks                are    what       enforce             that.

10   Ent    is    used       specifically                   for    the       hack       programming

11   language          and Node             is    for       all    the       other       programming

12   language          that       we    have       at       Facebook.

13                     And       so    I,    as    a developer,                when       I go          to

14   write       something,             if       I'm using             one    of    the       existing

15   software          frameworks,                they       automatically                integrate

16   with    Ent       and Node;             but       also       as    part       of    privacy

17   programming             training,             if       I'm writing             from       outside

18   of    one    of       the    existing             frameworks,             I'm       required             to

19   use    Ent       or   Node        in    accessing             the       data       and    it       makes

20   that    determination.

21                     Eugene          or    Mayur,          anything          else       you'd          add?

22                     MR.       PATEL:           Yeah.           There       is    a set          of

23   privacy          rules       that       you       also       set,       like       who    can       view       a

24   piece       of    content          as       well       as    the    deletion             rules          on

25   how    a piece          of       content          is    deleted.



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 1                     So,    for    example,           if    you    have      a comment           on    a

 2   photo,       if    you    delete        the      comment,           you   shouldn't

 3   delete       the    photo,       but       you     should       delete       any    comments

 4   that    were       below       the     comments          or    like,      I guess        if    you

 5   look    at    it    in    a tree,          comments           that    were    for       that

 6   comment,          not    comments          that     were       associated          to    the

 7   photo       specifically,              and      those     rules       are    then       defined

 8   in    the    schema       in    that       Ent     schema       Node.

 9                     MR.    GARRIE:           What     would       be    a tangible

10   engineering             example       of     how    they       use    it?

11                     MR.    CLARK:         It's       built       in    so   that     they

12   don't       have    to    think       about        how    to    apply       the    privacy

13   controls          and    other       elements.            I don't         have     to

14   understand          all    of    the       underlying           storage       or

15   everything          that's       there.            It    takes       care    of    that       for

16   me.     So    I don't          have     to      specific        call      those.         It's

17   done    with       every       call,       if    that     makes       sense,

18   Special       Master       Garrie.

19                     MR.    GARRIE:           Yeah,        but    I need       like

20   real-world          examples          of     how    it's       actually       used

21   because       I don't          understand           conceptually,             like,       how

22   you    use    it    as    a developer              to    manage       user    data.           Like

23   I don't       quite       understand.

24                     MR.    PATEL:         An      example        of    this    is    if    you

25   created       a schema          for     photos          that    people       upload,          you



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 1   would       be    required             to     implement             the       can    see       function.

 2   And    I'm not          sure          if     that's        exactly            the    function,                but

 3   like       can    see,       we       can     just       assume          it's       whether             or    not

 4   a user          looking          at    the        piece       of    content          can       actually

 5   view       the    content.

 6                     So    an       example           of    how       you    would          write          it    is

 7   the    author          of    the       content,            the      photo,          so    if       user       ID

 8   is    equal       to    the       person           who     created            it,    great,             show

 9   on    the       piece       of    content.               And       then       you    would          go       down

10   the    privacy          settings              of     the      photo.           Are       we    allowed

11   to    show       it    to    your          friends?            Are       we    allowed             to    show

12   it    to    the       public?              Are     we    allowed          to    show          it    to       your

13   friends          of    friends?               And       that       would       have       to       be

14   implemented             in       that        can     see      function,             and       so    it's          a

15   requirement             that          we     enforce          these       calls.

16                     MR.       GARRIE:               And    you       enforce          it    using          --

17   like       so    then       --    so       let's        say    that       user       ID       equals

18   this       person,          show       them        this       content,          and       then          so

19   where       does       Ent       schema           and    Node       come       into       this?

20                     MR.       PATEL:            Yeah.           You    could          think          of    it

21   like       if    somebody             were        accessing          the       data       directly

22   from                             that       would        be    a problem.                 We       wouldn't

23   check       the       privacy          rules,           obviously.              So       to    make          it

24   scaleable,             you       have        to    go    through          Ent       schema.              Like

25   that's          a requirement.



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 1                     MR.       GARRIE:           Ent       schema          is    a way       to    access

 2   data.        And       so    getting          past       all       the       privacy,

 3   whatever,          Ent       schema        is      a way       to       access       the       photo?

 4                     MR.       ZARASHAW:              If    I may,          it's       a privacy

 5   preserving             ORM    layer.

 6                     MR.       PATEL:         Yeah.             That's          a good       way    to

 7   frame       it.

 8                     MR.       ZARASHAW:              It's       an    ORM       layer       on    top    of

 9   a very       raw       data       storage          that       is    the       graph       database

10   provided          by    TAO.        TAO       itself          would          not    implement          the

11   privacy       checks          and       the     conflict            logic          of,    let's       say,

12   if    you    make       a comment             on    a post,             understanding             that

13   you,    as    the       author,          are       able       to    delete          that       comment

14   and    the    author          of    the       original             post       has    the       right       to

15   delete       the       comment,          but       no    one       else       has    the       right       to

16   delete       that       comment.              There          are    a tremendous                number

17   of    rules       like       this       all     over         every       Facebook          product

18   and    surface          that       it    would          be    very       error       prone       to

19   have    developers                implement             repeatedly.

20                     So    it's       an    ORM       layer       that          lets    you       query

21   the    data       in    TAO       and    write          data       to    TAO,       but

22   implementing                all    the     privacy            rules          underneath.              So

23   no    individual             developer             is    not       working          on    it.

24                     MR.       GARRIE:           Got       it.        That       makes       sense.

25   All    right.           That       makes        sense.



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 1                     Okay.           So    then     is    Node       the    same?

 2                     MR.       PATEL:        Yeah.         Correct.              Node       is    the

 3   same.        It's          just    a different              language.

 4                     MR.       GARRIE:         It's       for       all    the    other          ones,    I

 5   guess.           All       right.

 6                     So       then    does     Plaintiff             have       any    questions?

 7                     MS.       WEAVER:         I think          we're       okay.

 8                     MR.       GARRIE:         So    then       MySQL,          what

 9   associations                --    well,     what       associations                or    objects

10   from       TAO    does       MySQL       store?         I didn't             quite

11   understand             that.

12                     MR.       ZARASHAW:            All    of       them.        It    is    under       --

13   it    is    the       backing          store     for    TAO       and    we    would          need    to

14   get    a TAO          expert       into     the       room       for    the    details,          but

15   for    every          --    every      piece      of    data       that       is    stored       in

16   TAO    is    actually             being     stored          in    one    of    thousands             and

17   thousands             of   MySQL        servers        distributed             globally          and

18   usually          on    more       than    one     of    them,          and    any       schema

19   updates          to    TAO       match    to     some       schema       changes          on    those

20   MySQL       servers.              So    those     MySQL          servers       are       not

21   generally             used       directly        and    they       are       used       through

22   TAO.

23                     MR.       GARRIE:         I really             like    that       ORM       layer

24   explanation.                 That       cleared        up    a lot.

25                     All       right.        So     MySQL.



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    1                     All   right.           So     then                        is    there       a

    2   type    of    data      stored        in                         Is    it    binary          like

    3   images       or    text    like      JSON        objects?

    4                     MR.   ZARASHAW:               It's    meant     for             so    TAO    is

    5   not    efficient          at   storing           large       chunks     of       anything,

    6   binary       or    text.       So    once        you    get     over    a certain

    7   limit    that       I don't         remember           what     the    latest          limit       of

    8   MySQL    is,       last    I saw         it     was    64K,    MySQL        performs          very

    9   poorly.

10                        The   point       of


M

12                        MR.   GARRIE:            So    then     if    there's          JSON    data

13      in                      can    it     contain          user     data?

14                        MR.   ZARASHAW:


.

M

M
18                        MR.   GARRIE:            Right.        And     then       it    would       be

19                                                 Got    it.

20                        MR.   ZARASHAW:

                                                                                                 and

22      the    developer          would      not        have    to     think    about          it.

23                        MR.   GARRIE:            So    is    there     a list          of


M

M

                                                                                          Page       127


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 1                  MR.    ZARASHAW:              I'm    out     of    my    depth       here.

 2   Mayur?

 3                  MR.    PATEL:         We      would       have     to    go    look       at       the

 4   configuration          and    see       if    that's        possible          to    pull          up.

 5   Again,    that's       out    of     my      expertise           as    well.

 6                  MR.    GARRIE:           Okay.         Zippy.           The    Zippy

 7   database       and Akkio,          do     you      know     what       associations                or

 8   objects      from     TAO    that       Zippy       or    Akkio        stores?

 9                  MR.    ZARASHAW:              I do     not    know.

10                  MR.    PATEL:         I do       not      know.         We    generally

11   understand       how       Zippy     operates.

12                  MR.    GARRIE:           Is   Akkio        used        for          it    says

13   it   flips     the    datasets          into       units     with       strong

14   locality,       meaning       geographical                locality?

15                  MR.    ZARASHAW:              Data     center          locality          in    this

16   case.

17                  One    of    the     challenges            where        we    say    is       we

18   have    many    data       centers        globally,          and       any    time       a

19   transaction          needs    to     be      replicated           to    all    data

20   centers,       it's    far    more        extensive          than       it    would          be

21   locally.

22                  MR.    GARRIE:           So    then       that's        geographically

23   placed    close       to    where       there,        most       likely,       would          be

24   access.        Okay.        Makes       sense.

25                  MR.    ZARASHAW:              Exactly.            What       I mean       by



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 1   extensively             is    latency.               It       takes       a long          time       to

 2   commit       or       write       across        the       continent;                but    if    you

 3   only       care       about       coming        back          to    the       same    data       center,

 4   it    would       create          a better           user          experience.

 5                     MR.       GARRIE:            And       I read          through          the

 6   documentation.                    Memcache           made          sense       to    me.        I got

 7   that.

 8                     Laser,          do    Laser        indexes             point       at    the       Hive

 9   and    make       the       Hive       query?

10                     MR.       ZARASHAW:               It's       the       other       way    around.

11   So    a job       will       run.         So    Dataswarm                jobs       can    have       a

12   source       and       a target.               So    a source             for       Dataswarm             in

13   this       case       would       be    Hive.            It    would          run    a set       of

14   queries          or    custom          code     and       the       target          would       be

15   Laser.           So    that       job    would           then       populate          a Laser             tier

16   with       the    results          of    a Hive           query          that       could       be    --

17   the    result          being       potentially                 quite          large.

18                     There       are       other        ways          to    populate          Laser          as

19   well.        It       does    not       have        to    be       from       Hive.        It    could

20   be    done       from       a shelf        script             if    the       developer          chooses

21   to    do    so.        It    could       be     done          from       any    code       that's

22   written,          but       the    common           use       case       would       be    run       an

23   extensive             query       in    Hive        and       put       the    results          in    Laser

24   for    very       fast       lookups           of    specific             rows.

25                     MR.       GARRIE:            And       Laser          has    storage



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 1   basically.

 2                     MR.    ZARASHAW:              It's    a cache.              It's       a cache

 3   for    storing          a precomputation                of    a large           dataset            when

 4   you    only       ever    want       to    access       a small           subset         of    that

 5   dataset.

 6                     Hive    doesn't          really       offer        the      ability          to

 7   access       one    row.        Every       operation           in      Hive       ends       up

 8   touching          the    entire        table      and       this     is      one    of       the

 9   challenges          we    run    into       any    time       we     are      looking          for

10                                         There's          no    way     in      Hive       to    just

11   quickly       grab       a subset          of    the    table        in      Hive.           Every

12   single       lookup       in    Hive       is    a scan       of     the      entire          file,

13   of    the    entire       table.           It    involves          the       same       amount       of

14   time    to    look       at    all    of    the    data       in     Laser         as    to    just

15   one    row.

16                     MS.    RING:         Special         Master        Garrie,            if    I may,

17   actually          I forgot       that       on    a break          it     was      asked,          they

18   wanted       to    clarify       something             that     had       been      talked

19   about       about                                                                                   and

20   what    it    would       take       to    find    the       data       in    the       tables       in

21

22                     I think,       Mike       and Mayur,             you       guys       wanted       to

23   clarify.

24                     MR.    CLARK:           Well,    I think           it      was    in

25   connection          to    Laser.           Like    Laser        has       very      specific



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 1   mapping       and,       as    Eugene          just    walked          through,             that's

 2   why    that    one-to-one                mapping       makes          it    much more

 3   efficient.

 4                  There          is    the    challenge             of    when          we   go     to

 5   look    for    things          broadly          in    Hive       across          tables          and

 6   where    we    don't          have       that       preexisting             application                  or

 7   dataset       mapping,             that    finding          it,       and       I used         the

 8   analogy       earlier,             but    not       just    looking             in    one      phone

 9   book    or    a couple             phone       books,       it's       the      many

10   warehouses          of    phone          books       with    millions                and millions

11   of    them    trying          to    find       the    same       info.

12                  MR.       GARRIE:           So       I get    that.

13                  You       guys       have       five    million             --   you        run

14   through       five       million          every       night,          every          day.        On

15   one    day you       ran       through          five       million.              So       it's      not

16   like    you    don't          have       the    computational                   capacity            to

17   run    it.

18                  MR.       CLARK:           But       that's       only       the

19   computational             capacity             to    map    it.

20                  What       is       the    challenge          is       most       of       it's      not

21   actually       in    warm          storage,          and    so    to       actually            --

22                  MR.       GARRIE:           Well,       there's             a whole          --      so

23   there's       a whole          separate             Hive    conversation                   about         how

24   it    goes    --

25                  MR.       CLARK:           Okay.        Yeah.



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 1                     MR.    GARRIE:           --    outside.           There's          a Hive

 2   specialist          because          there       has    been       a prior

 3   conversation             about       different          tables          in    Hive       and    how

 4   it's    in    cold       storage       and       it's     compressed               and    zipped

 5   and    it's       a pain       to    access       and     all      of    that.           I

 6   assume       nobody       here       has    that       domain       specific

 7   expertise.

 8                     MR.    PATEL:        We       don't     have      the       expertise.

 9   We    have    the       general       understanding                of    --

10                     MR.    CLARK:        Yes.

11                     MR.    PATEL:        --       like    cold       storage          and       how    it

12   operates.

13                     MR.    GARRIE:           I've    read       --    I mean,          there's          a

14   lot    of    previous          advocacy          around       it.

15                     MR.    CLARK:        And       the    only       thing       I saw

16   missing       in    the    advocacy was                just     the      amount          of    time

17   to    then    manually          map    all       that.

18                     MR.    GARRIE:           Oh,    no.        They       explained             that.

19                     MR.    CLARK:        Okay.           I didn't          know.           The

20   stuff       I read       didn't       have       that.        So    apologies,

21   Special       Master       Garrie.

22                     MR.    GARRIE:           They probably                spared       you.

23   There       was    a whole          other       path    that       was       resolved

24   around       tables       in    Hive       to    tables       in    Hive       and       so    on.

25   So    I'm    fairly       familiar          with       the    amount          of    cold



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 1   storage       sharing          on       a daily        basis          and     how    that's

 2   zipped       and    you       have        to    unzip       it     and      query        it.

 3                  MS.       RING:            Special        Master          Garrie,          look,       I'm

 4   sorry    to    interject                again,        but     we      want     to    really          help

 5   you    understand             this        and     I think          you're       thinking             of    a

 6   different          issue.           I've        read     all       that       documentation

 7   also.

 8                  When       they were               telling          me    this       on    a break,

 9   this    is    a distinct                issue,        which        after       it's       pulled

10   then    it    has    to       be    reviewed,            which          I don't          think

11   we've    addressed             in       prior        submissions.

12                  But       if    you       don't        want       to     hear    about          it,    I

13   mean,    it    is    an       important              part     of      the     process          for

14   being    able       to    actually              --    I mean,           you    know,       Mike,

15   this    is    --

16                  MR.       CLARK:            It's       the     longest          amount          of

17   time.        Like    it's          --     it    could       take        X amount          of    time

18   to    pull    it,    then          it's        X time       to     review       it       because          it

19   is    manual       because          there         isn't       just       a simple          way       to

20   go    technically             audit        what       each       of     those       tables          were

21   to    then    know       how       they        were    mapped.

22                  MR.       GARRIE:               That's       one       big     for    loop       and

23   then    someone          has       to    put      eyes      on     the      output.

24                  MR.       PATEL:            It's       not     just       one    big       for       loop.

25   Right.



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 1                  MR.       GARRIE:            I'm    generalizing,                   but       I get

 2   it.     I get       it.

 3                  MR.       PATEL:         It's       a for        loop      with          a whole

 4   bunch    of    technical             constraints              around,          you       know,       how

 5   much    cold       storage       we     can move           to      warm       on    a single

 6   day.     It's       not    that       we     can move           our      entire          cold

 7   storage       into       warm    storage.

 8                  MR.       GARRIE:            No.     I get          that.           It's       only

 9   one    day.

10                  MR.       PATEL:         Yes.

11                  MR.       GARRIE:            So    I get       there's          a lot          of

12   infrastructure             issues           because        you       move      it       to    cold

13   storage,       and       then    you'd           have    to     move      it       out       of    cold

14   storage       and    then       compress           it,     restore            it,       and       that

15   takes    quite       a bit       of     time       before          we    even       get       to    the

16   search       and    all    the       other        pieces        of      it.

17                  MR.       ZARASHAW:               Sorry.         Just      one       last          thing

18   on    this    point.

19                  It's       not    just        a matter           of      time.           It's       that

20   we    simply       don't       have     enough          hard       drives          to    store

21   additional          --    to    pull        data    out       of     cold      storage

22   without       first       deleting           data       that's          already          in       warm

23   storage       that's       being        used       for     production.

24                  MR.       GARRIE:            Yeah.        I get          it.        I mean,          that

25   was    delivered          to    me     in    the    last        train         of    thought          we



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 1   had,    which          is    why       I granted              the    relief       sought       by

 2   Facebook          at    the       time.            So,    yeah,          I get    that.        I

 3   mean,                                       of     data       isn't       chump    change.           So,

 4   you    know,       that's


I

I                                      Okay.            So    I fully          grasp    the

 7   magnitude          of       what       we're        talking          about.

 8                     I mean,             before        we    get       down    there,       I will

 9   return       to    that          conversation,                 Counsel          Ring,    and

10   please       bring          it    back        up    again.           I just       want    to

11   finish       my    train          of       thought        to    what       we    have.

12                     I have          specific              questions          about    the       product

13   management             process             and     specifically             how    that       works.

14                     But       before           I get       to    that,       what    --    so    I

15   think    what          --    you       were        saying       what       data    does       Laser

16   index    and       I just             want       you     to    repeat       it    one    more

17   time.

18                     MR.       ZARASHAW:               I think          it    might    help       if    I

19   contrast          Memcache             and       Laser        because       they    serve       a

20   very    similar             purpose,             but     used       in    two    different

21   ways.

22                     I'd       classify             Memcache           as    a reactive          cache

23   in    that    you       do       an    extensive              computation          and    then       you

24   store    the       single             result        of    that       computation          in

25   Memcache          so    that          if    you     within          a time       period       have    to



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 1   do    that    computation                 again,         it    is       available             for    fast

 2   access.

 3                     Laser       is    more        for      cases          where       you       cannot,

 4   on    demand,          do    that       computation.                    Instead,          you       do

 5   that    computation,                let's          say,       once       a day       in       bulk       on

 6   the    entire          Facebook          user       base,          so    the    entire             set    of

 7   an    object       type       and       so    on,       and    then       you       commingle

 8   all    of    it    because          the       amount          of    time       to    do       the

 9   computation             for       one     item      is       almost       the       same       as    to       do

10   the    computation                for     the      entire          universe.

11                     So    Laser       is       more       of    a proactive                cache       where

12   we    will    do       the    extensive             computations                once          in    a day,

13   we'll       load       it    into       a Memcache-like                   tier       and       allow

14   randomized             access       to       the    sub-results                of    those

15   computations.

16                     MR.       GARRIE:           That       makes          sense.           Because          it

17   says    Laser          is    an    indexing             service,          but       it    also       has

18   storage.

19                     MR.       ZARASHAW:              Laser       is       effectively                a set

20   of    Memcache-like                machines             plus       infrastructure                   to

21   run    --    most       of    the       time       run       a Hype       query          and       load       up

22   the    results.              So    the       storage          is    ephemeral.

23                     MR.       GARRIE:           Okay.           So    then       how       is    Laser's

24   use    restricted             to    putting             first-party             only products

25   if    Graph API             uses    Laser          to    access          the    data?



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 1                    MR.     ZARASHAW:            There        is       no    direct          access       to

 2   Laser.        So    it    would       have      to    be       through          Graph API.              I

 3   don't    know       which       specific           APIs        use       Laser,       but       it

 4   would    be      similar        to    Memcache            where          Memcache          would       be

 5   used    when       a specific           API     can't          be    fulfilled             quickly

 6   by   getting        MySQL       or    TAO     directly.

 7                    MR.     GARRIE:          And      then        are       there       private

 8   internal-only             Graph APIs            between             the    two?

 9                    MR.     ZARASHAW:            It     would          not    be       a Graph API.

10   Graph APIs          are    externally              available.                  So    Laser

11   offers      up     a drift       service           for     any       --

12                    MR.     GARRIE:          Right.           If       Laser       is    restricted

13   to   supporting           first-party              only products                    and    if

14   Graph API          uses    Laser        to    access           the       data       and    it's       not

15   done,    how       does    that       work?

16                    MR.     ZARASHAW:            So     --    I'm       sorry.

17                    MR.     CLARK:         Sorry.

18                    Mayur,        didn't        you     have       a good          example          of

19   like    the      OFA process,             for      instance?               Maybe          going

20   through       a concrete             example         might          actually          be    helpful

21   in   this     case.

22                    MR.     PATEL:         I am       actually              confused          with       the

23   question.           So    if    the     question           can       be    repeated.

24                    MR.     GARRIE:          Yeah.           So    let       me    explain          as    I

25   understood          it    and    then        maybe        I'm       completely             wrong,



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 1   which    is    possible.

 2                  So    then       Laser's          use    is    restricted            I thought

 3   to    supporting          first-party              only products.

 4                  MR.       ZARASHAW:            That      is    not     correct.            We

 5   don't    think       about          pieces       of    infrastructure               as

 6   designed       for       first       or    third-party             products.             We    have

 7   an API    model          for    all       third-party           interactions

 8   happening          through          a set     of      external        APIs,        but    then

 9   each API       has       product          specific        implementations

10   because       the    API       is    very broad           and      many       of   the

11   products       we    offer          have    their       own APIs          and      then       each

12   API    implementation                may    use       different          types      of

13   storage       to    accomplish             the     product         outcomes         of    that

14   API.

15                  MR.       GARRIE:           Okay.        So    it    doesn't         really,

16   frankly,       matter.              Okay.        All    right.

17                  Question             six,    my     question         is    more      about       the

18   product       process.

19                  In    the       product       process,           how      do    these

20   agreements          --    how       do    agreements          get     made?         I still

21   haven't       been       able       to    figure       this     out.

22                  Like,       you       have    products           and      then      they       sign

23   agreements          with       the       customers        for      the    products.             So

24                  Microsoft,                whoever.         You      build       a product.

25   Like    Facebook          builds          products        and      then       there      are



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 1   agreements             with    customers              to    use    features             of    the

 2   products.

 3                     So    what       I'm     trying          to    understand             is    what's

 4   the    sequence          of    how        that       works       and    then       if    they're

 5   customer          specific          driven products                    or    projects.

 6                     I just       started            reading         over       some       of    the

 7   agreements.              So    I'm not            exactly         sure.

 8                     MS.    RING:            So    we    really       don't       have          someone

 9   on    here    who       focuses          on     that.           I mean,       I think

10   there's       like       a business               tool      and    they're          subject          to

11   standard          terms.

12                     MR.    GARRIE:               Well,       no.     That's          my    question.

13   So    that's       my    question.

14                     You    have       products           that       you       build       and

15   there's       a set       of       --    how      does      this       --    like       I'm    a

16   business.              I want       to     use       your       products.

17                     MS.    RING:            So,     I mean,         look,       we    don't       have

18   anyone       on    this       call        that       deals       with       that    exactly.

19                     I think          if     it's       something          --    if    it's       a

20   business          tool    and       it     uses       a standard             app,       you    know,

21   they    just       sign       up    and        use    it    and    it's       subject          to    the

22   standard          terms.

23                     I don't          know        for    this       specific.              You    know,

24   we    provided          contracts              for                      Microsoft,

25                      I don't          know        the    process          that's          followed



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 1   and    I can       say who          cares     what      I know,          but    we    didn't

 2   bring       anybody who             knows     that      process.

 3                  MR.       GARRIE:           And    all       I'm    trying       to    figure

 4   out    is    the    pro-       --    I get       the    products.

 5                  What       I'm       trying       to    figure       out    is    these

 6   agreements,          are       the    products          --    I'm       trying       to    figure

 7   out    if    there's          a process          for    where       products          may be

 8   tailored,          customized,             whatever,          for       a particular

 9   customer       and       if    there's        a process,            a product

10   development          process           for    that.          You    usually          get   a

11   project       program.              Like     usually         there's       a --       in   most

12   places       there's          a project          manager.           There's          a product

13   and    there's       a project             manager          assigned       to    build       that

14   out    to    meet    the       requirements             to    tailor       that       specific

15   need    or    whatever.

16                  Just       at    a high        level         for    those       products,          is

17   there       a standardized              process         that's          followed?

18                  MR.       CLARK:         At    just      the       highest       level,       like

19   just    to    walk       through        this,         there       are    the    primary

20   products.           There       is     the    third-party               developer

21   platform,          the    business           products         that       we've       already

22   spoken       about.           For    any     changes         to    any    of    those,       they

23   go    through       both       the

                                                           for    those       checkpoints.

25                  MR.       GARRIE:           But    there       are       agreements          that



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 1   are    made    with       clients          like                           or    with

 2   Microsoft,          for       example.

 3                  MR.       CLARK:           And       that's          where       I can          talk    to

 4   the    example       overall.              And       when       there          are       specific

 5   individual          products,             I am       not       an    expert          in    that.

 6                  MR.       GARRIE:           But       my    question             is,       are    they

 7   handled       --    my    --    it's       just          a broad          question             and

 8   that's    all       I have          for    question             six       is,       is    there       a

 9   broad process             for       when       a customer,                a third          party,

10   Microsoft,          Amazon,          comes          and    says          we    want       to    do    --

11   we're    a big       boy       sitting          at       the    big       boy       table,

12   right    --    I have          a six-year-old,                      so    it's       a

13   commonly-used             phrase          in    my       house       --       and    they want

14   certain       things.           Right.              You    know,          I want          my    red

15   cup.     I want          my    whatever             it    is    and       there's          a

16   process,       you       know,       that       is       followed.

17                  And my          question             is    at    Facebook,                what    I'm

18   trying    to       figure       out,       is       there       some          process          that's

19   documented          as    to    how       this       is    done          for    --       you    know,

20   because       it's       involving             --    like       if       you    look       at

21   Microsoft,          there's          user       information                   going       back       and

22   forth    all       over       the    place.

23                  Is    there          a process             that's          followed             for    the

24   product       that's          documented             to    build          it    out       generally?

25                  MR.       CLARK:           They       follow          the       same       process.



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 1   They    follow       the    same

 2                  There       is    a specialized                      business             development

 3   team    that    works       on       the       contracts             side          and    with       the

 4   product       teams,       but       that       is       as    far       as    this       goes.

 5   They    follow       the    same          types          of    constraints                and

 6   controls       and    usage          of    data          that       all       of    the       other

 7   teams    do    as    part       of     the      overall             program.

 8                  MR.    MITCHELL:                 There          are       no    exceptions                to

 9   our    standard       development                   process          or       deviations.

10                  MR.    GARRIE:              That's             basically             what       I'm

11   getting       at.

12                  MR.    MITCHELL:                 Yeah.           We       have       a common

13   development          process           that         is    utilized             by,       you       know,

14   sort    of    all    products             and       they       all       go    through             the

15                                         and,          you       know,       they'll             go

16   through       all    the    gates          we've          discussed                at    various

17   points       over    the    course             of    today          and       there's          no

18   exception       because          you're             Microsoft             or                        and

19   you're       a big    boy.

20                  MR.    GARRIE:              That's             why    I'm       asking          because

21   there's       a whole       discussion                   of    private             APIs       and

22   everything          else,       but       it    follows             --    today          it    follows

23   that    process.

24                  When    did       this          process          get       in       place?

25                  MR.    CLARK:              I can't             speak       to       the    exact



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 1   date.

 2                     MR.    MITCHELL:            It's      before          my    time.

 3                     MR.    GARRIE:           Well,       we    can       work    backwards

 4   from    2020,          but    it    would    be    helpful             to    know when          that

 5   process       came       into       place     given         the       class    period       is

 6   rather       --    because          that    applies          to       new    things,       not

 7   old    things;          right?        So    one    of       the       questions       is

 8   but    that's          not    for    now,     frankly.

 9                     So    let    me    keep     going         in    the       interest       of

10   everybody          that's          here    and    the       engineering             resources

11   that    are       here.

12                     Question          seven,       how    is       Hive       used?     Is    Hive

13   used    as    a data          warehouse          while       building          product

14   experiences?                 I couldn't          figure          it    out    from    the

15   description.

16                     MR.    ZARASHAW:           What       do       you    mean    by    while

17   building          product          experiences?              Like       for    what    part       of

18   the    product          experience          do    you       mean?

19                     MR.    GARRIE:           I mean       start          to    finish.

20                     MR.    ZARASHAW:           Most       commonly




                                                      and    so       on.



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 1                  MR.       GARRIE:           I mean,          that      makes     sense       given

 2   the    amount       of    data       that's       being          collected.

 3                  I guess          now       that    I understand                a little

 4   better,       is    a query          to    build       experiences             assuming

 5   you're       using,       like,       Laser?           Is    that       how    that    works?

 6                  MR.       ZARASHAW:              I'm    not       sure    I understand

 7   the    question.

 8                  MR.       GARRIE:           So    how       are    you    querying       --    I

 9   think       I --

10                  Never          mind.        You've          already       answered       the

11   question.           Because          Laser       is    like       Memcache.           It's

12   indexed       and       it's    targeted          so       you    can    then    --    okay.

13                  So       then    is     there      any       clear       delineation          of

14   any    of    the    Hive       data       resources          that       are   used     in

15   products?           Is    there       a table          key       or   something        like

16   that?        Not    for       100    percent.

17                  MR.       ZARASHAW:              Not    that       I know.        Mike?

18                  MR.       CLARK:           No.     And       nothing       comes       directly

19   to    Hive.        It    would       --    because          it's      just    wait     and

20   see.        It's    like       it's       optimized          for      writes     and    not

21   for    reads       and,       from    a product             experience

22   perspective,             it    would       need       to    go    through       one    of    the

23   other       layers       or    some       other       transformation             in    order

24   to    be    usable       in    a product          experience.

25                  MR.       ZARASHAW:              Actually          that's       a really



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 1   good    point       to    call       out,        Mike.

 2                  Special          Master           Garrie,        on    a given             --    as    of

 3   about


I                                                                         It    is    not       anywhere

 5   near    real       time.        So     at    any    point        it       takes       somewhere

 6   between


I

I                                                                                         So    it       would

 9   not    work    for       any    production              data     use       that       would

10   require       us    to    read       data        back    after        writing             it.

11                  MR.       CLARK:           You,     as    a product              engineer,

12   would    start       with                 and     most     of    the       time       end       with

13

14                  MR.       GARRIE:            All    right             So    then       --       okay.

15   So    then    on    Exhibit          B,     which,       by     the       way,       was

16   helpful,       the       last    row        on    Page     3 says          other          datasets,

17   that    Facebook          occasionally              acquires              datasets             to    help

18   inform       different          user        models,        blah,          blah,       blah.

19                  Do    you       see    where        I'm     at?

20                  MR.       PATEL:           Sorry.         Which        page       is       this?

21                  MR.       GARRIE:            Page    3,     last       row.

22                  MS.       RING:         So,       yeah.        This        is    --

23                  MR.       MITCHELL:               Page    41     in    the       pdf.

24                  MR.       GARRIE:            Yeah.

25                  MS.       RING:        Okay.



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 1                     MR.       CLARK:        Found          it.

 2                     MR.       GARRIE:           My    question             is,    while

 3   data    is       not    user       specific,             implications             derived          from

 4                data       would       be    or       is    or    can       be.

 5                     So    what       are    the       data       points          that    are

 6   stored?           Like       where       are       they       stored?

 7                     MR.       PATEL:        Do       you    mean       stored       with       the

 8   user    at       a user       level       granularity?

 9                     MR.       GARRIE:           Derivation             from       the

10   data.        You're          deriving          data       from       the                 data.

11   Where       is    that       data    stored?

12                     MR.       PATEL:        Which          system          are    you    talking

13   about?           Because       then       we'd          probably          need    an    admin

14   engineer          to    describe          like          where       that       data

15   eventually             --

16                     MR.       ZARASHAW:              It's       like       a lot    of    other

17   situations             where       the    life          cycle       is    usually       figuring

18   out    what       use       case    we're          trying       to       come    up    with.

19   Then    a product             team       decides          a use          case    should       exist

20   in    the    world.           They       go    build          the    use       case,    which

21   may    include          acquiring             a third-party                dataset.           Then

22   for    the       use    case       they're          trying          to    hit    usually       based

23   on    the    read       and    write          patterns,             they'll       pick       the

24   piece       of    infrastructure                   or    system          that    makes       sense

25   for    that       use       case.        And       so    there's          no    general



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 1   principles          for       where       it    should be             stored,          other

 2   than    what       makes       sense       for       the    specific             project.

 3                  MR.       GARRIE:           So       I guess       my       follow-up

 4   question       to       that    is,       are       these       implications                included

 5   in    the    DYI    file?

 6                  MR.       PATEL:           The       implica-          --    if    you're

 7   talking       about       the       ads    targeting             criteria,             they       are

 8   in    DYI.

 9                  MR.       GARRIE:           I'm       talking          about       any       of    the

10   data.        Well,       no.        You    said       ads.        I'm       saying          any       of

11   the    --

12                  What       I'm being             very       clear       about          is    derived

13   from    the                    data       because          you    say       there's,             you

14   know,       other       datasets          and you          reference             the

15   data.        I'm    saying          you    can       derive       data          from       that

16   information             and    my    question             is,    is    the       derived

17   information             that    you       get       from    that       stored          or    made

18   available          in    the    DYI       file?

19                  MS.       RING:        Excuse          me,       Special          Master

20   Garrie.

21                  I mean,          Mr.       Patel,          this    is       --    we    talked.

22   This    is    --    this       column          is    --    this       column          is

23   referring          to    something             very       specific,             which       is    ad

24   targeting          options          based       on    income.              Those       are       in

25   DYI.



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 1                        So,    Mr.    Patel,           I mean,            can       you    just

 2   describe             --    I think          it    would       be       helpful          to       describe

 3   this       is    just       an    ad    targeting             option             that       is    created

 4   using                       data       we    get       and    that          is    in    the       DYI      file

 5   and    people             can    X out       of     it,      et    cetera.

 6                        MR.    PATEL:           I mean,          you       have          transparency

 7   and    control             in    your       ads    preferences                   as    well       into

 8   this.

 9                        MS.    RING:           Maybe       it's       actually

10                        MR.    GARRIE:              Well,       let       me    make       it       simpler.

11                        Where       might       it    be     that         I'm       rich       stored?

12   Where       is       it    stored?           I mean,          I guess             that's          what      I'm

13   trying          to    figure       out.           Right.

14                        MS.    RING:           In    your       DYI       file.           I looked            mine

15   up    and       I'm       apparently             not    rich.           My       ad    targeting

16   option          was       actually          for     a low         --    like          a low

17   percentage                based    on       my    zip     code,         I guess.                 So   --

18                        MR.    PATEL:           Yeah.           Special             Master          Garrie,

19   I don't          know       that       answer          because          it's          the    ads

20   targeting             product          team       that       would          know       exactly          where

21   this       is    stored.           Like,          I can       just          speculate             where       I

22   would       store          it,    but       I cannot          tell          you       for    sure.

23                        MR.    GARRIE:              And    then       because             one       thing      I

24   noticed          looking          at    the       APIs,       you       require             data      to

25   be    --    just          returning          back       to    a prior             conversation.



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 1                     In       some    of       the    API       functions,             you       require

 2   it    to    be    in       there       and       you    don't          necessarily produce

 3   that       data       in    the    DYI       file       every          single       time       and

 4   there's          --    there       are       specific             elements,          but       do       you

 5   have       data       elements?              Like,       for       example,          the

 6   Luluemon,             you       require          there       to    be       a value       put       in

 7   there,       but       it       doesn't          mean    that          it    will    necessarily

 8   be    returned             to    the    DYI       file       at    least          based       on    the

 9   documentation                   that    I looked             at.

10                     MR.       CLARK:           I believe,                and    I'll       go    back       and

11   reiterate             what       we'd       stated       before.              And    you       broke          up

12   for    just       a moment             in    the       question,             so    I want          to    make

13   sure       I'm    answering             this        right.

14                     The       only       required          fields             are    the,       you       know,

15   time       and    date          stamp       that       comes       in,       the    event          type,

16   and    we    share          that       back.           There       are       custom       fields

17   that       the    third party,                   the    business             product          user

18   company,          individual                can     apply         on    their       own       and       that

19   is    the    content             that       to    us    is    not       directly mapped.

20   If    they map             a page       to       you,    if       they map          an    initiate

21   checkout,             those       are       things       that          are    specifically

22   mapped       and       meaningful.

23                     MR.       GARRIE:              Okay.        I get          it.

24                     So       then    what          are    the       other       sources          of       data

25   that       Facebook             draws       implications                from?



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 1                  MS.       RING:         I think          you    cut    out      for    me,       at

 2   least.        I couldn't             hear.         It    sounded         like    there          was

 3   an    echo.

 4                  MR.       GARRIE:           What     are       other      sources       of       data

 5   that    Facebook          draws        implications             from?

 6                  MR.       ZARASHAW:            I think         we     would      need       to    get

 7   somebody       from       the    ads       targeting           team      to    answer

 8   that.

 9                  MR.       GARRIE:           Yeah.         It    sounds         like    the       ads

10   targeting          team will          be     --    they will          be      able    to    speak

11   to    the    use    of    cookies          that     aren't         the     user,      the

12   identifiers,             but    are     different             cookie       types      as    well

13   as    this    area.        But,       otherwise.

14                  And       then    my     last       question,          on      Exhibit       C can

15   you    just    explain          to    me     the    last       two    sentences            in    the

16   opening       paragraph?

17                  MR.       CLARK:         On    the       spacer       page      that    says

18   Exhibit       C?

19                  MR.       GARRIE:           Yeah.         In    the    opening

20   paragraph          on    Exhibit        C.        I just       didn't         understand

21   it.

22                  MR.       CLARK:         Is    that       a question            for    us,       the

23   engineers,          or    is    that       a question           for      the    legal

24   team?

25                  MR.       GARRIE:           The     legal.          I mean,       whoever             is



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 1   best    to    answer       it.        I have          a feeling          the    legal       team

 2   may,    but    I don't       know.

 3                  MS.    RING:           I'm     sorry.             Can    you    repeat       the

 4   question?           I didn't          --    I couldn't             --    I'm    going       out.

 5   I don't       know    if    it's       mine.

 6                  MR.    GARRIE:              The     last      two       sentences       in    the

 7   opening       paragraph.

 8                  MS.    RING:           Of    what       page?

 9                  MR.    GARRIE:              Exhibit          C.

10                  MR.    MITCHELL:               Page         42.

11                  MR.    CLARK:           Is     it      the    thing       that    says,       "On

12   3 DYI    includes          data       that       as    a factual          matter"?           Is

13   that    what    you're       referring                to?

14                  MR.    GARRIE:              Yeah.

15                  MS.    RING:           What       does       that       mean?

16                  MR.    GARRIE:              Yeah.

17                  MS.    RING:           It    just       means       that       inference       is

18   not    a defined       term,          and     so      it    has    legal       meanings       in

19   certain       contexts       and       we're          just       talking       about    as    a

20   factual       matter.

21                  Like    in    the       table          we    just       looked    at    at    the

22   bottom,       those    are       ad    targeting             options.           Those       are

23   in    DYI.     They're       derived             from                    data    and    zip

24   code    and    that's       it.        And       so    it's       just    to    say    like

25   that's       just    derived          data.



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 1                     MR.    GARRIE:           Okay.           And    then       we    need       to

 2   talk    to    someone          on    the       ads    team,       it    sounds          like,       to

 3   determine          what       else    besides                          and    how       that

 4   flows.

 5                     MS.    RING:         For      ad    targeting?              Like       the       ad

 6   targeting?

 7                     MR.    GARRIE:           Yeah.           Besides                       in

 8   Exhibit       B.

 9                     MS.    RING:        Yeah.           I mean,          just       to   be     --    you

10   mean          you       mean    ad     targeting,            all       those       options          are

11   in    DYI,    but       you    want       to    know       where       they're          stored

12   within       --

13                     MR.    GARRIE:           But,       more       importantly             --    yeah.

14   But,    more       importantly,                what    is    stored          when       they're

15   providing          --    what       data       do    they    get       and    then       what

16   data    is    going       in    the       DYI?        Is    it    one-to-one             or    is       it

17   a --

18                     MS.    RING:         It's         based    --    the       ad    targeting

19   options       are       derived        from         on-platform             activity,          and

20   then    the       targeting          option          goes    into       DYI.           I'm    sure

21   it's    stored          somewhere          else       for    use       in    advertising,

22   but    is    that       the    --    so    that's          the    question?

23                     I think       and,       Mayur,          you    just       don't       know       the

24   answer       to    that       because          you're       not    on       the    ads       team.

25                     MR.    PATEL:           Yeah.        I don't          know       where       it's



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 1   stored,       which       specific           system.

 2                  MR.       GARRIE:          And    I have          a couple          other

 3   questions       there,          but     I need        to    think       over       the

 4   answers       that       were    given         before,       but       I can       give       them

 5   in   writing.            I have        a couple        scenarios;                but    rather

 6   than    go    through          the     scenarios           now,    what          I'm

 7   thinking       I'll       do    is     I'll     provide          Facebook          a set       of

 8   scenarios       to       explain        the     specific          outputs          of    where

 9   data    goes.

10                  MS.       RING:         I'm     sorry.        You       cut       out    at    the

11   end.     What       did you          say?       What       was    the       end part          of

12   what    you    said?

13                  MR.       GARRIE:          I'm    going       to    provide             a set       of

14   scenarios,          in    all    likelihood.                I had       them written

15   here.        Like    Plaintiff            suggested          some,          but    I actually

16   have    my    own.        But    I don't         think       it    --       it    would

17   probably       take       all    day      to    go    through          the       scenarios.

18                  So    rather          than      taking       everybody's                time    to

19   go   through        them,       I was        thinking        about          putting          the

20   scenarios       in       writing        and     letting          you    guys       provide

21   written       answers          explaining,            you    know,          what       data    is

22   being    collected             and    where      is    it    going          rather       than

23   doing    it    now.

24                  MS.       RING:        That      would       make       it    interesting.

25                  MR.       GARRIE:          It    wasn't       nearly          as    --    yeah.



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 1   But,    anyways,          that's       what       I'm       thinking         we'll       do

 2   rather       than    doing       it    in     real      time       right      now       trying

 3   to    figure    it    out,       but       give       you    guys       a certain         time

 4   to    just    review       and    then        give      the       written         answers.

 5                  Has    anybody          ever       run       a disk       between         TAO       and

 6   the    DYI    file?

 7                  MR.    PATEL:           I have          not.        I don't         --    I don't

 8   think    we    can.        Like,       they're          two       different         schemas.

 9                  MR.    GARRIE:              You'd       have       to   map    them,       but

10   you    could.

11                  All    right.           I think          that       covers         most    of       my

12   questions       for       today,       and       I think          my preference               is

13   to    provide       the    written          and       additional          follow-on

14   questions       rather          than       continuing             forward.

15                  I may       have       one     last      --    I need         to    review

16   what    was    covered          today.           We    covered          a lot,      but

17   there's       certainly          some       further          conversations               about

18   the    Hive    and    the       advertising,                the    cookies         and    how

19   those    --    like       you    have       a range          of    cookies,         how       are

20   they    incorporated             and       used       into    the       system.

21                  I understand                the    systems          part      now.        Now       I

22   need    the    data       piece       on    that.           Nobody       here      can    speak

23   to    DATR    cookies       or    any       of    the       other       cookies         that       are

24   used?

25                  MR.    PATEL:           Sorry.           Which          cookies      are       you



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 1   referring          to    specifically?

 2                     MR.    GARRIE:              There's          on-platform             Facebook

 3   cookies,          and    there's          third-party                cookies,          and    then

 4   there       are    subsets          of    those        as      well.        I mean,          we    can

 5   run    through          them    if       you    want,          but    I didn't          think

 6   that    --       the    DATR    cookie.

 7                     MR.    PATEL:           Yeah.           The       DATR    cookie       is

 8   primarily          used       for    security purposes.                          It's    to

 9   understand             whether       or       not    you       have    previously             logged

10   in    and    the       primary purpose                 to      whether       or    not       you've

11   primarily          logged       in       on    that       browser.           So    it

12   identifies             a browser.              And     so      if    you    try    to    log       in

13   again       --    sorry.        If       you     try      to    log    in    the       first       time

14   with    a new          DATR    cookie,          we     may      checkpoint             you    there

15   and    ask       for    a confirmation                 through         email       or    phone          in

16   order       to    continue          to    log       you     in.       And    then       if    you

17   log    out       and    log    back       in    with        the      same    DATR       cookie,

18   we    may    not       ask    you    again.            So      that's       the    reason          for

19   the    first-party             cookie          that       we    have.

20                     MR.    GARRIE:              No.      My      question          was

21   different.

22                     Why    is    it    in       the    DYI       file    and       not    other

23   cookies?           I understood                what       it    did.        We    spoke

24   previously             about    it.

25                     MR.    PATEL:           Oh.



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 1                  MR.       GARRIE:           My    question             was    more,       why       is

 2   that    cookie       put       in    the    DYI       file       and    who's          making

 3   the    decision          about       what       cookies          are    going          into       the

 4   DYI    file,       what       are    all    the       cookies          you're          capturing

 5   and    storing       in       the    Hive,       how       are    they       associated

 6   with    the    users,          and    how       are    they being             shared          and

 7   aggregated          to    third parties?

 8                  If    you       guys     can      speak       to       that,       we    can       get

 9   into    it;    but       if    not,     I won't            recommend          it.

10                  MR.       PATEL:         No.

11                  MR.       CLARK:         No.       That       is       one    we    would          need

12   to    get    some    additional             folks          engaged          with.

13                  MR.       GARRIE:           No.        I mean,          so    I got       what

14   it's    used       for.        I'm     just      trying          to    figure          out    why

15   some    cookies          are.        Like,       there's          a lot       of       cookies

16   that    exist       in    the       world,       like       a lot,          and    a user          will

17   have    many.        And       so    how    are       they       --    what       and    how       is

18   being       captured          and    utilized          and passed             and       shared

19   back    and    forth          and    utilized?

20                  So    I figured             I'd    table          that.        So       that       I

21   have    follow-on.              I may       have       follow-on             at    one       single

22   hearing       to    cover       the     Hive      and       those       issues,          and       then

23   send    you    the       scenarios          is    what       I'm       thinking.

24                  But       before        I wrap         it    up,       Plaintiff,             do    you

25   have    any    questions?



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 1                     MS.       WEAVER:            No.        I think          this          has       been

 2   very,       very       helpful          and     I think             it    would          be    useful

 3   for    us    to    read          the    transcript              and       be    thoughtful

 4   before       following             up.

 5                     But       I wanted           to    thank          everybody,                thank

 6   Facebook          and       all    of     the       engineers             who       came       to       try    to

 7   educate       us       today.

 8                     MR.       GARRIE:            Yeah.           So    thank          you       to

 9   Facebook.              Thank       you     to       all       four       engineers             for

10   taking       time       out       of    your        very       busy       day.           I know          the

11   lawyers       have          their       jobs,        but       your       job       is    not       to,

12   per    se,    participate                 in    these          proceedings                on       the

13   regular.           So       I really           appreciate                you    taking             the

14   time    out       of    your       day     and       the       time       to    prepare             to

15   answer       these          questions           and       I wanted             to    thank          you       for

16   making       yourselves                available.               It       was    extremely

17   informative             and       helpful.               And    I hope          we       don't          talk

18   again;       but       if    we    do,     then          hopefully             it    will          be    as

19   instructive             and       as    useful           as    this       time.           So       thank

20   you    all    very much.

21                     And       do    we    need        to    do    anything,

22   Court       Reporter,             before        we       dismiss          everybody                off    the

23   record       or    anything             like        that?

24                     MS.       RING:         I think             Mr.    Solanki             is    trying          to

25   say    something.



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 1                  MR.    SOLANKI:              Sorry.           I may       have       missed

 2   this.

 3                  We    had    talked,           I think,            in    the    last       hearing

 4   about    just       designating             it    as    highly          confidential

 5   given    the       amount       of     information             that's         been

 6   disclosed          about    our        systems.           So      you    may    have       done

 7   that    already.           But       if    not

 8                  MR.    GARRIE:              I did       not.        I did       not.

 9                  So    he's       100       percent       correct.              This    is

10   highly       confidential             and     should         be    designated             as

11   such    and    treated          accordingly.

12                  THE    COURT          REPORTER:            Okay.

13                  MS.    RING:           May     I add       one      last       thing,

14   Special       Master       Garrie,          while       we     have      everyone          here,

15   including          Plaintiff?

16                  On    the    turnaround             time        for      these       scenarios

17   or    additional          questions,             we'd     appreciate            as    much

18   time    as    we    can    get.           It's    hard       to    turn       them    around

19   and    give    good       and    full       answers          when       we    don't       have

20   very    much       time.

21                  MR.    GARRIE:              I fully        acknowledge               and    hear

22   you.     When       I next       talk       with       Judge       Chhabria,          I'll

23   communicate          accordingly.                 But     I agree            with    you       and

24   appreciate          and    understand             how much             work    and    effort

25   is    involved       here       and       I will       attempt          to    convey       the



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 1   same,   as    appropriate.

 2                 MS.    RING:       Thank        you.

 3                 Look,       the   desire        is     to   have     a helpful

 4   response.          It's    easier       to    do     that    with      a little       more

 5   time.     That's      all.        So    thank        you.

 6                 MR.    GARRIE:           Yeah.         Noted       for   the   record,

 7   certainly.

 8                 And    we'll      go     off    the     record       here,     unless

 9   anybody      has    anything         else     to     say.

10                                                * * *




11        (Whereupon,          the   hearing         ended       at    2:28   p.m.       PST)

12

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 1                         CERTIFICATION                OF    COURT     REPORTER

 2                                              FEDERAL       JURAT

 3

 4                     I,       the    undersigned,              a Certified          Shorthand

 5   Reporter         of    the       State       of    California        do    hereby

 6   certify:

 7                     That          the    foregoing          proceedings           were    taken

 8   before      me    at       the    time       and    place     herein       set    forth;

 9   that    any      witnesses             in    the    foregoing        proceedings,

10   prior      to    testifying,                were    placed        under    oath;       that    a

11   verbatim         record          of    the    proceedings           was    made    by    me

12   using      machine          shorthand             which     was    thereafter

13   transcribed            under          my    direction;        further,          that    the

14   foregoing         is       an    accurate          transcription           thereof.           I

15   further         certify          that       I am    neither        financially

16   interested            in    the       action       nor    a relative        or    employee

17   of   any    attorney             of    any    of    the     parties.

18                     IN       WITNESS          WHEREOF,        I have       this    date

19   subscribed            my    name:           Date:        March     14,    2022.

20

21

22

23

24                     Michelle             Milan       Fulmer

25                     CSR       6942,          RPR,    CRR,     CRC



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 1


 2


 3


 4


 5


 6


 7


 8                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
12

                                                 HON. VINCE CHHABRIA
13
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4— 17 TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15

                                                 ORDER FOLLOWING MARCH 9, 2022
16
                                                 HEARING REGARDING PLAINTIFFS'
                                                 MOTION TO COMPEL PRODUCTION
17
                                                 OF PLAINTIFF DATA
18


19


20


21


22


23


24


25


26


27


28


        ORDER FOLLOWING MARCH 9, 2022 HEARING REGARDING PLAINTIFFS' MOTION
                            TO COMPEL PRODUCTION OF PLAINTIFF DATA
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            No later than April 5, 2022, Facebook is to submit aproposed protocol for producing named
 1


 2
     Plaintiff user data pursuant to Judge Corley's Discovery Order No. 9(Dkt. 557) beyond what has been

 3   produced to date. No later than April 11, 2022, Plaintiffs are to submit aresponse to Facebook's

 4   proposed protocol. Facebook's proposal should include, if appropriate, the following types of

 5
     information.
 6
         • Data flow diagrams of the systems from which Facebook searches and produced Named Plaintiff
 7
             Data.
 8

         • Functional descriptions and interdependencies for DataSwarm tasks that process Named Plaintiff
 9


10           Data.

11       • Descriptions of the schemas, tables, columns, and data types for Named Plaintiff Data that is

12
            produced.
13
             Facebook's proposal should identify any Facebook systems and the Named Plaintiff Data that it
14
     will not produce from and include an explanation as to why it will not produce from such systems (i.e.,
15

     burden, costs, duplicative, etc.)
16


17           The Special Master Garrie suggests that Facebook's protocol include producing the Named

18   Plaintiff Data from the following.

19
         • The Associations Objects (TAO) —Facebook is to the identify and produce Named Plaintiff
20
             Data stored in TAO that is not present in the Named Plaintiff's DYI file and it should include, if
             applicable, the following: (a) the Objects and Associations in TAO associated with the Named
21           Plaintiffs, but are either partially or not included in the DYI file (i.e. Named Plaintiff Data that is
             not exported in DYI file but stored in TAO). For example, data about aPage (as defined by
22
             Facebook) that the Named Plaintiff interacted with is stored in aMySQL table in TAO called Y,
23          which was not included in the DYI file. Facebook identifies table Y and produces the
             rows/columns from table Y with the Named Plaintiff Data relating to the page.
24


25
         • Hive -- Facebook is to query the Hive to identify the tables that store Named Plaintiff Data using
             the identifiers including the following: User ID (UID), Replacement ID (RID) Separable ID
26           (SID), App-Scoped ID (ASID). For each table identified Facebook is to search the tables for the
             associated Named Plaintiff Data. (i.e., tables mapping user identifiers to ad segmentation data
27
             such as US Political spectrum segments). For example, aFacebook engineer writes aprocess that
28           stores user data, including Named Plaintiff Data, in the Hive in table X and the table has a

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               column "RID." Facebook would produce the Named Plaintiff Data that is stored in table X. This
 1
               effort should exclude any of the analysis done in relation to DataSwarm below.
 2
        • DataSwarm               Facebook is to query DataSwarm Tasks to identify Task Definitions which
 3
               involve Named Plaintiffs Data, using known identifiers such as User ID (UID), Replacement ID

 4
               (RID) Separable ID (SID), App-Scoped ID (ASID). Facebook will review each of those Task
               Definitions and then search the sources/destinations identified in the task for the Named Plaintiff
 5             Data. See Special Master Hearing Transcript 3/9 p.35 5-13. For example, Facebook queries the
               DataSwarm Tasks and identifies aTask that uses the UserID to pipe data to Laser and stores that
 6
               data in table Y. Facebook is to search and produce from table Y all Named Plaintiff Data
 7             (columns/row/schemas) that was not included in the DYI file.

 8                                                       Written Questions

 9             Facebook is also to submit answers to the following questions and requests for documentation to

10
     the Special Master on or before April 1, 2022.

11
                                                                  Hive
12
        • How does ad impression and ad click data for Facebook users get into Hive?
13

        • What tables store ad impression and ad click data for Facebook users?
14


15      • What data pipelines 1 are used to analyze ad impression and ad click data for Facebook users?

16             Where is the final output of these data pipelines stored (e.g. Hive table names, TAO, etc.)?

17
        • Identify alist of Hive tables containing columns that store aUID, RID, SID, ASID, or other
18
               means of identifying aFacebook user. The list is to include tables that were active during the
19
               relevant time period.
20

        • What is the estimated time and cost to produce data for the Named Plaintiffs from Hive?
21


22                                                           Ads Interests

23      • How does Facebook determine ads interests for auser based on what the user views (i.e. are ad

24
               interests based on what the user views on Facebook or other Internet activity)?

25
        • Does Facebook track user activity across the Internet using cookies? If so, what cookies does
26
               Facebook use? Provide astatement explaining the use of cookies in tracking user activity on and
27


28
     1Data   pipeline as used here refers to an end to end data process using data tasks in adependency chain.
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            off the Facebook platform to create behavioral data about users. Provide documentation on the
 1


 2
            use of fbp,   fbc, and DATR cookies. Explain whether the scope of tracking user activity

 3          includes on or off platform activity, or both.

 4
        • How are ads interests associated with aparticular user? Where is ads interests data for individual

 5
            users stored? Facebook is to describe whether ad interests data can be associated with aspecific
 6
            user via UID, RID, SID, ASID, or other means and whether it is included in the DYI file.
 7

        • What is the estimated time and cost to produce ad interests data for the Named Plaintiffs?
 8

                                                      Contracts
 9


10      • Is the data referenced in the contracts with Netflix, Microsoft, and/or YouTube that Facebook

11          provided to Special Master Garrie for in camera review in connection with the Named Plaintiff

12
            Data hearings included in the DYI file? If not, Facebook is to specify what data is not included
13
            and where such data stored.
14
                                                     Scenarios
15

            No later than April 4, 2022, Facebook is to submit documentation sufficient to describe the data
16


17   collected both on and off platform or provided by Third Parties in the following scenarios and provide

18   written responses to the questions below.

19
        • Exhibit A to Plaintiff's Questions re: Data Collection and Use indicates that Facebook used
20
            predictive algorithms to generate five political segments for Facebook users (Very Liberal,
21
            Liberal, Moderate, Conservative, and Very Conservative) based on demographic, psychographic,
22

            and behavioral signals from Facebook user data.
23


24
                o What are the inputs into these algorithms (i.e. what are the demographic, psychographic,


25                  and behavioral signals used to generate the political segments)? Are these inputs provided

26                  by users or derived by Facebook?

27
                    How are the psychographic signals computed (e.g. how is the psychographic signal "High
28
                    Dollar Religious Donor" determined)?
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          o Is information regarding identifiable ethic affinities provided by users or derived by
 1


 2
             Facebook? How is ethic affinity derived?

 3        o Where is political segmentation data for Facebook users stored?

 4        o Is political segmentation determined for aFacebook user as part of adata process that

 5
             runs on aregularly scheduled basis or evaluated in real time when an ad is served?
 6
          o Is political segmentation associated with aFacebook user if possible (i.e. via UID, RID,
 7
             SID, ASID, or another identifier that can be mapped to auser)? If so, explain how the
 8

             political segmentation is associated with aFacebook user.
 9


10        o Is an individual's assigned political segment part of the DYI file?

11


12


13


14

       IT IS SO ORDERED.
15


16
       Monday, June 27, 2022
17                                                 Daniel Garrie
                                                   Discovery Special Master
18


19


20


21


22


23


24


25


26


27


28


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             Exhibit P
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GIBSON DUNN
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   HIGHLY CONFIDENTIAL—ATTORNEYS EYES ONLY


  April 18, 2022


  VIA JAMS ACCESS

   Special Master Daniel B. Garrie
   DGarrie@jamsadr.com

   Re:     In re Facebook Consumer Privacy User Prcfile Litigation, JAMS Ref No.
           1200058674

   Dear Special Master Garrie,

            Pursuant to the Special Master's Order Following March 9, 2022 Hearing Regarding
   Plaintiffs' Motion to Compel Production of Plaintiff Data, dated March 22, 2022, Facebook
   submits this proposal to assist in determining "what, if any" additional named plaintiff data
   should be produced, as directed in Judge Corley's order dated January 12, 2022 (Dkt. No.
   807), and respond to "Scenario" questions.

              Facebook's Proposal For Producing Additional Named Plaintiff Data

          As Judge Corley explained in her most recent order on named plaintiff data, issued on
  January 12, 2022, the Special Master is working with the parties to determine "what, if any"
  additional named plaintiff data should be produced consistent with Rule 26. Facebook
  continues to believe that the named plaintiff data that has already been produced, which
  includes data in all three categories of "discoverable user data" identified in Judge Corley's
  Discovery Order No. 9, satisfies its obligations under Rule 26. The additional data Plaintiffs
  seek is neither relevant to their claims nor proportional to the needs of this case because it
  was not shared or made accessible to third parties.

            That said, in an effort to resolve this issue, and consistent with Judge Corley's
   Discovery Order Nos. 11 and 12 allowing Plaintiffs to test Facebook's position on whether
   there is additional named plaintiff data that was shared or made accessible to third parties,
   Facebook proposes the protocol set forth below for producing additional named plaintiff
   data.

          As explained in Facebook's March 7, 2022 submission to the Special Master, at a
  high level, user data is stored in production systems and the data warehouse.
                                                                           Accordingly, we
  propose to produce additional data from these systems as explained below.


          Beijing •Brussels •Century City •Dallas •Denver •Dubai •Frankfurt •Hong Kong •Houston •London •Los Angeles •Munich
                   New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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          TAO. As also explained in the March 7, 2022 submission, TAO is adistributed data
  store for the social graph. There is an object and associations to that object for all users. See
  Ex. A, Internal Facebook Wiki Regarding TAO Core Concepts. For each named plaintiff,
  Facebook will produce the user objects and associations to those objects.

         Hive. As explained in prior submissions to the Special Master, Hive is Facebook's
  data warehouse. See Ex. B, Declaration of Mengee Ji In Support of Facebook Inc.'s Motion
  For Reconsideration of Ssecial Master's Order Re ardin Named Plaintiff Data, If 11
                                                                         Id. 16.




            Id. These searches are subject to many technical and policy limitations which
  make searchin for individual user data undul burdensome, includin that 1
                                                  id 20,2



                                          (id.1121); (3)
           (id. If 22); and (4) data in many Hive tables are in cold storage and would have to be
  restored in order to be searched and analyzed, see Ex. C, Declaration of Mengee Ji In
  Support of Facebook Inc.'s Motion For aProtective Order Against Production of API Call
  Logs,111117-18; Special Master's Nov. 8, 2021 Order Re: Facebook's Motion For Protective
  Order Against Production of API Call Logs, If 15 ("Special Master Garrie finds that the data
  in the Mobile Table and Web Table is not reasonably accessible because it is not readily
  usable in its 'cold storage' state and must be restored to 'warm storage' in order to be
  searched and analyzed (i.e. usable).").

          For these reasons, among others, as reported in its April 11, 2022 submission,
  Facebook estimates that it would take approximately                             or around
                       of computational cost to search across the entire Hive data warehouse and
  extract all data about asingle user.

          Once the searches have been conducted, and data is returned, the data must be
  manually reviewed to, among other things, confirm that the data is associated with a
  particular user and does not include personal data of other users (e.g., user blocking another
  user) or trade secrets, and does not create system integrity or security concerns.
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          In light of the above technical limitations and burdens, Facebook proposes to search
  for and produce the following named plaintiff data from Hive to the extent it exists:
  (1) specific types of data requested or referenced by Plaintiffs in challenging Facebook's
  production of named plaintiff data; (2) asample of data from Hive tables with user identifiers
  included in Exhibit B to the April 11, 2022 submission; and (3) the only data identified in
  Exhibit C to the April 11, 2022 submission that has not already been produced to Plaintiffs in
  the DYI file or otherwise: set permissions (audience controls on apost).

   1.   Specific Types of Data

        • Any remaining c  jfpla form activity: DYI includes off-platform activity. Facebook

          will search for and produce any underlying raw log-level data for off-platform
          activity provided to Facebook by athird party associated with the named plaintiffs.

        • Any remaining ad interests: DYI includes ad interests. Facebook will search for and
          produce any underlying raw log-level data associated with the named plaintiffs.

        • Any remaining ad click data: DYI includes ad click data. Facebook will search for
          and produce any underlying raw log-level ad clicks data associated with the named
          plaintiffs.

        • Ad impressions data: Facebook will search for and produce ad impressions data
          associated with the named plaintiffs.

        • Any remaining custom audience data: DYI identifies third parties who have created
          custom audiences associated with auser. Facebook will search for and produce any
          more granular information about custom audiences associated with the named
          plaintiffs, including custom audience type, whether it was used to deliver ads, and
          when.

  2. Sampling from Hive tables identified in Exhibit A of April 11, 2022 submission

           Given that data in Hive tables are not shared or made accessible to third parties, the
  significant burden of searching for and producing individual user data from Hive as
  explained in prior submissions, and that Facebook has already produced nearly amillion
  pages of the named plaintiff data from the DYI system, Hive data is not relevant or
  proportional to the needs of this case. Facebook nevertheless understands that, as Judge
  Corley found in Discovery Order Nos. 11 and 12, Plaintiffs are allowed to test Facebook's
  positions on "sharing and accessibility" by obtaining discovery into what data exists and how
  it is used. To that end, and consistent with the requirements of relevance and proportionality
  under Rule 26, Facebook proposes asampling process.
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          In addition to the above specific categories of data, Facebook will produce asample
  of data in warm storage from Hive tables identified in Exhibit A of the April 11, 2022
  submission. Specifically, Facebook will produce data from 200 tables in Exhibit A to be
  jointly selected by Facebook and Plaintiffs. Facebook will randomly select 100 tables and
  Plaintiffs will select 100 tables.

  3. User data identified in Exhibit B of the April 11, 2022 submission and not in DYI

         As shown in Exhibit C of Facebook's April 11, 2022 submission to the Special
  Master, only two types of user data in the contracts submitted to the Special Master for in
  camera review are not included in the DYI file: (1) privacy settings, and (2) set permissions
  (audience controls on apost). (1) has already been produced. Facebook will agree to
  produce (2) from TAO.

         With respect to other Facebook systems, not including TAO and Hive, there are
  seven systems lthat did not fall into one of the categories identified by the Special Master in
  Hearing Order Regarding Plaintiffs' Motion To Compel Production of Plaintiff Data, dated
  February 21, 2022:                                          (MySQL),              (MySQL),
                     and               Producing data from any of these systems would be
  extremely burdensome and is not relevant or proportional to the needs of this case.

      •                     and              These systems are BLOB and binary storage and are
          not searchable by user identifiers.

      •          This system is areal-time aggregation counter and is not searchable by user
          identifiers.

      •            (MySQL),              (MySQL),        and              These systems contain
          unstructured data and cannot be searched by user identifiers, except for tables using
          Ent or Node schemas for which there is astructured deletion plan. Searching other
          tables for named plaintiff data would require afull text search of all tables that would
          take many months to complete and generate asignificant number of false positives
          requiring manual review of all data returned.

         With respect to Dataswarm, the Special Master suggested that Facebook "query
  Tasks to identify Task Definitions which involve named plaintiff data" using identifiers,


  1         should have been put in Category (6) because the data is in DYI. Mshould also have been put in
  Category (6) because it is duplicative of TAO. MySQL describes the general use of MySQL databases and
  should not be aseparate entry. For example,          (MySQL) and            1 (MySQL) are specific uses of
  MySQL.
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  review those Tasks Definitions, and then search for named plaintiff data in the
  sources/destinations identified. We have investigated the Special Master's suggestion and
  did not include it in our proposed protocol because it is not feasible. Dataswarm is a
  collection of data processing operations coded in Python. Task Definitions are the Python
  code and Tasks are the running of that code. Searching Python code for user identifiers
  would be done through asyntax-only search which cannot understand the semantic meaning
  of the data being processed, i.e., whether acolumn name being processed involves auser
  identifier. As aresult, additional code would have to be developed to understand
  whether/how identifiers are involved in aparticular Task Definition.


                                                                 Production Databases




                                                                                  A
                                     Web Server
                                                                    Scrapes    Laser

                                                                        •




                                                                  Data Warehouse (Hive)
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  Special Master Daniel B. Garrie
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                                             Scenarios

          No later than April 4, 2022, Facebook is to submit documentation sufficient to
  describe the data collected both on and off platform or provided by Third Parties in the
  following scenarios and provide written responses to the questions below: "Exhibit A to
  Plaintiff's Questions re: Data Collection and Use indicates that Facebook used predictive
  algorithms to generate five political segments for Facebook users (Very Liberal, Liberal,
  Moderate, Conservative, and Very Conservative) based on demographic, psychographic, and
  behavioral signals from Facebook user data."

      1.   What are the inputs into these algorithms (i.e. what are the demographic,
           psychographic, and behavioral signals used to generate the political segments)? Are
           these inputs provided by users or derived by Facebook?

  Answer: As an initial matter, Very Liberal, Liberal, Moderate, Conservative, and Very
  Conservative are ad interests ("political ad interests"), which are distinct from political
  segmentation "based on demographic, psychographic, and behavioral signals from Facebook
  user data" ("political segments"). Political segments are political ad interests that are divided
  into political segments.

  Political ad targeting segments were deprecated for new campaigns in January 2022 and for
  existing campaigns in March 2022. Based on areasonable investigation to date, these were
  ad targeting segments derived from the followin on- slatform activit user- rovided data
  and observed data




  Political segments were deprecated for new campaigns in October 2017 and for existing
  campaigns in January 2018. Based on areasonable investigation to date, these segments
  were created b
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     2.   How are the psychographic signals computed (e.g. how is the psychographic signal
          "High Dollar Religious Donor" determined)?

  Answer: Based on areasonable investigation to date, we believe "High Dollar Religious
  Donor" was an ad targeting option based on partner categories. We do not know how this
  partner category was created. Partner categories were deprecated in October 2018.

     3.   Is information regarding identifiable ethnic affinities provided by users or derived by
          Facebook? How is ethnic affinity derived?

  Answer: Ethnic affinities, also referred to as multicultural affinities, were ad interests
  created by Facebook based on auser's on-platform activity indicating an interest in content
  relating to certain communities. Ethnic affinity ad interests were deprecated in August 2020.

     4.   Where is political segmentation data for Facebook users stored?

  Answer: Political segments were deprecated in October 2017 for new campaigns. Existing
  campaigns using political segments ended on January 1, 2018. Based on areasonable
  investigation, we believe that political segments were deleted in January 2018.

     5.   Is political segmentation determined for aFacebook user as part of adata process that
          runs on aregularly scheduled basis or evaluated in real time when an ad is served?

  Answer: Based on areasonable investigation to date, we believe political segments were
  created manually b



     6.   Is political segmentation associated with aFacebook user if possible (i.e. via UID,
          RID, SID, ASID, or another identifier that can be mapped to auser)? If so, explain
          how the political segmentation is associated with aFacebook user.

  Answer: Based on areasonable investigation to date, we believe political segments were
  associated with users by UIDs.

     7.   Is an individual's assigned political segment part of the DYI file?

  Answer: Based on areasonable investigation to date, we do not believe political segments
  were included in the DYI file.
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  Special Master Daniel B. Garrie
  April 18, 2022
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   Sincerely,




  Rosemarie T. Ring
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            Exhibit Q
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        BLEICHMAR                                                KELLER
                                                                 ROHRBACK
        FONTI & AULD LLP                                          LAW   OFF- IC[5   •   LLP




DESIGNATED HIGHLY CONFIDENTIAL—ATTORNEYS' EYES ONLY BY FACEBOOK

                                          April 29, 2022

VIA JAMS ACCESS

 Special Master Daniel B. Garrie
 DGarrie@jamsadr.com

          Re: In re Facebook, Inc., Consumer Privacy User Profile Ling.,
              JAMS Ref No. 1200058674, Case No. 3:18-md-02843-VC (N.D. Cal.)

Dear Special Master Garrie:

       Pursuant to Order Following March 9, 2022 Hearing Regarding Plaintiffs' Motion To
Compel Production of Plaintiff Data dated March 22, 2022, Plaintiffs submit this response to
Facebook's Proposal for Producing Additional Named Plaintiff Data, submitted April 18, 2022.
For ease of reference, Plaintiffs have pasted Facebook's proposal, "highlighted" in gray, into this
document and provide responses to its proposal inline. To summarize, Facebook should be
ordered to produce the following data.

        From TAO, in addition to what Facebook offers to produce—for each Named Plaintiff,
the user objects and associations to those objects—it should also be ordered to produce the TAO
schema and provide answers to questions about what information is "currently maintained" in
TAO.

         From Hive, for each Named Plaintiff: First, Facebook should produce the types of data it
identified in its April 18 submission and the additional types of data identified in this response,
whether included in the DYI file or not. However, the production should not be limited to data
that is associated with aNamed Plaintiff Rather, it should include data that can be associated
with aNamed Plaintiff Second, Facebook should produce the schema and an excerpt comprising
the top five rows of each of the Hive tables listed in Exhibit B of its April 11 submission.
Plaintiffs propose aprocess for identifying the tables Facebook should be required to search for
data that can be associated with aNamed Plaintiff

        Finally, for both TAO and Hive, based on Facebook's response regarding the time period
of the data that it can produce from these sources, it should be required to identify the efforts it
made to maintain data that could be associated with the Named Plaintiffs.

       FACEBOOK'S PROPOSAL FOR PRODUCING ADDITIONAL NAMED PLAINTIFF DATA

        As Judge Corley explained in her most recent order on named plaintiff data, issued on
January 12, 2022, the Special Master is working with the parties to determine "what, if any"
additional named plaintiff data should be produced consistent with Rule 26. Facebook continues
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to believe that the named plaintiff data that has already been produced, which includes data in all
three categories of "discoverable user data" identified in Judge Corley's Discovery Order No. 9,
satisfies its obligations under Rule 26. The additional data Plaintiffs seek is neither relevant to
their claims nor proportional to the needs of this case because it was not shared or made
accessible to third parties.

        That said, in an effort to resolve this issue, and consistent with Judge Corley's Discovery
Order Nos. 11 and 12 allowing Plaintiffs to test Facebook's position on whether there is
additional named plaintiff data that was shared or made accessible to third parties, Facebook
proposes the protocol set forth below for producing additional named plaintiff data.

        As explained in Facebook's March 7, 2022 submission to the Special Master, at ahigh
level, user data is stored in production systems and the data warehouse.
                                                                Accordingly, we propose to
produce additional data from these systems as explained below.

                       Plaintiffs' Response to Facebook's Introduction:

         This is the first time Facebook has conceded that Judge Corley's discovery orders
required the production of any Named Plaintiffs' data that Facebook contends was not shared
with or made accessible to third parties. Before now, Facebook has consistently taken the
position that Judge Corley's discovery orders did not require the production of any Named
Plaintiffs' data that Facebook asserts was not shared with or made accessible to third parties.
This about-face is welcome and long overdue.

        However, Facebook's proposed protocol and answers to the Special Master's inquiry
generates more questions than answers. That may be because, as an internal document leaked
this week reveals, Facebook does not know where Named Plaintiff data is located (or, indeed, to
whom it was disclosed). See Lorenzo Franceschi-Bicchierai, Facebook Doesn't Know What It
Does With Your Data, Or Where It Goes: Leaked Document, Motherboard (Apr. 26, 2022).

         According to the leaked document, Facebook "can't enumerate all the data we have -
where it is; where it goes; how it's used"—which raises the question, "how can we make
commitments about it to the outside world?" The document illustrates the challenge to Facebook
using an analogy. "Imagine you hold abottle of ink in your hand. This bottle of ink is amixture
of all kinds of user data (3PD, 1PD, SCD, Europe, etc.) 1You pour that ink into alake of water
(our open data systems; our open culture) ...and it flows ...everywhere. How do you put that
ink back in the bottle? How do you organize it again, such that it only flows to the allowed
places in the lake?"

        Based on this newly disclosed information, it is possible that the reason Facebook's
efforts to determine what data it has that can be associated with the Named Plaintiffs have been
so incomplete, unfocused, and confusing is that Facebook does not and cannot know. If it is not


1 According  to the article, "3PD" is third-party data, "1PD" is first-party data, and "SCD" is
 sensitive categories data.
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able to identify all data that can be associated with the eight Named Plaintiffs, Facebook should
clearly state that fact.

        TAO. As also explained in the March 7, 2022 submission, TAO is adistributed data store
for the social graph. There is an object and associations to that object for all users. See Ex. A,
Internal Facebook Wiki Regarding TAO Core Concepts. For each named plaintiff, Facebook will
produce the user objects and associations to those objects.

                                  Plaintiffs' Response to TAO:

         In addition to Facebook's proposal, it should also be ordered to produce the TAO schema
referenced on page 2of Exhibit A in its April 18 submission. Though the reference to the TAO
schema exhibit includes ahyperlink, the web page is password protected and inaccessible to
Plaintiffs.

        In response to Plaintiffs' question about the time range captured by this category of data,
Facebook stated that it will search for and produce user objects and associations to those objects
"that are currently maintained in TAO which cover the life of the account." Ex. 1. That response
raises two more questions. First, what is "currently maintained in TAO"? In other words, for the
Named Plaintiffs who are still active on Facebook, are there objects and associations that were
once in TAO but are no longer? If so, what has Facebook done to maintain the Named Plaintiffs'
objects and associations since the onset of this litigation? Second, what efforts did Facebook
make to maintain objects and associations in TAO for the Named Plaintiff who deleted her
Facebook account?

      Plaintiffs ask that Facebook answer the questions above by May 6, 2022, and that
Facebook be ordered to produce the user objects and associations to those objects for each
Named Plaintiff, along with the TAO schema, by May 13, 2022.

       Hive. As explained in prior submissions to the Special Master, Hive is Facebook's data
warehouse. See Ex. B, Declaration of Mengee Ji In Support of Facebook Inc.'s Motion For
Reconsideration of Special Master's Order Regarding Named Plaintiff Data, If 11.
                                                                  .Id. ¶16.
                                                       Id. If 17.

                                    Id. If 18.




          Id. These searches are subject to many technical and policy limitations which make
searching for individual user data unduly burdensome, including that (1)
                                        (id. II 20); (2)



                       (id. If 21); (3)                                             (id. If 22);
and (4) data in many Hive tables are in cold storage and would have to be restored in order to be
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searched and analyzed, see Ex. C, Declaration of Mengee Ji In Support of Facebook Inc.'s
Motion For aProtective Order Against Production of API Call Logs, ¶¶ 17-18; Special Master's
Nov. 8, 2021 Order Re: Facebook's Motion For Protective Order Against Production of API Call
Logs, If 15 ("Special Master Garrie finds that the data in the Mobile Table and Web Table is not
reasonably accessible because it is not readily usable in its 'cold storage' state and must be
restored to 'warm storage' in order to be searched and analyzed (i.e. usable).").

        For these reasons, among others, as reported in its April 11, 2022 submission, Facebook
estimates that it would take approximately                           or around
of computational cost to search across the entire Hive data warehouse and extract all data about a
single user.

       Once the searches have been conducted, and data is returned, the data must be manually
reviewed to, among other things, confirm that the data is associated with aparticular user and
does not include personal data of other users (e.g., user blocking another user) or trade secrets,
and does not create system integrity or security concerns.

        In light of the above technical limitations and burdens, Facebook proposes to search for
and produce the following named plaintiff data from Hive to the extent it exists: (1) specific
types of data requested or referenced by Plaintiffs in challenging Facebook's production of
named plaintiff data; (2) asample of data from Hive tables with user identifiers included in
Exhibit B to the April 11, 2022 submission; and (3) the only data identified in Exhibit C to the
April 11, 2022 submission that has not already been produced to Plaintiffs in the DYI file or
otherwise: set permissions (audience controls on apost).

                    Plaintiffs' Response to Facebook's Hive Introduction:

        Because Facebook elaborates on its proposal to produce three types of Named Plaintiff
data from Hive in the following sections, Plaintiffs will respond to its proposal regarding those
three types of data inline. Plaintiffs respond here to Facebook's assertion that it will take
           of computational cost to search across the entire Hive data warehouse and extract all
data about asingle user.

       There is no doubt that there is some burden associated with searching across Hive. But
Facebook's repeated assertion that of the                     of computational cost required does
not provide sufficient information about the actual burden it faces for two reasons.

        First, Facebook is not being asked to search across the entire Hive data warehouse. It
only needs to search tables that contain data that can be associated with individual users during
the relevant time period for this action.

        Second, the mention of the number of CPU days of computational cost is almost entirely
meaningless without knowing the amount of computing power in Hive. It is reasonable to
assume that Facebook, one of the largest technology companies in the world, has available at
least tens of thousands of CPUs—if not hundreds of thousands or even more.
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         Facebook's response also prompts additional concerns. Plaintiffs are concerned that
Facebook does not identify the relevant tables that are in cold storage and when they were placed
in cold storage. To the extent that any such table were placed in cold storage during the pendency
of this action, Facebook should not be permitted to elide its discovery obligations regarding
Named Plaintiff data due to its failure to suspend archiving. And Plaintiffs are concerned about
Facebook's repeated framing of what it will produce. Facebook's proposal is limited to data that
is associated with aNamed Plaintiff. It should be ordered to produce data that can be associated
with aNamed Plaintiff. In other words, if Hive contains data that is not directly associated with
the Named Plaintiff in atable, Facebook should still produce the data if it is possible for
Facebook to associate that data with aNamed Plaintiff (e.g., by reference to another table).

1.     Specific Types of Data

       • Any remaining off-platform activity: DYI includes off-platform activity. Facebook
         will search for and produce any underlying raw log-level data for off-platform
         activity provided to Facebook by athird party associated with the named plaintiffs.

       • Any remaining ad interests: DYI includes ad interests. Facebook will search for and
         produce any underlying raw log-level data associated with the named plaintiffs.

       • Any remaining ad click data: DYI includes ad click data. Facebook will search for
         and produce any underlying raw log-level ad clicks data associated with the named
         plaintiffs.

       • Ad impressions data: Facebook will search for and produce ad impressions data
         associated with the named plaintiffs.

       • Any remaining custom audience data: DYI identifies third parties who have created
         custom audiences associated with auser. Facebook will search for and produce any
         more granular information about custom audiences associated with the named
         plaintiffs, including custom audience type, whether it was used to deliver ads, and
         when.

                 Plaintiffs' Response to "Specific Types of Data" from Hive:

        Plaintiffs have several concerns regarding Facebook's proposal to produce the above
"specific types of data requested or referenced by Plaintiffs in challenging Facebook's
production of named plaintiff data."

        First, Facebook should not limit its production of these specific types of data based on the
specific language Plaintiffs used to describe them. For example, Facebook should not limit its
production of ad impressions data to data associated with aspecific table, column header, or cell
containing the phrase "ad impressions." Unlike Facebook, Plaintiffs do not have access to Hive.
Therefore, the "specific types of data requested or reference by Plaintiffs" should be construed
broadly as providing descriptive information.
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         Second, Facebook should not limit its production of these specific types of data based on
related data included in the DYI file. For example, Facebook states that ad interests are included
in the DYI file and agrees to search for raw log-level ad interest data associated with the Named
Plaintiffs. But, as discussed below, Facebook also disclosed it does not believe one type of ad
interest the Special Master inquired about—political segments—are included in the DYI files. It
is not clear whether any other ad interests may not be included in the DYI file. In addition to the
raw log-level data, Facebook should also search for and produce all ad interests that can be
associated with Named Plaintiffs (not just those already associated with Named Plaintiffs),
whether included in the DYI file or not. This example should not be understood to indicate
Plaintiffs' interest in ad interests only. Rather, it applies equally to each of the specific types of
data identified. For each, it should produce all data capable of being associated with the Named
Plaintiffs, whether included in the DYI file or not.

              Third, Plaintiffs also request that Facebook produce these additional specific types of
data:

         i.      Ad profile data for each of the Named Plaintiffs. Aldo King testified Facebook
                 created ad profiles for each user, but also testified that they were uncertain about the
                 scope of data that was incorporated. See, e.g., Ex. 2, King Dep. Tr. at 68:14-69:7
                 (unsure whether visits to third-party websites were incorporated in ad profiles); id. at
                 83:9-20 (unsure whether                                                           were
                 incorporated in ad profiles). Facebook's submission also states that aspecific type of
                 ad profile (political segments) was based in part on                       ." These types
                 of data do not appear to have been included in the DYI files.

        ii.      The tables containing data that stores, for the entirety of their time on Facebook, the
                 list of apps authorized or installed, and the period of time during which each such app
                 was authorized or installed, by (a) the Named Plaintiffs and (b) each of the Named
                 Plaintiff's Facebook friends (by FBID and username). That information should enable
                 Plaintiffs to use other produced documents, such as the Method Table and the
                 Capabilities Tool, to determine whether any of the Named Plaintiffs' information may
                 have been made available to athird party through friends_* or related permissions.

        Fourth, to ensure that there is no miscommunication, Facebook should identify in writing
the specific tables identified that include these types of information and how it determined those
specific tables (and not others) had these types of information.

       Fifth, for each of the tables containing this specific information, Facebook should
produce data flow diagrams and schemas. See March 22, 2022 Order at 1.

        Sixth, in response to Facebook's submission, Plaintiffs asked about the time range of the
data Facebook proposes to produce for each of the above categories. In response, Facebook
indicated it will produce any remaining off-platform activity up to the last two years, any
remaining ad interests for "at least 90 days," and "any remaining custom audience data." Ex. 1
(emphasis added). Those responses are concerning. The Named Plaintiffs joined this litigation
more than 2years ago, and Plaintiffs are concerned about the apparent insufficiency of
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Facebook's efforts to preserve this information. From Facebook's response of "up to two years,"
it is unclear whether there is some off-platform activity that is not available for even the two-year
period. Further, though Facebook's responses regarding the other specific categories are less
troubling on the surface—it states it will produce responsive information from 2015—it is
unclear whether Facebook could have produced responsive information from earlier time periods
if it had made an earlier effort to preserve the information.

        By May 6, 2022, Facebook should be ordered to identify the efforts it has undertaken to
preserve the specific types of data identified by Facebook and Plaintiffs in this section that can
be associated with the Named Plaintiffs. Facebook should be ordered to produce the above-
identified information by May 27, 2022.

2.        Sampling from Hive tables identified in Exhibit A of April 11, 2022 submission

        Given that data in Hive tables are not shared or made accessible to third parties, the
significant burden of searching for and producing individual user data from Hive as explained in
prior submissions, and that Facebook has already produced nearly amillion pages of the named
plaintiff data from the DYI system, Hive data is not relevant or proportional to the needs of this
case. Facebook nevertheless understands that, as Judge Corley found in Discovery Order Nos. 11
and 12, Plaintiffs are allowed to test Facebook's positions on "sharing and accessibility" by
obtaining discovery into what data exists and how it is used. To that end, and consistent with the
requirements of relevance and proportionality under Rule 26, Facebook proposes asampling
process.

        In addition to the above specific categories of data, Facebook will produce asample of
data in warm storage from Hive tables identified in Exhibit A of the April 11, 2022 submission.
Specifically, Facebook will produce data from 200 tables in Exhibit A to be jointly selected by
Facebook and Plaintiffs. Facebook will randomly select 100 tables and Plaintiffs will select 100
tables.

                         Plaintiffs' Response to Sampling from Hive Tables:

         As an initial matter, Plaintiffs believe Facebook intended to reference Exhibit B of its
April 11 submission, not Exhibit A. The April 11 submission describes Exhibit A as "a list of
data pipelines used to analyze ad impression and ad click data for which we believe output i[s]
stored in Hive," and Exhibit B as "a list of Hive tables that" may "store user identifiers with data
as it enters Hive." 2

          Facebook's proposal is untenable for two reasons.

       First, Exhibit B lists    Hive tables. Facebook proposes that 100 of those tables —
fewer than 1% of them — be selected at random for limited production. While Facebook


2    Facebook's April 11 submission states that "Exhibit B is alist of Hive tables that store user
    identifiers with data as it enters Hive," but then states that the tables "were identified using tools
    that probabilistically identified them as containing user identifiers."
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proposes that Plaintiffs be permitted to select another 100 tables, that is not only (again) fewer
than 1% of the tables it identified that may contain Named Plaintiff data, but Exhibit B does not
contain sufficient information for Plaintiffs to make an informed determination about which
tables to select.

          Second, the information Facebook proposes to produce from those 200 tables is unduly
limited. Facebook proposes that it "will produce asample of data in warm storage" from the
selected. That description is insufficiently specific. What does Facebook mean by "a sample of
data"? What data is "in warm storage" (and, equally, what data is not)? Moreover, given the
number of tables at issue and the hundreds of millions of users whose information may be
contained therein, asample of 200 tables is exceedingly unlikely to contain Named Plaintiff data.
It is far too late in this already attenuated process and far too close to the end of fact discovery
for this level of imprecision.

        In addition, Plaintiffs are concerned about the extent of Facebook's efforts to preserve
Named Plaintiffs' data stored in Hive. In its response to Plaintiffs' inquiry about the time period
it would produce, Facebook stated that the "[t]ime range depends on the tables selected." Ex. 1.
Plaintiffs need to understand what attempts Facebook made to retain data in Hive that can be
associated with the Named Plaintiffs, as well as the standard retention policies for various tables.

        Because Facebook's proposal is untenable, Plaintiffs propose the following production
protocol.

         First, by May 6, 2022, Facebook should be ordered to describe the efforts it undertook to
preserve data in Hive that can be associated with Named Plaintiffs and the timing of those
efforts. On that date, Facebook should also provide the standard preservation practices applicable
to each of the tables it identified in Exhibit B.

        Second, by May 13, 2022, Facebook should produce to Plaintiffs and make available to
the Special Master the schema and an excerpt comprising the top five rows of each of the Hive
tables listed in Exhibit B. This information will help Plaintiffs decide the specific tables to search
for Named Plaintiff data.

        Third, by June 3, 2022, Plaintiffs will identify to Facebook and the Special Master the
tables from which they seek Named Plaintiff data. If Facebook does not agree to produce from
the tables identified by Plaintiffs, the parties will have one week to attempt to resolve the dispute,
during which time they will be required to meet and confer at least once. If the parties have not
reached agreement by June 10, the issue will be submitted, without additional briefing or
explanation unless requested, to the Special Master.

       Fourth, within one week of parties' agreement on the tables to be searched or the Special
Master resolves the issue, the Special Master will enter arolling production schedule.
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3.        User data identified in Exhibit B of the April 11, 2022 submission and not in DYI

Facebook's Statement:

        As shown in Exhibit C of Facebook's April 11, 2022 submission to the Special Master,
only two types of user data in the contracts submitted to the Special Master for in camera review
are not included in the DYI file: (1) privacy settings, and (2) set permissions (audience controls
on apost). (1) has already been produced. Facebook will agree to produce (2) from TAO.

         Plaintiffs' Response to User Data Identified in Exhibit C of April 11 Submission:

        As an initial matter Plaintiffs believe Facebook intended to reference Exhibit C, not
Exhibit B. The April 11 submission identified Exhibit C as "identif[ying] user data in the
contracts submitted to Special Master Garrie for in camera review." Moreover, Plaintiffs'
response assumes that Exhibit C accurately reflects all of the types of data in the contracts
Facebook submitted to the Special Master for review.

        Regarding privacy settings, attached to this response as Exhibits 3and 4are the privacy
settings Facebook produced. Facebook should confirm that Exhibits 3and 4include all of the
information Facebook has about each of the Named Plaintiffs privacy settings during the
relevant time period. If there is any additional information related to the Named Plaintiffs'
privacy settings, Facebook should produce it. Facebook should also describe any limitations on
the privacy settings it is able to produce (e.g., it only retains privacy settings for acertain period
of time, it does not retain privacy settings for Named Plaintiffs who are no longer on Facebook,
etc.).

        Regarding set permissions, Plaintiffs agree with Facebook's proposal so long as the
production is not limited in any way. Facebook should also describe any limitations on the set
permissions it is able to produce (e.g., it only retains set permissions for acertain period of time,
it does not retain set permissions for Named Plaintiffs who are no longer on Facebook, etc.).

        With respect to other Facebook systems, not including TAO and Hive, there are seven
systems 3 that did not fall into one of the categories identified by the Special Master in Hearing
Order Regarding Plaintiffs' Motion To Compel Production of Plaintiff Data, dated February 21,
2022:                                           (MySQL),              (MySQL),                     ,
and            .Producing data from any of these systems would be extremely burdensome and is
not relevant or proportional to the needs of this case.

     •                     and              These systems are BLOB and binary storage and are not
          searchable by user identifiers.



3        should have been put in Category (6) because the data is in DYI.     should also
have been put in Category (6) because it is duplicative of TAO. MySQL describes the general
use of MySQL databases and should not be aseparate entry. For example,          (MySQL) and
          (MySQL) are specific uses of MySQL.
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   •          This system is areal-time aggregation counter and is not searchable by user
       identifiers.

   •            (MySQL),            (MySQL),          and             These systems contain
       unstructured data and cannot be searched by user identifiers, except for tables using Ent
       or Node schemas for which there is astructured deletion plan. Searching other tables for
       named plaintiff data would require afull text search of all tables that would take many
       months to complete and generate asignificant number of false positives requiring manual
       review of all data returned.

                                      Plaintiffs' Response:

       Based on the expectation that Facebook's descriptions are accurate regarding what is
contained in them and how that data is used and stored, Plaintiffs will not presently seek the data
from the seven systems described in this section.

        With respect to Dataswarm, the Special Master suggested that Facebook "query Tasks to
identify Task Definitions which involve named plaintiff data" using identifiers, review those
Tasks Definitions, and then search for named plaintiff data in the sources/destinations identified.
We have investigated the Special Master's suggestion and did not include it in our proposed
protocol because it is not feasible. Dataswarm is acollection of data processing operations coded
in Python. Task Definitions are the Python code and Tasks are the running of that code.
Searching Python code for user identifiers would be done through asyntax-only search which
cannot understand the semantic meaning of the data being processed, i.e., whether acolumn
name being processed involves auser identifier. As aresult, additional code would have to be
developed to understand whether/how identifiers are involved in aparticular Task Definition.

                                                               Production Databases




                                                                 •
                                        Web Server
                                                                 Scrapes   Laser




                                                                Data Warehouse (Hive)
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                                       Plaintiffs' Response:

       Based on Facebook's description of Dataswarm, Plaintiffs will not presently seek
production from that system.

                                             SCENARIOS

Special Master's Questions Following March 9, 2022 Hearing:

        No later than April 4, 2022, Facebook is to submit documentation sufficient to describe
the data collected both on and off platform or provided by Third Parties in the following
scenarios and provide written responses to the questions below: "Exhibit A to Plaintiff's
Questions re: Data Collection and Use indicates that Facebook used predictive algorithms to
generate five political segments for Facebook users (Very Liberal, Liberal, Moderate,
Conservative, and Very Conservative) based on demographic, psychographic, and behavioral
signals from Facebook user data."

        1.   What are the inputs into these algorithms (i.e. what are the demographic,
             psychographic, and behavioral signals used to generate the political segments)? Are
             these inputs provided by users or derived by Facebook?

Facebook's Answer: As an initial matter, Very Liberal, Liberal, Moderate, Conservative, and
Very Conservative are ad interests ("political ad interests"), which are distinct from political
segmentation "based on demographic, psychographic, and behavioral signals from Facebook
user data" ("political segments"). Political segments are political ad interests that are divided into
political segments.

Political ad targeting segments were deprecated for new campaigns in January 2022 and for
existing campaigns in March 2022. Based on areasonable investigation to date, these were ad
targeting segments derived from the following on-platform activity (user-provided data and
observed data):




Political segments were deprecated for new campaigns in October 2017 and for existing
campaigns in January 2018. Based on areasonable investigation to date, these segments were
created by




                                       Plaintiffs' Response:

       Plaintiffs are concerned about the imprecision of Facebook's response. The use of
                                                                           c
phrases such as'
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                          ," and                                                ..." raises the
possibility that Facebook has not responded to the Special Master's inquiry by identifying all of
the inputs. Further, Facebook's response does not indicate how or what off-platform activity
informed political ad targeting segments or political segments. No off-platform activities are
mentioned as inputs into political ad targeting segments. And for political segments,
                                                            "are identified without further
description.

        Facebook's statement that political ad targeting segments were deprecated in March
2022, and political segments deprecated in January 2018 are non sequiturs. Plaintiffs' proposed
class period runs from 2007. Any responsive information from 2007 to the point of deprecation
is relevant and should be provided.

       2.   How are the psychographic signals computed (e.g. how is the psychographic signal
            "High Dollar Religious Donor" determined)?

Facebook's Answer: Based on areasonable investigation to date, we believe "High Dollar
Religious Donor" was an ad targeting option based on partner categories. We do not know how
this partner category was created. Partner categories were deprecated in October 2018.

                                       Plaintiffs' Response:

       Facebook does not answer the Special Master's question. The only response it provides
concerns an example identified by the Special Master for illustrative purposes, and even
concerning that example, Facebook's response is that it can't respond because it doesn't know.

        Facebook's statement that partner categories were deprecated in October 2018 is anon
sequitur. Again, information from 2007 through deprecation is relevant to Plaintiffs' claims.

       3.   Is information regarding identifiable ethnic affinities provided by users or derived by
            Facebook? How is ethnic affinity derived?

Facebook's Answer: Ethnic affinities, also referred to as multicultural affinities, were ad
interests created by Facebook based on auser's on-platform activity indicating an interest in
content relating to certain communities. Ethnic affinity ad interests were deprecated in August
2020.

                                       Plaintiffs' Response:

        Facebook's answer of how ethnic affinity derived is so general as to be almost
meaningless. What "on-platform activity indicating an interest in content relate to certain
communities" was considered? What does Facebook consider to be activity "indicating an
interest in content relating to certain communities"? Which content? Which communities? How
did Facebook use that information to derive ethnic affinities (or multicultural affinities)? What
ethic affinities were computed? Was any information other than the individual user's on-platform
activity indicating an interest in content related to certain communities considered?
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       Facebook's statement that ethnic affinity ad interests were deprecated in August 2020 is a
non sequitur. Again, information from 2007 through deprecation is relevant to Plaintiffs' claims.

       4.   Where is political segmentation data for Facebook users stored?

Facebook's Answer: Political segments were deprecated in October 2017 for new campaigns.
Existing campaigns using political segments ended on January 1, 2018. Based on areasonable
investigation, we believe that political segments were deleted in January 2018.

                                      Plaintiffs' Response:

          Plaintiffs are concerned by Facebook's decision to delete political segments data and ask
that Facebook provide information about the circumstances that led to its deletion. Further, even
if it is not retained, Plaintiffs ask Facebook to identify where political segments data was stored
before it was deleted. That answer may help inform the parties' analysis of where relevant
information associated with Named Plaintiffs is presently stored. Plaintiffs note that Facebook
did not respond completely with respect to political segmentation data, as Facebook did not
discuss political ad targeting segments in its response. Plaintiffs ask that Facebook supplement
its response no later than May 6, 2022.

       5.   Is political segmentation determined for aFacebook user as part of adata process that
            runs on aregularly scheduled basis or evaluated in real time when an ad is served?

Facebook's Answer: Based on areasonable investigation to date, we believe political segments
were created manually by



                                      Plaintiffs' Response:

       Facebook's response appears adequate with respect to political segments. Plaintiffs note,
however, that Facebook did not respond completely with respect to political segmentation data,
because it omitted political ad targeting segments from its response. Plaintiffs ask that Facebook
supplement its response no later than May 6, 2022.

       6.   Is political segmentation associated with aFacebook user if possible (i.e. via UID,
            RID, SID, ASID, or another identifier that can be mapped to auser)? If so, explain
            how the political segmentation is associated with aFacebook user.

Facebook's Answer: Based on areasonable investigation to date, we believe political segments
were associated with users by UIDs.

                                      Plaintiffs' Response:

       Facebook's response appears adequate with respect to political segments. Plaintiffs note,
however, that Facebook did not respond completely with respect to political segmentation data
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because it omitted political ad targeting segments from its response. Plaintiffs ask that Facebook
supplement its response no later than May 6, 2022.

   7.   Is an individual's assigned political segment part of the DYI file?

Facebook's Answer: Based on areasonable investigation to date, we do not believe political
segments were included in the DYI file.

                                       Plaintiffs' Response:

       This response conflicts with Facebook's April 11 submission. In its April 18 submission,
Facebook defines political segments as political ad interests. In its April 11 submission,
Facebook asserted that ad interests are "available in DYI." But in its April 18 submission,
Facebook says that it does not believe political segments were included in the DYI file. Plaintiffs
are concerned that there may be other ads interests that were also not included in the DYI file.

        Plaintiffs also request that Facebook produce the assigned political segments and any
other ad interests not included in the DYI file for each of the Named Plaintiffs.



                                                      Regards,




  èrek W. Loeser                                      Lesle E. Weaver
dloeser@kellerrohrback.com                            lweaver@bfalaw.com
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             Exhibit R
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 1


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 4


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 6


 7


 8                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
10
                                                 MDL NO. 2843
11   IN RE: FACEBOOK, INC. CONSUMER
     PRIVACY USER PROFILE LITIGATION,            CASE NO. 3:18-MD-02843-VC-JSC
12

                                                 HON. VINCE CHHABRIA
13
     This document relates to:                   HON. JACQUELINE SCOTT CORLEY
14                                               COURTROOM 4— 17 TH FLOOR
     ALL ACTIONS                                 SPECIAL MASTER, DANIEL GARRIE, ESQ.
15

                                                 ORDER FOLLOWING MAY 17, 2022
16
                                                 HEARING REGARDING PRODUCTION
                                                 OF NAMED PLAINTIFF DATA
17


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       ORDER FOLLOWING MAY 17, 2022 HEARING REGARDING PRODUCTION OF NAMED
                                          PLAINTIFF DATA
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            No later than June 2, 2022, Facebook is to submit responses to the following questions and
 1


 2
     provide the requested additional information.

 3      • How did Facebook identify the Hive tables in Exhibit B to Facebook's April 11, 2022

 4
            submission ("Exhibit B") identified as possibly containing user identifiers? Facebook's answer is

 5
            to include technical details about the process used to identify the Hive tables.
 6
        • Can Facebook provide descriptions for the Hive tables identified in Exhibit B? If so, provide the
 7

            descriptions.
 8


 9
        • How long would it take to extract the column names and data types (schema) for the Hive tables

10          identified in Exhibit B? Facebook's answer is to include adescription of the processes and steps

11          it would need to perform to provide the requested data.

12
        • Did Facebook's search to identify the tables set out in Exhibit B include searching cold storage?
13
            If not, why not?
14

        • In Exhibit B to Facebook's April 18, 2022 letter submission (Declaration of Mengge Ji), Mengge
15

            Ji states
16


17                                        Expand on this statement, include descriptions of the

18          databases, and clarify what is meant by "databases" in this context.

19
        • One of Facebook's responses in their April 11, 2022 letter submission at page 2states "tables
20
            believed to contain data that that is either duplicative or transformed." What does transformed
21
            mean in this context? Facebook's answer is to include three examples of "transformation."
22

        • Facebook's April 11, 2022 letter submission at page 2refers to six categories of tables that were
23


24          not included in the list in Exhibit B: (1) temporary, test, and error tables; (2) tables used to

25          evaluate system performance; (3) tables that contain no data; (4) tables related to other Meta

26
            products (e.g., Oculus, Instagram, and WhatsApp); (5) tables used for infrastructure, operations,
27


28


       ORDER FOLLOWING MAY 17, 2022 HEARING REGARDING PRODUCTION OF NAMED
                                  PLAINTIFF DATA
           Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 779 of 833




            and product testing; and (6) tables believed to contain data that is either duplicative or
 1


 2
            transformed. Provide adescription of each of these six categories of tables.

 3          No later than May 30, 2022, Facebook is to provide the revised proposal they discussed at the

 4   hearing.

 5
            No later than June 6, 2022, the parties are to submit briefs, not to exceed five (5) pages not
 6
     including exhibits, on the issues of Hive table selection, production of data related to apps installed by
 7
     friends of Named Plaintiffs, and whether Facebook should be compelled to search cold storage for
 8

     Named Plaintiff data.
 9


10


11
            IT IS SO ORDERED.
12


13          Tuesday, May 24, 2022
                                                           Daniel Garrie
14                                                         Discovery Special Master

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       ORDER FOLLOWING MAY 17, 2022 HEARING REGARDING PRODUCTION OF NAMED
                                  PLAINTIFF DATA
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             Exhibit S
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   HIGHLY CONFIDENTIAL—ATTORNEYS EYES ONLY




   May 30, 2022


  VIA JAMS ACCESS

   Special Master Daniel B. Garrie
   DGarrie@jamsadr.com

   Re:     In re Facebook Consumer Privacy User Prcfile Litigation, JAMS Ref No.
           1200058674

   Dear Special Master Garrie,

          Pursuant to the Special Master's Order Following May 17, 2022 Hearing Regarding
  Production of Named Plaintiff Data, Facebook submits this updated proposal re: named
  plaintiff data, reflecting additional terms Facebook has agreed to in response to requests from
  Plaintiffs in response to Facebook's initial proposal, to assist the Special Master in
  determining "what, if any" additional named plaintiff data should be produced, as directed in
  Judge Corley's order dated January 12, 2022 (Dkt. No. 807).

              Facebook's Proposal For Producing Additional Named Plaintiff Data

          As Judge Corley explained in her most recent order on named plaintiff data, issued on
  January 12, 2022, the Special Master is working with the parties to determine "what, if any"
  additional named plaintiff data should be produced consistent with Rule 26. Facebook
  continues to believe that the named plaintiff data that has already been produced, which
  includes data in all three categories of "discoverable user data" identified in Judge Corley's
  Discovery Order No. 9, satisfies its obligations under Rule 26. The additional data Plaintiffs
  seek is neither relevant to their claims nor proportional to the needs of this case because it
  was not shared or made accessible to third parties.

            That said, in an effort to resolve this issue, and consistent with Judge Corley's
   Discovery Order Nos. 11 and 12 allowing Plaintiffs to test Facebook's position on whether
   there is additional named plaintiff data that was shared or made accessible to third parties,
   Facebook proposes the protocol set forth below for producing additional named plaintiff
   data.




          Beijing •Brussels •Century City •Dallas •Denver •Dubai •Frankfurt •Hong Kong •Houston •London •Los Angeles •Munich
                   New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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  Special Master Daniel B. Garrie
  May 30, 2022
  Page 2


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          As explained in Facebook's March 7, 2022 submission to the Special Master, at a
  high level, user data is stored in production systems and the data warehouse.
                                                                           Accordingly, we
  propose to produce additional data from these systems as explained below.

          TAO. As also explained in the March 7, 2022 submission, TAO is adistributed data
  store for the social graph. There is an object and associations to that object for all users. See
  Ex. A, Internal Facebook Wiki Regarding TAO Core Concepts. For each named plaintiff,
  Facebook will produce the user objects and associations to those objects.

  May 30, 2022 Update: Facebook will also provide TAO schema for the above data.

         Hive. As explained in prior submissions to the Special Master, Hive is Facebook's
  data warehouse. See Ex. B, Declaration of Mengee Ji In Support of Facebook Inc.'s Motion
  For Reconsideration of Ssecial Master's Order Re ardin Named Plaintiff Data, If 11
                                                                         Id. 16.



                                                  Id. If 18.




            Id. These searches are subject to many technical and policy limitations which
  make searchin for individual user data undul burdensome, includin that 1
                                                  id 20,2



                                          id.1121); (3)
           (id. If 22); and (4) data in many Hive tables are in cold storage and would have to be
  restored in order to be searched and analyzed, see Ex. C, Declaration of Mengee Ji In
  Support of Facebook Inc.'s Motion For aProtective Order Against Production of API Call
  Logs,111117-18; Special Master's Nov. 8, 2021 Order Re: Facebook's Motion For Protective
  Order Against Production of API Call Logs, If 15 ("Special Master Garrie finds that the data
  in the Mobile Table and Web Table is not reasonably accessible because it is not readily
  usable in its 'cold storage' state and must be restored to 'warm storage' in order to be
  searched and analyzed (i.e. usable).").

        For these reasons, among others, as reported in its April 11, 2022 submission,
  Facebook estimates that it would take approximately                          or around
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  Special Master Daniel B. Garrie
  May 30, 2022
  Page 3


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                       of computational cost to search across the entire Hive data warehouse and
  extract all data about asingle user.

          Once the searches have been conducted, and data is returned, the data must be
  manually reviewed to, among other things, confirm that the data is associated with a
  particular user and does not include personal data of other users (e.g., user blocking another
  user) or trade secrets, and does not create system integrity or security concerns.

          In light of the above technical limitations and burdens, Facebook proposes to search
  for and produce the following named plaintiff data from Hive to the extent it exists:
  (1) specific types of data requested or referenced by Plaintiffs in challenging Facebook's
  production of named plaintiff data; (2) asample of data from Hive tables with user identifiers
  included in Exhibit B to the April 11, 2022 submission; and (3) the only data identified in
  Exhibit C to the April 11, 2022 submission that has not already been produced to Plaintiffs in
  the DYI file or otherwise: "set permissions (audience controls on apost)." 1

   1.   Specific Types of Data

        • (fpla form activity: DYI includes off-platform activity. Facebook will search for
          and produce any underlying raw log-level data for off-platform activity provided to
          Facebook by athird party associated with the named plaintiffs.

        • Ad interests: DYI includes ad interests. Facebook will search for and produce any
          underlying raw log-level data associated with the named plaintiffs.

        • Ad click data: DYI includes ad click data. Facebook will search for and produce any
          underlying raw log-level ad clicks data associated with the named plaintiffs.

        • Ad impressions data: Facebook will search for and produce ad impressions data
          associated with the named plaintiffs.

        • Custom audience data: DYI identifies third parties who have created custom
          audiences associated with auser. Facebook will search for and produce any more
          granular information about custom audiences associated with the named plaintiffs,
          including custom audience type, whether it was used to deliver ads, and when.




  1 The contract referencing this data allowed auser to "set permissions (audience controls on apost)" from their

  phone. Facebook does not use the term "set permissions" to refer to this data.
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  Special Master Daniel B. Garrie
  May 30, 2022
  Page 4


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  May 30, 2022 Updates: Facebook responds as follows to plaintiffs' additional requests:

      • Sccpe cfproduction. Facebook confirms it will produce the above data regardless of
        whether it appears in DYI. Facebook also confirms its productions include data "that
        can be associated" with each named Dlaintiff and notes




      • Tables and schema. Facebook will provide the names of the tables from which the
        five categories of Hive data described above will be produced and how it identified
        the tables, as well as the schema for the above data.

      • Data described by Aldo King. Facebook has already agreed to search for and produce
        ad interests in Hive, regardless of whether it is appears in DYI.

      • Installed anis. Apps installed by auser through Facebook Login (either on or off of
        Facebook) are listed in DYI, and information about apps installed by users without
        Facebook Login appears in the Off-Facebook Activity section of DYI.


  2. Sampling from Hive tables identified in Exhibit B of April 11, 2022 submission

           Given that data in Hive tables are not shared or made accessible to third parties, the
  significant burden of searching for and producing individual user data from Hive as
  explained in prior submissions, and that Facebook has already produced nearly amillion
  pages of the named plaintiff data from the DYI system, Hive data is not relevant or
  proportional to the needs of this case. Facebook nevertheless understands that, as Judge
  Corley found in Discovery Order Nos. 11 and 12, Plaintiffs are allowed to test Facebook's
  positions on "sharing and accessibility" by obtaining discovery into what data exists and how
  it is used. To that end, and consistent with the requirements of relevance and proportionality
  under Rule 26, Facebook proposes asampling process.

  May 30, 2022 Update: In addition to the above specific categories of data, Facebook will
  produce named plaintiff data in warm storage for astatistically significant sample of Hive
  tables identified in Exhibit B of the April 11, 2022 submission. Specifically, Facebook will
  produce named plaintiff data from 500 tables in Exhibit B to be jointly selected by Facebook
  and Plaintiffs. Facebook will randomly select 250 tables and Plaintiffs will select 250 tables.
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  Special Master Daniel B. Garrie
  May 30, 2022
  Page 5


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  3. User data identified in Exhibit C of the April 11, 2022 submission and not in DYI

         As shown in Exhibit C of Facebook's April 11, 2022 submission to the Special
  Master, only two types of user data in the contracts submitted to the Special Master for in
  camera review are not included in DYI: (1) privacy settings, and (2) "set permissions
  (audience controls on apost." (1) has already been produced. Facebook will agree to
  produce (2), including any audience controls on individual pieces of content, from TAO.

  May 30, 2022 Update: Facebook produced account-level privacy settings from the named
  plaintiffs' accounts in 2020. Facebook will produce updated privacy settings for each named
  plaintiff.


  Sincerely,

  'qdi—t-•c-e'rL-.et_c__.e_.>   I'   L-;t1f — •



  Rosemarie T. Ring
Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 786 of 833




             Exhibit T
         Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 787 of 833

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   HIGHLY CONFIDENTIAL—ATTORNEYS EYES ONLY




   June 2, 2022


  VIA JAMS ACCESS

   Special Master Daniel B. Garrie
   DGarrie@jamsadr.com

   Re:     In re Facebook Consumer Privacy User Prcfile Litigation, JAMS Ref No.
           1200058674

   Dear Special Master Garrie,

          On behalf of Facebook, below we submit answers to the questions in the Special
   Master's Order Following May 17, 2022 Hearing Regarding Production of Named Plaintiff
   Data, dated May 24, 2022.

   1.      How did Facebook identify the Hive tables in Exhibit B to Facebook's April 11,
           2022 submission ("Exhibit B") identified as possibly containing user identifiers?
           Facebook's answer is to include technical details about the process used to
           identify the Hive tables.

          Facebook created the list of tables in Exhibit B to Facebook's April 11, 2022
   submission using asystem that performs data classification in Facebook's data warehouse.
   The system takes asample of the data in atable and classifies the type of data. Tables are
   scanned periodically to refresh their prediction.

           The classification system is able to classify tables with          and        The data
   classification system first identifies if acolumn value is anumber. If so, it determines the
   type of identifier, if any.

          The data classification analysis used for this exercise included tables in cold storage.
  The classification system can identify whether atable in cold storage contains a
  and E. The classificationincloes not search within tables in cold storage for a
  particular individual user's            and      nor does it restore data into the live data
  warehouse.




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                   New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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  Special Master Daniel B. Garrie
  June 2, 2022
  Page 2



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  2.     Can Facebook provide descriptions for the Hive tables identified in Exhibit B? If
         so, provide the descriptions.

         Facebook will provide plaintiffs the column names for the Hive tables identified in
  Exhibit B to Facebook's April 11, 2022 submission by June 9, 2022. This data is also the
  schema for aHive table. Extracting this information requires running aquery for the
  columns in all of the tables listed in Exhibit B.

  3.     How long would it take to extract the column names and data types (schema) for
         the Hive tables. identified in Exhibit B? Facebook's answer is to include a
         description of the processes and steps it would need to perform to provide the
         requested data.

         See response to Question 2.


  4.     Did Facebook's search to identify the tables set out in Exhibit B include
         searching cold storage? If not, why not?


         As noted, the list of tables in Exhibit B to Facebook's April 11, 2022 submission
  includes tables in cold storage.

  5.     In Exhibit B to Facebook's April 18 2022 letter submission Declaration of
         Men     eJi   Men     eJi states'
                                                                             "Expand on
         this statement, include descriptions of the       databases, and clarify what is
         meant by "databases" in this context.

         Facebook organizes Hive tables into namespaces, which are essentially separate
  databases, primarily for capacity-budgeting reasons. These namespaces are attached as
  Exhibit A.


  6.     One of Facebook's responses in their April 11, 2022 letter submission at page 2
         states "tables believed to contain data that is either duplicative or transformed."
         What does transformed mean in this context? Facebook's answer is to include
         three examples of "transformation."


         As the Special Master observed, the term "transformed data" is standard SQL
  terminology. Data transformation is the process of converting data from one format to
  another (such as by changing, removing, or combining data) and is part of atypical data
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  Special Master Daniel B. Garrie
  June 2, 2022
  Page 3


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  management process, including data warehousing. Three examples of transformation are
  below:

         (1)   A table is transformed when data within it is de-identified and/or
                seudon mized.



                                       In this scenario, the transformed version of the table
               was not included on the list of tables in Exhibit B to Facebook's April 11, 2022
               submission to not overstate the number of tables or list du licative tables.




         (2)   A table is transformed when it combines data from multiple tables. One table
               may store certain demographic information about users. Another table may
               store certain user actions. A transformed table may combine the data from
               those two tables to reflect both user demographic information and user actions.


         (
         3)




  7.     Facebook's April 11, 2022 letter submission at page 2refers to six categories of
         tables that were not included in the list in Exhibit B: (1) temporary, test, and
         error tables; (2) tables used to evaluate system performance; (3) tables that
         contain no data; (4) tables related to other Meta products (e.g., Oculus,
         Instagram, and WhatsApp); (5) tables used for infrastructure, operations, and
         product testing; and (6) tables believed to contain data that is either duplicative
         or transformed. Provide adescription of each of these six categories of tables.

         (1)   Temporary, test, and error tables.

               Facebook excluded temporary tables that are created to perform queries without
               needing to recomputate data. Facebook similarly excluded tables an engineer
               used to test changes to the table, as these are duplicative of the original table.
               Facebook excluded tables that were created because of rare errors in the
               processing of data to the original table.
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  Special Master Daniel B. Garrie
  June 2, 2022
  Page 4


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         (2)   Tables used to evaluate system performance and (5) tables used for
               infrastructure, operations, and product testing.

               Facebook excluded tables that are used to evaluate system performance and/or
               infrastructure, operations, and product testing. Infrastructure, system
               performance, and operations tables are used for the operational health of
               Facebook's systems, such as error logging, performance logging of code, and
               network performance. Product testing tables are used internally by Facebook
               product teams in order to test and build new features and products.


         3) Tables that contain no data.
         (

               Facebook excluded any table that does not include data. As an example, atable
               an engineer created but to which no data has been added is atable containing no
               data.

         (4)   Tables related to other Meta products (e.g., Oculus, Instagram, and WhatsApp).

               Facebook excluded tables from namespaces that relate only to Meta products
               other than Facebook, such as the instagram, whatsapp, and oculus namespaces.

         (6)   Tables believed to contain data that is either duplicative or transformed.

               Facebook excluded tables that contain duplicative or transformed data.
               Duplicative data is data that is the same as data in adifferent table.
               Transformed data is described above in response to Question 6.




  Sincerely,




  Rosemarie Ring
            Ring
Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 791 of 833




                     Exhibit A
                     Highly Confidential —
                     Attorneys' Eyes Only
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                                1   Highly Confidential —Attorneys' Eyes Only
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                                2   Highly Confidential —Attorneys' Eyes Only
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                                3   Highly Confidential —Attorneys' Eyes Only
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                                4   Highly Confidential —Attorneys' Eyes Only
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                                5   Highly Confidential —Attorneys' Eyes Only
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                                6   Highly Confidential —Attorneys' Eyes Only
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            Exhibit U
                     Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 799 of 833


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                   Facsimile: 415.393.8306
           10
                   Attorneys for Defendant Facebook, Inc.,
           11

           12                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           13                                       SAN FRANCISCO DIVISION

           14

           15      IN RE: FACEBOOK, INC. CONSUMER                       CASE NO. 3:18-MD-02843-VC
                   PRIVACY USER PROFILE LITIGATION,
           16                                                           FACEBOOK, INC.'S BRIEF
                                                                        REGARDING THE PARTIES' NAMED
           17      This document relates to:                            PLAINTIFF DATA PROPOSALS

           18      ALL ACTIONS

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Gibson, Dunn &
                               FACEBOOK, I
                                         NC.'S BRIEF REGARDING THE PARTIES' NAMED PLAINTIFF DATA PROPOSALS
Crutcher LLP
                                                        CASE No. 3:18-1\AD-02843-VC
                      Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 800 of 833


               1           As Judge Corley explained in her most recent order on this issue, the purpose of these

               2   proceedings is to determine "what, if any, data from [systems other than DYI] should be produced

               3   consistent with [FRCP 26(b)]." Dkt. 807 at 4. Facebook continues to believe that its productions to

               4   date, which include all three categories of "discoverable user data" identified by Judge Corley in

               5   Discovery Order No. 9(Dkt. 557), meet this standard, but submitted aproposal agreeing to search for

               6   and produce additional data. To further facilitate resolution of the named plaintiff data issue,

               7   Facebook agreed to most of Plaintiffs' demands in their response to the proposal and offered

               8   reasonable compromises. During the May 17, 2022 hearing to discuss Facebook's proposal and

               9   Plaintiffs' response, the Special Master identified three remaining issues: (1) Hive data, (2) apps

           10      installed by friends of the named plaintiffs, and (3) cold storage. As explained below, Facebook will

           11      agree to provide (2), and the Special Master should accept Facebook's proposed compromise on (1)

           12      and defer (3) as premature.

           13        1.    Hive Tables

           14              Facebook proposes to search for and produce named plaintiff data from asample of the

           15              Hive tables identified in Exhibit B to its April 11, 2022 submission. Initially, Facebook

           16      proposed asample of 200 tables, with Plaintiffs selecting 100 tables and Facebook randomly

           17      selecting 100 tables. In response, Plaintiffs demanded that Facebook produce all data (regardless of

           18      whether it is named plaintiff data) in the first five rows of all        Hive tables. Based on this data,

           19      Plaintiffs would identify what additional data they want, the parties would have one week to resolve

           20      any disputes, and, if no agreement were reached, the issues would go to the Special Master without

           21      briefing. During the May 17, 2022 hearing, Facebook offered acompromise which more than

           22      doubled its proposed sample, from 200 to 500 tables, representing nearly      MUthe              tables,

           23      with Plaintiffs selecting 250 tables and Facebook randomly selecting 250 tables. To the extent

           24      Plaintiffs' proposal is seeking information about the contents of these Hive tables, Facebook agreed

           25      in its June 2, 2022 submission to provide Plaintiffs with the schema (column names) for all

           26      Hive tables from which the sample would be selected by June 9, 2022.

           27              It is worth noting, again, that Hive data is not accessible to third parties, and therefore is

           28      irrelevant to Plaintiffs' claims in this case which are about data sharing. But in the interest of


Gibson, Dunn &
                                                                         1
                                 FACEBOOK, I
                                           NC.'S BRIEF REGARDING THE PARTIES' NAMED PLAINTIFF DATA PROPOSALS
Crutcher LLP
                                                          CASE No. 3:18-1\AD-02843-VC
                      Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 801 of 833


               1   compromise and to assist the Special Master in resolving this issue, Facebook has agreed to search

               2   for and produce named plaintiff data from what the Special Master has generally treated as

               3   representing                                          of Hive tables.

               4          Plaintiffs' proposal in response is unworkable. As an initial matter, it does not even seek

               5   named plaintiff data. Plaintiffs want all data in the "first five rows" of all       Hive tables.

               6   Producing this enormous volume of data, most of which is unlikely to include any named plaintiff

               7   data, is not relevant or proportional to the needs of this case, and is unduly burdensome. The only

               8   reason Plaintiffs offered at the May 17, 2022 hearing for seeking this data was to help Plaintiffs

               9   understand the type of data contained in the           Hive tables. Facebook's agreement to provide

           10      Plaintiffs with the schema (column names) for all M1-live tables from which the sample would

           11      be selected fully addresses that supposed need.

           12             Plaintiffs' proposal would take months to complete. First, Facebook would have to extract,

           13      review, and produce all data in the top five rows of all          tables. Then, three weeks later,

           14      Plaintiffs would identify an unspecified number of tables from which Facebook would search to

           15      determine whether they contain named plaintiff data, produce any such named plaintiff data, meet

           16      and confer with Plaintiffs over any disputes, and then bring any disputes to the Special Master for

           17      resolution. Depending on the number of tables Plaintiffs choose, it could take months for disputes to

           18      be resolved and for Facebook to begin producing data. Once the data extraction process begins, it

           19      could take many more months to actually collect the data (depending on the scope of the requested

           20      tables). This process is cumbersome, time consuming, and unduly burdensome given that it is also

           21      extremely unlikely to provide Plaintiffs with any relevant information, much less information that is

           22      probative of their claims.

           23             Facebook's proposal, by contrast, provides Plaintiffs with named plaintiff data from a

           24      statistically significant sample of Hive tables (500 out of         tables), half of which would be

           25      selected by Plaintiff using the schema (column names) for all            tables.

           26        2.   Apps Installed by Friends of the Named Plaintiffs

           27             At the May 17, 2022 hearing, Plaintiffs asked Facebook to produce alist of apps installed by

           28      friends of the named plaintiffs. In Discovery Order No. 9, Judge Corley identified three categories of


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               1   "discoverable user data": (1) data collected from auser's on-platform activity, (2) data obtained from

               2   third parties regarding auser's off-platform activities, and (3) data inferred from auser's on or off-

               3   platform activity. Apps used by the friends of the named plaintiffs do not fall into any of these

               4   categories of data, and therefore are beyond the scope of these proceedings. That said, in the interest

               5   of facilitating resolution of this issue, Facebook will provide Plaintiffs data regarding interactions that

               6   friends of the named plaintiffs had with businesses/apps using Facebook Login, without identifying

               7   which friend interacted with each business/app.

               8    3.     Data Cold Storage

               9           As Facebook explained in its June 2, 2022 submission, the            tables identified in Exhibit

           10      B to its April 11 submission include tables with data in cold storage (including tables with data only

           11      in cold storage). A table itself is not "in cold storage" or "in warm storage." Data within atable is in

           12      cold or warm storage, and asingle table can contain some data in warm storage and some data in cold

           13      storage. There is no need to restore data in cold storage to investigate whether tables contain user

           14      data. As explained in Facebook's June 2, 2022 submission, the data classification system used to

           15      identify the        tables in Exhibit B to Facebook's April 11 submission included tables with data

           16      in cold storage.

           17              On November 18, 2021, the Special Master ruled that data in cold storage did not need to be

           18      produced because it had to be restored to warm storage in order to be searched and therefore was not

           19      "reasonably accessible." See Special Master's Nov. 8, 2021 Order Re: Facebook's Motion For

           20      Protective Order Against Production of API Call Logs If 15. The same is true here. That said,

           21      Facebook is willing to consider restoring data from cold storage, but identifying what, if any, data

           22      should be restored is premature at this stage. Facebook proposes that the parties first identify which

           23      Hive tables will be produced. Once the Hive tables have been identified, Facebook will evaluate

           24      which tables, if any, include data in cold storage, and make aproposal regarding what, if any, data it

           25      can reasonably restore, search, and produce.

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               1   Dated: June 6, 2022                    GIBSON, DUNN & CRUTCHER, LLP

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                               FACEBOOK, I
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            Exhibit V
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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                   MDL No. 2843
PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC

                                                 PLAINTIFFS' RESPONSE TO SPECIAL
This document relates to:                        MASTER'S ORDER OF MAY 24 RE:
                                                 NAMED PLAINTIFF DATA
ALL ACTIONS
                                                 Judge: Hon. Vince Chhabra
                                                 Special Master Daniel Garrie
                                                 Courtroom: 4, 17th Floor

                                                 JAMS Ref No.: 1200058674




PLAINTIFFS' RESPONSE TO SPECIAL                                                   MDL No. 2843
M ASTER'S ORDER OF M AY 24 RE:                                         CASE No. 18-N4D-02843-VC
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                                   I.     BRIEF OVERVIEW

        The Special Master's May 24, 2022 Order requested briefing on three topics: the issues of

Hive table selection; whether Facebook should be compelled to search cold storage; and

production of data related to apps installed by friends of Named Plaintiffs.

        Since the Special Master first requested this brief, new evidence has come to light in two

30(b)(6) depositions related to those questions:        a deposition on evidence preservation

("preservation deposition") and adeposition on Facebook's ability to associate and delete users'

data through identifiers ("Topic 4 deposition"). The new evidence shows that: (1) Facebook

selected      Hive tables and put them in "cold storage" precisely because they were relevant to

this litigation; 1(2) Facebook is capable of searching offline Hive tables using     and the

tool; (3) the DYI file is not the most complete or usable compilation of user data; and (4) Facebook

has withheld from production at least 52 snapshots of Named Plaintiff data using anever-before

revealed tool more commonly used to collect user data called                       which

                                                                     These revelations cannot be

reconciled with Facebook's representations throughout the course of this litigation, which have

significantly delayed discovery of Named Plaintiffs' data and this litigation more generally.

        A.      Facebook Hid Evidence of. Hive Tables Relevant to This Litigation
                Preserved in Cold Storage

        The preservation deponent, Michael Duffey, testified that Facebook put. Hive tables in

"cold storage" as aresult of the litigation hold issued in this case. Duffey 30(b)(6) Dep. Rough Tr.

at 60:21-25, 64:2-3. 2 This, presumably, is "offline." The very purpose of putting this data into

"cold storage" was to preserve them because they are relevant to this case. Id. at 66:18-67:1. For

example, Mr. Duffey repeatedly pointed to these tables as apotential source of information relating

to the data Facebook shared with third parties about users. See, e.g., id. at 148:1-3, 148:14-17,


1 This raises aquestion as to whether "cold storage" truly makes them inaccessible. Why would
  Facebook make data less accessible if it were preserving it for litigation?
2 Mr. Duffey was unable to answer many specific questions about these tables, including what they


  are; why they were selected; when they were put into cold storage; and whether they have ever
  been searched. Duffey 30(b)(6) Rough Tr. at 60:11, 60:21-25, 61:22, 65:3-4. Plaintiffs request
  production of a30(b)(6) deponent, Jennifer Allen, on these topics.
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153:14-17. Mr. Duffey testified that Facebook's E-Discovery team still has access to these tables

while they are in cold storage, that Facebook can produce the structured data from cold storage,

and in fact, it has done so on previous occasions. Id. at 174:9, 175:7-13, 176:11-13. Facebook told

the Special Master that this could not be done. See Declaration of Mengge Ji in Supp. of Facebook

Inc.'s Mot. for aProtective Order Against Production of API Call Logs ("Ji Decl."), ¶18 ("Tables

in cold storage cannot be reviewed or analyzed while they remain in cold storage.").

        The Topic 4deponent, Mike Clark, who previously appeared in aSpecial Master hearing,

testified that offline Hive tables can be queried using        and the       tool. Clark 30(b)(6) Dep.

Tr., 86:20-89:23. Clark further testified that Hive tables can be searched either by •      or      Id.

at 99:9-18. The table that contains the                                                    is available

and queryable via TAO. Id. at 101:16-102:16. If Facebook knows the table and its location, it can

query the specific table, including for                Id. at 114:10-14. (Ex. 334 to the Clark 30(b)(6)

Dep. is amultipage document from 2010 that "contains all of the recently used Hive tables as

defined by any table which has at least one user in the past 30 days as of 5/12/2010."). Plainly,

Facebook has the ability to produce summary documents of Hive tables with their fields (which

includes UIDs, among other identifiers). But Facebook has repeatedly refused to conduct any

searches of Hive, using as an impediment that it would be impossible to search all of Hive and

Facebook cannot identify which tables to search. See Exhibit A.

        B.      Facebook Improperly Withheld Snapshots of User Data Preserved with the
                            Tool, Among Other Data.

        For years, Facebook has insisted that the DYI files it has produced contain the "most

complete compilation of data associated with the Named Plaintiffs' accounts." See Exhibit A.

Facebook fiercely resisted discovery into whether this was true. See, e.g., Facebook's November

15, 2021 Response to Objection Regarding Named Plaintiffs' Data Briefing (falsely stating that

the DYI file was comprehensive and attacking Plaintiffs for probing that representation).

        Mr. Duffey's testimony, however, indicates that the DYI files are not complete. He

explained that ``                 snapshots contain information

                                                                                      Duffey 30(b)(6)

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Dep. Rough Tr. at 31:11-13; see also Exhibit 386 at -00003258. Critically, he testified that they




                                                                                Duffey 30(b)(6) Dep.

Rough Tr. at 45:7-10, 56:5-12. Mr. Duffey also testified that



                   Id at 32:21-33:6.                 snapshots are

     DYI" and is                               ." Id. at 33:2-9. Facebook recorded

snapshots of the Named Plaintiffs on March 9, 2020 and in the fall of 2021, long before the Special

Master held the first hearing on the Named Plaintiffs' data. Id. at 50:16-20; see also Ex. 386 at -

00003258.

        Plaintiffs have long requested that more usable versions of DYI files be produced and

sought more information about unproduced data. Dkt. No. 526 at 7 (noting the DYI file is

incomplete and that format of production "obscures" information about the Named Plaintiffs'

privacy settings). Mr. Duffey's testimony makes clear that Facebook has (1) falsely testified that

the DYI file was the most complete collection of user data; (2) failed to inform the Court of the

existence of the tool most commonly used to produce user data; (3) moved               Hive tables to

"cold storage" precisely because they are relevant to this litigation, without revealing their

existence; and (4) proposed an arduous and unrealistic process for Plaintiffs and the Special Master

to guess at which Hive tables might possibly contain relevant data, including a"random" selection

of 500 tables, while failing to disclose that Facebook had already identified       tables as relevant

and preserved them offline.

                          II.     PLAINTIFFS' INITIAL PROPOSAL

        A.      Facebook Must Immediately Search the. Hive Tables with All Identifiers,
                Including         ,Associated with the Named Plaintiffs.

        Facebook should have voluntarily disclosed the existence of the           Hive tables during

ESI discussions in 2019. At the least, it should have disclosed the tables to the Special Master.



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Consider the direct questions posed by the Special Master over the past six months and compare

Facebook's evasive responses. The Special Master ordered Facebook to identify "a list of data

sources that may contain information related to the Named Plaintiffs," and, more specifically:

"Ndentify alist of Hive tables containing columns that store a                             ,or other

means of identifying aFacebook user. The list is to include tables that were active during the

relevant time period." See Exhibit A. Facebook artfully answered other questions and did not

identify the Mtables. Id. Even Facebook's May 30 data production proposal did not disclose the

existence of those tables, although it indicated with no specificity that cold storage tables are

included in Exhibit B. The May 30 submission proposed only producing data in "warm storage for

a statistically significant sample of Hive tables." 3 So, even though Facebook knew that it had

already determined that relevant Hive tables exist, and had preserved them, it repeatedly proposed

that the parties and the Special Master play aguessing game about whether Hive tables contained

relevant Named Plaintiff data. All the while, it knew that the potentially most relevant tables would

be excluded from the tables to be searched. Duffey 30(b)(6) Dep. Rough Tr. at 74:18-23, 60:21-

25, 153:14-17. Months have passed as this inquiry has dragged on.

        Furthermore, Mr. Clark's testimony makes perfectly clear that "offline" tables can be

searched. Mr. Duffey also appeared to agree that such tables can be searched, using tools such as

       and         Duffey 30(b)(6) Dep. Rough Tr. at 61:5-8, 176:11-13; Ex. 386 at -00003259

                                                                              ."). Yet Facebook has

opposed searching these records and stated that while in cold storage, data cannot be reviewed or

analyzed. See Ji Decl., If 18. 4 Regardless, however inaccessible Facebook may have made this data

by putting it in cold storage or failing to cease the Hive Anon process, Facebook did so at its own



3 The most generous explanation is that Mr. Duffey, who testified that he was prepared for his June
  2deposition in "-38 hours of meetings; 10 sessions; over 4weeks," was not in touch with the
  lawyers who prepared the May 30 submission to the Special Master. Ex. 386 at -00003256.
4 Mr. Duffey consulted with Ms. Ji in preparation for his deposition. Ex. 386 at -00003256. Ms.

  Allen is the most knowledgeable person about the                tool and is an E-Discovery team
  member. Duffey 30(b)(6) Dep. Rough Tr. at 29:19-20, 44:17-18. Plaintiffs propose that each of
  them be deposed on these topics immediately.
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risk, and it should bear all costs of re-identifying and producing all Named Plaintiff data in the.

Hive tables and any other tables that contain Named Plaintiff data, whether or not in cold storage.

Plaintiffs thus propose that the process begin with a search of the              Hive tables, and that

Facebook produce schemas, protos and fields for those tables. 5 In addition, Plaintiffs propose that

Facebook provide further explanation of the Hive namespaces in Exhibit A to the May 30

submission and the schema/fields of all Hive tables and internal developer documentation

sufficient to explain what is in the fields.

          B.      Facebook Must Immediately Produce All Named Plaintiff Data, Including
                  Snapshots, and Certify That It Has Produced All Such Data That It Has
                  Preserved.

          The preservation deposition revealed that Facebook has also misstated its ability to search

for Named Plaintiffs' data. For the first time, Facebook admitted that the tool it regularly uses to

preserve and produce information when it receives asubpoena about auser was not used to produce

Named Plaintiffs' data in this case. Duffey 30(b)(6) Dep. Rough Tr. at 32:21-33:6. Facebook has

repeatedly, and falsely, affirmed that the "DYI file for each individual user represents the most

complete and best compilation of data Facebook maintains associated with that user." See Exhibit

A. Plaintiffs request production of all withheld snapshots and a deposition of someone

knowledgeable to explain why those files were withheld and what else exists.

          C.      Facebook Must Produce Evidence Showing the Apps Installed by the Named
                  Plaintiffs' Friends, or Else Formally Admit That It Cannot Do So.

          It is essential that the Named Plaintiffs learn which apps their friends installed—otherwise,

it may not be possible to determine what third parties accessed the Named Plaintiffs' data, what

data was accessed, and how it was used. For that reason, Facebook must produce evidence showing

which apps were installed by the Named Plaintiffs' friends. If it cannot do so, it must admit—in a


5   Facebook proposes the unworkable idea that responsive evidence should be selected only if it is
    "statistically significant." Proposing this metric is baffling, as Facebook has provided no
    information about the amount or substance of the data in each table. Counting the number of
    tables and calculating the number that equals ten percent of the total has zero probative value.
    This is aprivacy class action in which the key questions are (1) what information was collected
    about users (the magnitude, subject matter and scope of collection); and (2) what Facebook did
    with it. With these underlying facts established, the parties will litigate whether that conduct was
    disclosed and whether Facebook obtained knowing consent from users.
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binding and admissible manner—that it is incapable of doing so. 6

                          III.    PLAINTIFFS' PROPOSED RELIEF

        First, by June 10, 2022, Facebook must produce all collected and/or preserved data relating

to the Named Plaintiffs, including but not limited to all                  snapshots, and identify, in

writing and with specificity, any collections it seeks to withhold.

        Second, by June 17, 2022, Facebook must produce all schemas, fields, and protos for the

INHive tables identified in the Duffey 30(b)(6) deposition and search these Mtables using all

Named Plaintiffs' identifiers, including UIDs,                        and any other identifiers.

        Third, by June 10, 2022, Facebook must provide information sufficient to describe the

contents of the namespaces identified in Exhibit A to its May 30 submission, and provide schema,

fields and protocols, or internal developer documentation to describe the contents of the Hive

tables similar to Ex. 334 of the Clark 30(b)(6) Deposition.

        Fourth, Mengge Ji and Jennifer Allen should sit for two 3-hour depositions next week.

        Fifth, all Gibson Dunn partners engaged at any time on this matter, as well as in-house

counsel Sandeep Solanki, Natalie Naugle, and Ian Chen, must submit affidavits attesting to

whether Facebook has produced all ESI, data, content, and information for the Named Plaintiffs

that it has preserved, including explanations as to why Facebook has failed to identify or produce

the preserved •Hive tables or the snapshots to date.'

        Plaintiffs may seek evidentiary preclusion orders based on Facebook's misconduct.




6 To be clear, other questions about Plaintiffs' data remains, including where partner categories
  are stored; what happened to data for deprecated systems; and other issues.
7 In addition to Gibson Dunn lawyers, Mr. Duffey identified Sandeep Solanki and Natalie Naugle

  as in-house counsel involved in preservation of ESI in response to the filing of this lawsuit.
  Duffey 30(b)(6) Dep. Rough Tr. 7:22-8:18.
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Dated: June 6, 2022                                    Respectfully submitted,



KELLER ROHRBACK L.L.P.                                 BLEICHMAR FONTI & AULD LLP

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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

        I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatory. Ideclare under penalty of perjury that the foregoing is true and correct.

        Executed this 6th day of June, 2022, at Oakland, California.

                                                              /s/ Lesley E. Weaver
                                                              Lesley E. Weaver




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            EXHIBIT A
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                                              EXHIBIT A
               CHART OF FACEBOOK'S MISSTATEMENTS TO THE SPECIAL MASTER AND TO THE COURT
                                 REGARDING THE NAMED PLAINTIFFS' DATA

 Date             Court Submission          Facebook's (False) Representations About the          Testimony of Facebook's 30(b)(6)
                                            Named Plaintiffs' Data                                Deponents'
 August           Joint Status Update       Facebook states: "To find the data Plaintiffs seek,   52 snapshots taken with the
 13, 2020                                   Facebook would need to identify every single          tool are in Facebook's possession but
                                            internal analysis that uses Platform data and         have not been produced.         Hive tables
                                            attempt to de-anonymize every data point within       relating to the litigation were set aside and
                                            those analyses to determine if any provided by the    preserved. See Duffey 30(b)(6) Dep.
                                            Named Plaintiffs is among the data. Even alarge       Rough Tr. at 153:14-16 ("[W]e have•
                                            team of engineers working full time for several       Hive data tables preserved and on legal
                                            years likely cold not identify all of the             hold for this matter."); Id. at 147:16-19
                                            information Plaintiffs seek." Dkt. No. 495 at 6-7.    ("We've taken snapshots indirectly the
                                                                                                                tool and the DYI tool [] for
                                                                                                  each of the named plaintiffs that had data
                                                                                                  available at the time of the snapshot");
                                                                                                  Ex. 386 at ADVANCE-META-00003259
                                                                                                  ('Hive tables on legal hold.").

                                                                                                  Neither the snapshots nor the preserved
                                                                                                  • Hive tables were disclosed until last
                                                                                                  Thursday, June 2, 2022 in a30(b)(6)
                                                                                                  deposition. It would not have taken alarge
                                                                                                  team of engineers working full time for
                                                                                                  several years to search and produce
                                                                                                  Named Plaintiffs' data contained in them.

 October 8,       Facebook's Reply          Facebook argued that Plaintiffs' request for          52 snapshots taken with the
 2020             Brief ISO Request to      additional data relating to the Named Plaintiffs'     •are in Facebook's possession but
                  Enforce the Partial       concerned data outside the scope of any live          have not been produced. See Duffey
                  Stay of Discovery in      theory of this case and would require it to search    30(b)(6) Dep. Rough Tr. at 147:16-19
                  PTO No. 20                "millions of disaggregated data sets." Dkt. No.       ("We've taken snapshots indirectly the


1Plaintiffs   will provide the Special Master with transcripts upon request.
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Date         Court Submission       Facebook's (False) Representations About the            Testimony of Facebook's 30(b)(6)
                                    Named Plaintiffs' Data                                  Deponents'
                                    537 at 6. It also stated that additional data "cannot                 tool and the DYI tool [] for
                                    reasonably" be identified. Id. at 9.                    each of the named plaintiffs that had data
                                                                                            available at the time of the snapshot");
                                                                                            Ex. 386 at ADVANCE-META-00003258
                                                                                            ("In the aggregate, FB preserved 52
                                                                                                          snapshots across
                                                                                                                                for the
                                                                                            named plaintiffs when identified as
                                                                                            Admins.").

                                                                                                 Hive tables relating to the litigation
                                                                                            were set aside and preserved. See Duffey
                                                                                            30(b)(6) Dep. Rough Tr. at 153:14-16
                                                                                            ("[W]e have •Hive data tables
                                                                                            preserved and on legal hold for this
                                                                                            matter."); Ex. 386 at ADVANCE-META-
                                                                                            00003259 ("M Hive tables on legal
                                                                                            hold."). Facebook did not disclose this to
                                                                                            the Special Master, the Court, or Plaintiffs
                                                                                            in any of the multiple hearings and
                                                                                            briefings on this issue, and it was not
                                                                                            revealed until last Thursday, June 2, 2022
                                                                                            in a30(b)(6) deposition.

October 8,   Facebook's Reply       "There is no way for Facebook to run a                  "[I]f Iknow the table and in working with
2020         Brief ISO Request to   centralized search for auser's ID, random ID, or        aspecific table, yes, Ican query for a
             Enforce the Partial    any 'hashed data' identifiers across millions of        specific •or              Clark 30(b)(6)
             Stay of Discovery in   data sets[.]" Dkt. No. 537 at 10.                       Dep. Tr. at 99:9-18.
             PTO No. 20
                                                                                            By failing to disclose that Facebook had
                                                                                            already identified • Hive tables relevant



                                                                  2
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Date       Court Submission        Facebook's (False) Representations About the        Testimony of Facebook's 30(b)(6)
                                   Named Plaintiffs' Data                              Deponentsl
                                                                                       to the litigation, which can be searched for
                                                                                             and        among other identifiers,
                                                                                       Facebook delayed and complicated the
                                                                                       search for and production of Named
                                                                                       Plaintiffs' data.

October    Decl. of Mengge Ji      "Tables in cold storage cannot be reviewed or       If the       tables were put in cold storage
18, 2021   ISO Facebook Inc.'s     analyzed while they remain in cold storage." Ji     for purposes of preserving them for
           Motion for a            Decl. at If 18.                                     litigation, then Facebook must be able to
           Protective Order                                                            produce data from those tables. See
           Against Production                                                          Duffey 30(b)(6) Dep. Rough Tr. at
           of API Call Logs                                                            175:10-13 ("I am aware of our E-
                                                                                       Discovery data science team producing
                                                                                       structured data ... in matters. Whether or
                                                                                       not it was taken out of cold storage or not,
                                                                                       I'm ... not clear on that process."); Id. at
                                                                                       176:7-13 ("When data is put into cold
                                                                                       storage, only the E-Discovery team would
                                                                                       ... have access to that data.").

October    Facebook's Separate     "Facebook subsequently repeatedly informed          These repeated statements were false. The
28, 2021   Statement in Support    Plaintiffs and the Court that it had produced the   DYI files do not contain information
           of Facebook's           most complete compilation of data associated        about users' privacy settings, Pages,
           Opposition to           with the Named Plaintiffs' accounts, including on   Groups, or adversities interests
           Plaintiffs' Motion to   July 30, 2020 (Dkt. 484), August 13, 2020 (Dkt.
           Compel Production       495), and September 18, 2020 (Dkt. 515)."
           of Named Plaintiffs'    Facebook's description of its own statements to
           Content and             the Court, Separate Stmt. at 2.                                      The files are also in a
           Information




                                                               3
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Date       Court Submission       Facebook's (False) Representations About the           Testimony of Facebook's 30(b)(6)
                                  Named Plaintiffs' Data                                 Deponents'
October    Declaration of Ben     "The DYI file for each individual user represents                  Duffey 30(b)(6) Dep. Rough
28, 2021   Mitchell ISO           the most complete and best compilation of data         Tr. at 56:5-8; see also:
           Facebook's Opp. to     Facebook maintains associated with that user, and           •
           Pls' MTC Production    the best available compilation of the data about                                 DYI
           of Named Plaintiffs'   that user in the Social Graph, in ahuman-readable
           Content and            and producible form." Mitchell Decl. at ¶5.                                                  Id. at
           Information                                                                           31:11-13;
                                                                                             • "I know that
November   Facebook's Response    "Facebook explained repeatedly that the
15, 2021   to Objection           Download Your Information ('DYI') files it                     DYI. ...
           Regarding Named        produced satisfied its production obligations
           Plaintiffs' Data       under Discovery Order 9and the technical reasons
           Briefing               why this is so." Facebook's Response at 1.
                                                                                                                     DYI has
                                  "And auser's DYI file contains ahuman-readable                 available to it as adownload. ...
                                  download of the most complete set of data about                In a, you know, like
                                  that user in the Social Graph (and more)." Id. at 2.                   "Id. at 32:21-33:9;
                                                                                             • "I believe that



                                                                                                       Id. at 45:7-10;
                                                                                             • "I do believe that the




                                                                                                             Id. at 56:9-12;
                                                                                             • "I believe there are

                                                                                                                  Id. at 143:22-23;
                                                                                             •




                                                               4
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Date       Court Submission      Facebook's (False) Representations About the         Testimony of Facebook's 30(b)(6)
                                 Named Plaintiffs' Data                               Deponents'



                                                                                                      Advertising accounts."
                                                                                              Ex. 386 at ADVANCE-META-
                                                                                              00003258.

December   Decl. of David Pope   In response to the Special Master's request for      This submission was grossly misleading,
10, 2021   ISO Facebook's Mot.   Facebook to provide "a list of data sources that     including because it failed to identify the
           for Reconsideration   may contain' user data," Facebook submitted the      52 snapshots taken with th:
           of the Special        declaration of David Pope identifying "149 data      tool of the Named Plaintiffs or the
           Master's Order Re:    systems ... identified as containing user data[.]"   Hive tables relating to the litigation were
           Named Plaintiffs'     Pope Decl. at Iflf 5, 9.                             set aside and preserved. Duffey 30(b)(6)
           MTC Production of                                                          Dep. Rough Tr. at 153:14-16 ("[W]e have
           Plaintiff Data                                                             •Hive data tables preserved and on
                                                                                      legal hold for this matter."); Id. at 147:16-
                                                                                      19 ("We've taken snapshots indirectly the
                                                                                                    tool and the DYI tool [] for
                                                                                      each of the named plaintiffs that had data
                                                                                      available at the time of the snapshot.").

December   Decl. of Mengge Ji                                                         "I can search atable, if Iknow aspecific
10, 2021   ISO Facebook's Mot.                                                        table and I'm looking for aspecific
           for Reconsideration                                                             [.]" Clark 30(b)(6) Dep. Tr. at 87:19-
           of the Special                 Ji Decl. at iii 21.                         21.
           Master's Order Re:
           Named Plaintiffs'                                                          "[I]f Iknow the table and in working with
           MTC Production of                                                          aspecific table, yes, Ican query for a
           Plaintiff Data                                                             specific• or            ." Id. at 99:9-18.

                                                                                      Facebook did not tell the Special Master
                                                                                      that it could identify specific tables and



                                                                5
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Date       Court Submission        Facebook's (False) Representations About the         Testimony of Facebook's 30(b)(6)
                                   Named Plaintiffs' Data                               Deponents'
                                                                                        that it could search using Named
                                                                                        Plaintiffs'       and UIDs, among other
                                                                                        identifiers.

December   Motion for Leave to     In response to the Special Master's Initial Order    These statements were misleading.
22, 2021   File and For Stay       requiring Facebook to provide "a list of data        Facebook did not inform the Special
           Pending Appeal of       sources related to the Named Plaintiffs,"            Master about either the •Hive tables
           the Special Master's    Facebook provided alist of "potential data           preserved for this litigation, or the 52
           Amended Order Re:       sources but explained (and substantiated with        snapshots preserved using the
           Plaintiffs' Motion to   uncontroverted declarations) that compiling the                   tool. See Duffey 30(b)(6)
           Compel Production       remaining information would take more than           Dep. Rough Tr. at 60:21-25 ("I
           of Plaintiff Data                                                            understand that there are       Hive tables
                                                                                        placed on legal hold for the Cambridge
                                                         "Mot. for Leave at 3-4.        Analytica matter."); Id. at 50:16-20 ("I

March 7,   Letter from Rose        "[T]he DYI system includes all three categories of
2022       Ring in Response to     data: (1) data collected from auser's on-platform
           Special Master's        activity, (2) data obtained from third parties
           February 21 Order re:   regarding auser's off-platform activities, and (3)                         those were also
           Plaintiff Data          data inferred from auser's on or off-platform        captured in a              snapshot.").
                                   activity. So the issue is whether Facebook should
                                   produce more data in categories (1), (2), and (3)    The reason the Special Master was
                                   from systems other than DYI, which we                focusing on the DYI tool is because
                                   understand is the focus of the Special Master's      Facebook had repeatedly told the Court,
                                   remaining questions." Mar. 7, 2022 Ltr. from R.      incorrectly, that it was acomplete source
                                   Ring at 1.                                           for user information.

March 9,   Special Master          "And so there becomes atechnical feasibility         ,       is atool to help data scientists and
2022       Hearing                 because not all that storage that sits in Hive is    data engineers, where they know where
                                   online. And so that would —it becomes atechnical     data lives in Hive, to be able to write a
                                   feasibility challenge to do that full discovery      query to do analysis or -- or analytics on a



                                                                6
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Date        Court Submission      Facebook's (False) Representations About the          Testimony of Facebook's 30(b)(6)
                                  Named Plaintiffs' Data                                Deponents'
                                  across everything." Mar. 9, 2022 Special Master       subset of data." Clark 30(b)(6) Dep. Tr. at
                                  Hearing Tr. at 115:2-9.                               89:19-23.

April 11,   Letter from Rose      Facebook responded to the Special Master's            "I understand that there are     Hive
2022        Ring in Response to   request for information about Hive tables, and        tables placed on legal hold for the
            Special Master's      identified "Hive tables that store user identifiers   Cambridge Analytica matter." Duffey
            March 9Order re:      with data as it enters Hive." Apr. 11, 2022 Ltr.      30(b)(6) Dep. Rough Tr. at 60:21-25.
            Plaintiff Data        from R. Ring at 2.
                                                                                        "Hive data that is on legal hold to prevent
                                                                                        it from being deleted or modified." Id. at
                                                                                        64:2-3.

                                                                                        "We're talking about        Hive tables. I
                                                                                        would imagine that Hive tables were put
                                                                                        on legal hold starting in 2018 and have,
                                                                                        you know, as additional -- you know,
                                                                                        again, as additional Hive tables are
                                                                                        identified relevant to amatter, we work
                                                                                        with our -- our in-house and outside
                                                                                        counsel and our data science team and E-
                                                                                        discovery to place those Hive tables on
                                                                                        legal hold." Id. at 66:18-67:1.




                                                                7
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           Exhibit W
    Case 3:18-md-02843-VC Document 982 Filed 08/06/22 Page 823 ofGibson,
                                                                    833Dunn & Crutcher LLP
                                                                                                                     333 South Grand Avenue

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June 16, 2022                                                                                                        HRichardson@gibsondunn.com


VIA JAMS ACCESS                                                                                                      Client: 30993-00116




Dear Special Master Garrie,
        Below Facebook responds to the Special Master's JAMS message dated June 10,
2022 statin "Facebook is to respond to the issues regarding production of Named Plaintiff
data in            and thee Hive tables raised in Plaintiff's June 6, 2022 brief."
        After months of proceedings, the parties submitted proposals regarding the
production of additional Named Plaintiff data. The Special Master held ahearing on May
17, 2022, during which he identified three areas of disagreement. On May 24, 2022, the
Special Master ordered the parties to submit simultaneous briefing on those issues, but rather
than address them, Plaintiffs focused on new issues based on supposed "new evidence."
Plaintiffs' "new evidence" is largely irrelevant to these proceedings, and Plaintiffs also
misconstrue and misinterpret the testimony they cite. S ecificall ,Plaintiffs point to data a
witness testified was preserved from asystem called                 and Hive. Even though
the witness did not testify that the preserved data is Named Plaintiff data or Named Plaintiff
data that has not been made available to Plaintiffs, they assume that is the case and based on
those assumptions make false accusations and an unprecedented demand for affidavits from
more than adozen attorneys. Facebook addresses each of these issues in turn below.
   1.
                       is atool created to respond to law-enforcement subpoenas,
https://www. ace ook.com/safety/groups/law/guidelines/, which are not at issue in this
case. Law enforcement can request information in response to lawful subpoenas, through
Facebook's Law Enforcement Online Request System. Law enforcement subpoenas must be
narrowly tailored and narticularized. and the relevant categories of data (and only those) are
provided through                                is not designed or intended for use by Facebook
users or in private litigation. Ihat sai, Facebook preserved data from                 in
connection with this case out of an abundance of caution.
        To be clear,             data largely overlaps with data already produced.
Nonetheless, Facebook agrees to produce Named Plaintiff data preserved from
for current named plaintiffs. Facebook addresses Plaintiffs' accusations below:
       DYI. Plaintiffs say testimony about                                       undermines statements that DYI is
the "most complete compilation of data associated                                eNamed Plaintiffs' accounts"
because                                                                              .There is no inconsistency.
       DYI is the "most complete com ilation of data associated with the Named Plaintiffs'
accounts." In fact




        Data associated with auser's account preserved in a               snapshot largely
tracks asubset of the data in DYI or otherwise available to the user. In some instances data
in              and DYI



        Beijing •Brussels •Century City •Dallas •Denver •Dubai •Frankfurt •Hong Kong •Houston •London •Los Angeles •Munich
                 New York •Orange County •Palo Alto •Paris •San Francisco •Sao Paulo •Singapore •Washington, D.C.
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                                     neither of which are relevant to these Named Plaintiff
 aa rocee m s               an exam le is that a




        In Discovery Order No. 9, Judge Corley identified three categories of "discoverable
user data" about the Named Plaintiffs: (1) data collected from auser's on-platform activity,
(2) data obtained from third parties regarding auser's off-platform activities, and (3) data
inferred from auser's on or off-platform activity. Data about other users and analyses
prepared for law enforcement do not fall into these categories. Facebook also cannot
produce other users' data without their consent, consistent with its obligations to those users,
including under the Stored Communications Act.
                         .Plaintiffs say Facebook withheld
                         This is false. Facebook produced snapshots of the Named
                                              (attached as Exhibit A).
                                          unlike DYI,                 contains information
about
an account contains information about       As ex laine above, e                   snapshot of
                                                     that is not Named Plaintiffdata. This data
does not fall into any of the three categories identified in Discovery Order No. 9.
                            Plaintiffs sa Facebook withheld Named Plaintiff data from the
             snapshots about                  .This is wrong. A user's DYI file contains
information about their own ac ivi in rou sand on Pa es. The                 sna shots
contain
                               Plaintiffs su          est Facebook withheld Named Plaintiff
data from             snaps osabout                                                      This
is also wron     1e P I a


                 is is aconsumer cass ac ion, an        usmess   a es are no a issue. nany
case, eca egories of data in asna shot of an                          overla •almost entirel
with cate ories of data in DYI




        Format. Plaintiffs say deposition testimony shows a
         than DYI. Plaintiffs misconstrue the testimony. The witness explained especific
categories of                data provided in response to asubpoena can be produced to law
enforcement as           w ile DYI is "lots of individual files." Trans. at 51:19-23. DYI
contains multip e ies so auser can download individual categories and easily navigate the
results. For litigation, individual files are also more usable. Most DYI files produced in this
case are tens of thousands of a es; some are hundreds of thousands of pages. If Facebook
produced the data as                 it would be extremely difficult to navigate and use.
                                              * * *


        Again, Facebook will produce the Named Plaintiff data preserved in                   for
current Named Plaintiffs. As disclosed previously, Facebook added new categories of data
to the DYI system since producing certain Named Plaintiffs' DYI data. Facebook explained
months ago that it is "happy to produce updated versions of DYI files ...but has understood
that Plaintiffs are not interested in additional DYI data, since it is 'already available to
Plaintiffs.' See, e.g. Dkt. 911 at 35 n.22. Although Plaintiffs have not responded, Facebook
will produce updated DYI files, to avoid any confusion as to what data is available to users.
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     2.   Hive Tables
        Facebook's corporate designee testified that Facebook preserved various Hive tables
in connection with this and related litigation. Plaintiffs leap to the conclusion that all of
these tables contain Named Plaintiff data and say Facebook improperly failed to disclose the
tables. Again, even though Plaintiffs' assumptions are wrong, Facebook agrees to produce
the schema (i.e. column names) for preserved tables containing user identifiers and will meet
and confer with Plaintiffs regarding aproduction of Named Plaintiff data from those tables.
This overlaps with information and data Facebook already agreed to provide. Below
Facebook addresses Plaintiffs' accusations about preserved Hive tables.
        Named Plaintiff Data. Plaintiffs say Facebook should have disclosed alist of
preserved Hive tables because such alist would have identified the most relevant Named
Plaintiff data. This is wrong. Tables in Hive were preserved in connection with this
litigation and related litigation for anumber of reasons, many of which have nothing to do
with Named Plaintiff data. Of the        tables identified, aminority contain user identifiers,
and several of those tables were pu• hold in connection with Facebook's April 18, 2022
proposal to produce categories of data requested or referenced by Plaintiffs.


Pil      Searchability. Plaintiffs say testimony that Hive tables can be searched by .
      undermines prior representations that Plaintiffs' requests would require searching
      lions of disaggregated data sets." There is no inconsistency.
                                                                                            or



         The cited statements concern abroader demand that Plaintiffs narrowed. Plaintiffs
initially requested every data point at Facebook that might relate back to aNamed Plaintiff in
any way, including aggregated/fully anonymized data. Facebook explained that satisfying
this request would be technically infeasible as it would require reverse engineering the
underlying sources of data in millions of tables that are not reasonably capable of being
identified to auser. For example, atable could log the number of Facebook users who log
into Facebook each hour, to track peak activity for capacity budgeting, without any data
about which users logged in each hour. Given the breadth of the request, Facebook
explained "[e]ven alarge team of engineers working full time for several years likely could
not" "identify all of the information plaintiffs seek." That is true.
       Before the Special Master, the parties have discussed anarrower set of data that is
capable of being associated with auser's account—tables that contain user identifiers.
        Cold Storage. Plaintiffs say testimony that "offline" tables can be searched
undermines representations about the searchability of data in cold storage. The testimony
referred to Hive, not cold storage. As Facebook has explained, Hive is "a data system that is
used for offline data storage and analysis," see 5/11/2022 Submission p. 2, unlike TAO,
which supports the online production environment. Plaintiffs also say testimony undermines
representations that data in cold storage cannot be produced. Facebook did not represent that
data in cold storage cannot be produced. It argued it should not be required to restore tables
consisting of hundreds of petabytes of data, in part because it had accessible (and agreed to
produce), summary versions of the data. The Special Master agreed. See Nov. 8, 2021
Order Re: Facebook's Motion For Protective Order Against Production of API Call Logs.
3.        Request for Affidavits from Counsel
        Based on the accusations above, Plaintiffs make an unprecedented demand for
affidavits from Facebook's in-house legal team and Gibson Dunn partners to have worked on
this matter regarding Facebook's production of preserved Named Plaintiff data. There is no
basis for arequest of this nature, which is based on Plaintiffs' mischaracterizations of the
record, and has nothing to do with the outstanding areas of dispute regarding the parties'
Named Plaintiff data proposals. In any case, Plaintiffs received corporate testimony about
Facebook's preservation efforts, and, as explained above, agrees to produce data preserved in
sources to which the witness testified. This request should be denied.
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Sincerely,
/s/ Heather L. Richardson
Heather L. Richardson
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             Exhibit X
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Additional counsel listed on signature page



                          UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION



IN RE: FACEBOOK, INC. CONSUMER                 MDL No. 2843
PRIVACY USER PROFILE LITIGATION                Case No. 18-md-02843-VC

                                               PLAINTIFFS' FURTHER RESPONSE
This document relates to:                      RE: NAMED PLAINTIFF DATA
                                               ADDRESSING RECENTLY REVEALED
ALL ACTIONS                                    PRESERVED DATA

                                               Judge: Hon. Vince Chhabra
                                               Special Master Daniel Ganie
                                               Courtroom: 4, 17th Floor

                                               JAMS Ref. No.: 1200058674




PLS' FURTHER RESPONSE RE: NAMED                                                MDL No. 2843
PLAINTIFF DATA ADDRESSING                                           CASE No. 18-A4D-02843-VC
RECENTLY REVEALED PRESERVED                                        JAMS REF. No.: 1200058674
DATA
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       This brief is submitted pursuant to the Special Master's June 10 and 14 emails which
granted Facebook the right to respond to Plaintiffs' inquiries regarding Named Plaintiff data in
            and. Hive tables, and Plaintiffs the right to submit abrief by June 20, 2022.

         Facebook's letter of June 16, 2022 offers argument from counsel about what is contained
in               snapshots with few citations to evidence, testimony, or documents. In contrast,
Plaintiffs' submission rested entirely on the sworn testimony of Facebook's corporate
representative, Michael Duffey, who proffered binding testimony on behalf of Facebook regarding
what was preserved by Facebook in this action after March 2018 when the Cambridge Analytica
scandal broke. Mr. Duffey testified:

    • "We've taken snapshots in the                 tool and the DYI tool [] for each of the
      named plaintiffs that had data available at the time of the snapshot." Duffey 30(b)(6)
      Dep. Tr. at 158:1-4;

    •
                                           "Id. at 40:4-6;

    • "I believe that
                           Id. at 53:25-55:2;

    • "I do believe that the
                                                             ." Id. at 65:1-4;

    • "I believe there are                                               [1" Id. at 154:5-6.

       Moreover, ahead of his testimony, Mr. Duffey prepared notes which describe the
             snapshots as "ha[ving]                                         (compared to DYI)" and
"also ha[ving]                                                                          Ex. 386 at
ADVANCE-META-00003258. Thus, when Facebook's letter claims throughout that "Plaintiffs
suggest" and "Plaintiffs say," this is erroneous. Plaintiffs did not say; Facebook did, as shown by
the sworn testimony of Facebook's corporate representative. Compare June 16, 2022 Letter from
H. Richardson re Named Pls' Data at 2("June 16 Letter") ("Plaintiffs say deposition testimony
shows a                                          than DYI") with Duffey 30(b)(6) Dep. Tr. at 41:20-
24 ("[T]he
                                                                    than DYI has available to it as a
download.").

        Facebook offers no explanation for its failure to identify these files, let alone produce them,
years ago. Facebook claims that "the relationships between auser" is not "Named Plaintiff data."
June 16 Letter at 2(with no citation). But clearly actions between the Named Plaintiffs and other
users would encompass friends, and the unconsented-to sharing of friend data is centrally relevant
to this case. Facebook appears to be saying that none of the                    snapshots' information
about                                                                (1) data collected from auser's
on-platform activity, (2) data obtained from third parties regarding auser's off-platform activities,
or (3) data inferred from auser's on or off-platform activity. This seems unlikely. In any event,

PLS' FURTHER RESPONSE RE: NAMED                    1                                     MDL No. 2843
PLAINTIFF DATA ADDRESSING                                                     CASE No. 18-A4D-02843-VC
RECENTLY REVEALED PRESERVED                                                  JAMS REF. No.: 1200058674
DATA
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Facebook has agreed to produce "the Named Plaintiff data preserved ii                       for current
Named Plaintiffs." Id. at 2. It is unclear if Facebook is referring to all 52 snapshots preserved over
time for the Named Plaintiffs, or if that is in addition to other data preserved i.
Plaintiffs seek both and request that the Special Master order production by Friday, June 24, 2022. 1

        With regard to the Hive tables, Facebook is equally opaque, citing no documents or
evidence. Mr. Duffey testified that Facebook has "M Hive data tables preserved and on legal
hold for this matter." Duffey 30(b)(6) Dep. Tr. at 163:24-164:1; see also Ex. 386 at ADVANCE-
META-00003259 (confirming ". Hive tables on legal hold."). Facebook offers no explanation
for why it did not earlier disclose the. Hive tables, while saying it might produce column
names for preserved tables containing user identifiers. Facebook offers no date by which it will
do so. Facebook writes that Plaintiffs "assume" that the Tables relate to the Named Plaintiffs.
This is incorrect. The parties have been working with the Special Master for months to find an
efficient way to identify Hive tables to search for Named Plaintiff data. And FB-CA-MDL-
03452017 (attached as Exhibit A) shows that Facebook creates descriptions of Hive tables in the
regular course of business. Pages 4-5 of this document provide an example of what Plaintiffs
seek here. 2 At no point prior to the deposition of Mr. Duffey did anyone from Facebook,
including counsel, inform the Special Master or Plaintiffs that Facebook had already identified
. Hive tables and preserved them for this litigation. They are the obvious place to start
searching.

       Plaintiffs request an order requiring aproduction date of Friday, June 24, 2022 for the Hive
schema, fields and documents sufficient to describe the contents of the tables. Plaintiffs further
request an order to show cause why Facebook should not be ordered to produce all Hive tables
referencing user identifiers immediately, given that Facebook did not earlier advise the Special
Master or Plaintiffs of their existence.

        Because the representations of Facebook's counsel in their briefing are inconsistent with
Facebook's sworn testimony, Plaintiffs propose that affidavits are an appropriate remedy to ensure
that Facebook has accurately identified all potential sources of Named Plaintiff data.

          Cold Storage

        With regard to searchability and cold storage, Facebook's letter continues to aver that
"Plaintiffs say," and the letter ignores Facebook's own sworn testimony: '
                                                              .1" Mike Clark 30(b)(6) Dep. Tr. at
87:19-21; see also Ex. 386 at ADVANCE-META-00003259 (``
                                        ."). Facebook's letter also ignores that it placed the.
Hive tables in cold storage only after identifying them as relevant to this case. See Ex. 386 at
ADVANCE-META-00003259.



1   Plaintiffs reserve the right to respond once the Snapshots and DYI files are produced and to seek
    further corporate testimony from Facebook once the documents are produced.
2   This document was improperly withheld by Facebook as privileged, and then de-designated and
    produced on June 6, 2022, the same day as Plaintiffs' June 6submission.

PLS' FURTHER RESPONSE RE: NAMED                    2                                    MDL No. 2843
PLAINTIFF DATA ADDRESSING                                                    CASE No. 18-A4D-02843-VC
RECENTLY REVEALED PRESERVED                                                 JAMS REF. No.: 1200058674
DATA
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        Facebook refers to the Special Master's ruling regarding certain tables in cold storage, but
that ruling related to different content, and the parties and the Special Master have learned more
now. FB-CA-MDL-03330509 (attached as Exhibit B) raises questions regarding Facebook's
representations throughout the inquiry into Named Plaintiff data concerning the burden of
restoring information in cold storage.

        The document is an internal chat among alarge number of Facebook employees, including
custodians Eugene Zarakhovsky (now Zarashaw) and Shirine Sajjadi. Towards the beginning of
the chat, an employee states: "Data Infra now says they can restore all the relevant partitions of
                      in *72 hours* if we throw everything at it, which is very different from 150
days quoted earlier." Ex. B at FB-CA-MDL-03330511. In other words, committing resources to
restoring atable from cold storage would enable Facebook to restore the table 50 times quicker
than initially estimated. Approximately 11 hours later, the same engineer updates the effort: "[T]he
positively surprising news from the army of data infra working on cold storage is that we're very
close to having full restore on the                                              Way faster than 150
days, or 72 hours :) still working to make sure that is indeed correct, but it's looking like it." Ex.
B at FB-CA-MDL-03330519. The restoration from cold storage, initially estimated to take 150
days, had been cut to approximately ahalf day-300 times faster than the initial estimate.

         Similar to the previous example, Facebook improperly withheld this document as
privileged, then de-designated and produced it only two weeks before Plaintiffs' June 6
submission. This document reveals that Facebook can restore data from cold storage in fairly short
order. It should be ordered to do so.




Dated: June 20, 2022                                      Respectfully submitted,



KELLER ROHRBACK L.L.P.                                    BLEICHMAR FONTI & AULD LLP

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PLS' FURTHER RESPONSE RE: NAMED                   3                                    MDL No. 2843
PLAINTIFF DATA ADDRESSING                                                   CASE No. 18-A4D-02843-VC
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DATA
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PLS' FURTHER RESPONSE RE: NAMED                4                                MDL No. 2843
PLAINTIFF DATA ADDRESSING                                            CASE No. 18-A4D-02843-VC
RECENTLY REVEALED PRESERVED                                         JAMS REF. No.: 1200058674
DATA
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             ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

       I, Lesley E. Weaver, attest that concurrence in the filing of this document has been obtained

from the other signatory. Ideclare under penalty of perjury that the foregoing is true and correct.

       Executed this 20th day of June, 2022, at Oakland, California.

                                                             /s/ Lesley E. Weaver
                                                             Lesley E. Weaver




PLS' FURTHER RESPONSE RE: NAMED                  5                                    MDL No. 2843
PLAINTIFF DATA ADDRESSING                                                  CASE No. 18-A4D-02843-VC
RECENTLY REVEALED PRESERVED                                               JAMS REF. No.: 1200058674
DATA
